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          Exhibit 1
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          Exhibit 2
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          Exhibit 3
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          Exhibit 4
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                                                                                   Innocent                Page 14 of 776
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         About           Get Involved               Shop          Resources       Blog           Request a Speaker
                                                                                                     Report A Case
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                                   CHRIS HADNAGY
                 Founder, Executive Director, & Board Member


 A Guide to Child Safety                Check Donation                     Impact Reports
 Online                                 Matching                           2022-2023 990 Tax
 Sext Education: How to                 Get Involved                       Form
 Teach Your Teen the                    Report A Case                      2021-2022 990 Tax
 Dangers of Sexting                                                        Form
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https://www.innocentlivesfoundation.org/our-team/chris-hadnagy/                                                               1/4
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         About           Get Involved               Shop          Resources       Blog           Request a Speaker
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         Donate                                                        Chris possesses over 18 years of experience as a
                                                                      practitioner and researcher in the security «eld. He
                                                                       is the author of 5 books and 3 different training
                                                                       courses taught around the globe. Chris is an
                                                                       Adjunct Professor of Social Engineering for the
                                                                       University of Arizona’s NSA-designated Center of
                                                                       Academic Excellence in Cyber Operations (CAE-
                                                                       CO) and sits on The Information Technology
                                                                       Systems Technical Advisory Committee of Idaho
                                                                       State University. He has trained and taught various
                                                                       branches of the US Government in the art and
                                                                       science of social engineering, including the FBI,
                                                                       SOCOM, and others. Chris has been invited to the
                                                                       Pentagon to debrief 30+ general o­cers and
                                                                       government o­cials on social engineering and its
                                                                       effect on the United States.
 A Guide to Child Safety                Check Donation                     Impact Reports
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                                                                       Chris established the world’s «rst social
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 Everything You Need to                                                and enthusiasts. That site grew into a dynamic
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 Grooming                                                              which have become staples in the security industry
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                                                                       and are referenced by large organizations around
 What is sextortion?
                                                                       the world.


                                                                       Chris specializes in understanding how malicious
                                                                       attackers exploit human communication and trust
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                                                                       through manipulation and deceit. His goal is to              

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 Shop
 When you purchase through links on our site, we may earn an a­liate commission. Thank you for supporting the Innocent Lives Foundation.




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 Online                                 Matching                           2022-2023 990 Tax
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          Exhibit 5
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     ,ZDVRQERDUGHGDW6RFLDO(QJLQHHUEXWWKHUHZDVMXVW
     DIHZZHHNVEHWZHHQWKHP
     4$QG\RXUHIHUHQFHG,/)LQ\RXUDQVZHU
           4   $QG\RXUHIHUHQFHG,/)LQ\RXUDQVZHU
    0V5H\QROGV
    $<HDK
           $   <HDK
    4:KDWLV,/)"
           4   :KDWLV,/)"
    $,QQRFHQW/LYHV)RXQGDWLRQ,W
           $   ,QQRFHQW/LYHV)RXQGDWLRQ,W VD
    IRXQGDWLRQDVIDUDV,NQRZ&KULVFUHDWHG,W
    RVWHQVLEO\ORRNVLQWRFKLOGVH[RIIHQGHUVDQGWULHVWR
    KHOSODZHQIRUFHPHQWDUUHVWWKHP,VXSSRVHLVSDUWRI
    WKHPLVVLRQ
    4$QGDSSUR[LPDWHO\ZKHQGLG\RXVWDUW\RXU
           4   $QGDSSUR[LPDWHO\ZKHQGLG\RXVWDUW\RXU
    HPSOR\PHQWDW6RFLDO(QJLQHHU"
    $6R,
           $   6R, OOSUHIDFHWKLVDQVZHUZLWKVD\LQJIURP
    &29,'OLNHP\DELOLW\WRUHFDOOGDWHV,MXVWGRQ W
    KDYHWKHVDPHPDUNHUVEXWPD\EHOLNHRU ,
    WKLQNLWZDVMXVWEHIRUH&29,',WZDVOLNHWKH\HDU
    EHIRUH&29,',WKLQN
    42ND\6R


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     DJUHHPHQW
     $<HDK
     4ZLWK6RFLDO(QJLQHHU, PJRLQJWRVFUROO
     GRZQWRWKHERWWRP,W VH[HFXWHGE\\RXDQG
     0U+DGQDJ\GRZQDWWKHERWWRP
     'R\RXVHHWKLV"
     $<HDK
     4$QGLW
           4   $QGLW VQRWGDWHGDWWKHWRS,W V
     HIIHFWLYHDVRIDEODQNGDWHEXWWKHPRQWKDQG\HDULV
    -DQXDU\
    'RHVWKLVUHIUHVK\RXUUHFROOHFWLRQWKDW\RX
                'RHVWKLVUHIUHVK\RXUUHFROOHFWLRQWKDW\RX
    PD\KDYHVWDUWHGLQ-DQXDU\"
    $,WGRHVQ
           $   ,WGRHVQ WUHIUHVKLWEXW,ZRXOGEHOLHYH
    WKDWRYHUP\DELOLW\WRSLFNDGDWH
    42ND\
           4   2ND\
    $<HDK
           $   <HDK
    4$QGDSSUR[LPDWHO\ZKHQGLG\RXOHDYH
           4   $QGDSSUR[LPDWHO\ZKHQGLG\RXOHDYH
    6RFLDO(QJLQHHU"
    $$XJXVWRI,WKLQN<HDK
           $   $XJXVWRI,WKLQN<HDK
    4$QGZKLOH\RXZHUHHPSOR\HGZLWK
    6RFLDO(QJLQHHU
    $8KKXK
    4ZKDWZDV\RXUH[SHULHQFHZRUNLQJZLWK
    0U+DGQDJ\"
    $,W VFRORUHGQRZ6R, PQRWHQWLUHO\VXUH


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     ZHJRWKHUERRWHG,ZRQ WOHW.HYLQJHWKXUW
     +DYH\RXHYHUVHHQWKLVH[FKDQJHEHIRUH"
     $1R
     $77251(<&215$'2EMHFW)RUP
     4 %\$WWRUQH\0HUWHQV $UH\RXVXUSULVHGWKDW
     0U+DGQDJ\JRW\RXERRWHGIURPWKH1&37)"
     $1R7KDW VH[DFWO\KLVFKDUDFWHU
     4+RZGR\RXIHHODERXW0U+DGQDJ\OHYHUDJLQJ
     KLVLQIOXHQFHZLWK1&37)WRJHW\RXERRWHG"
    $7KDWLVH[DFWO\KLVFKDUDFWHU,IHHO
    QRWKLQJDERXWKLPGRLQJWKDW,GRQ WFDUHDQ\PRUH
    +HLVZKRKHLV7KHUHLVDEVROXWHO\QRWKLQJ,FDQGR
    DERXWLW,QIDFW, YHGRQHHYHU\WKLQJ,FDQGRDERXW
    LW
    ,IHHOUHODWLYHWRWKDWRUJDQL]DWLRQWKDW
    KHVWRRGLQWKHZD\RISHRSOHZKRZDQWWRGRJRRG+H
    VWRRGLQWKHZD\RIWKDWDQGOLNH,KRSHLWZHLJKV
    RQKLP,UHDOO\KRSHWKDWZHLJKVRQKLVFRQVFLHQFH
    ,WKLQNWKDW VDWHUULEOHWKLQJWRGR7KDW VKRZ,
    IHHODERXWWKHVLWXDWLRQ+RZ,IHHODERXWKLP,
    GRQ WFDUH
    4,ZDQWWRVXPPDUL]HDOLVWRIZKDW,
           4   ,ZDQWWRVXPPDUL]HDOLVWRIZKDW, YHKHDUG
    \RXWHVWLI\WR0V5H\QROGVDQG
    $8KKXK
           $   8KKXK
    4,ZDQW\RXWRWHOOPHLIWKDWOLVWLV
           4   ,ZDQW\RXWRWHOOPHLIWKDWOLVWLV


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     FRPSUHKHQVLYHRND\"
     $8KKXK
           $   8KKXK
     4<RXWHVWLILHGWKDW0U+DGQDJ\FRQWDFWHG
           4   <RXWHVWLILHGWKDW0U+DGQDJ\FRQWDFWHG
     0U0LQDWHOWRWU\WRVWRSWKHRQJRLQJSXEOLFDWLRQRI
     \RXUERRNLVWKDWFRUUHFW"
     $&RUUHFW
           $   &RUUHFW
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDW
     0U+DGQDJ\FRQWDFWHG0U)LVKPDQWRWU\WRVWRSWKH
    FUHDWLRQRIDWHOHYLVLRQVHULHVZLWK0U)LVKPDQLV
    WKDWFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $7KDW
           $   7KDW VFRUUHFW
    4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDW
    0U+DGQDJ\UHSRUWHG\RXWRWKH)%,IRUXVHRI,/)
    LPDJHVWKDWKHIRUZKLFKKHKDGDSSURYHGWKHXVHLQ
    \RXUERRNLVWKDWFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $&RUUHFW
           $   &RUUHFW
    4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDW
    0U+DGQDJ\FRQWDFWHG0U5K\VLGHUWKHKRVWRI'DUNQHW
    'LDULHVWRDVN0U5K\VLGHUWRSXOOWKHHSLVRGHVWKDW
    KHKDGUHFRUGHGZLWK\RXUHJDUGLQJWKHSXEOLFDWLRQRI
    \RXUERRNLVWKDWFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP


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     $&RUUHFW
           $   &RUUHFW
     4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDW\RX
     OHDUQHGIURP0U:LOOLDPV0U5K\VLGHUFRQYHUVDWLRQV
     ZLWKWZRLQGLYLGXDOVDW,/)0U.OXPS*ULIWHUDQG
     FRQYHUVDWLRQVZLWK0U0LQDWHODQG0U)LVKPDQWKDW
     0U+DGQDJ\KDGEHHQFDOOLQJDURXQGLQWKHLQIRUPDWLRQ
     VHFXULW\FRPPXQLW\FODLPLQJWKDW\RXZHUHVWDUWLQJD
     FRPSHWLQJEXVLQHVVWKDW\RXVWROHLQWHOOHFWXDO
     SURSHUW\DQGWKDW\RXZHUHVWHDOLQJFOLHQWVIURP
    0U+DGQDJ\LVWKDWFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $7KDWLVFRUUHFW<HV
           $   7KDWLVFRUUHFW<HV
    4
           4    %\$WWRUQH\0HUWHQV $QG\RXWHVWLILHGWKDW
    DPHPEHUIURP,/)UHDFKHGRXWWR\RXUGDGWRFKHFNRQ
    KLVKHDOWKDIWHU\RXOHIW,/)DQGUHSUHVHQWHGWKDWKH
    ZDVVWLOOZRUNLQJZLWK\RXDW,/)ZKHQKHGLGWKDWLV
    WKDWFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $&RUUHFW
           $   &RUUHFW
    4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDW
    0U+DGQDJ\UHPRWHO\ORFNHG\RXUFRPSXWHULQOLHXRI
    ZLSLQJWKHGDWDWKDW\RXKDGRQWKDWFRPSXWHUDQGWKDW
    KHEDFNHGXS\RXUSHUVRQDOLQIRUPDWLRQUHSHDWHGO\IURP
    WKDWFRPSXWHULQOLHXRIZLSLQJWKHGDWDIURP\RXU
    FRPSXWHULVWKDWFRUUHFW"


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     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $&RUUHFW
           $   &RUUHFW
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           4    %\$WWRUQH\0HUWHQV $QG0U+DGQDJ\
     UHSHDWHGO\
     $77251(<0(57(166WULNHWKDW
                $77251(<0(57(166WULNHWKDW
     4
           4    %\$WWRUQH\0HUWHQV 0U+DGQDJ\WKUHDWHQHG
     WRVXH\RXDOWKRXJKKHGLGQRW"
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $&RUUHFW$OWKRXJK,KHWKUHDWHQHGWRVXH
           $   &RUUHFW$OWKRXJK,KHWKUHDWHQHGWRVXH
    PHIRUVRPHWKLQJWRGRZLWK1'$V,IRUJRWWKDWEXW
    LWKDSSHQHG6RWKHUH VWKDWDVZHOOMXVWWROHW\RX
    NQRZ
    4
           4    %\$WWRUQH\0HUWHQV $QG\RXWHVWLILHGWKDW
    0U+DGQDJ\OHYHUDJHGKLVLQIOXHQFHZLWK.HYLQDWWKH
    1&37)WRERRW\RXIURPLQYROYHPHQWZLWK1&37)DQGZH
    VDZ0U+DGQDJ\ VPHVVDJHWRWKDWHIIHFWLVWKDW
    FRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $&RUUHFW
           $   &RUUHFW
    4
           4    %\$WWRUQH\0HUWHQV 'R\RXIHHOOLNHWKLV
    FRQVWHOODWLRQRIDFWLRQVE\0U+DGQDJ\GHOLEHUDWHO\
    WDUJHWHG\RX"
    $<HDK
           $   <HDK
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    4
           4    %\$WWRUQH\0HUWHQV 'LGWKH\PDNH\RXIHHO


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     XQFRPIRUWDEOH"
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $7KH\PDGHPHIHHOZD\PRUHWKDQ
           $   7KH\PDGHPHIHHOZD\PRUHWKDQ
     XQFRPIRUWDEOH7KH\PDGHPHIHHOH[WUHPHO\DQ[LRXVDQG
     QHUYRXVDQGOLNHER[HGLQ6RLWPDGHPHIHHOPRUH
     WKDQXQFRPIRUWDEOH
     4
           4    %\$WWRUQH\0HUWHQV 'LG\RXIHHODIUDLG"
     $<HDK
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     $77251(<&215$')RUP
                $77251(<&215$')RUP
    $,GLGIHHODIUDLG,WKLQNKHKDVDSDWWHUQ
           $   ,GLGIHHODIUDLG,WKLQNKHKDVDSDWWHUQ
    RILQWLPLGDWLRQDQGSHRSOHZKRZHUHRQFHJRRG
    HPSOR\HHVDUHEDGSHRSOHQRWMXVWHPSOR\HHVEDG
    SHRSOHDVVRRQDVWKH\ YHOHIW6R\HDK,GLG
    4
           4    %\$WWRUQH\0HUWHQV :KRLV1HLO:\OHU"
    $+HLVDZHOONQRZQLQGLYLGXDOZLWKLQWKH
           $   +HLVDZHOONQRZQLQGLYLGXDOZLWKLQWKH
    F\EHUVHFXULW\LQGXVWU\,WKLQNKH VPDLQO\RQWKH
    GHIHQVLYHVLGHRIVHFXULW\
    4$QGDWVRPHSRLQWLQODWH$XJXVWRUHDUO\
           4   $QGDWVRPHSRLQWLQODWH$XJXVWRUHDUO\
    6HSWHPEHURIGLG\RXUHDFKRXWWR0U:\OHU
    UHJDUGLQJ0U+DGQDJ\ VEHKDYLRUWRZDUGV\RX"
    $,GLG
           $   ,GLG
    4:K\"
    $, GKHDUGWKDW1HLORU*ULIWHUZDVIDLUDQG
    SURIHVVLRQDODQGQLFHDQG,IRXQGWKRVHWKLQJVWREH
    WUXH$QG,ZHQWWRKLPEHFDXVHRIWKRVHWKLQJVDQG


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     $6KHZDVQRWRQWKDWFDOO
     4$OHWKH'HQLV"
     $6KHZDV
     4:KRHOVHLIDQ\RQHZDVRQWKHLQLWLDO
     RXWUHDFKFDOOWR'HI&RQRWKHUWKDQWKHSHRSOH\RXKDYH
     MXVWLGHQWLILHG"
     $2XWVLGHRIWKDWJURXSWKHUHZDV-HII0RVV
     ZDVRQWKHFDOO1HLO:\OHURU*ULIWHUZDVRQWKH
     FDOO$QG, PQRWHQWLUHO\VXUHZKRHOVHIURP'HI
    &RQ VVLGHZDVRQWKHFDOO,FDQ W,FDQ W
    UHPHPEHU
    4+RZDERXWIRUWKHJURXSRILQGLYLGXDOVZKR
    ZHUHUDLVLQJWKHFRQFHUQVDERXW0U+DGQDJ\"
    $,DOVRGRQ WUHFDOODQ\PRUHQDPHV
    4<RXGRQ
           4   <RXGRQ WUHFDOODQ\PRUHQDPHVEHFDXVH\RX
    WKLQNWKDW VWKHHQWLUHW\RIWKHOLVWRUEHFDXVH\RX
    MXVWWKHUHZHUHRWKHUVEXW\RXGRQ WUHFDOOWKHLU
    QDPHV"
    $%HFDXVH,KDYHDEUDLQOLNHDVWUDLQHUOLNH
           $   %HFDXVH,KDYHDEUDLQOLNHDVWUDLQHUOLNH
    ,GRQ W,GRQ WUHFDOOWKHRWKHUQDPHV%XWOLNH
    WRWKHEHVWRIP\UHFROOHFWLRQWKHUHZHUHOLNH
    SHRSOHRQWKDWFDOO1RWDOORIWKHPDUHZKLVSHU
    QHWZRUNEXWWKHUHZHUHPRUHSHRSOHRQWKDWFDOODV,
    FRXQWHGWKHP
    4+RZZHUH\RXDEOHWRFRXQWWKHQXPEHURI
           4   +RZZHUH\RXDEOHWRFRXQWWKHQXPEHURI


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                                                                         3DJH
     DWWHQGHHVRQWKDWFDOO"
     $6RPXFKOLNHWKLV=RRPVHVVLRQWKHUHZHUH
           $   6RPXFKOLNHWKLV=RRPVHVVLRQWKHUHZHUH
     ZLQGRZVIRUSHRSOH1RWHYHU\RQHZDVRQFDPHUDEXW
     WKHUHZHUHZLQGRZVIRUSHRSOHDQGLWJLYHV\RXD
     SDUWLFLSDQWFRXQWDWWKHERWWRPRIWKHFDOO
     4$QGKRZGLGLWKRZGLGWKDWFDOOJHW
     VFKHGXOHGZLWK'HI&RQORJLVWLFDOO\"/LNHKRZGLG
     WKDWKDSSHQ"
     $,WKLQNLW VMXVWWKURXJKRXUSKRQHV/LNH
    ,GRQ WUHPHPEHUEHLQJRQDFDOOWRVFKHGXOH,GRQ W
    NQRZ
    4'R\RXGLGDFDOHQGDULQYLWHJRRXWZLWK
    VRPHNLQGRIOLQNWRDGLDOLQ"
    $,GRQ WWKLQNVREXW,FDQ WVD\IRU
    SHUFHQWFHUWDLQW\
    4$QG,WKLQN,SUREDEO\NQRZWKHDQVZHU
    0V5H\QROGVEXW,MXVWKDYHWRQDLOWKLVGRZQ
    $8KKXK
    46LWWLQJKHUHWRGD\\RXGRQ WKDYHDQ\
    UHFROOHFWLRQRUPHPRU\RIKRZWKHORJLVWLFVRIWKHFDOO
    ZLWK'HI&RQFDPHWRSDVV"
    $,GRQ W,GRQ W
    4'R\RXNQRZ0V5H\QROGVKRZWKHYDULRXV
    SDUWLFLSDQWVLQWKHFDOONQHZKRZWRDWWHQG"
    $,DVVXPHWKHUHZDVD=RRPOLQNSDVVHGDURXQG


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     VRPHOHJDOFRQQHFWLRQEHFDXVHWKHQ,KHDUGWKHZRUG
     MXGJH
     42ND\
     $LIWKDWPDNHVVHQVH<HDK
     4$QG, PQRWWU\LQJWRSLFNRQ\RX
     0V5H\QROGV
     $1R
     4,WMXVWPDNHVDGLIIHUHQFHIRUKRZZH UH
     WDONLQJDERXWLW
    $<RX UHZHOFRPHWR/LNH, PVLPSO\OLNH
    , OOJLYH\RXWKHLQIRUPDWLRQDV,UHPHPEHULWDQGVHH
    LW$QGOLNHLILW VZURQJFRUUHFWLW
    43HUIHFW
    $Q\WKLQJHOVH\RXUHFDOODERXW/DXULH
                $Q\WKLQJHOVH\RXUHFDOODERXW/DXULH V
    LQIRUPDWLRQWKDWVKHVKDUHGZLWK'HI&RQRQWKLVFDOO"
    $6KHZLWQHVVHG,WKLQNVRPHRI&KULV
           $   6KHZLWQHVVHG,WKLQNVRPHRI&KULV PRUH
    OLNHYRODWLOHRULQWLPLGDWLQJPRPHQWV,WKLQNVKH
    ZDVWKHUHZDVOLNHWDON6KHWDONHGDORWDERXW
    &KULVEHLQJDQWLRU,JXHVVKRPRSKRELFDQGDOVR
    OLNHVRWKDW VRQHVLGHRILW
    $QGWKHQDOVRWKDWKHZDVVRUWRIXQIDLUDV
                $QGWKHQDOVRWKDWKHZDVVRUWRIXQIDLUDV
    DERVV/LNHWKHUHZHUHWKLQJVOLNH,WKLQNVKH
    ZDVQ WDOORZHGWRWDNHDEDWKURRPEUHDNDWD
    FRQIHUHQFH7KHUHZDVOLNHWKRVHVRUWRIWKLQJV6R
    WKDWZDV\HDK7KDW VWKHEHVWRIP\PHPRU\


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     VFUHHQVKRWRIDFRQYHUVDWLRQEHWZHHQ0V'HQLVDQG
     0U+DGQDJ\
      ([KLELW1R'HIHQVHPDUNHGIRU
     LGHQWLILFDWLRQ
     4, OOUHSUHVHQWWR\RX0V5H\QROGVWKDW
     0U+DGQDJ\
     $77251(<0(57(166WULNHWKDW
     4
           4    %\$WWRUQH\0HUWHQV 0U+DGQDJ\ZULWHVDW
     SPRQ0DUFK1RWEHLQJDGLFNEXW,
    PHDQVKH VQRWHYHQDVKRWDV0D[LH
    ,
                , OOUHSUHVHQWWR\RXWKDWWKHVKH
    0U+DGQDJ\LVUHIHUULQJWRLQWKDWVWDWHPHQWLV
    5DFKHO7REDF0V'HQLVWHVWLILHGWRWKDWLQKHU
    GHSRVLWLRQHDUOLHUWKLVZHHN
    ,ZDQWWRWKHQGLUHFW\RXUDWWHQWLRQWRWKH
                ,ZDQWWRWKHQGLUHFW\RXUDWWHQWLRQWRWKH
    FRQWLQXDWLRQRIWKHFRQYHUVDWLRQZKHUH0V'HQLV
    ZULWHV0D[LHLVKRW$),JHWZK\SHRSOHMXVWJR
    ZLWKZKDWHYHU0D[LHVD\V/2/
    $QG&KULVUHVSRQGV$QGOLWHUDOO\0D[LHLV
                $QG&KULVUHVSRQGV$QGOLWHUDOO\0D[LHLV
    VRKRWLW VGXPE
    'R\RXVHHWKDW"
                'R\RXVHHWKDW"
    $<HDK
           $   <HDK
    4:KDW
           4   :KDW V\RXUUHDFWLRQWRWKDWFRQYHUVDWLRQ
    0U+DGQDJ\LVKDYLQJDERXW\RXUSK\VLFDODSSHDUDQFH
    ZLWK0V'HQLV"


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     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $$JDLQ,
           $   $JDLQ, POLNHGLVDSSRLQWHGEHFDXVHKRZ
     UHOHYDQWFRXOGLWEH"/LNHKRZPXFKGRHVZKHQ\RX
     LQLWLDOO\PHHWVRPHRQH,WKLQNZHDOOOLNH\RXNQRZ
     ORRNDWWKHPDQG\RXUHJLVWHUDVDWWUDFWLYHRU
     XQDWWUDFWLYH)LQH
     %XWOLNHDIWHUDIHZ\HDUVRIOLNHOLNH
                %XWOLNHDIWHUDIHZ\HDUVRIOLNHOLNH
     DPRUHWKDQDVKDOORZUHODWLRQVKLS/LNH,VDZKLP
     HYHU\GD\:HWDONHGHYHU\GD\,WKLQNLW V
    WKHUH VDEHWWHUZRUGWKDQVXSHUILFLDOEXWLW V
    VXSHUILFLDO$QGLW VOLNHLW VGHPHDQLQJ
    ,W
                ,W VLUUHOHYDQW/LNHZKDWGRHVLWPDWWHU"
    $QGZK\LVWKDWOLNHWKHOHQVDWZKLFK\RXORRNDWPH
    WKURXJK"/LNHZK\GRHVZK\GRHVLWPDWWHU",
    IHHOLILWVDLGOLNH0D[LH VXJO\$), GIHHO
    WKHVDPHDERXWLW/LNHZKDWGRHVLWPDWWHU"6R
    WKDW VP\RQO\WDNH
    $QG,ZRXOGOLNHWRNQRZZKRGRHVH[DFWO\
                $QG,ZRXOGOLNHWRNQRZZKRGRHVH[DFWO\
    ZKDW,VD\EHFDXVHRIKRZ,ORRNEHFDXVH,ZLOOILQG
    WKHPDQG,ZLOOKLUHWKHPLPPHGLDWHO\WRIROORZPH
    DURXQG
    4 %\$WWRUQH\0HUWHQV , PVKDULQJDGRFXPHQW
    ZLWK\RX0V5H\QROGV7KLVLV'HIHQVH([KLELW
    $<HDK
    47KLVGRFXPHQWGRHVQRWKDYHD%DWHVVWDPS


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     $77251(<&215$'2EMHFW)RUP
     $W\SHRIVWRULHV<HV, PDZDUHRIWKDW
     4 %\$WWRUQH\0HUWHQV 0V5H\QROGVKRZWDOO
     DUH\RX"
     $)LYHVHYHQDQGDKDOI
     4$QGDSSUR[LPDWHO\0V5H\QROGV, PQRW
     DVNLQJIRUH[DFWLWXGHWKDW VUXGHKRZPXFKGR\RX
     ZHLJK"
     $2QDJRRGZD\2QDEDGGD\
    4+DYH\RXVHHQ0U+DGQDJ\LQSHUVRQ"
    $<HDK
    4+RZWDOOLV0U+DGQDJ\DSSUR[LPDWHO\"
    $6L[WZR
    4$QGGR\RXNQRZDERXWKRZPXFKKHZHLJKVDV
    DJXHVVWLPDWH"
    $0D\EHDWWKHWLPHWKDW,NQHZKLPSUREDEO\
    WKUHHWLPHVP\ZHLJKW
    43UREDEO\KRZPXFK"
    $+HZDVOLNHWZRWRWKUHHWLPHVP\ZHLJKW
    +HZDVODUJH
    4+H VPXFKELJJHUWKDQ\RX"
    $+H VPXFKELJJHUWKDQ,DP
    4'R\RXWKLQNLW
           4   'R\RXWKLQNLW VDSSURSULDWHIRUDPDQWZLFH
    \RXUVL]HZKRSURIHVVHVKDWUHGIRU\RXWRMRNHDERXW
    KLULQJDKLWPDQDJDLQVW\RX"


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     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $,GRQ
           $   ,GRQ WWKLQNLW VDSSURSULDWHDWDOOHYHQ
     LIKHZDVKDOIP\VL]H
     4 %\$WWRUQH\0HUWHQV ,VWKHUHDQ\SHUVRQDO
     EHQHILWWR\RXE\EULQJLQJWKHDVVHUWLRQV\RX YHUDLVHG
     DJDLQVW0U+DGQDJ\WR'HI&RQ"
     $1R
     4'LG0U0RVVSD\\RX"
     $1R
    4'LG'HI&RQSD\\RX"
    $1R
    4'LGDQ\RQHSD\\RXIRUEULQJLQJWKH
    DVVHUWLRQV\RX YHEURXJKWDJDLQVW0U+DGQDJ\WR'HI
    &RQ"
    $1R
    4'LG\RXJHWDQ\SURIHVVLRQDOEHQHILWE\GRLQJ
    VR"
    $1R7KLVLVDJUHDWOLNHSHUVRQDOULVNWR
    PH,WKLQNWKHUH VRQO\GRZQVLGHVIRUDOORIXVLQ
    WKLV
    4+DVWKLVHQWLUHVLWXDWLRQFDXVHG\RXVWUHVV"
    $<HV
    4$ORWRIVWUHVV"
    $77251(<&215$'2EMHFW)RUP
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                                                                        3DJH
     %XW\HDK, PVFDUHGRIKLPWKDWZD\
     %XW,ZLOOVD\RYHUWKHSDVWVRUWRIWKUHH
     \HDUV, YHGHYHORSHGDVRUWRIOLNHWROHUDQFHWR
     KLP/LNHWKDWKH VRQWKLVFDOOIRUPHLV
     H[WUHPHO\LWODFNVVHOIDZDUHQHVV<RX UHDGGLQJQR
     YDOXHWRWKLVFDOO<RXUODZ\HUVGRQ WQHHG\RXRQ
     WKLVFDOO/LNHWKHUH VQRUHDVRQ,WMXVWVKRZVD
     OLNHGLVWLQFWODFNRIVHOIDZDUHQHVV
     $QGVRRYHUWKHSDVWIHZ\HDUVOLNH,ORRN
    DWKLPGLIIHUHQWO\VR, PQRWVFDUHGWRVLWRQWKLV
    FDOOZLWKKLP%XWSK\VLFDOO\\HVOLNHKHFRXOG
    WDNHPHXQIRUWXQDWHO\
    $QGPHQWDOO\,WKLQN, PLQDEHWWHUSODFH
    QRZ6R, PQRWDVVFDUHGRIKLP/LNH,FRXOGKDYH
    DFRQYHUVDWLRQZLWKKLPLIVRPHRQHHOVHZDVWKHUHWR
    VRUWRIJXDUGPH6RLW VFKDQJHGRYHUWLPHEXW
    \HDK, PVFDUHGRIKLPDQG\HVKH VFDXVHGPHDORW
    RIDQ[LHW\DQGIHDU
    4 %\$WWRUQH\0HUWHQV $UH\RXHYHQLQWKH
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 1                            C E R T I F I C A T E

 2      UNITED STATES          )
                               )
 3      DISTRICT COURT         )

 4
                  I, a Reporter and Washington Certified Court
 5      Reporter, hereby certify that the foregoing videotaped
        videoconference deposition upon oral examination of
 6      Maxie Reynolds was taken stenographically before me on
        September 27, 2024, and transcribed under my direction;
 7
                  That the witness was duly sworn by me
 8      pursuant to RCW 5.28.010 to testify truthfully; that
        the transcript of the deposition is a full, true and
 9      correct transcript to the best of my ability; that I am
        neither attorney for nor a relative or employee of any
10      of the parties to the action or any attorney or counsel
        employed by the parties hereto nor financially
11      interested in its outcome.

12                I further certify that in accordance with
        Washington Court Rule 30(e) the witness is given the
13      opportunity to examine, read and sign the deposition
        within thirty days upon its completion and submission
14      unless waiver of signature was indicated in the record.

15                IN WITNESS WHEREOF, I have hereunto set my
        hand this 3rd day of October, 2024.
16

17

18                  Douglas Armstrong, RPR

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                    ____________________________________________
20                  Washington Certified Court Reporter No. 3444
                    License expires 11/26/2025
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          Exhibit 6
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          Exhibit 7
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          Exhibit 8
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Potential titles:

    1.    Beyond the Implications: Lessons from the Front Lines of Insider Threat and Cancel Culture
    2.    The Unseen Assault: A Journey Through Insider Threats and the Maze of Cancel Culture
    3.    Shadow Battles: Surviving Insider Threats and the Ripple Effects of Cancel Culture
    4.    Cancelled but Not Conquered: Defying Insider Threats and the Specter of Cancel Culture
    5.    When Silence Speaks: Countering Insider Threats and the Unseen Forces of Cancel Culture
    6.    In the Eye of the Storm: Understanding Insider Threats and Surviving Cancel Culture
    7.    Cancelled but Not Conquered: Lessons from the Frontlines of Insider Threat and Cancel Culture

Preface

         Introduction to my background and expertise.
         Brief overview of the event that sparked the book's creation.
         The book's objectives and who it aims to help.

Chapter 1: The Unseen Insider Threat

         Introduction to insider threats: definitions and types.
         Personal story of betrayal by an employee with malicious intent.
         The psychological and emotional impact of betrayal.

Chapter 2: The Ripple Effect

         Detailed account of how the betrayal unfolded.
         Exploration of the wider financial/brand/revenue impact on the company and
          employees. (use percentage not #’s)

Chapter 3: The Anatomy of Cancel Culture

         Defining cancel culture and its relevance in today's society.
         Analyzing how cancel culture operates: mechanisms and motivations. (You can’t cancel
          without cancel power) (think of this being a whole chapter)
             o Power and its role in this (Jeff’s power) (the email asking for help when he
                 rejected helping, using cancel power properly) Abuse of cancel power
         The intersection of insider threats (Maxie) and cancel culture. (Jeff/Def Con)

Chapter 4: The Aftermath

         Personal and professional consequences of being targeted by cancel culture.
         Emotional and psychological toll on the author and those close to them.
         Reflections on public perception and the struggle for redemption.

Chapter 5: Lessons Learned
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       Key insights gained from the experience with insider threats.
       Understanding the importance of organizational culture and employee engagement.
       Strategies for preventing and detecting insider threats.

Chapter 6: Building Resilience

       Developing personal, professional and organizational resilience in the face of challenges.
       Techniques for managing stress and maintaining mental health.
       The role of support networks and seeking professional help.

Chapter 7: Navigating Cancel Culture

       Strategies for responding to cancel culture and managing its impact.
       The importance of risk assessment of those with cancel power over you,
        communication, transparency, and accountability.

Chapter 8: Legal and Ethical Considerations

       Overview of legal protections against defamation and false accusations.
       Ethical considerations in addressing insider threats and cancel culture.

Chapter 9: The Path Forward

       Turning adversity into opportunity: personal growth and professional development.
       Rebuilding reputation and career after being targeted by cancel culture.
       Future outlook on insider threats and cancel culture, with recommendations for
        individuals and organizations.

Chapter 10: Conclusion

       Recap of the key messages and lessons from the book.
       Final thoughts on overcoming adversity and the importance of resilience.
       The courage to return.
       Call to action for readers to apply the lessons learned in their own lives and
        organizations. Outline to analyze those with cancel power in your life.

Reach out to academics about cancel culture
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Preface

        Introduction to my background and expertise.
        Brief overview of the event that sparked the book's creation.
        The book's objectives and who it aims to help.

My name is Christopher Hadnagy, I would imagine most people reading this book have no clue who I
am. This is why I want to start off telling you a bit about my history. With out going into the details my
childhood was an interesting one. Both of my parents had been abused as children, and sadly carried on
the family legacy with their four children. My mom had a particular need to have babies around, so we
were a foster family that had over 127 kids in and out of the house before I moved out.

Being raised in a volatile family meant I had to learn some interesting survival skills, ones that would
inevitable help me with what was coming in my life.

Growing up I experimented with lots of alcohol and some drugs, but my passion was violence. I loved
fighting, I loved punching things and people. Oddly enough, I didn’t even mind losing a fight.

Nineteen year old me met the woman who would become my wife, my best friend and the woman who
changed me for the better…. Or maybe better yet, who allowed me the freedom to change into the man
she wanted. She had a son from a previous marriage, who I fell in love with. I had to work hard to not
duplicate my parents lessons on discipline. I was not always perfect at that, fortunately Colin and are
close and we worked through any mistakes and he has turned into an amazing man.

When he was twelve we had a surprise, my beautiful daughter Amaya was born. The day I found out
Areesa was pregnant was the best day of my life. I read to her belly every night, I played games with
amaya when she would push her hand up I would push it back. The day was here, she was gonna be
born. But as she came out she choked herself to death on her umbilical cord. My world was shattered, I
couldn’t understand how this could happen. The nurses and doctors worked on her for what seemed
like an eternity. I went over to her tiny blue body and I leaned down and I said, “Baby its daddy, you
have to wake up so we can play our game and I can read to you.” No lie, she open her eyes and reached
her hand up to grab my finger.

That story still fills my eyes with tears. But having these two kids has changed my life. I became someone
who doesn’t love violence, I found peace in getting to know God, and having an amazing life partner
that happens to be my best friend that I can laugh with and stare at even after 3 decades of marriage.

When I was in my late twenties early 30’s I found myself unemployed. I was depressed, sitting at home,
and I started to gain a lot of weight. I became pretty much lethargic.

I finally found a career in information security working for an amazing company that was on the cutting
edge of hacking, education and understanding threats. We got paid to hack into companies, all legally,
to show them their vulnerabilities and how to patch them. I fell in love with this job.

It didn’t help my health. I found myself staying up all hours of the night, sometimes 2-3-4 am, hacking
into clients or writing exploits, researching. But I loved my job. As much as I loved it, there was
something always nagging me telling me that I wasn’t so good at the coding part. So I started to practice
something called social engineering. It became famous with a very special hacker named Kevin Mitnick.
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He used it to steal phone plans and to infiltrate the FBI and evade them for years. When he was finally
caught he was sent to prison. Upon his released, he reformed and became a champion in the industry to
teach people hacking. We eventually became close friends. Sadly, only in his 50’s Kevin passed away
recently, but he left behind him a legacy that made my job possible.

In reading his books I wanted to practice these things legally, so we would ask clients if we can include
phishing emails, or phishing calls and even physically breaking into their buildings. Every time we did we
succeeded. Then one day a client asked me, “Ok so you did it, how do I fix it?”

Blank stare…. “I don’t know”

He said something that changed my life, “If I went to my auto mechanic and asked ‘what is this sound?’
and he said ‘your brakes’ then I said please fix it and he said ‘don’t know how’, I would never use that
mechanic again.”

And he was 100% correct. That ignited a passion in me, I wanted to learn all I could. So I started to
consume books on nonverbals, persuasion, influence, body language, neuroscience, decision making,
communications and everything I could. I would document the things I read and speak to others who
had more knowledge. In about ten months I had a framework for what I felt made up social engineering.

In doing so, I realized that the world’s definition of social engineering, “….to the manipulation of
individuals or groups into divulging confidential information, performing actions, or providing access to
restricted areas, typically through psychological manipulation rather than technical means. It involves
exploiting human psychology, trust, and social interactions to deceive people.”

Really didn’t fit my research, so I redefined it. It was now, “Any act that influences a person to take an
action that may or may not be in their best interest.” I felt that encompassed the positive and negative
aspects of this tool.

I bought a domain, www.social-engineer.org and I built a website to put this out there. I thought to
myself, “well, if one person can use this, lets do it.”

I also enjoyed the research I did so much I started a podcast, I was going to interview people in different
fields about an aspect of this framework and how they use it and how we can learn. So I had agents,
magicians, psychologists, teachers, CEO’s and all sorts of people on the show.

A few months after the frameworks release, I get a call from Kevin Mitnick’s publisher, and she is asking
me to write a book on the framework I put out. I told her I was a nobody and didn’t think anyone would
care. It took some convincing, but I wrote that book, Social Engineering: The Art of Human Hacking and
it was released in 2010.

That book took the infosec world by storm. I was being called by global large companies to consult and
work with them on social engineering. Companies that wanted me to help in crafting and attacking
hundreds of thousands of people at once. I quickly realized I needed to develop methodologies and
systems that had never been created before.

It was around this time I had been attending a massive hacker conference called DEF CON. One year
they had a social engineering competition and thanks to the notoriety I had gotten I was asked to be a
guest judge. But I was appalled at what was happening. In this open room people were making random
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calls to people and getting their private info and even credit card numbers and it was all being broadcast
over the speakers. I tried to get it to stop, and when they wouldn’t I walked out. I went right up to the
owner of the conference, Jeff Moss, and told him, “What is happening in there is illegal and immoral, it
can’t continue” He said, “Well then come up with something better and you can do it next year.”

A little bit heated I said, “No problems I will.”

BITING OFF MORE THAN I CAN CHEW

I went back to the office and started to think of ideas, and every idea I had seemed too unrealistic. I
reached out to the EFF, and organization that gives legal advice to people in my industry and ran my
idea through them. Once I knew I was above board in the legal department I began developing the
world’s first Social Engineering Capture the Flag. I presented to Jeff and he granted me to run what I
called “The Social Engineering Village” or SEVillage.

My idea was I developed a series of “flags” (bits of information) that a contestant would have to try and
find first through OSINT and then through a series of 25 min phone calls. Those who wrote the best
report, got the most points and followed all the rules – and there were a ton – would win. They would
sit in a soundproof booth, I would control all the calls so if someone broke a rule we can cut them off.
And then we would assign contestants companies they had to use as their targets.

Year one, we were given a tiny room, maybe a couple hundred square feet. But the room was packed
for all three days. It was floor filled, walls filled, it was amazing to see how many people were interested
in this.

DEF CON has a very coveted prize called “the black badge” and it grants the winner of a competition free
access to come to the conference for the rest of their lives. It is kind of legendary. It is never awarded to
a first time competition in year one, but that year due to our success we were awarded it.

That turned the SECTF and the SEV into a new staple. Each year the competition grew and grew,
eventually I helped start a kids competition, then a teens, then a few other events that kicked off. We
made international news and we were bringing awareness to this threat in a way that no one got
harmed. As a matter of fact, my business that I started was booking due to it. Many companies would
send their security staff to our village to listen and learn and if they were a target they would hand me a
card and ask to talk. One of few things I loved about the SEVillage was I got to bring my wife and two
kids and they worked with me, and some of closest friends from around the globe came and we got to
hang out, talk, eat and drink.

One more important fact before I tell you why this book must exist, is around 2017 I decided to start a
non-profit that would use the greatest minds from infosec to hunt, geolocate and find people who
traffic children and create child abuse material, The Innocent Lives Foundation. The work we do there
saves lives and I am so proud to have that has part of my legacy.

I am going to stop my story there, because this is where I want to take some time to tell you why this
book is so important, in case right now you are thinking, “So what?”

THE REASON THIS BOOK EXISTS
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My company has employed dozens of people over the years. I know I am not the perfect boss, sheez, I
have said some things I certainly regret. I also am a very hard worker and demand the same from my
people. But even though I can be a giant jerk at times I treat my people well. I pay good, have excellent
benefits, am very lenient and I share everything with them. I mentor, teach and give my soul to them. It
is not uncommon for employees to gather at my house and I cook for them.

I had an ex-employee that sold us her laptop for $1 so she can use it at work. This had to happen
because she wanted to use a Mac but we are only Windows. And due to our contracts we have to have
our back up software and our remote control software in every machine. She agreed in writing via email.
During the peak of COVID she told us her father was dying and she needed some time off to care for
family matters. We gave over two months of paid leave. I was also in the middle of a book deal with her
to help her career. We were told the stress of the family illness has made her depressed and she
couldn’t work anymore. She quit her job, we told her to mail her laptop back, we would take off our
data and send it back to her. She said, “this week”.

We wish her well with her family and told her to stay in touch. One, Two, Three weeks went by and the
excuses piled up as to why the laptop was not shipped and then finally we were told it was. But it never
showed up, so we remotely locked the laptop.

That is when we realized shipping the laptop was a lie. The book I had worked on with her was printed
and I got my copy, in one chapter she used pictures from an active case from my nonprofit of how we
geolocated a predator that was grooming a 13-year-old girl.

I went nuts, she could have killed this case. I texted, called, emailed, nothing, she was not budging. I
called the publisher and told him those pictures could be considered a federal crime since the case was
now in the hands of federal law enforcement.

I will give you more details throughout this book, but suffice it to say we found evidence that she has
been lying, trying to subvert business and even signing contracts that she was not allowed to. She had
tried to get Apple to unlock her laptop, which they couldn’t and the drive got wiped.

Also learning about her methods I pulled all my support from all the marketing, podcasts and media we
had planned for her book launch.

She was so angry she went and gathered all my ex-employees that didn’t like me, and took them to Jeff
Moss, the owner of DEF CON, and told them that he had empowered me to become a tyrant over
women in infosec and I subjugate them and harass them when they want to leave.

I know all this because Neil Wylie, a person who I thought was my friend and a very close employee of
Jeff at DEF CON, called me and told me that Maxie had brought this horde to DEF CON and demanded
my head.

This was August of 2021 when it all started. I explained everything I said above to Neil, who is also in
security, so I couldn’t understand why he wasn’t getting it. It seemed so odd to me. After trying to meet
and speak with Jeff about these allegations from August to December and being told that he had already
given my village to a couple folks who have hated me for years, I wrote an email telling him I was leaving
DEF CON and taking my SEVillage elsewhere. That was in Dec 2021.
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In Feb of 2022, I get an email from Jeff stating I am being banned from DEF CON. That next day he posts,
“We received multiple CoC violation reports about a DEF CON Village leader, Chris Hadnagy of the SE
Village. After conversations with the reporting parties and Chris, we are confident the severity of the
transgressions merits a ban from DEF CON.”

These two sentences would cause a ripple effect in the industry and in my life that I was not prepared
for. Since the previous named banned people from DEF CON only were named for sexual misconduct
people assumed I had sexually assaulted someone in my company or at DEF CON. The backlash from
this community that once loved me was unbelievable. I was called things like “serial sexual predator”,
“the Harvey Weinstein of infosec”, “rapist”, “child abuser”, “thief”, amongst other things I won’t list in
this book. People who I thought were my closest friends ran from me like I had leprosy.

That is why this book must exist. All the people, men and women, who will be or have been falsely
accused, cancelled and destroyed. They may not have had the means to fight back, or the will, so they
gave in and either ended their own lives or slithered off into nothingness. This book is for you.

Do you want to understand the profound and utter nature of cancel culture and insider threat? This
book is for you.

Do you want to understand how human vulnerability can lead to insider threat that can ruin a life and a
company? This book is for you.

Are you just curious to see how this all turned out? This book is for you.

What do I hope to accomplish and help with this book

My career has been centered around helping other people. No, I am not perfect, and I have made a TON
of mistakes, that is for sure. But my overarching theme of life, is helping others. (despite my
imperfection) The question that remains, someone who loves their God, loves their family, loves their
employees, loves their industry, creates jobs for people, creates a nonprofit to save kids – and they can
get cancelled to the point they are a pariah, literally hated by the same people who lined up to take pics
and sign book…. What can you do about it? How do you deal with it? How can you cope and manage?

I want to share with you the raw, unadulterated details of what I did wrong and right in coping.

I don’t know if this will help, but I want to believe there is one person out there going through what I did
and this guide can help you deal with insider threat and can help you deal with the aftermath of being
cancelled, and how to come back from it, if there is even a way.

That is what I hope to accomplish in the pages of this book. So with that let’s dive right in.

Chapter 1: The Unseen Insider Threat

        Introduction to insider threats: definitions and types.
        Personal story of betrayal by an employee with malicious intent.
        The psychological and emotional impact of betrayal.

Insider Threat and What is It Really?
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Insider thereat can be broken down into seven different categories in my opinion, Malicious, Negligent,
Infiltrators, Exploited, Colluding, Third-Party, and Departing. Each of these has a different motive and
reason for their reasons and it is important to understand. Some are controllable and some are not. Lets
dive into each.



1.      Malicious Insiders: These are individuals who intentionally harm the organization through theft,
sabotage, espionage, or fraud. They might steal proprietary information, intentionally leak sensitive
data, or sabotage organizational systems. Their motivations can vary from financial gain to personal
grievances against the organization.

This type of threat doesn’t seem to care about the harm they cause or who they ruin in the path, they
are just out to get revenge or a real or perceived offense.

2.        Negligent Insiders: These individuals inadvertently cause harm to the organization through
carelessness or lack of awareness. This can include falling prey to phishing attacks, mismanaging data,
using unsecured networks, or mishandling credentials. Though there's no malintent, their actions can
still lead to significant security breaches.

There can be different reasons for this type of threat. Maybe the company is not doing enough to
educate, so the employees are a threat. Or maybe the company is not using a positive reinforcement
model, so employees are not motivated to report, due to fear. Or maybe the employee is just lazy and
doesn’t care. Any of these reasons are serious enough to make negligent threats a real problem.

3.       Infiltrators: These are external actors who gain inside access through deceptive means, such as
identity theft or by obtaining employment with the sole purpose of conducting espionage or sabotage.
Unlike traditional insiders, infiltrators enter the organization with the explicit intention of becoming an
insider threat.

These types of threats are truly malicious, from the beginning they have a goal to destroy. Their only
motive is to get in to hurt and take, these types of insider threats can be hard to detect depending on
their skill and your company’s needs/size. We will talk a lot about this kind of threat.

4.      Exploited Insiders: These insiders become threats because external attackers compromise their
credentials or systems. The compromised insider might not even be aware that their access is being
used maliciously. This category can overlap with negligent insiders, especially if the compromise was due
to careless security practices.

Sometimes it is poor security practices, sometimes it is low pay, sometimes it is both… either way, these
threats can be exploited by attackers to work with threat actors to compromise a company.

5.      Colluding Insiders: This involves two or more individuals within the organization conspiring to
carry out an attack or leak information. This type can be especially difficult to detect and prevent, as the
colluders can work together to bypass security measures and checks.

Kind of like the above insiders, these are similar but even worse. They are willingly working with the
attackers to take your company down.
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6.      Third-party Insiders: These are individuals from third-party organizations (vendors, contractors,
partners) who have been granted access to the organization’s systems and data. They can pose a threat
due to the combination of having inside access and potentially less oversight and loyalty to the
organization.

Now-a-days, we are seeing endless supply chain breaches, so this is a very important topic. Knowing if
the vendors who have access to your network and breachable is very important.

7.      Departing Insiders: Employees who are leaving the organization but still have access to its
resources can become insider threats if they decide to misuse that access before they go, either out of
malice or in an attempt to take proprietary or sensitive information with them.

I read a report that there were 250,000 lay offs in infosec in 2023… that number is huge. Many with very
little solid reasoning. Every time this happens there a chance of creating a departing insider threat.



Back to my story….

So here I am reading this resume from a person who seems fake. Her LinkedIn said not only was she a
social engineer, but had a degree in quantum computing, was a stunt driver, and also had the elusive
OSCP certification, and on top of that she looked like a super model. In my head I said, “this is a catfish”
( a popular attack where a beautiful looking woman is used to attract men into a conversation and get
them to expose information.

So I replied to her request for mentorship with something like, “Maybe next time you try, make your
resume not so fake…”

Her reply took my by shock, “I am sorry, should I clarify something. If I offended you let me know.”

Hrrrmmmmm that is not what I expected.

So I continued to engage to the point where, still thinking she was fake, I said, “well I would interview
you if you were in Orlando but you are in LA.”

She said, “I can be in Orlando Wednesday….”

“Hrm, this is interesting, ok let me see if this catfish will go through”, I thought. So I told her I would pick
her up at the airport and we would interview at a local Starbucks then she could meet my wife and kids
and go to dinner.



Arriving at MCO airport, she was there, and she looked just like her picture. That is not what I expected.
We did the interview and she was amazing. Not what I had expected. I took her to meet my wife and
daughter and they loved her. Not what I expected. All of it checked out.

None of it made sense in my head, and that was the problem. Logic said, “run away” but everything she
said checked out. So I ignored the blaring alarm in my head.
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When she told us that her father was dying, my wife, who is one of most giving people on earth, made
her a care package of things from Scotland (her home country) and sent a card saying, “I know you can’t
get home so we sent home to you.”

Part of that package was a beautiful cashmere shawl from Scottish sheep. When she was at the height of
attack, she posted a picture of her dog tearing that shawl to pieces with a laughing emoji. It crushed my
wife’s heart.

I piece I haven’t mentioned yet, as this is the first lesson for this book. When Maxie approached me she
asked me to mentor her in starting a social engineering company. I rejected that and said if she was
good I would hire her.

She got hired but, it seems her intent was to just use us to accomplish her goal. What threat does this
make her to you?

For sure she is a Malicious or Infiltrator insider threat. To recap

Malicious Insiders: These are individuals who intentionally harm the organization through theft,
sabotage, espionage, or fraud. They might steal proprietary information, intentionally leak sensitive
data, or sabotage organizational systems. Their motivations can vary from financial gain to personal
grievances against the organization.

This type of threat doesn’t seem to care about the harm they cause or who they ruin in the path, they
are just out to get revenge or a real or perceived offense.

OR

Infiltrators: These are external actors who gain inside access through deceptive means, such as identity
theft or by obtaining employment with the sole purpose of conducting espionage or sabotage. Unlike
traditional insiders, infiltrators enter the organization with the explicit intention of becoming an insider
threat.

These types of threats are truly malicious, from the beginning they have a goal to destroy. Their only
motive is to get in to hurt and take, these types of insider threats can be hard to detect depending on
their skill and your company’s needs/size. We will talk a lot about this kind of threat.

Maybe she fits both, either way, I feel for it. This is what I do for a living and I 100% feel for it.

Maybe it was halo effect, maybe it was confirmation bias, maybe it was something else. But either way I
fell for it and it cost me dearly.

The Emotional Impact of Betrayal

I remember the day opened that book and saw a picture from ILF in there, I had this pain in the pit of my
stomach. I couldn’t understand why anyone would do this. We were saving a 13 year old girl, why would
you risk that.

My emotions were anger, disappointment, disbelief, and disgust.

I remember the day Jeff announced my cancellation and I saw people calling me a rapist and sexual
predator. A man I had worked with for close to 20 years and he knew me well.
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My emotions were fear, sadness, anger, disgust and contempt.

I remember when I saw the announcement that Stephanie and JC were taking over the village and they
claimed to find out in Dec but I knew they knew in July/Augst. I was shocked by the blatant lying from
people who I thought were in the same community.

My emotions were anger, disgust, contempt, and complete disbelief.

When one of my best friends in the industry had a chance to support me, he knew me ( so I thought)
better than most, but instead of support he tweeted, “I pulled my talk because it was the right thing to
do … after discussing with other speakers at the event, the organizers should have at a minimum
announced the speaker well ahead of the conference and published clearly on site for folks to make
their own decision."

Ha, he was one of the organizers. I ate dinner and worked out with him the night before that speak.
What a joke.

My emotions where intense pain, betrayal, disgust, and a complete disbelief that this was real.

I could literally go on for hundreds of pages of the people who physically or verbally spat in my face and
how I felt, but I think you get the point. This taught me who was really my friend (Wayne, Layne, Domini,
etc) and who was here just because I was popular (Dave, John, Brian).

At that time I didn’t understand how powerful betrayal was, and it became an area of research for me.

The Psychology and Emotional Impact of Betrayal

The psychology of betrayal delves into the emotional and psychological ramifications of being betrayed,
which is a complex process that can significantly impact individuals' mental health and interpersonal
relationships. A betrayal occurs when there's a violation of the implicit or explicit trust between
individuals, leading to emotional distress for the betrayed party.

Research and theories on betrayal highlight its evolutionary basis, where trust and cooperation are
fundamental to human relationships. Betrayal disrupts these bonds, leading to significant emotional and
sometimes physical consequences. According to a model presented at the Heterodox Psychology
Conference, the aftermath of betrayal involves a process that could lead to forgiveness, depending on
several factors including the betrayed individual's response to the betrayal (outrage), the betrayer's
response (guilt or lack thereof), and the eventual possibility of forgiveness. This model underscores the
evolutionary rationale behind our responses to betrayal, suggesting that moral emotions, such as
outrage and guilt, have developed to manage the repercussions of betrayal and maintain social cohesion​
(Psychology Today)​.

Betrayal can significantly impact any kind of relationship, be it friendships, family ties, or romantic
partnerships. The intensity of the betrayal often correlates with the depth of the relationship, where
deeper relationships can lead to more profound feelings of betrayal and emotional stress. Trust is a
cornerstone of all relationships, and its violation can lead to a wide range of emotional responses, from
disappointment and grief to severe trust issues and avoidance of future emotional harm. People who
have been betrayed might build emotional walls to protect themselves from future pain, but this can
also isolate them and prevent the formation of new, meaningful relationships​ (Psychology Today)​.
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Betrayal trauma specifically refers to the psychological distress that arises from betrayal, especially in
contexts where the betrayed individual is dependent on the betrayer for emotional support or safety.
This can include infidelity in romantic relationships, abuse by caregivers, or even institutional betrayals
where organizations fail to protect or support their members. The impact of betrayal trauma can be
profound, leading to issues like hypervigilance, a lack of foundational trust, and even generational
trauma. Healing from betrayal trauma often involves acknowledging the hurt, accessing therapeutic
support like cognitive behavioral therapy (CBT) or eye movement desensitization and reprocessing
(EMDR), and, where appropriate, relational healing or building new support systems​ (MindBodyGreen)​.

Understanding the psychology of betrayal and its impacts is crucial for both prevention and healing.
Recognizing the signs of betrayal trauma and seeking appropriate support can aid in recovery, helping
individuals rebuild trust in relationships and improve their emotional well-being.



Chapter 1: The Unseen Insider Threat

        Personal story of betrayal by an employee with malicious intent.
        The psychological and emotional impact of betrayal.
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          Exhibit 9
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       Exhibit 10
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ϰ       $<HV
             $    <HV

ϱ       4'R\RXUHFDOOWKHVHUHIHUHQFHVWR+RW
             4    'R\RXUHFDOOWKHVHUHIHUHQFHVWR+RW

ϲ       :KHHOVSRUQRJUDSK\"

ϳ       05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϴ       $,,GRQ
             $    ,,GRQ W,GRQ W,NQRZ,

ϵ       NQRZLWKDSSHQHGEXWUHDOO\,DPUHFDOOLQJLW

ϭϬ      ,WKLQNEHFDXVHRIUHDGLQJWKLVEXW,GRNQRZLW

ϭϭ      KDSSHQHG

ϭϮ      4
             4     %\0U'HDQ *RWLW$QGGR\RXWKLQN

ϭϯ      LW VDSSURSULDWHRULQDSSURSULDWHWRGLVFXVV+RW

ϭϰ      :KHHOVSRUQLQDFODVV"

ϭϱ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϲ      $:HOOLQWKHVHWWLQJRIWKLVFODVVZH
             $    :HOOLQWKHVHWWLQJRIWKLVFODVVZH

ϭϳ      ZHUHWDONLQJDERXWVRPHWKLQJ26,172SHQ6RXUFH

ϭϴ      ,QWHOOLJHQFH$QG,ZDVWHOOLQJWKHPDVWRU\RIKRZ

ϭϵ      ,ZDVSHUIRUPLQJWKLVFODVVIRUDVRFLDOPHGLD

ϮϬ      FRPSDQ\DQGWKDWZHVWXPEOHGRQWKLV6R,GRQ W

Ϯϭ      IHHOWKDWLWZDVLQDSSURSULDWHWRZDUQP\VWXGHQWV

ϮϮ      WKDW\RXFDQVWXPEOHXSRQWKLQJVWKDWDUHKLJKO\

Ϯϯ      LQDSSURSULDWHLQDFRUSRUDWHVHWWLQJ

Ϯϰ      4
             4     %\0U'HDQ +RZDERXWPDNLQJUHSHDWHG

Ϯϱ      UHIHUHQFHVWR+RW:KHHOVSRUQWKURXJKRXWWKHFODVV


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϯ
ϭ       LVWKDWDSSURSULDWHRULQDSSURSULDWH"

Ϯ       $,FDQ
             $    ,FDQ WUHFDOOKRZLWZDVXVHG6R,

ϯ       FDQ WKRQHVWO\DQVZHUWKDWTXHVWLRQ

ϰ       4'R\RXNQRZLILW
             4    'R\RXNQRZLILW VSURIHVVLRQDORU

ϱ       XQSURIHVVLRQDOWRFRQWLQXHWRWDONDERXW+RW:KHHOV

ϲ       SRUQWKURXJKRXWDFODVV"

ϳ       $$JDLQRXULQGXVWU\LVILOOHGZLWKNLQGRI
             $    $JDLQRXULQGXVWU\LVILOOHGZLWKNLQGRI

ϴ       GDUNKXPRUDQGLQWKLVW\SHRIFODVV\RXDUH

ϵ       FRQVWDQWO\VWXPEOLQJRQWKLQJVWKDWDUHZRXOGEH

ϭϬ      FRQVLGHUHGLQDSSURSULDWHLQQRUPDOFRUSRUDWH

ϭϭ      VHWWLQJV6R,GRQ WIHHOLWZDVLQDSSURSULDWHWR

ϭϮ      WDONDERXWWKHVHWKLQJVLQDFODVVRI26,17

ϭϯ      4'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW
             4    'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW

ϭϰ      ILQGWKDWGLVFXVVLQJ+RW:KHHOVSRUQWKURXJKRXWD

ϭϱ      FODVVZRXOGEHLQDSSURSULDWH"

ϭϲ      $<HV,GR
             $    <HV,GR

ϭϳ      4$QGGR\RXXQGHUVWDQGKRZVRPHSHRSOH
             4    $QGGR\RXXQGHUVWDQGKRZVRPHSHRSOH

ϭϴ      PLJKWILQGWKDWGLVFXVVLQJ+RW:KHHOVSRUQ

ϭϵ      WKURXJKRXWDFODVVPLJKWEHXQSURIHVVLRQDO"

ϮϬ      $<HV
             $    <HV

Ϯϭ      4$QGGR\RXXQGHUVWDQGKRZWKDWPLJKWPDNH
             4    $QGGR\RXXQGHUVWDQGKRZWKDWPLJKWPDNH

ϮϮ      VRPHRQHIHHOXQFRPIRUWDEOH"

Ϯϯ      $<HV
             $    <HV

Ϯϰ      4,ZDQWWRJRGRZQULJKWDERYHGD\WZR,W
             4    ,ZDQWWRJRGRZQULJKWDERYHGD\WZR,W

Ϯϱ      VD\VWKURXJKRXWUHVWRIWKHGD\VRPHKRZWKH


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϰ
ϭ       LQVWUXFWRUJRWIL[DWHGRQWKHVXEMHFWRI VSRUQ

Ϯ       DQGLWVPXVLF7KHUHIHUHQFHFRQWLQXHGDOPRVW

ϯ       KRXUO\IRUWKHWZRGD\VRIWUDLQLQJGR\RXVHH

ϰ       WKDW"

ϱ       $,GR
             $    ,GR

ϲ       4'R\RXUHFDOOPDNLQJUHIHUHQFHVWR
             4    'R\RXUHFDOOPDNLQJUHIHUHQFHVWR V

ϳ       SRUQDQG VSRUQ VLF PXVLF"

ϴ       $,GRQRW
             $    ,GRQRW

ϵ       4'R\RXWKLQNWKDW
             4    'R\RXWKLQNWKDW VDSSURSULDWHRU

ϭϬ      LQDSSURSULDWHWRGLVFXVV VSRUQHYHU\KRXUGXULQJ

ϭϭ      DWZRGD\WUDLQLQJ"

ϭϮ      $,ZRXOGVD\WKDWZRXOGEHLQDSSURSULDWH
             $    ,ZRXOGVD\WKDWZRXOGEHLQDSSURSULDWH

ϭϯ      4:KDWDERXWSURIHVVLRQDOGR\RXWKLQNWKDW
             4    :KDWDERXWSURIHVVLRQDOGR\RXWKLQNWKDW

ϭϰ      ZRXOGEHSURIHVVLRQDORUXQSURIHVVLRQDO"

ϭϱ      $8QSURIHVVLRQDO
             $    8QSURIHVVLRQDO

ϭϲ      4$QG\RXFRXOGXQGHUVWDQGKRZVRPHRQHPLJKW
             4    $QG\RXFRXOGXQGHUVWDQGKRZVRPHRQHPLJKW

ϭϳ      ILQGWKDWWREHLQDSSURSULDWH"

ϭϴ      $,GR
             $    ,GR

ϭϵ      4$QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW
             4    $QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW

ϮϬ      ILQGWKDWWREHXQSURIHVVLRQDO"

Ϯϭ      $,GR
             $    ,GR

ϮϮ      4$QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH
             4    $QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH

Ϯϯ      VRPHRQHIHHOXQFRPIRUWDEOH"

Ϯϰ      $,GR
             $    ,GR

Ϯϱ      4,I\RXJRWRGD\WZRLI\RXORRNDWWKDW
             4    ,I\RXJRWRGD\WZRLI\RXORRNDWWKDW


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϱ
ϭ       ILUVWSDUDJUDSKJRDKHDGDQGUHDGWKDWWR\RXUVHOI

Ϯ       DQGOHWPHNQRZZKHQ\RXDUHGRQH

ϯ       $'R\RXZDQWPHWRUHDGLWRXWORXGRU
             $    'R\RXZDQWPHWRUHDGLWRXWORXGRU

ϰ       MXVW

ϱ       41RMXVWUHDGLWWR\RXUVHOI
             4    1RMXVWUHDGLWWR\RXUVHOI

ϲ       $2ND\,UHDGLW
             $    2ND\,UHDGLW

ϳ       40U9DQFH
             4    0U9DQFH VLF LVGLVFXVVLQJUHIHUHQFHV

ϴ       WREDOOVODSSLQJWKDW\RXZHUHPDNLQJLQFODVVGR

ϵ       \RXVHHWKDW"

ϭϬ      $,GR
             $    ,GR

ϭϭ      4'R\RXUHFDOOPDNLQJUHIHUHQFHVWREDOO
             4    'R\RXUHFDOOPDNLQJUHIHUHQFHVWREDOO

ϭϮ      VODSSLQJGXULQJWKLVWUDLQLQJ"

ϭϯ      $,GRQRW
             $    ,GRQRW

ϭϰ      4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VDSSURSULDWHRU

ϭϱ      LQDSSURSULDWHWRGLVFXVVEDOOVODSSLQJLQDWUDLQLQJ

ϭϲ      FODVVOLNHWKLV"

ϭϳ      $6LQFH,GRQ
             $    6LQFH,GRQ WUHFDOOWKHHYHQWV,FDQ W

ϭϴ      UHDOO\DQVZHUWKDW,DPQRWVXUH,WVD\VWKDW,

ϭϵ      VDLGWKHFRQIHUHQFHRUJDQL]HUKLWPHDQGWKHQ

ϮϬ      WZHHWHGDERXWLW,WGRHVVRXQGOLNHVRPHWKLQJ'DYH

Ϯϭ      ZRXOGGR

ϮϮ      46ROHW
             4    6ROHW VIRFXVRQWKHODVWSDUWRIWKDW

Ϯϯ      VHQWHQFHWKLVOHGWRDGD\IXOORIEDOOVODSSLQJ

Ϯϰ      UHIHUHQFHV'R\RXWKLQNLWZRXOGEHLQDSSURSULDWH

Ϯϱ      RUDSSURSULDWHIRUDQLQVWUXFWRUWRGLVFXVVEDOO


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϲ
ϭ       VODSSLQJUHIHUHQFHVWKURXJKRXWDIXOOGD\"

Ϯ       $0RVWOLNHO\LQDSSURSULDWH
             $    0RVWOLNHO\LQDSSURSULDWH

ϯ       4:KDWDERXWSURIHVVLRQDOSURIHVVLRQDORU
             4    :KDWDERXWSURIHVVLRQDOSURIHVVLRQDORU

ϰ       XQSURIHVVLRQDO"

ϱ       $,ZRXOGVD\XQSURIHVVLRQDO
             $    ,ZRXOGVD\XQSURIHVVLRQDO

ϲ       4$QGFDQ\RXXQGHUVWDQGKRZVRPHRQHPLJKW
             4    $QGFDQ\RXXQGHUVWDQGKRZVRPHRQHPLJKW

ϳ       ILQGWKDWWREHLQDSSURSULDWHGLVFXVVLQJEDOO

ϴ       VODSSLQJUHIHUHQFHVDOOGD\ORQJ"

ϵ       $,GR
             $    ,GR

ϭϬ      4$QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW
             4    $QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW

ϭϭ      ILQGWKDWWREHXQSURIHVVLRQDO"

ϭϮ      $,GR
             $    ,GR

ϭϯ      4$QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH
             4    $QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH

ϭϰ      VRPHRQHXQFRPIRUWDEOH"

ϭϱ      $,GR
             $    ,GR

ϭϲ      4,I\RXJRWRWKHQH[WSDUDJUDSKLW
             4    ,I\RXJRWRWKHQH[WSDUDJUDSKLW

ϭϳ      VWDWHVWKHLQVWUXFWRU VLQDELOLW\WRPDWFKZLWV

ϭϴ      ZLWKWKRVHUHPDUNVIRUFHGKLPWRUHVRUWWRSXOOLQJ

ϭϵ      RXWKLVVZLWFKEODGHLQKLVKDQGSRLQWLQJWKHNQLIH

ϮϬ      DWPHDQGVD\LQJRQHRI\RXLVJHWWLQJEDOOVODSSHG

Ϯϭ      ZLWKWKLVGR\RXVHHWKDW"

ϮϮ      $,GR
             $    ,GR

Ϯϯ      4'R\RXUHFDOOWKLVHYHQW"
             4    'R\RXUHFDOOWKLVHYHQW"

Ϯϰ      $,GRQRW
             $    ,GRQRW

Ϯϱ      4'R\RXKDYHDNQLIHRUDQ\W\SHRI
             4    'R\RXKDYHDNQLIHRUDQ\W\SHRI


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϳ
ϭ       VZLWFKEODGHWKDW\RXZRXOGFDUU\RQ\RXDURXQGWKLV

Ϯ       WLPH"

ϯ       $,GR
             $    ,GR

ϰ       4,VLWDNQLIHRUVZLWFKEODGH"
             4    ,VLWDNQLIHRUVZLWFKEODGH"

ϱ       $,W
             $    ,W VDVZLWFKEODGH

ϲ       4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VDSSURSULDWHRU

ϳ       LQDSSURSULDWHWRSXOODVZLWFKEODGHRXWGXULQJD

ϴ       FODVVDQGVD\RQHRI\RXLVJHWWLQJEDOOVODSSHG

ϵ       ZLWKWKLV"

ϭϬ      $1RZDGD\V,ZRXOGVD\LW
             $    1RZDGD\V,ZRXOGVD\LW VLQDSSURSULDWH

ϭϭ      4:KDWDERXWSURIHVVLRQDORUXQSURIHVVLRQDO"
             4    :KDWDERXWSURIHVVLRQDORUXQSURIHVVLRQDO"

ϭϮ      $,ZRXOGVD\XQSURIHVVLRQDO
             $    ,ZRXOGVD\XQSURIHVVLRQDO

ϭϯ      4$QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW
             4    $QG\RXFDQXQGHUVWDQGKRZVRPHRQHPLJKW

ϭϰ      ILQGLWWREHLQDSSURSULDWHWRSXOODVZLWFKEODGH

ϭϱ      SRLQWLWDWWKHPDQGVD\LQJRQHRI\RXLVJRLQJWR

ϭϲ      JHWVODSSHGZLWKWKLV"

ϭϳ      $,GR
             $    ,GR

ϭϴ      4<RXFDQVHHKRZWKDWFRXOGVRPHRQH
             4    <RXFDQVHHKRZWKDWFRXOGVRPHRQH

ϭϵ      PLJKWSHUFHLYHWKDWDVEHLQJXQSURIHVVLRQDO"

ϮϬ      $,GR
             $    ,GR

Ϯϭ      4$QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH
             4    $QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH

ϮϮ      VRPHRQHIHHOXQFRPIRUWDEOHDVZHOOULJKW"

Ϯϯ      $,GR
             $    ,GR

Ϯϰ      4,ZDQWWRJRWRSDJHWZR7KLVLV

Ϯϱ      9HULWDV<RXZLOOVHHDIWHUWKDWILUVWSDUDJUDSK


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϴ
ϭ       WKHUHLVVRPH,ZLOOFDOOWKHPGDVKHVLQVWHDG

Ϯ       RIEXOOHWSRLQWVGR\RXVHHWKDW"

ϯ       $<HV

ϰ       47KHVHDUHVRPHH[DPSOHVWKDW0U9DXJKDQ
             4    7KHVHDUHVRPHH[DPSOHVWKDW0U9DXJKDQ

ϱ       PDGHRUZURWHGRZQUHJDUGLQJKLVH[SHULHQFHLQ

ϲ       FODVV/HW VJRWRWKHILUVWRQH,WVD\VERREV

ϳ       KDYHVXSHUSRZHUVLQUHIHUHQFHWRZRPHQLQVRFLDO

ϴ       HQJLQHHULQJGR\RXVHHWKDW"

ϵ       05&215$'2EMHFWWRIRUP
                  05&215$'2EMHFWWRIRUP

ϭϬ      $,GR
             $    ,GR

ϭϭ      05&215$'/HWPHREMHFW
                  05&215$'/HWPHREMHFW

ϭϮ      4
             4     %\0U'HDQ 'R\RXUHFDOOPDNLQJ

ϭϯ      UHIHUHQFHVWRERREVKDYLQJVXSHUSRZHUVLQUHIHUHQFH

ϭϰ      WRZRPHQLQVRFLDOHQJLQHHULQJ"

ϭϱ      $,GRQRW
             $    ,GRQRW

ϭϲ      4$Q\UHDVRQVLWWLQJKHUHWRGD\\RXFDQ
             4    $Q\UHDVRQVLWWLQJKHUHWRGD\\RXFDQ

ϭϳ      GLVSXWHWKDW"

ϭϴ      $,FDQQRW
             $    ,FDQQRW

ϭϵ      42ND\'R\RXWKLQNLW
             4    2ND\'R\RXWKLQNLW VDSSURSULDWHRU

ϮϬ      LQDSSURSULDWHWRPDNHUHIHUHQFHWRZRPHQV ERREVDQG

Ϯϭ      KDYLQJVXSHUSRZHUVIRUVRFLDOHQJLQHHULQJ"

ϮϮ      $,QDSSURSULDWH
             $    ,QDSSURSULDWH

Ϯϯ      4:RXOG\RXVD\LW
             4    :RXOG\RXVD\LW VSURIHVVLRQDORU

Ϯϰ      XQSURIHVVLRQDO"

Ϯϱ      $8QSURIHVVLRQDO
             $    8QSURIHVVLRQDO


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϭϵ
ϭ       4&DQ\RXXQGHUVWDQGKRZVRPHRQHPLJKWILQG
             4    &DQ\RXXQGHUVWDQGKRZVRPHRQHPLJKWILQG

Ϯ       WKDWWREHLQDSSURSULDWH"

ϯ       $<HV
             $    <HV

ϰ       4&DQ\RXXQGHUVWDQGZK\VRPHRQHPLJKWILQG
             4    &DQ\RXXQGHUVWDQGZK\VRPHRQHPLJKWILQG

ϱ       WKDWWREHRIIHQVLYH"

ϲ       $,GR
             $    ,GR

ϳ       4'R\RXXQGHUVWDQGZK\WKDWPLJKWPDNH
             4    'R\RXXQGHUVWDQGZK\WKDWPLJKWPDNH

ϴ       VRPHRQHIHHOXQFRPIRUWDEOH"

ϵ       $,GR
             $    ,GR

ϭϬ      47KHUHLVDOVRDFRPPHQWDERXWIUHTXHQW

ϭϭ      UHIHUHQFHVWREDOOVL]HLVWKHVHFRQGGDVKGR\RX

ϭϮ      VHHWKDW"

ϭϯ      $,GR

ϭϰ      4'R\RXUHFDOOPDNLQJWKHVHUHIHUHQFHV"

ϭϱ      $,I,,GRQ WDFWXDOO\UHFDOOWKDW

ϭϲ      46LWWLQJKHUHWRGD\DQ\UHDVRQ\RXFDQ

ϭϳ      GLVSXWHWKDW\RXPDGHIUHTXHQWUHIHUHQFHVWREDOO

ϭϴ      VL]H"

ϭϵ      $7KHRQO\WKLQJ,FDQWKLQNRIDWWKHWLPH

ϮϬ      ZHZHUHXVLQJDWRROFDOOHG0DOWHJR,W VDQRSHQ

Ϯϭ      VRXUFHWRROWRILQGLQIRUPDWLRQRQWKH,QWHUQHWDQG

ϮϮ      LWSODFHVEDOOVRIGLIIHUHQWVL]HRQWKHVFUHHQWR

Ϯϯ      VKRZ\RXWKHZHLJKWRIWKHLQIRUPDWLRQWKDWLWKDV

Ϯϰ      IRXQG$QGZHZRXOGXVHWKDWWRROGXULQJWKLVFODVV

Ϯϱ      WRWHDFK


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϰ
ϭ       $7KDWLVQRWDQDUJXPHQW"

Ϯ       47KDWLVQRWDQDUJXPHQW

ϯ       $<HV

ϰ       4$QGLWFRQWLQXHVDQGLWVD\VFDXVHWKLV
             4    $QGLWFRQWLQXHVDQGLWVD\VFDXVHWKLV

ϱ       ZHHN QRWSXEOLF WKDWDZIXOSV\FKRELWFK0D[LH

ϲ       FDOOHG0LFKHOOH:DUGWRFKHFNLQGR\RXVHHWKDW"

ϳ       $<HV
             $    <HV

ϴ       46R\RXZHUHUHIHUULQJWR0D[LH5H\QROGVDV
             4    6R\RXZHUHUHIHUULQJWR0D[LH5H\QROGVDV

ϵ       DQDZIXOSV\FKRELWFK"

ϭϬ      $,ZDV
             $    ,ZDV

ϭϭ      4'R\RXWKLQNWKDW
             4    'R\RXWKLQNWKDW VDSSURSULDWHRU

ϭϮ      LQDSSURSULDWHWRUHIHUWRDIRUPHUHPSOR\HHDVDQ

ϭϯ      DZIXOSV\FKRELWFK"

ϭϰ      $,QDSULYDWHVHWWLQJ,IHOWWKDWDWWKH
             $    ,QDSULYDWHVHWWLQJ,IHOWWKDWDWWKH

ϭϱ      WLPH,IHOWLWZDVDSSURSULDWHDWWKHWLPH

ϭϲ      4'R\RXWKLQNWKDWLWZDVSURIHVVLRQDORU
             4    'R\RXWKLQNWKDWLWZDVSURIHVVLRQDORU

ϭϳ      XQSURIHVVLRQDOWRUHIHUWRDQH[HPSOR\HHDVDQ

ϭϴ      DZIXOSV\FKRELWFK"

ϭϵ      $$WWKHWLPH,IHOWLWZDVDSSURSULDWH
             $    $WWKHWLPH,IHOWLWZDVDSSURSULDWH

ϮϬ      4&DQ\RXXQGHUVWDQGKRZVRPHRQHPLJKWILQG
             4    &DQ\RXXQGHUVWDQGKRZVRPHRQHPLJKWILQG

Ϯϭ      WKDWLW VLQDSSURSULDWHWRUHIHUWRDIRUPHU

ϮϮ      H[HPSOR\HHDVDQDZIXOSV\FKRELWFK"

Ϯϯ      $,NQHZWKDW'DYHDQG$OOLHZRXOGQRWVR,
             $    ,NQHZWKDW'DYHDQG$OOLHZRXOGQRWVR,

Ϯϰ      GLGQ WWKLQNWKH\ZRXOGEHRIIHQGHGE\LW

Ϯϱ      40\TXHVWLRQLVGLIIHUHQW,DPQRWDVNLQJ
             4    0\TXHVWLRQLVGLIIHUHQW,DPQRWDVNLQJ


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϱ
ϭ       \RXZKDW'DYLGRU$OOLHPLJKWKDYHWKRXJKW,DP

Ϯ       DVNLQJFDQ\RXXQGHUVWDQGKRZVRPHRQHPLJKWILQG

ϯ       LW VLQDSSURSULDWHWRUHIHUWRDIRUPHUHPSOR\HHDV

ϰ       DQDZIXOSV\FKRELWFK"

ϱ       $,DPVXUHWKHUHDUHSHRSOHZKRZRXOGEH
             $    ,DPVXUHWKHUHDUHSHRSOHZKRZRXOGEH

ϲ       RIIHQGHGE\WKDW\HV

ϳ       4'R\RXXQGHUVWDQGKRZWKHUHDUHSHRSOHZKR
             4    'R\RXXQGHUVWDQGKRZWKHUHDUHSHRSOHZKR

ϴ       PLJKWILQGLWWREHXQSURIHVVLRQDOWRUHIHUWRD

ϵ       IRUPHUHPSOR\HHDVDQDZIXOSV\FKRELWFK"

ϭϬ      $,GR
             $    ,GR

ϭϭ      4'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW
             4    'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW

ϭϮ      ILQGLWWREHRIIHQVLYHZKHQ\RXUHIHUWRDIRUPHU

ϭϯ      HPSOR\HHDVDQDZIXOSV\FKRELWFK"

ϭϰ      $,GR
             $    ,GR

ϭϱ      4'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW
             4    'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW

ϭϲ      ILQGLWGHIDPDWRU\WRUHIHUWRVRPHRQHDVDQDZIXO

ϭϳ      SV\FKRELWFK"

ϭϴ      $,GRQ
             $    ,GRQ WNQRZLI,XQGHUVWDQGWKHFRQWH[W

ϭϵ      RIGHIDPDWLRQLQWKLVVHQVHEHFDXVHLW VQRWSXEOLF

ϮϬ      %XW,GRVHHKRZVRPHSHRSOHPLJKWWKLQNWKDW

Ϯϭ      05'($18QGHUVWRRG
                  05'($18QGHUVWRRG

ϮϮ      0DUNHGDV([KLELWDUHPHVVDJHVEHWZHHQ

Ϯϯ      &KULV+DGQDJ\DQG$OHWKH'HQLV%DWHVODEHOHG

Ϯϰ      'HQLVWKURXJK

Ϯϱ      


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϲ
ϭ        ([KLELW1RZDVPDUNHGIRU

Ϯ       LGHQWLILFDWLRQ

ϯ       40U+DGQDJ\DUHWKHVH6LJQDOPHVVDJHVRU

ϰ       DUHWKHVHWH[WPHVVDJHV"

ϱ       $7KHVHDUH6LJQDO

ϲ       4<RXVDLG6LJQDOLVWKDWULJKW"

ϳ       $<HVVLU

ϴ       4*RWRSDJHWZR<RXZULWHWR$OHWKH

ϵ       'HQLVVKHLVDSV\FKRSDWKQRWHYHQVRFLRIXOORQ

ϭϬ      SV\FKRSDWKGR\RXVHHWKDW"

ϭϭ      $,GR

ϭϮ      4$QG\RXDUHUHIHUULQJWR0D[LH5H\QROGV

ϭϯ      LVWKDWULJKW"

ϭϰ      $,DP

ϭϱ      4'R\RXWKLQNLW VDSSURSULDWHRU

ϭϲ      LQDSSURSULDWHWRUHIHUWRDIRUPHUHPSOR\HHDVD

ϭϳ      SV\FKRSDWK"

ϭϴ      $,QWKLVFDVH,IHHOLW VDSSURSULDWH

ϭϵ      EHFDXVHVKHPHQWLRQVRXWRIWKHLQGLFDWRUV

ϮϬ      4'R\RXWKLQNLWLVSURIHVVLRQDORU

Ϯϭ      XQSURIHVVLRQDOWRGHVFULEHDIRUPHUHPSOR\HHDVD

ϮϮ      IXOORQSV\FKRSDWK"

Ϯϯ      $,ZDVVSHDNLQJWUXWK6R,GRQ WILQGLW

Ϯϰ      WREHLQDSSURSULDWHRUXQSURIHVVLRQDO

Ϯϱ      4<RXVDLG\RXZHUHVSHDNLQJWUXWK'LG\RX
             4    <RXVDLG\RXZHUHVSHDNLQJWUXWK'LG\RX


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϳ
ϭ       GLDJQRVH0V5H\QROGVDVDSV\FKRSDWK"

Ϯ       $1R
             $    1R

ϯ       4'LG-RH1DYDUURGLDJQRVH0V5H\QROGVDVD
             4    'LG-RH1DYDUURGLDJQRVH0V5H\QROGVDVD

ϰ       SV\FKRSDWK"

ϱ       $1RVLU
             $    1RVLU

ϲ       4'R\RXKDYHDQ\WUDLQLQJLQPHQWDOKHDOWK"
             4    'R\RXKDYHDQ\WUDLQLQJLQPHQWDOKHDOWK"

ϳ       $,GRQRW
             $    ,GRQRW

ϴ       4'R\RXKDYHDQ\WUDLQLQJLQSV\FKLDWU\"
             4    'R\RXKDYHDQ\WUDLQLQJLQSV\FKLDWU\"

ϵ       $,GRQRW
             $    ,GRQRW

ϭϬ      4$UH\RXOLFHQVHGE\DQ\ERDUGWRGLDJQRVH
             4    $UH\RXOLFHQVHGE\DQ\ERDUGWRGLDJQRVH

ϭϭ      VRPHRQHQRWDVDVRFLRSDWKEXWDIXOORQ

ϭϮ      SV\FKRSDWK"

ϭϯ      $,GRQRW
             $    ,GRQRW

ϭϰ      4$UH\RXDZDUHRIDQ\RQHGLDJQRVLQJ0V
             4    $UH\RXDZDUHRIDQ\RQHGLDJQRVLQJ0V

ϭϱ      5H\QROGVZLWKDIXOORQSV\FKRSDWKDVDIXOORQ

ϭϲ      SV\FKRSDWK"

ϭϳ      $,DPQRWDZDUHRIWKDW
             $    ,DPQRWDZDUHRIWKDW

ϭϴ      4%XW\HW\RXWROG$OHWKH'HQLVWKDWVKH
             4    %XW\HW\RXWROG$OHWKH'HQLVWKDWVKH V

ϭϵ      QRWHYHQDVRFLRVKH VDIXOORQSV\FKRSDWK"

ϮϬ      $,GLG
             $    ,GLG

Ϯϭ      4'R\RXEHOLHYHWKDWWKDWZDVSURIHVVLRQDO"
             4    'R\RXEHOLHYHWKDWWKDWZDVSURIHVVLRQDO"

ϮϮ      $,GR
             $    ,GR

Ϯϯ      4$QG\RXEHOLHYHWKDWZDVDSSURSULDWH"
             4    $QG\RXEHOLHYHWKDWZDVDSSURSULDWH"

Ϯϰ      $,GR
             $    ,GR

Ϯϱ      4&DQ\RXVHHKRZVRPHRQHPLJKWILQGLWWR
             4    &DQ\RXVHHKRZVRPHRQHPLJKWILQGLWWR


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϴ
ϭ       EHLQDSSURSULDWHWRUHIHUWRVRPHRQHDVDIXOORQ

Ϯ       SV\FKRSDWKZKRKDVQRWEHHQGLDJQRVHGDVD

ϯ       SV\FKRSDWK"

ϰ       $,GR
             $    ,GR

ϱ       4'R\RXVHHKRZVRPHRQHPLJKWILQGLWWREH
             4    'R\RXVHHKRZVRPHRQHPLJKWILQGLWWREH

ϲ       XQSURIHVVLRQDOWRUHIHUWRDIRUPHUHPSOR\HHDVD

ϳ       IXOOSV\FKRSDWKZKRKDVQRWEHHQGLDJQRVHGDVD

ϴ       SV\FKRSDWK"

ϵ       $,GR
             $    ,GR

ϭϬ      4'R\RXVHHKRZVRPHPLJKWILQGWKDWWREH
             4    'R\RXVHHKRZVRPHPLJKWILQGWKDWWREH

ϭϭ      RIIHQVLYH"

ϭϮ      $,GR
             $    ,GR

ϭϯ      4$QGGR\RXVHHKRZVRPHPLJKWILQGWKDWWR
             4    $QGGR\RXVHHKRZVRPHPLJKWILQGWKDWWR

ϭϰ      EHGHIDPDWRU\"

ϭϱ      $,GR
             $    ,GR

ϭϲ      4,WKLQN\RXPHQWLRQHGWKDWVKHKDGRXW
             4    ,WKLQN\RXPHQWLRQHGWKDWVKHKDGRXW

ϭϳ      RIRIVRPHWKLQJLVWKDWULJKW"

ϭϴ      $7ZHQW\VHYHQRXWRI
             $    7ZHQW\VHYHQRXWRI

ϭϵ      4$QGWKDWZDV\RXWKDWGLDJQRVHGKHUDVD
             4    $QGWKDWZDV\RXWKDWGLDJQRVHGKHUDVD

ϮϬ      SV\FKRSDWKEHFDXVHVKHKDGRXWRILQGLFDWRUV"

Ϯϭ      $,ZRXOGQ
             $    ,ZRXOGQ WVD\GLDJQRVHG,WZDVXVLQJ

ϮϮ      -RH1DYDUUR VERRNFDOOHG'DQJHURXV3HUVRQDOLWLHV

Ϯϯ      DQGKHKDVDOLVWRILQGLFDWRUVRISV\FKRSDWK\$QG

Ϯϰ      WRP\DVVHVVPHQWVKHPDWFKHGRXWRIWKH

Ϯϱ      4$QG-RH1DYDUURLVQRWWUDLQHGWRGLDJQRVH
             4    $QG-RH1DYDUURLVQRWWUDLQHGWRGLDJQRVH


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϮϵ
ϭ       VRPHRQHDVDSV\FKRSDWKULJKW"

Ϯ       $,GRQ
             $    ,GRQ WDFWXDOO\NQRZ-RH1DYDUUR V

ϯ       WUDLQLQJLQWKDWVHQVH

ϰ       4'LG\RXVLWLQRQKLVGHSRVLWLRQ"
             4    'LG\RXVLWLQRQKLVGHSRVLWLRQ"

ϱ       $,GLG
             $    ,GLG

ϲ       4'LG\RXKHDUKLPWDONDERXWKRZKHZDVQRW
             4    'LG\RXKHDUKLPWDONDERXWKRZKHZDVQRW

ϳ       DEOHWRGLDJQRVHDQ\RQHDVDSV\FKRSDWK"

ϴ       $,KHDUGKLPVD\WKDW\HV
             $    ,KHDUGKLPVD\WKDW\HV

ϵ       4$Q\UHDVRQWRGLVDJUHHZLWKKLP"
             4    $Q\UHDVRQWRGLVDJUHHZLWKKLP"

ϭϬ      05&215$'2EMHFWWRIRUP6RUU\JX\V
                  05&215$'2EMHFWWRIRUP6RUU\JX\V

ϭϭ      4
             4     %\0U'HDQ $Q\UHDVRQWRGLVDJUHHZLWK

ϭϮ      KLP"

ϭϯ      $1RUHDVRQ
             $    1RUHDVRQ

ϭϰ      46R\RXUVWDWHPHQWWKDWVKHLVDIXOORQ
             4    6R\RXUVWDWHPHQWWKDWVKHLVDIXOORQ

ϭϱ      SV\FKRSDWKLVEDVHGRIIRIDERRNZULWWHQE\VRPHRQH

ϭϲ      ZKRLVXQDEOHWRGLDJQRVHVRPHRQHDVDSV\FKRSDWK"

ϭϳ      $&RUUHFW
             $    &RUUHFW

ϭϴ      05'($1*RWLW

ϭϵ      0DUNHGDV([KLELW VLF LVDGRFXPHQW

ϮϬ      WKDWLV%DWHVODEHOHG6(0DUNHGIRU

Ϯϭ      SXUSRVHVRIWKLVGHSRVLWLRQEHFDXVHLWZDV

ϮϮ      QRWLWZDVSURGXFHGQDWLYHO\ZHDSSOLHGD

Ϯϯ      VWDPSWRWKHERWWRP6RZHMXVWKDYHSDJH

Ϯϰ      QXPEHUVWRPDNHLWHDVLHUIRUWKHUHFRUG

Ϯϱ      


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϯϭ
ϭ       $,GR

Ϯ       4'LG\RXZULWHWKLV"

ϯ       $,GLG

ϰ       4$QG\RXZURWHWKDW\RXKDYHPLQRUOHYHO

ϱ       FHOHEULW\VWDWXVLQWKLVLQGXVWU\"

ϲ       $,KDG

ϳ       4<HWDWWKHWLPHRND\/HWPHDVN

ϴ       WKDW<RXVDLGKDG6RZKHQGLG\RXKDYHFHOHEULW\

ϵ       VWDWXV"

ϭϬ      $3UHYLRXVWR'()&21 VGHIDPDWRU\VWDWHPHQW

ϭϭ      47KHGD\RIWKH7UDQVSDUHQF\5HSRUWGLG

ϭϮ      \RXKDYHFHOHEULW\VWDWXV"

ϭϯ      $,GLG

ϭϰ      4<RXVDLGLQ\RXULQGXVWU\ZKDWLQGXVWU\"

ϭϱ      $,QIRUPDWLRQVHFXULW\

ϭϲ      4<RXVD\WKDW\RXKDGPDQ\EHDXWLIXOZRPHQ
             4    <RXVD\WKDW\RXKDGPDQ\EHDXWLIXOZRPHQ

ϭϳ      ZRUNLQJIRU\RXLVWKDWULJKW"

ϭϴ      $&RUUHFW
             $    &RUUHFW

ϭϵ      4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VDSSURSULDWHRU

ϮϬ      LQDSSURSULDWHWRGLVFXVVWKHZRPHQZRUNLQJIRU\RX

Ϯϭ      DVEHLQJEHDXWLIXOZRPHQ"

ϮϮ      $,W
             $    ,W VDIDFW6R,GRQ WILQGLW

Ϯϯ      LQDSSURSULDWH

Ϯϰ      4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VSURIHVVLRQDOWRUHIHUWR

Ϯϱ      WKHZRPHQZRUNLQJIRU\RXDVEHDXWLIXOZRPHQ"


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϯϮ
ϭ       $,QWKLVFRQWH[W\HV
             $    ,QWKLVFRQWH[W\HV

Ϯ       4'R\RXVHHKRZVRPHRQHKRZDIHPDOHZKR
             4    'R\RXVHHKRZVRPHRQHKRZDIHPDOHZKR

ϯ       LVZRUNLQJIRU\RXPLJKWILQGLWLQDSSURSULDWHWR

ϰ       UHIHUWRWKHPDVDEHDXWLIXOZRPDQ"

ϱ       $,FDQ
             $    ,FDQ WWHOO\RXKRZWKH\IHHO,DP

ϲ       VRUU\

ϳ       40\TXHVWLRQZDVDOLWWOHELWGLIIHUHQW,
             4    0\TXHVWLRQZDVDOLWWOHELWGLIIHUHQW,

ϴ       GLGQ WDVN\RXKRZWKH\IHOW,DVNHGLI\RXFDQ

ϵ       XQGHUVWDQGKRZVRPHRQHPLJKWIHHOWKDWLWLV

ϭϬ      LQDSSURSULDWHWRUHIHUWRDIHPDOHHPSOR\HHDVD

ϭϭ      EHDXWLIXOZRPDQ"

ϭϮ      $,QWKLVGD\DQGDJH\HV,FDQVHHWKDW
             $    ,QWKLVGD\DQGDJH\HV,FDQVHHWKDW

ϭϯ      4$QG\RXFDQVHHKRZVRPHPLJKWILQGLWWR
             4    $QG\RXFDQVHHKRZVRPHPLJKWILQGLWWR

ϭϰ      EHXQSURIHVVLRQDO"

ϭϱ      $,GR
             $    ,GR

ϭϲ      4$QG\RXFDQVHHKRZVRPHPLJKWEHPLJKW

ϭϳ      ILQGLWWREHRIIHQVLYHWRUHIHUWRIHPDOHHPSOR\HHV

ϭϴ      DVEHDXWLIXOZRPHQ"

ϭϵ      $,GR

ϮϬ      4<RXFDQXQGHUVWDQGKRZLWPLJKWPDNH

Ϯϭ      IHPDOHHPSOR\HHVXQFRPIRUWDEOHWRUHIHUWRWKHPDV

ϮϮ      EHDXWLIXOZRPHQ"

Ϯϯ      $,GR

Ϯϰ      ,GRQ WQHHGWKLVGRFXPHQWDQ\PRUH"

Ϯϱ      05'($1<RXFDQVHWLWDVLGH


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϯϴ
ϭ       ILQGLWWREHLQDSSURSULDWHWRFRPPXQLFDWHZLWK

Ϯ       ZRPHQOLNHWKLV"

ϯ       $,GR

ϰ       4'R\RXXQGHUVWDQGKRZVRPHSHRSOHLW

ϱ       PLJKWPDNHWKHPIHHOXQFRPIRUWDEOHWRFRPPXQLFDWH

ϲ       ZLWKWKHPOLNHWKLV"

ϳ       $,GR

ϴ       05'($10DUNHGDV([KLELWLVD

ϵ       GRFXPHQW%DWHVODEHOHG'HQLV7KLVDSSHDUV

ϭϬ      WREHD6LJQDOH[FKDQJHEHWZHHQ&KULV+DGQDJ\

ϭϭ      DQG$OHWKH'HQLVGDWHG'HFHPEHU

ϭϮ       ([KLELW1RZDVPDUNHGIRU

ϭϯ      LGHQWLILFDWLRQ

ϭϰ      40U+DGQDJ\GRHVWKLVDSSHDUWREHDQ

ϭϱ      DFFXUDWHWH[WPHVVDJHEHWZHHQ\RXDQG0V'HQLVRQ

ϭϲ      'HFHPEHU"

ϭϳ      $<HVVLU

ϭϴ      4$QG\RXUHIHUWR0V'HQLVDVEHLQJ

ϭϵ      DFWXDOO\OHWPHUHSKUDVHWKDW

ϮϬ      <RXVD\WR0V'HQLV\RXDUHVWXSLGKRW
                  <RXVD\WR0V'HQLV\RXDUHVWXSLGKRW

Ϯϭ      GR\RXVHHWKDW"

ϮϮ      $,GR
             $    ,GR

Ϯϯ      4'R\RXWKLQNWKDW
             4    'R\RXWKLQNWKDW VDSSURSULDWHRU

Ϯϰ      LQDSSURSULDWH"

Ϯϱ      $$JDLQZLWK$OHWKHEHLQJDJRRGIULHQG,
             $    $JDLQZLWK$OHWKHEHLQJDJRRGIULHQG,


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϯϵ
ϭ       DOVRFDOOHGKHUVPDUWDQGWDOHQWHG,IHOWLWZDV

Ϯ       DSSURSULDWH

ϯ       4,DPQRWDVNLQJDERXWVPDUWDQGWDOHQWHG
             4    ,DPQRWDVNLQJDERXWVPDUWDQGWDOHQWHG

ϰ       ,DPDVNLQJDERXWFDOOLQJKHUVWXSLGKRW'R\RX

ϱ       WKLQNWKDW VDSSURSULDWHRULQDSSURSULDWH"

ϲ       $$SSURSULDWH
             $    $SSURSULDWH

ϳ       4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VSURIHVVLRQDORU

ϴ       XQSURIHVVLRQDO"

ϵ       $,GRQRWILQGLWWREHXQSURIHVVLRQDOLQ
             $    ,GRQRWILQGLWWREHXQSURIHVVLRQDOLQ

ϭϬ      WKLVVHWWLQJ

ϭϭ      4'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW
             4    'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW

ϭϮ      ILQGFDOOLQJDZRPDQVWXSLGKRWPLJKWEHRIIHQVLYH"

ϭϯ      $,GR
             $    ,GR

ϭϰ      4'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW
             4    'R\RXXQGHUVWDQGKRZVRPHSHRSOHPLJKW

ϭϱ      ILQGFDOOLQJDZRPDQVWXSLGKRWZRXOGEH

ϭϲ      LQDSSURSULDWH"

ϭϳ      $,GR
             $    ,GR

ϭϴ      4'R\RXXQGHUVWDQGKRZVRPHPLJKWILQGWKDW
             4    'R\RXXQGHUVWDQGKRZVRPHPLJKWILQGWKDW

ϭϵ      WREHRIIHQVLYH"

ϮϬ      $,GR
             $    ,GR

Ϯϭ      4$QGGR\RXXQGHUVWDQGWKDWWKDWPLJKWPDNH
             4    $QGGR\RXXQGHUVWDQGWKDWWKDWPLJKWPDNH

ϮϮ      VRPHSHRSOHIHHOXQFRPIRUWDEOHZKHQ\RXUHIHUWR

Ϯϯ      WKHPDVVWXSLGKRW"

Ϯϰ      $,GR
             $    ,GR

Ϯϱ      05'($10DUNHGDV([KLELWLVD6LJQDO


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϰϲ
ϭ       4$QGGLGVKHZLQ"

Ϯ       $<HVVKHGLGDFWXDOO\

ϯ       4,VLWIDLUWRVD\WKDWPRVWRIWKHZRPHQ

ϰ       WKDWZRQWKHEODFNEDGJHFRPSHWLWLRQZHUHJRRG

ϱ       ORRNLQJ"

ϲ       05&215$'2EMHFWWRIRUP

ϳ       $,PHDQ\RXDUHDVNLQJP\RSLQLRQ"

ϴ       4 %\0U'HDQ <HDK

ϵ       $,ZRXOGVD\QR

ϭϬ      4<RXVD\:KLWQH\LVKRW6KH
             4    <RXVD\:KLWQH\LVKRW6KH VEHDXWLIXO

ϭϭ      FRUUHFW"

ϭϮ      $<HV
             $    <HV

ϭϯ      4'R\RXWKLQNLW
             4    'R\RXWKLQNLW VSURIHVVLRQDORU

ϭϰ      XQSURIHVVLRQDOWRUHIHUWRDIRUPHUFRQWHVWDQWDV

ϭϱ      EHLQJKRWDQGEHDXWLIXO"

ϭϲ      $,QDSSURSULDWH
             $    ,QDSSURSULDWH

ϭϳ      4,DVNHGWKDWRQHDERXWEHLQJSURIHVVLRQDO
             4    ,DVNHGWKDWRQHDERXWEHLQJSURIHVVLRQDO

ϭϴ      $2KVRUU\
             $    2KVRUU\

ϭϵ      4%XWZHKDYHKDGDFDGHQFHRI
             4    %XWZHKDYHKDGDFDGHQFHRI

ϮϬ      LQDSSURSULDWH"

Ϯϭ      $<HVVRUU\
             $    <HVVRUU\

ϮϮ      46RZHFDQFOHDQWKDWXS
             4    6RZHFDQFOHDQWKDWXS

Ϯϯ      <RXWKLQNLW
                  <RXWKLQNLW VLQDSSURSULDWHWRUHIHUWRD

Ϯϰ      IRUPHUFRQWHVWDQWDVEHLQJKRWDQGEHDXWLIXO"

Ϯϱ      $,ZLOODJUHHWRERWKLQDSSURSULDWHDQG
             $    ,ZLOODJUHHWRERWKLQDSSURSULDWHDQG


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϰϳ
ϭ       XQSURIHVVLRQDO

Ϯ       4$QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH
             4    $QG\RXFDQXQGHUVWDQGKRZWKDWPLJKWPDNH

ϯ       VRPHRQHIHHOXQFRPIRUWDEOHRUWKH\PLJKWEH

ϰ       RIIHQGHGE\WKDW"

ϱ       $<HV
             $    <HV

ϲ       4$QG\RXFDQXQGHUVWDQGKRZRWKHUSHRSOH
             4    $QG\RXFDQXQGHUVWDQGKRZRWKHUSHRSOH

ϳ       PLJKWILQGWKDWWREHLQDSSURSULDWHRU

ϴ       XQSURIHVVLRQDO"

ϵ       $<HV
             $    <HV

ϭϬ      4$QGWKHQJRLQJRQWRWKHQH[WRQHVD\V\RX

ϭϭ      OLWHUDOO\DQG\RXOLWHUDOO\DUHVREHDXWLIXO

ϭϮ      LW VDPD]RP,WKLQNZKDW\RXDUHWU\LQJWRVD\LV

ϭϯ      \RXDUHOLWHUDOO\DUHVREHDXWLIXOLW VDPD]LQJ

ϭϰ      ULJKW"

ϭϱ      $<HV,WKLQNWKDW VZKDW,ZDVWU\LQJWR

ϭϲ      VD\DOVR

ϭϳ      4'R\RXNQRZZHUH\RXGULQNLQJDOFRKRO

ϭϴ      ZKHQ\RXZHUHVHQGLQJWKHVHWR0V'HQLV"

ϭϵ      $,FDQQRWUHPHPEHU

ϮϬ      47KDW VILQH$OOZHFDQDVNIRULV\RXU

Ϯϭ      EHVWUHFROOHFWLRQ

ϮϮ      $QG\RXWKLQNLWZDVDSSURSULDWHWRVD\

Ϯϯ      WKLVWR0V'HQLV"

Ϯϰ      $,GR

Ϯϱ      4$QG\RXWKLQNLWZDVSURIHVVLRQDO"


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϱϮ
ϭ       $<HV

Ϯ       4GDWHGGR\RXVHHWKDW"

ϯ       $,GR

ϰ       4:KRLV$PDQGD0DUFKXFN"

ϱ       $$WVKHVWLOOZRUNVIRUPH%XWDWWKLV

ϲ       WLPHVKHZDVP\($

ϳ       4([HFXWLYHDVVLVWDQW"

ϴ       $<HV

ϵ       4,MXVWZDQWWRPDNHVXUH,KDYHDFOHDU

ϭϬ      UHFRUG

ϭϭ      $QG\RXZRXOGZULWHWR0V0DUFKXFN
                  $QG\RXZRXOGZULWHWR0V0DUFKXFN

ϭϮ      VXEMHFWH,QWUR<RXVD\0LFKHOHDNDWKHPDUNHWLQJ

ϭϯ      $VLDQDND70$GR\RXVHHWKDW"

ϭϰ      $,GR
             $    ,GR

ϭϱ      4$QG70$LVDVKRUWKDQGUHIHUHQFHIRUWKH
             4    $QG70$LVDVKRUWKDQGUHIHUHQFHIRUWKH

ϭϲ      PDUNHWLQJ$VLDQ"

ϭϳ      $<HV
             $    <HV

ϭϴ      4$QGLQ1RYHPEHU\RXZHUHUHIHUULQJ
             4    $QGLQ1RYHPEHU\RXZHUHUHIHUULQJ

ϭϵ      WR0LFKHOH)LQFKHUDVWKHPDUNHWLQJ$VLDQLVWKDW

ϮϬ      ULJKW"

Ϯϭ      $,VHHWKDW,GRQRWUHFDOOLW%XW,
             $    ,VHHWKDW,GRQRWUHFDOOLW%XW,

ϮϮ      VHHLWWKHUH\HV

Ϯϯ      4'R\RXWKLQNWKDWLW VDSSURSULDWHRU

Ϯϰ      LQDSSURSULDWHWRUHIHUWR$VLDQHPSOR\HHVDVWKH

Ϯϱ      PDUNHWLQJ$VLDQZKLOHDWZRUN"


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϱϯ
ϭ       $7KDW VDYHU\EURDGTXHVWLRQ%XWLQWKLV

Ϯ       FRQWH[W0LFKHOHRIWHQWLPHVJDYHKHUVHOIQLFNQDPHV

ϯ       VR,GRQ WIHHOWKLVLVLQDSSURSULDWH

ϰ       46R\RXDUHVD\LQJ0LFKHOHJDYHKHUVHOIWKH

ϱ       QLFNQDPHWKHPDUNHWLQJ$VLDQ"

ϲ       $1R,DPQRWVD\LQJWKDW,GRQ W

ϳ       UHPHPEHUWKLV,DPVD\LQJWKDWRIWHQWLPHVWKHUH

ϴ       ZRXOGEHQLFNQDPHVWKDWVKHZRXOGXVHKHUUDFHLQ

ϵ       46R\RXWKLQNLW
             4    6R\RXWKLQNLW VDSSURSULDWHWRUHIHUWR

ϭϬ      0LFKHOH)LQFKHUDVWKHPDUNHWLQJ$VLDQDQGWKHQ

ϭϭ      H,QWURWR\RXUH[HFXWLYHDVVLVWDQW"

ϭϮ      $$WWKLVWLPH\HV,GLG
             $    $WWKLVWLPH\HV,GLG

ϭϯ      42ND\6LWWLQJKHUHWRGD\GR\RXVWLOO
             4    2ND\6LWWLQJKHUHWRGD\GR\RXVWLOO

ϭϰ      WKLQNWKDW VDSSURSULDWH"

ϭϱ      $1R
             $    1R

ϭϲ      42ND\6RWRGD\\RXWKLQNWKDW
             4    2ND\6RWRGD\\RXWKLQNWKDW V

ϭϳ      LQDSSURSULDWHWRUHIHUWRDIHPDOHHPSOR\HHDVWKH

ϭϴ      PDUNHWLQJ$VLDQ"

ϭϵ      $7LPHVKDYHFKDQJHGVLQFH6R\HV,
             $    7LPHVKDYHFKDQJHGVLQFH6R\HV,

ϮϬ      ZRXOGVD\WKHVHQVLWLYLWLHVRISHRSOHGHILQLWHO\

Ϯϭ      KDYHLQFUHDVHG$QG,ZRXOGFKDQJHWKHZD\,VSHDN

ϮϮ      IURPWR

Ϯϯ      4*RWLW6R\RXWKRXJKWLWZDV
             4    *RWLW6R\RXWKRXJKWLWZDV

Ϯϰ      DSSURSULDWHWRLGHQWLI\VRPHRQHEDVHGRQWKHLUUDFH

Ϯϱ      RURULJLQ%XWQRZWRGD\LQLW VQRW


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϱϰ
ϭ       DSSURSULDWH"

Ϯ       05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϯ       $,DPQRWVD\LQJWKDWQR,DPQRWVD\LQJ
             $    ,DPQRWVD\LQJWKDWQR,DPQRWVD\LQJ

ϰ       WKDW,WKRXJKWLWZDVRND\WRLGHQWLI\HYHU\SHUVRQ

ϱ       E\WKHLUUDFHRURULJLQ,DPWHOOLQJ\RXWKDWWKLV

ϲ       FRPPHQWGLGQRWIHHOLQDSSURSULDWHDWWKDWWLPH

ϳ       4 %\0U'HDQ :KDWUDFHRURULJLQLV

ϴ       $PDQGD0DUFKXFN"

ϵ       $6KH V,WDOLDQ

ϭϬ      4<RXGLGQ WFDOOKHUWKH,WDOLDQDVVLVWDQW

ϭϭ      GLG\RX"

ϭϮ      $,GLGQRW

ϭϯ      4<RXMXVWFDOOHGKHUWKHDVVLVWDQW"

ϭϰ      $,GLG

ϭϱ      42ND\%XWZLWK0LFKHOH)LQFKHU\RX

ϭϲ      FDOOHGKHUWKHPDUNHWLQJ$VLDQ"

ϭϳ      $,GLG

ϭϴ      4$QGVKHLV$VLDQ"

ϭϵ      $6KHLV6KH VIURP-DSDQ

ϮϬ      4'R\RXWKLQNLW VSURIHVVLRQDORU

Ϯϭ      XQSURIHVVLRQDOWRUHIHUWRDQ$VLDQHPSOR\HHDVWKH

ϮϮ      PDUNHWLQJ$VLDQDQGWKHQH,QWURWR\RXUH[HFXWLYH

Ϯϯ      DVVLVWDQW"

Ϯϰ      $$UH\RXDVNLQJWKDWIURPRUWRGD\"

Ϯϱ      4:K\GRQ WZHWDNHLWLQERWKWLPHIUDPHV


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϲϳ
ϭ       4'R\RXVHHWKDW0U+DGQDJ\"

Ϯ       $<HVVLU

ϯ       4'RHVWKLVDSSHDUWREHDPHVVDJHEHWZHHQ

ϰ       \RXDQG0V:HOWRQDQG0V+DQVHQ"

ϱ       $,WGRHV

ϲ       4$QG\RXZULWHDUHQ
             4    $QG\RXZULWHDUHQ W\RXDQDGRUDEOH

ϳ       OLWWOH$VLDQWHDSRW"

ϴ       $,DSSHDUHGWRKDYHZULWWHQWKDW
             $    ,DSSHDUHGWRKDYHZULWWHQWKDW

ϵ       4:HUH\RXZULWLQJDPHVVDJHDERXWDQDFWXDO
             4    :HUH\RXZULWLQJDPHVVDJHDERXWDQDFWXDO

ϭϬ      $VLDQWHDSRWRUZHUH\RXUHIHUULQJWRDZRPDQDVDQ

ϭϭ      $VLDQWHDSRW"

ϭϮ      $0RVWOLNHO\UHIHUHQFLQJ$OOLH
             $    0RVWOLNHO\UHIHUHQFLQJ$OOLH

ϭϯ      4$OOLH+DQVHQ"
             4    $OOLH+DQVHQ"

ϭϰ      $<HV
             $    <HV

ϭϱ      4<RXUHPSOR\HH"
             4    <RXUHPSOR\HH"

ϭϲ      $<HV
             $    <HV

ϭϳ      46R\RXZURWHDQHPDLOWR\RXU$VLDQ
             4    6R\RXZURWHDQHPDLOWR\RXU$VLDQ

ϭϴ      HPSOR\HH$OOLHRQ0D\VD\LQJDUHQ W\RXDQ

ϭϵ      DGRUDEOHOLWWOH$VLDQWHDSRW"

ϮϬ      $,DPJRLQJWRPDNHWKDWDVVXPSWLRQEHFDXVH
             $    ,DPJRLQJWRPDNHWKDWDVVXPSWLRQEHFDXVH

Ϯϭ      6KD\QDLVQRW$VLDQ$QGWKLV,GRQ WVHH

ϮϮ      DQ\WKLQJHOVHLQWKHFRQWH[WRIWKLVHPDLO,

Ϯϯ      GRQ WUHPHPEHULW7KLVLVTXLWHDIHZ\HDUVDJR

Ϯϰ      4'R\RXWKLQNWKDWWKDWLVLQDSSURSULDWHRU
             4    'R\RXWKLQNWKDWWKDWLVLQDSSURSULDWHRU

Ϯϱ      DSSURSULDWHWRUHIHUWRDQ$VLDQZRPDQZKRZRUNVIRU


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     +DGQDJ\HWDOY0RVVHWDO                          &KULVWRSKHU+DGQDJ\

                                                                         WĂŐĞϲϴ
ϭ       \RXDVDQDGRUDEOHOLWWOH$VLDQWHDSRW"

Ϯ       $,QDSSURSULDWH
             $    ,QDSSURSULDWH

ϯ       43URIHVVLRQDORUXQSURIHVVLRQDO"
             4    3URIHVVLRQDORUXQSURIHVVLRQDO"

ϰ       $8QSURIHVVLRQDO
             $    8QSURIHVVLRQDO

ϱ       4'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG
             4    'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG

ϲ       WKDWWREHLQDSSURSULDWH"

ϳ       $,GR
             $    ,GR

ϴ       4'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG
             4    'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG

ϵ       WKDWXQSURIHVVLRQDO"

ϭϬ      $,GR
             $    ,GR

ϭϭ      4'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG
             4    'R\RXXQGHUVWDQGZK\SHRSOHZRXOGILQG

ϭϮ      WKDWRIIHQVLYH"

ϭϯ      $,GR
             $    ,GR

ϭϰ      4$QGGR\RXXQGHUVWDQGZK\WKDWZRXOGPDNH
             4    $QGGR\RXXQGHUVWDQGZK\WKDWZRXOGPDNH

ϭϱ      ZRPHQIHHOXQFRPIRUWDEOH"

ϭϲ      $,GR
             $    ,GR

ϭϳ      05'($10DUNHGDV([KLELWLVD

ϭϴ      GRFXPHQW%DWHVODEHOHG6(B,W VIURP.D]

ϭϵ      1LVKLWR&KULV+DGQDJ\UHJDUGLQJFKDWURRP

ϮϬ      FRPPHQWVGDWHG'HFHPEHU

Ϯϭ       ([KLELW1RZDVPDUNHGIRU

ϮϮ      LGHQWLILFDWLRQ

Ϯϯ      4'R\RXVHHWKDW0U+DGQDJ\"

Ϯϰ      $,GR

Ϯϱ      4$QGGRHVWKLVDSSHDUWREHDQHPDLOD


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                        WĂŐĞϳϰ
 ϭ      SHQLVRQKHUIHHW$QG3DWZDVSDUWRIWKH26,17

 Ϯ      ZRUNIRUWKDWFDVH6RZHZHUHDFWXDOO\WDONLQJ

 ϯ      DERXWDOHJLWLPDWHWKLQJWKDWZDVKDSSHQLQJ

 ϰ      4*RWLW6RWKLVLVDUHIHUHQFHWRDQ

 ϱ      RQJRLQJLQYHVWLJDWLRQ"

 ϲ      $<HVLWZDV

 ϳ      48QGHUVWRRG

 ϴ      ,QRWLFHGWKDWLQDORWRIWKHGHSRVLWLRQV

 ϵ      VRIDUZHKDYHWDONHGDERXWWKH6(&20WUDLQLQJV

ϭϬ      6SHFLILFDOO\TXHVWLRQVWKDWZHUHSDUWRIWKH

ϭϭ      KRPHZRUNDVVLJQPHQWGR\RXUHFDOOWKRVHSRUWLRQVRI

ϭϮ      WKHGHSRVLWLRQV"

ϭϯ      $<HV

ϭϰ      4,VLWIDLUWRVD\WKDWVRPHRI\RXU6(&20
             4    ,VLWIDLUWRVD\WKDWVRPHRI\RXU6(&20

ϭϱ      WUDLQLQJVKDGKRPHZRUNDVVLJQPHQWVZKHUHPHQZHUH

ϭϲ      UHTXLUHGWRJRWRZRPHQDQGDVNDERXWEUDVL]HRU

ϭϳ      WKHLUIHPLQLQHSURGXFWWKDWWKH\XVHG"

ϭϴ      $1RLWZDVQRWUHTXLUHG
             $    1RLWZDVQRWUHTXLUHG

ϭϵ      4,VLWIDLUWRVD\WKDWWKHKRPHZRUNDVNHG
             4    ,VLWIDLUWRVD\WKDWWKHKRPHZRUNDVNHG

ϮϬ      PHQWRJRDVNZRPHQDVSDUWRIDKRPHZRUN

Ϯϭ      DVVLJQPHQWZKHWKHUWKH\XVHFHUWDLQIHPLQLQH

ϮϮ      SURGXFWVRUWKHVL]HRIWKHLUEUDV"

Ϯϯ      $7KDW
             $    7KDW VQRWUHDOO\ZRUGHGFRPSOHWHO\

Ϯϰ      KRQHVWO\WRGHILQHWKHKRPHZRUN7KHKRPHZRUN

Ϯϱ      KDGIRUERWKPHQDQGZRPDQKDGILYHGLIIHUHQW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                        WĂŐĞϳϱ
 ϭ      RSWLRQVIRUWKHPWKDWWKH\FRXOGDVN$QGLWZDVQ W

 Ϯ      DERXWDVNLQJWKDWSHUVRQDERXWWKHLUSHUVRQDOVL]H

 ϯ      RUWKLQJ,WZDVSUHIHUHQFHIRUOLNHGR\RXKDYHD

 ϰ      SUHIHUHQFHIRUDFHUWDLQW\SHRIIHPLQLQHK\JLHQH

 ϱ      SURGXFW",DPJHWWLQJVRPHIRUP\GDXJKWHUVRU

 ϲ      VRPHWKLQJ\RXFRXOGUHFRPPHQGRUVRPHWKLQJOLNH

 ϳ      WKDW7KRVHZHUHWKHQDWXUHRIWKHTXHVWLRQV,W

 ϴ      ZDVQ WUHTXLUHG\RXKDYHWRJRRXWDQGDVNDZRPDQ

 ϵ      WKHVHTXHVWLRQVDERXWKHUVHOI

ϭϬ      46RXVLQJWKHIHPLQLQHSURGXFWLVWKHJRDO
             4    6RXVLQJWKHIHPLQLQHSURGXFWLVWKHJRDO

ϭϭ      WRILQGZKDWWKDWSHUVRQZKDWIHPLQLQHSURGXFWWKDW

ϭϮ      SHUVRQXVHV"

ϭϯ      $7KHJRDOZDVWRDVNDYHU\DZNZDUG
             $    7KHJRDOZDVWRDVNDYHU\DZNZDUG

ϭϰ      TXHVWLRQWKDWZHQRUPDOO\ZRXOGQ WDVNLQD

ϭϱ      QRQVH[XDOQRQWKUHDWHQLQJZD\DQGWRJHWKHOSRU

ϭϲ      LQIRUPDWLRQIURPWKHSHUVRQWRVKRZ\RXWKDWDVNLQJ

ϭϳ      UHDOO\XQFRPIRUWDEOHTXHVWLRQVFDQEHGRQH

ϭϴ      46RLI\RXDUHDVNLQJDQXQFRPIRUWDEOH
             4    6RLI\RXDUHDVNLQJDQXQFRPIRUWDEOH

ϭϵ      TXHVWLRQDERXWIHPLQLQHSURGXFWVDUH\RXWU\LQJWR

ϮϬ      ILQGRXWZKDWIHPLQLQHSURGXFWWKDWSHUVRQXVHVVR

Ϯϭ      WKDWWKDWZD\\RXFRXOGXVHWKDWLQIRUPDWLRQDWVRPH

ϮϮ      RWKHUSRLQWLQWLPH"

Ϯϯ      $1RQRWKHJRDORIWKHKRPHZRUNVRZH
             $    1RQRWKHJRDORIWKHKRPHZRUNVRZH

Ϯϰ      ZLOOXVHWKHIHPLQLQHSURGXFWVRQHWKHTXHVWLRQZDV

Ϯϱ      SKUDVHGWRDVNIRUDUHFRPPHQGDWLRQRQWKHEHVW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      EUDQGRIIHPLQLQHK\JLHQHSURGXFWV7KDWZDVWKH

 Ϯ      ZD\LWZDVSKUDVHGIRUWKHKRPHZRUN6RRIWHQWLPHV

 ϯ      PHQZRXOGJRLQWRDSKDUPDF\VWDQGLQWKHIHPLQLQH

 ϰ      K\JLHQHDLVOH$QGZKHQDZRPDQZRXOGFRPHE\VD\

 ϱ      VRPHWKLQJOLNHKH\,DPKHUHWREX\VRPHVWXIIIRU

 ϲ      P\ZLIH,UHDOO\GRQ WNQRZZKDWEUDQGWREX\

 ϳ      :KDWLVWKHEHVW":KDWGR\RXUHFRPPHQG"$QG

 ϴ      QRUPDOO\WKH\ZRXOGWKHQPDNHDUHFRPPHQGDWLRQ

 ϵ      4:HUHWKHUHTXHVWLRQVDVSDUWRIWKH
             4    :HUHWKHUHTXHVWLRQVDVSDUWRIWKH

ϭϬ      KRPHZRUNDVVLJQPHQWWKDWKDGPHQDVNZRPHQDERXW

ϭϭ      EUDVL]HV"

ϭϮ      $<HV
             $    <HV

ϭϯ      42ND\$QGZKDWZDVWKDWTXHVWLRQ"
             4    2ND\$QGZKDWZDVWKDWTXHVWLRQ"

ϭϰ      $7KHTXHVWLRQZDVSRVHGDERXWJHWWLQJKHOS
             $    7KHTXHVWLRQZDVSRVHGDERXWJHWWLQJKHOS

ϭϱ      LQSLFNLQJRXWHLWKHUDEUDRUVZLPVXLWIRU

ϭϲ      VRPHERG\LQ\RXUOLIHDQG\RXGRQ WNQRZKRZWKHVH

ϭϳ      VL]HVZRUN:LOO\RXKHOSPHXQGHUVWDQGZKDWLVD

ϭϴ      &":KDWLVD"7KDWNLQGRIWKLQJ

ϭϵ      47KHUHZDVQRJRDOWRWU\WRILQGRXWWKH
             4    7KHUHZDVQRJRDOWRWU\WRILQGRXWWKH

ϮϬ      EUDVL]HRIWKDWSHUVRQ"

Ϯϭ      $,WZDVQRWDERXW,PHDQQRUPDOO\WKDW
             $    ,WZDVQRWDERXW,PHDQQRUPDOO\WKDW

ϮϮ      ZRXOGKDSSHQEXWWKDWZDVQ WWKHJRDO,WZDVQ W

Ϯϯ      JRRXWDQGWHOOPH\RXUEUDVL]H,WZDVDOOD

Ϯϰ      UHTXHVWLQJHWWLQJYHU\RGGLQIRUPDWLRQWKDWZDV

Ϯϱ      DZNZDUGWRDVNIRUWKHJRDORIWHDFKLQJSHRSOHWKDW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                        WĂŐĞϳϳ
 ϭ      \RXFDQDFWXDOO\DVNUHDOO\DZNZDUGTXHVWLRQV

 Ϯ      EHFDXVH\RXDUHJRLQJWRKDYHWRGRWKDWDVSDUWRI

 ϯ      P\MRE

 ϰ      4:HUHWKHUHDQ\TXHVWLRQVUHJDUGLQJ
             4    :HUHWKHUHDQ\TXHVWLRQVUHJDUGLQJ

 ϱ      IHPDOH VSXELFKDLU"

 ϲ      $1RQHYHU
             $    1RQHYHU

 ϳ      4:HUHWKHUHDQ\RWKHUTXHVWLRQVRWKHUWKDQ
             4    :HUHWKHUHDQ\RWKHUTXHVWLRQVRWKHUWKDQ

 ϴ      IHPLQLQHSURGXFWVDQGEUDVL]HVWKDWZHUH

 ϵ      XQFRPIRUWDEOH"

ϭϬ      $<HVZHLJKWORVVSURGXFWV,KDYHWR
             $    <HVZHLJKWORVVSURGXFWV,KDYHWR

ϭϭ      UHPHPEHUEHFDXVHZHKDYHQ WGRQHWKLVKRPHZRUNVLQFH

ϭϮ      :HLJKWORVVSURGXFWVDQ\W\SHRIIXQJDO

ϭϯ      FUHDPVDQGLWZDVEUDDQGLWZDVIHPLQLQHK\JLHQH

ϭϰ      SURGXFWV

ϭϱ      4$QGXQGHUZHDU"
             4    $QGXQGHUZHDU"

ϭϲ      $1RXQGHUZHDUZDVQ
             $    1RXQGHUZHDUZDVQ WRQHRIWKHP

ϭϳ      4$UH\RXVXUH"
             4    $UH\RXVXUH"

ϭϴ      $<HDKLWZDVEUDVL]H
             $    <HDKLWZDVEUDVL]H

ϭϵ      41RVQRZIODNHVFRPSODLQHGDERXWXQGHUZHDU
             4    1RVQRZIODNHVFRPSODLQHGDERXWXQGHUZHDU

ϮϬ      DVVLJQPHQWV"

Ϯϭ      $:HKDGDFRPSODLQWDW%ODFN+DWDERXWWKH
             $    :HKDGDFRPSODLQWDW%ODFN+DWDERXWWKH

ϮϮ      EUDVL]HDQGWKDW VZKHQZHHQGHGWKDWKRPHZRUN

Ϯϯ      %XWZHGLGQ WZHGLGQ WDVNWKHUHZDVQR

Ϯϰ      XQGHUZHDU,UHDOO\FDQ WUHPHPEHUWKHILIWKRQH

Ϯϱ      ,ZRXOGKDYHWRORRNEDFNDWP\QRWHV,WZDVEUD


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                        WĂŐĞϳϴ
 ϭ      VL]HIHPLQLQHSURGXFWVIXQJDOFUHDPVZHLJKWORVV

 Ϯ      DQG,KRQHVWO\FDQ WUHPHPEHU, PVRUU\

 ϯ      4:KDWW\SHRITXHVWLRQVGLGWKHPHQDVN
             4    :KDWW\SHRITXHVWLRQVGLGWKHPHQDVN

 ϰ      ZRPHQVRUU\ZRPHQDVNPHQ"

 ϱ      $7KHLUWKRXJKWVRQFLUFXPFLVLRQER[HUVRU
             $    7KHLUWKRXJKWVRQFLUFXPFLVLRQER[HUVRU

 ϲ      EULHIVRKWKDQN\RX,UHPHPEHUWKHRQHIRUWKH

 ϳ      ZRPHQELUWKFRQWUROELUWKFRQWUROUHFRPPHQGDWLRQV

 ϴ      EHFDXVHWKDWZDVDOVRRQHIRUWKHZRPHQDVNLQJWKH

 ϵ      PHQW\SHVRIELUWKFRQWUROWKHLUVDODU\DQGDQ\

ϭϬ      SURGXFWVXVHGIRUZHLJKWORVV7KRVHZHUHWKHILYH

ϭϭ      IRUHDFK

ϭϮ      4$QG\RXEHOLHYHWKDWWKHVHTXHVWLRQVZHUH

ϭϯ      DSSURSULDWHDVKRPHZRUNDVVLJQPHQWV"

ϭϰ      $,GR,DFWXDOO\KDGKHOSJHWWLQJWKHP

ϭϱ      GHYHORSHGIURPDQ)%,DJHQW

ϭϲ      4:KR"

ϭϳ      $5RELQ'UHHN SKRQHWLF 

ϭϴ      45RELQ'UHHNZURWHWKHVHRUGLG\RX"

ϭϵ      $,DFWXDOO\FDQ WUHPHPEHU7KLVZDV

ϮϬ      ,WKLQNZHZRUNHGRQLWWRJHWKHUEHFDXVHDWWKH

Ϯϭ      WLPHKHZDVWKHGLUHFWRURIWKH%$8IRUWKH)%,

ϮϮ      DQGKHZDVKHOSLQJPHGHYHORSP\KRPHZRUN

Ϯϯ      DVVLJQPHQWV$QGZHFDQ WGRZKDWWKH)%,GRHV

Ϯϰ      ZKLFKLVJHWVRFLDOVHFXULW\QXPEHUVGDWHRIELUWK

Ϯϱ      RUVRFLDOVHFXULW\QXPEHUVDQGEDQNLQIRUPDWLRQ


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $<HVWKDWZDVEHWZHHQ0LFKHOHDQG,

 Ϯ      EHFDXVHDWWKHWLPHZHRQO\KDGWKRVHILYH

 ϯ      TXHVWLRQVIRUPHQ$QGZRPHQZHUHQRWFRPLQJWR

 ϰ      WKLVFODVV$QGWKHQDOORIDVXGGHQZHVWDUWHG

 ϱ      KDYLQJDQLQIOX[RIZRPHQFRPLQJWRWKLVFODVV$QG

 ϲ      DWWKDWWLPH0LFKHOHZDVZRUNLQJIRUPHDQGVKH

 ϳ      KDGPHQWLRQHGLW VUHDOO\XQIDLUWRVHQGZRPHQRXW

 ϴ      ZLWKWKHVHTXHVWLRQVEHFDXVHLW VWRRHDV\IRUWKHP

 ϵ      6R,VDLGZHOOZKDWGR\RXZDQWWRGR"$QGVKH

ϭϬ      VDLGZHQHHGWRFRPHXSZLWKTXHVWLRQVWKDWDUHIRU

ϭϭ      ZRPHQ6R0LFKHOHDQG,DUHWKHRQHVZKRFDPHXS

ϭϮ      ZLWKWKHILYHTXHVWLRQVIRUZRPHQWRDVNPHQ

ϭϯ      4:KRSURSRVHGWKHFLUFXPFLVLRQTXHVWLRQ"

ϭϰ      $,GRQ WDFWXDOO\UHPHPEHU,RQO\

ϭϱ      UHPHPEHUVDODU\ZDVWKHRQH,FDPHXSZLWKEHFDXVH

ϭϲ      VKHDFWXDOO\WKRXJKWLWZDVWRRZHDN$QG,VDLGDV

ϭϳ      DPDQWKDW VDFWXDOO\WKHKDUGHVWRQHWRDQVZHULQ

ϭϴ      IURQWRIDVWUDQJHZRPDQ<RXDUHSUREDEO\JRLQJWR

ϭϵ      OLHDERXWLW

ϮϬ      46RVLWWLQJKHUHWRGD\\RXFDQQRWUHFDOO

Ϯϭ      ZKRFDPHXSZLWKWKHFLUFXPFLVLRQTXHVWLRQ"

ϮϮ      $,FDQ W

Ϯϯ      4<RXVDLGWKHVHDUHDSSURSULDWHTXHVWLRQV
             4    <RXVDLGWKHVHDUHDSSURSULDWHTXHVWLRQV

Ϯϰ      :KDWDERXWSURIHVVLRQDOGR\RXWKLQNWKHVHDUH

Ϯϱ      SURIHVVLRQDOTXHVWLRQV"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $$WWKHWLPH\HVWKH\WDXJKWDYHU\
             $    $WWKHWLPH\HVWKH\WDXJKWDYHU\

 Ϯ      YDOXDEOHOHVVRQIRUP\LQGXVWU\

 ϯ      4<RXVDLGDWWKHWLPHKRZZKDWDERXWWRGD\
             4    <RXVDLGDWWKHWLPHKRZZKDWDERXWWRGD\

 ϰ      GR\RXWKLQNWKHVHDUHDSSURSULDWHTXHVWLRQV"

 ϱ      $7RGD\OLNH,VD\ZHKDGDFRPSODLQW
             $    7RGD\OLNH,VD\ZHKDGDFRPSODLQW

 ϲ      6RPHERG\IHOWXQFRPIRUWDEOHZLWKWKHKRPHZRUN$QG

 ϳ      DIWHUWKDWZHFKDQJHGLWEHFDXVHZHGLGQ WZDQW

 ϴ      SHRSOHWRZHZDQWHGGLVFRPIRUWLQWKHVHQVHWKDW

 ϵ      LWWHDFKHV\RXWRVWHSRXWRI\RXUFRPIRUW]RQH

ϭϬ      %XWZHGLGQ WZDQWGLVFRPIRUWLQVRPHRQHIHHOLQJ

ϭϭ      OLNHDVKDPHG

ϭϮ      4<RXXQGHUVWDQGKRZSHRSOHPLJKWILQGWKHVH
             4    <RXXQGHUVWDQGKRZSHRSOHPLJKWILQGWKHVH

ϭϯ      TXHVWLRQVWREHLQDSSURSULDWH"

ϭϰ      $7RGD\,GRXQGHUVWDQG\HV
             $    7RGD\,GRXQGHUVWDQG\HV

ϭϱ      4'R\RXXQGHUVWDQGKRZSHRSOHPLJKWILQG
             4    'R\RXXQGHUVWDQGKRZSHRSOHPLJKWILQG

ϭϲ      WKHVHTXHVWLRQVWREHXQSURIHVVLRQDO"

ϭϳ      $,GR
             $    ,GR

ϭϴ      4$QGGR\RXXQGHUVWDQGKRZSHRSOHPLJKW
             4    $QGGR\RXXQGHUVWDQGKRZSHRSOHPLJKW

ϭϵ      ILQGWKHVHTXHVWLRQVWREHRIIHQVLYH"

ϮϬ      $,GRDQGWKDW
             $    ,GRDQGWKDW VZK\ZHFKDQJHGWKH

Ϯϭ      KRPHZRUNLQ

ϮϮ      4<RXXQGHUVWDQGWKDWWKHVHTXHVWLRQVFDQ
             4    <RXXQGHUVWDQGWKDWWKHVHTXHVWLRQVFDQ

Ϯϯ      PDNHSHRSOHIHHOXQFRPIRUWDEOHULJKW"

Ϯϰ      $,GR7KDW
             $    ,GR7KDW VZK\ZHFKDQJHGLW

Ϯϱ      43HRSOHDFWXDOO\FRPSODLQHGWR\RXDERXW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4'LG0V)LQFKHUWHOO\RXVRPHRIWKH
             4    'LG0V)LQFKHUWHOO\RXVRPHRIWKH

 Ϯ      IHPDOHVWXGHQWVGLGQRWIHHOVDIHLQDVNLQJWKHVH

 ϯ      TXHVWLRQV"

 ϰ      $,QHYHU,GRQ
             $    ,QHYHU,GRQ WUHFDOOKHUHYHUXVLQJ

 ϱ      WKHZRUGVDIH,GRUHFDOOKHUWHOOLQJPHVWXGHQWV

 ϲ      WKDWZHUHXQFRPIRUWDEOHLQDVNLQJWKHVHTXHVWLRQV

 ϳ      4*RWLW6R0V)LQFKHUGLGUDLVHFRQFHUQV
             4    *RWLW6R0V)LQFKHUGLGUDLVHFRQFHUQV

 ϴ      ZLWK\RXWKDWWKHVHTXHVWLRQVZHUHPDNLQJZRPHQIHHO

 ϵ      XQFRPIRUWDEOH"

ϭϬ      $<HV
             $    <HV

ϭϭ      4$SSUR[LPDWHO\KRZPDQ\WLPHV"
             4    $SSUR[LPDWHO\KRZPDQ\WLPHV"

ϭϮ      $2K,FDQ
             $    2K,FDQ WWHOO\RX,GRQ WNQRZ

ϭϯ      46KHWRWKHEHVWRIP\UHFROOHFWLRQ
             4    6KHWRWKHEHVWRIP\UHFROOHFWLRQ

ϭϰ      WHVWLILHGWKDWQHDUO\HYHU\FODVVVKHWROG\RXWKHVH

ϭϱ      TXHVWLRQVZHUHPDNLQJSHRSOHIHHOXQFRPIRUWDEOH

ϭϲ      $,WZDVWKHQDWXUHRIWKHKRPHZRUN,
             $    ,WZDVWKHQDWXUHRIWKHKRPHZRUN,

ϭϳ      PHDQLWZDVWRSXWSHRSOHRXWRIWKHLUFRPIRUW]RQH

ϭϴ      WRWHDFKWKHPKRZWRGRWKLVMRE6RWKHGLVFRPIRUW

ϭϵ      ZDVDFWXDOO\SDUWRIWKHGHVLJQ

ϮϬ      46LWWLQJKHUHWRGD\DQ\UHDVRQWRGLVDJUHH
             4    6LWWLQJKHUHWRGD\DQ\UHDVRQWRGLVDJUHH

Ϯϭ      ZLWK0V)LQFKHUWKDWVKHWROG\RXVHYHUDOWLPHV

ϮϮ      WKDWWKHVHTXHVWLRQVPDGHSHRSOHIHHOXQFRPIRUWDEOH"

Ϯϯ      05&215$'2EMHFWWRIRUP
                  05&215$'2EMHFWWRIRUP

Ϯϰ      $1R
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Ϯϱ      4 %\0U'HDQ 'R\RXUHFDOO0V)LQFKHU


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      PLVUHSUHVHQWHGWKHWUXWK6RQR,ZLOOQRWDJUHH

 Ϯ      WRWKDW

 ϯ      4
             4     %\0U'HDQ <RXFDQ WXQGHUVWDQGWKDW

 ϰ      SHRSOHZKRKDGDQHJDWLYHH[SHULHQFHZLWK\RXU

 ϱ      FRQIHUHQFHDQG\RXUKRPHZRUNDVVLJQPHQWVZRXOGFRPH

 ϲ      IRUZDUGDQGPDNHDFRGHRIFRQGXFWYLRODWLRQ"

 ϳ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 ϴ      $,QKHGLGPDNHDFRPSODLQWIURPP\
             $    ,QKHGLGPDNHDFRPSODLQWIURPP\

 ϵ      XQGHUVWDQGLQJ$QGZHKHDOVRFDPHWRPHDQG

ϭϬ      SHUVRQDOO\WDONHGWRPHDERXWKLVIHHOLQJVDERXWWKH

ϭϭ      LQDSSURSULDWHODQJXDJHLQWKHFODVV,DSRORJL]HG

ϭϮ      WRKLPZKLFKKHDOVRQRWHGLQWKDWHPDLOWKDW,

ϭϯ      DSRORJL]HGWRKLP$QGWKHQLWZDVRYHUIURP

ϭϰ      WRZKHQKHFDPHRXWRIWKHZRRGZRUNDJDLQ

ϭϱ      EHFDXVHWKHPRERQWKH,QWHUQHWZHQWZLOG

ϭϲ      4
             4     %\0U'HDQ 6R\HDK,DPQRWWDONLQJ

ϭϳ      DERXW0U9DXJKDQ,DPWDONLQJDERXWKRZRWKHU

ϭϴ      LQGLYLGXDOV\RXFDQ WXQGHUVWDQGKRZRWKHU

ϭϵ      LQGLYLGXDOVOHWPHEDFNXS

ϮϬ      ,V0U9DXJKDQWKHRQO\SHUVRQWRDWWHQG
                  ,V0U9DXJKDQWKHRQO\SHUVRQWRDWWHQG

Ϯϭ      \RXUWUDLQLQJ"

ϮϮ      $1R,GLGDQ\ZKHUHIURPILYHWRHLJKW
             $    1R,GLGDQ\ZKHUHIURPILYHWRHLJKW

Ϯϯ      WUDLQLQJVD\HDUIURPXQWLO

Ϯϰ      4$QGZH
             4    $QGZH YHDOUHDG\VHHQWZRSHRSOHZKRKDYH

Ϯϱ      FRPSODLQHGDERXWWKRVHWUDLQLQJVULJKWWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      KRPHZRUNDVVLJQPHQWV"

 Ϯ      $8KKXK
             $    8KKXK

 ϯ      4$QGGR\RXWKLQNLW
             4    $QGGR\RXWKLQNLW VIDLUWRVD\WKDW

 ϰ      WKHUHLVSUREDEO\PRUHWKDQWZRSHRSOHZKRIHOW

 ϱ      RIIHQGHGE\WKRVHFRQIHUHQFHV VLF "

 ϲ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 ϳ      $,ZRXOGVD\WKDW
             $    ,ZRXOGVD\WKDW VIDLUEHFDXVHZHGRQ W

 ϴ      NQRZ

 ϵ      4
             4     %\0U'HDQ &RXOGEHPRUHFRXOGEH

ϭϬ      OHVVRULWFRXOGQ WEHOHVVFRXOGEHPRUHWKDQ

ϭϭ      WZR"

ϭϮ      $,KDYHQRIRUPDOFRPSODLQWVLVVXHGWR
             $    ,KDYHQRIRUPDOFRPSODLQWVLVVXHGWR

ϭϯ      DQ\RQHLQP\FRPSDQ\DERXWWKHKRPHZRUN

ϭϰ      4$QG\RXVLWWLQJKHUHWRGD\FDQ
             4    $QG\RXVLWWLQJKHUHWRGD\FDQ W

ϭϱ      XQGHUVWDQGKRZSHRSOHZRXOGFRPSODLQWR'()&21DERXW

ϭϲ      KRPHZRUNDVVLJQPHQWVWKDWLQYROYHWKHVDPHH[DFW

ϭϳ      W\SHRITXHVWLRQV"

ϭϴ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϵ      $,GRQRWXQGHUVWDQGZK\VRPHRQHZRXOGJR
             $    ,GRQRWXQGHUVWDQGZK\VRPHRQHZRXOGJR

ϮϬ      WR'()&21ZKHQWKLVKRPHZRUNZDVQHYHUSHUIRUPHG

Ϯϭ      WKHUHZKHQWKHFODVVZDVQHYHUWDXJKWWKHUHZKHQ

ϮϮ      '()&21KDVQRWKLQJWRGRZLWKP\WUDLQLQJVP\

Ϯϯ      FODVVHVRUP\HPSOR\HHV,ZLOO,FDQQRWDJUHH

Ϯϰ      WRKRZVRPHRQHZRXOGIHHOFRPSHOOHGWRJRWRD

Ϯϱ      FRQIHUHQFH,IWKHUHLVUHDOO\WKLVPDQ\ZRUNSODFH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      FRPSODLQWVZK\QRWJRWRWKH/DERU%RDUG":K\QRW

 Ϯ      JHWDODZ\HU":K\QRWJRWRWKHSROLFHLI,DP

 ϯ      GRLQJWKHVHWKLQJV":K\JRWRDFRQIHUHQFH'()&21

 ϰ      4
             4     %\0U'HDQ 6RWKDWDQHDVLHVWZD\WR

 ϱ      VD\\RXFDQ WXQGHUVWDQGLW"

 ϲ      $&DQ
             $    &DQ WXQGHUVWDQGLW

 ϳ      05'($1*RWLW7KLVLVDJRRGWLPHWR

 ϴ      WDNHDEUHDN

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ϭϱ      ZDQWWRVZLWFKJHDUVDOLWWOHELW

ϭϲ      :KRLV0D[LH5H\QROGV"

ϭϳ      $6KHLVDQH[HPSOR\HHRIPLQH

ϭϴ      4$QGKRZGLG\RXPHHW0V5H\QROGV"

ϭϵ      $6KHFRQWDFWHGPHRQ/LQNHG,QDVNLQJLI,

ϮϬ      ZRXOGWUDLQKHUWRVWDUWDVRFLDOHQJLQHHULQJ

Ϯϭ      FRPSDQ\

ϮϮ      4$QGWKHQ\RXHQGHGXSKLULQJKHU"

Ϯϯ      $,GLG,HQGHGXSPHHWLQJKHU

Ϯϰ      LQWHUYLHZLQJKHUDQGWKHQKLULQJKHU

Ϯϱ      4:KHQDSSUR[LPDWHO\GLG\RXKLUHKHU"


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 ϭ      FDVH7KHQ,NQRZWKHUHZHUHPRUHHPDLOV

 Ϯ      EDFNDQGIRUWKLQWKHVXEVHTXHQWGD\V

 ϯ      46R\RXVDLGWKHUHZHUHPRUHHPDLOV

 ϰ      EDFNDQGIRUWKDIWHUWKHVXEVHTXHQWGD\V:KDWGR

 ϱ      \RXUHFDOOKDSSHQLQJQH[WDIWHU\RXHVVHQWLDOO\

 ϲ      ZLVKHGKHUZHOO"

 ϳ      $,WZDVWKHODSWRSFRPLQJEDFNWKHSURPLVH

 ϴ      RIWKDW6KHSURPLVHGVKHPDLOHGLWWR6SHQFHUWKDW

 ϵ      ZHHN,WQHYHUFDPH:HNHSWDVNLQJKHUIRUWKH

ϭϬ      WUDFNLQJQXPEHUVRZHFRXOGWUDFNLWLILWJRWORVW

ϭϭ      :HZHUHZRUULHGLILWJRWORVWZLWK8366KHNHSW

ϭϮ      SURPLVLQJWRSURYLGHWKHWUDFNLQJQXPEHUDQG

ϭϯ      GLGQ W7KHQDQGDIWHUWKHWKLUGWLPHRIKHU
                 7KHQDQGDIWHUWKHWKLUGWLPHRIKHU

ϭϰ      SURPLVLQJWKDWLWZDVJHWWLQJPDLOHGEDFNKHUERRN

ϭϱ      ZDVUHOHDVHGDERRNWKDW,ZRUNHGZLWKKHURQ7KH

ϭϲ      $UWRIWKH$WWDFN$QGLQWKDWERRNZHUHSLFWXUHV

ϭϳ      IURPDQDFWLYHIHGHUDOFDVHZLWK,/)WKDWZRXOGKDYH

ϭϴ      PDGHWKDWFDVHQXOOLILHG:HZRXOGKDYHORVW

ϭϵ      MXVWLFHIRUD\HDUROGJLUO6R,GLGIUHDNRXW

ϮϬ      DWWKDWSRLQWDQG,DVNHG5\DQWRORFNKHUODSWRS

Ϯϭ      EHFDXVHLWZDVDFRUSRUDWHODSWRSZLWKFRUSRUDWH

ϮϮ      VRIWZDUHRQLW6RZHORFNHGLW$QGWKDWLVZKHQ

Ϯϯ      HPDLOH[FKDQJHVJRWPRUHKHDWHGEHFDXVHDQG

Ϯϰ      SHUFHQW,FRXOGEHPLVVLQJOLWWOHSLHFHVLQ

Ϯϱ      WKHUH:HDUHWDONLQJDERXWKHUH6R,FRXOG


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 ϭ      EHPLVVLQJOLWWOHWLGELWVRISLHFHV$QG,GRQ W

 Ϯ      KDYHWKHWLPHOLQHULJKWLQIURQWRIPH

 ϯ      $QGWKHQZHZHUHHPDLOLQJEDFNDQGIRUWK
                  $QGWKHQZHZHUHHPDLOLQJEDFNDQGIRUWK

 ϰ      DERXW\RXNQRZWKHSLFWXUH,SXOOHGP\VXSSRUW

 ϱ      IURPDOORIKHUPHGLDWKDW,KDGJRWWHQKHU,
        IURPDOORIKHUPHGLDWKDW,KDGJRWWHQKHU

 ϲ      FDQFHOHGDOOKHULQWHUYLHZVWKDW,VHWXSIRUKHU

 ϳ      ,KDGQRWLILHGDQ\FRQIHUHQFHVWKDWZHKDG

 ϴ      UHFRPPHQGHGKHUDWWKDW,ZDVSXOOLQJP\

 ϵ      UHFRPPHQGDWLRQ$QG,WKUHDWHQHGWRUHSRUWKHU

ϭϬ      EHFDXVHVKHKDG*RYHUQPHQWGDWDRQKHUFRPSXWHU

ϭϭ      ZKLFKZDVQRZVWROHQSURSHUW\VLQFHVKHQRORQJHU

ϭϮ      ZRUNHGIRU6RFLDO(QJLQHHU

ϭϯ      47KUHDWHQHGWRUHSRUWKHUWRZKR"

ϭϰ      $7KHFOLHQWLV'HSDUWPHQWRI(QHUJ\D

ϭϱ      )HGHUDO*RYHUQPHQWFOLHQW$QGVKHKDGRYHU

ϭϲ      HPDLODGGUHVVHVDQGSKRQHQXPEHUVDQGQDPHVRIWKH

ϭϳ      WDUJHWVWKDWZHZHUHDVNHGWRDXGLWRQKHUGHVNWRS

ϭϴ      4*RWLW,ZDQWWRNLQGRIWDNHWKLV

ϭϵ      SLHFHE\SLHFH

ϮϬ      6R\RXUWHVWLPRQ\LVWKDW\RXHVVHQWLDOO\

Ϯϭ      ZLVKHG0V5H\QROGVZHOODQGDVNHGIRUKHUWR

ϮϮ      UHWXUQKHUODSWRS"

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 ϭ      4$QG\RXIROORZHGXSDQGVDLGKH\ZKHUH

 Ϯ      LVWKHODSWRS"

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 ϲ      4<RXIROORZHGXSDJDLQVD\LQJJLYHPHWKH

 ϳ      WUDFNLQJQXPEHUVRWKDWZRXOGEHWKHWKLUGWLPH"

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 ϵ      4$QGWKHQVKHVWLOOGLGQ WJLYHLWWR\RX"

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ϭϳ      LQWRWKH)%,6RLWZDVQ WRQJRLQJEXWQRWRXU

ϭϴ      FDVHLWZDVQRZD)HGHUDOFDVH

ϭϵ      42ND\6ROHW
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ϮϬ      ZDQWWRWDONDERXWWKHERRN

Ϯϭ      'LG\RXKHOSHGLWRUUHYLHZ0V5H\QROGV
                  'LG\RXKHOSHGLWRUUHYLHZ0V5H\QROGV

ϮϮ      ERRNSULRUWRLWEHLQJUHOHDVHG"

Ϯϯ      $,GLG,KHOSHGKHUJHWWKHFRQWUDFW,
             $    ,GLG,KHOSHGKHUJHWWKHFRQWUDFW,

Ϯϰ      KHOSHGKHUZLWKWKHLGHDVDOLWWOHELWRIWKH

Ϯϱ      ZULWLQJDQG,ZDVKHUHGLWRU


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 ϭ      47DONWRPHDERXWWKLVHGLWLQJSURFHVV
             4    7DONWRPHDERXWWKLVHGLWLQJSURFHVV

 Ϯ      $QGZKDW,PHDQE\WKDWLVGLG\RXMXVWJHWD:RUG

 ϯ      GRFXPHQWNLQGRIKRZ\RXUERRNLVWKDWZHORRNHGDW

 ϰ      HDUOLHURUZDVLWWKHILQDOERRN"

 ϱ      $1RWKHZD\:LOH\GRHVLW:LOH\ZDVWKH
             $    1RWKHZD\:LOH\GRHVLW:LOH\ZDVWKH

 ϲ      HGLWRUWKDWZHZRUNHGZLWKHYHU\WLPHDFKDSWHU

 ϳ      LVFRPSOHWHGLWJRHVILUVWWRWKHZKDWWKH\

 ϴ      FDOOWKHVFLHQWLILFHGLWRUMXVWWKHSURFHVV

 ϵ      WKDWZDVPH$QGWKHQLWJRHVIURPPHEDFNWR

ϭϬ      0D[LHDQGVKHFDQVD\,DJUHHRUGLVDJUHHZLWKDQ\

ϭϭ      RIP\HGLWV$QGWKHQLWJRHVWR(QJOLVKDQG

ϭϮ      JUDPPDUHGLWLQJZKLFKLVQRWPH$QGWKHQLWJRHV

ϭϯ      EDFNWR0D[LHDJDLQ6KHJHWVWRIL[DQ\WKLQJWKDW

ϭϰ      LVWKHUH$QGWKHQLWJRHVEDFNWRWKHSXEOLVKHU

ϭϱ      :HGLGWKDWFKDSWHUE\FKDSWHU

ϭϲ      4*RWLW$QGZKDWFKDSWHUKDGWKHSLFWXUH
             4    *RWLW$QGZKDWFKDSWHUKDGWKHSLFWXUH

ϭϳ      RIWKHSULRULQYHVWLJDWLRQ"

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             $    ,FDQ WUHPHPEHU,WZDVWKHFKDSWHU

ϭϵ      ZDVDERXWVRPHWKLQJFDOOHGPHWDGDWDEHFDXVHWKDW V

ϮϬ      KRZZHFDXJKWWKLVJX\+HSRVWHGDSLFWXUHRQ

Ϯϭ      'LVFRUGRIKLVFDU$QGLQWKHSLFWXUHPHWDGDWD

ϮϮ      ZDVKLV*36ORFDWLRQ$QGWKDWLVKRZZHORFDWHG

Ϯϯ      KLP$QGVKHXVHGWKRVHSLFWXUHVDVDQH[DPSOHLQ

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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4&DQ\RXGHVFULEHWRPHWKHSLFWXUH"
             4    &DQ\RXGHVFULEHWRPHWKHSLFWXUH"

 Ϯ      $<HDKWKHUHZDVWZR,EHOLHYHWKHUH
             $    <HDKWKHUHZDVWZR,EHOLHYHWKHUH

 ϯ      ZHUHWZRSLFWXUHVRQHZDVWKHGDVKERDUGRIKLVFDU

 ϰ      DVKHZDVGULYLQJGRZQWKHKLJKZD\$QGWKHQWKH

 ϱ      RWKHUZDVRXWVLGHORRNLQJRXWWKHZLQGRZRIKLV

 ϲ      FDUDWDELOOERDUG1RWKLQJSRUQRJUDSKLFRU

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 ϴ      4$QGGLGWKHSLFWXUHVLGHQWLI\ZKRWKH
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ϭϬ      $,WGLGQRW
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ϭϭ      4'LGWKHERRNLWVHOILGHQWLI\ZKRWKH
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ϭϮ      SHUVRQZDV"

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ϭϰ      4'LGDQ\WKLQJLQWKHSLFWXUHERRNLQDQ\
             4    'LGDQ\WKLQJLQWKHSLFWXUHERRNLQDQ\

ϭϱ      ZD\UHYHDOWKHLGHQWLW\RIHLWKHUWKHSHUSHWUDWRURU

ϭϲ      DQ\RIWKHYLFWLPV"

ϭϳ      $,WGLGQRW
             $    ,WGLGQRW

ϭϴ      4$QGWKHHGLWWKHFRS\RIWKHERRNWKDW
             4    $QGWKHHGLWWKHFRS\RIWKHERRNWKDW

ϭϵ      \RXUHFHLYHGWRHGLWKDGDSLFWXUHWKRVHSLFWXUHV

ϮϬ      LQWKHERRNFRUUHFW"

Ϯϭ      $,WGLGQRWQR,ILWGLGWKH\ZRXOG
             $    ,WGLGQRWQR,ILWGLGWKH\ZRXOG

ϮϮ      KDYHEHHQUHPRYHGEHIRUHWKDWERRNJRWSULQWHG

Ϯϯ      46R\RXUWHVWLPRQ\LVWKDW\RXGLGQRWVHH

Ϯϰ      DQ\RIWKRVHSLFWXUHVSULRU"

Ϯϱ      $,GLGQRW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϮϱ
 ϭ      WKDWWRWKH%RDUG7KH%RDUGZRXOGKDYHVKRWPH

 Ϯ      GRZQLQDKHDUWEHDWHVSHFLDOO\EHFDXVHP\ODZ\HULV

 ϯ      RQWKH%RDUG$QGZHNQHZWKDWFDVHZDVJHWWLQJ

 ϰ      KDQGHGWRWKH)%,7KDWPHDQVHYHU\SLHFHRI

 ϱ      HYLGHQFHLQVLGHWKDWFDVHLVQRZ)HGHUDOSURSHUW\

 ϲ      :HQRORQJHURZQLW,ZRXOGQRWKDYHSHUPLVVLRQWR

 ϳ      JLYHDQ\RQHSHUPLVVLRQWRXVHLW,WLVQRZ)HGHUDO

 ϴ      SURSHUW\

 ϵ      4:DV0V5H\QROGV
             4    :DV0V5H\QROGV ERRNSXEOLVKHG"

ϭϬ      $<HV
             $    <HV

ϭϭ      4,VWKHSLFWXUHVWLOOLQWKDWERRN"
             4    ,VWKHSLFWXUHVWLOOLQWKDWERRN"

ϭϮ      $1RDIWHUFDOOLQJKHUWH[WLQJKHUWU\LQJ
             $    1RDIWHUFDOOLQJKHUWH[WLQJKHUWU\LQJ

ϭϯ      WRJHWKHUWRFKDQJHLWVKHLJQRUHGPH,

ϭϰ      FDOOHGP\IULHQGZKRLV-LP0LQDWHOZKRLVWKH

ϭϱ      SXEOLVKHUDW:LOH\WKDW,ZRUNHGZLWKIRU\HDUV

ϭϲ      $QG,WROGKLPWKDWKHLVSURGXFLQJDERRNRI

ϭϳ      )HGHUDOFULPHLQLW+HWKHQVWRSSHGWKHSXEOLVKLQJ

ϭϴ      RIWKHERRNPDGHKHUUHZULWHWKDWFKDSWHUDQGWKH\

ϭϵ      FRQWLQXHGSULQWLQJ

ϮϬ      46R,DPFRQIXVHGRQWKHWLPHOLQHDOLWWOH
             4    6R,DPFRQIXVHGRQWKHWLPHOLQHDOLWWOH

Ϯϭ      ELW6R\RXVDLGWKHERRNZDVUHOHDVHGDQG\RX

ϮϮ      IRXQG\RXWKHQVDZWKHSLFWXUHIRUWKHILUVW

Ϯϯ      WLPH"

Ϯϰ      $<HV
             $    <HV

Ϯϱ      46RZKDWKDSSHQHGWRWKHERRNVWKDWZHUH
             4    6RZKDWKDSSHQHGWRWKHERRNVWKDWZHUH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϮϲ
 ϭ      DOUHDG\SULQWHGDQGSXEOLVKHG"

 Ϯ      $,LPDJLQHOLNHPLQHVRWKHRQHWKDWP\
             $    ,LPDJLQHOLNHPLQHVRWKHRQHWKDWP\

 ϯ      ERRNWKDWKDV,WKLQNFRSLHVLQWKH

 ϰ      ZRUOGRI6LPRQ&RZHOORQWKHP7KH\,PHDQ,

 ϱ      FDQ WORFDWHHDFKRQHRIWKHP6RPHRQHERXJKWWKHP

 ϲ      6RWKH\DUHIORDWLQJDURXQGWKHZRUOGVRPHZKHUH

 ϳ      %XWWKHGHDOZLWK&RZHOO VSXEOLVKHUZDVZHZLOO

 ϴ      SXOODQ\QRQVROGUHPDLQLQJERRNVRIIWKHVKHOIDQG

 ϵ      EXUQWKHPDQGZHZLOOUHZULWHWKDWFKDSWHUDQGKH

ϭϬ      DFFHSWHGWKDW7KHVDPHWKLQJKDSSHQHGZLWK0D[LH V

ϭϭ      ERRN7KH\SXOOHGDQ\QRQVROGFRSLHVRII6KHKDG

ϭϮ      WRUHZULWHWKDWFKDSWHU$QGWKHQWKH\FRQWLQXHG

ϭϯ      SXEOLVKLQJWKHERRN

ϭϰ      4<RXVD\\RXWKUHDWHQHGWRUHSRUWKHUWR
             4    <RXVD\\RXWKUHDWHQHGWRUHSRUWKHUWR

ϭϱ      WKH'HSDUWPHQWRI(QHUJ\'LG\RXUHSRUWKHUWRWKH

ϭϲ      'HSDUWPHQWRI(QHUJ\"

ϭϳ      $,GLGQRW
             $    ,GLGQRW

ϭϴ      4'LG\RXUHSRUWKHUWRWKH)%,"
             4    'LG\RXUHSRUWKHUWRWKH)%,"

ϭϵ      $,GLGQRWIRUPDOO\,WROGWKHSHUVRQ
             $    ,GLGQRWIRUPDOO\,WROGWKHSHUVRQ

ϮϬ      ZKR,ZRXOGFDOOP\KDQGOHUZKRZDVWDNLQJWKH

Ϯϭ      FDVHVIURP,/)IRUWKH)%,,WROGKLPWKDWWKHFDVH

ϮϮ      WKDWZHKDGKDQGHGLQWKHSLFWXUHVZHUHLQZHUH

Ϯϯ      LQWKHERRN

Ϯϰ      4:KDWZDVWKDWSHUVRQ
             4    :KDWZDVWKDWSHUVRQ VQDPH"

Ϯϱ      $&KULV)RUG
             $    &KULV)RUG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϮϳ
 ϭ      4$QGKRZGLG0U)RUGUHVSRQG"
             4    $QGKRZGLG0U)RUGUHVSRQG"

 Ϯ      $1RWYHU\ZHOO+HJRWYHU\DQJU\7ROG
             $    1RWYHU\ZHOO+HJRWYHU\DQJU\7ROG

 ϯ      PHWKDWWKLVFDQUXLQDFDVHLIWKLVJRWRXWWKDWD

 ϰ      ODZ\HUZRXOGEHDEOHWRXVHWKDWWRJHWWKHFDVH

 ϱ      WKURZQDZD\VDLGDIHZFKRLFHZRUGVWRPH$QG

 ϲ      WKHQWROGPHWRJHWLWIL[HG

 ϳ      4:DVWKLVRYHUWKHSKRQHRUZDVWKLVYLD
             4    :DVWKLVRYHUWKHSKRQHRUZDVWKLVYLD

 ϴ      HPDLO"

 ϵ      $1RLWZDVRYHUWKHSKRQH
             $    1RLWZDVRYHUWKHSKRQH

ϭϬ      4'R\RXKDYHDQ\FDOOORJVRUDQ\UHFRUGV
             4    'R\RXKDYHDQ\FDOOORJVRUDQ\UHFRUGV

ϭϭ      VKRZLQJ\RXDFWXDOO\KDGWKLVFRQYHUVDWLRQZLWK

ϭϮ      0U)RUG"

ϭϯ      $,PHDQ,ZRXOGKDYHWRLI,XVHGP\
             $    ,PHDQ,ZRXOGKDYHWRLI,XVHGP\

ϭϰ      FHOOSKRQH,SUREDEO\ZRXOGKDYHDFHOOSKRQHUHFRUG

ϭϱ      VRPHZKHUH%XW,ZRXOGQRWKDYHDQ\LWZRXOG

ϭϲ      MXVWEHOLNH,FDOOHGWKLVQXPEHUIRUWKLVPDQ\

ϭϳ      PLQXWHVRQWKLVGDWH,ZRXOGQ WKDYHDQ\UHFRUGRI

ϭϴ      WKHSKRQHFDOO,ZRXOGQ W,ZRXOGQHYHUUHFRUG

ϭϵ      P\SKRQHFDOOVZLWK)HGHUDODJHQWV

ϮϬ      4'LG\RXKDYHDQ\IROORZXSFRQYHUVDWLRQ
             4    'LG\RXKDYHDQ\IROORZXSFRQYHUVDWLRQ

Ϯϭ      ZLWK0U)RUGDERXWWKDWSLFWXUH"

ϮϮ      $<HVDIWHU,FDOOHG-LP0LQDWHODQGKH
             $    <HVDIWHU,FDOOHG-LP0LQDWHODQGKH

Ϯϯ      WROGPHKHZDVJRLQJWRWDNHLWWKHERRNGRZQDQG

Ϯϰ      KDYHKHUFKDQJHLW,FDOOHG&KULVWRWHOOKLPLW

Ϯϱ      ZDVUHVROYHG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4$QGZKDWGLG0U)RUGVD\"
             4    $QGZKDWGLG0U)RUGVD\"

 Ϯ      $*RRGWKDWZDVEDVLFDOO\LWMXVWJRRG
             $    *RRGWKDWZDVEDVLFDOO\LWMXVWJRRG

 ϯ      'RQ WOHWDQGWKHQKHGLGPDNHDFRPPHQWDERXWZH

 ϰ      KDGDQRWKHUHPSOR\HHWKDWDOVRGLGVRPHFUDSZLWK

 ϱ      ,/)WRR6RKHVDLG\RXKDYHWRJHW\RXUKLULQJ

 ϲ      SUDFWLFHVEHWWHU<RXVHHPWRKDYHDORWRI

 ϳ      SUREOHPV

 ϴ      4:KDWFUDSGLGWKH,/)HPSOR\HHSXOO"
             4    :KDWFUDSGLGWKH,/)HPSOR\HHSXOO"

 ϵ      $&DW0XUGRFNRXWHGWKLVYHU\VDPHDJHQWDW
             $    &DW0XUGRFNRXWHGWKLVYHU\VDPHDJHQWDW

ϭϬ      '()&21DQGKHZDVXQGHUFRYHUEHFDXVHVKHKDGZRUNHG

ϭϭ      ZLWKPHRQDFDVHZLWKKLPDQGDOVREOHZKLVFRYHU

ϭϮ      $QGKHZDVOLYLGDWPH

ϭϯ      42ND\6R\RXVDLGWKHERRNZDVUHOHDVHG
             4    2ND\6R\RXVDLGWKHERRNZDVUHOHDVHG

ϭϰ      :KDWGLG\RXGRDIWHU\RXVDZWKHSLFWXUHLQWKH

ϭϱ      ERRN"7HOOPH\RXUQH[WVWHSV

ϭϲ      $,ILUVWFDOOHGWKH%RDUGRI,/)WRWHOO
             $    ,ILUVWFDOOHGWKH%RDUGRI,/)WRWHOO

ϭϳ      WKHPZKDWZDVKDSSHQLQJ7KH\QHHGHGWRNQRZ,

ϭϴ      WKHQVHQW0D[LHHPDLOVRUWH[WV,VHQWPHVVDJHV

ϭϵ      VRPHKRZWHOOLQJKHUWKDWKDGWRFRPHRXWWKDWLW

ϮϬ      ZDVD)HGHUDOFULPH$QG,WROGKHULI,LI,

Ϯϭ      JHWFDOOHGE\WKH)%,RQWKLV,DPQRWJRLQJWR

ϮϮ      WDNHWKHKHDW,DPJRLQJWRWHOOWKHP\RXGLGLW

Ϯϯ      ZLWKRXWDQ\SHUPLVVLRQ6R,WKUHDWHQHGWKDWLI,

Ϯϰ      JHWFDOOHGRQWKLV\RXDUHJRLQJGRZQQRWPH

Ϯϱ      :KHQ,GLGQ WUHFHLYHDQ\UHVSRQVHIURPKHULVZKHQ


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ,ZHQWWR-LP0LQDWHO

 Ϯ      4$QGWKHQWHOOPHDERXW\RXUFRQYHUVDWLRQ
             4    $QGWKHQWHOOPHDERXW\RXUFRQYHUVDWLRQ

 ϯ      ZLWK-LP0LQDWHO

 ϰ      $6DPHWKLQJ,EDVLFDOO\SXOOHGDOOP\
             $    6DPHWKLQJ,EDVLFDOO\SXOOHGDOOP\

 ϱ      VXSSRUWIRU0D[LHVDLGWKDW,DPJRLQJWRVD\

 ϲ      VRPHWKLQJ\RXDUHJRLQJWRDVNZKHUHWKDWFDPHLQ

 ϳ      $IWHUZHORFNHGKHUODSWRSZHKDYHD
                  $IWHUZHORFNHGKHUODSWRSZHKDYHD

 ϴ      SUDFWLFHLQ,WKLQNPRVWVHFXULW\FRPSDQLHVZHJR

 ϵ      WKURXJKKHUHPDLODQGWKLQJVOLNHWKDWWRVHHLI

ϭϬ      WKHUHLVDQ\WKLQJZHQHHGWRWDNHFDUHRIDQ\

ϭϭ      EXVLQHVVWKDWZDVOHIWXQGRQHXQPHWHG,QWKDWLV

ϭϮ      ZKHQZHIRXQGHYLGHQFHWKDWVKHQHYHUZHQWWR

ϭϯ      6FRWODQG6KHZDVLQ7H[DV6KHDFWXDOO\ILOHGIRU

ϭϰ      VWDUWLQJDFRPSDQ\LQ7H[DVGXULQJWKHPRQWKVWKDW

ϭϱ      VKHWROGPHVKHZDVLQ6FRWODQG6KHKDGVLJQHG

ϭϲ      FRQWUDFWVZLWKD79SURGXFHUWKDWEURNHKHU

ϭϳ      HPSOR\PHQWFRQWUDFW6KHKDGVHQWHPDLOVIURP

ϭϴ      6RFLDO(QJLQHHUHPDLOWRYHQGRUVVHQGLQJZRUNDZD\

ϭϵ      IURP6RFLDO(QJLQHHUWRRWKHUFRPSDQLHV$QGWKDW

ϮϬ      LVZKHQEHWZHHQWKHSLFWXUHDQGWKRVHWKLQJVLV

Ϯϭ      ZKHQ,UHDOL]HGWKDWVKHZDVO\LQJDQGVKHZDV

ϮϮ      GLUW\$QGVRZKHQ,FDOOHG-LP,WROGKLPDOORI

Ϯϯ      WKDW,VDLGP\VXSSRUWLVSXOOHGIURPKHU,Q

Ϯϰ      DGGLWLRQLI\RXGRQ WUHPRYHWKLVSLFWXUHDJDLQ,

Ϯϱ      DPQRWJRLQJWRJHWLQWURXEOHIRUWKLV,IWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      )HGVFDOOPHRQWKLVDQGWKLVFDVHJRHVWR+HOO,

 Ϯ      DPEODPLQJ:LOH\DQG0D[LHDQGKHVDLGZHOOZH

 ϯ      GRQ WZDQWWKDW+HZHQWWRKLVODZ\HUV7KH

 ϰ      ODZ\HUVFDPHEDFNDQGWKH\VDLG\HDKSXOOWKH

 ϱ      ERRNDQGKDGKHUUHZULWHLW

 ϲ      47KHUHLVDORWWRXQSDFNWKHUH
             4    7KHUHLVDORWWRXQSDFNWKHUH

 ϳ      $7KHUHLV
             $    7KHUHLV

 ϴ      4<RXVDLG\RXSXOOHGVXSSRUWEHFDXVH\RX
             4    <RXVDLG\RXSXOOHGVXSSRUWEHFDXVH\RX

 ϵ      IRXQGWKDWVKHZDVWU\LQJWRVWDUWDFRPSHWLQJ

ϭϬ      EXVLQHVVLVWKDWULJKW"

ϭϭ      $,GLGQRWVD\WKDWKHUH,KDYHVDLGWKDW
             $    ,GLGQRWVD\WKDWKHUH,KDYHVDLGWKDW

ϭϮ      LQHPDLOV,VDLG,SXOOHGVXSSRUWZKDW,VDLG

ϭϯ      MXVWPRPHQWVDJRLVWKDW,SXOOHGVXSSRUWEHFDXVH

ϭϰ      RQFHZHZHQWWKURXJKKHUHPDLOVZHIRXQGWKDWVKH

ϭϱ      KDGEURNHKHUHPSOR\PHQWFRQWUDFWLQWKUHHRUIRXU

ϭϲ      GLIIHUHQWZD\V$QGVKHKDGOLHGDERXW,/)DQG

ϭϳ      GDPDJHGWKHRUJDQL]DWLRQ

ϭϴ      4'LG\RXJRWKURXJKKHUHPDLOVEHIRUHRU
             4    'LG\RXJRWKURXJKKHUHPDLOVEHIRUHRU

ϭϵ      DIWHUWKHUHOHDVHRIKHUERRN"

ϮϬ      $$IWHU
             $    $IWHU

Ϯϭ      46RZKHQH[DFWO\GLG\RXSXOO\RXUVXSSRUW
             4    6RZKHQH[DFWO\GLG\RXSXOO\RXUVXSSRUW

ϮϮ      IRUKHUERRN"

Ϯϯ      $,WZDVDIWHU,VDZWKHSLFWXUHV7KLVDOO
             $    ,WZDVDIWHU,VDZWKHSLFWXUHV7KLVDOO

Ϯϰ      KDSSHQHGOLNHZLWKLQZLWKLQKRXUVULJKW"6RWKH

Ϯϱ      ERRNFRPHVRXWDQGRQHRIP\,/)HPSOR\HHVFDOOVPH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      DQGVD\VWXUQWRWKLVSDJH,WXUQWRWKHSDJHDQG

 Ϯ      LW VWKHSLFWXUHV,/)LVIUHDNLQJRXW,WHOO

 ϯ      5\DQORFNKHUODSWRS$QGZKHQLWZDVORFNHGWKHQ

 ϰ      5\DQDVKHDOZD\VGRHVDVP\&22DWWKHWLPHKH

 ϱ      ZHQWWKURXJKDOORIKHUILOHVDQGHPDLOVWRVHHLI

 ϲ      WKHUHZDVDQ\HYLGHQFHRILQVLGHUWKUHDWRUDQ\

 ϳ      ZRUNWKDWZHKDGWRIROORZXSRQ$QGWKDW VZKHQ

 ϴ      ZHIRXQGDOOWKHVHWKLQJV6RWKDWZDVKDSSHQLQJ

 ϵ      OLNHZLWKLQWKHVDPHWLPHIUDPH$QGWKDWLVZKHQ,

ϭϬ      SXOOHGP\VXSSRUWIRUHYHU\SRGFDVW,KDGVHWXS

ϭϭ      IRUKHUDQ\LQWHUYLHZV,KDGLQPDJD]LQHVIRUKHU

ϭϮ      WKHVXSSRUW,DFWXDOO\DVNHG:LOH\WRUHPRYHP\

ϭϯ      QDPHIURPWKHERRNDQGDQ\PHQWLRQRI6(&20RU,/)

ϭϰ      ,GLGQRWZDQWWREHDVVRFLDWHGZLWKKHUDWDOO

ϭϱ      $QGWKHQ,SXOOHGVXSSRUWSXEOLFO\IRUKHU

ϭϲ      4<RXVDLGWKHWHUPLQVLGHUWKUHDW:KDW
             4    <RXVDLGWKHWHUPLQVLGHUWKUHDW:KDW

ϭϳ      GRHVLQVLGHUWKUHDWPHDQWR\RX"

ϭϴ      $)URPDVHFXULW\VWDQGSRLQWLQVLGHUWKUHDW
             $    )URPDVHFXULW\VWDQGSRLQWLQVLGHUWKUHDW

ϭϵ      LVZKHQ\RXKDYHVRPHRQHZKRLVJUDQWHGDFFHVV

ϮϬ      LQVLGH\RXUFRPSDQ\ZKRKDVDFWXDODXWKRULWDWLYHRU

Ϯϭ      DGPLQLVWUDWLYHDFFHVVWKDWFDQFUHDWHDWKUHDWD

ϮϮ      VHFXULW\WKUHDWIRU\RXURUJDQL]DWLRQ/LNHWKH\

Ϯϯ      KDYHWKHDELOLW\WRWDNHGDWDDQG\RXZRXOGQ W

Ϯϰ      NQRZ7KH\KDYHWKHDELOLW\WRZLSHVHUYHUV7KH\

Ϯϱ      KDYHWKHDELOLW\WRFUHDWHVRPHNLQGRIKDUPWRWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      FRPSDQ\IURPDVHFXULW\SHUVSHFWLYH

 Ϯ      4+RZGR\RXSHUIRUPWKLVLQVLGHUWKUHDW
             4    +RZGR\RXSHUIRUPWKLVLQVLGHUWKUHDW

 ϯ      DQDO\VLV"

 ϰ      $)RUZHOOIRUP\FOLHQWVZKDWZHGRLV
             $    )RUZHOOIRUP\FOLHQWVZKDWZHGRLV

 ϱ      ZHILUVWORRNDWWKHQHWZRUN

 ϲ      4,DPJRLQJWRSDXVH\RXULJKWWKHUH
             4    ,DPJRLQJWRSDXVH\RXULJKWWKHUH

 ϳ      $2ND\
             $    2ND\

 ϴ      4,ZDQWWRIRFXVRQIRUPHUHPSOR\HHV:H
             4    ,ZDQWWRIRFXVRQIRUPHUHPSOR\HHV:H

 ϵ      ZHUHWDONLQJDERXWHPSOR\HHVZKROHIW,WKLQN\RXU

ϭϬ      WHVWLPRQ\ZDV\RXJRORRNDQGVHHLIWKHUHLV

ϭϭ      RXWVWDQGLQJZRUNDQGGRDQDO\VLVIRULQVLGHU

ϭϮ      WKUHDWV6RZLWKUHVSHFWWRIRUPHUHPSOR\HHVOHW V

ϭϯ      WDNHWKDWVWHSE\VWHS+RZGR\RXJRWRWU\WR

ϭϰ      GHWHUPLQHZKDWRXWVWDQGLQJZRUNWKDWSHUVRQPLJKW

ϭϱ      KDYH"

ϭϲ      $<HVVRILUVWLWLVHPDLO,PHDQLI
             $    <HVVRILUVWLWLVHPDLO,PHDQLI

ϭϳ      LW VDPLFDEOHZHVD\LVWKHUHDQ\WKLQJZHQHHGWR

ϭϴ      IROORZXSRQWKDW\RXKDYHOHIWXQGRQHULJKW"$QG

ϭϵ      VRPHWLPHVHPSOR\HHVZLOOVD\\HDK\RXJHWWRJR

ϮϬ      WDNHFDUHRIWKHVHWKUHHWKLQJVRUFDQFHOWKLV

Ϯϭ      VWXIIRUJHWULGRIP\FUHGLWFDUG,ILW VQRW

ϮϮ      DPLFDEOHWKHQZHZLOOILUVWJRWKURXJKWKHLU

Ϯϯ      HPDLOVDQGVHHLIWKHUHLVDQ\WKLQJLQWKHVHQW

Ϯϰ      IROGHUVRULQWKHLQER[WKDWLVSUHVVLQJIRUXVWR

Ϯϱ      WDNHFDUHRI$QGWKHQZHZLOOJRWKURXJKDQ\RI


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      WKHLU6KDUH3RLQWILOHVRUWKLQJVOLNHWKDW5\DQ

 Ϯ      ZRXOGQRUPDOO\ORRNIRUHYLGHQFHRIWKLQJVWKDWZHUH

 ϯ      H[ILOWUDWHGOLNHLIVRPHERG\WRRNGDWDEHFDXVHZH

 ϰ      KDYHORJVRIWKDWOLNHVRDQGVRGRZQORDGHGWKLV

 ϱ      ILOHZHZLOOORRNIRUWKRVHW\SHVRIWKLQJVLIZH

 ϲ      VXVSHFWVRPHRQHLVDWKUHDW:HGRQ WGRWKDWRQ

 ϳ      HYHU\HPSOR\HH

 ϴ      46R\RXUWHVWLPRQ\HDUOLHUZDVWKDW\RXDQG
             4    6R\RXUWHVWLPRQ\HDUOLHUZDVWKDW\RXDQG

 ϵ      0D[LHNLQGRIHQGHGWKHUHODWLRQVKLSDPLFDEO\EHIRUH

ϭϬ      VKHOHIWEHIRUHVKHSXEOLVKHGKHUERRN"

ϭϭ      $<HDK
             $    <HDK

ϭϮ      4'LG\RXDVNKHUZKDWRXWVWDQGLQJZRUNVKH
             4    'LG\RXDVNKHUZKDWRXWVWDQGLQJZRUNVKH

ϭϯ      KDG"

ϭϰ      $<HV
             $    <HV

ϭϱ      4$QGZKDWGLGVKHVD\"
             4    $QGZKDWGLGVKHVD\"

ϭϲ      $7KHUHZDVQRQH6KHKDGEHHQJRQHIRU
             $    7KHUHZDVQRQH6KHKDGEHHQJRQHIRU

ϭϳ      WKUHH,EHOLHYHLWZDVWKUHHPRQWKVVRDQ\ZRUN

ϭϴ      WKDWVKHKDGLWZDVDOUHDG\QRWGRQHLWZDV

ϭϵ      DOUHDG\GRQHE\VRPHRQHHOVH

ϮϬ      4*RWLW6RWKHUHZDVQRUHDVRQWRORRNDW
             4    *RWLW6RWKHUHZDVQRUHDVRQWRORRNDW

Ϯϭ      KHUHPDLOWRVHHZKDWRXWVWDQGLQJLWHPVWKHUHZRXOG

ϮϮ      EHULJKW"

Ϯϯ      $1R
             $    1R

Ϯϰ      45LJKW$QG\RXDOVRVDLGIRULQVLGHU
             4    5LJKW$QG\RXDOVRVDLGIRULQVLGHU

Ϯϱ      WKUHDWDQGWRGRWKDW\RXMXVWNLQGRIUXQDQ


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      DQDO\VLVWRVHHZKDWW\SHRIGDWDVKRZVXSLVWKDW

 Ϯ      IDLU"

 ϯ      $,W
             $    ,W VQRWLW VQRWVRPXFKORRNLQJIRU

 ϰ      ZKDWW\SHRIGDWDVKRZVXS,W VHYLGHQFHRIIRXO

 ϱ      SOD\LQHPDLORULQFKDWKLVWRU\RUDJDLQ

 ϲ      H[ILOWUDWLRQRIGDWDWKDWVKHZRXOGQRWKDYHQHHGHG

 ϳ      WRWDNH

 ϴ      4$QG\RXFRXOGUXQDVHDUFKRIHPDLOVMXVW
             4    $QG\RXFRXOGUXQDVHDUFKRIHPDLOVMXVW

 ϵ      WRVHHGDWDWKDW VVHQWULJKW"

ϭϬ      $<HV
             $    <HV

ϭϭ      42ND\%XW\RXJX\VGLGQ
             4    2ND\%XW\RXJX\VGLGQ WGRWKDW\RX

ϭϮ      JX\VDFWXDOO\GLGDSDJHWXUQRYHUHPDLOVULJKW"

ϭϯ      $,FDQ
             $    ,FDQ WKRQHVWO\WHOO\RXKRZ5\DQGLGLW

ϭϰ      EHFDXVH,GLGQ WGRLW5\DQGLGWKHDQDO\VLVDQG

ϭϱ      WKHQFDPHEDFNWRPHZLWKWKHFRQWUDFWVZLWKWKH79

ϭϲ      SURGXFHUZLWKWKHHPDLOVWRYHQGRUVIURP6RFLDO

ϭϳ      (QJLQHHUZLWKWKHEXVLQHVVOLFHQVHIRUVXE&WKDW

ϭϴ      VKHKDVLQ7H[DV6R5\DQFDPHEDFNWRPHZLWKDOO

ϭϵ      RIWKLVHYLGHQFHRIWKLQJVWKDWZHVR,GRQ W

ϮϬ      NQRZKRZH[DFWO\KRZ,FDQ WWHOO\RXWKH

Ϯϭ      SURFHVV

ϮϮ      4$QGWKDW
             4    $QGWKDW VVRPHWKLQJ\RXZRXOGW\SLFDOO\

Ϯϯ      ILQGLI\RXGLGDSDJHWXUQRIHPDLOULJKW"

Ϯϰ      $<HDK,PHDQ,JXHVVLI\RXZHQWWKURXJK
             $    <HDK,PHDQ,JXHVVLI\RXZHQWWKURXJK

Ϯϱ      HDFKHPDLO\HDKZRXOG\RXILQGWKRVHWKLQJVDOVR


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4*RWLW6RDIWHU0D[LHOHIWWKHERRNZDV
             4    *RWLW6RDIWHU0D[LHOHIWWKHERRNZDV

 Ϯ      SXEOLVKHG$QGWKHQ5\DQZHQWWKURXJKDQGGLGD

 ϯ      SDJHWXUQRIKHUHPDLOV"

 ϰ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 ϱ      $$JDLQ,ZLOOQRWDJUHHWRWKDWEHFDXVH,
             $    $JDLQ,ZLOOQRWDJUHHWRWKDWEHFDXVH,

 ϲ      GRQRWNQRZKRZ5\DQGLGKLVDFWXDOVHDUFKLQWRKHU

 ϳ      HPDLO

 ϴ      4
             4     %\0U'HDQ ,JXHVV,DPQRW

 ϵ      XQGHUVWDQGLQJWKLVLQVLGHUWKUHDWDQDO\VLVKRZLW V

ϭϬ      SHUIRUPHG&DQ\RXH[SODLQWKDWRQHPRUHWLPH"

ϭϭ      $6XUH6RLIVRPHERG\TXLWVDQGZHIHHO
             $    6XUH6RLIVRPHERG\TXLWVDQGZHIHHO

ϭϮ      WKDWWKH\KDYHSUHVHQWHGWKHPVHOIDVDWKUHDWWRWKH

ϭϯ      FRPSDQ\ZHZLOOORRNWKURXJKWKHLUILOHVDQGWKHLU

ϭϰ      HPDLOVWRVHHLIWKHUHLVDQ\HYLGHQFHWKDWWKH\

ϭϱ      ZHUHSOD\LQJGLUW\ZKHQWKH\ZRUNHGIRUXV

ϭϲ      4$QGE\SOD\LQJGLUW\GR\RXPHDQWU\LQJ
             4    $QGE\SOD\LQJGLUW\GR\RXPHDQWU\LQJ

ϭϳ      WRVWDUWWKHLURZQEXVLQHVVWU\WRFUHDWHFRQWUDFWV

ϭϴ      RUWU\WRWDNHFRQWUDFWV"

ϭϵ      $$Q\WKLQJWKDWZRXOGEUHDNWKHLUHPSOR\PHQW
             $    $Q\WKLQJWKDWZRXOGEUHDNWKHLUHPSOR\PHQW

ϮϬ      FRQWUDFWRUWKHLU1'$V

Ϯϭ      4*RWLW6RHVVHQWLDOO\LIDQHPSOR\HH
             4    *RWLW6RHVVHQWLDOO\LIDQHPSOR\HH

ϮϮ      OHDYHVWKDW\RXWKLQNPLJKWEHHQJDJLQJLQIRXO

Ϯϯ      SOD\\RXZLOOWKHQJRORRNWKURXJKWKHLUHPDLOVWR

Ϯϰ      WU\WRILQGLIWKH\EUHDFKHGWKHLUFRQWUDFWVRU

Ϯϱ      GRQHDQ\WKLQJWKDWZRXOGQRWEHRND\ZLWK\RX"


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 ϭ      $&RUUHFW
             $    &RUUHFW

 Ϯ      4*RWLW$QGSULRUWRWKHERRNEHLQJ
             4    *RWLW$QGSULRUWRWKHERRNEHLQJ

 ϯ      UHOHDVHG\RXKDGQRUHDVRQWRQRUGLG\RXVHDUFK

 ϰ      DQ\RI0V5H\QROGV HPDLOV"

 ϱ      $1RZHQHYHUVHDUFKHPDLOVRIDQDFWLYH
             $    1RZHQHYHUVHDUFKHPDLOVRIDQDFWLYH

 ϲ      HPSOR\HH$QGZKHQVKHUHVLJQHG,KDGQR

 ϳ      46RUU\,DVNHGWKDWTXHVWLRQZURQJ
             4    6RUU\,DVNHGWKDWTXHVWLRQZURQJ

 ϴ      3ULRUWRKHUERRNEHLQJUHOHDVHGDIWHUVKH
                  3ULRUWRKHUERRNEHLQJUHOHDVHGDIWHUVKH

 ϵ      UHVLJQHG\RXGLGQRWORRNWKURXJKDQ\RIKHU

ϭϬ      HPDLOVEHFDXVH\RXGLGQRWGHHPKHUDWKUHDW"

ϭϭ      $'LGQRWFRUUHFW:HGLGQRWORRNWKURXJK
             $    'LGQRWFRUUHFW:HGLGQRWORRNWKURXJK

ϭϮ      WKHP

ϭϯ      4%XWDIWHUWKHERRNFDPHRXWDQG\RXVDZD
             4    %XWDIWHUWKHERRNFDPHRXWDQG\RXVDZD

ϭϰ      SLFWXUH\RXWKHQGHHPHGKHUDWKUHDWDQGKDG5\DQ

ϭϱ      JRWKURXJKDQGORRNWKURXJKKHUHPDLOVIRUD

ϭϲ      WKUHDWDVVHVVPHQW"

ϭϳ      $<HVVLU
             $    <HVVLU

ϭϴ      47RWU\WRILQGDQ\HYLGHQFHRIKHU
             4    7RWU\WRILQGDQ\HYLGHQFHRIKHU

ϭϵ      EUHDFKLQJWKHFRQWUDFW"

ϮϬ      $<HV
             $    <HV

Ϯϭ      4$QGGLG5\DQGRWKDWDW\RXUGLUHFWLRQRU
             4    $QGGLG5\DQGRWKDWDW\RXUGLUHFWLRQRU

ϮϮ      RQKLVRZQ"

Ϯϯ      $$WP\GLUHFWLRQ
             $    $WP\GLUHFWLRQ

Ϯϰ      42ND\6RWKHRQO\UHDVRQ\RXZHQWWKURXJK
             4    2ND\6RWKHRQO\UHDVRQ\RXZHQWWKURXJK

Ϯϱ      0D[LH5H\QROGV HPDLOVLVEHFDXVHVKHUHOHDVHGWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ERRNZLWKWKDWSLFWXUH"

 Ϯ      $%HFDXVHVKHKDGDSLFWXUHIURPDQDFWLYH
             $    %HFDXVHVKHKDGDSLFWXUHIURPDQDFWLYH

 ϯ      )HGHUDOFDVHLQLWWKDWVKHKDGQRSHUPLVVLRQWR

 ϰ      XVH6KHKDGVWROHQWKDWSLFWXUHIURP,/)DQGXVHG

 ϱ      LWLOOHJDOO\7KDWLWZDVZK\7KDWZDVDQLOOHJDO

 ϲ      XVHRIDSLFWXUHWKDWZDVQRWKHUSURSHUW\,WZDV

 ϳ      QRORQJHU,/) VSURSHUW\$QGLWZDVQ WHYHQKHU

 ϴ      FDVHWKDWVKHZRUNHG

 ϵ      4$QG\RXVDLGDWWKDWSRLQWLQWLPHWKDW
             4    $QG\RXVDLGDWWKDWSRLQWLQWLPHWKDW V

ϭϬ      ZKHQ\RXGHFLGHGWRSXOOVXSSRUW"

ϭϭ      $<HV
             $    <HV

ϭϮ      4$QG\RXFRQWDFWHG\RXVDLG-LPDQG,DP
             4    $QG\RXFRQWDFWHG\RXVDLG-LPDQG,DP

ϭϯ      JRLQJWREXWFKHUKLVODVWQDPH

ϭϰ      $0LQDWHO
             $    0LQDWHO

ϭϱ      40LQDWHODQG\RXVDLG,DPSXOOLQJP\
             4    0LQDWHODQG\RXVDLG,DPSXOOLQJP\

ϭϲ      VXSSRUW7DNHWKHSLFWXUHRXW"

ϭϳ      $<HVDQG,DOVRFRQWDFWHGDOOWKHSRG
             $    <HVDQG,DOVRFRQWDFWHGDOOWKHSRG

ϭϴ      FDVWV,KDGVHWXSIRUKHU

ϭϵ      4/HW
             4    /HW VVWRSULJKWWKHUH<RXVDLGDOOWKH

ϮϬ      SRGFDVWV,KDGDQGJUHDWMREOLVWHQLQJDOO

Ϯϭ      WKHSHRSOHSRGFDVWV,KDGVHWXS:KLFKSRG

ϮϮ      FDVWV"

Ϯϯ      $2ND\6R,KDGFRQWDFWHGWKHELJRQH
             $    2ND\6R,KDGFRQWDFWHGWKHELJRQH

Ϯϰ      ZDV'DUN1HW'LDULHV7KDWLVZLWK-DFN5K\VLGHU

Ϯϱ      ,FDQ WUHPHPEHUWKHQDPHRI3HUU\&DUSHQWHU VSRG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      FDVWEXW,FRQWDFWHGKLP3KLOLS:LOH\KDGDSRG

 Ϯ      FDVW,FRQWDFWHGKLP/D\HU(LJKWSRGFDVW,DP

 ϯ      WU\LQJWRWKLQNLIWKHUHZHUHDQ\RWKHUVEHFDXVH

 ϰ      DJDLQWKLVLVDZKLOHDJR,DPQRWVXUHLI,KDG

 ϱ      VHWKHUXSZLWKRWKHUV

 ϲ      4,KHDUGDERXWIRXURUILYHSRGFDVWVGRHV
             4    ,KHDUGDERXWIRXURUILYHSRGFDVWVGRHV

 ϳ      WKDWVRXQGULJKW"

 ϴ      $<HDKLWGRHV
             $    <HDKLWGRHV

 ϵ      42ND\6R,ZDQWWRPDNHVXUHZHDUH
             4    2ND\6R,ZDQWWRPDNHVXUHZHDUH

ϭϬ      JHWWLQJWKLVWLPHOLQHULJKW$IWHU\RXVDZWKH

ϭϭ      SLFWXUH\RXUHDFKHGRXWWRWKHSXEOLVKHU"

ϭϮ      $<HV
             $    <HV

ϭϯ      4<RXVDLGSXOOWKHSLFWXUH7KLVLVDQ
             4    <RXVDLGSXOOWKHSLFWXUH7KLVLVDQ

ϭϰ      LQYHVWLJDWLRQ7KHSXEOLVKHUDJUHHGZHZLOOSXOO

ϭϱ      WKHSLFWXUHDQGUHSULQW"

ϭϲ      $<HV
             $    <HV

ϭϳ      4$IWHUWKDWZK\GLG\RXJRDQGJHWKHUSRG
             4    $IWHUWKDWZK\GLG\RXJRDQGJHWKHUSRG

ϭϴ      FDVWVFDQFHOHGLILWZDVJRLQJWREHUHSULQWHG

ϭϵ      ZLWKRXWWKDWSLFWXUHLIWKDWZDV\RXUFRQFHUQ"

ϮϬ      $:HOOIURPZKDWZHIRXQGLQKHUHPDLO
             $    :HOOIURPZKDWZHIRXQGLQKHUHPDLO

Ϯϭ      DQGIURPKHUODFNRIUHVSRQVHWRP\EHJJLQJWR

ϮϮ      UHPRYHWKHLOOHJDOSLFWXUH,GHHPHGWKDWVKHZDVD

Ϯϯ      WKUHDWDQG,ZDVQRWJRLQJWRKDYHP\QDPHRUP\

Ϯϰ      FRPSDQ\ VQDPHVXSSRUWLQJVRPHRQHZKRFRXOGDFWXDOO\

Ϯϱ      SXWD\HDUROGFKLOGLQKDUP


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 ϭ      46RWKHVHSRGFDVWVIRXURUILYHSRG
             4    6RWKHVHSRGFDVWVIRXURUILYHSRG

 Ϯ      FDVWVGLG0D[LHVFKHGXOHWKRVHRQKHURZQRUGLG

 ϯ      \RXVFKHGXOHWKHPIRUKHU"

 ϰ      $,GLGDOOWKHLQWURGXFWLRQVWRWKRVHSRG
             $    ,GLGDOOWKHLQWURGXFWLRQVWRWKRVHSRG

 ϱ      FDVWVIRUKHU,GRQ WDFWXDOO\UHFDOOZKRGLGWKH

 ϲ      VFKHGXOLQJ%XW,KDYHEHHQRQDOOWKRVHSRGFDVWV

 ϳ      6RP\WKHLQWURGXFWLRQVWRWKRVHSHRSOHZHUH

 ϴ      WKURXJKPHVD\LQJKH\0D[LHKDVJRWDERRNFRPLQJ

 ϵ      RXW<RXPD\ZDQWWRLQWHUYLHZKHU

ϭϬ      4*RWLW$QGZKHQ\RXIRXQGRXWWKDWVKH
             4    *RWLW$QGZKHQ\RXIRXQGRXWWKDWVKH

ϭϭ      ZDVDWKUHDWWR\RX\RXFDOOHGDOOIRXUWRILYHRI

ϭϮ      WKRVHSRGFDVWVDQGVD\WDNHKHURIIGRQ WSXWKHU

ϭϯ      RQ"

ϭϰ      $<HVDQG3DXOFRPZDVWKHILIWKRQHE\WKH
             $    <HVDQG3DXOFRPZDVWKHILIWKRQHE\WKH

ϭϱ      ZD\

ϭϲ      4$QGGLGWKRVHILYHSRGFDVWVOLVWHQWR\RX
             4    $QGGLGWKRVHILYHSRGFDVWVOLVWHQWR\RX

ϭϳ      DQGSXOOKHUSRGFDVW"

ϭϴ      $'DUN1HW'LDULHVGLG3DXOFRPGLG
             $    'DUN1HW'LDULHVGLG3DXOFRPGLG

ϭϵ      /D\HU(LJKWGLG%XW3HUU\&DUSHQWHUDQG3KLOLS

ϮϬ      :LOH\ERWKVWLOOKDGKHURQ

Ϯϭ      46R\RXJRWWKUHHRIWKHILYHSRGFDVWV
             4    6R\RXJRWWKUHHRIWKHILYHSRGFDVWV

ϮϮ      FDQFHOHG"

Ϯϯ      $&RUUHFW
             $    &RUUHFW

Ϯϰ      4<RXVDLG\RXZDQWHGKHUWRKDYHKHUSRG
             4    <RXVDLG\RXZDQWHGKHUWRKDYHKHUSRG

Ϯϱ      FDVWVFDQFHOHGEHFDXVHVKHEUHDFKHG\RXUHPSOR\PHQW


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 ϭ      FRQWUDFW"

 Ϯ      $&RUUHFW
             $    &RUUHFW

 ϯ      4:KHQGLG\RXVXHKHUIRUEUHDFKRI
             4    :KHQGLG\RXVXHKHUIRUEUHDFKRI

 ϰ      FRQWUDFW"

 ϱ      $,KDYHQHYHUVXHGKHU
             $    ,KDYHQHYHUVXHGKHU

 ϲ      4:K\QRW"
             4    :K\QRW"

 ϳ      $%HFDXVHWKHUHZDVVKHDWWHPSWHGWR
             $    %HFDXVHWKHUHZDVVKHDWWHPSWHGWR

 ϴ      SRLQWYHQGRUVDQGRWKHUWKLQJVDZD\IURPXV%XW

 ϵ      VKHQHYHUVXFFHHGHG6RWKHUHZDVQRWKLQJWRVXH

ϭϬ      KHUIRU6KHVLJQHGDFRQWUDFWZLWKD79SURGXFHU

ϭϭ      %XWVKHPDGHQRPRQH\IURPLWVRWKHUHZDVQR

ϭϮ      UHDVRQWRVXHKHU6RDWWKHHQGVKHEURNHKHU

ϭϯ      HPSOR\PHQWFRQWUDFWEXWQRQHRILWZDVVXFFHVVIXO

ϭϰ      $QGZKHQ,WDONHGWR7LPDERXWVXLQJKHUIRUO\LQJ

ϭϱ      DERXWEHLQJLQ6FRWODQGDQGVWXIIWKDWZDVDQRJR

ϭϲ      +HZDVOLNHWKLVLVDZDVWHRIWLPH

ϭϳ      4*RWLW6RWKHUHZDVQRDFWXDOEUHDFKRI
             4    *RWLW6RWKHUHZDVQRDFWXDOEUHDFKRI

ϭϴ      FRQWUDFW,Q\RXURSLQLRQVKHZDVMXVWWKLQNLQJ

ϭϵ      RIRUWU\LQJWRVWDUWKHURZQEXVLQHVV"

ϮϬ      $1RVLJQLQJWKRVHFRQWUDFWVZDVDEUHDFK
             $    1RVLJQLQJWKRVHFRQWUDFWVZDVDEUHDFK

Ϯϭ      RIKHUHPSOR\PHQWFRQWUDFW$FFRUGLQJWRZKDWVKH

ϮϮ      VLJQHGVKHZDVQRWDOORZHGWRVLJQFRQWUDFWVWKDW

Ϯϯ      ZRXOGEHZLWKDQRWKHUMRERUDQ\RWKHUPRQH\PDNLQJ

Ϯϰ      RSSRUWXQLW\ZLWKRXWILUVWFKHFNLQJZLWKKHU

Ϯϱ      HPSOR\HU6WDUWLQJDEXVLQHVVUHJLVWHULQJD


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      EXVLQHVVZKLOHVKH VHPSOR\HGZLWKPHDOVREUHDNV

 Ϯ      KHU1'$DQGKHUHPSOR\PHQWFRQWUDFW'HILQLWHO\

 ϯ      DQGWKLVLVMXVWDQHWKLFVWKLQJVHQGLQJHPDLOV

 ϰ      IURPKHU6RFLDO(QJLQHHUHPDLOWRYHQGRUVVD\LQJ

 ϱ      KH\,ZDQWWRVHQGVRPHZRUN\RXUZD\, PDZD\

 ϲ      IURP6RFLDO(QJLQHHUWKDWLVDEUHDFKRIHPSOR\PHQW

 ϳ      FRQWUDFW

 ϴ      47KHQZK\GLGQ
             4    7KHQZK\GLGQ W\RXVXHKHU"

 ϵ      $,DFWXDOO\FDQ
             $    ,DFWXDOO\FDQ WDQVZHUWKDW,DPQRWD

ϭϬ      ODZ\HU,WRRNDOORIWKLVDOORIWKHWKLQJV,

ϭϭ      DPWHOOLQJ\RXWRP\ODZ\HUDQG,OLVWHQHGWRWKH

ϭϮ      DGYLFHRIP\FRXQVHO

ϭϯ      4*RWLW6RLW
             4    *RWLW6RLW V\RXUXQGHUVWDQGLQJWKDW

ϭϰ      \RXUFRXQVHOGLGQRWEHOLHYH\RXDFWXDOO\KDGD

ϭϱ      EUHDFKRIFRQWUDFWFDVHDJDLQVW0V5H\QROGVIRU

ϭϲ      WKDWFRQGXFW"

ϭϳ      $2KQRQRWDWDOO+HGHILQLWHO\
             $    2KQRQRWDWDOO+HGHILQLWHO\

ϭϴ      05&215$',DPJRLQJWRFDXWLRQ\RX
                  05&215$',DPJRLQJWRFDXWLRQ\RX

ϭϵ      DJDLQVWZDLYLQJDWWRUQH\FOLHQWVWXII6RWR
             DJDLQVWZDLYLQJDWWRUQH\FOLHQWVWXII6RWR

ϮϬ      WKHH[WHQWWKHTXHVWLRQFDOOVIRUWKDW
             WKHH[WHQWWKHTXHVWLRQFDOOVIRUWKDW

Ϯϭ      LQIRUPDWLRQ,DPMXVWJRLQJWRFDXWLRQ\RXWR
             LQIRUPDWLRQ,DPMXVWJRLQJWRFDXWLRQ\RXWR

ϮϮ      WKDW
             WKDW

Ϯϯ      05'($1,WKLQNKHKDVDOUHDG\NLQGRI
                  05'($1,WKLQNKHKDVDOUHDG\NLQGRI

Ϯϰ      ZDLYHGLWE\WDONLQJDERXWZKDW7LPVDLGDQG
             ZDLYHGLWE\WDONLQJDERXWZKDW7LPVDLGDQG

Ϯϱ      WKDWZRXOGEHDVXEMHFWPDWWHUZDLYHURQWKLV
             WKDWZRXOGEHDVXEMHFWPDWWHUZDLYHURQWKLV


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ZKROHLVVXH6R,WKLQN\RXFDQDQVZHUWKLV
             ZKROHLVVXH6R,WKLQN\RXFDQDQVZHUWKLV

 Ϯ      7+(:,71(665HDVNWKHTXHVWLRQSOHDVH
                  7+(:,71(665HDVNWKHTXHVWLRQSOHDVH

 ϯ      05'($1&DQ\RXUHDGWKDWEDFN"
                  05'($1&DQ\RXUHDGWKDWEDFN"

 ϰ       5HFRUGUHDG

 ϱ      $,GRQRWDJUHHZLWKWKDW
             $    ,GRQRWDJUHHZLWKWKDW

 ϲ      46RLWLV\RXURSLQLRQWKDW\RXUFRXQVHO
             4    6RLWLV\RXURSLQLRQWKDW\RXUFRXQVHO

 ϳ      WKRXJKWWKDW\RXVKRXOGVXHIRUEUHDFKRIFRQWUDFW

 ϴ      DQG\RXZRXOGKDYHDFODLP"

 ϵ      $7KDW
             $    7KDW VQRWZKDW,VDLG<RXUTXHVWLRQ

ϭϬ      GLGQ WDVNWKDW<RXUTXHVWLRQDVNHGLIP\FRXQVHO

ϭϭ      WKRXJKWWKDWVKHEUHDFKHGWKHFRQWUDFW,FDQQRW

ϭϮ      SRVVLEO\WHOO\RXZKDW7LPWKLQNV

ϭϯ      4:K\GLG\RXQRWVXH0V5H\QROGV"
             4    :K\GLG\RXQRWVXH0V5H\QROGV"

ϭϰ      $:HMXVWGLGQ
             $    :HMXVWGLGQ W:HGLGQ WVXHKHU7KHUH

ϭϱ      ZDVQRWKLQJWRVXH1RPRQHWDU\YDOXHZKDWZDV,

ϭϲ      JRLQJWRGR"

ϭϳ      46R\RXGHFLGHGQRWWRVXHKHUEHFDXVH\RX
             4    6R\RXGHFLGHGQRWWRVXHKHUEHFDXVH\RX

ϭϴ      WKRXJKWWKHUHZDVQRSRWDWWKHHQGRIWKHUDLQERZ"

ϭϵ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϮϬ      $1RWKDW
             $    1RWKDW VQRWLW,WZDVQ WDERXWVXLQJ

Ϯϭ      KHUIRUPRQH\,W VMXVWDWWKHHQGRIWKHGD\VKH

ϮϮ      ZDVXQVXFFHVVIXOLQDOORIKHUDWWHPSWVWRVXEYHUW

Ϯϯ      VR

Ϯϰ      4
             4     %\0U'HDQ 6RWKHUHZRXOGEHQR

Ϯϱ      GDPDJHV"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $<HDK
             $    <HDK

 Ϯ      46RZH
             4    6RZH YHWDONHGDERXW\RXUFRQYHUVDWLRQV

 ϯ      ZLWKWKHERRNSXEOLVKHU:HWDONHGDERXWSXOOLQJ

 ϰ      WKHVXSSRUWDQGFDQFHOLQJWKHSRGFDVWV:KDWHOVH

 ϱ      GLG\RXGR"

 ϲ      $2ND\3XEOLVKHUERRN,KHOGPHHWLQJV
             $    2ND\3XEOLVKHUERRN,KHOGPHHWLQJV

 ϳ      ZLWKERWK,/)DQGZLWK6(&20WRQRWLI\ERWKWHDPV

 ϴ      HPSOR\HHVDWERWKFRPSDQLHVZKDWVKHKDGGRQHWR

 ϵ      NLQGRIZDUQWKHPWKDWVKHPD\VWLOOEHDQLQVLGHU

ϭϬ      WKUHDW,PHDQWKDW VDERXWLW,WKLQN

ϭϭ      4:KDWDERXWDQ\WHOHYLVLRQSURGXFHUV"
             4    :KDWDERXWDQ\WHOHYLVLRQSURGXFHUV"

ϭϮ      $<HDKVR53DXO:LOVRQZDVRQHRIWKH
             $    <HDKVR53DXO:LOVRQZDVRQHRIWKH

ϭϯ      FRQWUDFWVWKDWVKHVLJQHGIRUD79VKRZDQGKHLVD

ϭϰ      JRRGIULHQGRIPLQH6KHPHWKLPWKURXJKPH,GLG

ϭϱ      FDOOKLPDQGVSRNHWRKLPDOVRDERXWDOOWKLV

ϭϲ      SXOOLQJP\VXSSRUWZKLFKKHZDVVKRFNHGDERXW

ϭϳ      EHFDXVHKHGLGQ WNQRZWKDWVKHVLJQHGWKRVH

ϭϴ      FRQWUDFWVZLWKRXWP\SHUPLVVLRQ

ϭϵ      4$QGGLG53DXO:LOVRQSXOOWKDWFRQWUDFW
             4    $QGGLG53DXO:LOVRQSXOOWKDWFRQWUDFW

ϮϬ      RUWKDWRSSRUWXQLW\"

Ϯϭ      $+HGLGQRW,WZDVQ
             $    +HGLGQRW,WZDVQ WKHZDVRQO\RQH

ϮϮ      RXWRI,WKLQNWZRRUWKUHHSURGXFHUVRQWKHVKRZ

Ϯϯ      6RKHH[SUHVVHGKLVGLVFRQFHUQZLWKWKHFRQWUDFW

Ϯϰ      +HVDLGKHGLGQRWZDQWWRVXSSRUWLWEXWWKHRWKHU

Ϯϱ      SURGXFHUVGLGQRWFDQFHOWKDWFRQWUDFWDWWKDWWLPH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϰϰ
 ϭ      ,EHOLHYHLWKDVJRQHQRZKHUHVLQFHWKHQ%XWKH

 Ϯ      GLGQRWFDQFHOLW

 ϯ      05'($1*RWLW6R,DPJRLQJWRPDUN
                  05'($1*RWLW6R,DPJRLQJWRPDUN

 ϰ      DV([KLELWDGRFXPHQW%DWHVODEHOHG
             DV([KLELWDGRFXPHQW%DWHVODEHOHG

 ϱ      6(B7KLVDSSHDUVWREHDFRQYHUVDWLRQ
             6(B7KLVDSSHDUVWREHDFRQYHUVDWLRQ

 ϲ      EHWZHHQ53DXO:LOVRQDQG&KULV+DGQDJ\
             EHWZHHQ53DXO:LOVRQDQG&KULV+DGQDJ\

 ϳ       ([KLELW1RZDVPDUNHGIRU

 ϴ      LGHQWLILFDWLRQ
             LGHQWLILFDWLRQ

 ϵ      40U+DGQDJ\GRHVWKLVORRNWR\RXWREH
             4    0U+DGQDJ\GRHVWKLVORRNWR\RXWREH

ϭϬ      \RXUFRQYHUVDWLRQZLWK53DXO:LOVRQ"

ϭϭ      $,WGRHV
             $    ,WGRHV

ϭϮ      4,VWKLVWKHFRQYHUVDWLRQWKDW\RXZHUH
             4    ,VWKLVWKHFRQYHUVDWLRQWKDW\RXZHUH

ϭϯ      MXVWUHIHUULQJWR"

ϭϰ      $<HV
             $    <HV

ϭϱ      4$QG\RXUHDFKHGRXWRQ$XJXVWWKWR
             4    $QG\RXUHDFKHGRXWRQ$XJXVWWKWR

ϭϲ      0U:LOVRQVD\LQJWKDW\RXQHHGHGWRWDONWRKLPLV

ϭϳ      WKDWIDLU"

ϭϴ      $&RUUHFW
             $    &RUUHFW

ϭϵ      4<RXVDLGLWZDVNLQGRIDWRXFK\VXEMHFW"
             4    <RXVDLGLWZDVNLQGRIDWRXFK\VXEMHFW"

ϮϬ      $<HV
             $    <HV

Ϯϭ      4$QG\RXWROGKLPWKDW\RXUHYLHZHGWKH
             4    $QG\RXWROGKLPWKDW\RXUHYLHZHGWKH

ϮϮ      FRQWUDFWVKHVLJQHGZLWK0U:LOVRQ"

Ϯϯ      $<HV
             $    <HV

Ϯϰ      4<RXDQGWROGKLPWKDWLWZDVQRWOHJDOIRU
             4    <RXDQGWROGKLPWKDWLWZDVQRWOHJDOIRU

Ϯϱ      KHUWRVLJQ"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $&RUUHFW
             $    &RUUHFW

 Ϯ      4$FFRUGLQJWRKHUHPSOR\PHQWDJUHHPHQW
             4    $FFRUGLQJWRKHUHPSOR\PHQWDJUHHPHQW

 ϯ      ULJKW"

 ϰ      $&RUUHFW
             $    &RUUHFW

 ϱ      4$QG,WKLQN\RXVDLGWKDW53DXO:LOVRQ
             4    $QG,WKLQN\RXVDLGWKDW53DXO:LOVRQ

 ϲ      DJUHHGZLWK\RXEXWKLVFRPSDQ\GLGQRW"

 ϳ      $+HZDVRQH,WKLQNRIWZRRUWKUHH
             $    +HZDVRQH,WKLQNRIWZRRUWKUHH

 ϴ      SURGXFHUVRQWKHVKRZ6RKHEURXJKWRQFHKH

 ϵ      KHDUGWKHZKROHVWRU\KHEURXJKWKLVGHVLUHWRGURS

ϭϬ      KHUIURPWKHVKRZ%XWIURPZKDWKHVDLGWKHRWKHU

ϭϭ      SURGXFHUVGLGQ WDJUHH

ϭϮ      4*RWLW7KH\GLGQ
             4    *RWLW7KH\GLGQ WDJUHHZLWKGURSSLQJ

ϭϯ      KHURUGLGQ WDJUHHWKDWVKHGLGDQ\WKLQJWREUHDFK

ϭϰ      KHUDJUHHPHQW"

ϭϱ      $'LGQ
             $    'LGQ WDJUHHZLWKGURSSLQJKHU

ϭϲ      4,I\RXJRWKHVHDUHQ
             4    ,I\RXJRWKHVHDUHQ WQXPEHUHGWKHZD\

ϭϳ      WKH\ZHUHSURGXFHGVRJRWRSDJHWZRWKUHH

ϭϴ      IRXUJRWRSDJHILYH,WLVWKHRQHWKDWVWDUWV

ϭϵ      DSRORJLHVIRUWKH6SDQLVKLQWKHWRSOHIW

ϮϬ      $2K\HV
             $    2K\HV

Ϯϭ      4*RDERXWKDOIZD\GRZQ\RXZULWHZHVKRXOG
             4    *RDERXWKDOIZD\GRZQ\RXZULWHZHVKRXOG

ϮϮ      WDONDJDLQVRPHWLPHLQWKHQH[WWZRGD\V,WZDV

Ϯϯ      ZD\ZRUVHWKDQ,DFWXDOO\WKRXJKW/HWPHMXVWVD\

Ϯϰ      EHWZHHQXV,ZRXOGUXQWKHRWKHUZD\ZLWKKDVWH

Ϯϱ      6KHLVGDQJHURXVLVWKDWULJKW"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $<HV
             $    <HV

 Ϯ      4'R\RXWKLQNLWZDVDSSURSULDWHRU
             4    'R\RXWKLQNLWZDVDSSURSULDWHRU

 ϯ      LQDSSURSULDWHWRWHOOWKDWWR0U:LOVRQ"

 ϰ      05&215$'2EMHFWIRUP,QHHGWRJHW
                  05&215$'2EMHFWIRUP,QHHGWRJHW

 ϱ      REMHFWLRQLQ
             REMHFWLRQLQ

 ϲ      $,IHHOLWZDVSHUFHQWDSSURSULDWH5
             $    ,IHHOLWZDVSHUFHQWDSSURSULDWH5

 ϳ      3DXO:LOVRQLVDYHU\FORVHDQGORQJWLPHIULHQGRI

 ϴ      PLQH,LQWURGXFHGKHUWRKLPDQGSXWKHULQD

 ϵ      SRVLWLRQWRQRZEHSDUWRIKLVOLIH:LWKZKDWVKH

ϭϬ      KDGGRQHWRPH,IHOWLWYHU\DSSURSULDWHWRZDUQ

ϭϭ      P\IULHQGWKDWKHZDVSRWHQWLDOO\LQKDUP VZD\LI

ϭϮ      KHWLFNVKHURII

ϭϯ      4
             4     %\0U'HDQ 2WKHUWKDQWKHERRN

ϭϰ      SXEOLVKHUWKHSRGFDVWDQGWKHWHOHYLVLRQSURGXFHU

ϭϱ      WKDWZHMXVWWDONHGDERXWGLG\RXUHDFKRXWWR

ϭϲ      DQ\RQHHOVHUHJDUGLQJ0V5H\QROGV"

ϭϳ      $<HV
             $    <HV

ϭϴ      4:KRHOVH"
             4    :KRHOVH"

ϭϵ      $-DNHZKDWLVKLVQDPH",FDQ
             $    -DNHZKDWLVKLVQDPH",FDQ WUHPHPEHU

ϮϬ      KLVODVWQDPH,WZDVWKHJX\ZKRDFWXDOO\ZDVD

Ϯϭ      UHIHUHQFHIRU0D[LHXSRQKLULQJKHUDQG,FDQQRW

ϮϮ      UHPHPEHUKLVODVWQDPH%XW,WKLQNLW V,WKLQN

Ϯϯ      LW V-DNH,FRXOGEHZURQJ,FDQVHHKLVIDFHRQ

Ϯϰ      WKH/LQNHG,QSURILOH%XWH[FXVHPHIRUQRW

Ϯϱ      UHPHPEHULQJWKHQDPH,DOUHDG\PHQWLRQHGHPSOR\HHV


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      RIERWKFRPSDQLHV

 Ϯ      4/HWPHSDXVH\RXULJKWWKHUH,VWKDW
             4    /HWPHSDXVH\RXULJKWWKHUH,VWKDW

 ϯ      KLP"

 ϰ      $<HV-DFRE,WZDV-DFRE
             $    <HV-DFRE,WZDV-DFRE

 ϱ      05'($1/HW
                  05'($1/HW VKDYHWKDWDVWKHQH[W

 ϲ      H[KLELW
             H[KLELW

 ϳ       ([KLELW1RZDVPDUNHGIRU

 ϴ      LGHQWLILFDWLRQ
             LGHQWLILFDWLRQ

 ϵ      4,DPPDUNLQJ([KLELW,VWKLVD
             4    ,DPPDUNLQJ([KLELW,VWKLVD

ϭϬ      /LQNHG,QPHVVDJH"

ϭϭ      $,WLVD/LQNHG,Q
             $    ,WLVD/LQNHG,Q

ϭϮ      4/LQNHG,QH[FKDQJHEHWZHHQ&KULV+DGQDJ\
             4    /LQNHG,QH[FKDQJHEHWZHHQ&KULV+DGQDJ\

ϭϯ      DQG-DFRE:LOOLDPV0U+DGQDJ\GRHVWKLVUHIUHVK

ϭϰ      \RXUUHFROOHFWLRQRIZKRWKHSHUVRQZDV\RXUHDFKHG

ϭϱ      RXWWRRQ/LQNHG,Q"

ϭϲ      $,WGRHV
             $    ,WGRHV

ϭϳ      4$QGZKDWGLG\RXUHDFKRXWWR0U:LOOLDPV
             4    $QGZKDWGLG\RXUHDFKRXWWR0U:LOOLDPV

ϭϴ      IRU"

ϭϵ      05&215$':KDWLVWKLVPDUNHGDV"
                  05&215$':KDWLVWKLVPDUNHGDV"

ϮϬ      7+(:,71(667ZHQW\WKUHH\HVVLU
                  7+(:,71(667ZHQW\WKUHH\HVVLU

Ϯϭ      05&215$'7KDQNV
                  05&215$'7KDQNV

ϮϮ      $<RXDUHWDONLQJDERXWDIWHUWKHERRNDQG
             $    <RXDUHWDONLQJDERXWDIWHUWKHERRNDQG

Ϯϯ      WKHUHVLJQPHQWDQGDOOWKDWFRUUHFW"

Ϯϰ      4
             4     %\0U'HDQ &RUUHFW

Ϯϱ      $,UHDFKHGRXWWRILQGRXWLIKHDFWXDOO\
             $    ,UHDFKHGRXWWRILQGRXWLIKHDFWXDOO\


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      NQHZZKDWVKHZDVUHDOO\OLNHEHFDXVHRIZKDWVKH

 Ϯ      GLGWRP\FRPSDQ\

 ϯ      4$QGIRUVRPHUHDVRQWKH%DWHVODEHOLV
             4    $QGIRUVRPHUHDVRQWKH%DWHVODEHOLV

 ϰ      QRWRQWKHRWKHUFRS\EXWLW VRQWKLVFRS\,WLV

 ϱ      %DWHVODEHO6(BWKURXJK

 ϲ      $LVWKHSDJHQXPEHU,DPUHIHUHQFLQJ
             $    LVWKHSDJHQXPEHU,DPUHIHUHQFLQJ

 ϳ      4*RWLW6RJRRYHUWR<RXWROG
             4    *RWLW6RJRRYHUWR<RXWROG

 ϴ      0U:LOOLDPVDQGEHWZHHQXVVKHLVDWUDLQZUHFN

 ϵ      VWROH,3WRRNZRUNZLWKKHUTXLWOLHGVWDUWHGD

ϭϬ      FRPSHWLWLYHFRPSDQ\GR\RXVHHWKDW"

ϭϭ      $<HDK
             $    <HDK

ϭϮ      4$QGWKDW
             4    $QGWKDW VZKDW\RXWROG0U:LOOLDPV"

ϭϯ      $&RUUHFW
             $    &RUUHFW

ϭϰ      4$QG\RXEHOLHYHWKDW0V5H\QROGVLVD
             4    $QG\RXEHOLHYHWKDW0V5H\QROGVLVD

ϭϱ      WUDLQZUHFN"

ϭϲ      $,GR
             $    ,GR

ϭϳ      4:KDW,3GLGVKHVWHDOIURP\RX"
             4    :KDW,3GLGVKHVWHDOIURP\RX"

ϭϴ      $$WWKHWLPHVKHKDGOLNH,VDLGDOORI
             $    $WWKHWLPHVKHKDGOLNH,VDLGDOORI

ϭϵ      WKHVKHKDGORWVRI*RYHUQPHQWHPDLODGGUHVVHV

ϮϬ      QDPHV+HUFRPSXWHUHQGHGXSJHWWLQJZLSHG%XW

Ϯϭ      VKHKDGDORWRIGDWDIURPRXUFOLHQWVRQKHU

ϮϮ      GHVNWRS6KHDOVRVWROHWKRVHSLFWXUHVWKDWZHUH

Ϯϯ      LOOHJDOWRWDNHIURP,/)7KDWZDVD)HGHUDOFULPH

Ϯϰ      4:KDWHOVHGLGVKHVWHDO"
             4    :KDWHOVHGLGVKHVWHDO"

Ϯϱ      $,WKLQNWKDW
             $    ,WKLQNWKDW VDERXWLW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4:KDWZRUNGLGVKHWDNHZLWKKHU"
             4    :KDWZRUNGLGVKHWDNHZLWKKHU"

 Ϯ      $7KLVLVZKHUH,ZDVPLVWDNHQ7KHLW
             $    7KLVLVZKHUH,ZDVPLVWDNHQ7KHLW

 ϯ      ZDVDYHQGRUQDPHG1HRQ&HQWXU\WKDWZDVLQKHU

 ϰ      HPDLOWKDWVKHKDGVHQWDQG,WKRXJKWVKHZDV

 ϱ      WU\LQJWRJHWWKHPWREHDFOLHQW%XWVKHZDV

 ϲ      DFWXDOO\VHQGLQJZRUNWRWKHPLQVWHDGRIWRXV6R

 ϳ      WKLVZDVDPLVWDNHQUHIHUHQFHWRPLQH

 ϴ      4*RW\RX6RVKHGLGQ
             4    *RW\RX6RVKHGLGQ WWDNHDQ\ZRUNIURP

 ϵ      6RFLDO(QJLQHHULQJ"

ϭϬ      $6KHGLGQRW
             $    6KHGLGQRW

ϭϭ      4<RXVDLGWKDWVKHILOHGVRPHWKLQJIRUD
             4    <RXVDLGWKDWVKHILOHGVRPHWKLQJIRUD

ϭϮ      EXVLQHVV%XWGLG0V5H\QROGVHYHUVWDUWD

ϭϯ      FRPSDQ\"

ϭϰ      $6KHGLGVWDUWDFRPSDQ\DQGHQGHGXSQRW
             $    6KHGLGVWDUWDFRPSDQ\DQGHQGHGXSQRW

ϭϱ      EHLQJFRPSHWLQJZLWK6RFLDO(QJLQHHU

ϭϲ      42ND\:KDWZDVWKHFRPSDQ\WKDWVKH
             4    2ND\:KDWZDVWKHFRPSDQ\WKDWVKH

ϭϳ      VWDUWHG"

ϭϴ      $)URPP\XQGHUVWDQGLQJ,GRQ
             $    )URPP\XQGHUVWDQGLQJ,GRQ WNQRZ

ϭϵ      ZKLFKYHUVLRQRILWLVLWLVVXE&DQGWKHQLW

ϮϬ      LVHLWKHUVHYHQRUHLJKWEHFDXVHVKHNHHSVVWDUWLQJ

Ϯϭ      WKHPDQGEDQNUXSWLQJWKHP6R,WKLQNWKLVLV

ϮϮ      HLWKHUVHYHQRUHLJKW,FDQ WUHPHPEHUZKLFKRQH

Ϯϯ      42ND\$QG\RXWKRXJKWWKDWKHUFRPSDQ\
             4    2ND\$QG\RXWKRXJKWWKDWKHUFRPSDQ\

Ϯϰ      WKDWVKHZDVVWDUWLQJZDVDFRPSHWLWLYHEXVLQHVV"

Ϯϱ      $,GLG
             $    ,GLG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϱϬ
 ϭ      4%XWLWZDVQRWDFRPSHWLWLYHEXVLQHVV"
             4    %XWLWZDVQRWDFRPSHWLWLYHEXVLQHVV"

 Ϯ      $,WZDVQRW
             $    ,WZDVQRW

 ϯ      4$QG\RXWROG,EHOLHYHWKHSXEOLVKHU
             4    $QG\RXWROG,EHOLHYHWKHSXEOLVKHU

 ϰ      WKDWVKHZDVVWDUWLQJDFRPSHWLWLYHEXVLQHVV"

 ϱ      $,GLG
             $    ,GLG

 ϲ      4$QGWKDWWXUQHGRXWQRWWREHWUXH"
             4    $QGWKDWWXUQHGRXWQRWWREHWUXH"

 ϳ      $,WZDVQRWWUXH
             $    ,WZDVQRWWUXH

 ϴ      4$QG\RXWROGWKHSXEOLVKHUWKDWVKHWRRN
             4    $QG\RXWROGWKHSXEOLVKHUWKDWVKHWRRN

 ϵ      ZRUNIURP6RFLDO(QJLQHHUFRUUHFW"

ϭϬ      $,GRQ
             $    ,GRQ WUHPHPEHUH[DFWO\ZKDW,WROGKLP

ϭϭ      ,GRQ WUHPHPEHUWKHH[DFWZRUGVWKDW,XVHG'LG

ϭϮ      ZHORRNDWWKDW"'LGZHVHHWKDW",FDQ W

ϭϯ      UHPHPEHU

ϭϰ      4,KDYHQ
             4    ,KDYHQ WVKRZQ\RXDQ\H[KLELWV:HDUH

ϭϱ      MXVWWDONLQJULJKWQRZ

ϭϲ      $2ND\,GRQ
             $    2ND\,GRQ WUHPHPEHUDJDLQWKLVZDV

ϭϳ      DQG,ZDVKHDWHGDQGDQJU\,GRQ WUHPHPEHU

ϭϴ      P\H[DFWZRUGV,XVHG

ϭϵ      4<RXWHVWLILHGHDUOLHUWKDW\RXWROGWKH
             4    <RXWHVWLILHGHDUOLHUWKDW\RXWROGWKH

ϮϬ      SRGFDVWIRONVWKDWVKHVWROHZRUNIURP\RXDQG

Ϯϭ      VWDUWHGDFRPSHWLQJEXVLQHVVFRUUHFW"

ϮϮ      $,GLGVD\\HVDWWKHWLPHDJDLQ
             $    ,GLGVD\\HVDWWKHWLPHDJDLQ

Ϯϯ      WKLVZDVEUDQGQHZEHIRUHZHILJXUHGRXWZKDWVXE&

Ϯϰ      ZDV,KDGDVVXPHGWKHEXVLQHVVVKHVWDUWHGZDV

Ϯϱ      FRPSHWLWLYH$QGWKHUHDVRQLVKHUILUVW/LQNHG,Q


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϱϭ
 ϭ      PHVVDJHWRPHZDVDVNLQJPHWRKHOSKHUVWDUWD

 Ϯ      VRFLDOHQJLQHHULQJFRPSDQ\6RZKHQVKHZHQWDQG

 ϯ      VWDUWHGWKHFRPSDQ\ZKLOHZRUNLQJIRUPH,KDGPDGH

 ϰ      WKHDVVXPSWLRQWKDWLWZDVDFRPSDQ\WRFRPSHWHZLWK

 ϱ      6RFLDO(QJLQHHU

 ϲ      4$QG\RXUDVVXPSWLRQWXUQHGRXWWREH
             4    $QG\RXUDVVXPSWLRQWXUQHGRXWWREH

 ϳ      ZURQJ"

 ϴ      $,WGLG
             $    ,WGLG

 ϵ      4$QG\RXWROGWKDWWRKHUSXEOLVKHULW
             4    $QG\RXWROGWKDWWRKHUSXEOLVKHULW

ϭϬ      HQGHGXSEHLQJZURQJ"

ϭϭ      $7KDWRQHWKLQJRXWRIWKHOLVWZDVZURQJ
             $    7KDWRQHWKLQJRXWRIWKHOLVWZDVZURQJ

ϭϮ      \HV(YHU\WKLQJHOVHZDVWUXH

ϭϯ      4$QG\RXWROGWKHSRGFDVWHUVWKDWVKHZDV
             4    $QG\RXWROGWKHSRGFDVWHUVWKDWVKHZDV

ϭϰ      VWDUWLQJDFRPSDQ\DQGWRRNZRUNDQGWKDWWXUQHG

ϭϱ      RXWWREHZURQJ"

ϭϲ      $,GRQ
             $    ,GRQ WUHPHPEHUH[DFWO\ZKDW,WROG-DFN

ϭϳ      5K\VLGHU,GRQ WUHPHPEHUWKHH[DFWZRUGV,

ϭϴ      DFWXDOO\UHDOO\GRQ WUHPHPEHUWKHH[DFWOLVWRI

ϭϵ      WKLQJVWKDW,WROG,NQRZWKHIRUHPRVWWKLQJRQP\

ϮϬ      OLVWZDVWKHVWROHQSLFWXUHIURP,/)7KDWZDVWKH

Ϯϭ      IRUHPRVWWKLQJEHFDXVHWKDWZDVWKHPRVWKRUULILF

ϮϮ      7KHVHFRQGWKLQJZDVFRQWUDFWVWKDWVKHVLJQHG$QG

Ϯϯ      WKHQWKHWKLUGZDVKHUVWDUWLQJDFRPSDQ\ZKLOH

Ϯϰ      ZRUNLQJIRUPHDOOEUHDFKLQJKHUHPSOR\PHQW

Ϯϱ      FRQWUDFW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϱϮ
 ϭ      4:KDWGLG0V5H\QROGVVD\ZKHQ\RX
             4    :KDWGLG0V5H\QROGVVD\ZKHQ\RX

 Ϯ      DGGUHVVHGWKHSLFWXUHLQWKHERRN"

 ϯ      $1RWKLQJ,PHDQVKHZRXOGQ
             $    1RWKLQJ,PHDQVKHZRXOGQ WDQVZHUPH

 ϰ      6KHGLGQ WDQVZHUDQ\WKLQJ,WULHGWRUHDFKRXWWR

 ϱ      KHUIRU

 ϲ      4'LGVKHILJKWWKHSXEOLVKHUDQGVD\
             4    'LGVKHILJKWWKHSXEOLVKHUDQGVD\

 ϳ      DEVROXWHO\QRW:HDUHNHHSLQJDOOWKHERRNVLQ

 ϴ      SXEOLFDWLRQDVLV"

 ϵ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϬ      $,GRQ
             $    ,GRQ WNQRZ<RXZRXOGKDYHWRDVN-LP

ϭϭ      $OO,NQRZLV,ZHQWWR-LPZLWKWKHFRPSODLQW+H

ϭϮ      FDPHEDFNWRPHDERXWDZHHNODWHUDQGVDLGVKHLV

ϭϯ      JRLQJWRUHZULWHWKDWFKDSWHU,DPVXUHDERXWWKH

ϭϰ      FRQYHUVDWLRQV

ϭϱ      4
             4     %\0U'HDQ *RWLW6RVKHDJUHHGWR

ϭϲ      UHZULWHWKHFKDSWHU"

ϭϳ      $,DVVXPHVR
             $    ,DVVXPHVR

ϭϴ      46R\RXUILUVWERRN\RXSXEOLVKHGDSLFWXUH

ϭϵ      RI6LPRQ&RZHOO"

ϮϬ      $,GLG

Ϯϭ      4$QG\RXJRWLQWURXEOH"

ϮϮ      $,GLG

Ϯϯ      4$QG\RXDJUHHGWRUHZULWHWKHFKDSWHU"

Ϯϰ      $,GLG

Ϯϱ      40V5H\QROGVZURWHDERRN6KHSXEOLVKHG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ,ZRXOGEHVXFFHVVIXORUQRW,DPMXVWWHOOLQJ\RX

 Ϯ      WKHUHDVRQV,GLGQRWJRIRUZDUGEHFDXVHHYHU\WKLQJ

 ϯ      JRWVPRRWKHGRXW6RWKHUHZDVQRUHDVRQIRUPH,

 ϰ      ILJXUHGVKHZRXOGJRKHUZD\DQGUXQKHUVXEPDULQH

 ϱ      FRPSDQ\$QG,ZLOOJRUXQP\VRFLDOHQJLQHHULQJ

 ϲ      FRPSDQ\DQGZHSUREDEO\ZLOOQHYHUVHHHDFKRWKHU

 ϳ      DJDLQ

 ϴ      4 %\0U'HDQ 7KDWGLGQ WKDSSHQWKDWZD\

 ϵ      GLGLW"

ϭϬ      $,WGLGQRW

ϭϭ      05&215$'2EMHFWIRUP

ϭϮ      7+(:,71(66<RXFDQVODSPHDWVRPH

ϭϯ      SRLQWLI\RXZDQW

ϭϰ      4
             4     %\0U'HDQ 'LG\RXUHDFKRXWWRWKH

ϭϱ      2IIHQVLYH6HFXULW\2UGHU5HJLVWUDWLRQ&RPPLWWHHRU

ϭϲ      %RDUGDWDQ\WLPHDERXW0V5H\QROGV"

ϭϳ      $,GLG
             $    ,GLG

ϭϴ      4:K\"
             4    :K\"

ϭϵ      $7KH26&3WKH2IIHQVLYH6HFXULW\&HUWLILHG
             $    7KH26&3WKH2IIHQVLYH6HFXULW\&HUWLILHG

ϮϬ      3URIHVVLRQDOLVRQHRIWKHPRVWFRYHWHG

Ϯϭ      FHUWLILFDWLRQVLQRXULQGXVWU\,WLVDOVRRQHRI

ϮϮ      WKHPRVWGLIILFXOWFHUWLILFDWLRQVZLWKD

Ϯϯ      VRPHWKLQJSHUFHQWIDLOUDWLRRQWKHILUVW

Ϯϰ      DWWHPSW6RZKHQVRPHERG\KDVLWLW VOLNHDEDGJH

Ϯϱ      RIKRQRUDQGDQ\RIXVZKRKDYHLWOLNHZHOLNHWR


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϲϮ
 ϭ      EUDJDERXWLW,WJRHVLQRXUELRV2QFH,IRXQG

 Ϯ      RXWWKDWDORWRIKHUUHVXPHZDVIDOVLILHG,ZDQWHG

 ϯ      WRYHULI\LIVKHDFWXDOO\KDGWKH26&36R,

 ϰ      UHDFKHGRXWWRWKHPWRVHHLIWKH\FRXOGJLYHPHKHU

 ϱ      VWXGHQWQXPEHU

 ϲ      05'($10DUNHGDV([KLELWLVD
                  05'($10DUNHGDV([KLELWLVD

 ϳ      GRFXPHQW%DWHVODEHOHG6(BDQGWKLV
             GRFXPHQW%DWHVODEHOHG6(BDQGWKLV

 ϴ      DSSHDUVWREHDHPDLOH[FKDQJHEHWZHHQ\RX
             DSSHDUVWREHDHPDLOH[FKDQJHEHWZHHQ\RX

 ϵ      0U+DGQDJ\DQG2IIHQVLYH6HFXULW\2UGHU
             0U+DGQDJ\DQG2IIHQVLYH6HFXULW\2UGHU

ϭϬ      5HJLVWUDWLRQ%RDUG
             5HJLVWUDWLRQ%RDUG

ϭϭ       ([KLELW1RZDVPDUNHGIRU

ϭϮ      LGHQWLILFDWLRQ
             LGHQWLILFDWLRQ

ϭϯ      4'RHVWKDWDSSHDUWREHFRUUHFW"
             4    'RHVWKDWDSSHDUWREHFRUUHFW"

ϭϰ      $<HV
             $    <HV

ϭϱ      05&215$'&DQ\RXJLYHPHWKH%DWHV
                  05&215$'&DQ\RXJLYHPHWKH%DWHV

ϭϲ      UHDOTXLFN"
             UHDOTXLFN"

ϭϳ      05'($1<HDKQRSUREOHP,W
                  05'($1<HDKQRSUREOHP,W V

ϭϴ      6(B
             6(B

ϭϵ      4,ZDQWWRJREDFNWRSDJHIRXU,I\RX
             4    ,ZDQWWRJREDFNWRSDJHIRXU,I\RX

ϮϬ      ORRNDWWKHILUVWWKHERWWRPZKLFKWKLVDSSHDUV

Ϯϭ      WREHLWVD\V&KULV+DGQDJ\7KLVDSSHDUVNLQGRI

ϮϮ      \RXILOOLQJRXWDPHVVDJHWRYHULI\LQIRUPDWLRQ

Ϯϯ      WKDW VGDWHG)HEUXDU\GR\RXVHHWKDW"

Ϯϰ      $<HV
             $    <HV

Ϯϱ      4'RHVWKDWGDWHULQJDQ\EHOOVWR\RX"
             4    'RHVWKDWGDWHULQJDQ\EHOOVWR\RX"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $7KDWLVWKHGDWHRIP\EDQQHGDQQRXQFHPHQW
             $    7KDWLVWKHGDWHRIP\EDQQHGDQQRXQFHPHQW

 Ϯ      IURP'()&21

 ϯ      4$IWHU\RXJRWEDQQHGIURP'()&21\RX
             4    $IWHU\RXJRWEDQQHGIURP'()&21\RX

 ϰ      UHDFKHGRXWWR26&3IRUYHULI\LQJZKHWKHUDVWXGHQW

 ϱ      DFWXDOO\KDVWKH26&3IRUHPSOR\PHQWYHULILFDWLRQ

 ϲ      GR\RXVHHWKDW"

 ϳ      $&RUUHFW
             $    &RUUHFW

 ϴ      40V5H\QROGVZDVQRWDVWXGHQWRI\RXUVRQ
             4    0V5H\QROGVZDVQRWDVWXGHQWRI\RXUVRQ

 ϵ      )HEUXDU\ULJKW"

ϭϬ      $6KHZDVQRW
             $    6KHZDVQRW

ϭϭ      4$QG\RXZHUHQ
             4    $QG\RXZHUHQ WUHDFKLQJRXWWRYHULI\

ϭϮ      OHWPHUHSKUDVHWKDW

ϭϯ      :DV0VGLG0V5H\QROGVDSSO\IRUD
                  :DV0VGLG0V5H\QROGVDSSO\IRUD

ϭϰ      QHZMREZLWK6(&20RU,/)RUIRU\RXLQGLYLGXDOO\

ϭϱ      RQ)HEUXDU\WK"

ϭϲ      $6KHGLGQRW
             $    6KHGLGQRW

ϭϳ      46R\RXZHUHUHDFKLQJRXWWRYHULI\LID
             4    6R\RXZHUHUHDFKLQJRXWWRYHULI\LID

ϭϴ      VWXGHQWDFWXDOO\KDG26&3IRUHPSOR\PHQW%XW0V

ϭϵ      5H\QROGVZDVQRWDVWXGHQWIRU\RXDQGZDVQRW

ϮϬ      VHHNLQJHPSOR\PHQWIURP\RX"

Ϯϭ      $,PHDQWKDW
             $    ,PHDQWKDW VZKDWLWORRNVOLNH,

ϮϮ      GRQ WUHPHPEHUGRLQJWKLV,PHDQ,UHPHPEHU

Ϯϯ      GRLQJWKLV,GRQ WUHPHPEHUHYHU\ZRUG

Ϯϰ      4<RXZDQWHGDPPXQLWLRQWRJRDIWHU0D[LH
             4    <RXZDQWHGDPPXQLWLRQWRJRDIWHU0D[LH

Ϯϱ      ULJKW"


                          %8(//5($/7,0(5(3257,1*//&
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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϲϰ
 ϭ      $<HV,ZDVSUHSDULQJIRUSRWHQWLDO
             $    <HV,ZDVSUHSDULQJIRUSRWHQWLDO

 Ϯ      OLWLJDWLRQ

 ϯ      4<RXZDQWHGWRJRDIWHU0D[LHWRSURYHWKDW
             4    <RXZDQWHGWRJRDIWHU0D[LHWRSURYHWKDW

 ϰ      VKHGLGQ WKDYHWKLVYHULILFDWLRQ"

 ϱ      $<HV
             $    <HV

 ϲ      4<RXZHUHQ
             4    <RXZHUHQ WUHDFKLQJRXWIRUDVWXGHQWRU

 ϳ      IRUHPSOR\PHQWYHULILFDWLRQ"

 ϴ      $,ZDVQRW
             $    ,ZDVQRW

 ϵ      4,VWKLVNLQGRIWKHKXPDQKDFNLQJWKLQJ
             4    ,VWKLVNLQGRIWKHKXPDQKDFNLQJWKLQJ

ϭϬ      ULJKWKHUH"

ϭϭ      $1R,ZRXOGQ
             $    1R,ZRXOGQ WFDOOWKDWKXPDQKDFNLQJ

ϭϮ      4<RXZHUHQ
             4    <RXZHUHQ WWU\LQJWRFKHFNVHFXULWLHVDW

ϭϯ      WKHOHWPHPDNHVXUHWKLVLVWKHULJKWDFURQ\P

ϭϰ      2625"

ϭϱ      $$W2IIHQVLYH6HFXULW\LVWKHQDPHRIWKH
             $    $W2IIHQVLYH6HFXULW\LVWKHQDPHRIWKH

ϭϲ      FRPSDQ\,ZDVQRWFKHFNLQJWKHLUVHFXULW\QR

ϭϳ      4*RWLW<RXZHUHMXVWWU\LQJWRJHWGLUW
             4    *RWLW<RXZHUHMXVWWU\LQJWRJHWGLUW

ϭϴ      RQ0D[LH"

ϭϵ      $,ZDVWU\LQJWRXQGHUVWDQGKRZPDQ\PRUH
             $    ,ZDVWU\LQJWRXQGHUVWDQGKRZPDQ\PRUH

ϮϬ      OLHVVKHWROGPH

Ϯϭ      46R\RXFRXOGXVHLWDJDLQVWKHU"
             4    6R\RXFRXOGXVHLWDJDLQVWKHU"

ϮϮ      $<HV
             $    <HV

Ϯϯ      46R\RXFRXOGXVHLWLQOLWLJDWLRQ"
             4    6R\RXFRXOGXVHLWLQOLWLJDWLRQ"

Ϯϰ      $<HV
             $    <HV

Ϯϱ      4(VVHQWLDOO\\RXDUHORRNLQJIRUGLUW"
             4    (VVHQWLDOO\\RXDUHORRNLQJIRUGLUW"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϭϲϱ
 ϭ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 Ϯ      $2ND\,ZLOOJRZLWKLW6XUH
             $    2ND\,ZLOOJRZLWKLW6XUH

 ϯ      4 %\0U'HDQ 7U\LQJWRFUHDWHDGRVVLHU"

 ϰ      05&215$'2EMHFWIRUP

 ϱ      $,ZDVORRNLQJIRULQIRUPDWLRQWKDWFRXOG

 ϲ      SRWHQWLDOO\KHOSXVGXULQJOLWLJDWLRQLIZHZHUH

 ϳ      JRLQJWRWDNHDFWLRQDJDLQVWKHUZKHQ,IRXQGRXW

 ϴ      VKHZDVWKHULQJOHDGHULQWKHHYHQWVZLWK'()&21

 ϵ      4 %\0U'HDQ 'LG\RXHYHUGHFLGHWRWDNH

ϭϬ      DFWLRQDJDLQVW0V5H\QROGV"

ϭϭ      $:HKDYHQRWGHFLGHG\HW

ϭϮ      4$UH\RXVWLOOFRQVLGHULQJLW"

ϭϯ      $5LJKWQRZ

ϭϰ      05&215$'2EMHFWIRUP

ϭϱ      $5LJKWQRZ,MXVWZDQWWRJHWWKURXJKWKLV

ϭϲ      ODZVXLWDQGEHGRQHZLWKLW,WKLQNWKLVKDVOHIW

ϭϳ      DYHU\EDGWDVWHLQP\PRXWKIRUDQ\WKLQJWRGRZLWK

ϭϴ      ODZ\HUVDQGWKHODZV\VWHP6R,GRQ WNQRZKRZWR

ϭϵ      DQVZHUWKDWTXHVWLRQ,UHDOO\GRQ WHYHUZDQWWR

ϮϬ      VLWWKURXJKWKLVNLQGRIVWXIIDJDLQLI,KDYHD

Ϯϭ      FKRLFH

ϮϮ      4 %\0U'HDQ <RXUHJUHW\RXUGHFLVLRQWR

Ϯϯ      ILOHWKHODZVXLW"

Ϯϰ      05&215$'2EMHFWIRUP

Ϯϱ      $,GRQRW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      DGDQJHUWRFKLOGUHQ

 Ϯ      4*RWLW6RZKRHYHUGHFLGHGWRKROGDQ
             4    *RWLW6RZKRHYHUGHFLGHGWRKROGDQ

 ϯ      HYHQWDWWKDWORFDWLRQZDVDSHGRSKLOH"

 ϰ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 ϱ      $,PHDQLW
             $    ,PHDQLW VDLW VDVWXSLGVWDWHPHQW

 ϲ      PDGHLQHPRWLRQDOPRPHQW6R,GRQ WNQRZLI,

 ϳ      ZRXOG\RXNQRZSXWP\ULJKWKDQGRQD%LEOHDQG

 ϴ      VD\GHILQLWHO\SHUFHQWVRPHRQHZKRGRHVWKLVLV

 ϵ      DSHGRSKLOH,WZDVDQHPRWLRQDOVWDWHPHQW,KDG

ϭϬ      HYHU\WKLQJZHKDGVSHQWKRXUVVHWWLQJXSWKH

ϭϭ      URRP0\WHDPZDVH[KDXVWHGDQGWLUHGDQGQRZWKH\

ϭϮ      FRPHLQDQGVD\,KDYHWRSLFNXSHYHU\WKLQJSXW

ϭϯ      DOORIP\VWXIIDZD\DQGWKHUHZLOOEHDFRXSOH

ϭϰ      KXQGUHGKDFNHUVLQWKHURRPZDWFKLQJJLUOVIURPWKH

ϭϱ      VWULSWDNHWKHLUFORWKHVRII$QG,KDYHWRFRPH

ϭϲ      EDFNHDUO\WKHQH[WPRUQLQJDQGUHVHWXSWKHZKROH

ϭϳ      URRPIRUNLGVWRFUDZODURXQGRQWKHIORRU6R,

ϭϴ      ZDVXSVHWDQG,VDLGVRPHWKLQJ

ϭϵ      4
             4     %\0U'HDQ 'LG\RX\HOODW0U:\OHU"

ϮϬ      $,GRQ
             $    ,GRQ WUHFDOO%XW,GRUHFDOOPD\EH

Ϯϭ      UDLVLQJP\YRLFH

ϮϮ      46R\RXUDLVHG\RXUYRLFH$QG\RX
             4    6R\RXUDLVHG\RXUYRLFH$QG\RX

Ϯϯ      UHIHUUHGWRZKRHYHUZDQWVWRGRWKLVDVDSHGRSKLOH"

Ϯϰ      $,GLG,PDGHDQHPRWLRQDOFRPPHQW
             $    ,GLG,PDGHDQHPRWLRQDOFRPPHQW

Ϯϱ      4'R\RXIHHOOLNHWKDWZDVDSSURSULDWHRU
             4    'R\RXIHHOOLNHWKDWZDVDSSURSULDWHRU


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      LQDSSURSULDWH"

 Ϯ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

 ϯ      $$WWKHWLPHPRPHQW,ZDVXSVHW6R,
             $    $WWKHWLPHPRPHQW,ZDVXSVHW6R,

 ϰ      WKLQNZHDOOVD\VRPHGXPEWKLQJVZKHQZHDUH

 ϱ      HPRWLRQDO,PHDQULJKWQRZLQDFDOPHUVWDWHRI

 ϲ      PLQGLWZDVQ WWKHEHVWXVDJHRIZRUGV%XW
                      WWKHEHVWXVDJHRIZRUGV

 ϳ      *ULIWHUFDPHXSWRPHPD\EHDQKRXUODWHUSXOOHGPH

 ϴ      DVLGHWROGPHKHGLGQ WDSSUHFLDWHPH\HOOLQJDW

 ϵ      KLPDQGZHKXJJHGLWRXWDQG,DSRORJL]HG$QG

ϭϬ      WKDWZDVLQJHHV PD\EH$QGLWQHYHU

ϭϭ      FDPHXSDJDLQHYHUXQWLODOORIWKLVVWXII6RKH

ϭϮ      REYLRXVO\KDGIRUJLYHQDQGIRUJRWDERXWLW

ϭϯ      4 %\0U'HDQ 'R\RXWKLQNLWZDV

ϭϰ      SURIHVVLRQDORUXQSURIHVVLRQDOWRDFWOLNHWKDWLQ

ϭϱ      UHVSRQVHWR1HLOWHOOLQJ\RXWKHUHZDVDQHYHQWWKDW

ϭϲ      QLJKW"

ϭϳ      05&215$'2EMHFWIRUP

ϭϴ      $,I\RXKDYHHYHUEHHQWR'()&21'()&21LV

ϭϵ      QRWDSURIHVVLRQDOHQYLURQPHQW6R,GRQ WHYHQ

ϮϬ      NQRZLIWKDWTXHVWLRQILWV%HFDXVHWKHUHZDVQRW

Ϯϭ      '()&21LVQRWDSURIHVVLRQDOFRQIHUHQFH9HU\

ϮϮ      OLWWOHSURIHVVLRQDOWKLQJVKDSSHQDW'()&21,W V

Ϯϯ      6RGRPDQG*RPRUUDK

Ϯϰ      4 %\0U'HDQ 6R\RXGRQ WKROG\RXUVHOI

Ϯϱ      RXWWREHSURIHVVLRQDOQRPDWWHUZKDWHQYLURQPHQW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      SHGRSKLOHDIWHUWKDW"

 Ϯ      $,GRQ W,GRQ WUHFDOO,WKLQNKH

 ϯ      PLJKWKDYHEURXJKWLWXSDVDMRNHRQFHRUWZLFHDW

 ϰ      WKDWHYHQWEXW,GRQ WUHFDOOMRNLQJZLWKKLPDERXW

 ϱ      WKDWQR,GRQ WUHFDOOWKDW

 ϲ      46R\RXWKLQNWKDW*ULIWHUPLJKWKDYH

 ϳ      EURXJKWLWDQGQRW\RX"

 ϴ      $1R,DPVD\LQJKHFRXOGKDYH,GRQ W

 ϵ      NQRZ,GRQ WUHFDOOWLPHVLQDFRQYHUVDWLRQZKHUH

ϭϬ      ZHWDONHGDERXWLWDJDLQRXWVLGHRIKLVGHSRVLWLRQ

ϭϭ      4,ZDQWWRJRWRSDJH,I\RXFDQ

ϭϮ      UHFDOOZHZHUHWU\LQJWRGLVFXVVZKDWKDSSHQHGRQ

ϭϯ      WKDWILUVWFDOO6R,ZDQWWRWDONWKURXJKWKLV

ϭϰ      WH[WPHVVDJHRQ)HEUXDU\WKVR,DPKRSLQJWKDW

ϭϱ      ZRXOGUHIUHVK\RXUUHFROOHFWLRQDOLWWOHELWRND\"

ϭϲ      05&215$'2EMHFWLRQIRUP

ϭϳ      $2ND\

ϭϴ      4
             4     %\0U'HDQ ,I\RXJRRQWKHILUVW

ϭϵ      PHVVDJH*ULIWHUVD\VWR\RXRQ)HEUXDU\

ϮϬ      EXWWKHUHZHUHDORWRISHRSOHWKDWFDPHIRUZDUG

Ϯϭ      ZLWKDFFXVDWLRQV<RXDQG,GLVFXVVHGLW<RXVDLG

ϮϮ      ZDVLWWKLVSHUVRQRUWKLVSHUVRQRUWKLVSHUVRQ

Ϯϯ      RUWKLVSHUVRQDQG,VDLG&KULV,GRQ WNQRZDQ\

Ϯϰ      VSHFLILFQDPHVDQG,GRQ WZDQWWRNQRZ%XWLILW

Ϯϱ      ZDVRQHRUWZRSHRSOHWKDWZRXOGEHRQHWKLQJ


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      7KLVLVRYHUDGR]HQ<RXMXVWYROXQWHHUHGPXOWLSOH

 Ϯ      QDPHV\RXUVHOI6R\RXNQRZWKLVLVDQLVVXH'R

 ϯ      \RXUHFDOOWKDWFRQYHUVDWLRQ",WZDVRQO\DFRXSOH

 ϰ      GD\VLQWRXVWDONLQJGR\RXVHHWKDW"

 ϱ      $<HV
             $    <HV

 ϲ      4$QGWKHQ\RXUHVSRQGHG,NQRZSHRSOHZKR
             4    $QGWKHQ\RXUHVSRQGHG,NQRZSHRSOHZKR

 ϳ      DUHPDNLQJIDOVHDFFXVDWLRQV\HVQRQHDW'()&21

 ϴ      MXVWLQEXVLQHVVDQGOLIHGR\RXVHHWKDW"

 ϵ      $<HV
             $    <HV

ϭϬ      46R,ZDQWWRNQRZGRHVWKDWUHIUHVK\RXU
             4    6R,ZDQWWRNQRZGRHVWKDWUHIUHVK\RXU

ϭϭ      UHFROOHFWLRQUHJDUGLQJWKHLQLWLDOFRQYHUVDWLRQV

ϭϮ      WKDW\RXKDGZLWK*ULIWHUUHJDUGLQJDOOHJDWLRQVWKDW

ϭϯ      ZHUHEHLQJPDGH"

ϭϰ      $,ZLVK,FDQVD\LWEURXJKWHYHU\WKLQJ
             $    ,ZLVK,FDQVD\LWEURXJKWHYHU\WKLQJ

ϭϱ      EDFNWRPHPRU\%XWIURPZKDWLWVRXQGVOLNHLV

ϭϲ      WKDWKHZDVWHOOLQJPHWKDWWKHUHZDVDGR]HQSHRSOH

ϭϳ      WKDWZHUHDQRQ\PRXVFRPLQJWR'()&21ZLWKFRPSODLQWV

ϭϴ      DERXWPH

ϭϵ      4'R\RXUHFDOODVNLQJ1HLORU*ULIWHUZDV
             4    'R\RXUHFDOODVNLQJ1HLORU*ULIWHUZDV

ϮϬ      LWWKLVSHUVRQRUWKLVSHUVRQRUWKDWSHUVRQ"

Ϯϭ      $<HV,PHDQ,WKLQNOLNHPRVWSHRSOHLQ
             $    <HV,PHDQ,WKLQNOLNHPRVWSHRSOHLQ

ϮϮ      LQGXVWULHVWKDWKDYHDQDPH,KDGHQHPLHV

Ϯϯ      4$QGZKRZHUH\RXDVNLQJ*ULIWHULILWZDV"
             4    $QGZKRZHUH\RXDVNLQJ*ULIWHULILWZDV"

Ϯϰ      $,ILWZDV0D[LHDQG&DW,EHOLHYH5DFKHO
             $    ,ILWZDV0D[LHDQG&DW,EHOLHYH5DFKHO

Ϯϱ      7REDFZDVRQH,DVNHG6WHSKDQLH&DUUXWKHUVIRU


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      VXUHDQGKHUKXVEDQG-&,WKLQNWKRVHZHUHWKH

 Ϯ      SHRSOH,PHQWLRQHGDWWKDWWLPH

 ϯ      4'LG\RXRIIHU\RXURSLQLRQRQZKDWKDG
             4    'LG\RXRIIHU\RXURSLQLRQRQZKDWKDG

 ϰ      KDSSHQHGLQWKRVHVLWXDWLRQVDQGZK\\RXIHOWOLNH

 ϱ      WKHUHZDVQRWKLQJZURQJ"

 ϲ      $<HV
             $    <HV

 ϳ      4:KDWGLG\RXVD\ZLWKUHVSHFWWR0D[LH"
             4    :KDWGLG\RXVD\ZLWKUHVSHFWWR0D[LH"

 ϴ      $,WROGKLPWKDW0D[LHZDQWHGWRXVHKHU
             $    ,WROGKLPWKDW0D[LHZDQWHGWRXVHKHU

 ϵ      SHUVRQDOODSWRS%LJPLVWDNHRQRXUSDUWE\VD\LQJ

ϭϬ      \HV%XWZHKDGWRRZQLWDFFRUGLQJWRKHU

ϭϭ      HPSOR\PHQWFRQWUDFW6KHFDQRQO\XVHDPDFKLQH

ϭϮ      WKDWZHRZQ6KHVROGXVKHUPDFKLQHIRURQH

ϭϯ      GROODU$QGWKHQVKHZLOOLQJO\LQVWDOOHGRXU

ϭϰ      FRUSRUDWHVRIWZDUHRQLWDOORZLQJXVWRFRQWURO

ϭϱ      WKDWODSWRS$QGWKDW VDOOZULWWHQLQHPDLODOO

ϭϲ      WKDW\RXZHUHJLYHQ

ϭϳ      7KHQ,H[SODLQHGWKDWVKHWROGXVVKHZDV
                  7KHQ,H[SODLQHGWKDWVKHWROGXVVKHZDV

ϭϴ      JRLQJWR6FRWODQGWRWDNHFDUHRIKHUDLOLQJIDWKHU

ϭϵ      WKDWHQGHGXSEHLQJDOLH6KHVLJQHGPXOWLSOH

ϮϬ      FRQWUDFWVWKDWEURNHKHUHPSOR\PHQWFRQWUDFW6KH

Ϯϭ      WKHQVWROHD)HGHUDOSURSHUW\SLFWXUHIURP,/)XVLQJ

ϮϮ      LWLQKHUERRN$QGZKHQVKHWRRNKHUODSWRSWR

Ϯϯ      $SSOHLWJRWHUDVHG6R,H[SODLQHGWRKLPWKH

Ϯϰ      WUXWKEHKLQGDOOWKHWKLQJVWKDWVKHKDG

Ϯϱ      PLVFRQVWUXHG


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      4'LG\RXWHOO*ULIWHUDERXWKRZ\RX
             4    'LG\RXWHOO*ULIWHUDERXWKRZ\RX

 Ϯ      FDQFHOHGDERXWKRZ\RXJRWSRGFDVWVFDQFHOHG

 ϯ      ERRNGHDOVFDQFHOHGQRWERRNGHDOVSXEOLVKLQJ

 ϰ      GHDOVDQGWHOHYLVLRQSURGXFWLRQGHDOVFDQFHOHGRU

 ϱ      WULHGWRJHWWKHPFDQFHOHG"

 ϲ      $,WROGKLP,GLGQ
             $    ,WROGKLP,GLGQ WJHWWKHSXEOLVKLQJ

 ϳ      GHDOFDQFHOHG,WZDVSDXVHGXQWLOVKHUHZURWHLW

 ϴ      %XW,GLGWHOOKLPWKDW,SXOOHGDOORIP\VXSSRUW

 ϵ      (YHQWKRXJKWZRSRGFDVWVGLGQ WFDQFHOKHU,

ϭϬ      SXOOHGP\SHUVRQDOVXSSRUW,KDGP\QDPHUHPRYHG

ϭϭ      IURPKHUERRN,KDGP\FRPSDQ\DQGP\QRQSURILW

ϭϮ      UHPRYHGIURPKHUERRN$QGWKDW,KDG\HDKWKDW

ϭϯ      ,VWRSSHGVXSSRUWLQJKHURQWKHSRGFDVWVDQGRWKHU

ϭϰ      WKLQJVOLNHWKDW

ϭϱ      4:KHQ\RXVD\,VWRSSHGVXSSRUWLQJKHU
             4    :KHQ\RXVD\,VWRSSHGVXSSRUWLQJKHU

ϭϲ      GRHVWKDWPHDQWKDW\RXWROG*ULIWHUWKDW\RX

ϭϳ      UHDFKHGRXWWRWKHSRGFDVWSHRSOHWRVD\,DP

ϭϴ      SXOOLQJP\VXSSRUWGRQ WKDYHKHURQWKHSRGFDVW"

ϭϵ      $,WKLQN,WKLQNZHGLGWDONDERXWWKDW
             $    ,WKLQN,WKLQNZHGLGWDONDERXWWKDW

ϮϬ      LI,UHFDOOEHFDXVH,WKLQN,PHQWLRQHG,KDGD

Ϯϭ      FRQYHUVDWLRQZLWK-DFN5K\VLGHUZKRLVWKHRZQHURI

ϮϮ      'DUN1HW'LDULHV,GR,GRWKLQN,UHFDOO

Ϯϯ      WHOOLQJKLPVSHFLILFVWKDW,KDGUHDFKHGRXWWRWKH

Ϯϰ      SHRSOHWKDW,KDGLQWURGXFHGKHUWRDQGSXOOHGP\

Ϯϱ      VXSSRUWYHUEDOO\ZLWKWKHP


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 ϭ      4<RXDOVRPHQWLRQHG5DFKHO7REDU
             4    <RXDOVRPHQWLRQHG5DFKHO7REDU VLF ZDV

 Ϯ      GLVFXVVHGRQWKDWFRQYHUVDWLRQ:KDWGLG\RXVD\WR

 ϯ      0U:\OHUDERXW0V7REDU"

 ϰ      $7REDF
             $    7REDF

 ϱ      47REDF
             4    7REDF

 ϲ      $7REDF
             $    7REDF

 ϳ      5DFKHOLVDYHU\RSSRUWXQLVWLFSHUVRQ6R
                  5DFKHOLVDYHU\RSSRUWXQLVWLFSHUVRQ6R

 ϴ      LI\RXDUHULGLQJKLJKVKH VULJKWQH[WWR\RX

 ϵ      ULGLQJ\RXUWDLOFRDW$QGZKHQ\RXDUHLQWKH

ϭϬ      JXWWHUVKH VZLOOLQJWRWKURZGLUWRQ\RX6R,

ϭϭ      KDGPDGHDQDVVXPSWLRQWKDWLI0D[LHJDWKHUHGD

ϭϮ      EXQFKRISHRSOHWRJRDJDLQVWPHWKDWVKHPLJKWEH

ϭϯ      SDUWRIWKDWJURXS7KDWZDVDZURQJDVVXPSWLRQ

ϭϰ      IURPZKDW,XQGHUVWDQGIURPDOOWKHVHGHSRVLWLRQV

ϭϱ      WKDWVKHZDVQRWSDUWRIWKHJURXSWKDW0D[LHJRW

ϭϲ      4$QGZKDWGLG\RXVD\DERXW5DFKHO7REDFWR
             4    $QGZKDWGLG\RXVD\DERXW5DFKHO7REDFWR

ϭϳ      *ULIWHU"

ϭϴ      $2K,GRQ
             $    2K,GRQ WUHFDOO3UREDEO\ZKDW,MXVW

ϭϵ      WROG\RX%XW,GRQ WDFWXDOO\UHPHPEHUP\H[DFW

ϮϬ      ZRUGV,WKLQNLQWKLVSDUWLFXODULQVWDQFH,MXVW

Ϯϭ      QDPHGSHRSOHWKDW,KDGDVVXPHGZHUHSDUWRIWKH

ϮϮ      HQHP\JURXS6R,GLGQ WVD\DQ\WKLQJDERXWWKHP

Ϯϯ      ,MXVWQDPHGWKHPVD\LQJGLG0D[LHJHW&DW"'LG

Ϯϰ      0D[LHJHW6WHSKDQLH"-&"5DFKHO"7KRVHNLQG

Ϯϱ      WKDWZDVWKHOLVWRISHRSOHWKDW,WKRXJKWZRXOGEH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      SDUWRIWKHJURXSWKDWVKHFRXOGJHWWR

 Ϯ      4<RXNHHSFDOOLQJWKHPWKHHQHP\JURXS
             4    <RXNHHSFDOOLQJWKHPWKHHQHP\JURXS

 ϯ      :K\GR\RXNHHSFDOOLQJWKHPWKHHQHP\JURXS"

 ϰ      $+DYH\RXVHHQZKDWKDVKDSSHQHGWRP\
             $    +DYH\RXVHHQZKDWKDVKDSSHQHGWRP\

 ϱ      OLIH"7KDW VWKHJURXSRIIULHQGV

 ϲ      4<HDK,KDYH$QG,WKLQNHYHU\WKLQJWKDW
             4    <HDK,KDYH$QG,WKLQNHYHU\WKLQJWKDW

 ϳ      ZDVSXEOLVKHGZDVH[DFWO\WUXH6RLI\RXZDQWWR

 ϴ      DVNP\RSLQLRQVRQWKDW\RXDUHQRWJRLQJWROLNH

 ϵ      P\DQVZHUV%XWWKHEHVWSDUWLV,GRQ WKDYHWR

ϭϬ      DQVZHUTXHVWLRQVLQGHSRVLWLRQV<RXGR

ϭϭ      $7KDW
             $    7KDW VJUHDW

ϭϮ      46RZKDW,ZDQWWRNQRZLVZK\\RXNHHS
             4    6RZKDW,ZDQWWRNQRZLVZK\\RXNHHS

ϭϯ      UHIHUULQJWRWKHPDVWKHHQHP\JURXS"

ϭϰ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϱ      $2QFHDJDLQZKDWKDVKDSSHQHGWRP\OLIH
             $    2QFHDJDLQZKDWKDVKDSSHQHGWRP\OLIH

ϭϲ      ZRXOGQRWPDNHWKHPIULHQGOLHV7KH\KDYHUXLQHGP\

ϭϳ      QRQSURILW7KH\KDYHUXLQHGP\FDUHHU7KH\KDYH

ϭϴ      UXLQHGP\EXVLQHVV,KDYHKDGSHRSOHWHOOPHWR

ϭϵ      FRPPLWVXLFLGHDQGOLYHVWUHDPLWEHFDXVHRID

ϮϬ      FRQIHUHQFHEDQQLQJ7KHVHSHRSOHDUH,GRQ W

Ϯϭ      NQRZKRZHOVHWRUHIHUWRWKHP7KH\DUHWKHHQHP\

ϮϮ      JURXS7KH\KDYHVLQJOHKDQGHGO\JRQHRXWDQGWULHG

Ϯϯ      WRGHVWUR\P\OLIHQRWMXVWIURPDEXVLQHVVVWDQFH

Ϯϰ      4
             4     %\0U'HDQ 6RWKHVHSHRSOHDUHWKH

Ϯϱ      HQHP\JURXSEHFDXVHWKH\PDGHFRPSODLQWVDERXWWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ZD\\RXWUHDWHGWKHP"

 Ϯ      $7KH\PDGHOLHV
             $    7KH\PDGHOLHV

 ϯ      47KH\DUHDOOOLHV"
             4    7KH\DUHDOOOLHV"

 ϰ      $<HVQRQR,ZRXOGQ
             $    <HVQRQR,ZRXOGQ WVD\WKH\DUHDOO

 ϱ      OLHV$ORWRIWKHVWRULHVWKDW,KHDUGLQ

 ϲ      GHSRVLWLRQVLQWKHGHSRVLWLRQV,VDWWKURXJK

 ϳ      KDYHVRPHRIWKHPKDYHPRGLFXPRIWUXWKWRWKHP

 ϴ      DQGWKHQWKH\DUHWZLVWHG6RVRPHRIWKHPKDYH

 ϵ      VRPHHOHPHQWVWKDWZHUHWUXHDQGWKHQEHLQJ

ϭϬ      WZLVWHG$QGDORWRIWKHPIODWRXWOLHV

ϭϭ      4:KDWDUHWKHWKLQJVWKDWDUHWUXH"
             4    :KDWDUHWKHWKLQJVWKDWDUHWUXH"

ϭϮ      $:HOO,DPVXUHZHZLOOJHWWRWKHP,
             $    :HOO,DPVXUHZHZLOOJHWWRWKHP,

ϭϯ      FDQ WUHFDOOHYHU\VLQJOHRQHRIWKHP,MXVW

ϭϰ      UHPHPEHUVLWWLQJWKURXJKWKHGHSRVLWLRQVDQGWDNLQJ

ϭϱ      QRWHV

ϭϲ      47RWKHEHVWRI\RXUUHFROOHFWLRQZKDWZDV
             4    7RWKHEHVWRI\RXUUHFROOHFWLRQZKDWZDV

ϭϳ      WUXH"

ϭϴ      $/HW
             $    /HW VWDONDERXW&DW VGHSRVLWLRQ6KH

ϭϵ      FODLPHG,\HOOHGDWKHUZKHQVKHVFUHZHGXSWKH0/6(

ϮϬ      FODVV,GLG,JRWYHU\DQJU\DWKHU%XWVKH

Ϯϭ      FODLPHG,FDOOHGKHUIUHDNLQJVWXSLGPXOWLSOHWLPHV

ϮϮ      $QGDVZHVDZZKHQP\7HDPVFKDWZDVSXOOHGXS,

Ϯϯ      QHYHUXVHGWKHZRUGVWKHSKUDVHIUHDNLQJVWXSLG

Ϯϰ      DQ\WLPHZLWKKHU6RGLG,JHWDQJU\ZKHQDQ

Ϯϱ      HPSOR\HHVFUHZHGXSDFODVVIRU


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 ϭ      VWXGHQWV"<HVKHFN\HV,JRWDQJU\%XWGLG,

 Ϯ      EHUDWHKHU"'LG,FDOOKHUREVFHQHQDPHV"'LG,

 ϯ      WHOOKHUWKDWVKHZDVVWXSLG"1ROLH6RWKHUHLV

 ϰ      VRPHWUXWKWRWKHVWRU\ZKHUH,JRWDQJU\$QG,

 ϱ      ZDVGHILQLWHO\XSVHWZLWKP\FRPSDQ\EHLQJKXUW

 ϲ      %XWWKHQWKHUHVWRILWMXVWEHFDPHIDOVH

 ϳ      4'R\RXWKLQN\RXDFWHGDSSURSULDWHO\RU
             4    'R\RXWKLQN\RXDFWHGDSSURSULDWHO\RU

 ϴ      LQDSSURSULDWHO\LQJHWWLQJDQJU\DQG\HOOLQJDW\RX

 ϵ      VDLG&DW"

ϭϬ      $&DW\HDK
             $    &DW\HDK

ϭϭ      ,QWKDWFDVH,GRQ
                  ,QWKDWFDVH,GRQ WNQRZKRZWRDQVZHU

ϭϮ      WKDWTXHVWLRQEHFDXVH,GRQ WWKLQNLW V

ϭϯ      LQDSSURSULDWHWREHDQJU\ZKHQ,KDYHEHHQDQ

ϭϰ      HPSOR\HH,KDYHQ WDOZD\VEHHQVHOIHPSOR\HG,

ϭϱ      UHPHPEHUEHLQJLQFRPSDQLHVDQGVFUHZLQJWKLQJVXS

ϭϲ      PHVVLQJXSDSURMHFW$QGP\ERVVZRXOGJHWDQJU\

ϭϳ      DWPHEHFDXVH,PHVVHGVRPHWKLQJXS,WKLQNWKDW V

ϭϴ      DQDSSURSULDWHUHDFWLRQWRZKHQ\RXDUHEHLQJSDLG

ϭϵ      WRGRDMREDQG\RXGRLWSRRUO\

ϮϬ      4,WKLQNHDUOLHU\RXVDLG\RXJRWDQJU\
             4    ,WKLQNHDUOLHU\RXVDLG\RXJRWDQJU\

Ϯϭ      DQG\RX\HOOHGDWKHULVWKDWULJKW"

ϮϮ      $,PHDQLWZDVWKURXJK7HDPV6RLW
             $    ,PHDQLWZDVWKURXJK7HDPV6RLW

Ϯϯ      ZDVQ WDSK\VLFDO\HOO,WZDVDOOFDSVRQ7HDPV

Ϯϰ      7KDW VFRQVLGHUHG\HOOLQJLQWH[W

Ϯϱ      4<RXWKLQNWKDW
             4    <RXWKLQNWKDW VDSSURSULDWH"


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 ϭ      $,QWKLVLQVWDQFH\HV$QG,FDQJLYH\RX
             $    ,QWKLVLQVWDQFH\HV$QG,FDQJLYH\RX

 Ϯ      WKHUHDVRQZK\,ZDVWHOOLQJKHUZKDWVKHGLG

 ϯ      ZURQJDQGVD\LQJZHKDGWRIL[LW$QGVKHNHSW

 ϰ      DUJXLQJZLWKPHWKDWVKHZDVULJKW7KDW VQRWWKH

 ϱ      WLPH7KDWLVDFRPSOHWHODFNRIKXPLOLW\,WLV

 ϲ      QRWWKHWLPHWRDUJXHZLWKWKHERVVDERXWZKDWLV

 ϳ      ULJKWDQGZURQJZKHQZHKDGWRIL[WKLVLVVXH

 ϴ      EHFDXVHZHZHUHEDVLFDOO\VD\LQJZHZHUHFRPPLWWLQJ

 ϵ      IUDXG6R,WROGKHUWRIULFN QVKXWXSDQGZHJRW

ϭϬ      WRIL[LWDQGWKDW VZKDW,GLG$QG,KDYH

ϭϭ      DEVROXWHO\,ZRXOGGRLWDJDLQ

ϭϮ      4'R\RXWKLQNWKDW
             4    'R\RXWKLQNWKDW VSURIHVVLRQDO"

ϭϯ      $,QWKDWVHWWLQJ\HV
             $    ,QWKDWVHWWLQJ\HV

ϭϰ      4$QG\RXGRQ
             4    $QG\RXGRQ WXQGHUVWDQGKRZVRPHRQHFRXOG

ϭϱ      ILQGWKDWWREHRIIHQVLYH"

ϭϲ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϳ      $6RPHRQHRU&DW"
             $    6RPHRQHRU&DW"

ϭϴ      4
             4     %\0U'HDQ (LWKHU

ϭϵ      $,WKLQNLIDSHUVRQZHUHWRVHHWKH
             $    ,WKLQNLIDSHUVRQZHUHWRVHHWKH

ϮϬ      FRQWH[WDQGQRWMXVWGRZKDWKDVEHHQGRQHWKLV

Ϯϭ      ZKROHFRXUWFDVHWDNLQJWKLQJVRXWRIFRQWH[W,

ϮϮ      WKLQNLIWKH\ZHUHWRVHHWKHZKROHFRQWH[WWKDW

Ϯϯ      DQ\QRUPDOSHUVRQZRXOGJRWKDW VDQDSSURSULDWH

Ϯϰ      UHDFWLRQWRVRPHRQHDOPRVWFRVWLQJ\RX.

Ϯϱ      4,WKLQNHYHU\WKLQJ VEHHQLQFRQWH[WLQ


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϮϮϬ
 ϭ      05'($1:H YHEHHQJRLQJDERXWDQKRXU

 Ϯ      LVWKDWULJKW"

 ϯ      7+(9,'(2*5$3+(5)LIW\RQHPLQXWHV

 ϰ      05'($1/HW VMXVWWDNHDTXLFNEUHDN

 ϱ       5HFHVVWDNHQ

 ϲ      7+(9,'(2*5$3+(5:HDUHEDFNRQWKH

 ϳ      UHFRUGDW

 ϴ      4 %\0U'HDQ ,ZDQWWRJRWRSDJHRI

 ϵ      ([KLELWZKLFKLVWKH:\OHUWH[WPHVVDJHV/HW

ϭϬ      PHNQRZZKHQ\RXDUHWKHUH

ϭϭ      $,DPWKHUH

ϭϮ      48OWLPDWHO\RQ\RXUFDOOZLWK*ULIWHU\RX
             4    8OWLPDWHO\RQ\RXUFDOOZLWK*ULIWHU\RX

ϭϯ      GHFLGHGRUKDGDQDJUHHPHQWWKDWERWKVLGHVZRXOG

ϭϰ      NLQGRIJRWKHLUVHSDUDWHZD\VRUOD\WKLQJVWREHG

ϭϱ      LVWKDWIDLU"

ϭϲ      $<HV
             $    <HV

ϭϳ      4$QG\RXUHDFKHGRXWRQ$XJXVWWKDIHZ

ϭϴ      GD\VODWHUDQG\RXVDLG,NQRZLW VODWHWREHG

ϭϵ      %XW,GRKDYHQHZLQIRMXVWLQFDVHLWEORZVXS

ϮϬ      DJDLQULJKW"

Ϯϭ      $,GR

ϮϮ      45LJKW\RXVDLGWKDW"

Ϯϯ      $<HV,GLGVD\WKDW

Ϯϰ      4:KDWLQIRUPDWLRQGLG\RXJHW"

Ϯϱ      $,UHDOO\GRQ WUHFDOO


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      RND\"

 Ϯ      4:HNQRZWKDW0D[LHDOUHDG\PDGH

 ϯ      FRPSODLQWV:HDOUHDG\WDONHGDERXWWKDW,GRQ W

 ϰ      ZDQWWRUHKDVKWKDW%XW,WKLQNLW VIDLUWRVD\

 ϱ      WKDWZHDJUHHWKDW0D[LHPDGHFRPSODLQWVWR'()&21"

 ϲ      $<HV

 ϳ      4<RXVDWLQRQ0LFKHOH)LQFKHU V

 ϴ      GHSRVLWLRQULJKW"

 ϵ      $,GLG

ϭϬ      4$QGVKHWHVWLILHGWKDWVKHVDZ\RX\HOODW
             4    $QGVKHWHVWLILHGWKDWVKHVDZ\RX\HOODW

ϭϭ      VWDIIDW'()&21FRQIHUHQFHV"

ϭϮ      05&215$'2EMHFWIRUP
                  05&215$'2EMHFWIRUP

ϭϯ      $6KHGLG
             $    6KHGLG

ϭϰ      4
             4     %\0U'HDQ 'R\RXGLVDJUHHWKDW\RX

ϭϱ      \HOOHGDWVWDIIDW'()&21FRQIHUHQFHV"

ϭϲ      $1R,GRQ
             $    1R,GRQ WGLVDJUHH

ϭϳ      4,WKLQNDFWXDOO\LQWKHGLVFRYHU\
             4    ,WKLQNDFWXDOO\LQWKHGLVFRYHU\

ϭϴ      UHVSRQVHVKHUH\RXVDLGWKDW\RXPD\KDYHUDLVHG

ϭϵ      \RXUYRLFHLVWKDWIDLU"

ϮϬ      $<HDKUDLVLQJP\YRLFH\HOOLQJ,WKLQN
             $    <HDKUDLVLQJP\YRLFH\HOOLQJ,WKLQN

Ϯϭ      WKH\DUHDERXWWKHVDPH

ϮϮ      4$QGVLWWLQJKHUHWRGD\\RXGRQ
             4    $QGVLWWLQJKHUHWRGD\\RXGRQ WKDYHDQ\

Ϯϯ      SHUVRQDONQRZOHGJHUHJDUGLQJZKHWKHU0V)LQFKHU

Ϯϰ      VKDUHGWKLVW\SHRIFRQGXFWZLWK'()&21GXULQJWKHLU

Ϯϱ      FDOOGR\RX"


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $%HVLGHVZKDWVKHVDLGDWWKHGHSRVLWLRQ
             $    %HVLGHVZKDWVKHVDLGDWWKHGHSRVLWLRQ

 Ϯ      4<RXZHUHQ
             4    <RXZHUHQ WRQWKHFDOOULJKW"

 ϯ      $,ZDVQRWRQWKDWFDOO
             $    ,ZDVQRWRQWKDWFDOO

 ϰ      46R\RXGRQ
             4    6R\RXGRQ WNQRZZKDWZDVVDLGRUZDVQRW

 ϱ      VDLGE\0V)LQFKHU"

 ϲ      $,GLGQRW
             $    ,GLGQRW

 ϳ      4$QGDJDLQQRUHDVRQWRGLVDJUHHRU
             4    $QGDJDLQQRUHDVRQWRGLVDJUHHRU

 ϴ      GLVSXWHZKDWVKHVDLGDERXW\RX\HOOLQJDWSHRSOHDW

 ϵ      '()&21HYHQWVULJKW"

ϭϬ      05&215$'2EMHFWLRQIRUP
                  05&215$'2EMHFWLRQIRUP

ϭϭ      $1R
             $    1R

ϭϮ      4 %\0U'HDQ ,WKLQNZHDOUHDG\WDONHG

ϭϯ      DERXW\RXUFRQYHUVDWLRQVUHJDUGLQJWKHKRPHZRUN

ϭϰ      DVVLJQPHQWVZLWK0V)LQFKHUVRZHFDQVNLSWKDW

ϭϱ      0\RQO\TXHVWLRQIROORZXSTXHVWLRQ

ϭϲ      WKHUHLV6LWWLQJKHUHWRGD\\RXGRQ WKDYHDQ\

ϭϳ      SHUVRQDONQRZOHGJHUHJDUGLQJZKHWKHU0V)LQFKHU

ϭϴ      VKDUHGWKRVHKRPHZRUNDVVLJQPHQWVZLWK'()&21GXULQJ

ϭϵ      WKHFDOOZLWKWKHSOXVLQGLYLGXDOVFRUUHFW"

ϮϬ      $,GRQRW

Ϯϭ      4$WDQ\SRLQWLQWLPHKDYH\RXEHHQDQ

ϮϮ      HPSOR\HHRI'()&21"

Ϯϯ      $1R

Ϯϰ      4'LG*HRII0RVVJLYH\RXDXWKRULW\WR

Ϯϱ      GHWHUPLQHZKRRUZKRFDQQRWVSHDNRQEHKDOIRI


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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ϮϬ      4:KDWLV3URMHFW8QLFRUQ"
             4    :KDWLV3URMHFW8QLFRUQ"

Ϯϭ      $3URMHFW8QLFRUQZDVDQLGHDWKDW6DPDQWKD
             $    3URMHFW8QLFRUQZDVDQLGHDWKDW6DPDQWKD

ϮϮ      KDGDERXWSRWHQWLDOO\XVLQJIDNHSLFWXUHVWKDW

Ϯϯ      ORRNHGOLNHWKH\ZHUHRIXQGHUDJHJLUOVWKDWDUH

Ϯϰ      HURWLFDDQGSRUQRJUDSK\LQRUGHUWREDLWSUHGDWRUV

Ϯϱ      LQFKDWURRPV7KDWZDVWKHLGHDEHFDXVHLQWKLV


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      FRXQWU\FKLOGHURWLFDLVQRWLOOHJDODQGFKLOG

 Ϯ      SRUQRJUDSK\LV:HKDGZRUNHGRXWVRPHRIWKH

 ϯ      GHWDLOVRILW,SUHVHQWHGLWWRODZHQIRUFHPHQW

 ϰ      ZDVWROGWKDWLWLVQRWVRPHWKLQJZHFDQGRDV

 ϱ      FLWL]HQVVRWKDWSURMHFWZHQWQRZKHUH

 ϲ      4'LG\RXDWOHDVWVWDUWWKHSURMHFW"
             4    'LG\RXDWOHDVWVWDUWWKHSURMHFW"

 ϳ      $7KHRQO\WKLQJWKDWZDVVWDUWHGZDV
             $    7KHRQO\WKLQJWKDWZDVVWDUWHGZDV

 ϴ      6DPDQWKDVWDUWHGDGRFXPHQWLQKHU*RRJOH'ULYHWKDW

 ϵ      OLVWHGRXWZKDWZHFDOOHGDSUHWH[WZKLFKZDVOLNH

ϭϬ      WKHIDNHSHUVRQWKDWVKHZRXOGEHDQGDOLVWRI

ϭϭ      TXHVWLRQVIRUPHWRDQVZHUDERXWZKDWFDQDQGFDQ W

ϭϮ      EHGRQH$QG,OLVWHGVRPHWKLQJVLQWKDWGRFXPHQW

ϭϯ      DERXWOLNHQRQXGHSKRWRVVRPHRIWKHUXOHVWKDW,

ϭϰ      KDGIRXQGWKDWZHFRXOGQRWWKDWZHFRXOGQRWGR

ϭϱ      LILWZHQWIRUZDUG

ϭϲ      46R\RXUWHVWLPRQ\LVWKDW6DP*DPEOHFDPH
             4    6R\RXUWHVWLPRQ\LVWKDW6DP*DPEOHFDPH

ϭϳ      XSZLWKDOOWKHTXHVWLRQVLQWKHGRFXPHQW"

ϭϴ      $<HDKWKHGRFXPHQWLVRZQHGE\KHU
             $    <HDKWKHGRFXPHQWLVRZQHGE\KHU

ϭϵ      46RVKHFDPHXSZLWKTXHVWLRQVDERXWKHU
             4    6RVKHFDPHXSZLWKTXHVWLRQVDERXWKHU

ϮϬ      ERREVL]HDQGSXELFKDLUDQGSHULRGV"

Ϯϭ      $7KHTXHVWLRQVIRUWKDW\HVDFWXDOO\
             $    7KHTXHVWLRQVIRUWKDW\HVDFWXDOO\

ϮϮ      LI\RXORRNDWWKHGRFXPHQW\HVVKHLVWKHRQHZKR

Ϯϯ      FUHDWHGWKDW6KHZURWHWKHSUHWH[WZDVIRUWKLV

Ϯϰ      RQHFKDWURRPZHZHUHLQLW VWHUULEOHLWLV

Ϯϱ      FDOOHG3HGRSKLOH6XSSRUW&RPPXQLW\7KDWZDVWKH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      IRUXPZHZHUHJRLQJWRWU\WRLQILOWUDWHZLWKWKHVH

 Ϯ      LIZHZHUHDOORZHG6RWKH\QHHGHGWRKDYHD

 ϯ      GHVFULSWLRQRIWKHFKLOGWKDW\RXZHUHZLWKDWWKH

 ϰ      WLPHIRUWKLVFRPPXQLW\$QGWKLVZDV6DPDQWKD

 ϱ      $QGWKHQWKHERWWRPRIWKDWSDJHLVWKHRQHWKDW,

 ϲ      ZURWH6RWKHWRSRQHLVWKHRQHWKDW6DPDQWKD

 ϳ      ZURWH7KHERWWRPRQHLI,UHFDOO,WKLQNLWLV

 ϴ      WZRSDJHVLI,DPUHFDOOLQJSURSHUO\WKHERWWRP

 ϵ      RQHLVWKHRQH,ZURWH

ϭϬ      46R\RXGLGQ
             4    6R\RXGLGQ WDVN6DPDQWKDWRZULWHGRZQ

ϭϭ      ZKHQVKHVWDUWHGVKDYLQJKHUSXELFKDLU"

ϭϮ      $1R
             $    1R

ϭϯ      46R\RXUWHVWLPRQ\LV6DP*DPEOHGHFLGHGWR
             4    6R\RXUWHVWLPRQ\LV6DP*DPEOHGHFLGHGWR

ϭϰ      GRDOORIWKDWRQKHURZQ"

ϭϱ      $1RQRQR:HKDGDFRQYHUVDWLRQDERXW
             $    1RQRQR:HKDGDFRQYHUVDWLRQDERXW

ϭϲ      3URMHFW8QLFRUQ$QGWKHFRQFHSWZDVWKDWVLQFH

ϭϳ      FKLOGHURWLFDLVQRWLOOHJDOLQWKLVFRXQWU\FRXOG

ϭϴ      ZHXVHVRPHRQHZKRORRNVYHU\\RXQJOLNH6DPDQWKD

ϭϵ      WRSRVHQRQQXGHSLFWXUHVRQDIRUPWRJHWSUHGDWRUV

ϮϬ      WRPD\EHWUDSWKHPVHOYHV,QWKDWFRQYHUVDWLRQZH

Ϯϭ      OLVWHGWKLQJVWKDWZRXOGQHHGWREHDQVZHUHGLQ

ϮϮ      RUGHUWREHUHDO

Ϯϯ      4$QGZKDWGLG\RXOLVWWKDWQHHGVWREH
             4    $QGZKDWGLG\RXOLVWWKDWQHHGVWREH

Ϯϰ      DQVZHUHG"

Ϯϱ      $,FDQ
             $    ,FDQ WUHFDOOZKLFKZHUH6DP VDQGZKLFK


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      ZHUHPLQH,UHDOO\FDQ W,WZDVDFRQYHUVDWLRQ

 Ϯ      WKDWZHKDG:HZRXOGGRWKLVRIWHQLQ,/)6DP

 ϯ      ZDVP\ULJKWKDQG6RZHZRXOGKDYHFRQYHUVDWLRQV

 ϰ      OLNHWKLVFRQVWDQWO\

 ϱ      4'LG\RXRU6DPVXJJHVWWKDWVKHLGHQWLI\
             4    'LG\RXRU6DPVXJJHVWWKDWVKHLGHQWLI\

 ϲ      KHUEUDVL]H"

 ϳ      $,GRQ
             $    ,GRQ WNQRZLIZHZHUHWDONLQJDERXWKHU

 ϴ      EUDVL]H,WKLQNLWZDVWKHSUHWH[W/LNH\RXFDQ

 ϵ      UHDGPLQH,SXWZKDWVFKRROZKDWPLGGOHVFKRRO

ϭϬ      ,ZDVDW2EYLRXVO\,DPQRWLQPLGGOHVFKRRO,W

ϭϭ      ZDVWKHSUHWH[W,ZDVJRLQJWREHIRUWKHDFWLIZH

ϭϮ      JRWDSSURYDOWRGRWKLV

ϭϯ      4:KRSURSRVHGSXWWLQJLQWKHGDWHWKDWVKH
             4    :KRSURSRVHGSXWWLQJLQWKHGDWHWKDWVKH

ϭϰ      FRQVLGHUHGVKDYLQJKHUSXELFKDLU"

ϭϱ      $,GRQ
             $    ,GRQ WUHFDOO

ϭϲ      4:KRSURSRVHGVD\LQJWKHGDWHXSRQZKLFK
             4    :KRSURSRVHGVD\LQJWKHGDWHXSRQZKLFK

ϭϳ      VKHEHJDQWRJURZSXELFKDLU"

ϭϴ      $6R,ZDQWWRFODULI\EHFDXVH\RXDUH
             $    6R,ZDQWWRFODULI\EHFDXVH\RXDUH

ϭϵ      DVNLQJWKHVHTXHVWLRQVDVLILWZDV6DP7KH

ϮϬ      DQVZHUVWRWKHTXHVWLRQVDUHDERXWWKHSUHWH[WWKH

Ϯϭ      IDNHSHUVRQWKDW VOLVWHGRQWKHSDJH3URMHFW

ϮϮ      8QLFRUQ,W VQRWDERXW6DPDQWKD7KHVDPHZD\

Ϯϯ      WKDWP\SUHWH[W\RXFDQREYLRXVO\WHOOLVQRWPH

Ϯϰ      EHFDXVH,DPQRWD\HDUROGJLUO

Ϯϱ      46R\RXGLGQRWWHOO6DPDQWKDWRSURYLGH
             4    6R\RXGLGQRWWHOO6DPDQWKDWRSURYLGH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϮϵϭ
 ϭ      WKLVLQIRUPDWLRQ"

 Ϯ      $7KHLQIRUPDWLRQZDVDERXWWKHSUHWH[WQRW
             $    7KHLQIRUPDWLRQZDVDERXWWKHSUHWH[WQRW

 ϯ      DERXW6DPDQWKD

 ϰ      46R\RXZDQWHG6DPWRPDNHXSWKDW
             4    6R\RXZDQWHG6DPWRPDNHXSWKDW

 ϱ      LQIRUPDWLRQQRWSURYLGHKHUDFWXDOLQIRUPDWLRQ"

 ϲ      $<HDKVKH
             $    <HDKVKH VQRW6RWKHSUHWH[WLV

 ϳ      PDGHXS,W VDOOIDNH%XWLWKDGWRKDYHUHDOLVP

 ϴ      EHFDXVHLIZHJRWDSSURYDOWRWDNHWKHSLFWXUHVVKH

 ϵ      FDQ WVD\VKH V\RXNQRZ,GRQ WNQRZZKDW

ϭϬ      VL]HVKHFDQ WVD\VKHLVRQHVL]HDQGLWLV

ϭϭ      REYLRXVWKDWVKHLVQRWLQWKHSLFWXUHV6RZH

ϭϮ      WDONHGDERXWLIZHJHWDSSURYDOWRWDNHWKHVH

ϭϯ      SLFWXUHVZHDUHJRLQJWRKDYHPRGHOVRUSHRSOHWKDW

ϭϰ      ILWWKHGHVFULSWLRQVZHDUHZULWLQJ

ϭϱ      46R\RXZDQWHGWKHGHVFULSWLRQRI6DP
             4    6R\RXZDQWHGWKHGHVFULSWLRQRI6DP V

ϭϲ      EUHDVWVWKHEUDVL]HWREHSUHWW\DFFXUDWHRQWKLV

ϭϳ      VRLWZRXOGQ WUDLVHDQ\IODJV"

ϭϴ      $7KHZD\WKDWTXHVWLRQLVZRUGHG,
             $    7KHZD\WKDWTXHVWLRQLVZRUGHG,

ϭϵ      ZRXOGQ WDJUHH

ϮϬ      4:K\ZRXOGQ
             4    :K\ZRXOGQ W\RXDJUHH"

Ϯϭ      $%HFDXVH\RXDUHVD\LQJ,ZDQWHG6DP
             $    %HFDXVH\RXDUHVD\LQJ,ZDQWHG6DP V

ϮϮ      EUHDVWWREHDFFXUDWH,ZDQWHGWKHSUHWH[WLI

Ϯϯ      ZHJRWDSSURYDOIRUWKLVSURMHFWWKHSUHWH[WKDGWR

Ϯϰ      EHEHOLHYDEOHDQGSURYHDEOH$QGLI,ZDVLIWKH

Ϯϱ      SLFWXUHZDVRIPHDQG,DPVD\LQJ,DPD


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϮϵϮ
 ϭ      \HDUROGJLUOLW VJRLQJWRREYLRXV,DPQRW

 Ϯ      6RZHKDGWRKDYHEHOLHYDEOHVSHFVIRUZKDWD

 ϯ      RU\HDUROGJLUOZRXOGEHWKDWZDVJRLQJWREH

 ϰ      DEOHWRLQILOWUDWHWKLVIRUP

 ϱ      4*RWLW6R\RXZRXOGH[SHFW6DPWRNLQG
             4    *RWLW6R\RXZRXOGH[SHFW6DPWRNLQG

 ϲ      RIXVHKHURZQSHUVRQDOH[SHULHQFHVWRPDNHLW

 ϳ      EHOLHYDEOHDERXWZKHQVKHVWDUWHGWRJURZSXELF

 ϴ      KDLU"

 ϵ      $:HOO,DPQRWDIHPDOH6R\HVZH
             $    :HOO,DPQRWDIHPDOH6R\HVZH

ϭϬ      ZRXOGKDYHWKRVHFRQYHUVDWLRQVDERXW\RXNQRZLI

ϭϭ      \RXDUHJRLQJWRDQVZHUWKHVHTXHVWLRQVKRQHVWO\,

ϭϮ      PHDQ,FDQ WWHOOZKHQ\RXD\RXQJJLUOGRHVVR

ϭϯ      \RXKDYHWRDQVZHUWKRVHTXHVWLRQV

ϭϰ      4*RWLW$QGVDPHZLWKFRQVLGHULQJSXELF
             4    *RWLW$QGVDPHZLWKFRQVLGHULQJSXELF

ϭϱ      KDLUULJKW"

ϭϲ      $,GRQ
             $    ,GRQ WUHPHPEHUWKDWSDUWRIWKH

ϭϳ      FRQYHUVDWLRQ%XW,GR,GRUHFDOODIWHUKHDULQJ

ϭϴ      VRPHWKLQJVLQWKHGHSRVLWLRQWKLQJVOLNHZRXOGLW

ϭϵ      EHEHFDXVHVDGO\DQGGLVJXVWLQJO\WKLVLVRQHRI

ϮϬ      WKHTXHVWLRQVWKDWFRPHVXSRQWKHVHIRUPVLVGR\RX

Ϯϭ      VKDYHRUQRW"6RZHZRXOGWDONDERXWZKDWLVWKH

ϮϮ      QRUPDODJHIRUJLUOVWRVWDUWGRLQJWKDWEHFDXVHLI

Ϯϯ      ZHVD\WKDWZHDUHVKDYLQJDWLWGRHVQ WPDNH

Ϯϰ      VHQVH7KH\DUHJRLQJWRFDWFKXVLQDOLH7KHVH

Ϯϱ      FRQYHUVDWLRQVDVDZIXODVWKH\VRXQGWKH\DUH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

                                                                      WĂŐĞϮϵϯ
 ϭ      FRPPRQSODFHLQ,/)EHFDXVHRIWKHQDWXUHRIWKHZRUN

 Ϯ      WKDWZHZHUHGRLQJ

 ϯ      4'LG\RXHYHUWKLQNDERXWEX\LQJDQDQDWRP\
             4    'LG\RXHYHUWKLQNDERXWEX\LQJDQDQDWRP\

 ϰ      ERRNWRVHHZKHQPDOHVDQGIHPDOHVVWDUWJRLQJ

 ϱ      WKURXJKSXEHUW\"

 ϲ      $1R,GLGQ
             $    1R,GLGQ W

 ϳ      4<RXWKRXJKWLWZRXOGEHDSSURSULDWHWRDVN
             4    <RXWKRXJKWLWZRXOGEHDSSURSULDWHWRDVN

 ϴ      6DPWRNLQGRIJLYHXVKHUH[SHULHQFHVDQGSXWWKLV

 ϵ      LQDGRFXPHQW"

ϭϬ      05&215$'2EMHFWLRQIRUP
                  05&215$'2EMHFWLRQIRUP

ϭϭ      $7KHVHFRQYHUVDWLRQVZHUHFRPPRQSODFH
             $    7KHVHFRQYHUVDWLRQVZHUHFRPPRQSODFH

ϭϮ      ZLWKLQ,/)$QG6DPDQWKDZRXOGRIIHUWKHVHWKLQJV

ϭϯ      XSZLOOLQJO\QRWEHLQJIRUFHG$QGPDWWHURIIDFW

ϭϰ      PDQ\WLPHVVKHZDVWKHRQHEULQJLQJLGHDVWRPH

ϭϱ      EHFDXVHVKHZRUNHGIRU,/)IXOOWLPH,GLGQRW,

ϭϲ      DPVWLOODYROXQWHHU

ϭϳ      4 %\0U'HDQ 'LG\RXFRPPHQWWR6DP

ϭϴ      *DPEOHDERXWVKH VILOOHGRXWDQGILQDOO\ORRNLQJ

ϭϵ      KHUDJH"

ϮϬ      $,ZLOOJLYH\RXFRQWH[WIRUWKDWFRPPHQW

Ϯϭ      <HVVKHKDGVWDUWHGDPHGLFLQHRXWRIGHSUHVVLRQ

ϮϮ      EHFDXVHKHUER\IULHQGZDVRQGUXJVDQGWKLV

Ϯϯ      PHGLFLQHPDGHKHUORVHZHLJKWDQGVKHZDVGRZQWR

Ϯϰ      ,WKLQNOLNHSRXQGV$QGVKHZDVWHOOLQJ6KDQH

Ϯϱ      DQG,KRZVKHZDVUHDOO\XQKHDOWK\6KHFKDQJHGKHU


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      $UHHVDDQGKHUERG\"

 Ϯ      $1RQRQRWLQWKHZD\VKHGHVFULEHGLQ

 ϯ      WKHGHSRVLWLRQ,I,GLGLWPLJKWKDYHEHHQOLNH

 ϰ      P\ERG\LPDJHRUVRPHWKLQJOLNHWKDWEXWQR

 ϱ      4'LG\RXHYHUWHOO0D[LH5H\QROGVWKDW\RX

 ϲ      KDWHSRUQ"

 ϳ      $<HV

 ϴ      4+RZGLGWKDWFRPHXS"

 ϵ      $0D[LHDOVRYROXQWHHUHGIRU,/)VRDJDLQ

ϭϬ      DORWRIGLVFXVVLRQVDERXWLW$QGEDVHGRQZKDWZH

ϭϭ      KDYHDOUHDG\UHDGIURPP\UHFRUG,KDYHDYHU\

ϭϮ      GLVWDVWHIRUSRUQRJUDSK\$QGDIWHUZRUNLQJDW,/)

ϭϯ      ,KDWHLWHYHQPRUH

ϭϰ      4+DVDQ\RQHHYHUUHIHUUHGWR\RXDVWKH
             4    +DVDQ\RQHHYHUUHIHUUHGWR\RXDVWKH

ϭϱ      +XON"

ϭϲ      $<HV
             $    <HV

ϭϳ      42U+XONLQJRXW"
             4    2U+XONLQJRXW"

ϭϴ      $0XOWLSOHWLPHV
             $    0XOWLSOHWLPHV

ϭϵ      4,VWKDW\RXUUHSXWDWLRQLQWKHZRUNSODFH"
             4    ,VWKDW\RXUUHSXWDWLRQLQWKHZRUNSODFH"

ϮϬ      $)RUWKLVLVJRLQJEDFNPDQ\PDQ\
             $    )RUWKLVLVJRLQJEDFNPDQ\PDQ\

Ϯϭ      \HDUVIRUWKHYROXQWHHUVZHKDGDW'()&21IRUWKH

ϮϮ      6(9LOODJHHDFKSHUVRQFKRVHD0DUYHOFKDUDFWHU

Ϯϯ      WKDWZDVWKHLUPRQLNHURQRXUZHEVLWH$QGPLQHZDV

Ϯϰ      WKH+XON6RHYHU\RQHKDGWKHLURZQ0DUYHO

Ϯϱ      FKDUDFWHU%DWPDQ6SLGHUPDQ9DON\ULHWKLQJVOLNH


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      WKDW6RZHDOOFKRVHRQHWKDWZDVWKHLUIDYRULWH

 Ϯ      FKDUDFWHUDQGWKDWZDVPLQH

 ϯ      4'LGDQ\RQHHYHUUHIHU\RXDVWKH+XONLQ
             4    'LGDQ\RQHHYHUUHIHU\RXDVWKH+XONLQ

 ϰ      WKHZD\WKDW\RXWUHDWHGSHRSOHDWWKHRIILFH"

 ϱ      $,GRQ
             $    ,GRQ WUHFDOOEHLQJUHIHUUHGWRLWWKDW

 ϲ      ZD\0RVWO\LWZDVWKHMRNHEHFDXVHRIP\PRQLNHU

 ϳ      %XW,GRQ WUHFDOOHYHUEHLQJUHIHUUHGWRWKH+XON

 ϴ      EHFDXVHRIWUHDWPHQWRISHRSOH

 ϵ      4:KDWKDSSHQHGWR\RXU6LJQDOPHVVDJHVZLWK

ϭϬ      5\DQ0DF'RXJDOOSULRUWR6HSWHPEHUWK"

ϭϭ      $,KDGD3L[HOZKLFKXQH[SHFWHGO\GLHG

ϭϮ      $QG6LJQDOLVWKHNLQGRIV\VWHPWKDWLI\RXGRQ W

ϭϯ      KDYHUHJXODUEDFNXSVRI\RXUPHVVDJHVWKDW\RXRQO\

ϭϰ      JHWWRUHFRYHUZKDWLVEDFNHGXS6R\RXUODVW

ϭϱ      EDFNXSLVZKDW\RXZLOOKDYH6RZKHQ,PRYHGWRP\

ϭϲ      QHZSKRQHDIWHUP\ROGSKRQHGLHGP\ODVWEDFNXS

ϭϳ      ZDVWKDWGDWHZLWK5\DQ6RWKRVHDUHWKHPHVVDJHV

ϭϴ      ,KDYH

ϭϵ      4'LG\RXUSKRQHEDFNXSZLWKUHVSHFWWR

ϮϬ      RWKHUSHRSOH"

Ϯϭ      $1RQR6LJQDOLV\RXEDFNLWXS<RX

ϮϮ      GRQ WEDFNXSLQGLYLGXDO<RXEDFNXSWKHZKROH

Ϯϯ      GDWDEDVHRUQRWKLQJ

Ϯϰ      4$UH\RXDZDUHWKDW\RXKDYHSURGXFHG

Ϯϱ      6LJQDOPHVVDJHVLQWKLVFDVHZLWKRWKHUSHRSOHWKDW


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      IRXQGWREHIDOVHE\MXVWVHDUFKLQJRQOLQH/LNH,

 Ϯ      FDQVD\ZLWKSHUFHQWFHUWDLQW\WKDWQRRQHKDV

 ϯ      HYHUFRPHWRPHZLWKDFFXVDWLRQVRIKDUDVVPHQWRU

 ϰ      GLVFULPLQDWLRQGR\RXUHFDOOWKDW"

 ϱ      $,GR

 ϲ      4+DVDQ\RQHHYHUFRPHWR\RXUHJDUGLQJ

 ϳ      DFFXVDWLRQVUHJDUGLQJKDUDVVPHQWDQGGLVFULPLQDWLRQ"

 ϴ      $<HV

 ϵ      4:KRLV-HVVLFD/HYLQH"
             4    :KRLV-HVVLFD/HYLQH"

ϭϬ      $6KHLVDIRUPHUHPSOR\HHRI6RFLDO
             $    6KHLVDIRUPHUHPSOR\HHRI6RFLDO

ϭϭ      (QJLQHHUDQGVRPHRQHZKRZRXOGYROXQWHHUIRUPHDW

ϭϮ      ERWK'()&21DQG'(5%<&219LOODJHV

ϭϯ      4'LGVKHPDNHDFRPSODLQWWRDJDLQVW\RX
             4    'LGVKHPDNHDFRPSODLQWWRDJDLQVW\RX

ϭϰ      WRWKH1RUWK&DUROLQD'HSDUWPHQWRI/DERU:DJHDQG

ϭϱ      +RXU%XUHDXIRUQRWSD\LQJKHUZDJHV"

ϭϲ      $6KHGLG
             $    6KHGLG

ϭϳ      4'LG\RXUHFHLYHDFLWDWLRQIRUIDLOLQJWR
             4    'LG\RXUHFHLYHDFLWDWLRQIRUIDLOLQJWR

ϭϴ      SD\0V/HYLQHLQDFFRUGDQFHZLWK1RUWK&DUROLQD

ϭϵ      ODZ"

ϮϬ      $,UHFHLYHGDSKRQHFDOODQGDQHPDLO
             $    ,UHFHLYHGDSKRQHFDOODQGDQHPDLO

Ϯϭ      $QGWKHQWKHFDVHZDVGURSSHGEHFDXVHVKHZDVSDLG

ϮϮ      MXVWOLNHZHWROGKHUVKHZRXOGEH,GRQ WUHFDOO

Ϯϯ      UHFHLYLQJDFLWDWLRQ%XW,FRXOGEHZURQJRQWKH

Ϯϰ      ZRUGLQJ

Ϯϱ      4,I1RUWK&DUROLQD'HSDUWPHQWRI/DERU
             4    ,I1RUWK&DUROLQD'HSDUWPHQWRI/DERU


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     +DGQDJ\HWDOY0RVVHWDO                         &KULVWRSKHU+DGQDJ\

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 ϭ      :DJHDQG+RXU%XUHDXIRXQGWKDW\RXGLGYLRODWH

 Ϯ      WKDWLVWKHUHDQ\WKLQJVLWWLQJKHUHWRGD\WKDW

 ϯ      \RXFDQVD\WRFRQWUDGLFWWKDW\RXYLRODWHGDQ\ODZV

 ϰ      LQQRWSD\LQJ-HVVLFD/HYLQH"

 ϱ      05&215$',DPJRLQJWRREMHFWWRIRUP
                  05&215$',DPJRLQJWRREMHFWWRIRUP

 ϲ      $)URPP\XQGHUVWDQGLQJDIWHUVSHDNLQJZLWK
             $    )URPP\XQGHUVWDQGLQJDIWHUVSHDNLQJZLWK

 ϳ      WKHJHQWOHPDQIURPWKHODERUERDUGLVRXU

 ϴ      HPSOR\PHQWFRQWUDFWVZRXOGVWDWHWKDW\RXUILQDO

 ϵ      SD\FKHFNZLOOEHLVVXHGDIWHUWKHUHWXUQRI\RXU

ϭϬ      FRUSRUDWHHTXLSPHQWGRHVQRWLVFRPSOLDQWZLWK

ϭϭ      1RUWK&DUROLQDODZ

ϭϮ      4 %\0U'HDQ *RWLW:KRLV$PDQGD

ϭϯ      0DUFKXFN"

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        Exhibit 11
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        Exhibit 12
  Case 2:23-cv-01932-BAT                  Document 84              Filed 02/26/25                 Page 187 of 776




DATE LEFTAug 5th 2021



EVENT   STALKED DAD ON LINKEDIN                    Probes dad to see if really had heart attack                        8/9/2021
EVENT   EMAIL FROM JACK RHYSIDER                   Chris "no longer vouching"                                          8/10/2021
EVENT   CALL FROM JIM MINATEL - name removal       Chris no longer wants name on book                                  8/11/2021
EVENT   STATES SUING ME                            Suing for signing NDAs                                              8/13/2021
EVENT   EMAIL FROM JIM MINATEL - images & FBI      Chris will not allow ILF images within the book. Has called FBI.    8/23/2021
EVENT   GRIFTER intro                              Randoh                                                              8/23/2021
EVENT   GRIFTER/ NEIL WYLAN CONTACTS CHRIS         Contacted for truce. Chris lies about clients                       8/25/2021
EVENT   CONTACTS JAKE WILLIAMS                     Contacts Jake Williams to harm reputation                           8/25/2021

EVENT   SIGNAL MESSAGE FROM RYAN MACDOUGALL "it must be so hard living so many different lies. I hope you find
                                               true joy someday."                                                      8/30/2021
EVENT   COMPUTER LOCKED DOWN                                                                                           8/30/2021
EVENT   EMAIL FROM KAZ NITISHI - co. equipment False claim about contact and owning machine                            9/2/2021
        COUNSEL TELLS LAWYER THEY OWN MY
EVENT   COMPUTER                                   Have stated they paid me for it                                     9/9/2021
        COUNSEL DOES NOT COMMUNICATE WITH
EVENT   MY LAWYER                                  Email from Paul, titled "Apple Appointment"                         9/10/2021
                                                   Asks Sam and Shelby to state I had an innapropriate relationship
EVENT   CAPITAL GROUP                              with client
EVENT   SAMANTHA GAMBLE                            Sam reports chris saying he had my "nudes" from my computer.
EVENT   SAMANTHA GAMBLE                            Sam reports chris saying I look hot when I cry.
EVENT   SAMANTHA GAMBLE                            Sam reports Chris saying I've made company in his name

        EMAIL FROM RYAN MACDOUGAL                  threatens to report me for stolen government data in email titled
EVENT                                              "Return of Company Equipment"

        EMAIL FROM RYAN MACDOUGAL                  State they have my personal data in email titled "Return of
EVENT                                              Company Equipment"


EVENT   HARRIS FISHMAN SAYS CHRIS IS URGING HIM
        NOT TO WORK WITH ME                                        (     g
EVENT   HAS ILF INVESTIGATED ME                 pedophiles)
                                                Holds team meeting discussing findings
EVENT   DEF CON                                 Files suit




                                                                                                            Maxie Reynolds
                                                                                                              9/27/2024

                                                                                                         Defense 3
                                                                                                           Douglas Armstrong, RPR
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        Exhibit 13
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ϭϱ     ZHNLQGRIVHWWKHPXSZKDWZHFDOOHGOLNHDSXEFUDZO

ϭϲ     VW\OH6RZH GKDYHDEXQFKRISDUWLHVLQGLIIHUHQW

ϭϳ     URRPVDQGSHRSOHFRXOGMXVWPRYHIURPSDUW\WRSDUW\

ϭϴ     $QGVRLIDYLOODJHZDQWHGWRKDYHDSDUW\WKH\

ϭϵ     FRXOGLW VDFWXDOO\KRZWKHYLOODJHVVWDUWHGZDV

ϮϬ     EHFDXVHZHPDGHSHRSOHOLNHJLYHXVVRPHW\SHRI

Ϯϭ     FRQWHQWIRUXVHRIWKHURRPIRUDSDUW\DWQLJKW,W

ϮϮ     ZDVMXVWNLQGRIDWUDGHRII

Ϯϯ     $QGLQWKLVFDVHWKHVRFLDOHQJLQHHULQJ
                $QGLQWKLVFDVHWKHVRFLDOHQJLQHHULQJ

Ϯϰ     YLOODJHZDVQRWXVLQJWKDWVSDFHDWQLJKW$QGVRZH

Ϯϱ     KDGDOORZHGIRUDQRWKHUJURXSWRKDYHDSDUW\LQWKHUH


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 ϭ     $QGZKDWWKDWPHDQWZDVWKDWWKHOLNH&KULVKDGD

 Ϯ     OLNHDPDNHVKLIWVRXQGSURRIERRWKWKDWKHXVHGIRUWKH

 ϯ     VRFLDOHQJLQHHULQJ&7)6RZKHQWKH\ZHUHPDNLQJFDOOV

 ϰ     DQGSHRSOHZHUHODXJKLQJDQGVWXIIWKH\ZRXOGQ WEOHHG

 ϱ     WKURXJKDQGWKHQDOVRMXVWDEXQFKRIFKDLUVULJKW

 ϲ     DQG,WKLQNDYHU\VPDOOVWDJHLI, PUHPHPEHULQJ

 ϳ     FRUUHFWO\

 ϴ     $QGZHZHUHMXVWJRLQJWRPRYHWKDWVWXIIRXW
                $QGZHZHUHMXVWJRLQJWRPRYHWKDWVWXIIRXW

 ϵ     DQGWKHQWKHJURXSZRXOGKDYHDSDUW\LQWKHUHDW

ϭϬ     QLJKW$QGWKHQZHZRXOGEULQJDOORIWKHVWXIIEDFN

ϭϭ     LQ$QG&KULVWRRNLVVXHZLWKWKDW/LNHKHZDVOLNH

ϭϮ     ,GRQ WZDQWWKDWWRKDSSHQEHFDXVH, YHJRWVRPXFK

ϭϯ     VWXIIWKDW VLQKHUH$QGOLNHZKDWLIWKH\EUHDNWKH

ϭϰ     ERRWKZKHQWKH\PRYHLWLQWRWKH40RXUTXDUWHUPDVWHU

ϭϱ     DUHD

ϭϲ     $QG,ZDVOLNH:HOOZH
                $QG,ZDVOLNH:HOOZH YHDOUHDG\ERRNHG

ϭϳ     WKHVSDFHZLWKWKDW\RXNQRZJURXS6ROLNHZH UH

ϭϴ     JRLQJWRXVHLW<RX UHQRWXVLQJLW

ϭϵ     +H
                +H VOLNH1RLW VQRWJRLQJWREHVHWXSLQ

ϮϬ     WKHPRUQLQJ,W VQRWJRLQJWREHVHWXSFRUUHFWO\,

Ϯϭ     NQRZLW VJRLQJWRJHWVFUHZHGXS

ϮϮ     $QGDJDLQ,NQRZWKDWOLNHDQGWKLV
                $QGDJDLQ,NQRZWKDWOLNHDQGWKLV

Ϯϯ     ZDVQ WRXWRIWKHRUGLQDU\IRU&KULVWREHOLNHQR

Ϯϰ     OLNHGRQ WGRDWKLQJRU,ZRXOGUDWKHUWKDW\RXGLGQ W

Ϯϱ     RUGRLWWKLVZD\LQVWHDG%HFDXVHDJDLQ,WKLQNWR


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 ϭ     KLVFUHGLWKHMXVWZDQWHGLWWRJRZHOO+HGLGQ W

 Ϯ     ZDQWWRFRPHLQLQWKHPRUQLQJDQGWKHQKDYHHYHU\WKLQJ

 ϯ     QRWVHWXSDQGWKHQKDYHWKHKRWHOVFUDPEOLQJWRVHWXS

 ϰ     FKDLUVDQGWKDWNLQGRIWKLQJ

 ϱ     $QG,ZDVMXVWOLNH/RRNPDQOLNHWKLVLV
                $QG,ZDVMXVWOLNH/RRNPDQOLNHWKLVLV

 ϲ     JRLQJWRKDSSHQ

 ϳ     $QGKHVDLG1RLW
                $QGKHVDLG1RLW VQRWJRLQJWRKDSSHQ

 ϴ     $QG,ZDVOLNH<HDKLWLVJRLQJWRKDSSHQ
                $QG,ZDVOLNH<HDKLWLVJRLQJWRKDSSHQ

 ϵ     $QGKH
                $QGKH VOLNH1RLW VDEVROXWHO\QRW

ϭϬ     KDSSHQLQJ$QGWKHQKH VOLNH,NQRZWKHNLQGRI

ϭϭ     SDUWLHVWKDWJHWWKURZQDW'()&21DQG, PQRWJRLQJ

ϭϮ     WRKDYHOLNHVWULSSHUVLQDURRPWKDW,DPKDYLQJWKH

ϭϯ     VRFLDOHQJLQHHULQJYLOODJHLQ

ϭϰ     $QG,ZDVOLNH/RRNPDQWKDW
                $QG,ZDVOLNH/RRNPDQWKDW VOLNH

ϭϱ     OLNHZKDWHYHULVKDSSHQLQJZKDWHYHUWKHJURXSLV

ϭϲ     GRLQJOLNH,GRQ WNQRZZKDWWKHLUSODQVDUHIRUWKH

ϭϳ     HYHQLQJ$QG, POLNH%XW, PQRWOLNHZH UH

ϭϴ     QRWGLVFXVVLQJWKLV/LNHLW VDOUHDG\GRQH7KH\ UH

ϭϵ     JRLQJWRFRPHLQ7KH\ UHJRLQJWRPRYHWKHFKDLUV

ϮϬ     (YHU\WKLQJZLOOEHVHWXSLQWKHPRUQLQJ<RXKDYHP\

Ϯϭ     ZRUGRQWKDW

ϮϮ     $QGWKHQKHMXVWNLQGRIOLNH,FDOOLW
                $QGWKHQKHMXVWNLQGRIOLNH,FDOOLW

Ϯϯ     IOLSSLQJDELWZKHUHOLNH\RXNQRZKHMXVWIOLSSHG

Ϯϰ     OLNHDVZLWFK$QGKHMXVWVWDUWHGVFUHDPLQJDWPH

Ϯϱ     $QGKHZDVOLNHDQGQRZ&KULVQRUPDOO\QHYHUVZHDUV


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 ϭ     ZKLFKLVVRWKLVLVSUHWW\OLNHVKRFNLQJ/LNH

 Ϯ     QRUPDOO\LIZH UHJLYLQJDWDONRUGRLQJDSDQHO

 ϯ     WRJHWKHURUDSRGFDVWRUZKDWHYHUKHMXVWGRHVQ W

 ϰ     VZHDU

 ϱ     %XWWKHQKHZDVMXVWOLNH)XFN\RX
                %XWWKHQKHZDVMXVWOLNH)XFN\RX

 ϲ     *ULIWHU

 ϳ     $QG,ZDVOLNH:KDW"/LNHLWWRWDOO\
                $QG,ZDVOLNH:KDW"/LNHLWWRWDOO\

 ϴ     FDXJKWPHRIIJXDUG+HZDVOLNH<RX UHIXFNLQJPH

 ϵ     7KDW VZKDW\RX UHGRLQJ$QGKHZDVOLNH, PJRLQJ

ϭϬ     WRHQGXSZLWKQRQHRIP\VWXII<RX UHUXLQLQJLW

ϭϭ     <RX UHWU\LQJWRVDERWDJHP\YLOODJH,NQRZZKDW V

ϭϮ     JRLQJWRKDSSHQLQKHUHWRQLJKW:H YHJRWWKH6(&7)

ϭϯ     IRUNLGVLQWKHPRUQLQJDQGWKH\ UHJRLQJWREH

ϭϰ     ZDONLQJDURXQGLQVWULSSHUMXLFHV,VWKDWZKDW\RX

ϭϱ     ZDQW",VWKDWZKDW\RXIXFNLQJZDQW":KDWDUH\RX

ϭϲ     VRPHNLQGRISHGRSKLOH"$UH\RXDSHGRSKLOH"'RHV

ϭϳ     WKDW,VWKDWVRPHWKLQJ\RXOLNHWRWKLQNDERXW

ϭϴ     EODKEODKEODK

ϭϵ     $QG,ZDVOLNHVRWDNHQDEDFNE\ZKDWZDV
                $QG,ZDVOLNHVRWDNHQDEDFNE\ZKDWZDV

ϮϬ     KDSSHQLQJ,WVKRFNHGPHLQWRHVVHQWLDOO\OLNH

Ϯϭ     VLOHQFH/LNH,ZDVOLNHLVWKLVUHDOO\KDSSHQLQJ"

ϮϮ     /LNH,ZDVOLNHLVKHVD\LQJWKHVHWKLQJV"$QGWKLV

Ϯϯ     ZDVOLNHLQIURQWRIVRPHRIKLVVWDIIOLNHIRUWKH

Ϯϰ     YLOODJHZKLFKZHUHVRPHRILWZDVKLVOLNHQRUPDO

Ϯϱ     FRPSDQ\VWDIIDQGVRPHZHUHMXVWYROXQWHHUV


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 ϭ     $QG,ZDVMXVWOLNHVWDULQJDWKLPOLNH
                $QG,ZDVMXVWOLNHVWDULQJDWKLPOLNH

 Ϯ     GXPEIRXQGHGDVKHFRQWLQXHGWROLNHVFUHDPDWPHDQG

 ϯ     ZDVOLNH<RX UHIXFNLQJPHOLNHMXVWRYHUDQGRYHU

 ϰ     MXVWUHSHWLWLYH

 ϱ     $QGWKHQDQG,MXVWVDLG/RRNOLNH

 ϲ     ILQDOO\,FDPHWRP\VHQVHV$QG,VDLG/RRNPDQ

 ϳ     WKLVLVKDSSHQLQJ$QGZH UHJRLQJWRWDONDERXWWKLV

 ϴ     ODWHU%HFDXVH,ZDVVRPDGWKDW,MXVWZDVOLNH,

 ϵ     KDYHWRUHPRYHP\VHOIIURPWKLVVLWXDWLRQULJKW"

ϭϬ     $QGVR,OHIW,ZHQWDQG,ZHQWDERXWWKH

ϭϭ     UHVWRIP\JRRQGXWLHVDVWKHYLOODJHOHDGDQGFRQWHVW

ϭϮ     OHDGDQGVWXII$QGVRDERXWPLQXWHVODWHURUVR

ϭϯ     &KULVUDQXSWRPHLQWKHKDOODQGZDVOLNH2KP\

ϭϰ     JRVKOLNH,DPVRVRUU\/LNHKH VOLNH,MXVW

ϭϱ     , YHEHHQVRVWUHVVHGDQG, YHKDGDORWJRLQJRQ

ϭϲ     DQG,DSRORJL]H<RXNQRZWKDWWKDW,GRQ WPHDQ

ϭϳ     WKDWOLNH, PVRVRVRUU\

ϭϴ     $QG,ZDVOLNH/RRNGXGHOLNHLW VILQH

ϭϵ     ULJKW"/LNH,ZDVOLNH%XW\RXFDQ W\RXFDQ W

ϮϬ     UHDFWWKDWZD\

Ϯϭ     +H VOLNH,NQRZ,NQRZ+H VOLNH, P

ϮϮ     MXVWUHDOO\UHDOO\VWUHVVHGRXWEHFDXVH, YHEHHQDW

Ϯϯ     %ODFN+DWDOOZHHNZLWKWKHOLNHZLWKWKHWUDLQLQJV

Ϯϰ     , YHEHHQ\RXNQRZ, YHEHHQUHDOO\VWUHVVHGRXW

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 ϭ     LQWRLWZHFDQEXW

 Ϯ     41R7KDW V

 ϯ     $%XW,DQG,VKHVDLGWKHUHDUHDOVR

 ϰ     \RXNQRZVKH VOLNH,GLGQ WZDQWWR,GLGQ W

 ϱ     ZDQWWRZRUNWKHUHDQ\PRUH,GLGQ WOHDYH+H V

 ϲ     FODLPLQJWKDW, PWU\LQJWRVWHDOFXVWRPHUVDQGWKDW

 ϳ     , PJRLQJWRVWDUWP\RZQFRPSDQ\WROLNHWDNHKLV

 ϴ     FOLHQWV$QGVKH VOLNH$QG, PQRW, PQRW

 ϵ     LQWHUHVWHGLQGRLQJWKDW, YHQHYHUSODQQHGWROLNH

ϭϬ     VWDUWDFRPSDQ\DQGWU\WRWDNHWKHVHFXVWRPHUVIURP

ϭϭ     KLP

ϭϮ     6KH VOLNHEXWWKHQEDVLFDOO\KHDFFXVHG

ϭϯ     KHURIWKRVHWKLQJVDQGVKH VOLNH,MXVWGLGQ W

ϭϰ     ZDQWWRZRUNWKHUHDQ\PRUH%HFDXVHOLNHPRVWRIWKH

ϭϱ     WLPHLWZDVILQHEXWWKHQWKHUHZHUHWLPHVZKHUHKH

ϭϲ     ZDVOLNHLQDSSURSULDWHRUKHZRXOGVKRXWDWWKHPRU

ϭϳ     FDOOWKHPQDPHVWHOOWKHPWKH\ZHUHVWXSLGRUWKDW

ϭϴ     WKH\ZKHQWKH\GLGVRPHWKLQJZURQJRUEODKEODK

ϭϵ     EODK

ϮϬ     $QGVKH
                $QGVKH VOLNHLWMXVWZDVQ WDJRRG

Ϯϭ     HQYLURQPHQWXOWLPDWHO\$QGVKHDQGVKHZDVOLNH

ϮϮ     <HDKOLNHPRVWRIWKHWLPHKHZDVOLNHILQH$QG

Ϯϯ     WKHQHYHU\RQFHLQDZKLOHKHZRXOGMXVWKDYHDKH

Ϯϰ     ZRXOGMXVWH[SORGHDQGVWDUW\HOOLQJDWSHRSOH

Ϯϱ     $QGKRQHVWO\OLNHLI,KDGKHDUGWKDWZLWKRXW
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 ϭ     KDYLQJP\RZQH[SHULHQFHRIWKDWZLWK&KULVDW'()&21

 Ϯ     ,PLJKWQRWKDYHEHOLHYHGLWMXVWEHFDXVHRIKRZ

 ϯ     &KULVQRUPDOO\FRQGXFWVKLPVHOILQSXEOLF%XWEHFDXVH

 ϰ     RIP\RZQH[SHULHQFH,ZDVOLNHRND\OLNH, YHKDG

 ϱ     WKDWEHIRUH, YHZLWQHVVHGWKDWEHIRUH

 ϲ     6RVKHVDLG<RXNQRZKH VVWLOOGRLQJWKHVH

 ϳ     WKLQJVDQGKH VVWLOOFRPLQJDIWHUPH$QGDOO, YH

 ϴ     GRQHLVTXLWP\MRE/LNH,GLGQ W,KDYHQ WGRQH

 ϵ     DQ\WKLQJWRKLP,MXVWZDQWKLPWROHDYHPHDORQH

ϭϬ     $QGVKH
                $QGVKH VOLNH$QGVR\RXNQRZ,ZHQWWR

ϭϭ     WKHZRUNIRUKLPEHFDXVHRIKLVVWDWLRQDW'()&21DQG

ϭϮ     OLNHWKHIDFWWKDWKHZDVOLNHWKLVYLOODJHRUJDQL]HU

ϭϯ     DQGOLNHKDGOLNHWKLVUHSXWDWLRQDQGDOOWKHVH

ϭϰ     WKLQJV6KHZDVOLNH6RKHKDVLQIOXHQFHRYHU

ϭϱ     SHRSOHDQGZKRKHKLUHVEDVHGRQKLVUHSXWDWLRQGXHWR

ϭϲ     KLVLQYROYHPHQWZLWK'()&21$QGVR,MXVWZDQW'()

ϭϳ     &21WRNQRZOLNHZKRWKHW\SHVRISHRSOHWKH\KDYHZKR

ϭϴ     DUHUXQQLQJWKHLUYLOODJHVDQGVWXII

ϭϵ     $QG,ZDVOLNH2ND\,XQGHUVWDQGWKDW

ϮϬ     $QG,ZDVOLNH:HOOZKDWGR\RXZDQWWRGRKHUH"

Ϯϭ     /LNHLVWKLVOLNHDOLNHZKHUH\RXZDQWKLPWRQRW

ϮϮ     EHWKHYLOODJHRUJDQL]HU"<RXZDQWKLPWRDQGVKH

Ϯϯ     ZDVOLNH1R6KH VOLNH$FWXDOO\,MXVWZDQWWKLV

Ϯϰ     WRVWRS6KH VOLNH,MXVWZDQWWREHOHIWDORQH

Ϯϱ     $QGVKH VOLNH,KDYHQ WGRQHDQ\WKLQJH[FHSWOHDYH


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

                                                                     WĂŐĞϰϭ
 ϭ     LVOLNHKLJKHUXSLQ%ODFN+DW"%HFDXVHKH VDWUDLQHU

 Ϯ     WKHUHDVZHOO

 ϯ     $QG,ZDVOLNH:HOOLW VIXQQ\WKDW\RX

 ϰ     VKRXOGVD\WKDWVRWKDW VDOVRPH, PRQWKH%ODFN

 ϱ     +DWOLNH,UXQWKHQHWZRUNRSHUDWLRQFHQWHUIRU

 ϲ     %ODFN+DW, YHEHHQSDUWRIWKHVWDIIDW%ODFN+DW

 ϳ     IRU\RXNQRZDWWKDWSRLQW\HDUV, PRQWKH&)3

 ϴ     UHYLHZERDUGVR,KHOSSDUWLFXODUWKHWDONVWKDWJRWR

 ϵ     WKHVWDJHDW%ODFN+DW$QG, PRQWKHWUDLQLQJUHYLHZ

ϭϬ     ERDUGVR,KHOSSLFNWKHWUDLQLQJFODVVHVDW%ODFN

ϭϭ     +DW

ϭϮ     $QGVKHZDVOLNH2KZHOOWKHQWKLVLV

ϭϯ     SHUIHFW/LNHFDQ\RXWDONWRWKHPDVZHOO"

ϭϰ     $QG,ZDVOLNH<HDK,FDQGRWKDW

ϭϱ     $QGVR\HDKWKDW V, PVXUH, POHDYLQJ

ϭϲ     RXWVRPHGHWDLOVVRPHZKHUH,IWKH\FRPHWRPH, OO

ϭϳ     WKURZWKHPRXWWKHUH%XWWKDW VWKHE\DQGODUJH

ϭϴ     KRZWKDWFRQYHUVDWLRQWKDWILUVWFRQYHUVDWLRQZHQW

ϭϵ     4*RWLW6RLI,
            4*RWLW6RLI, PXQGHUVWDQGLQJFRUUHFWO\

ϮϬ     0D[LHDQGRWKHUSHRSOHUHDFKHGRXWWR\RXEHFDXVHWKH\

Ϯϭ     VDZ\RXDVDVHQLRUPHPEHUDW'()&21ZKRFRXOGWDONWR

ϮϮ     0D[LHDERXWKHUFRPSODLQWVZLWK&KULVLVWKDWIDLU"

Ϯϯ     $<HDK,ZRXOGVD\LW
            $<HDK,ZRXOGVD\LW V

Ϯϰ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

Ϯϱ     $6RUU\0DUN
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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     4<RXFDQDQVZHU
            4<RXFDQDQVZHU

 Ϯ     $2KRND\6R,ZRXOGVD\WKDWLW
            $2KRND\6R,ZRXOGVD\WKDWLW VWZRSDUW

 ϯ     6RVKHWKHUHZDVWZRUHDVRQVWKDWVKHUHDFKHGRXWWR

 ϰ     PH2QHZDVEHFDXVH,ZDVDVHQLRUPHPEHURIWKH'()

 ϱ     &21VWDII$QGWZREHFDXVHPXOWLSOHSHRSOHKDGVDLG

 ϲ     OLNH*ULIWHULVVRPHERG\WKDW\RXFDQWUXVW/LNHDQG

 ϳ     VRLWZDVP\SRVLWLRQZLWKLQWKHRUJDQL]DWLRQEXWDOVR

 ϴ     NLQGRIOLNHP\UHSXWDWLRQZLWKLQWKHFRPPXQLW\VR

 ϵ     4*RWLW$QGVKHUHDFKHGRXWWR\RXEHFDXVH

ϭϬ     HVVHQWLDOO\VKHIHOWVKHZDVEHLQJKDUDVVHGE\&KULV

ϭϭ     +DGQDJ\"

ϭϮ     $&RUUHFW

ϭϯ     4,ZDQWWRNLQGRIQDLOGRQHDOLWWOHELWRID

ϭϰ     WLPHOLQHKHUHVR, PJRLQJWRMXPSLQWRVRPHRIWKH

ϭϱ     H[KLELWVDQGJREDFNDQGIRUWK

ϭϲ     $6XUH

ϭϳ     46RPRYLQJWR([KLELW1RJLYHPHRQH

ϭϴ     VHFRQGWKLVLVDGRFXPHQWWKDW\RXSURGXFHGODVW

ϭϵ     QLJKWWKDWZHKDYH%DWHVVWDPSHG:</(5<RX OOVHH

ϮϬ     DWWKHWRSWKLVLVDPHVVDJHEHWZHHQ-HII0RVVDQG

Ϯϭ     \RXUVHOIGDWHG$XJXVWWK

ϮϮ     7RWKHEHVWRI\RXUNQRZOHGJH0U:\OHUDUH

Ϯϯ     DOORIWKHGRFXPHQWVWKDW\RXSURGXFHGWRXVWUXHDQG

Ϯϰ     DFFXUDWHFRSLHVRI\RXUFRPPXQLFDWLRQVZLWKDOORIWKH

Ϯϱ     GLIIHUHQWLQGLYLGXDOVWKDW\RXVHQWXVSLFWXUHVIRU"


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     $<HV7KDW VHYHU\WKLQJWKDW,KDYH

 Ϯ     4*RWLW$QGRQ$XJXVWWK\RX

 ϯ     PHVVDJHG-HII0RVVFRUUHFW"

 ϰ     $,GLGWKDW VFRUUHFW

 ϱ     4$QG\RXWROG0U0RVVWKDW\RX YHKDG

 ϲ     PXOWLSOHSHRSOHUHDFKRXWWRPHWRGD\WRWDONDERXW

 ϳ     DYLOODJHDQGFRQWHVWRUJDQL]HUWKDW VWKUHDWHQLQJDQG

 ϴ     KDUDVVLQJDIRUPHUHPSOR\HH,W V&KULV+DGQDJ\

 ϵ     'LG\RXZULWHWKDW"

ϭϬ     $,GLG

ϭϭ     4*RWLW$QGDIWHU\RXWROGWKLVWR0U0RVV

ϭϮ     GLG\RXGLVFXVVDWDQ\SRLQWWKLVLQIRUPDWLRQRQD

ϭϯ     SKRQHFDOO"

ϭϰ     $<HV

ϭϱ     42ND\$QGGR\RXUHFDOOZDVWKDW$XJXVWWK
            42ND\$QGGR\RXUHFDOOZDVWKDW$XJXVWWK

ϭϲ     WKDW\RXKDGDSKRQHFDOOZLWK0U0RVV"

ϭϳ     $<HV
            $<HV

ϭϴ     4$QGZKDWGLG\RXGLVFXVVZLWK0U0RVVGXULQJ
            4$QGZKDWGLG\RXGLVFXVVZLWK0U0RVVGXULQJ

ϭϵ     WKDWSKRQHFDOO"

ϮϬ     $(VVHQWLDOO\ZKDWZHMXVWGLVFXVVHG\RXNQRZ
            $(VVHQWLDOO\ZKDWZHMXVWGLVFXVVHG\RXNQRZ

Ϯϭ     WKHFRQWHQWRIWKHFDOOZLWK0D[LHZKDWWKH

ϮϮ     DFFXVDWLRQVZHUHVRPHRIWKHWKLQJVWKDWZHUHJRLQJ

Ϯϯ     RQ$QGWKHQ,MXVWDVNHGKLPLILWZDVRND\LI,

Ϯϰ     VSRNHRQ'()&21 VEHKDOIULJKW"$QGEHFDXVH,

Ϯϱ     GLGQ WWKDWZDVVRPHWKLQJ,GLGQ WZDQWWRVSHDN


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

                                                                     WĂŐĞϰϰ
 ϭ     \RXNQRZIRU-HIIRUIRU'()&21ZLWKRXWWDONLQJWR

 Ϯ     -HIIILUVWULJKW"

 ϯ     4'LG0U0RVVJLYH\RXSHUPLVVLRQWRVSHDNZLWK
            4'LG0U0RVVJLYH\RXSHUPLVVLRQWRVSHDNZLWK

 ϰ     0U+DGQDJ\RQEHKDOIRI'()&21"

 ϱ     $<HV
            $<HV

 ϲ     42ND\'LG\RXWDONWR%ODFN+DWDWDQ\SRLQW

 ϳ     DERXWWDONLQJWR0U+DGQDJ\DERXWKLVFODLPV"

 ϴ     $,GLG\HV

 ϵ     4:KRGLG\RXWDONWRIURP%ODFN+DW"

ϭϬ     $6R,WDONHGWR6WHYH2OGHQERXUJDQGH[FXVH

ϭϭ     PH,WKLQNLWZDVMXVW6WHYH2OGHQERXUJDQGWKHQKH

ϭϮ     VSRNHWR6WHYH:\OLH6R6WHYH2OGHQERXUJLVOLNHWKH

ϭϯ     JHQHUDOPDQDJHURI%ODFN+DWDQGWKHQ6WHYH:\OLHLV

ϭϰ     RYHUDOORIZHFDOOLWOLNH,QIRUPD7HFKZKLFK

ϭϱ     HQFRPSDVVHVVHYHUDORIWKHLUF\EHUWKHLU

ϭϲ     F\EHUVHFXULW\HYHQWVSDFHHVVHQWLDOO\VR\HDK

ϭϳ     4$QGZDVWKDWRQRUDURXQG$XJXVWWK"

ϭϴ     $,WZDVWKHVDPHGD\\HDK6DPHGD\

ϭϵ     4$QGGLG%ODFN+DWJLYH\RXSHUPLVVLRQWRWDON

ϮϬ     WR0U+DGQDJ\RQEHKDOIRI%ODFN+DW"

Ϯϭ     $7KH\GLG\HV

ϮϮ     42ND\,ZDQWWRJRWR([KLELW$QG,MXVW

Ϯϯ     KDYHDFRXSOHRITXHVWLRQVDQGZH OOWDNHDEUHDN

Ϯϰ     VLQFHZH UHDWWKHWRSRIWKHKRXURUFORVHWRLWDQG

Ϯϱ     WKHQZH OOMXPSLQWRLW


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 ϭ     $<HDK,JHWLW

 Ϯ     42ND\6RZHMXVWNLQGRIILQLVKHGXSRQWKH

 ϯ     WLPHOLQHRIWKHWKWRWK,ZDQWWRQRZJRLQWR

 ϰ     NLQGRI\RXUFRQYHUVDWLRQZLWK&KULV6RZH OOJREDFN

 ϱ     WR([KLELW

 ϲ     6R\RXUHDFKHGRXWWR&KULV+DGQDJ\RQ

 ϳ     $XJXVWWKFRUUHFW"

 ϴ     $&RUUHFW

 ϵ     4$QG&KULVVDLGWKDWKHZRXOGFDOO\RXLQILYH

ϭϬ     $QGZKDWKHUHDOO\ZDQWHGWRNQRZZDVZKDW%ODFN+DW

ϭϭ     DQG'()&21ZHUHSODQQLQJWRGRZLWKWKLVLQIRUPDWLRQ

ϭϮ     LVWKDWULJKW"

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ϭϰ     4'R\RXNQRZZK\&KULVVDLGKHZDQWHGWRNQRZ
            4'R\RXNQRZZK\&KULVVDLGKHZDQWHGWRNQRZ

ϭϱ     ZKDW%ODFN+DWDQG'()&21ZRXOGGRZLWKWKLV

ϭϲ     LQIRUPDWLRQ"

ϭϳ     $:HOOUHDOO\,PHDQ,FDQRQO\VSHFXODWH
            $:HOOUHDOO\,PHDQ,FDQRQO\VSHFXODWH

ϭϴ     /LNHREYLRXVO\ZHGLGQ WKDYHWKHFDOO<RXFDQVHH

ϭϵ     WKHUH VQRFDOOUHFRUGVRZHZHUHKHVDLG\RX

ϮϬ     NQRZZHZHUHJRLQJWRWDONLQILYHEXWZHQHYHU

Ϯϭ     DFWXDOO\KDGWKHFDOOHGXQWLOODWHUWKDWQLJKW6R

ϮϮ     REYLRXVO\KHKDGDIHZKRXUVWRWKLQNDERXWZKDWLW

Ϯϯ     FRXOGKDYHEHHQDERXW

Ϯϰ     $QGWKHQEHFDXVH,VDLG7DONWR\RXVRRQDW
                $QGWKHQEHFDXVH,VDLG7DONWR\RXVRRQDW

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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     KHZDVDVNLQJPHZKDWGRHV%ODFN+DWDQG'()&21SODQ

 Ϯ     WRGRZLWKWKLVLQIR:HKDGQ WKDGDFDOO\HW6RKH

 ϯ     ZDVREYLRXVO\OLNHUXQQLQJWKURXJKKLVPLQGOLNHZKDW

 ϰ     DUHWKHWKLQJVWKDWWKH\FRXOGEHFRPLQJWRPHDERXW

 ϱ     DQGZDVOLNH:HOOZKDWDUH\RXJRLQJWRGRULJKW"

 ϲ     7KHRQO\WKLQJWKDW,KDGVDLGXSWRWKLV
                7KHRQO\WKLQJWKDW,KDGVDLGXSWRWKLV

 ϳ     SRLQWLVH[DFWO\ZKDW\RXVHHLQWKLVILUVWWH[W

 ϴ     PHVVDJHZKLFKLVMXVW7KHUH VFRQFHUQVIURPDERXW

 ϵ     \RXDQGDIRUPHUHPSOR\HH$UH\RXIUHHWRFKDW"

ϭϬ     $QGEHFDXVH,ZDQWHGWRJHWKLVVLGHRIWKHVWRU\

ϭϭ     $QGKH VDOUHDG\DVNLQJ:KDWDUH%ODFN+DWDQG'()

ϭϮ     &21SODQQLQJWRGRZLWKWKLVLQIR"

ϭϯ     1RZDJDLQ,NQRZWKDWLQWKURXJKRXWWKLV
                1RZDJDLQ,NQRZWKDWLQWKURXJKRXWWKLV

ϭϰ     HQWLUHSURFHVVOLNH&KULVKDVVDLGWKDW<RXNQRZ

ϭϱ     ZHOO,GLGQ WVSHDNWRDQ\ERG\IURP'()&21DQG,

ϭϲ     GLGQ WDQG\RXNQRZRU%ODFN+DWRUZKDWHYHU

ϭϳ     %XWEHIRUHZHHYHQKDGWKHILUVWSKRQHFDOO&KULVLV

ϭϴ     DVNLQJPHZKDW'()&21DQG%ODFN+DWSODQWRGR

ϭϵ     6R,WKLQNZLWKLQWKHILUVWPHVVDJHVLW
                6R,WKLQNZLWKLQWKHILUVWPHVVDJHVLW

ϮϬ     HVWDEOLVKHVOLNHWKDW,DPDFWLQJDVPHGLDWRUIRUERWK

Ϯϭ     %ODFN+DWDQG'()&21HYHQLQ&KULV YLHZZLWKRXW

ϮϮ     HYHUKDYLQJKDGDFRQYHUVDWLRQZLWKPH-XVWIURPWKH

Ϯϯ     ILUVWPHVVDJHKHNQRZVZKDWP\VWDWLRQLVDWERWK'()

Ϯϰ     &21DQGDW%ODFN+DW$QGVRKH VDVNLQJPH

Ϯϱ     HVVHQWLDOO\ZKDWGRWKHVHRUJDQL]DWLRQVSODQWRGR


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 ϭ     DERXWWKLV$QGLW VOLNHZHOOOHW VWDONILUVWDQG

 Ϯ     WKHQZH OOGHFLGHZKDWWKDWDFWLRQLV

 ϯ     %XW,WKLQNWKDW
                %XW,WKLQNWKDW V,FDQWHOO\RXDQG

 ϰ     , PVXUHZH UHJRLQJWRJHWLQWRLW%XWWKDWZDVD

 ϱ     YHU\ELJSRLQWRIIUXVWUDWLRQIRUPHWKURXJKRXWWKH

 ϲ     ODVWVHYHUDO\HDUVLVWKHFODLPWKDWQRERG\KDGHYHU

 ϳ     VSRNHQWRKLPDERXWWKHDOOHJDWLRQVRUDERXWZKDWZDV

 ϴ     JRLQJRQDQGWKDWKHGLGQ WNQRZZK\WKLVZDV

 ϵ     KDSSHQLQJ

ϭϬ     $QG\RXFDQVHHZLWKLQWKHILUVWFRXSOHRI
                $QG\RXFDQVHHZLWKLQWKHILUVWFRXSOHRI

ϭϭ     PHVVDJHVEHIRUHZHKDGWKHILUVWSKRQHFDOOKH V

ϭϮ     DVNLQJPHZKDW%ODFN+DWDQG'()&21SODQWRGR,I,

ϭϯ     ZDVQRWDVHQLRUPHPEHURIERWKRIWKRVHRUJDQL]DWLRQV

ϭϰ     KRZZRXOG,KDYHWKDWLQIRUPDWLRQ"$QGLIKHGLGQ W

ϭϱ     EHOLHYHPHWREHDVHQLRUPHPEHURIWKRVH

ϭϲ     RUJDQL]DWLRQVZK\ZRXOGKHDVNPHWKDW"

ϭϳ     4*RWLW6RJRLQJLQWRWKHFDOOWKDW\RXKDYH
            4*RWLW6RJRLQJLQWRWKHFDOOWKDW\RXKDYH

ϭϴ     ZLWK&KULV\RXVDZ\RXUVHOIDVDUHSUHVHQWDWLYHRI

ϭϵ     ERWK'()&21DQG%ODFN+DW"

ϮϬ     $<HV7KDW
            $<HV7KDW VZK\,FDOOHGWKHPILUVW/LNH,

Ϯϭ     NQHZWKDWLWZDVLPSRUWDQWIRUPHWRKDYHSHUPLVVLRQWR

ϮϮ     VSHDN\RXNQRZDVDUHSUHVHQWDWLYHRIERWK'()&21

Ϯϯ     DQG%ODFN+DWWKDW,VKRXOGQRWJHWRQWKHSKRQHWR

Ϯϰ     &KULVZLWKRXWKDYLQJGLVFXVVHGZKDW,ZDVJRLQJWRWDON

Ϯϱ     WR&KULVDERXWZLWKWKRVHRUJDQL]DWLRQV


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     4$QGWKHILUVWTXHVWLRQWKDW&KULVDVNHG\RXLV

 Ϯ     ZKDWLV%ODFN+DWDQG'()&21SODQQLQJWRGRZLWKWKLV

 ϯ     LQIRUPDWLRQ"

 ϰ     $&RUUHFW

 ϱ     4$QG\RXXQGHUVWDQGWKDWPHVVDJHWRPHDQWKDW

 ϲ     &KULVKLPVHOIVDZ\RXDVDFWLQJRQEHKDOIRI'()&21

 ϳ     DQG%ODFN+DW"

 ϴ     $&RUUHFW

 ϵ     42ND\

ϭϬ     $0DUN\RX UHPXWHG

ϭϭ     7+(5(3257(50DUN\RX UHPXWHG,

ϭϮ     GLGJHW\RXUREMHFWLRQ

ϭϯ     05&215$'2EMHFWWRIRUP$SSUHFLDWH

ϭϰ     LW

ϭϱ     7+(:,71(66<HDKQRZRUULHV,VDZ

ϭϲ     \RX

ϭϳ     05&215$'6RUU\,KDGVRPH

ϭϴ     EDFNJURXQGQRLVH

ϭϵ     7+(:,71(66WDONLQJ

ϮϬ     05&215$',DSSUHFLDWHLW1HLO

Ϯϭ     6RUU\,KDGVRPHEDFNJURXQGQRLVH,ZDVWU\LQJWRFXW

ϮϮ     RXW

Ϯϯ     4%<05'($17KHQXOWLPDWHO\\RXKDGDFDOO
            4%<05'($17KHQXOWLPDWHO\\RXKDGDFDOO

Ϯϰ     ZLWK&KULV+DGQDJ\DWRQ$XJXVWWKFRUUHFW"

Ϯϱ     $7KDW
            $7KDW VFRUUHFW


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     47HOOPHZKDWKDSSHQHGGXULQJWKDWFRQYHUVDWLRQ
            47HOOPHZKDWKDSSHQHGGXULQJWKDWFRQYHUVDWLRQ

 Ϯ     ZLWK&KULV

 ϯ     $6RLQLWLDOO\,VDLGOLNH+H\\RXNQRZ,
            $6RLQLWLDOO\,VDLGOLNH+H\\RXNQRZ, YH

 ϰ     JRWWHQDFDOOIURPVRPHERG\ZKRLVDIRUPHUHPSOR\HHRI

 ϱ     \RXUVZKRLVVD\LQJWKDWWKH\DUHH[SHULHQFLQJVRPH

 ϲ     \RXNQRZVRPHEXOO\LQJRUVRPHKDUDVVPHQW

 ϳ     $QGKHVDLG:KRLVLW"
                $QGKHVDLG:KRLVLW"

 ϴ     $QG,ZDVOLNH:HOO,GRQ
                $QG,ZDVOLNH:HOO,GRQ WZDQWWRGLVFXVV

 ϵ     QDPHVULJKWQRZ$QGWKHQKHZDVOLNH,VLWWKLV

ϭϬ     SHUVRQ"

ϭϭ     $QG,ZDVOLNH,
                $QG,ZDVOLNH, PQRWJRLQJWRWDONDERXW

ϭϮ     QDPHV$QGKHZDVOLNH,VLWWKLVSHUVRQ"

ϭϯ     $QG,ZDVOLNH&KULVZH
                $QG,ZDVOLNH&KULVZH UHQRWJRLQJWR

ϭϰ     WDONDERXWOLNHZKRLWLV$QG,GRQ WZDQW\RXNQRZ

ϭϱ     DGGLWLRQDOQDPHV

ϭϲ     $QGKHZDVOLNH,VLWWKLVSHUVRQ"$QG,
                $QGKHZDVOLNH,VLWWKLVSHUVRQ"$QG, P

ϭϳ     OLNH2KP\JRVK$QGKHZDVOLNH2ULW V

ϭϴ     SUREDEO\WKLVSHUVRQRUWKLVSHUVRQ

ϭϵ     $QG,ZDVOLNH&KULVVWRS$QG,ZDV
                $QG,ZDVOLNH&KULVVWRS$QG,ZDV

ϮϬ     OLNH+RO\VKLWPDQ/LNH,KDYHQ WHYHQJLYHQ\RX

Ϯϭ     DVLQJOHQDPH,VDLG,GRQ WZDQWWRWDONDERXW

ϮϮ     QDPHVDQG\RX YHMXVWYROXQWHHUHGDKDOIDGR]HQQDPHV

Ϯϯ     WRPH$QG,KDYHQ WVDLGDZRUG,ZDVOLNH'RQ W

Ϯϰ     \RXWKLQNWKDWWKDW VDSUREOHP"

Ϯϱ     $QGKH
                $QGKH VOLNH1RPDQQR%HFDXVHZKHQ\RX


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

                                                                     WĂŐĞϱϮ
 ϭ     JHWWRP\SRVLWLRQLQWKLVLQGXVWU\\RX\RXNQRZ

 Ϯ     \RXZLOODWWUDFWKDWHUVOLNHDQGSHRSOHZKRZDQWWRVHH

 ϯ     \RXIDOO

 ϰ     $QG,ZDVOLNH2ND\%XW,DPLQDIDLUO\
                $QG,ZDVOLNH2ND\%XW,DPLQDIDLUO\

 ϱ     VHQLRUSRVLWLRQLQWKLVFRPPXQLW\DQGLQGXVWU\$QGLI

 ϲ     VRPHERG\FDPHWRPHWRGD\DQGVDLG *ULIWHUZHKDYH

 ϳ     JRWWHQDSKRQHFDOODQGVRPHERG\LVVD\LQJWKDW\RXDUH

 ϴ     EXOO\LQJDQGKDUDVVLQJWKHP ,ZRXOGKDYHQRLGHDZKR

 ϵ     WKDWSHUVRQZDV,ZRXOGKDYHQRLGHD$QG,ZDV

ϭϬ     OLNH%XW\RXMXVWYROXQWHHUHGDKDOIGR]HQQDPHVWR

ϭϭ     PH

ϭϮ     $QGKH
                $QGKH VOLNH<HDK1R\RXGRQ WJHWLW

ϭϯ     <RXGRQ WJHWLW$QG,ZDVOLNH2ND\0DQZHOO

ϭϰ     KHUH VZKDWWKHVHWKLQJVDUHDERXW$QG,VWDUWHGWR

ϭϱ     NLQGRIWDONDERXWWKHWKLQJVWKDW0D[LHKDGWROGPH

ϭϲ     $QGKHJRHV2ND\2ND\,W
                $QGKHJRHV2ND\2ND\,W V0D[LHWKHQ

ϭϳ     ,ZDVOLNH$OOULJKW6RLW V0D[LH$QG,ZDV
                                      V0D[LH

ϭϴ     OLNH&KULVOLNHDUH\RXGRLQJWKHVHWKLQJV"

ϭϵ     $QGKHZDVOLNH<HDKEXWEXW\RXGRQ W

ϮϬ     XQGHUVWDQGWKHFRQWH[WOLNHOLNHKHUH VZKDW VJRLQJ

Ϯϭ     RQ$QGKHZDVOLNH6KH V\RXNQRZVKH V

ϮϮ     VWROHQGDWDIURPPHIURPP\FRPSDQ\6KHKDVP\

Ϯϯ     FRPSDQ\ VGDWDRQDODSWRSWKDWLVWKHFRPSDQ\ V

Ϯϰ     ODSWRSDQGVKH VXVLQJWKDWLQIRUPDWLRQWRWU\WR

Ϯϱ     VWHDOFXVWRPHUVIURPPH6KH VJRLQJWRJRVWDUWKHU


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     RZQEXVLQHVV6KH VJRLQJWRGRWKLVOLNHDQG

 Ϯ     KH VOLNH, YHJRWHYLGHQFHRIWKLV, YHJRW

 ϯ     HYLGHQFHRIWKLVVR

 ϰ     $QG,ZDVOLNH2ND\:HOOWKHQDUH\RX
                $QG,ZDVOLNH2ND\:HOOWKHQDUH\RX

 ϱ     $UH\RXJRLQJDIWHUKHUSXEOLVKHUWRWU\WRVWRSWKH

 ϲ     ERRN"/LNHDUH\RXKDUDVVLQJKHUHGLWRURUSXEOLVKHU

 ϳ     RUZKDWHYHU"

 ϴ     $QGKHZDVOLNH<HDKEXWWKH%XW
                $QGKHZDVOLNH<HDKEXWWKH%XW

 ϵ     KHUH VWKHWKLQJLW VOLNH\RXGRQ WJHWLW,W V

ϭϬ     EHFDXVHWKHLQIRUPDWLRQWKDW VLQWKDWERRNLVWKLQJV

ϭϭ     WKDW0D[LHOHDUQHGZKLOHVKHZDVZRUNLQJIRUPHVR

ϭϮ     WKDW VP\LQWHOOHFWXDOSURSHUW\

ϭϯ     $QG,ZDVOLNH&KULVWKDWLVQRWOLNH

ϭϰ     WKDW VQRWKRZWKDWZRUNV/LNHWKDWZRXOGPHDQWKDW

ϭϱ     HYHU\SHUVRQZKRHYHUZURWHZKRZURWHDERRNDIWHU

ϭϲ     WKH\ZHQWWRFROOHJHWKDWLQIRUPDWLRQEHORQJVWRWKHLU

ϭϳ     SURIHVVRUEHFDXVHOLNHWKH\OHDUQHGLWDWVFKRRO"/LNH

ϭϴ     \RXFDQ WFODLPWKDWEHFDXVHVRPHRQHOHDUQHGVRPHWKLQJ

ϭϵ     ZKLOHWKH\ZRUNHGIRU\RXWKDW\RXWKHQRZQDQ\

ϮϬ     OLNH\RXNQRZDQ\WKLQJWKH\GRDIWHUWKDWLIWKH\

Ϯϭ     FUHDWHDFODVVLIWKH\ZULWHDERRNLIWKH\SXWRXWD

ϮϮ     ZKLWHSDSHU/LNHWKDW VQRW\RXULQIRUPDWLRQ

Ϯϯ     +H VOLNH1RDEVROXWHO\QRW,W VP\

Ϯϰ     LQIRUPDWLRQ6KHOHDUQHGLWIURPPH

Ϯϱ     $QG, POLNH2ND\:HOOWKDWGRHVQ W


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     $QGOLNHDWHYHU\VWHSZHWDONHGDERXWWKLQJV

 Ϯ     WKDWKHMXVWVDLG<HDKEXW

 ϯ     $QGVRQRZ,WKRXJKWRIDQRWKHUWKLQJWKDW

 ϰ     0D[LHKDGVDLG%HFDXVH,DVNHGLIWKHUHZDVDQ\WKLQJ

 ϱ     WKDWZDVOLNHVH[XDOKDUDVVPHQWRUDQ\WKLQJDQGVKH

 ϲ     VDLGQRRXWVLGHRIWKDWKH\RXNQRZZRXOGPDNH

 ϳ     FRPPHQWVKHUHDQGWKHUH%XWWKH\ZHUHWKLQJVWKDW

 ϴ     OLNHVKHMXVWEOHZRIIPRVWO\

 ϵ     %XWRQHWKLQJWKDWZDVVDLGWKDWZDVZHLUGZDV

ϭϬ     OLNHWKDWVKHZDVOLNH2K\RXNQRZKHZRXOGWDON

ϭϭ     DERXWZKHWKHUKHZDVOLNHDEXWWRUDERREJX\RU

ϭϮ     EODKEODKEODK/LNHDQGLQWDONLQJWRKLPDERXW

ϭϯ     WKDWKHZDVMXVWOLNH'XGHLWZDVMXVWWKURZDZD\

ϭϰ     FRPPHQWV7KH\ UHQRWDQGVR,ZDVOLNHRND\DW

ϭϱ     OHDVWZH UHQRWGHDOLQJZLWKOLNHVH[XDOKDUDVVPHQW

ϭϲ     KHUH$WOHDVWWKDW VZKDW,KDGEHOLHYHGXSWRWKDW

ϭϳ     SRLQW

ϭϴ     $QGVR\HDKWKDW
                $QGVR\HDKWKDW VHVVHQWLDOO\KRZWKDW

ϭϵ     FRQYHUVDWLRQZHQWZDVLWZDVDVHULHVRIOLNH\HDK

ϮϬ     EXW\HDKEXW/LNHHYHU\WKLQJWKDWVKHKDGVDLGKH

Ϯϭ     ZDVGRLQJWKDWZDVRIVRPHNLQGRIKDUDVVLQJQDWXUHKH

ϮϮ     DJUHHGWKDWKHKDGGRQHLWULJKW"6R,ZDVRKRQH
       DJUHHGWKDWKHKDGGRQHLWULJKW"6
                                           6R,ZDVRKRQH

Ϯϯ     RIWKHWKLQJVZDVDWHOHYLVLRQVKRZWKDWVKHZDVKDG

Ϯϰ     MXVWUHFHQWO\EHHQKLUHGWREHOLNHDWHFKQLFDO

Ϯϱ     FRQVXOWDQWIRUIRUWKHKDFNLQJVLGHRIWKLQJV


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     $QGVKHKDGVDLGWKDWKHWULHGWRJHWKHU
                $QGVKHKDGVDLGWKDWKHWULHGWRJHWKHU

 Ϯ     ILUHGRIIRIWKDWVKRZ$QG,DVNHGKLPDERXWWKDW

 ϯ     $QGKHVDLG<HDKEXWWKHSURGXFHURIWKHVKRZ,

 ϰ     FDQ WUHFDOOKLVQDPHLVDIULHQGRIPLQH$QG,

 ϱ     GRQ WZDQW\RXNQRZWKLHYHVZRUNLQJIRUKLPRU

 ϲ     ZKDWHYHU6R\HV,UHDFKHGRXWWRKLPDQGWROGKLP

 ϳ     OLNHWKHNLQGRISHUVRQVKHZDV

 ϴ     $QGVROLNH,VDLGDWHYHU\WKLQJWKDW,KDG
                $QGVROLNH,VDLGDWHYHU\WKLQJWKDW,KDG

 ϵ     MXVWKHDUGIURP0D[LHZKHQ,KDGWKHLQLWLDO

ϭϬ     GLVFXVVLRQZLWK&KULVDQGVWDUWHGWROLNHOLVWRIIWKH

ϭϭ     WKLQJVWKDWVKHZDVVD\LQJZHUHKDUDVVLQJRUEXOO\LQJ

ϭϮ     EHKDYLRUKHDJUHHGWKDWKHKDGGRQHWKHPEXWKHMXVW

ϭϯ     WKRXJKWWKDWKHZDVMXVWLILHGLQGRLQJWKHPIRURQH

ϭϰ     UHDVRQRUDQRWKHU$QGKHZRXOGWU\WR\RXNQRZ

ϭϱ     MXVWLI\WKDWEHKDYLRUE\H[SODLQLQJZK\LWZDVRND\IRU

ϭϲ     KLPWRGRLW

ϭϳ     :HOOLW VEHFDXVHVKH VDWKLHI:HOOLW V

ϭϴ     EHFDXVHWKDW VUHDOO\P\LQWHOOHFWXDOSURSHUW\:HOO

ϭϵ     LW VEHFDXVH,GRQ WZDQWP\IULHQGVZRUNLQJZLWK

ϮϬ     ZKRHYHU,JRWKHURIIWKHSRGFDVWEHFDXVHDJDLQVKH
                 ,JRWKHURIIWKHSRGFDVWEHFDXVHDJDLQVKH

Ϯϭ     VWROHIURPPHDQG,GRQ WZDQWP\IULHQGVKDYLQJKHU

ϮϮ     RQDSRGFDVWRUZKDWHYHU

Ϯϯ     $QGDJDLQWKHZKROHLVOLNH:KDWGLGVKH

Ϯϰ     VWHDOIURP"$QGLWZDV:HOOVKH VVWHDOLQJP\

Ϯϱ     FXVWRPHUVDQGVKHLVVWHDOLQJGDWDIURPPH6KHKDV


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 ϭ     ,KHZDVOLNH, OOEXUQLWDOOWRWKHJURXQG

 Ϯ     EHIRUH,OHWVRPHERG\KHVDLG, OOSXOOD'DYH

 ϯ     .HQQHG\DQGEXUQLWDOOWRWKHJURXQGEHIRUH,OHW

 ϰ     VRPHERG\VWHDOIURPPH

 ϱ     $QG,ZDVOLNH'XGH, PWHOOLQJ\RXMXVW

 ϲ     VWRS/LNHMXVWVWRS$QGKH VOLNHDQGKHMXVW

 ϳ     VDLG:HOO, PQRWGRLQJDQ\WKLQJZURQJ

 ϴ     $QG,ZDVOLNH$OOULJKW:HOOOLNH
                $QG,ZDVOLNH$OOULJKW:HOOOLNH

 ϵ     , OO\RXNQRZ, OOOHWKHUNQRZRU, OOWDONWR

ϭϬ     KHUZKDWHYHUEODKEODKEODK/DWHUWKDWGD\D

ϭϭ     FRXSOHRIKRXUVODWHUKHVHQWPHDWH[WRU,WKLQN

ϭϮ     LWZDVDWH[W$QGKHVDLGOLNH$OOULJKW, OO

ϭϯ     GURSLW

ϭϰ     6R,WKLQNPD\EHKHKDGVRPHWLPHWROLNHWDON
                6R,WKLQNPD\EHKHKDGVRPHWLPHWROLNHWDON

ϭϱ     WRDODZ\HURUSHRSOHDWKLVFRPSDQ\RUVRPHWKLQJDQG

ϭϲ     GHFLGHGOLNHXOWLPDWHO\OLNH<RXNQRZZKDW",ZLOO

ϭϳ     ORVHDQGVRWKLVLVQ WDJRRGLGHD$QGVRKHVDLG

ϭϴ     , OOMXVWGURSLWDOO

ϭϵ     $QG,VDLG2ND\7KDW
                $QG,VDLG2ND\7KDW VJUHDWWRKHDU

ϮϬ     , OOOHWKHUNQRZRUVRPHWKLQJWRWKDWHIIHFW

Ϯϭ     $QGWKDW
                $QGWKDW VZKDW,GLGLV,OHWKHUNQRZWKDW

ϮϮ     KHVDLGKHZRXOGVWRS$QGVKHZDVOLNHWKDW VJUHDW

Ϯϯ     $QGVKHZDVUHDOO\UHDOO\KDSS\ZLWKWKDW6KHZDV

Ϯϰ     OLNH,KRSHWKDWWKDW VWUXH$QGWKHQWKDWZDV

Ϯϱ     WKDW


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

                                                                     WĂŐĞϳϭ
 ϭ     ZHUHQ WQHZHPDLOVULJKW"7KHVHZHUHHPDLOVWKDWKH

 Ϯ     VDLGKDGWDNHQSODFHZKLOHVKHVWLOOZRUNHGIRUKLP

 ϯ     EXW,JXHVVWKH\KDGSRWHQWLDOO\OLNHFRPHWROLJKW,

 ϰ     GRQ WWKLQN&KULVLVDOORZHGWRFRPPHQW,GRQ WNQRZ

 ϱ     LI, PUHPHPEHULQJSHUFHQWFRUUHFW

 ϲ     41R

 ϳ     $RIWKDWFDOO2ND\

 ϴ     4,W VMXVWXV

 ϵ     $,W VMXVWXVMXVW\RXDQGPH(\HVORFNHG

ϭϬ     6R\HDKOLNH,VDLG,WKLQNWKDWWKDWFDOOZDV

ϭϭ     VSHFLILFDOO\DERXWWKHIDFWWKDWKHKDGQHZHYLGHQFH

ϭϮ     WKDWVKHZDVLQIDFWJRLQJWRVWDUWDVHFXULW\

ϭϯ     FRPSDQ\DQGWU\WRWDNHKLVFOLHQWV

ϭϰ     4(VVHQWLDOO\KHGLGQ WEHOLHYHWKDWVKHZRXOG

ϭϱ     WUXO\OHDYHWKLVDORQH"

ϭϲ     $&RUUHFW

ϭϳ     4<HDK6RZKDWGLG&KULVGRWKHYHU\QH[WGD\
            4<HDK6RZKDWGLG&KULVGRWKHYHU\QH[WGD\

ϭϴ     DIWHUWKLVFDOO"

ϭϵ     $6R
            $6R

ϮϬ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

Ϯϭ     $<HDK6RWKHVR,JRWDFDOOIURP0D[LH
            $<HDK6RWKHVR,JRWDFDOOIURP0D[LH

ϮϮ     ZKHUHVKHVDLG+H\LWKDVQ WVWRSSHG/LNH,JRWD

Ϯϯ     PHVVDJHIURP5\DQZKRLVWKH&22IRU6RFLDO(QJLQHHU

Ϯϰ     VD\LQJOLNHVRPHWKLQJWRWKHHIIHFWRIOLNH *RRGOXFN

Ϯϱ     ZLWKDOO\RXUOLHVRU,KRSH\RXFDQNHHSDOO\RXUOLHV


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     VWUDLJKW VRPHWKLQJDJDLQVRPHWKLQJWRWKDW

 Ϯ     HIIHFWDQGOLNH\RXNQRZ:LVK\RXOXFNLQ\RXU

 ϯ     IXWXUHHQGHDYRUVOLNHLQVRPHVQDUN\NLQGRIOLNH

 ϰ     ZD\

 ϱ     $QGWKHQVKHZDVOLNH$QGDOVR,DPLQ
                $QGWKHQVKHZDVOLNH$QGDOVR,DPLQ

 ϲ     :DVKLQJWRQ'&IRUDPHHWLQJDQG,DPORFNHGRXWRI

 ϳ     P\FRPSXWHU$QG,FDOOHG$SSOHDQGWKH\VDLGWKDW

 ϴ     LW VEHHQUHSRUWHGVWROHQ

 ϵ     $QG,VR,UHDFKHGRXWWR&KULVDQGZDV
                $QG,VR,UHDFKHGRXWWR&KULVDQGZDV

ϭϬ     OLNH'XGHGLG\RXORFNKHURXWRIKHUFRPSXWHU"

ϭϭ     $QGKHVDLGQR+HZDVOLNH1R,GLGQ WGRWKDW

ϭϮ     $QG,ZDVOLNHDQG5\DQLVVHQGLQJKHUVWXII
                $QG,ZDVOLNHDQG5\DQLVVHQGLQJKHUVWXII

ϭϯ     VD\LQJWKDW\RXNQRZ\RXWKDWFDOOLQJKHUDOLDU

ϭϰ     DQGWKLQJV$QGZDVMXVWOLNH1RKHZRXOGQ WGR

ϭϱ     WKDWULJKW"%XWWKHQ\HDKVR,EURXJKWLWXSRQ

ϭϲ     WKHVFUHHQWKHVFUHHQVKRW<RXFDQVHHWKDWKHGRHV

ϭϳ     LQIDFWVD\KHVD\V,WPXVWEHVRKDUGOLYLQJVR

ϭϴ     PDQ\OLHV,KRSH\RXILQGWUXHMR\VRPHGD\

ϭϵ     $QGWKHQ\RXNQRZVR&KULVLVDGDPDQWWKDW
                $QGWKHQ\RXNQRZVR&KULVLVDGDPDQWWKDW

ϮϬ     5\DQZRXOGQ WGRWKDWEHFDXVHKH VWKHOHDVWDJJUHVVLYH

Ϯϭ     SHUVRQ$QGWKHQKHFRPHVEDFNODWHUDQGKH VOLNH

ϮϮ     <HDKRND\<HDKKHGLGVD\LWZKLFKLW VVXSHURXW

Ϯϯ     RIFKDUDFWHUIRUKLPVREXWKHGLGGRLW

Ϯϰ     $QGVRWKHDQGWKHQWKHORFNLQJKHURXWRI
                $QGVRWKHDQGWKHQWKHORFNLQJKHURXWRI

Ϯϱ     WKHFRPSXWHUKHVDLG1RZHGLGQ WGRWKDW%XWLQ


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     UHDOLW\KHGLGH[DFWO\WKDWDQGKHDGPLWVWRWKDW
       UHDOLW\KHGLGH[DFWO\WKDW

 Ϯ     ODWHU$JDLQVRVHHWKHUH VDQRWKHUWKLQJXSWRS

 ϯ     WKDW,FDQFDOODWWHQWLRQWR)LUVWLDPDJDLQVRUU\

 ϰ     \RXDUHVRPHKRZWKH6(&20FRUSPHGLDWRU

 ϱ     6R&KULVGRHVEHOLHYHDQGVWDWHVKLPVHOI
                6R&KULVGRHVEHOLHYHDQGVWDWHVKLPVHOI

 ϲ     PXOWLSOHWLPHVLQRXUFRQYHUVDWLRQVWKDW,DPDFWLQJ

 ϳ     OLNHDVDPHGLDWRUEHWZHHQ6RFLDO(QJLQHHUDQG'()&21

 ϴ     ULJKW"$QGVR\HDKLWLVDJDLQWKDWZDVRQHRI

 ϵ     P\IUXVWUDWLRQVZKHQDOORIWKLVVWXIIEHFDPHSXEOLF

ϭϬ     ZDVWKDWKHZDVOLNH,QHYHUVSRNHWRDQ\ERG\DW'()

ϭϭ     &211RRQHHYHUVSRNHWRPH,VSRNHWRVRPHRQH

ϭϮ     FORVHWR'()&21EXW,GLGQ WVSHDNWRDQ\ERG\DW'()

ϭϯ     &21

ϭϰ     $QGVR\RXNQRZ
                $QGVR\RXNQRZ

ϭϱ     4*RWLW6R
            4*RWLW6R

ϭϲ     $+HFDOOVPHDPHGLDWRUVHYHUDOWLPHV
            $+HFDOOVPHDPHGLDWRUVHYHUDOWLPHV

ϭϳ     46RRQ$XJXVWWK&KULVUHDFKHVRXWWR\RXDQG

ϭϴ     VD\V+H\,KDYHVRPHLQIRUPDWLRQWRVKDUHDERXW

ϭϵ     0D[LHLQFDVHWKLVEORZVXSDJDLQULJKW"

ϮϬ     $&RUUHFW

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ϮϮ     6RFLDO(QJLQHHUORFNV0D[LHRXWRIKHUFRPSXWHU"

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Ϯϱ     PHVVDJHWR0D[LHVD\LQJ,KRSH\RXFDQNHHSDOO\RXU


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     <RX,NQHZZKDW\RXZHUHJRLQJWRORVH,WROG\RX

 Ϯ     WKDWZDVJRLQJWRKDSSHQDQG\RXFKRVHLWDQ\ZD\$QG

 ϯ     WKDWLVZKDWLVWKHVDGGHVWDQGPRVWIUXVWUDWLQJSDUW

 ϰ     RIWKLVLVWKDWLWQHYHUKDGWRKDSSHQ,WMXVWWKH

 ϱ     EHKDYLRUMXVWQHHGHGWRVWRS%XWHYHU\WKLQJZDV\HDK

 ϲ     EXW\HDKEXW\HDKEXW

 ϳ     $QGLWMXVWOLNH,VDLG,ZHQWIURP

 ϴ     GLVDSSRLQWHGWRWKHQJHWWLQJSLVVHGRII%HFDXVH,ZDV

 ϵ     OLNH\RX UHMXVWQRWEHLQJKRQHVWKHUH$QG,KDWH

ϭϬ     WKLV,KDWHWKLVVLWXDWLRQ,PLVVP\IULHQGRUZKR

ϭϭ     ,WKRXJKWP\IULHQGZDV$QG\HWKHUHZHVLWOLNH

ϭϮ     GHDOLQJZLWKWKLVDEVROXWHEXOOVKLWWKDWQHYHUKDGWR

ϭϯ     KDSSHQ

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ϭϱ     NQRZDUH\RX'()&21QRW'()&21WKLQJDVZHJR

ϭϲ     WKURXJKWKHWH[WPHVVDJHV%XW\RXGLGWRXFKRQLW

ϭϳ     EULHIO\VR,ZDQWWRWRXFKRQLWQRZIRUDVHFRQG

ϭϴ     $5LJKW

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            4,I, PKHDULQJ\RXFRUUHFWO\\RX UH

ϮϬ     HVVHQWLDOO\VD\LQJWKDW\RXDUHDUHSUHVHQWDWLYHRI'()

Ϯϭ     &21<RX YHEHHQJLYHQDXWKRULW\WRVSHDNRQEHKDOIRI

ϮϮ     '()&21<RXPDNHGHFLVLRQVRQEHKDOIRI'()&21EXW

Ϯϯ     \RX\RXUVHOIDUHQRW'()&21HQWLW\,VWKDWZKDW

Ϯϰ     \RX UHVD\LQJ"

Ϯϱ     $<HVRIFRXUVH
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 ϭ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 Ϯ     $1RRQHQRRQHLV'()&21/LNH,PHDQLQ
            $1RRQHQRRQHLV'()&21/LNH,PHDQLQ

 ϯ     WKHVHQVH'()&21LVDFRUSRUDWLRQULJKW",WLVD

 ϰ     FRQIHUHQFH,WLVQRWDKXPDQSHUVRQ/LNHWKHUH

 ϱ     DUHWKHUHLVDOLNHZHKDYHJRRQVZKRDUHRXU

 ϲ     VWDII$QGWKHUHDUHVRPHZKHUHEHWZHHQKRQHVWO\

 ϳ     LW VJRWWREHEHWZHHQDQGGLIIHUHQWVWDII

 ϴ     PHPEHUVRI'()&21RUWKH'()&21JRRQV7KHUHDUH

 ϵ     SUREDEO\VRPHRGGPLGVKLJKVGHSDUWPHQW

ϭϬ     KHDGV7KHUHDUHPDQ\GHSDUWPHQWVDW'()&21QRZ$V

ϭϭ     WKHFRQIHUHQFHKDVVFDOHGZH YHKDGWRVSOLWRXWLQWR

ϭϮ     GLIIHUHQW\RXNQRZJURXSV$QGWKHUHDUHGHSDUWPHQW

ϭϯ     KHDGVIRUDOORIWKRVHGLIIHUHQWGHSDUWPHQWV

ϭϰ     %XWWKHQWKHUHLVDOVRNLQGRIOLNHWKHFRUH
                %XWWKHQWKHUHLVDOVRNLQGRIOLNHWKHFRUH

ϭϱ     LQQHUFLUFOHRI'()&21DQGWKHUHDUHPD\EHOHVVWKDQ

ϭϲ     DGR]HQRIXVZKR-HIIORRNVDWDVWKHSHRSOHZKRKHOS

ϭϳ     VKDSHNLQGRIWKHORRNDQGIHHODQGVSLULWRI'()&21

ϭϴ     WKHGLUHFWLRQRI'()&21$QGZHJHWWRJHWKHUDFRXSOH

ϭϵ     RIWLPHVD\HDUOLNHLQSHUVRQZKHWKHULQ/DV9HJDVRU

ϮϬ     LQ6HDWWOHWRKDYHWKDWGLVFXVVLRQRYHUVHYHUDOGD\V

Ϯϭ     ZKHUHZHWDONDERXWOLNHKRZLV'()&21JRLQJWRPRYH

ϮϮ     DQGORRNDQGIHHODQGZKDW VWKDWZKDW VWKHYLEH

Ϯϯ     JRLQJWREHZKDWLVWKHWKHPHJRLQJWREHIRUWKLV

Ϯϰ     \HDUMXVWWKRVHNLQGVRIWKLQJV

Ϯϱ     $QGWKDWDJDLQLQQHUFLUFOHPLJKWEHWHQ
                $QGWKDWDJDLQLQQHUFLUFOHPLJKWEHWHQ


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     SHRSOHDQG,DPRQHRIWKRVHSHRSOHULJKW"/LNH,DP

 Ϯ     RQHRIWKRVHSHRSOHZKRDUHSDUWRIWKDWJURXS6RWR

 ϯ     VD\WKDW\RXGLGQ WVSHDNWRVRPHERG\DW'()&21LV

 ϰ     MXVWQRWWUXH,W VMXVWDEVROXWHO\SDWHQWO\XQWUXH

 ϱ     $QGQRRQHZRXOGEHOLHYHWKDWWKDWZDVWUXHLI&KULV

 ϲ     PHQWLRQHGPHE\QDPH

 ϳ     1RZ'()&21WROGPHWKDW,ZDVQRWDOORZHGWR
                1RZ'()&21WROGPHWKDW,ZDVQRWDOORZHGWR

 ϴ     VSHDNULJKW"/LNH'()&21DVDQRUJDQL]DWLRQVRWKH

 ϵ     JURXSFDPHWRJHWKHUDQGKDGDGLVFXVVLRQDERXWKRZZH

ϭϬ     ZHUHJRLQJWRKDQGOHWKHVHWKLQJVDQGZKDWHYHU$QG

ϭϭ     WKH\MXVWVDLG*ULIWHUGRXVDIDYRU.HHS\RXU

ϭϮ     PRXWKVKXW/LNHKH VDOUHDG\WKUHDWHQHGDODZVXLW

ϭϯ     -XVWVWD\VLOHQW$QGZH OOJHWLQWRWKDW, PVXUH

ϭϰ     :H YHJRWVRPDQ\KRXUVDQGZH OOJHWLQWRWKDW

ϭϱ     %XWWKHWKLQJDERXWLWLVLI&KULVZRXOGKDYH
                %XWWKHWKLQJDERXWLWLVLI&KULVZRXOGKDYH

ϭϲ     VDLGDWDQ\SRLQW,GLGQ WVSHDNWRDQ\ERG\DW'()

ϭϳ     &217KHRQO\SHUVRQ,VSRNHWRZDV*ULIWHUWKHUHLV

ϭϴ     QRVFHQDULRWKDWH[LVWVLQWKLVZRUOGZKHUHDQ\RQH

ϭϵ     ZRXOGEHOLHYHWKDW&KULVGLGQ WVSHDNWRVRPHERG\DW

ϮϬ     '()&21,I\RXVD\P\QDPHRUP\KDQGOH,VKRXOG

Ϯϭ     VD\LQDQ\URRPSUREDEO\WKHZRUGWKDWZRXOGEH

ϮϮ     DVVRFLDWHGLPPHGLDWHO\ZRXOGEH'()&21$QGVRWR

Ϯϯ     VD\,GLGQ WVSHDNWRVRPHERG\DW'()&21LVIDOVH

Ϯϰ     ,WKDVEHHQIDOVHIURPWKHEHJLQQLQJ$QGHYHU\WLPH

Ϯϱ     KHKDVVDLGLWKHKDVOLHGDERXWLW,WLVQRWWUXH


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     /LNH,DP,OLYHDQGEUHDWKH'()&21,W
                /LNH,DP,OLYHDQGEUHDWKH'()&21,W

 Ϯ     KDVEHHQSDUWRIP\OLIHIRURYHU\HDUV,WZLOOEH

 ϯ     SDUWRIP\OLIHXQWLOP\ODVWEUHDWK7KHVWDWHPHQW,

 ϰ     GLGQ WVSHDNWRDQ\RQHDW'()&21LVDOLHIODWRXW

 ϱ     48QGHUVWRRG$QGMXVWRQHFODULILFDWLRQ<RX

 ϲ     VDLG'()&21VDLGGRQ WVSHDN,VWKDWLQUHIHUHQFHWR

 ϳ     PDNLQJSXEOLFVWDWHPHQWVDIWHU

 ϴ     $&RUUHFW

 ϵ     4&KULV+DGQDJ\WKUHDWHQHGOHJDODFWLRQ

ϭϬ     DJDLQVW'()&21"

ϭϭ     $&RUUHFW

ϭϮ     05&215$'2EMHFWWRIRUP

ϭϯ     47KDWZRXOGKDYHEHHQDIWHU)HEUXDU\WK"

ϭϰ     $1R

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ϭϲ     $7KLVZDVWKLVZDVSULRUWRWKDWHYHQ6R

ϭϳ     SULRUKHKDGPDGHUHIHUHQFHVWRSRWHQWLDOO\WDNLQJ

ϭϴ     OHJDODFWLRQDOPRVWIURPWKHVWDUW/LNHLI'()&21

ϭϵ     GLGVRPHWKLQJKHZDVJRLQJWRWDNHOHJDODFWLRQ$QG

ϮϬ     VR-HIIDQG:HGQHVGD\DQG&-DQG,EHOLHYHLWZDVMXVW

Ϯϭ     OLNHMXVWGRQ WWDONDERXWLW:HGRQ WNQRZZKHUH

ϮϮ     WKLVLVJRLQJWRJR:HGRQ WNQRZDQGKRQHVWO\,

Ϯϯ     GLGQ WZDQWWRWDONDERXWLW

Ϯϰ     /LNHDJDLQWKLVLVRQHRIP\IULHQGV7KLV

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 ϭ     $&RUUHFW\HDK

 Ϯ     4'R\RXUHFDOOZKDW\RXGLVFXVVHGZLWK-HII

 ϯ     GXULQJWKDWFDOO"

 ϰ     $6R\HDKWKDWZDVZKHUHZHGLVFXVVHGWKDW

 ϱ     WKHUHZHUHZHOODJDLQWKHORFNLQJRXWRIWKH

 ϲ     ODSWRSDQGWKDWLWGLGQ WHQGULJKW",WODVWHGD

 ϳ     FRXSOHRIGD\VRUWKHQH[WGD\RUZKDWHYHULWZDVZKHQ

 ϴ     LWZDVOLNHRND\\HDKZH OOOHDYHLWDORQH$QG

 ϵ     WKHQLWWXUQHGLQWR\HDK,JXHVVZH OOJRDKHDGDQG

ϭϬ     ORFNKHURXWRIKHUPDFKLQH

ϭϭ     ,QWKLVFDVHWKDW VZKDWZHWDONHGDERXWDQG

ϭϮ     WKHQZHWDONHGDERXWOLNHZKDWZDVJRLQJWRKDSSHQ

ϭϯ     PRYLQJWRZDUG%HFDXVHDJDLQWKDWZDVNLQGRI

ϭϰ     0D[LH VWKLQJZDVVKHZDVOLNH/RRN, PQRWWKHRQO\

ϭϱ     RQHKHUH/LNHLIKHMXVWOHDYHVPHDORQH, OOGURS

ϭϲ     WKLV%XWLIKHGRHVQ WWKHQ,ZLOOJRILQGWKHRWKHU

ϭϳ     ZRPHQWKDWKHKDVVDLGWKLQJVWR

ϭϴ     $QG,VKRXOGQ WVD\ZRPHQLI,FDQFRUUHFW

ϭϵ     WKDW7KHRWKHUSHRSOHEHFDXVHLWZDVQ WMXVWZRPHQ

ϮϬ     ,WZDVE\DQGODUJHEXWWKHUHZHUHPHQRQWKHFDOO

Ϯϭ     ZLWK'()&21DVZHOOVRZKRKDGUXQLQVZLWK&KULV

ϮϮ     $QGWKHQOLNH,VDLG,KDYHKDGP\RZQ$QG,DPD

Ϯϯ     PDQRUFODLPWREH

Ϯϰ     46RJRLQJGRZQRQWKDWVDPH([KLELWWRSDJH
            46RJRLQJGRZQRQWKDWVDPH([KLELWWRSDJH

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 ϭ     IRUWKHFDOO"<RXUHVSRQG7XHVGD\, OOVHQGGHWDLOV

 Ϯ     RXWWRQLJKW:DQWPHWRVHQGWKH=RRPLQIRDW

 ϯ     MP#GHIFRQRUJ"$QG-HIIVD\V<HVSOHDVH

 ϰ     'R\RXVHHWKDW"
                'R\RXVHHWKDW"

 ϱ     $<HV
            $<HV

 ϲ     46RLVWKLVUHIHUHQFHWRWKHFDOOLVWKLVWKH
            46RLVWKLVUHIHUHQFHWRWKHFDOOLVWKLVWKH

 ϳ     =RRPFDOOZLWKWKHDFFXVHUV"

 ϴ     $&RUUHFW
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 ϵ     4*RWLW6RLWZDVWKH7XHVGD\DIWHU
            4*RWLW6RLWZDVWKH7XHVGD\DIWHU

ϭϬ     6HSWHPEHUWKLVDSSUR[LPDWHO\ZKHQWKHFDOOWRRN

ϭϭ     SODFH"

ϭϮ     $5LJKWZKLFKZRXOGEH6HSWHPEHU
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ϭϯ     46HSWHPEHUWK"
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ϭϱ     4*RWLW6RWRWKHEHVWRI\RXUUHFROOHFWLRQ
            4*RWLW6RWRWKHEHVWRI\RXUUHFROOHFWLRQ

ϭϲ     WKHFDOOZLWKWKHDFFXVHUVKDSSHQHGRQ6HSWHPEHUWK

ϭϳ     LVWKDWULJKW"

ϭϴ     $&RUUHFW
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ϭϵ     05&215$'2EMHFWWRIRUP

ϮϬ     42ND\7KHQJRLQJQRZWR([KLELWWKLVLV

Ϯϭ     WKHPHVVDJHVZLWK&KULV+DGQDJ\:</(5\RX OOVHH

ϮϮ     RQ6HSWHPEHUWK\RXJHWDPHVVDJHVD\LQJ,QWHUHVWLQJ

Ϯϯ     KRZ,KHDUWKURXJKWKHJUDSHYLQHDERXWWKHVHKXJH

Ϯϰ     PHHWLQJV

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 ϭ     MXVWZDQWWRSXWWKLVEHKLQGPH,GRQ WZDQWWRJHW

 Ϯ     RQKLVUDGDUDJDLQEHFDXVHWKH\ZHUHLQWLPLGDWHGDQG

 ϯ     VFDUHGRIKLP$QGVREXWHYHQZLWKWKDWZHVWLOO

 ϰ     KDGRXWVLGHRI'()&21IRONVRQWKHFDOOWKHUHZHUH

 ϱ     GLIIHUHQWSHRSOHZKRMRLQHGWKDW=RRPFDOOZKRDOO

 ϲ     KDGVWRULHVWKDWWKH\ZDQWHGWRVKDUHDERXWUXQLQV

 ϳ     ZLWK&KULVZKHUHKHKDGHLWKHUFURVVHGDOLQHRIVRPH

 ϴ     W\SHRUKDGLQWLPLGDWHGWKHPDQGVKRXWHGDWWKHPDQG

 ϵ     FDOOHGWKHPQDPHVKDGVDLGVRPHWKLQJLQDSSURSULDWHRU

ϭϬ     ZKDWHYHU

ϭϭ     $QGVRDJDLQIRONVRXWVLGHRI'()&21ZKR
                $QGVRDJDLQIRONVRXWVLGHRI'()&21ZKR

ϭϮ     ZHUHWKHUHDQGWKHQDGGLWLRQDOVWKDWZHUHRQWKHSKRQH

ϭϯ     ZLWKRWKHUSHRSOHZKRZHUHWKHUH6RWKHDFWXDO

ϭϰ     QXPEHU,GRQ WKDYHDVSHFLILFQXPEHUEXW,ZRXOGVD\

ϭϱ     EHWZHHQURXJKO\WRGLIIHUHQWDFFXVHUV\RXNQRZ

ϭϲ     4*RWLW&RXSOHRITXHVWLRQVEHIRUHZHJHW

ϭϳ     LQWRVRPHRIWKHVWRULHV

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ϮϬ     ZHUHVFDUHGIRU&KULVWRILQGRXWZKRWKH\ZHUH"

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Ϯϰ     VD\DJDLQHYHQKDYLQJP\RZQH[SHULHQFHDQGHYHQZLWK

Ϯϱ     KLPDGPLWWLQJVRPHRIWKHWKLQJVWKDWKHZDVVD\LQJKH


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     WKHVDPHIDVKLRQZH YHDOUHDG\GLVFXVVHG$JDLQ,

 Ϯ     GRQ WDWWKLVSRLQWLW VWKUHH\HDUVDJR,GRQ W

 ϯ     UHFDOODOOWKHGHWDLOVDQG,SXUSRVHIXOO\GLGQRW

 ϰ     ZULWHWKHPGRZQULJKW"/LNHWKLVZDVQRWVRPHWKLQJ

 ϱ     ZKHUH,ZDVRND\ZH UHJRLQJWRNHHSDUHFRUGRIDOO

 ϲ     RIWKHWKLQJV

 ϳ     %HFDXVHKRQHVWO\ZHGLGQ WQHHGRQH,IZH

 ϴ     IHOWOLNHE\WKHWLPHZHZHUHGRQHZLWKWKLVFDOOWKDW

 ϵ     ZHKDGHQRXJKSHRSOHZKRIHOWXQZHOFRPHRUXQVDIHRU

ϭϬ     LQWLPLGDWHGRUZKDWHYHUE\&KULVWKDWLWZDUUDQWHG

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ϭϰ     ZULWHGRZQHYHU\GHWDLORIWKHVWRULHV

ϭϱ     6R,SXUSRVHIXOO\GLGQRWZULWHGRZQWKHQDPHV

ϭϲ     RIWKHLQGLYLGXDOVZKRZHUHRQWKHFDOODQG,GLGQ W

ϭϳ     DQG,GLGQ WZULWHGRZQWKHLUVWRULHVEHFDXVH,

ϭϴ     GLGQ WZDQWWKHUHWREHDUHFRUGRILW

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ϮϬ     DQ\WKLQJHOVHUHJDUGLQJWKHDFFXVDWLRQVPDGHGXULQJ

Ϯϭ     WKDWFDOO"

ϮϮ     $1R,W
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Ϯϯ     VDLGLWZDVWKHQXPEHURISHRSOHWKHUHWKHYROXPHRI

Ϯϰ     WKHPDQGWKHQXPEHURIVWRULHVWKDWHQGHGZLWK$QG

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 ϭ     NQRZ2K, PZRUULHGWKDWKH VJRLQJWRFRPHDIWHUPH

 Ϯ     LIKHILQGVRXW,ZDVRQWKLVFDOO<RXNQRZOLNH

 ϯ     WKHUHZDVDYHU\FOHDUOHYHORILQWLPLGDWLRQDQGMXVW

 ϰ     JHQHUDOIHDUDURXQG&KULVDQGKLVEHKDYLRUDQGZKDWKH

 ϱ     ZRXOGGRLIKHNQHZWKDWWKH\ZHUHWDONLQJWRXV

 ϲ     $QG,KDWHGWKDWIRUDJDLQPXOWLSOHUHDVRQV

 ϳ     ,KDWHGLWEHFDXVH,ZDVKHDULQJVWXIIDERXWVRPHERG\,

 ϴ     FRXQWHGDVDIULHQGDQG,KDWHGLWEHFDXVHWKH\KDG

 ϵ     EHHQSXWLQWKLVSRVLWLRQ$QGZHGLGQ WNQRZDERXW

ϭϬ     LWDQGZHKDGQ WGRQHDQ\WKLQJXSWRWKDWSRLQW$QG

ϭϭ     ,OLNH,PHQWLRQHGEHIRUH,ORYH'()&21,WLVD

ϭϮ     WKLQJWKDW,WDNHYHU\VHULRXVO\/LNH,VDLG,ZLOO

ϭϯ     DWWHQGXQWLOP\G\LQJEUHDWKEXWDQGWKHQWRNQRZ

ϭϰ     WKDWWKHUHZHUHSHRSOHZKRZHUHXQFRPIRUWDEOHRUZHUH

ϭϱ     VXIIHULQJLQVRPHZD\DQGZHGLGQ WILQGRXWDERXWLW

ϭϲ     SUHYLRXVO\OHGWRQRVPDOODPRXQWRIJXLOWIRUP\VHOI

ϭϳ     DQGIRUWKHRWKHULQGLYLGXDOVRQWKHFDOO

ϭϴ     4*RWLW:H OOWDNHDEUHDNLQDIHZPLQXWHV

ϭϵ     EXW,ZDQWWRDVN\RXDFRXSOHPRUHTXHVWLRQVUHJDUGLQJ

ϮϬ     WKLVOLQHRITXHVWLRQLQJEHIRUHZHGRWKDW*RLQJWR

Ϯϭ     ([KLELWUHDOTXLFNWKLVLVWKHPHVVDJHEHWZHHQ\RX

ϮϮ     DQG-HII$QGLW V%DWHVODEHOHG:</(5$QG\RX

Ϯϯ     VD\DERXW&KULV+H VDSDLQLQWKHDVVDVDQ

Ϯϰ     RUJDQL]HUEXWPRVWRIP\LQWHUDFWLRQVZLWKKLPKDYH

Ϯϱ     EHHQSRVLWLYHZLWKDIHZH[FHSWLRQV%XWWKDW]RRP


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 ϭ     ZKHQWKLVVWXIIVWDUWVKDSSHQLQJ:KHQWKLVKDSSHQVLQ

 Ϯ     -DQXDU\ZLWKWKLVHPDLOWRXVZLWKKLPVD\LQJWKDW-HII

 ϯ     UHIXVHGWRWDNHDFDOOZLWKKLPWKDW VQRWWUXH-HII

 ϰ     WULHGWRPDNHDFRXSOHRIWLPHVZRUN&KULVJDYHD

 ϱ     FRXSOHRIWLPHVEDFN7KH\FRXOGQ WJHWWKHPDOLJQHG

 ϲ     $WRQHSRLQW-HIIVDLG+RZDERXWWKLVWLPH"7KH\

 ϳ     FRXOGQ WJHWRQDSKRQHFDOOEHFDXVHLWGLGQ WZRUNIRU

 ϴ     5\DQZKRDOVRZDQWHGWREHRQWKHFDOO

 ϵ     $QGWKHQILQDOO\&KULVKDGVDLGOLNHLQOLNH

ϭϬ     'HFHPEHURUVRPHWKLQJ<RXNQRZZKDW")RUJHWLW:H

ϭϭ     MXVWZRQ WGRLW, OOWDNHP\YLOODJHVRPHZKHUHHOVH

ϭϮ     ZKHUHWKH\ZLOODSSUHFLDWHPH+HQHYHUVD\VWKDW

ϭϯ     SXEOLFO\:KDWKHVD\VLV'()&21KDVUHIXVHGWR

ϭϰ     VSHDNWRPHRU,KDYHVSRNHQWRQRRQHDW'()&21

ϭϱ     ZKLFKDJDLQLVXQWUXHRQPXOWLSOHIURQWV,W V

ϭϲ     XQWUXHEHFDXVHKHVSRNHWRPHDQGLW VXQWUXHEHFDXVH

ϭϳ     -HIIGLGWU\WRJHWRQSKRQHFDOOVZLWKKLP$QG&KULV

ϭϴ     DWDFHUWDLQSRLQWVDLG<RXNQRZZKDW"1HYHUPLQG

ϭϵ     ,GRQ WQHHGWRJHWRQDFDOOZLWK\RX, OOWDNHP\

ϮϬ     EDOODQGJRKRPH

Ϯϭ     48QGHUVWRRG*RLQJEDFNWR([KLELWSDJH
            48QGHUVWRRG*RLQJEDFNWR([KLELWSDJH

ϮϮ     '()&21WKHQH[WSDUDJUDSKVD\V7KH\UHDFKHGRXW

Ϯϯ     WR6WHSKDQLH&DUUXWKHUV,VWKDW6QRZ"

Ϯϰ     $7KDW
            $7KDW V6QRZ\HDK

Ϯϱ     4$QGLWJRHVRQWRVD\6WHSKDQLHZRQDEODFN
            4$QGLWJRHVRQWRVD\6WHSKDQLHZRQDEODFN


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     +DGQDJ\HWDOY0RVVHWDO                                1HLO:\OHU

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 ϭ     EDGJHDWP\FRQWHVWWKHQRYHUQLJKWEHFDPHDFRPSHWLWRU

 Ϯ     DQGWKHQEHFDPHDKDWHUEHFDXVHZHKDGWRUHPRYH-&

 ϯ       KHUKXVEDQG IURPWKHFRPSHWLWLRQ

 ϰ     'R\RXVHHWKDW"
                'R\RXVHHWKDW"

 ϱ     $,GR
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 ϲ     46R,ZDQWWRVWRSWKHUHDQGNLQGRIEUHDNWKDW
            46R,ZDQWWRVWRSWKHUHDQGNLQGRIEUHDNWKDW

 ϳ     GRZQ

 ϴ     $6XUH
            $6XUH

 ϵ     46RWKH%ODFN%DGJH\RXVDLGWKDW
            46RWKH%ODFN%DGJH\RXVDLGWKDW VWKH

ϭϬ     KLJKHVWDZDUG\RXFDQJHWDW'()&21"

ϭϭ     $&RUUHFW
            $&RUUHFW

ϭϮ     4$QGWKHQ&KULVVDZKHURYHUQLJKWDVEHFRPLQJD
            4$QGWKHQ&KULVVDZKHURYHUQLJKWDVEHFRPLQJD

ϭϯ     FRPSHWLWRUEHFDXVHVKHZRQWKH%ODFN%DGJHDZDUG"

ϭϰ     $<HV$QGWKDWLVDSDWWHUQRIEHKDYLRUZLWK
            $<HV$QGWKDWLVDSDWWHUQRIEHKDYLRUZLWK

ϭϱ     &KULVLVKHVHHVWKHZLQQHUVRIWKH%ODFN%DGJHDV

ϭϲ     FRPSHWLWRUVDQGZLOORIWHQSXWWKHPGRZQOLNHSXEOLFO\

ϭϳ     DIWHUWKHIDFW,W VDUHDOO\LQWHUHVWLQJ,JXHVV
       DIWHUWKHIDFW

ϭϴ     , PMXVWJRLQJQRZ, PMXVWJRLQJWRJRRIIRQD

ϭϵ     WDQJHQWEXWLWLVDQLQWHUHVWLQJWKLQJWRVHHVRPHERG\

ϮϬ     SXWVRPXFKVWRFNLQWKHYDOXHRIWKDWDZDUGEXW

Ϯϭ     WKHQDQGWKDWKHZDVOLNH:KDWGR,QHHGWRGRWR

ϮϮ     PDNHVXUH,JHWLWHYHU\\HDU":KDWGRHVP\FRQWHVW

Ϯϯ     KDYHWRGR":KDWGR,KDYHWRFKDQJH":KDWGR\RX

Ϯϰ     ZDQWPHWRGR"'R,KDYHWRPDNHLWPRUHGLIILFXOW"

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 ϭ     EDQQLQJRWKHUSHRSOHEDVHGRQKLVFRGHRIFRQGXFWEXW

 Ϯ     KHLVQRWILQHZLWK'()&21GRLQJWKHVDPHEDVHGRQ

 ϯ     RXUV

 ϰ     4'R\RXKDYHDQ\SHUVRQDONQRZOHGJHUHJDUGLQJ

 ϱ     WKLVZKROHEDQQLQJRI6QRZ VKXVEDQG"

 ϲ     $1RWUHDOO\,MXVWNQRZWKDWLWZDVOLNHWKDW

 ϳ     KHKDGJRQHDJDLQVWVRPHUXOHWKDW&KULVKDG, PQRW

 ϴ     IDPLOLDUZLWKWKHGHWDLOVRILWEHFDXVH,ZDVQ WWKHUH

 ϵ     %XW\HDKWKDWKHVWDUWHGWRVHH6QRZDV

ϭϬ     FRPSHWLWLRQIDLUO\TXLFNO\DQGWKHQ\RXNQRZEHJDQWR

ϭϭ     WDUJHWKHUWRDSRLQWWKDWLWLQYROYHGDOVRKHU%ODFN

ϭϮ     +DWWUDLQLQJ$QG,KDGWRJRWDONWRKLPDERXWLW

ϭϯ     DJDLQDVDPHPEHURIWKH%ODFN+DWUHYLHZERDUG

ϭϰ     4&DQ\RXWHOOPHDERXWWKDW"
            4&DQ\RXWHOOPHDERXWWKDW"

ϭϱ     $6XUH6R6WHSKDQLHKDGVXEPLWWHGDVRFLDO
            $6XUH6R6WHSKDQLHKDGVXEPLWWHGDVRFLDO

ϭϲ     HQJLQHHULQJFODVVVRVKHVWDUWHGDFRPSDQ\FDOOHG

ϭϳ     6QRZIHQVLYH$QGVKHVXEPLWWHGDVRFLDOHQJLQHHULQJ

ϭϴ     FODVVIRUKHUFRPSDQ\,WZDVUHYLHZHGE\WKHWUDLQLQJ

ϭϵ     UHYLHZERDUGDQGVHOHFWHGIRUWUDLQLQJVDW%ODFN+DW

ϮϬ     $QGZKHQ&KULVIRXQGRXWWKDWWKHUHZDV
                $QGZKHQ&KULVIRXQGRXWWKDWWKHUHZDV

Ϯϭ     DQRWKHUVRFLDOHQJLQHHULQJFODVVKHJRWUHDOO\XSVHW

ϮϮ     DERXWWKDW+HFRPSODLQHGWR6DUDKDQGWR&RG\ZKR

Ϯϯ     ZHUHWKHWZRWUDLQLQJOHDGVDW%ODFN+DW+H

Ϯϰ     FRPSODLQHGWRP\VHOIDVZHOOVD\LQJ/LNH'XGH

Ϯϱ     ZKDW VJRLQJRQKHUH"/LNH, PWKHVRFLDOHQJLQHHULQJ


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 ϭ     H[SHUW/LNHZK\DUH\RXZK\GLG\RXFKRRVHWRKDYH

 Ϯ     6QRZ VFODVV"

 ϯ     $QGWKHUHDOLW\LVLVWKDWZHLWZDVDERXW
                $QGWKHUHDOLW\LVLVWKDWZHLWZDVDERXW

 ϰ     FKRLFHULJKW"/LNHJLYLQJDWWHQGHHVDFKRLFHRQZKDW

 ϱ     W\SHRIFODVVWKH\ZDQWHGWRWDNHDQGZKRWKH\ZDQWHG

 ϲ     WRWDNHLWIURP$QGVRLIWKHUHZDVVRPHERG\ZKRZDV

 ϳ     DVRFLDOHQJLQHHULQJVSHFLDOLVWWKH\UHDOO\RQO\KDG

 ϴ     &KULV FODVVWRFKRRVHIURPDWWKDWSRLQW$QGVRLW

 ϵ     JDYHXVWKHDELOLW\WRKDYHWKHPKDYHDQRWKHURSWLRQ

ϭϬ     $QGZHGRWKDWIRUDOOGLVFLSOLQHVULJKW"6R
                $QGZHGRWKDWIRUDOOGLVFLSOLQHVULJKW"6R

ϭϭ     WKHUHDUHPXOWLSOHGHIHQVLYHFODVVHV7KHUHDUH

ϭϮ     PXOWLSOHRIIHQVLYHFODVVHV7KHUHDUHPXOWLSOH

ϭϯ     KDUGZDUHKDFNLQJFODVVHVDQGRQHVRQZULWLQJSROLF\

ϭϰ     7KHUHDUHWKHUH VYDULHW\IRUHDFKRQH$QGVRWKLV

ϭϱ     DOORZHGIRUDYDULHW\DQGFKRLFHIRUWKHDWWHQGHHV

ϭϲ     DURXQGDVRFLDOHQJLQHHULQJFODVV$QG&KULVGLGQRW

ϭϳ     OLNHWKDWFRPSHWLWLRQ,WZDVFOHDU$QGKHZDVOLNH

ϭϴ     VKHVKRXOGQRWEHWUDLQLQJ$QGKHWRRNJUHDWRIIHQVH

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ϮϬ     $QG,WROGKLPOLNHORRNPDQZHKDYHHLJKW
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Ϯϭ     RIIHQVLYHVHFXULW\FODVVHVDOOFRPSHWLQJZLWKHDFK

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Ϯϯ     KDSSHQLQJZDVDWWKHHQGRI6QRZ VFODVVVKHWROGKHU

Ϯϰ     VWXGHQWVZKRKDGFRPHWRWKHFODVVLIWKH\KDGQ W

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 ϭ     FODVVQH[W\HDUULJKW"%HFDXVHLW VDUHDOO\JRRG

 Ϯ     FODVVDQGKH VOLNHZULWWHQVHYHUDOERRNVDQGEODK

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 ϰ     IRU&KULVDWWKHHQGRIKHUFODVV/LNHLI\RXOLNH

 ϱ     WKLVFODVVWDNH&KULV FODVV

 ϲ     %XWWKHRSSRVLWHKDSSHQHGLQ&KULV
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 ϳ     ZKLFKZDVOLNHRQHRIWKHVWXGHQWVZKR,ZDVIULHQGV

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ϭϰ     DIWHUVRPHERG\WKDW\RXVDZDVFRPSHWLWLRQZKHUH\RX UH

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ϭϳ     IRUKLPKHFKRVHWRJRWKHRWKHUGLUHFWLRQDQGZDV

ϭϴ     OLNH,I\RXWDNHKHUFODVV\RXZLOOJRWRMDLO

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Ϯϭ     DERXWWKDWDQGVDLGOLNH+H\PDQOLNH\RXFDQ WVD\

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 ϯ     WKDWVKH VWHDFKLQJLOOHJDOWKLQJV1RWKLQJDERXWZKDW

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 ϲ     \RX UHOLNHWKH\ UHJRLQJWRHQGXSJHWWLQJ

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 ϱ     RDWKVDQGDIILUPDWLRQVLQDQGIRUWKH6WDWHRI:DVKLQJWRQGR

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 ϴ     WUDQVFULSWRIZKLFKLVDWWDFKHGZDVJLYHQEHIRUHPHDWWKH

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ϭϳ     DUHYLHZRIZKLFKZDVQRWUHTXHVWHGWKDW,DPLQQRZD\

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        Exhibit 14
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· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · ·WESTERN DISTRICT OF WASHINGTON AT SEATTLE

______________________________________________________________

CHRISTOPHER J. HADNAGY, an· · · · · · )
individual; and SOCIAL-ENGINEER,· · · )
LLC, a Pennsylvania limited· · · · · ·)
liability company,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ) No. 2:23-cv-01932-BAT
· · · · · · · · · · ·Plaintiffs,· · · )
· · · · · · · · · · · · · · · · · · · )
· · · · vs.· · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
JEFF MOSS, an individual; DEF CON· · ·)
COMMUNICATIONS, INC., a Washington· · )
corporation; and DOES 1-10; and· · · ·)
ROE ENTITIES 1-10,· · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · )
· · · · · · · · · · ·Defendants.· · · )
______________________________________________________________

· · · · · · VIDEO-RECORDED DEPOSITION OF JEFF MOSS

· · · · · · · · · · · · ·July 31, 2024

· · · · · · · · · · ·Seattle, Washington




· · Reporter:· John M. S. Botelho, CCR, RPR



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·1· · · · · · · · · ·APPEARANCES

·2
· · ·For the Plaintiffs:
·3
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·4· · · · · · · · ·Frey Buck
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12
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13
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16· · · · · · · · ·503.727.2000
· · · · · · · · · ·503.727.2222 Fax
17· · · · · · · · ·mmertens@perkinscoie.com

18
· · ·Also Present: Steve Crandall, videographer
19
· · · · · · · · · ·Christopher Hadnagy
20

21

22

23

24

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·1· · · · · · · · · · ·BE IT REMEMBERED that on Wednesday,

·2· ·July 31, 2024, at 1201 Third Avenue, Suite 4900,

·3· ·Seattle, Washington, at 9:04 a.m., before JOHN M.S.

·4· ·BOTELHO, Certified Court Reporter, appeared JEFF

·5· ·MOSS, the witness herein;

·6· · · · · · · · · · ·WHEREUPON, the following

·7· ·proceedings were had, to wit:

·8

·9· · · · · · · · · · · ·<<<<<< >>>>>>

10

11· · · · · · · · · · ·THE VIDEOGRAPHER:· We are going on

12· ·the record at 9:04 a.m. on July 31st, 2024.

13· · · ·This is Volume 1, Media Unit 1, of the video-

14· ·recorded deposition of Jeff Moss in the matter of

15· ·Hadnagy vs. Moss filed in the United States District

16· ·Court, Western District of Washington, at Seattle.

17· ·Case No. 2:23-cv-01932-BAT.

18· · · ·This deposition is being held at 1201 Third

19· ·Avenue, Suite 4900, Seattle, Washington 98101.· The

20· ·videographer is Steve Crandall from U.S. Legal

21· ·Support.· The court reporter is John Botelho from

22· ·U.S. Legal Support.

23· · · ·Will counsel and all present please note their

24· ·appearances and affiliations for the record.

25· · · · · · · · · · ·MR. CONRAD:· Sure.· I can start.


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·1· · ·My name's Mark Conrad.· I work with the firm Frey Buck,

·2· · ·on behalf of plaintiffs.

·3· · · · · · · · · · · · MR. RIKLIS:· My name's Kris Riklis,

·4· · ·on behalf of plaintiffs, with Riklis Law.

·5· · · · · · · · · · · · MR. MERTENS:· Matt Mertens with

·6· · ·Perkins Coie, LLP, with defendant DEF CON.

·7· · · · · · · · · · · · THE WITNESS:· Jeff Moss with

·8· · ·defendant DEF CON.

·9· · · · · · · · · · · · THE VIDEOGRAPHER:· Thank you.

10· · · · · Will the court reporter please swear the witness.

11

12· · ·JEFF MOSS,· · · · · · · · · having been first duly sworn

13· · · · · · · · · · · · · · · · ·by the Certified Court

14· · · · · · · · · · · · · · · · ·Reporter, deposed and

15· · · · · · · · · · · · · · · · ·testified as follows:

16

17· · · · · · · · · · · · · ·EXAMINATION

18· · ·BY MR. CONRAD:

19· Q· All righty.· So, Jeff, you and I met just briefly off

20· · ·the record, but we're on the record now.· Just

21· · ·introduce myself again.· Mark Conrad.

22· · · · · And you said it's okay if I refer to you as "Jeff"

23· · ·throughout the deposition?

24· A· Yeah.

25· Q· Okay.· Kind of based on some of our conversation


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·1· ·I remember happening is we -- Maxie had come forward.

·2· ·Things continued to spiral out of control.· Chris, her

·3· ·laptop gets bricked.· Things are clearly not going to

·4· ·go their separate ways.· And Maxie offers to introduce

·5· ·us to other women and men with complaints about Chris.

·6· · · · And we were, like, Okay.· Well, if other people

·7· ·have complaints, we want to hear them.· If you're not

·8· ·the only one, sure.· Let's -- let's hear what people

·9· ·have to say.

10· · · · And so a phone call was organized not too many

11· ·days later.· It seemed like it happened really quickly.

12· ·It kind of went from Maxie and Chris into, like, this

13· ·whole group, you know, quickly.· And on that call,

14· ·there were probably 13 to 15 people with complaints.

15· · · · And I remember we set up this call.· We had an

16· ·hour-long call for it set up, and the call lasted,

17· ·like, more than two hours.· And it was just story after

18· ·story after terrible story about Chris's behavior with

19· ·them.

20· · · · And there were -- these were all firsthand

21· ·accounts from people that had direct interactions with

22· ·Chris.· There wasn't, like, third-party relaying of a

23· ·story I once heard.· It was, I worked for Chris for six

24· ·years, and this is what happened.· I worked for Chris

25· ·for two and a half years, and he berated me.· He yelled


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·1· Q· And any other record or documentation of what took

·2· · ·place on the phone call?

·3· A· The closest I can imagine -- I didn't sit and take

·4· · ·notes during the call.· I was in listen mode, listening

·5· · ·to all their stories.· Like, this incredible sense of

·6· · ·dread washing over me as I keep hearing thing after

·7· · ·thing.· But I didn't record it.· I think the closest

·8· · ·was what we turned over in the Basecamp thread where

·9· · ·we're discussing the -- the situation.

10· Q· And who else was on the call from DEF CON?

11· A· Darington.

12· · · · · So I guess I'll make the distinction.· When you

13· · ·say "from DEF CON," as an employee, full-time employee,

14· · ·it would have been Darington.· And then I believe CJ

15· · ·was on the call, Melanie was on the call.· I think that

16· · ·was about it.

17· · · · · Basically, the people that you see in our Basecamp

18· · ·conversation, I think they were all invited, and I

19· · ·believe they all attended.

20· Q· Was Neil on the call?

21· A· Oh, yeah.· He was probably on the call.· Yeah, he was

22· · ·on the call.· 'Cause he was sort of the trusted person

23· · ·that Maxie had gone to.

24· Q· So Darington was on the phone call.· Marc Rogers was on

25· · ·the phone call.· Melanie --


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·1· · · · · What's her last name again?

·2· A· Ensign.

·3· Q· -- Ensign was on the phone call.· And Neil Wyler was on

·4· · ·the phone call?

·5· A· Right.· So we all heard all the stories together.

·6· Q· And those are all the individuals from the DEF CON side

·7· · ·of things?

·8· A· Correct.

·9· Q· Do you know if any of those individuals took any notes

10· · ·or have any records regarding the phone call?

11· A· I don't -- I don't know -- I don't remember anybody

12· · ·saying, "I took great notes."· I don't -- I don't

13· · ·remember anybody saying that.

14· Q· Did you ever ask?

15· A· I don't know.

16· · · · · I don't know.· It probably would have been to our

17· · ·advantage to have detailed notes, but -- but we don't

18· · ·have detailed notes, so probably nobody took them, or

19· · ·else we'd have them.

20· Q· Why do you think it would be to your advantage to have

21· · ·detailed notes?

22· A· Because they're terrible fucking stories about Chris's

23· · ·behavior, and I would love to have them documented.

24· Q· Are they documented anywhere?

25· A· Yes.


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·1· Q· -- do you remember what information Cat Murdock had

·2· · ·relayed to you that would have been code of conduct

·3· · ·violations involving Christopher Hadnagy?

·4· A· Not unless I review our interrogatory response.· I -- I

·5· · ·would risk assigning her statements to someone else or

·6· · ·someone else to her.

·7· · · · · Sorry.· It was just -- it was just a long time

·8· · ·ago, and a lot has happened, and I don't have perfect

·9· · ·recall.

10· Q· So you mentioned Michele Fincher, Maxie Reynolds,

11· · ·Catherine Murdock.

12· · · · · Any other people --

13· A· The Bryan person, the gentleman.· I'm sorry for

14· · ·interrupting.

15· Q· It's okay.

16· · · · · Bryan is another individual that was on the call?

17· A· I believe it was in the interrogatory response, there

18· · ·were two gentlemen mentioned, and I believe they were

19· · ·both on the call.

20· Q· And were you aware of what their names were at the time

21· · ·that you made this post February 9th, 2022?

22· A· Yes.· 'Cause they identified themselves as working

23· · ·either as a volunteer for Chris at ILF.

24· Q· And what steps did you take after this phone call to

25· · ·further determine whether there were code of conduct


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·1· · ·violations?

·2· A· You mean above and beyond what was just revealed to us

·3· · ·in the phone call?

·4· Q· Correct.

·5· A· Like, seeking more code of conduct violations?· Like, I

·6· · ·felt at that call, we had more than enough to ban

·7· · ·Chris.· And so I didn't feel like I had to go spend a

·8· · ·lot of time getting even more code of conduct violation

·9· · ·reports.· Like, we had more than enough.

10· · · · · But after this was reported, after this was

11· · ·published, sure enough, more people came forward online

12· · ·with their own stories.

13· Q· What did you do to determine the veracity of this --

14· · ·allegations that were made to you against Christopher

15· · ·Hadnagy on the phone call?

16· A· Can you rephrase that?· Like -- I and the employees

17· · ·listened to these firsthand accounts of all these

18· · ·terrible stories of people that worked for Chris or

19· · ·previously worked for Chris.· All the stories supported

20· · ·each other.

21· · · · · When Grifter talked to Chris, like, you can see it

22· · ·in the text messages with Grifter.· The very first

23· · ·thing in their text messages, Grifter says to Chris,

24· · ·Hey, I need to talk to you about some- -- I'm

25· · ·paraphrasing.· But, Hey, I need to talk to you about


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·1· ·something.· And Chris's immediate response is, What are

·2· ·you going to do with this information?· What are you

·3· ·and Black Hat going to do with this information?

·4· · · · It's, like, Whoa, we haven't even -- like, we

·5· ·haven't even said "hello" -- Grifter hasn't even said

·6· ·"hello" yet.

·7· · · · · · · · · · · THE REPORTER:· Slow down --

·8· · · · · · · · · · · THE WITNESS:· Sorry.

·9· · · · · · · · · · · THE REPORTER:· -- please.

10· · · · · · · · · · · THE WITNESS:· Hasn't even said

11· ·"hello" yet.· And Chris is behaving like he knows

12· ·there's this big problem coming.· And then in the

13· ·conversation with Neil, he immediately starts naming

14· ·four or five women.· Is it this person?· Is it this

15· ·person?· Is it this person?

16· · · · It's, like, Well, you know there's a problem,

17· ·because you're naming four or five women right off the

18· ·bat.

19· · · · So Chris's behavior, he never accepted any

20· ·responsibility for anything.· He never said, Oh, that

21· ·was a misunderstanding.· Here's my e-mail exchange.

22· ·You know, like, I'll apologi- -- whatever it was, it

23· ·was always, Yes, but they deserved it because.· Yes,

24· ·but because.· It's a conspiracy.· They're all out to

25· ·get me.· Everybody is lying.


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·1· · · · · In Chris's communication with me, it starts off

·2· · ·with him saying, I've been brainwashed, and there's

·3· · ·this group of liars all coming with some coordinated

·4· · ·concoction.

·5· · · · · And then I get supporting documentation from

·6· · ·Maxie.· I get other people telling similar stories.

·7· · ·There's nothing on Chris's side.· There's no, I had to

·8· · ·file this lawsuit.· I had to get the police involved.

·9· · ·Here's me owning the laptop.

10· · · · · Chris admits to the behavior with Maxie.· So there

11· · ·was plenty of supporting information, we felt,

12· · ·justifying our action.· I'm not sure how much more we

13· · ·needed.· We didn't need any more.· We actually didn't

14· · ·even need this much.

15· Q· So the -- if I'm understanding you correctly, you had

16· · ·the communications between Neil Wyler and Chris,

17· · ·correct?

18· A· Correct.

19· Q· And you had seen those at the time that you made this

20· · ·post February 9th, 2022?

21· A· No, I got -- I got all of those messages after Chris

22· · ·sued us.

23· Q· Okay.· So you'd never seen those previous?

24· A· What was happening was I would talk with Grifter, and

25· · ·he would on the phone tell me what had been going on.


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                                Jeff Moss
                              July 31, 2024

·1· Q· So Grifter was -- Neil Wyler was telling you about his

·2· · ·conversations with Chris?

·3· A· Correct.

·4· Q· You then had the phone call with these individuals that

·5· · ·we've talked about?

·6· A· Correct.

·7· Q· And then you got the Apple receipts from Maxie

·8· · ·Reynolds?

·9· A· Correct.

10· Q· And that is the information that you had that supported

11· · ·your publishing of this February 9 --

12· A· Well, we also had --

13· Q· -- 2022, report?

14· · · · · · · · · · · · MR. MERTENS:· Let him finish --

15· · · · · · · · · · · · THE WITNESS:· Yeah.

16· · · · · · · · · · · · MR. MERTENS:· -- finish his

17· · ·questions.

18· · · · · · · · · · · · THE WITNESS:· Yeah.

19· · · · · · · · · · · · MR. MERTENS:· Object to the form.

20· · · · · Go ahead.

21· · · · · · · · · · · · THE WITNESS:· Okay.

22· · · · · Don't forget we also had Neil Grifter's personal

23· · ·account of his being called a pedophile by Chris.· So

24· · ·we had this prior experience from one of Chris's good

25· · ·friends relaying the story as well.


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                                Jeff Moss
                              July 31, 2024

·1· ·STATE OF WASHINGTON )· · ·I, John M. S. Botelho, CCR, RPR,
· · · · · · · · · · · · ·) ss· a certified court reporter
·2· ·County of Pierce· · )· · ·in the State of Washington, do
· · · · · · · · · · · · · · · ·hereby certify:
·3

·4
· · · · · That the foregoing deposition of JEFF MOSS was taken
·5· ·before me and completed on July 31, 2024, and thereafter was
· · ·transcribed under my direction; that the deposition is a
·6· ·full, true and complete transcript of the testimony of said
· · ·witness, including all questions, answers, objections,
·7· ·motions and exceptions;

·8· · · · That the witness, before examination, was by me duly
· · ·sworn to testify the truth, the whole truth, and nothing but
·9· ·the truth, and that the witness reserved the right of
· · ·signature;
10
· · · · · That I am not a relative, employee, attorney or counsel
11· ·of any party to this action or relative or employee of any
· · ·such attorney or counsel and that I am not financially
12· ·interested in the said action or the outcome thereof;

13· · · · IN WITNESS WHEREOF, I have hereunto set my hand
· · ·this 12th day of August, 2024.
14

15

16

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· · · · · · · · · · · · · · · ·_________________________________
18· · · · · · · · · · · · · · ·John M. S. Botelho, CCR, RPR
· · · · · · · · · · · · · · · ·Certified Court Reporter No. 2976
19· · · · · · · · · · · · · · ·(Certification expires 5/26/2025.)

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        Exhibit 19
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        Exhibit 20
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     DGGLWLRQDOHPSOR\HHVDQGHPSOR\HHVFDPHWRPH$QG
     KRQHVWO\,VWD\HGRQZLWKWKHFRPSDQ\DVORQJDV,GLG
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    SROLWLFDOO\FRUUHFW"
    $&RUUHFW
    42ND\:KDWFRPPHQWVGR\RXUHFDOOZHUHPDGH
           4   2ND\:KDWFRPPHQWVGR\RXUHFDOOZHUHPDGH
    DERXW\RXUDSSHDUDQFHE\0U+DGQDJ\ZKLOH\RXZHUHDW
    6RFLDO(QJLQHHU"
    $,WKLQNDQGWKLVFDQSUREDEO\
           $   ,WKLQNDQGWKLVFDQSUREDEO\
    FRUURERUDWHGEHFRUURERUDWHGE\DQXPEHURISHRSOH
    %HLQJUHIHUUHGWRDVKRWDQG$VLDQZRXOGQRWEH
    FRQVLGHUHGSROLWLFDOO\FRUUHFWLQDQ\SURIHVVLRQDO
    HQYLURQPHQW7KHOHJVP\OHJVDQGZKDW,ZDVZHDULQJ
    RQP\OHJVDQGP\KLJKKHHOV,GRQ WWKLQNVKRXOGEH
    WKHVFRSHZLWKLQWKHVFRSHRIDQ\WKLQJDQ\


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                                                                         3DJH
     GLVFXVVLRQWKDW,KDYHZLWKDQHPSOR\HUXQOHVVLWLVLQ
     WKHFRQWH[WRIDNLQGRIMREWKDWZHZHUHGRLQJ
     $QGKRQHVWO\WKHNLQGVRIMREWKDWZHZHUH
     GRLQJSOD\LQJWRVWHUHRW\SHVDQGSOD\LQJWRKXPDQ
     ZHDNQHVVDQGDOORZDOORZHGWKHFRPSDQ\DWWKHWLPH
     WRWHVWZLWKLQDFFHSWDEOHOLPLWVZKDWSHRSOHZLOORU
     ZLOOQRWEHZLOOLQJWRDOORZ\RXWRKDYHDFFHVVWR
     ZLWKLQWKHVHFXULW\RIDFRPSDQ\EDVHGRQKRZWKH\IHHO
     DERXW\RX6RLWLVLPSRUWDQWWRGLVWLQJXLVKWKDWSDUW
    RILWKDGWRGRZLWKHQJDJHPHQWVZLWKFXVWRPHUV$QG,
    GRZDQWWREHYHU\FOHDUDERXWWKDWEXWLWVKRXOGQRW
                                               LWVKRXOGQRW
    KDYHEHHQDSDUWRIGDLO\FRQYHUVDWLRQDQGORFNHUURRP
    WDONLQWHUPVRIKLVEXGGLHVVD\LQJWKLVDERXWPHRU
    VWXGHQWVVD\LQJWKDWDERXWPH
    $QGOLNH,VDLGLWZDVRQO\LPSDFWIXOWRPH
                $QGOLNH,VDLGLWZDVRQO\LPSDFWIXOWRPH
    EHFDXVH,ZDVDZDUHWKDWLWZDVLQDSSURSULDWH,W
    ZDVQ WVRPHWKLQJWKDW,ZDVWKUHDWHQHGE\,NQRZZKDW
    P\TXDOLILFDWLRQVDUH,NQRZZKDW, PTXDOLILHGWRGR
    DQGQRWWR%XW,ZRXOGQRWZLVKIRUWKDWVRUWRI
    EHKDYLRUWRSHUVLVWZLWKRWKHUHPSOR\HHVZKHWKHULW V
    VH[XDOLQQDWXUHDSSHDUDQFHEDVHGLQQDWXUHRU\RX
    NQRZDQ\WKLQJWKDW VSHUVRQDOLQQDWXUHWKDWGRHVQ W
    LPSDFWWKHSRVLWLRQ
    48QGHUVWRRG
           4   8QGHUVWRRG
    6RWRNLQGRIEDFNXSDOLWWOHELWWKHUH
                6RWRNLQGRIEDFNXSDOLWWOHELWWKHUH


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                                                                         3DJH
     0U+DGQDJ\FDOOHG\RXDKRW$VLDQ"
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $2QQXPHURXVRFFDVLRQV\HV
           $   2QQXPHURXVRFFDVLRQV\HV
     4
           4    %\$WWRUQH\'HDQ 2ND\$QGGLG\RXWKLQN
     WKDWZDVDSSURSULDWHRULQDSSURSULDWHIRU\RXUERVVWR
     FDOO\RXDKRW$VLDQ"
     $&HUWDLQO\QRWZLWKLQWKHYDVWFHUWDLQO\
           $   &HUWDLQO\QRWZLWKLQWKHYDVWFHUWDLQO\
     QRWLQWKHYDVWQXPEHURISURIHVVLRQDOLQVWDQFHV
     &RUUHFW
    46RWKDWZRXOGEHLQDSSURSULDWHIRU\RXUERVV
           4   6RWKDWZRXOGEHLQDSSURSULDWHIRU\RXUERVV
    WRFDOO\RXDKRW$VLDQLVWKDWFRUUHFW"
    $<HV
           $   <HV
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,ZRXOGQ
           $   ,ZRXOGQ WH[SHFWWKDW
    4
           4    %\$WWRUQH\'HDQ $QG,NQRZ\RXVDLG\RX
    KDYHWKLFNVNLQEXWEHLQJFDOOHGDKRW$VLDQE\\RXU
    ERVVDWZRUNGLGWKDWPDNH\RXIHHOFRPIRUWDEOHRU
    XQFRPIRUWDEOH"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,WH[FXVHPH:DVWKDW
           $   ,WH[FXVHPH:DVWKDW
    4
           4    %\$WWRUQH\'HDQ <RXFDQDQVZHU+H V
    MXVW
    $2KRND\
           $   2KRND\
    4REMHFWLQJIRUWKHUHFRUG
           4   REMHFWLQJIRUWKHUHFRUG
    $77251(<&215$''RXJDUH\RXJHWWLQJP\
                $77251(<&215$''RXJDUH\RXJHWWLQJP\


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                                                                         3DJH
     REMHFWLRQVLQ", PQRWVXUH, PWU\LQJWRJHWWKHP
     LQKHUHEXW
     7+(&28575(3257(5,DP
                7+(&28575(3257(5,DP
     0V)LQFKHULI\RXFRXOGSDXVHMXVWDPRPHQW
                0V)LQFKHULI\RXFRXOGSDXVHMXVWDPRPHQW
     EHIRUH\RXDQVZHUHDFKTXHVWLRQWKDWZRXOGEHKHOSIXO
     7+(:,71(660\DSRORJLHV
                7+(:,71(660\DSRORJLHV
     7+(&28575(3257(51RSUREOHP7KDQN\RX
                7+(&28575(3257(51RSUREOHP7KDQN\RX
     $77251(<&215$'7KDQN\RX
                $77251(<&215$'7KDQN\RX
     4
           4    %\$WWRUQH\'HDQ <HDK6R, PVXUH\RX
    SUREDEO\ORVWWKHTXHVWLRQWKURXJKDOOWKDW
    6RP\TXHVWLRQZDVEHLQJFDOOHGDKRW$VLDQ
                6RP\TXHVWLRQZDVEHLQJFDOOHGDKRW$VLDQ
    E\\RXUERVVDWZRUNHYHQWKRXJK\RXKDGWKLFNVNLQ
    GLGWKDWPDNH\RXIHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"
    $,ILQGLWXQFRPIRUWDEOHDQGH[WUHPHO\
           $   ,ILQGLWXQFRPIRUWDEOHDQGH[WUHPHO\
    DQQR\LQJEHFDXVHLWLVQRWFRJHQWWRP\MRE
    SHUIRUPDQFH
    4$EVROXWHO\
    <RXZHUHDOVRWDONLQJDERXWKRZ0U+DGQDJ\
    PDGHFRPPHQWVDERXW\RXUOHJVDQGZKDW\RXZHUHZHDULQJ
    RQ\RXUOHJV&DQ\RXJLYHPHDIHZH[DPSOHVRIZKDW
    \RXPHDQE\WKDW"
    $:HKDGDVWXGHQWLQSDUWLFXODU,UHPHPEHU
    WKLVZDV'HWURLW$QGDWWKHWLPH,ZDVZHDULQJ
    VNLUWVWRWHDFKFRXUVHVLQZKLFK,GRQ WEHOLHYHLV
    XQFRPPRQLQZRPHQDQG,KDGKRVHWRDFFRPSDQ\WKRVH


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                                                                         3DJH
     ZLWKWKDWNLQGRIEHKDYLRURIIDQGRQWRYDU\LQJ
     GHJUHHV$QG,WKLQNLWFDQEHLPSDFWIXORQ
     SHUIRUPDQFHDQGPHQWDOKHDOWKDQGLVQRWDJDLQQRW
     UHOHYDQWWRMRESHUIRUPDQFH
     4$QG
     $$QGVR,ZDVYHU\FRQFHUQHGDERXWZRPHQWKDW
     ZRXOGEHKLUHGZLWKWKHFRPSDQ\VXEVHTXHQWWRP\
     SRVLWLRQ
     4'LG\RXSHUVRQDOO\REVHUYH0U+DGQDJ\DFW
           4   'LG\RXSHUVRQDOO\REVHUYH0U+DGQDJ\DFW
    LQDSSURSULDWHO\ZLWKRWKHUZRPHQDW6RFLDO(QJLQHHU
    OLNHKHGLGZLWK\RXUVHOI"
    $,PRVWO\ZKDW,REVHUYHGKDGOHVVWRGR
           $   ,PRVWO\ZKDW,REVHUYHGKDGOHVVWRGR
    ZLWKWKDWDQGPRUHWRGRZLWKJHQHUDOEXOO\LQJEHKDYLRU
    DQGLQWLPLGDWLRQ
    42ND\6R\RXSHUVRQDOO\REVHUYHG0U+DGQDJ\
           4   2ND\6R\RXSHUVRQDOO\REVHUYHG0U+DGQDJ\
    EXOO\RULQWLPLGDWH\RXUFRZRUNHUV"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $<HV,GLG
           $   <HV,GLG
    4
           4    %\$WWRUQH\'HDQ 2ND\&DQ\RXWHOOPH
    ZKDW\RXSHUVRQDOO\REVHUYHGZLWKUHVSHFWWREXOO\LQJ
    DQGLQWLPLGDWLRQ"
    $:HZHUHDUHPRWHFRPSDQ\6RPRVWRIRXU
           $   :HZHUHDUHPRWHFRPSDQ\6RPRVWRIRXU
    LQWHUDFWLRQVZHUHGRQHHOHFWURQLFDOO\HLWKHUYLD
    HPDLOSKRQHFDOORURQJURXSFKDW:HKDG
    HVVHQWLDOO\,GRQ WNQRZLI\RX UHIDPLOLDU0RVW


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                                                                         3DJH
     RI\RXDUHSUREDEO\DWWKLVSRLQWIDPLOLDUZLWK6ODFN
     6ODFNKDVDQXPEHURIFKDQQHOV+HGLGKDYH
                6ODFNKDVDQXPEHURIFKDQQHOV+HGLGKDYH
     FKDQQHOVVHWXSZLWKLQGLYLGXDOV+HKDGFKDQQHOVVHW
     XSZLWKWKHH[HFXWLYHVWDIIZKLFK,ZDVDSDUWRIDW
     WKDWWLPHEXWKHDOVRKDGDFRPSDQ\ZLGH6ODFN
     FKDQQHO
     $QGDVSHRSOHZRXOGGRWKH\PDGHPLVWDNHV
                $QGDVSHRSOHZRXOGGRWKH\PDGHPLVWDNHV
     RUWKH\ZHUHODWHRUWKLQJVKDSSHQHGDQG,EHOLHYH
     WKRVHDUHWKLQJVWKDWDGLUHFWPDQDJHUVKRXOGSUREDEO\
    GHDOZLWKSULYDWHO\%XW0U+DGQDJ\ZDVLQWKHKDELW
    RISUHWW\SXEOLFO\EHUDWLQJDQGVKDPLQJSHRSOHIRU
    YDULRXVLQIUDFWLRQVUHDORULPDJLQHGWRWKHSRLQW
    ZKHUHSHRSOHZHUHDIUDLGWRWDNHDEDWKURRPGXULQJ
    EUHDNVGXULQJWKHGD\ZKLFKWRPHZDVDSSDOOLQJIRU
    DGXOWVZRUNLQJIRU\RX$QGSHRSOHZRXOGOLWHUDOO\
    VD\, YHJRWWRWDNHDELREUHDNRU, YHJRWWRJHW
    XSDQGZDONDURXQGRU, YHJRWWRHDW$QG,GRQ W
    IHHOWKRVHDUHWKLQJVWKDWQHHGWKDWSHRSOHQHHGWR
    DVNSHUPLVVLRQIRU
    4:K\GR\RXEHOLHYHWKDWSHRSOHZHUHVFDUHGRU
           4   :K\GR\RXEHOLHYHWKDWSHRSOHZHUHVFDUHGRU
    DIUDLGWRWDNHEDWKURRPEUHDNV"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $3ULPDULO\EHFDXVHRIWKHFRQVHTXHQFHVWKDW
           $   3ULPDULO\EHFDXVHRIWKHFRQVHTXHQFHVWKDW
    WKH\VXIIHUHG,WKLQNVRFLDOO\DQGSURIHVVLRQDOO\
    ZLWKLQWKHFRQWH[WRIWKHFRPSDQ\SHRSOHZHUHMXVW


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                                                                         3DJH
     DIUDLGRIKLP$QG,KDGVHYHUDOSHRSOHFRPHWRPH
     DQG,ZRXOGMXVWVD\:HOO,ZRXOGGRP\EHVWWR
     VXSSRUW&KULVDQGVXSSRUWWKHFRPSDQ\DQGVXSSRUWWKH
     LQGLYLGXDO$QGLWSXWPHLQDUHDOO\UHDOO\
     GLIILFXOWSRVLWLRQEHFDXVHWKHUH VVRPHNLQGVRI
     EHKDYLRUWKDWUHDOO\DUHQ WGHIHQVLEOHLQWHUPVRIKRZ
     \RXWUHDWSHRSOH
     7KHFRXUVHWKDWZHWDXJKWDQGWKHFRPSDQ\
                7KHFRXUVHWKDWZHWDXJKWDQGWKHFRPSDQ\
     PRWWRZDVDOZD\VIHHODOZD\VPDNHSHRSOHIHHO
    EHWWHUIRUKDYLQJPHWWKHPDQGLWZDVFHUWDLQO\QRW
    KRZRXUFRPSDQ\LQSDUWLFXODURSHUDWHGRQDGDLO\
    EDVLV
    4
           4    %\$WWRUQH\'HDQ *RWLW
    $$QGVRZH,VSHQWDORWRIWLPHZLWK
           $   $QGVRZH,VSHQWDORWRIWLPHZLWK
    LQGLYLGXDOVNLQGRIWDONLQJSHRSOHRIIWKHOHGJH
    $QGIUDQNO\RXUKHDGFRXQWDQGRXUWXUQRYHUZDV
    DVWURQRPLFDOVRPHRILWGXHWRMXVWSHRSOHEHLQJ
    UHOHDVHGDVKDSSHQVLQFRPSDQLHVEXWDORWRILWMXVW
    KDGWRGRZLWKSHRSOHKDYLQJPDMRUEORZXSVZLWK
    0U+DGQDJ\DQGOHDYLQJWKHFRPSDQ\DVDUHVXOW
    46R,ZDQWWRGLJLQWRWKHEDWKURRPLVVXHD
           4   6R,ZDQWWRGLJLQWRWKHEDWKURRPLVVXHD
    OLWWOHELWPRUHEHFDXVH, PQRWIXOO\XQGHUVWDQGLQJ
    6R\RXNQRZIRUH[DPSOHLI,ZDQWHGWRJRWRWKH
    EDWKURRP,FRXOGMXVWJHWXSIURPP\RIILFHJRWRWKH
    EDWKURRPJUDEVRPHWKLQJWRGULQNFRPHEDFNNHHS


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0LFKHOH)LQFKHU                                                2FWREHU

                                                                         3DJH
     ZULWLQJHPDLOVDQGQRRQHZRXOGVD\DQ\WKLQJWRPH
     6RZKDWZHUH\RXSHUVRQDOO\REVHUYLQJZLWK
                6RZKDWZHUH\RXSHUVRQDOO\REVHUYLQJZLWK
     UHVSHFWWRSHRSOHJRLQJWRWKHEDWKURRPWKDWZRXOGPDNH
     WKHPVFDUHGWRJRWRWKHEDWKURRPLIWKDWPDNHVVHQVH"
     $<HDK,WKLQN,WKLQNZKDWZRXOGKDSSHQ
           $   <HDK,WKLQN,WKLQNZKDWZRXOGKDSSHQ
     LVWKDWKHZRXOGHLWKHUWU\WRJHWDKROGRIVRPHRQH
     RYHU6ODFNRUZRXOGVHHWKDWVRPHRQH VVWDWXVZHQW
     LQDFWLYHRQ6ODFNRU6ODFNRU,GRQ WUHPHPEHUWKH
     FKDWH[DFWO\ZKDWZHZHUHXVLQJDWWKHWLPH6RIRU
    LQVWDQFHLI,WRRNDEUHDNDQGZDVJRQHIRUWHQ
    PLQXWHVP\DFWLYLW\ZRXOGVKRZDVLQDFWLYHRQWKH
    FKDQQHOLWVHOI
    $QGWKHQKHZRXOGW\SH0LFKHOHDQGWKHQ
                $QGWKHQKHZRXOGW\SH0LFKHOHDQGWKHQ
    VHQGLWDQGWKHQDERXWDVHFRQGODWHU0LFKHOH
    0LFKHOH0LFKHOH0LFKHOH0LFKHOH$QGKHZRXOGGR
    WKLVVRUWRIOLNH\RXNQRZLQDVWULQJRIFRPPHQWV
    ZKHUH\RXFRXOGMXVWVHHLW
    2UKHZRXOGMXVWVD\:HOO,GRQ
                2UKHZRXOGMXVWVD\:HOO,GRQ WNQRZ
    ZKHUHVRDQGVRLV7KH\ UH0,$$QGLW VOLNHZHOO
    WKH\ YHEHHQWKH\ YHEHHQPDNLQJSKRQHFDOOVIRU
    WKHIRUWKHODVW\RXNQRZKRXU7KH\SUREDEO\
    QHHGWRWDNHDWDNHDEUHDNRUZDONDURXQGWKH
    QHLJKERUKRRGHDWVRPHWKLQJJHWVRPHWKLQJWRGULQN
    $QGVRLQVWHDGRIWUXVWLQJSHRSOHWKDWWKH\
                $QGVRLQVWHDGRIWUXVWLQJSHRSOHWKDWWKH\
    ZHUHGRLQJWKHLUIXOOHLJKWLWUHDOO\EHFDPHD


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     VHQVH\RXNQRZKH VWKH&(2RIWKHFRPSDQ\,W
     ZDVQ WKLVSRVLWLRQWRNQRZZKDWSHRSOHZHUHGRLQJ
     HYHU\VLQJOHPLQXWHRIHYHU\VLQJOHGD\VLPSO\EHFDXVH
     LIWKH\ZHUHGRLQJWKHLUMREV,WKLQNWKDWNLQGRI
     VSHDNVIRULWVHOI$QGWKHUH VDFHUWDLQOHYHORI
     WUXVWWKDW\RX UHJRLQJWRSODFHLQDQLQGLYLGXDO
     $QGLIWKHUHDUHSUREOHPVWKHQWKDWVKRXOG
                $QGLIWKHUHDUHSUREOHPVWKHQWKDWVKRXOG
     EHKDQGOHGSULYDWHO\ZLWKWKHZLWKWKHLQGLYLGXDO
     JLYHQDFKDQFHWRLPSURYHSHUIRUPDQFH$QGWKHQ\RX
    NQRZ\RXOHWVRPHRQHJRLIWKH\ UHXQDEOHWRGRWKDW
    EXW,GRQ WWKLQNSXEOLFKXPLOLDWLRQDQGSXEOLF
    DWWHQWLRQEHLQJGUDZQWRVRPHRQHHLWKHUPDNLQJD
    PLVWDNHRUVLPSO\QHHGLQJDIHZPLQXWHVRUEHLQJXSVHW
    E\VRPHWKLQJWKDWZDVVDLGRUGRQHDQGQHHGLQJWRZDON
    DZD\IRUDPLQXWH,WKLQNWKDW VRND\$QGLVWKDW
    DGLIIHUHQFHLQPDQDJHPHQWVW\OH"6XUH%XW,FDQVD\
    WKDWLWZDVSHUYDVLYHWKURXJKWKHFRPSDQ\DWWKHWLPH
    RIP\WHQXUH
    4*RWLW
           4   *RWLW
    $QGGLG\RXVHH0U+DGQDJ\SHUVRQDOO\FDOO
                $QGGLG\RXVHH0U+DGQDJ\SHUVRQDOO\FDOO
    DQ\RQHRXWSXEOLFO\RQ6ODFNFKDQQHOV"
    $<HV+HGLGLWWRPHFHUWDLQO\DQGKHGLG
           $   <HV+HGLGLWWRPHFHUWDLQO\DQGKHGLG
    LWWRRWKHUV
    4*RWLW
           4   *RWLW
    $QGGLG\RXSHUVRQDOO\REVHUYHSHRSOHVD\WR
                $QGGLG\RXSHUVRQDOO\REVHUYHSHRSOHVD\WR


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     \RX, PVFDUHGWRJRWRWKHEDWKURRPEHFDXVH,GRQ W
     ZDQWWREHSXEOLFO\FDOOHGRXW"
     $,
           $   , PVFDUHGWRWDNHEUHDNV,IHHOOLNH, YH
     DOZD\VJRWWREHWKHUHWRDQVZHUP\6ODFNFKDQQHO
     4'R\RX
           4   'R\RX
     $,
           $   , PDIUDLGKH VJRLQJWRFDOODQG, PQRW
     JRLQJWREHWKHUHDQGKH VJRLQJWR\HOODWPH
     4$QGGLG\RXIHHOOLNHWKDWZDVDQ
     LQDSSURSULDWHZD\WRWUHDW\RXUFRZRUNHUV"
    $77251(<&215$'2EMHFW)RUP
    $,GLG,FHUWDLQO\ZRXOGQ WWUHDWP\
    HPSOR\HHVWKDWZD\$QG\HV\RXFRXOGDUJXHD
    GLIIHUHQFHLQPDQDJHPHQWVW\OHEXW,GRQ WWKLQN
    SHRSOHVKRXOGEHDIUDLGZKHQWKH\FRPHWRZRUN
    4 %\$WWRUQH\'HDQ 8QGHUVWRRG
    <RXVDLG\RXXOWLPDWHO\OHIWDIWHUZRUNLQJ
                <RXVDLG\RXXOWLPDWHO\OHIWDIWHUZRUNLQJ
    IRUDERXWIRXU\HDUVDW6RFLDO(QJLQHHULVWKDWULJKW"
    $7KDW
           $   7KDW VFRUUHFW
    4:K\GLG\RXOHDYH"
    $%HFDXVH,KDGUHDFKHGDSRLQWWKDW,
    SHUVRQDOO\,KDGUHDFKHGP\SHUVRQDOOLPLWZLWKLW
    $QG,KDGEHHQORRNLQJIRUDUHDOO\UHDOO\UHDOO\
    ORQJWLPH$FWXDOO\, GEHHQORRNLQJIRU\HDUV,
    QHHGHGWKHULJKWSRVLWLRQ,QHHGHGWKHLQFRPH,FDQ
    KRQHVWO\VD\,ZRXOGQRWKDYHVWD\HGLI,KDGIRXQGD


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     EHWWHUSD\LQJMREVRRQHU
     %XWWKHUHZDVDSDUWLFXODULQFLGHQW7KHUH
     ZHUHDFWXDOO\WZRSDUWLFXODULQFLGHQWVWKDW,JXHVV
     WKHUHZHUHWKUHHSDUWLFXODULQFLGHQWVWKDWFDXVHGPHWR
     UHDOO\EXFNOHGRZQDQGXOWLPDWHO\WDNHDSRVLWLRQWKDW
     GLGQ WSD\PRUHEXWJRWPHRXWRIWKHUH$QGLWWRRN
     PHDORQJWLPHWRUHFRQFLOHIHHOLQJUHDOO\JXLOW\DERXW
     OHDYLQJHYHU\ERG\HOVHEXW,P\KXVEDQGILQDOO\VDW
     PHGRZQKRQHVWO\DQGVDLG7KLVLVEDGIRU\RX
    ,W VDEDGMREIRU\RX<RX UHEDGDQGVWUHVVHGDOO
    WKHWLPH,W VMXVWLW VKRUULEOHIRU\RXPHQWDO
    KHDOWKZLVH,WPLJKWEHRND\IRU\RXSURIHVVLRQDOO\
    EXW\RXFDQGREHWWHUWKDQWKLV6R
    4$QGZKDWZHUHWKRVHWKUHHLQFLGHQWVWKDW
           4   $QGZKDWZHUHWKRVHWKUHHLQFLGHQWVWKDW
    XOWLPDWHO\IRUFHG\RXWROHDYHWKHFRPSDQ\"
    $7KH'HI&RQFRQIHUHQFHWKDW\HDU6RLW
           $   7KH'HI&RQFRQIHUHQFHWKDW\HDU6RLW
    ZRXOGKDYHEHHQ,JXHVVLWZDV,GRQ WNQRZ
    ZKDWQXPEHU'HI&RQWKDWZDV0D\EHLWZDV
    :HZHUHLQWKHKDELWRIVHOHFWLQJFRQWHVWDQWV
                :HZHUHLQWKHKDELWRIVHOHFWLQJFRQWHVWDQWV
    IRUFRQWHVWVWKDWZHUDQ$QGZHVSRQVRUHGZKDWLV
    NQRZQDV6(9LOODJH6RFLDO(QJLQHHULQJ9LOODJHZKHUH
    DWWHQGHHVDWWKHFRQIHUHQFHFDQFRPHDQGOHDUQ
    GLIIHUHQWWKLQJVWKDWDUHQRWUHODWHGWRWHFKQLFDO
    KDFNLQJDQGWHFKQLFDOVHFXULW\,WKDVPRUHWRGRZLWK
    KXPDQEHLQJUHVSRQVHVDQGKRZ\RXFDQJHWVRPHRQHWR


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     \RXNQRZKRZ\RXFDQJHWWKHVHFXULW\JXDUGWREUHDND
     UXOHLI\RX UHDELJSUHJQDQWODG\FDUU\LQJDEXQFKRI
     ER[HVIRUH[DPSOH6RLWZDVLWZDVPHDQWWREH
     HGXFDWLRQDO
     $QGRQHRIRXUPDLQFRQWHVWVZDVDFDOOLQ
                $QGRQHRIRXUPDLQFRQWHVWVZDVDFDOOLQ
     FRQWHVWZKHUHLQGLYLGXDOVZRXOGFDOOFRPSDQLHVWRVHH
     KRZPDQ\ZKDWZHFDOOIODJVWREHWKDWWKH\FRXOG
     REWDLQRYHUWKHFRXUVHRI,WKLQNLWZDVRU
     PLQXWHV6RLWZDV\RXNQRZKRZPDQ\SHRSOHLQ\RXU
    FRPSDQ\,WZDVQRWKLQJWKDWZRXOGGDPDJHWKHFRPSDQ\
    RXWULJKWEXWLWZDVFRPSDQ\LWZDVLQIRUPDWLRQWKDW
    ZDVSRWHQWLDOO\VHQVLWLYHZKHQSXWWRJHWKHUFRXOG
    FUHDWHDVLWXDWLRQ6RZHQHYHUDVNHGIRU6RFLDO
    6HFXULW\QXPEHUV:HQHYHUDVNHGIRUILQDQFLDO
    GHWDLOVEXWLWZDVMXVWDGHPRQVWUDWLRQRIKRZ
    YXOQHUDEOHFRPSDQLHVFRXOGEHWRVLPSO\SKRQH
    PDQLSXODWLRQRYHUWKHSKRQH
    6RLQWKHODVWFRXSOHRI\HDUVZHKDGDVNHG
                6RLQWKHODVWFRXSOHRI\HDUVZHKDGDVNHG
    FRQWHVWDQWVWRVHQGLQYLGHRV$QGDVDFRPSDQ\WKHUH
    ZHUHDERXWHLJKWWRWHQRIXVLQWKHFRPSDQ\DWWKH
    WLPH:HZRXOGORRNDWWKHDSSOLFDWLRQVPRQWKVSULRU
    :HZRXOGYLHZWKHYLGHRV$QGWKHQZHKDGDSXEOLF
    ([FHOVSUHDGVKHHWZKHUHZHVHOHFWHGWKHWRS\RXNQRZ
    WHQRUVRFRQWHVWDQWVWKDWZHIHOWZRXOGEHWKHEHVW
    IRUWKHFRQWHVW\RXNQRZZKHWKHUWKDWZDVVRPHERG\


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     WKDWZDVYHU\H[SHULHQFHGLQWKHILHOGRUVRPHRQHWKDW
     ZDVDYHWHULQDULDQ\RXNQRZ7KH\MXVWZDQWHGWR
     SDUWLFLSDWH6RLWZDVLWZDVYHU\VRUWRIZH
     WULHGWRSLFNDYDULHGJURXSRILQGLYLGXDOVWKDWZH
     IHOWZRXOGEHJRRGFRQWHVWDQWV
     $QG,UHPHPEHUD\RXQJODG\LQSDUWLFXODU
                $QG,UHPHPEHUD\RXQJODG\LQSDUWLFXODU
     ZKRVHDSSOLFDWLRQZDVQ WSDUWLFXODUO\VWURQJ+HU
     YLGHRZDVXQIRUWXQDWHO\VKHPLJKWKDYHEHHQ
     QHUYRXV6KHGLGQ WKDYHDORWRIWKHUHZDVQRJRRG
    UHDVRQWRVHOHFWKHUDVDFRQWHVWDQWWKDWZRXOGEHERWK
    HGXFDWLRQDODQGDJRRGLOOXVWUDWLRQWRWKHFURZG$QG
    ,GRQ WWKLQNWKHUHZDVDQ\RQHZKRUHDOO\WKRXJKWVKH
    ZRXOGEH,GRQ WUHPHPEHUDQ\RQHWKLQNLQJRUYRWLQJ
    IRUKHU
    $QG&KULVORRNHGDWKHUYLGHRDQGVDLG
                $QG&KULVORRNHGDWKHUYLGHRDQGVDLG
    6KH VKRWDQGVKH V$VLDQ6KH VLQ
    $QG,KRQHVWO\DWWKHWLPHZDVDERXWWKH
                $QG,KRQHVWO\DWWKHWLPHZDVDERXWWKH
    RQO\SHUVRQWKDWZDVZLOOLQJWRDUJXHZLWKKLPEHFDXVH
    DWWKDWSRLQW,ZDVMXVWZLOOLQJ,ZDVMXVWZLOOLQJ
    WRORVHP\MREKRQHVWO\,ZDVVRVLFNRIWKH
    VLWXDWLRQ$QG,MXVWVDLG7KDW VDULGLFXORXV
    UHDVRQ,ZDVIXULRXVDERXWLW
    $QGKHVDLG,
                $QGKHVDLG, PWKHERVV,W VP\FRPSDQ\
    6KH VLQ$QGVRVKHZDVDFRQWHVWDQWWKDW\HDUDQG
    IUDQNO\VKHZDVWHUULEOH$QGQRW\RXNQRZQRWD


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     WHUULEOHSHUVRQDYHU\QLFHSHUVRQEXWQRWDJUHDW
     FRQWHVWDQW,GRQ WNQRZWKDWVKHH[FXVHPH,
     GRQ WNQRZWKDWVKHREWDLQHGDQ\RIWKHIODJVDWDOO
     $QG\RXNQRZLWNLQGRIFRPHVGRZQWR
                $QG\RXNQRZLWNLQGRIFRPHVGRZQWR
     ZHOOZDVLWJRRGRUZDVLWQRW",QP\RSLQLRQVKH
     ZDVQ WSUHSDUHG,QP\RSLQLRQVKHZDVDWHUULEOH
     FRQWHVWDQW,QP\RSLQLRQVKHZDVVHOHFWHGEHFDXVHRI
     KHUDSSHDUDQFH
     4$QGGLG\RXWKLQNLWZDVDSSURSULDWHIRU
           4   $QGGLG\RXWKLQNLWZDVDSSURSULDWHIRU
    0U+DGQDJ\WRFRPPHQWDERXWWKLVSHUVRQEHLQJDKRW
    $VLDQ"
    $1R
           $   1R
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    4
           4    %\$WWRUQH\'HDQ 'LG\RXEHOLHYHWKDWLW
    ZDVDSSURSULDWHIRU0U+DGQDJ\WRFKRRVHVRPHRQHWREH
    SDUWRIWKH6(9LOODJHEHFDXVHWKH\ UHDKRW$VLDQ"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $1R
           $   1R
    4
           4    %\$WWRUQH\'HDQ $QGGLGWKDWPDNH\RXIHHO
    XQFRPIRUWDEOHWKDWKHZDVFRPPHQWLQJRQDFRQWHVWDQW
    EHLQJDKRW$VLDQ"
    $<HV1RWIRUP\VHOIEXWPRUHIRUKHU6KH
           $   <HV1RWIRUP\VHOIEXWPRUHIRUKHU6KH
    ZDVYHU\\RXQJDQGLWUHDOO\PDGHPHIXULRXV
    47KLVLVWKHVHFRQGWLPH\RX
           4   7KLVLVWKHVHFRQGWLPH\RX YHEURXJKWXS
    0U+DGQDJ\UHIHUULQJWRVRPHRQHDVDKRW$VLDQ


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                                                                         3DJH
     'LGKHPDNHWKRVHFRPPHQWVDORW"
                'LGKHPDNHWKRVHFRPPHQWVDORW"
     $<HVIDLUO\UHJXODUO\
           $   <HVIDLUO\UHJXODUO\
     4'R\RXUHFDOOKLPPDNLQJWKRVHFRPPHQWVDERXW
     DQ\RQHRWKHUWKDQ\RXDQGWKLVRQHFRQWHVWDQWEHLQJ
     KRWDQG$VLDQ"
     $6XUH+LVZLIH
     4+LVZLIH"$Q\RQHRWKHUWKDQ\RXWKUHH"
     $, OOPDNHDFRPPHQWLQJHQHUDODERXWWKH
     LQIRUPDWLRQVHFXULW\ILHOG,WWHQGVWREHLWWHQGV
    WRKDYHDIDVFLQDWLRQZLWKZRPHQRIP\HWKQLF
    EDFNJURXQG,GRQ WNQRZEXWLW VSUHWW\ZHOONQRZQ
    DWWKHWLPHDQ\ZD\,GRQ WNQRZZKDWLW VOLNHQRZ
    EXWLW VDOZD\VEHHQRQHRIWKRVHWKLQJVWKDW\RXKHDU
    TXLWHRIWHQDQGTXLWHUHJXODUO\
    4*RWLW
    6RJRLQJEDFN\RXVDLGWKHUHZHUHWKUHH
    LQFLGHQWVWKDWFDXVHG\RXWROHDYH7KHILUVWZDV
    0U+DGQDJ\ VVHOHFWLRQRIDFRQWHVWDQWEHFDXVHVKHZDV
    DKRW$VLDQ
    :KDWZHUHWKHRWKHUWZRLQFLGHQWV"
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    $7KHVHFRQGZDV,WKLQN\RXFRXOGDUJXH
    WKDWWKLVZDVGHILQLWHO\DGLIIHUHQFHRIRSLQLRQLQ
    WHUPVRIWKHGLUHFWLRQRIWKHFRPSDQ\%XWWKDW\HDU
    &KULVJDYHDWDONDERXWKLVDWWKHWLPHLWZDVD


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     WKH&(2WRWDONDERXWVRDQGVRLVQRWGRLQJWKLV
     :H UHQRWGRLQJWKDW:HQHHGWRFRUUHFWWKLV,
     WKLQNWKDW VRND\EXW,WKLQNHVVHQWLDOO\VFUHDPLQJDW
                             ,WKLQNHVVHQWLDOO\VFUHDPLQJDW
     VRPHRQHRYHUFKDWLQDYHQXHWKDWWKHHQWLUHFRPSDQ\
     FDQVHHLVSUHWW\LQDSSURSULDWH
     7KHUHZHUHVHYHUDOLQGLYLGXDOVWKDWFDPHWR
     PH2QHHYHQVXJJHVWHGRQHRIRXUFRQWUDFWRUVHYHQ
     VXJJHVWHGSHUKDSVWRKLPIURPZKDWKHWROGPH
     H[HFXWLYHFRDFKLQJIRUXPWRSHUKDSVKHOSKLPEHFRPHD
    EHWWHUOHDGHUIRUWKHFRPSDQ\6RLWZDVDJDLQVR
    QXPHURXVDQGUHJXODUWKDWLW VUHDOO\KDUGIRUPHWR
    SLQSRLQW
    %XWWKHILQDOLQFLGHQWWKDWFDXVHGPHWR
    UHDOO\MXVWOHDYHZDVZHKDGDQLQGLYLGXDOWKDWKDGD
    GLIILFXOWWLPHZLWKWKHFRPSDQ\KDGDGLIILFXOWWLPH
    SHUVRQDOLW\ZLVHKDQGOLQJ&KULV SHUVRQDOLW\WHQGHG
    WRWDNHWKHEODPH+HZDVUHDGLO\KHUHDGLO\
    DFFHSWHGEODPHIRUHYHU\WKLQJWKDWKDSSHQHGZKHWKHURU
    QRWLWZDVZLWKLQKLVFRQWURORUQRWZKHWKHUKHKDG
    DQ\WKLQJWRGRZLWKLW
    $QGHVVHQWLDOO\&KULVEXOOLHGKLPLQWR,
                $QGHVVHQWLDOO\&KULVEXOOLHGKLPLQWR,
    WKLQN,FDQ,FDQVD\ZLWKFRQILGHQFHWKDW&KULV
    HVVHQWLDOO\EXOOLHGKLPLQWRUHVLJQLQJLQWRKLP
    VD\LQJ:HOO, PVRUU\, PMXVW, PMXVWQRWFXW
    RXWIRUWKLVFRPSDQ\,IHHOUHDOO\EDG, YHOHW


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     HYHU\ERG\GRZQ, OOOHDYH
     $QGWKDWLVP\RSLQLRQ7KDWLVP\RSLQLRQ
                $QGWKDWLVP\RSLQLRQ7KDWLVP\RSLQLRQ
     EHFDXVHXOWLPDWHO\WKDWHPSOR\HHGLGOHDYHEXWWKDW
     HPSOR\HHVXEVHTXHQWWRKLVHPSOR\PHQWDW
     6RFLDO(QJLQHHUKDVEHHQYHU\VXFFHVVIXOLQWKHUHVW
     RIKLVFDUHHU6RKDYLQJKDGVHHQWKHLQWHUDFWLRQV
     WKDWLVZKDW,IHOWKDSSHQHG$QGDJDLQ,ZDVUHDOO\
     IXULRXVDERXWWKDW
     %XW,WKLQNWKLVLVP\ORQJZD\RIVD\LQJ,
    FDQQRWWKLQNRIDQ\GD\ZKHUH,ZDVKDSS\WRORJRQWR
    ZRUNDQGZDVQ WDWVRPHSRLQWLQWLPHUHDOO\DQJU\WKDW
    GD\DQG,IHOWLWWREHDYHU\XQKHDOWK\HQYLURQPHQW
    48QGHUVWRRG
    6R\RXPHQWLRQHGDIHZWLPHVWKDW&KULV
    EHUDWHGRU0U+DGQDJ\EHUDWHGHPSOR\HHVRQDSXEOLF
    6ODFNFKDQQHO
    'LG\RXHYHUVHH0U+DGQDJ\KDUDVVHPSOR\HHV
    RQWKHSXEOLF6ODFNFKDQQHORULVWKHUHQRGLIIHUHQFH
    EHWZHHQWKRVHWZRWR\RX"
    $77251(<&215$'2EMHFW)RUP
    $,JXHVV, PFXULRXVLI\RXGHILQHD
    GLIIHUHQFHEHWZHHQKDUDVVPHQWDQGEXOO\LQJEHFDXVHLI
    \RX UHWKH&(2,WKLQNLW,JXHVVLQP\YLHZ
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     %XWLQWKHPHDQWLPH,ZDQWWRVZLWFKRYHUWR
     %ODFN+DW+DYH\RXHYHUKHDUGRI%ODFN+DWEHIRUH"
     $<HV
     4:KDWLV%ODFN+DW"
     $%ODFN+DWLVDSURIHVVLRQDOFRQIHUHQFHIRU
     LQIRUPDWLRQVHFXULW\SURIHVVLRQDOV
     4+DYH\RXHYHUDWWHQGHGD%ODFN+DW
     FRQIHUHQFH"
     $)RUGHFDGHV\HV
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           4   &DQ\RXWHOOPHDERXW\RXUH[SHULHQFHRU
    H[SHULHQFHVDWWHQGLQJWKH%ODFN+DWFRQIHUHQFHZLWK
    0U+DGQDJ\"
    $:H%ODFN+DWFRQIHUHQFHDQGWUDLQLQJLV
           $   :H%ODFN+DWFRQIHUHQFHDQGWUDLQLQJLV
    FRPSULVHGRIWUDLQLQJFRXUVHVSULRUWRDFWXDO
    SUHVHQWDWLRQVGRQHE\YDULRXVVSHDNHUV6RLWLVD
    FRQIHUHQFHWKDWLVKHOGMXVWSULRUWR'HI&RQODWH
    -XO\W\SLFDOO\HDUO\$XJXVWWLPHIUDPHRIHDFK\HDU
    ,QP\WHQXUHWKHUHZHWDXJKWDFODVVWKHUH
                ,QP\WHQXUHWKHUHZHWDXJKWDFODVVWKHUH
    DQGWKHQVWD\HGWKURXJKRXWWKDWWLPHIUDPHDQGWKHQKDG
    RXU6(9LOODJHDW'HI&RQ6RZHGLGWUDLQLQJZH
    VWD\HGWKURXJKWKHFRQIHUHQFHDQGWKHQZHGLGWKH
    WUDLQLQJDW'HI&RQ


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     4$QGGLG\RXHYHUVHHDQ\LQVWDQFHVRI
           4   $QGGLG\RXHYHUVHHDQ\LQVWDQFHVRI
     0U+DGQDJ\PDNLQJDQ\RQHIHHOXQFRPIRUWDEOHGXULQJDQ\
     RIWKHVH%ODFN+DWFRQIHUHQFHV"
     $<HV,GLG
           $   <HV,GLG
     4&DQ\RXWHOOPHZKDW\RXVDZ"
           4   &DQ\RXWHOOPHZKDW\RXVDZ"
     $,WSULPDULO\KDGWRGRZLWKWKHFRQWH[WRI
           $   ,WSULPDULO\KDGWRGRZLWKWKHFRQWH[WRI
     WKHWUDLQLQJLWVHOI,WZDVDJDLQDWUDLQLQJFRXUVH
     WKDWKHKDGGHYHORSHGSULRUWRP\KLUHDWWKHFRPSDQ\
     DQGLWZDVFRPSULVHGRIVRFLDOHQJLQHHULQJSULQFLSOHV
    7KHUHZDVDQHQWLUHGD\VSHQWRQSV\FKRORJ\SULQFLSOHV
    LQIOXHQFHPDQLSXODWLRQGHFLVLRQPDNLQJDQGWKH
    FDSVWRQHHYHQW
    $QGWKHUHZHUHH[HUFLVHVGRQHDIWHUFODVVLQ
                $QGWKHUHZHUHH[HUFLVHVGRQHDIWHUFODVVLQ
    WKHHYHQLQJV6RZHVSOLWWKHFODVVXSE\YDULRXV
    JURXSV$QGWKHQWKHUHZHUHVHWVRIH[HUFLVHVWKDW
    ZHUHGRQHDQGWKHQWKHUHZDVDFDSVWRQHH[HUFLVHGRQH
    RQWKHODVWGD\WKDWZDVSUDFWLFDOLQQDWXUH
    ,
                , PVRUU\,QHHGWRVKXWRIIP\VSDFH
    KHDWHULI\RX OOKDQJRQMXVWRQHVHFRQG
    41RSUREOHP
           4   1RSUREOHP
    $2ND\6RUU\DERXWWKDW
           $   2ND\6RUU\DERXWWKDW
    6RWKHDFWXDOWUDLQLQJWKHFRXUVHZRUN
                6RWKHDFWXDOWUDLQLQJWKHFRXUVHZRUN
    WUDLQLQJZDVUHODWLYHO\QRQGHVFULSW<RXNQRZZH
    WULHGWRPDNHLWIXQ,WZDVLWZDVPHDQWWREHDQ
    HGXFDWLRQDOFRXUVHEXWFHUWDLQO\ZHNHSWLW,


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     NHSWDORWRILWOLJKWLQQDWXUH
     %XWWKHUHZDVWKHUHZDVDORWRIUHVHDUFK
                %XWWKHUHZDVWKHUHZDVDORWRIUHVHDUFK
     WKDWZDVEURXJKWLQRQDORWRISV\FKRORJLFDOFRQFHSWV
     ,FRQWULEXWHGWRWKHHGLWRIDORWRIWKRVHXSGDWHG
     VRPHRIWKHVRPHRIWKHUHVHDUFKDVVRFLDWHGZLWKLW
     %XWJHQHUDOO\VSHDNLQJWKHFRXUVHZDVLQSODFHZKHQ,
     VWDUWHGWRKHOSKLPWUDLQLQ
     7KHH[HUFLVHWKDW,KDGWKDW,WRRNPRVW
                7KHH[HUFLVHWKDW,KDGWKDW,WRRNPRVW
     LVVXHZLWKZDVRQHWKDWLWLVOLNHO\WKDWKDVKDGVRPH
    LQIDP\LQWKDWWKHUHZHUHVHSDUDWHTXHVWLRQVIRUPHQ
    DQGZRPHQLQWKHFODVV(YHU\RQHKDGWKHVDPHVRUWRI
    TXHVWLRQVWKDWWKH\FRXOGSLFNDQGFKRRVHZKHUH
    HVVHQWLDOO\WKHH[HUFLVHZDVIRUWKHPWRLQWHUDFWZLWK
    FRPSOHWHVWUDQJHUVDQGVHHZKDWNLQGRILQIRUPDWLRQ
    WKDWWKH\FRXOGHOLFLWDJDLQWRVRUWRILOOXVWUDWH
    KRZZH UHQRWFDUHIXODERXWWKHLQIRUPDWLRQWKDWZH
    SRVVHVVKRZLWFDQOHDGWRDILQDQFLDOEUHDFKIRU
    LQVWDQFHDVHFXULW\EUHDFKZLWKLQDFRPSDQ\
    $QGLWZDVUHDOO\GHVLJQHGWRKHOSVWXGHQWV
                $QGLWZDVUHDOO\GHVLJQHGWRKHOSVWXGHQWV
    RYHUFRPHWKHLUGLVFRPIRUWLQVRPHFDVHV<RXNQRZ
    VRPHSHRSOHDUHILQHZLWKVSHDNLQJWRVWUDQJHUVDQG
    MXVWPDNLQJVPDOOWDONEXWDORWRISHRSOHDUHQ W
    $QGVRZHWKHH[HUFLVHVZHUHGHVLJQHGWRNLQGRI
    KHOSSHRSOHRYHUWKDWKXPS\RXNQRZDQGJHWWKHPXVHG
    WRDVNLQJWKHVHNLQGVRITXHVWLRQVWRGRWKLVVRUWRI


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     ZRUNIRUWKHLUFRPSDQLHVWRPDNHWKHLUFRPSDQLHVPRUH
     VHFXUHWRPDNHWKHLUIDPLOLHVPRUHVHFXUH
     6RPHRIWKHTXHVWLRQV,WKRXJKWZHUHWRR
                6RPHRIWKHTXHVWLRQV,WKRXJKWZHUHWRR
     SHUVRQDOLQQDWXUHDQGDOVRSRWHQWLDOO\ZHUHXQVDIH
     LQQDWXUH$QGKHDQG,KDGQXPHURXVELWWHUELWWHU
     DUJXPHQWVDERXWZKHWKHURUQRWZKHWKHURUQRWWR
     NHHSWKRVHTXHVWLRQVLQ$QGXOWLPDWHO\KHGHFLGHG
     WRNHHSWKRVHLQ
     4:KDWTXHVWLRQVGLG\RXWKLQNZHUHXQVDIH"
           4   :KDWTXHVWLRQVGLG\RXWKLQNZHUHXQVDIH"
    $,WKRXJKWLWZDVXQVDIHIRUZRPHQWRDSSURDFK
           $   ,WKRXJKWLWZDVXQVDIHIRUZRPHQWRDSSURDFK
    PHQWKDWWKH\GLGQRWNQRZWRGHWHUPLQHZKHWKHURUQRW
    WKH\ZHUHFLUFXPFLVHGRUXQFLUFXPFLVHG
    46RRKJRDKHDG
           4   6RRKJRDKHDG
    $$QGEHFDXVHWKHVHH[HUFLVHVZHUHGRQH
           $   $QGEHFDXVHWKHVHH[HUFLVHVZHUHGRQH
    SULPDULO\DIWHUFODVVLQWKHHYHQLQJV$QGIRU%ODFN
    +DWLQSDUWLFXODUWKLVZDVLQ/DV9HJDV$QGLIDQ\
    RI\RXKDYHHYHUEHHQWR/DV9HJDV\RXNQRZZKDWWKH
    HQYLURQPHQWLVOLNH(YHU\RQH VGULQNLQJ7KHUH V
    MXVWDORWRIDFWLYLW\WKDW\RXZRXOGQ WZDQW\RXU
    XQGHUDJHGFKLOGUHQWRVHH<RXNQRZLW VMXVWLW V
    QRWDJUHDWHQYLURQPHQW$QGLW VDQGLW VQRWD
    JUHDWVRUWRILI\RX UHJRLQJWRJRDIWHUKRXUVWR
    DVNWKRVHNLQGVRITXHVWLRQV\RX UHJRLQJWRHQGXSLQ
    DUHVWDXUDQWRUSUREDEO\DEDUZKHUHSHRSOHDUH
    GULQNLQJ


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                                                                         3DJH
     $QG,IHOWWKDWLWFRXOGOHDGWRLVVXHV
                $QG,IHOWWKDWLWFRXOGOHDGWRLVVXHV
     PLVXQGHUVWDQGLQJVDQGSRWHQWLDOO\XQVDIHVLWXDWLRQV
     $QGLI\RXKDYHGDXJKWHUVVLJQLILFDQWRWKHUVZKRDUH
     IHPDOH,LPDJLQHWKDW\RXFDQWKLQNWKDW\RXZRXOGQ W
     ZDQW\RXUORYHGRQHRUIULHQGWRSDUWLFLSDWHLQ
     VRPHWKLQJOLNHWKDWZLWKRXWDORWRIDVVLVWDQFH
     $QGJUDQWHGWKHUHLWZDVQ
                $QGJUDQWHGWKHUHLWZDVQ WSULPDULO\
     LWZDVQ WPDQGDWRU\WKDWLWZDVJURXSZRUN6R
     SRWHQWLDOO\DZRPDQFRXOGJRWRDEDUE\KHUVHOI$
    VWXGHQWFRXOGJRWRDEDUE\KHUVHOIDQGDVNWKHVH
    TXHVWLRQVMXVWWRJHWWKHH[HUFLVHGRQH
    )RUWKHPHQWKH\ZHUHWRJRXSWRDVWUDQJH
                )RUWKHPHQWKH\ZHUHWRJRXSWRDVWUDQJH
    ZRPDQDQGGHWHUPLQHEUDFXSVL]HIHPLQLQHK\JLHQH
    SURGXFWVVWXIIOLNHWKDW7KDWNLQGRIVWXII\RX
    FRXOGSUREDEO\VD\2ND\<RXNQRZWKDW V
    HPEDUUDVVLQJ$QG\RXFRXOGWKLQNRIPRUHTXHVWLRQV
    LQP\RSLQLRQWKDWZHUHPRUHDORQJWKRVHOLQHVZKHUH
    LW VHPEDUUDVVLQJLW VSHUVRQDOEXWLWGRHVQ WSODFH
    HLWKHUWKHVWXGHQWRUWKHSHUVRQEHLQJDVNHGWKRVH
    TXHVWLRQVLQDQ\NLQGRIUHDOO\XQVDIHIHHOLQJ
    SRVLWLRQ
    6R&KULV
                6R&KULV DUJXPHQWZDVZHOOEUHDVWVDQG
    SHQLVHVDUHQ WLQKHUHQWO\VH[XDO$QGZHOOLW V
    WUXHEXWZLWKLQRXUFXOWXUHZLWKLQ$PHULFDQFXOWXUH
    LQSDUWLFXODUEUHDVWVDQGSHQLVHVDUH\RXFDQQRW


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     WDNHVRFLDOFRQWH[WDZD\IURPSDUWVWKDWDUHXVHGIRU
     UHSURGXFWLRQDQGRUDUHVH[XDOL]HGLQVRPHZD\,W V
     MXVWDQGLI\RXFDQGRLWFRQJUDWXODWLRQVWR\RX
     ,QP\RSLQLRQ\RXFDQQRW
     46R
           4   6R
     $$QG,
           $   $QG,
     4*RDKHDG6RUU\
           4   *RDKHDG6RUU\
     $,ZDVYHU\XQFRPIRUWDEOHWHOOLQJIHPDOH
           $   ,ZDVYHU\XQFRPIRUWDEOHWHOOLQJIHPDOH
     VWXGHQWVIRUWKLVFODVVIRUWKLVH[HUFLVHZHDUH
    DVNLQJ\RXWRDVNWKHVHTXHVWLRQVDSSURDFKDFRPSOHWH
    VWUDQJHUDVNWKHVHTXHVWLRQVWRGHWHUPLQHWKHDQVZHUV
    $QGLWJRWWRWKHSRLQWZKHUH,ZDVVR
                $QGLWJRWWRWKHSRLQWZKHUH,ZDVVR
    XQFRPIRUWDEOHZLWKLWWKDW,SULRUWRWKDWHYHQLQJ
    ,ZRXOGJRDURXQGWRDOOWKHIHPDOHVWXGHQWVDQGVD\
    ,I\RXDUHXQFRPIRUWDEOHZLWKWKLVTXHVWLRQ\RXGRQ W
    KDYHWRGRLW-XVWGRQ W,I\RXIHHOXQVDIHGRQ W
    GRLW
    4*RWLW
           4   *RWLW
    6R0U+DGQDJ\GLGQRWWKLQNLWZDV
                6R0U+DGQDJ\GLGQRWWKLQNLWZDV
    LQDSSURSULDWHIRUZRPHQWRDSSURDFKVWUDQJHUVDQGDVN
    DERXWZKHWKHUWKHLUSHQLVZDVFLUFXPFLVHGEHFDXVH
    SHQLVHVDUHQRWVH[XDOLQQDWXUH"
    $&RUUHFW
           $   &RUUHFW
    $77251(<&215$'2EMHFW)RUP
    4 %\$WWRUQH\'HDQ $QG0U+DGQDJ\GLGQRW


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     WKLQNLWZDVLQDSSURSULDWHIRUPHQWRDSSURDFKZRPHQ
     ZKRZHUHVWUDQJHUVDQGDVNDERXWWKHVL]HRIWKHLU
     EUHDVWVEHFDXVHEUHDVWVDUHQRWVH[XDOLQQDWXUH"
     $&RUUHFW
     $77251(<&215$'2EMHFW)RUP
     4
           4    %\$WWRUQH\'HDQ $QG\RXGLVDJUHHGZLWK
     KLP"
     $,GLVDJUHHGEHFDXVH,WKLQNLWLVLPSRVVLEOH
           $   ,GLVDJUHHGEHFDXVH,WKLQNLWLVLPSRVVLEOH
     WRWDNHVRFLDOFRQWH[WDZD\IURPSK\VLRORJ\WKDWLV
    YHU\W\SLFDOO\DVVRFLDWHGZLWKVH[XDODFWLYLW\DQG
    KDUDVVPHQW&DQ\RXGRLWLQZD\VWKDWKDYHQRWKLQJWR
    GRZLWKVH["$EVROXWHO\+RZHYHU,WKLQNWKHZD\
    LW VGRQHLVGLIILFXOW
    $QGHYHQLI\RXGRLWSHUIHFWO\LI\RXGRLW
                $QGHYHQLI\RXGRLWSHUIHFWO\LI\RXGRLW
    LQDQHQYLURQPHQWZKHUHWKHUH VSHRSOHDQGGULQNLQJDQG
    LPSDLUPHQWHYHQLQDKRWHOEDU\RXNQRZHYHQLQD
    UHVWDXUDQWLIVRPHRQH VKDGDIHZGULQNV,WKLQNLW
    LVSRWHQWLDOO\SUREOHPDWLF$QG,IHOWXQFRPIRUWDEOH
    SODFLQJRXUVWXGHQWVLQWKDWNLQGRIDVLWXDWLRQ
    4$QGWKHVWXGHQWVDSSURDFKHG\RXDQGWROG\RX
           4   $QGWKHVWXGHQWVDSSURDFKHG\RXDQGWROG\RX
    WKH\IHOWXQFRPIRUWDEOHZLWKWKLVFRUUHFW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,KDGVWXGHQWVDSSURDFKPHDQGWHOOPH$QG
           $   ,KDGVWXGHQWVDSSURDFKPHDQGWHOOPH$QG
    LWKDGKDSSHQHGVRFRPPRQO\WKDWLQP\ODWHUWLPHVRI
    WHDFKLQJWKLVFRXUVH,ZRXOGMXVWNLQGRISUHHPSWWKDW


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     E\JRLQJDURXQGWRWKHIHPDOHVWXGHQWVDQGDFWXDOO\
     JRLQJDURXQGWRWKHJURXSVEHFDXVH,UHPHPEHUWKHUH
      JRLQJDURXQGWRWKHJURXSV
     ZDVDJURXSLQSDUWLFXODURI0XVOLPPHQWKDWZHUH
     XQFRPIRUWDEOHVSHDNLQJZLWKZRPHQEHFDXVHWKDWZDV
     WKHLUUHOLJLRXVREMHFWLRQ$QGWKDWLVWKHRQO\WLPH
     WKDW,UHPHPEHU&KULVPDNLQJDQH[FHSWLRQWRWKRVH
     NLQGVRITXHVWLRQVDQGNLQGRIWKLQNLQJRI
     DOWHUQDWLYHV\RXNQRZWKDWWKH\FRXOGDVNPHQWKDW
     WKH\GLGQ WNQRZDERXWZKDWHYHU\RXNQRZ
    %XWLWZDVYHU\LWZDVDPDMRUSRLQWRI
    FRQWHQWLRQZLWKUHVSHFWWRWKDWFODVVDQGWKDWZDVWKH
    FODVVWKDWZHWDXJKWDW%ODFN+DW
    4 %\$WWRUQH\'HDQ <RXPHQWLRQHGWKDWDORW
    RIZRPHQH[SUHVVHGWKHLUGLVFRPIRUWZLWKWKHVHW\SHRI
    TXHVWLRQV
    $SSUR[LPDWHO\KRZPDQ\RIWKHZRPHQVWXGHQWV
    H[SUHVVHGWKHLUGLVFRPIRUWDERXWWKHVHTXHVWLRQVDERXW
    SHQLVHVDQGZKHWKHUWKH\ZHUHFLUFXPFLVHG"
    $77251(<&215$'2EMHFW)RUP
    $3UREDEO\ZHW\SLFDOO\KDG,GRQ WNQRZ
    EHWZHHQDQGVWXGHQWVLQDFODVVDQGZHZRXOG
    SUREDEO\KDYHXVXDOO\RQHRUWZRZRPHQ$QG,ZRXOG
    KHDUDERXWLWDOPRVWHYHU\FODVVDQG,WDXJKWDQXPEHU
    RIFODVVHVLQWKHIRXU\HDUVWKDW,ZDVWKHUH
    4 %\$WWRUQH\'HDQ $QG\RXDSSURDFKHG


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     0U+DGQDJ\DERXWWKHVHTXHVWLRQV"
     $1XPHURXVWLPHV\HV
     4$QG0U+DGQDJ\UHIXVHGWRUHPRYHWKHPIURP
     WKHFRXUVH"
     $&RUUHFW+HKDGGHYHORSHGWKLVFRXUVHZLWKD
     SURIHVVLRQDOIULHQGDQGDFTXDLQWDQFHRIKLVZKRKHIHOW
     KDGPRUHH[SHULHQFHLQWKLVDUHDDQG,WKLQNWUXVWHG
     WKDWLQGLYLGXDO VMXGJPHQWZKLFKZDVKLVSUHURJDWLYH
     ,WZDVKLVFRXUVH
    48QGHUVWRRG
    <RXPHQWLRQHGDIHZWLPHVWKH'HI&RQ
    FRQIHUHQFH'R\RXUHFDOOWKDW"
    $<HV
    4'LG\RXHYHUDWWHQGDQ\'HI&RQFRQIHUHQFHV
           4   'LG\RXHYHUDWWHQGDQ\'HI&RQFRQIHUHQFHV
    ZLWK&KULV"
    $<HV
           $   <HV
    4'LG\RXHYHUREVHUYH0U+DGQDJ\PDNLQJ
           4   'LG\RXHYHUREVHUYH0U+DGQDJ\PDNLQJ
    DQ\RQHIHHOXQFRPIRUWDEOHRULQWLPLGDWHGRUDQ\WKLQJ
    IRUDQ\VWXGHQWVRUVWDIIDWDQ\RIWKHVHFRQIHUHQFHV"
    $<HV,ZRXOGQRW,ZRXOGQRWFDOOLW
           $   <HV,ZRXOGQRW,ZRXOGQRWFDOOLW
    \RXNQRZDORWRIWKHKDUDVVPHQWWKDWZH YHVSRNHQ
    DERXWLV\RXNQRZVRUWRIZKDWZHZRXOGFDOO
    LQDSSURSULDWHKDUDVVPHQWDVVRFLDWHGZLWKJHQGHUEXW
    WKLVKDVPRUHWRGRZLWKJHQHUDOWUHDWPHQWRI
    LQGLYLGXDOV


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     $QG,WKLQNLWMXVWZKHQ0U+DGQDJ\LV
                $QG,WKLQNLWMXVWZKHQ0U+DGQDJ\LV
     IDWLJXHGZKLFKKHZRXOGKHZRXOGSXVKKLPVHOIYHU\
     KDUGDWWKHVHFRQIHUHQFHVDQGQRWHDWLQJ+HZRXOG
     SXVKWKHUHVWRIWKHVWDIIDVKDUGDVKHZRXOGDQGVR
     WKHUHZRXOGEHDORWRI\HOOLQJ,WZDVMXVWRQHRI
     WKRVHW\SLFDOERVVWKDWVFUHDPVDQG\HOOV
     $QGKHZRXOGRIWHQWDONDERXWKRZWKH\GLGQ
                $QGKHZRXOGRIWHQWDONDERXWKRZWKH\GLGQ W
     QHHG'HI&RQ'HI&RQQHHGHGKLPEHFDXVHRXUYLOODJH
     ZDVVRELJ$QGRXUYLOODJHZDVYHU\YHU\ELJ,W
    ZDVYHU\ZHOODWWHQGHGEXWKHZDVRIWKHDUJXPHQW
    WKDW\RXNQRZWKHFRQIHUHQFHQHHGHGXVZD\PRUHVR
    ZHGHVHUYHGDELJJHUVSDFHHYHU\\HDU+HZRXOG
    FRPSODLQWRVWDIISUHWW\YRFDOO\
    $QGWKHVWDIIDW'HI&RQMXVWOLNH\RX
                $QGWKHVWDIIDW'HI&RQMXVWOLNH\RX
    NQRZWKHVWDIIDW6(&20DQGWKHRWKHUYLOODJHVDUH
    ODUJHO\YROXQWHHU6RLW VDYHU\ODUJHFRQIHUHQFH,
    WKLQNXSZDUGVRIWKRXVDQGSHRSOHDWWHQGLQVRUW
    RIDWKUHHIRXUGD\SHULRG6R\RXFDQLPDJLQHKRZ
    PDQ\SHRSOHWKH\ UHWU\LQJWRVXSSRUWKRZPDQ\
    YHQGRUVKRZPDQ\SUHVHQWDWLRQVZLWKDOLPLWHGVWDII
    $QGWKH\ UHZRUNLQJZLWKLQ\RXNQRZWKHKRWHO
    FRQVWUDLQWVDVZHOOKRZELJRIDURRPFDQZHREWDLQ
    6RLWZDVMXVW&KULVHYHU\\HDUIHOW
                6RLWZDVMXVW&KULVHYHU\\HDUIHOW
    WKDWZHZHUHQ WJLYHQWKHWUHDWPHQWWKDWZHGHVHUYHG
    \RXNQRZWKDWZHTXRWHXQTXRWHGHVHUYHGWKDWWKH\


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                                                                         3DJH
     QHHGHGXVPRUHDQGWKH\ZHUHQ WJLYLQJXVHQRXJK
     DWWHQWLRQ7KH\ZHUHQ WJLYLQJXVHQRXJKUHVRXUFHV
     $QGHYHU\\HDULWZDV,VWUXJJOHGZLWKUHDOO\
     IHHOLQJHPEDUUDVVHGEHFDXVH,ZDVUHSUHVHQWLQJWKH
     FRPSDQ\DQGWRKDYHD&(2WUHDWLQJVWDIIDQG
     YROXQWHHUVDQGSHRSOHZKRZHUHWKHUHEHFDXVHWKH\ORYHG
     WKHFRQIHUHQFH,GRQ WHYHUUHFDOOKLPWUHDWLQJ
     JXHVWVLQWKDWIDVKLRQ,WKDGWRGRPRUHZLWKVWDII
     DQGYROXQWHHUVDWERWK'HI&RQDQGZLWKLQRXUFRPSDQ\
    4*RWLW$QGWKDWZDVRQHSRLQWRI
           4   *RWLW$QGWKDWZDVRQHSRLQWRI
    FODULILFDWLRQWKDW,KDG
    :KHQ\RX
                :KHQ\RX UHVD\LQJKH V\HOOLQJDWVWDIIDUH
    \RXUHIHUULQJWR'HI&RQVWDII6(9LOODJHVWDIIRU
    ERWK"
    $%RWK
           $   %RWK
    4$QGGLG\RXEHOLHYHWKDWWKDWZDVDSSURSULDWH
           4   $QGGLG\RXEHOLHYHWKDWWKDWZDVDSSURSULDWH
    RULQDSSURSULDWH"
    $,WKLQNLWZDVLQDSSURSULDWHEHFDXVH,
           $   ,WKLQNLWZDVLQDSSURSULDWHEHFDXVH,
    EHOLHYHGLVDJUHHPHQWVVKRXOGEHKDQGOHGSURIHVVLRQDOO\
    HYHQZKHQ\RX UHUHDOO\WLUHGDQGDQJU\DQGKXQJU\
    4'R\RXUHFDOODQ\VSHFLILFH[DPSOHVRI
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     WKDWLVDEHWWHUFKRLFHWKDQVLWWLQJDQGEORZLQJXSDW
     WKHFRPSDQ\EXW,MXVWWKLQNLI\RX UHWKH&(2RID
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     PRUHDSSURSULDWHO\$QGVRWKDWZDVVRPHWKLQJWKDW
     KDSSHQHGWRWKHFRPSDQ\DVDZKROHLQUHDOWLPH
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    GHVFULEH\RXNQRZWKHIXQDQGWKHRXWEXUVWV"


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 1                            C E R T I F I C A T E

 2       UNITED STATES         )
                               )
 3       DISTRICT COURT        )

 4
                   I, a Reporter and Washington Certified Court
 5       Reporter, hereby certify that the foregoing videotaped
         videoconference deposition upon oral examination of
 6       Michele Fincher was taken stenographically before me on
         October 14, 2024, and transcribed under my direction;
 7
                   That the witness was duly sworn by me
 8       pursuant to RCW 5.28.010 to testify truthfully; that
         the transcript of the deposition is a full, true and
 9       correct transcript to the best of my ability; that I am
         neither attorney for nor a relative or employee of any
10       of the parties to the action or any attorney or counsel
         employed by the parties hereto nor financially
11       interested in its outcome.

12                 I further certify that in accordance with
         Washington Court Rule 30(e) the witness is given the
13       opportunity to examine, read and sign the deposition
         within thirty days upon its completion and submission
14       unless waiver of signature was indicated in the record.

15                 IN WITNESS WHEREOF, I have hereunto set my
         hand this 18th day of October, 2024.
16

17

18                   Douglas Armstrong, RPR

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                     ____________________________________________
20                   Washington Certified Court Reporter No. 3444
                     License expires 11/26/2025
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        Exhibit 22
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    4,NQRZZHKDYHPHWEHIRUHEXWIRUWKH
    UHFRUG, OOUHLQWURGXFHP\VHOI0\QDPHLV
    /DXUHQ7UDPEOH\DQG, PDQDWWRUQH\DW3HUNLQV&RLH
    :HUHSUHVHQWGHIHQGDQWV'HI&RQ&RPPXQLFDWLRQV,QF
    DQG-HII0RVV
    7REHJLQFDQ\RXSOHDVHVWDWH\RXUIXOOQDPH
    IRUWKHUHFRUG"
    $&RQVWDQFH&DLWOLQ&UXPSOHU0XUGRFN
    4+DYH\RXHYHUEHHQGHSRVHGEHIRUH"
    $1R
    42ND\, OOJRRYHUVRPHEDVLFJURXQGUXOHV
    EHIRUHZHJHWVWDUWHG
    6R\RXXQGHUVWDQGWKDW\RXDUHJLYLQJVZRUQ
    WHVWLPRQ\XQGHURDWKWRGD\DVLI\RXZHUHVLWWLQJLQD
    FRXUWURRP"
    $,GR


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                                                                         3DJH
     6XLWHVGLGQ WKDYHWKHLUVHFXULW\SROLF\DQGVHFXULW\
     WLJKW6R,GLGWKDW
     $QGWKHQ,GHFLGHGWKDWLWZRXOGEHDZHVRPH
     WRJHWLQWRRIIHQVLYHVHFXULW\ZKLFKLV\RXNQRZQRW
     WKHSROLF\VLGH,WLVWKHRIIHQVLYHDWWDFNHUVLGH
     WKHWKUHDWDFWRUVLGH7KDW VZKHQ,OHDUQHGRI
     &KULV+DGQDJ\DQG0LFKHOH)LQFKHUDQGWKHFRPSDQ\
     6RFLDO(QJLQHHU,PHWWKHPDW'HI&RQLQ
     WKRXJKWWKDWJRLQJWKURXJKNLQGRIWKHOLNHVHFXULW\
    HGXFDWLRQVODVKRIIHQVLYHPLQGVHWURXWHFRXOGEHD
    JRRGZD\LQIRUPH,WHQGWRKDYHDJRRGUHDGRI
    SHRSOHXVXDOO\6R,DSSOLHGIRUDMREZLWKWKHP
    ,GLGWKHLU6(&7)WKHLUFDSWXUHWKHIODJ
    FRPSHWLWLRQDW'HUE\&RQLQHDUO\2FWREHURI0\
    UHVHDUFKOLNHFRPSRQHQWFDPHLQILUVWOLNHWRS
    VFRUHUDQGWKHQ,FDPHLQVHFRQGRYHUDOO$QGWKH\
                                                  $QGWKH\
    KLUHGPHWRVWDUWLQ2FWREHURIWKDW\HDUDW
    6RFLDO(QJLQHHUDIWHU,GLGDQLQWHUYLHZ$QGWKHQ,
    ZRUNHGDW6RFLDO(QJLQHHUXQWLOZKHQ,TXLWLQ
    0DUFK
    $QGWKHQDIWHUWKDW,ZDVQRWHPSOR\HGIRU
    DFRXSOHRIPRQWKV$QGLQ-XQHRI,JRWDUROH
    DVDVHFXULW\FRQVXOWDQWGRLQJWKUHDWDQGDWWDFN
    VLPXODWLRQOLNHWHFKQLFDOWKUHDWDQGDWWDFN
    VLPXODWLRQQRWUHDOO\WKHSKLVKLQJVLGHRILWRUWKH


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     WKHPDVVDQGWKHJDQJLQJXSWKHQ\RXVRUWRIIHHOOLNH
     \RXKDYHDEHWWHURSSRUWXQLW\WREHFRPHWKHDQRLQWHG
     RQH
     6RLWZDVMXVWOLNHDVXUH0D\EHLW
     ZDVDIDPLO\IHHOLQJEXWLWZDVQ WDIXQFWLRQDOIDPLO\
     IHHOLQJ$QG,WKLQNUHDOO\VDGO\,WKLQNDORWRI
     WKHHPSOR\HHVOLNHZHUHIDPLOLDUZLWKWKHG\VIXQFWLRQ
     RIIDPLO\OLNHWKDW6R,WKLQNWKDWLWZDVVRPHWKLQJ
     WKDWGLGIHHOFRPIRUWDEOHEXWZDVQ WKHDOWK\WREHLQ
    42ND\$QG
    $$OVRKHZRXOG\HDK<HDK.HHSJRLQJ
    41R*RDKHDG
    $+HZDVMXVWOLNHDYHU\ODUJHDQGOLNH
    KHKDVDQLQWLPLGDWLQJSUHVHQFHOLNHZLWKKLV
    JUHJDULW\+HLVDOVROLNHOLNHKHLVDQLPSRVLQJ
    LQGLYLGXDO
    6RWKHUHZRXOGEH\RXNQRZOLNHMRNHVPDGH
                6RWKHUHZRXOGEH\RXNQRZOLNHMRNHVPDGH
    WKDWZHUHIHOWOLNHMRNHVEXWLWZDVRQHRIWKRVH
    VLWXDWLRQVZKHUHOLNH\RXODXJKEHFDXVHWKDW VWKH
    VRFLDOH[SHFWDWLRQ6ROLNHKHZRXOGMRNHDERXW
    OLNHVKDQNLQJDORWDQGOLNHSXQFKLQJVRPHRQH
    7KURDWSXQFKLQJZDVDUHDOO\ELJRQHWKDWKHZRXOGMRNH
    DERXWDORW
    %HFDXVHLWZDVDIDPLO\IHHOZHOLNHJRW
    WRNQRZWKLQJVWKDWOLNH,QRZUHFRJQL]HLI,NQHZ


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     WKLVDERXWDERVVLWZRXOGEHOLNHUHDOO\ZURQJ\RX
     NQRZOLNHKLVOLNHVH[XDOSUHIHUHQFHVIRU$VLDQ
     ZRPHQ$QGWKHQWKHUHZDVDOPRVWDOZD\VDQ$VLDQZRPDQ
     RQVWDII
     6RLWZDVOLNHVWXIIOLNHWKDWZKHUHDW
     WKDWWLPHWKHIHHOLQJZDVOLNH\RXVKRXOGODXJKLQWKH
     JURXSEXWLQUHWURVSHFWLWZDVSUREDEO\DQ
     LQDSSURSULDWHVWDFNLQJRIWKRVHUHODWLRQVKLSV
     4'LGLWPDNH\RXFRPIRUWDEOHRUXQFRPIRUWDEOH
           4   'LGLWPDNH\RXFRPIRUWDEOHRUXQFRPIRUWDEOH
    WKDW\RXKDGDERVVZKRPDGHMRNHVDERXW
    WKURDWSXQFKLQJ"
    $,WZDVGHILQLWHO\XQFRPIRUWDEOH,WZDVQRW
           $   ,WZDVGHILQLWHO\XQFRPIRUWDEOH,WZDVQRW
    FRPIRUWDEOH<RXZRXOGORRNDURXQGWKHURRPDQG\RX
    NQRZLILWZDVOLNHDWUDLQLQJ,DOZD\VNLQGRI
    ZRQGHUHGZKRZDVERWKHUHGE\LWEHFDXVHVRPHRQH VJRLQJ
    WREH/LNHWKDW VEXWLWZDVZLHOGHGLQVXFKD
    ZD\WKDWLWIHOWOLNHDQLQVLGHMRNH
    <RXNQRZVRLWIUDPHG/LNHVRFLDO
                <RXNQRZVRLWIUDPHG/LNHVRFLDO
    HQJLQHHULQJLVDOODERXWIUDPLQJ\RXNQRZ,W V
    /HW VIUDPHWKHQDUUDWLYHZKLFKLURQLFDOO\LVDOVR
    OLNHDFRXUWFDVH$QG+DGQDJ\ZRXOGOLNHWHDFK
    DERXWIUDPLQJDQGKRZ\RXNQRZDOOWKHZRUGV\RXXVH
    PDNHWKHIUDPH7KDW VOLNHLQKLVERRN
    6RZKHQ\RXKDYHVRPHERG\ZKR
                6RZKHQ\RXKDYHVRPHERG\ZKR VMRNLQJDERXW
    WKURDWSXQFKLQJDQGVKDQNLQJLWLVPDNLQJDIUDPHDQG


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     LW VDIUDPHRIOLNH,DPKROGLQJWKHSRZHU
     ,W
                ,W VDOVRDIUDPHWKDWVSHDNVWROLNHD
     GHIHQVLYHDQGSURWHFWLYHQDWXUH6R\RXVRUWRIDUH
     IUDPHGLQWRWKLVLGHDRI2KZHOO, PRQWKHLQVLGH
     , PQRWJRLQJWRJHWVKDQNHGULJKW"5LJKW":HOO
     \RXGRQ WNQRZWKDW,JXHVV6RDJDLQDWWKHWLPH
     \RX UHNLQGRIOLNH2KKD/2/:HLUGMRNH
     $QGEXWOLNH\HDK,WZDVDORW,W
                $QGEXWOLNH\HDK,WZDVDORW,W
     ZDVLWZDVDGHFLVLRQWRGRWKDWSXEOLFO\$QGLW
    DEVROXWHO\FRORUHGWKHLQWHUDFWLRQVDQGLWGHILQLWHO\
    SDLQWHGDIUDPHRIWKHEDODQFHRISRZHULQWKH
    LQWHUDFWLRQV
    4$QGZKDWGR\RXUHFDOODERXW0U+DGQDJ\
    PDNLQJMRNHVDERXWSXQFKLQJSHRSOHLQWKHWKURDW"
    $:HOOKRQHVWO\,GRQ WLWNLQGRIJRHV
    EDFNWRWKHLGHDRIGHFLGLQJZKR VDQRLQWHGDQGZKR V
    QRW<RXNQRZLI\RXSLFNVRPHERG\WRMRNHDERXW
    OLNHLQMXULQJWKHQHYHQLILW VSUHVHQWHGOLNHD
    MRNH\RX UHVWLOOFKRRVLQJRQHSHUVRQLQWKHURRPLQD
    JURXSOLNHLQWKHPLQLFRPPXQLW\\RXKDYHWRWDUJHW
    HVVHQWLDOO\$QG,KDGEHHQ\RXNQRZNLQGRI
    OLNH,ZDVGHILQLWHO\WKHEXWWRIWKRVHMRNHV
    VRPHWLPHV
    %XWEHFDXVHWKHFRPSDQ\KDGDIROORZLQJ\RX
    ZRXOGDOZD\VKDYHRQHRUWZRSHRSOHZKRZRXOG


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                                                                         3DJH
     SOHDVHU6ROLNHLWZDVNLQGRIDGRXEOHHGJHG
     VZRUG6R,GHILQLWHO\GLGQ WORYHLWGLUHFWHGDWPH
     7KHVKDQNLQJZDVMXVWVRRXWODQGLVKWKDW
     \RX UHOLNHEXWLQSHUVRQKHZRXOGJHWD
     VZLWFKEODGHDQGOLNHLWKDVWKHVRXQG,W VDZKROH
     VHQVRU\H[SHULHQFH
     $QGVROLNH\HVWKHILUVWWLPHLWKDSSHQHG
     ZDVLWGHILQLWHO\VWXFNRXWLQP\EUDLQ:HZHUH
     LQOLNHDVPDOOOLNHFORVHWFRQIHUHQFHURRPKDYLQJ
    ZKLVNH\EHIRUH,ZDVKLUHG$QGKHGLGLWWR&ROLQ,
    EHOLHYHZKLFKSUREDEO\LWVKRXOGKDYHEHHQDUHG
    IODJEXWZKDWHYHU,WZDVQ WDSSDUHQWO\RULWZDV
    DQG,ZDVZLOOLQJWRLJQRUHLW
    $QGWKHQ,ZDVUHDOO\DJKDVW,UHDOO\
    WUXO\ZDV,ZDVDEVROXWHO\WRRDIUDLGWRVD\
    DQ\WKLQJEXWYHU\DJKDVWWKDWKHZRXOGGRLWWRSD\LQJ
    SHRSOHLQWUDLQLQJV7KDWZDVUHDOO\ERQNHUVWRPH
    4:KHQGLG0U+DGQDJ\SXOORXWKLVNQLIHDQG
           4   :KHQGLG0U+DGQDJ\SXOORXWKLVNQLIHDQG
    PDNHWKHMRNHDERXWVKDQNLQJ\RX"
    $+H
           $   +H VGRQHLWRQD=RRPFDOO+H VGRQHLWDW
    %ODFN+DW,EHOLHYHLI,UHFDOO+H VGRQHLW
    LW VDOPRVWLWZDVVRUHJXODU/LNHLWZDV
    OLWHUDOO\VRPHERG\EURXJKWLWXSWRPHWKDWLWZDV
    UHDOO\WUDXPDWL]LQJWRWKHP$QGWKHQ,KDGWRXQSDFN
    LWZLWKP\WKHUDSLVWEHFDXVHP\WKHUDSLVWZDVOLNH


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     2K\HDK7KDW VQRWQRUPDO
     6RLWKDSSHQHGPRUHRIWHQWKDQQRWDOPRVW
                6RLWKDSSHQHGPRUHRIWHQWKDQQRWDOPRVW
     /LNHLWZDVHYHU\RWKHUSKRQHFDOOSHUFHQWRIDOO
     LQWHUDFWLRQVLQYROYHGVRPHSK\VLFDOWKUHDWDWOHDVW
     42ND\
           4   2ND\
     $6KDQNLQJRUWKURDWSXQFKLQJ
           $   6KDQNLQJRUWKURDWSXQFKLQJ
     4$QGKHDOVRPDGHWKLVWKUHDWLQSHUVRQZKHUH
           4   $QGKHDOVRPDGHWKLVWKUHDWLQSHUVRQZKHUH
     KHZRXOGSXOORXWWKHNQLIH"
     $2K\HDK)RUVXUH
           $   2K\HDK)RUVXUH
    4$QGZHUH\RXLQWLPLGDWHGZKHQKHZRXOGSXOO
           4   $QGZHUH\RXLQWLPLGDWHGZKHQKHZRXOGSXOO
    RXWKLVNQLIH"
    $,W
           $   ,W VLPSRVVLEOHQRWWREH7KHSDUWRI\RXU
    EUDLQJRHV+DK6XUHO\WKLVLVVROLNHZHOLYH
    LQDVRFLHW\ZKHUH, PQRWJRLQJWRJHWVKDQNHGULJKW
    QRZ6R,JXHVVWKLVLVRND\TXHVWLRQPDUN
    %XW\HDK,PHDQKH
                %XW\HDK,PHDQKH VOLNHVL[IRRWIRXU
    DQGDWWKHWLPHKHZDVDUHDOO\ODUJHPDQOLNH
    HDVLO\WKHVL]HRIWZRRIXVFRPELQHGOLNHDWDQ\
    WLPH$QG, PQRWDVPDOOSHUVRQ6R\HDKLWZDV
    LQWLPLGDWLQJ
    4:RXOG\RXVD\\RXZHUHDIUDLGZKHQKHSXOOHG
           4   :RXOG\RXVD\\RXZHUHDIUDLGZKHQKHSXOOHG
    RXWKLVNQLIH"
    $7KHKLODULRXVWKLQJLVHYHU\WLPHRQHRI
           $   7KHKLODULRXVWKLQJLVHYHU\WLPHRQHRI
    WKHVHTXHVWLRQVLVDVNHG,WKLQNEDFNWRVRPHRIWKH
    WUDLQLQJOLQHVKHZRXOGXVH


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                                                                         3DJH
     )HDULVDQLQVWDQWUHDFWLRQ/LNHLW
                )HDULVDQLQVWDQWUHDFWLRQ/LNHLW V
     \RXUDP\JGDODPDNHVDFKRLFHRQLVWKLVDWKUHDW$QG
     OLNH\HVDNQLIHEHLQJEUDQGLVKHGLVDWKUHDW<RXU
     UDWLRQDOPLQGOLNH,ZDVMXVWGHVFULELQJZRXOGWKHQ
     FRPHLQDQGVD\6XUHO\LWFDQ WEHJLYHQZH UHLQD
     FDVLQRZLWKFDPHUDV
     %XW\HDK/LNHLW
                %XW\HDK/LNHLW VDEVROXWHO\VFDU\WR
     KDYHDVL[IRRWIRXUSOXVSRXQGGXGHSRSD
     VZLWFKEODGHDW\RX
    4$QG,EHOLHYH\RXVDLGKHZRXOGGRWKLVWR
    SHRSOHSD\LQJIRUWKHWUDLQLQJ6R
    $<HDK+HZRXOGGRLWLQWKHWUDLQLQJ+H
    DOZD\VFDUULHGWKDWNQLIHLQKLVSRFNHW
    4$QGGLGKHDOVRGRWKLVWRRWKHUHPSOR\HHVDW
    6RFLDO(QJLQHHU"
    $)RUVXUH
    4$QGGLG\RXHYHUVHHKLPSXOORXWKLVNQLIH
    DW'HI&RQ"
    $)RUVXUH(VSHFLDOO\OLNHOLNH,GRQ W
    UHPHPEHUDWLPHWKDWKHGLGLWOLNHGXULQJWKH6(&7)
    ZKHQWKHURRPZDVSDFNHG
    ,NQRZKHZRXOGGRLWZKHQLWZDVMXVWVWDII
    DQGYROXQWHHUV,WKLQNKHGLGLWZKHQ\RXNQRZKH
    KDGDOLWWOHELWPRUHWLPHWREHVRFLDO/LNHZKHQ
    WKHURRPZDVSDFNHGDQGWKHFDOOVZHUHJRLQJOLNH,


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     GRQ W,GRQ WUHFDOODVSHFLILFWLPHEXWPD\EH,W
     ZDVSUHWW\LWZDVDYHU\FRPPRQRFFXUUHQFH
     42ND\$QGHDUOLHU\RXVDLGWKDW0U+DGQDJ\
     ZRXOGPDNHLWNQRZQWKDWKHKDGVH[XDOSUHIHUHQFHVIRU
     $VLDQZRPHQ
     'LGKHWHOO\RXWKDWKHKDGDVH[XDO
                'LGKHWHOO\RXWKDWKHKDGDVH[XDO
     SUHIHUHQFHIRU$VLDQZRPHQ"
     $<HV<HDK
           $   <HV<HDK
     4$QGGLGKHWHOORWKHUHPSOR\HHVDW
           4   $QGGLGKHWHOORWKHUHPSOR\HHVDW
    6RFLDO(QJLQHHUWKDWKHKDGDVH[XDOSUHIHUHQFHIRU
    $VLDQZRPHQ"
    $<HV/LNHKHZRXOG,PHDQ,GRQ
           $   <HV/LNHKHZRXOG,PHDQ,GRQ WNQRZ
    LILWZDVOLNHREYLRXVO\
    6RUU\,UHDOL]HG,MXVWVSHGXS
                6RUU\,UHDOL]HG,MXVWVSHGXS
    <RXGRQ
                <RXGRQ WJRXSWRVRPHERG\DQGVD\+H\P\
    VH[XDOSUHIHUHQFHLV;<=EXWWKHFRPPHQWVZHUHPDGH
    <RXNQHZDQGORWVRISHRSOHNQHZ3HRSOHNQHZZHOO
    HQRXJKWRPDNHMRNHV/LNHKLVNLGVZRXOGPDNHMRNHV
    OLNH$PD\DDQG&ROLQ
    ,
                , PVRVRUU\&DQ,SDXVHUHDOTXLFN", YH
    KDGWKHVDPHQXPEHUFDOOPHOLNHHLJKWWLPHV
    4'R\RXZDQWWRWDNHOLNHDTXLFN
           4   'R\RXZDQWWRWDNHOLNHDTXLFN
    ILYHPLQXWHEUHDN"
    $7KDWZRXOGEHJUHDW<HDK
           $   7KDWZRXOGEHJUHDW<HDK
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     7+(9,'(2*5$3+(5:H
                7+(9,'(2*5$3+(5:H UHJRLQJRIIWKHUHFRUG
     DWDP
      5HFHVV
     7+(9,'(2*5$3+(5:H
                7+(9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG
     DWDP
     4
           4    %\$WWRUQH\7UDPEOH\ 7KDQN\RX
     0V0XUGRFNEHIRUHZHWRRNWKHEUHDN\RX
                0V0XUGRFNEHIRUHZHWRRNWKHEUHDN\RX
     WHVWLILHGWKDW0U+DGQDJ\GHILQLWHO\PDGHFRPPHQWV
     DERXWKLVVH[XDOSUHIHUHQFHIRU$VLDQZRPHQ
    :KDWGR\RXUHFDOODERXWWKDW"
                :KDWGR\RXUHFDOODERXWWKDW"
    $,UHPHPEHULWDVOLNHKHZRXOG
           $   ,UHPHPEHULWDVOLNHKHZRXOG
    GHILQLWHO\KHZRXOGKLJKOLJKWQDWLRQDOLWLHV\RX
    NQRZKLVZLIHEHLQJ7KDL
    $QGDWRQHSRLQWZHKDGOLNHD-DSDQHVH
                $QGDWRQHSRLQWZHKDGOLNHD-DSDQHVH
    JLUOLQZRPDQLQWUDLQLQJ$QGKHDIWHUKRXUV
    OLNHDIWHUWKHWUDLQLQJZRXOGWDONDERXWKRZOLNH
    ,GRQ WUHPHPEHUWKHZRUGVKHXVHGH[DFWO\EXWOLNH
    \RXNQHZWKDWKHWKRXJKW7RPRPLZDVOLNHYHU\FXWH
    HYHQWKRXJK\RXNQRZKHZDVPDUULHG$QGKHZRXOG
    QHYHUGRDQ\WKLQJEHFDXVHKH VGHYRXWDQGLWGRHVQ W
    PHDQLWZDVQ WXQFRPIRUWDEOHWRNQRZ6RKHZRXOGMXVW
    PDNHFRPPHQWVWKDW\RXNQHZOLNH$VLDQZRPHQZHUHKLV
    WKLQJ
    4$QGGR\RXWKLQNLWZDVDSSURSULDWHRU
           4   $QGGR\RXWKLQNLWZDVDSSURSULDWHRU
    LQDSSURSULDWHWKDW\RXUERVVZRXOGPDNHFRPPHQWVDERXW


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     $VLDQZRPHQ"
     $)RUVXUHLQDSSURSULDWH/LNHIRUVXUH,
           $   )RUVXUHLQDSSURSULDWH/LNHIRUVXUH,
     GRQ WNQRZ,IHHOIRUKLVZLIH/LNHVKHVKRXOG
     NLQGRIEHWKH$VLDQZRPDQRIKLVGHVLUHDQG\RXNQRZ
     WKHZRPDQLQJHQHUDO
     ,\RXNQRZZDVXQFRPIRUWDEOHIRU0LFKHOHLQ
                ,\RXNQRZZDVXQFRPIRUWDEOHIRU0LFKHOHLQ
     UHWURVSHFWEHFDXVHVKHZDV$VLDQ$QG, POLNHDQG
     WKHQ,ZDVXQFRPIRUWDEOHIRUP\IULHQG$OOLHZKRMRLQHG
     WKHFRPSDQ\DQGVKHZDV$VLDQ%XWDWVRPHSRLQWD
    FRPPHQWZDVPDGHZKHUHZHNQHZWKDWOLNHVKHZDVQ W
    KLV$VLDQW\SHZKLFKLVDOVRDZHLUGWKLQJEHFDXVH
    WKDW VOLNHRIIHQVLYHDQGIHWLVKL]LQJ/LNHLW
    MXVWOLNHLWZDVLWZDVDOOWKHOLWWOHFRPPHQWV
    ,WZDVWKHEHKDYLRUV
    %XW\HDKSHUFHQWKHPDGHLWYHU\ZHOO
                %XW\HDKSHUFHQWKHPDGHLWYHU\ZHOO
    NQRZQWKDW$VLDQZRPHQZHUHKLVSUHIHUHQFH
    4$QGGLGKHPDNHFRPPHQWVDERXWZRPHQ
           4   $QGGLGKHPDNHFRPPHQWVDERXWZRPHQ V
    DSSHDUDQFHV"
    $<HVIRUVXUH$QGKHKDGDYHU\WUDGLWLRQDO
           $   <HVIRUVXUH$QGKHKDGDYHU\WUDGLWLRQDO
    YLHZRIKRZZRPHQVKRXOGGUHVVDQGKRZZRPHQVKRXOG
    ORRNZKHQSUHVHQWLQJKLVFRPSDQ\WKHFRPSDQ\
    $QGLWZDVZHLUG(YHQDWWKHWLPH,
                $QGLWZDVZHLUG(YHQDWWKHWLPH,
    UHGIODJJHGWKLVWKRXJKW,KDG,ZDVOLNH2K
    ZHOOVD\LQJLWRXWORXGLW VVRZURQJ,ZDV
    OLNHLWZDVDUHOLHIWROLNHQRWEHKLVW\SH


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                                                                         3DJH
     /LNHWKDWZDVDWKLQJEHFDXVHDWOHDVW,GLGQ WKDYH
     WRILJXUHRXWKRZWRUHVSRQGWRFRPPHQWVPDGHDERXWPH
     %XWWKHQDWWKHVDPHWLPHLW
                %XWWKHQDWWKHVDPHWLPHLW VZHLUGWKDW,
     NQHZ,ZDVQ WKLVW\SH\RXNQRZOLNHWKDW/LNH
     WKHUH VSDUWRI\RXWKDW VOLNH2KVKRXOG,IHHO
     UHMHFWHG"$QGWKHQ\RX UHOLNH1R7KDWZRXOGEH
     HYHQWKDWZRXOGSUREDEO\EHZHLUGHU6RDQG
     WKHQ\RX UHOLNH2KZHOO, PQRWKLVW\SH6R, P
     MXVWJRLQJWRVKHOYHDOOWKRVHSUREOHPVLQP\EUDLQ
    OLNHDQGQRWDGGUHVVWKHP
    6R,GRQ
                6R,GRQ WDFWXDOO\UHPHPEHUWKHH[DFW
    TXHVWLRQ6RKRSHIXOO\, YHDQVZHUHGLW
    4:KRZRXOGKHPDNHFRPPHQWVDERXWWKHLU
           4   :KRZRXOGKHPDNHFRPPHQWVDERXWWKHLU
    DSSHDUDQFHWR"
    $5\DQDORW$Q\RQHZKRZDVOLNH
           $   5\DQDORW$Q\RQHZKRZDVOLNH
    EXGG\EXGG\LQWKHPRPHQW,KHDUGWKHPGLUHFWO\
    /LNH,ZDV,GRQ WNQRZDFRRONLG
    TXRWHXQTXRWHIRU'RXJ VUHFRUG6R,\RXNQRZ
    MRNHVZHUHPDGHWRPHDVOLNHDQLQFURZG
    SDUWLFLSDQW
    ,GRQ
                ,GRQ WNQRZ,GRQ W,WKLQNLQ
    UHWURVSHFW,ZLVK,KDGFDOOHGKLPRXW,ZRUU\KH
    VLWVEDFNDQGLVOLNH2KVKH\RXNQRZOLNHVKH
    GLGQ WFDUHDWWKHWLPHEXWWKDW VQRWWUXH<RX
    MXVWGRQ WNQRZZKHQ\RX UHWKHRQO\ZRPDQWKHUHKRZWR


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     VD\VRPHWKLQJDQGQRWMXVWJHWGLVPLVVHGRU\RXNQRZ
     ORVH\RXUVHDWDWWKHWDEOH
     4$QG\RXVDLGKHZRXOGPDNHFRPPHQWVWR5\DQ
           4   $QG\RXVDLGKHZRXOGPDNHFRPPHQWVWR5\DQ
     :HUHWKHVH
     $8KKXK
           $   8KKXK
     4FRPPHQWVDERXWZRPHQDW6RFLDO(QJLQHHU"
           4   FRPPHQWVDERXWZRPHQDW6RFLDO(QJLQHHU"
     $7KH\FRXOGEH
           $   7KH\FRXOGEH
     +HZRXOGDOVRPDNHFRPPHQWVWRPHOLNH\RX
                +HZRXOGDOVRPDNHFRPPHQWVWRPHOLNH\RX
     NQRZOLNH<RXFDQFKRRVHDGUHVVOLNH0LFKHOH
    0LFKHOHORRNHGUHDOO\JRRGLQKHUGUHVV6KHDOZD\V
    ORRNHGSURIHVVLRQDODQGFOHDQEXW/DXULHDQGWKHQKH
    ZRXOGFRQWUDVWWROLNH/DXULH VDSSHDUDQFH
    $QGWRVRPHH[WHQWSHRSOHFDQPDNHK\JLHQH
                $QGWRVRPHH[WHQWSHRSOHFDQPDNHK\JLHQH
    FKRLFHVEXWWKHQDOVRVRPHSHRSOHMXVWKDYHWKLQ
    KDLU/LNHWKH\ UHMXVW\RXUDSSHDUDQFHLV\RXU
    DSSHDUDQFH$QGVKRUWRIPDNLQJVXUH\RXGRQ WVPHOO
    EDG\RXNQRZ\RXGRQ WSHRSOHH[SUHVVWKHPVHOYHV
    WKURXJKFORWKLQJGLIIHUHQWO\6RLWZDVSUHWW\FUXHO
    WREHVRSK\VLFDOO\GHPDQGLQJRISHRSOHHVSHFLDOO\
    ZRPHQ
    ,PHDQWKDWWKHPHSUHVHQWHGLWVHOIPXOWLSOH
                ,PHDQWKDWWKHPHSUHVHQWHGLWVHOIPXOWLSOH
    WLPHVLQOLNHKRZWRGUHVVWRUHSUHVHQWWKHFRPSDQ\
    LQOLNHHYHQKRZWUDLQHHVZRXOGJRRXWDQGGR
    KRPHZRUN<RXNQRZOLNHWKHLUSK\VLFDOKRZWKH
    ZRUOGSHUFHLYHGWKHPSK\VLFDOO\KRZ+DGQDJ\UHDOO\


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     SHUFHLYHG
     :KHQ,VD\+DGQDJ\,PHDQ&KULV+DGQDJ\,
                :KHQ,VD\+DGQDJ\,PHDQ&KULV+DGQDJ\,
     MXVWP\KXVEDQG VQDPHLVDOVR&KULV6R,KDYH
     D, PDFFXVWRPHGWRFDOOLQJ+DGQDJ\E\KLVODVW
     QDPH
     6ROLNH\RXNQRZOLNHKHKDGJHQGHUHG
                6ROLNH\RXNQRZOLNHKHKDGJHQGHUHG
     KRPHZRUNDVVLJQPHQWVDQGWKDWPHDQWWKDWMXVWNLQGRI
     LQJHQHUDOSHRSOHKDGWRILWLQWRWZRJHQGHUV+H
     HYHQDWRQHSRLQWVDLGOLNHRQKLV6(9LOODJH
    ZHEVLWHIRU'HI&RQZKHQKHDQQRXQFHGWKH&7),WKLQN
    KHPDGHVRPHFRPPHQWDERXWKRZDQ\PDQRUZRPDQZDV
    LQYLWHGWRDSSO\
    %XWWKHOLNH'HI&RQKDVDUHDOO\ELJ
                %XWWKHOLNH'HI&RQKDVDUHDOO\ELJ
    TXHHUFRPPXQLW\$QGVRSHRSOHZKRGLGQ WLGHQWLI\DV
    HLWKHUPDQRUZRPDQOLNHZHUHUHDOO\ERWKHUHGE\
    WKDW,WKLQNLWZDVDFWXDOO\WKDWSDUWLFXODU
    SKUDVLQJZDVWDNHQDVDSRLQWRILVVXHRQ7ZLWWHUDW
    RQHSRLQWRIOLNHKH VEHLQJFORVHGPLQGHG7KDW
    ZDVOLNHDSXEOLFNHUIXIIOHHYHQEHIRUH,MRLQHGWKH
    FRPSDQ\
    %XWDQ\ZD\LI\RXGLGQ
                %XWDQ\ZD\LI\RXGLGQ WILWLQWROLNHD
    WUDGLWLRQDOO\SUHWW\ZRPDQ VERG\LWZDVKDUGWRGUHVV
    WRLPSUHVV$QGKHPDGHWKDWSUHWW\FOHDU
    42ND\, PJRLQJWRXQSDFNDIHZWKLQJVWKDW
    \RXMXVWPHQWLRQHG6R


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     DUHWRQVRISHRSOHZKRDUHJHQGHUIOXLGDQGDWD
     PLQLPXPDJHQGHUIOXLGDOO\6RLWLVGLYLVLYHWRSLFN
                                    6RLWLVGLYLVLYHWRSLFN
     WKDWIRUKRPHZRUN
     6RWKHODVWQLJKWDQ\ZD\JLUOVZHQWRXWDQG
                6RWKHODVWQLJKWDQ\ZD\JLUOVZHQWRXWDQG
     DVNHGPH/LNHWKHELJWULJJHUTXHVWLRQVZHUHOLNH
     $UH\RXFLUFXPFLVHGRUXQFLUFXPFLVHG"DQG\RXU
     LQFRPH$QGWKHQIRUZRPHQLWZDVOLNHDQWL
     PD\EHLWZDVERWKJHQGHUVFRXOGEHDQWLIXQJDOFUHDP
     :RPHQZHUH:KDW V\RXUEUDVL]H"DQGPD\EHOLNH
    IHPLQLQHK\JLHQHSURGXFWV,WKLQNZDVWKHRWKHURQH
    $QGVRPHQZRXOGJRRXWDQGDVNWKDWDQGWKHZKROH
    SRLQWLV\RXKDYHWRGRLWDQGQRWFRPHRIIDVD
    WKUHDW
    6RSHRSOHGLGWKDW3HRSOHZHUHWKDWZDV
                6RSHRSOHGLGWKDW3HRSOHZHUHWKDWZDV
    DOVRDVSHFWUXP/LNHVRPHRIWKHSHRSOHZKRZHQWRXW
    ZHUHRIDVRFLDOFDOLEHUZKHUHLWZDVSUREDEO\PDNLQJ
    VRPHRQHXQFRPIRUWDEOH/LNHWKHLUVRFLDOVNLOOVZHUH
    QRWJRLQJWREHLQDSODFHZKHUHWKH\ZHUHHYHUJRLQJ
    WRPDNHVRPHRQHFRPIRUWDEOHIHHOLQJEHLQJDVNHGWKHLU
    EUDVL]H
    $QG,UHPHPEHULWZDVDFWXDOO\DOVROLNH
                $QG,UHPHPEHULWZDVDFWXDOO\DOVROLNH
    QRWMXVWDJHQGHULVVXHEXWVRPHWLPHVLWZDVD
    UHOLJLRXVRQHEHFDXVHOLNH0XVOLPSRSXODWLRQVZRXOG
    FRPH/LNHD0XVOLPPDQFRXOGFRPHWR$36(DQG
    WKH\ UHMXVWOLNH, PQRWVXSSRVHGWRLQWHUDFWZLWK


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     ZRPHQOLNHWKDW
     6RWKHUHZHUHMXVWDORWRIPRPHQWVWKDW
                6RWKHUHZHUHMXVWDORWRIPRPHQWVWKDW
     ZHUHQ WUHVSHFWIXORIRWKHULQGLYLGXDOVDQGWKHLU
     EDFNJURXQGVZKRWKH\DUHWKHLUEHOLHIV$QG
     PLQRULWLHVZRPHQJHQGHUTXHHU/*%74$SHRSOHRI
     FRORUGLIIHUHQWUHOLJLRQVOLNHWKH\DOONLQGRI
     JRWDQ\RIWKRVHPLQRULWLHVZRXOGRIWHQJHWWKH
     VKRUWHQGRIWKHVWLFNVRWRVSHDN
     4'LGDQ\RQHHYHUUDLVHWKLVSUREOHPZLWK
           4   'LGDQ\RQHHYHUUDLVHWKLVSUREOHPZLWK
    0U+DGQDJ\DERXWWKHJHQGHUHGKRPHZRUNDVVLJQPHQWV"
    $'HILQLWHO\WUDLQHHVGLG+HZRXOGDOZD\V
           $   'HILQLWHO\WUDLQHHVGLG+HZRXOGDOZD\V
    OHDQRQWKHIDFWWKDWLW VUHDOO\EHQHILFLDOKRPHZRUN
    $QG,DPSUHWW\VXUHVRPHHPSOR\HHVDOVR
                $QG,DPSUHWW\VXUHVRPHHPSOR\HHVDOVR
    VDLG,GLGQ W,GLGKDYHWURXEOHZLWKWKHSHUVRQ
    ZKRLGHQWLILHGDVOLNHQRWPDOHEHLQJSXWLQWKHPDOH
    JURXS
    $QGWKHQZKHQZHZHUHOLNHHPSOR\HHVMXVW
                $QGWKHQZKHQZHZHUHOLNHHPSOR\HHVMXVW
    E\RXUVHOYHV+DGQDJ\PDGHOLNHDMRNHRUVRPHWKLQJ
    DERXWOLNH0DQ,MXVW\RXNQRZKHWRUHLWXS
    /LNH,GLGQ WVHHWKDWFRPLQJRUVRPHWKLQJOLNHWKDW
    $QG,ZDVOLNH5LJKWEXWOLNHWKH\
                $QG,ZDVOLNH5LJKWEXWOLNHWKH\
    LGHQWLI\QRWDVDPDQ6RLWZDVQ WKDUG
    $QGWKHQOLNH,GRNQRZ+DGQDJ\
                $QGWKHQOLNH,GRNQRZ+DGQDJ\ VUHOLJLRXV
    OHDQLQJVDQGWKH\DUHSUREDEO\WKH\SUREDEO\
    LQIOXHQFHKLVLQWHUDFWLRQZLWKSHRSOHZKRGRQ WILW


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     LQWRWKHUHOLJLRQ VDSSURYHGER[HV
     6R\HDKOLNH,PHQWLRQHGLWLQWKHRQH
                6R\HDKOLNH,PHQWLRQHGLWLQWKHRQH
     SHUVRQ VFDVH,GLGQ W,ZDVQ WFRXUDJHRXVHQRXJK
     WRWDNHLWDOORQ
     ,GLGDOVRDWRQHSRLQWOLNHGHIHQGD
                ,GLGDOVRDWRQHSRLQWOLNHGHIHQGD
     0XVOLPPDQRUDQ,VODPOLNHKHZDVIURP(J\SW,
     WKLQN$Q\ZD\D0LGGOH(DVWHUQPDQ VOLNHQDPH
     +DGQDJ\ZRXOGOLNHQRWJHWLWULJKW$QGWKHQKH
     OLNHJDYHPHWKHVLOHQWWUHDWPHQWDQGWKHQULSSHGPHD
    QHZRQHDERXWGHIHQGLQJLW/LNH\RXOLNHLW
    ZRXOGEHPRUHUHVSHFWIXOLI\RXXVHGWKHPDQ VSURSHU
    QDPH
    $QG+DGQDJ\ZDVOLNHVFDU\WRPH/LNH
                $QG+DGQDJ\ZDVOLNHVFDU\WRPH/LNH
    WKDWZDVRQHRIWKHPRPHQWVZKHUHOLNHKHGLGQ W
    QHFHVVDULO\SXOORXWWKHVKDQNLQJMRNHEXWLIKHKDG
    ,ZRXOGKDYHDFWXDOO\IHDUHGIRUP\OLIHEHFDXVHKHZDV
    VRPDGWKDW,ZDVGHIHQGLQJWKLVJX\ VQDPHWKDW,ZDV
    DIUDLG$QGKHWROGPHWROLNHJHWDZD\SK\VLFDOO\
    IURPKLPEHFDXVHKHGLGQ WNQRZZKDWKHZRXOGGR
    ,ZDVOLNH$OOULJKW,GHILQLWHO\
                ,ZDVOLNH$OOULJKW,GHILQLWHO\
    OLNH,UHPHPEHUFU\LQJLQDEDWKURRPLQDFDVLQRWKDW
    GD\ZKLFK,KDWHDGPLWWLQJZKLOHKH VRQWKHFDOOEXW
    ,JXHVVKHFRXOGUHDGWKHWUDQVFULSWODWHU
    %HFDXVHDWWKHHQGRIWKHGD\,
                %HFDXVHDWWKHHQGRIWKHGD\, PDSHUVRQ
    ZKRUHDOO\ZDQWVWRGROLNH, OOJRRXWRIP\ZD\


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     UHDOO\IDURXWRIP\ZD\WRILQGFRPPRQJURXQGZLWK
     DQ\RQHZKLFKLVDELJSRLQWLQVRFLDOHQJLQHHULQJ
     $36(KDGDZKROHVOLGHRQLW$QGLILWPDNHVVRPHRQH
     HOVHIHHOEHWWHULQWKHLUVNLQLQWKHLUZRUOGIRUPH
     WRFKDQJHP\ODQJXDJHVRPHWKLQJWKDW VSDVVLYH
     OLNHLWGRHVQ WHYHQUHDOO\DIIHFWP\GD\WRGD\WR
     MXVWUHVSHFWQDPHVUHVSHFWSURQRXQVUHVSHFWZRUG
     FKRLFH/LNHLI,FRXOGPDNHVRPHRQHHOVHIHHOPRUH
     ZHOFRPHGE\XVLQJWKHV\OODEOHVWKH\ZDQW, PJRLQJWR
    GRWKDW
    6RLWZDVUHDOO\YHU\EL]DUUHWRPHWRJHW
                6RLWZDVUHDOO\YHU\EL]DUUHWRPHWRJHW
    WKUHDWHQHGMXVWEHFDXVH,ZDVOLNH-XVWVD\WKHPDQ V
    QDPHULJKW$QGDIWHUWKDW,ZDVOLNH:HOO, P
    QRWJRLQJWRJLYHDQ\DGGLWLRQDOIHHGEDFNRQWRSLFV
    WKDWPLJKWURFNWKHERDWOLNHWKHJHQGHUTXHVWLRQ
    42ND\/HW
           4   2ND\/HW VGULOOGRZQRQDIHZRIWKHVH
    WKLQJV
    6RWKHUHZDVDSHUVRQZKRZDVWUDQVLWLRQLQJ
                6RWKHUHZDVDSHUVRQZKRZDVWUDQVLWLRQLQJ
    JHQGHUV
    $8KKXK
           $   8KKXK
    4FRUUHFW"
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    WUDQVLWLRQLQJ"
    $,GRQRWUHFDOOWKDWKHZRXOGDFNQRZOHGJH
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     WKDW+HDEVROXWHO\UHIHUUHGWRWKHPDVKHKLP
     46R0U+DGQDJ\ZRXOGQRWXVHWKHLU
           4   6R0U+DGQDJ\ZRXOGQRWXVHWKHLU
     $7KH\WKHP\HDK,PHDQ&KULVGLGQRW
           $   7KH\WKHP\HDK,PHDQ&KULVGLGQRW
     EHOLHYHLQSURQRXQV6R\RXNQRZOLNH,WKLQNWKH
     SHUVRQVDLGWKHLUSURQRXQVDQGWKHQDJDLQLVQ WJRLQJ
     WREHODERUWKHSRLQWQHFHVVDULO\ZKHQ\RX UHDORQHLQD
     URRP6RWKH\VDLGLW+DGQDJ\GHILQLWHO\GLGQ W
     UHVSHFWLW$QGWKHSHUVRQGLGQ WKDUSRQLWZKLFK,
     KDGV\PSDWK\IRU<HDK
    4'LGLWPDNH\RXFRPIRUWDEOHRUXQFRPIRUWDEOH
           4   'LGLWPDNH\RXFRPIRUWDEOHRUXQFRPIRUWDEOH
    WKDW\RXUERVVZRXOGQRWDFNQRZOHGJHDQRWKHUSHUVRQ V
    SUHIHUUHGSURQRXQV"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,WGHILQLWHO\PDGHPHXQFRPIRUWDEOH
           $   ,WGHILQLWHO\PDGHPHXQFRPIRUWDEOH
    4
           4    %\$WWRUQH\7UDPEOH\ 'R\RXWKLQNWKDWLW
    PDGHIRUDZHOFRPLQJRUXQZHOFRPLQJHQYLURQPHQWDWWKH
    VHPLQDUWKDW0U+DGQDJ\ZRXOGQRWXVHSUHIHUUHG
    SURQRXQV"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,EHOLHYHLWPDNHVDQXQZHOFRPLQJ
           $   ,EHOLHYHLWPDNHVDQXQZHOFRPLQJ
    HQYLURQPHQW
    4
           4    %\$WWRUQH\7UDPEOH\ 2ND\$QG,KHDUG\RX
    PHQWLRQWKDW0U+DGQDJ\ZDVGHOLEHUDWHO\
    PLVSURQRXQFLQJVRPHERG\ VQDPH:KRZDVWKDWSHUVRQ"
    $+LVQDPHZDV.KDOHG
           $   +LVQDPHZDV.KDOHG


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     $QGKHDQG+DGQDJ\NHSWVD\LQJ.KDOHHG
                $QGKHDQG+DGQDJ\NHSWVD\LQJ.KDOHHG
     $QG,PHDQ,FDQ WVD\LILWZDVGHOLEHUDWH, OOEH
     KRQHVW/LNHEXWKHDWDPLQLPXPZDVQ WPDNLQJDQ
     HIIRUWWRFRUUHFWKLPVHOIWRGRLWULJKW
     ,I,ZHUHLQWKDWSRVLWLRQDQG,NQHZ,
                ,I,ZHUHLQWKDWSRVLWLRQDQG,NQHZ,
     ZDVKDGDSURSHQVLW\WRVD\LWLQFRUUHFWO\,ZRXOG
     WDNHWKHWLPHWRVD\5HPLQGPHDJDLQKRZWRSURQRXQFH
     WKHV\OODEOHV$QG,NQRZ,ZRXOGGRWKLVEHFDXVHRQH
     RIP\EHVWIULHQGVLV$UPHQLDQDQGKHUPRP VQDPHLV
    TXLWHFKDOOHQJLQJIRUPH
    %XWDIWHUDFRXSOHRIWLPHVWKHJX\VDLG
                %XWDIWHUDFRXSOHRIWLPHVWKHJX\VDLG
    +DGQDJ\FRXOGMXVWOHWLWJRDQGWKDW V\RXNQRZ
    ODWHU7KDW VZKHQ,EURXJKWXSOLNH,WKLQNLWZDV
    UHDOO\GLVUHVSHFWIXOWKDW\RXGLGQ WWU\
    $QGWKDW
                $QGWKDW VZKHQKHJRWTXLWHVFDU\DQGZDV
    OLNH,QHHGSK\VLFDOVSDFHEHFDXVH,GRQ WNQRZZKDW
    ,ZLOOGR<RX UHIUXVWUDWLQJPHRUSLVVLQJPHRII,
    WKLQNLVZKDWKHDFWXDOO\VDLG
    $QGVRWKDW
                $QGVRWKDW VNLQGRIZKHUHWKDWODQGHG,
    GRQ WNQRZWKDWLWZDVGHOLEHUDWHEXWKHIRUVXUHGLG
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    $QG,GRWKLQN,DFWXDOO\UHPHPEHU0D\EH
                $QG,GRWKLQN,DFWXDOO\UHPHPEHU0D\EH
    KHGLGDGPLWLQDQHPDLORURXWORXGOLNHKHVWDUWHG
    GRLQJLWPRUHWRSLVVPHRII,I,UHFDOOOLNHKH
    GLGGHOLEHUDWHO\GRLWQRWGHOLEHUDWHWRWKHJX\EXW


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     GHOLEHUDWHEHFDXVHLWERWKHUHGPHZKLFKLVMXVWZLOG
     /LNH,JXHVVOLNH,FDQKXUWWZRSHRSOHDWRQFH
     EHWWHU,GRQ WNQRZ,GRQ WNQRZZK\VRPHERG\
     ZRXOGGRWKDW,W VDWEHVWFKLOGLVK
     4$QGZKHQ\RXUDLVHGWKHPLVSURQRXQFLQJWKH
           4   $QGZKHQ\RXUDLVHGWKHPLVSURQRXQFLQJWKH
     QDPHWR0U+DGQDJ\GLGKHJHWDQJU\ZLWK\RX"
     $<HVYHU\PXFKVR,FDQOLNHVWLOOVHH
           $   <HVYHU\PXFKVR,FDQOLNHVWLOOVHH
     KLVIDFLDOH[SUHVVLRQLQP\KHDG,WZDVWKDWLW
     ZDVWKDWVFDU\+HWROGPHQRWWRVLWZLWKKLPDW
    OXQFKZLWKDYHU\GHHSJODUHEHFDXVH,DVNHG+HZDV
    JLYLQJPHWKHVLOHQWWUHDWPHQWDQGZDONLQJUHDOO\IDVW
    $QG,ZDVOLNH$UH\RXPDGDWPH"$QGKHMXVWWROG
    PHWRJLYHKLPVSDFH,ZDVOLNH2KRND\, P
    JRLQJWRGRWKDW
    %XWKHZDVDEVROXWHO\DQJU\+HPDGHLWYHU\
                %XWKHZDVDEVROXWHO\DQJU\+HPDGHLWYHU\
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    4:KHUHZHUH\RXZKHQ0U+DGQDJ\DVNHG\RXWR
           4   :KHUHZHUH\RXZKHQ0U+DGQDJ\DVNHG\RXWR
    JLYHKLPSK\VLFDOVSDFH"
    $:HZHUHDWOXQFKZKHQ%ODFN+DWSURYLGHG
           $   :HZHUHDWOXQFKZKHQ%ODFN+DWSURYLGHG
    OXQFK
    42ND\$QGGLG0U+DGQDJ\\HOODW\RX"
           4   2ND\$QGGLG0U+DGQDJ\\HOODW\RX"
    $,WZDVDFWXDOO\OLNHWKHVWRQHFROGPRQRWRQH
           $   ,WZDVDFWXDOO\OLNHWKHVWRQHFROGPRQRWRQH
    UDWKHUWKDQSXUH\HOOLQJ/LNH, YHVHHQKLP\HOO
    ,WZDVSDVWWKDW7KDW VZK\LWZDVVRVFDU\TXLWH
    KRQHVWO\EHFDXVHLWGLGQ WVHHPOLNHDQLVVXHWKDW


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                                                                         3DJH
     VKRXOGEHWKDWWULJJHULQJDQG\HWKHZDVEH\RQG
     \HOOLQJDQJU\
     4$QGDSRORJLHVIRUPDNLQJ\RXUHSHDWLWEXW
           4   $QGDSRORJLHVIRUPDNLQJ\RXUHSHDWLWEXW
     GLG\RXFU\LQWKHEDWKURRPDIWHUKHJRWDQJU\ZLWK
     \RX"
     $,GLG,GLG,GLGLQIDFWFU\LQWKH
           $   ,GLG,GLG,GLGLQIDFWFU\LQWKH
     FDVLQREDWKURRP
     4'LG\RX
     $6XSHUFODVV\RIPH
    4$SRORJLHV
    'LG\RXIHHODVLI\RXURSLQLRQZDVUHVSHFWHG
    ZKHQ\RXUDLVHGWKLVLVVXHRIPLVSURQXQFLDWLRQZLWK
    0U+DGQDJ\"
    $77251(<&215$'2EMHFW)RUP
    $,IHHOOLNH,DFWXDOO\NQRZZKHQKH VJRLQJ
    WRVD\LWQRZ
    ,GHILQLWHO\GLGQRWIHHOOLNHP\RSLQLRQRU
    SHUVSHFWLYHZDVUHVSHFWHG$QGLURQLFDOO\,GRQ W
    NQRZZK\,VKRXOGQ WKDYHEHHQVXUSULVHGEHFDXVHWKH
    ZKROHSRLQWDWLVVXHZDVZKDW,SHUFHLYHGWREHDODFN
    RIUHVSHFWRIRXUWUDLQHH,JXHVV,DVVXPHGDQG
    SRWHQWLDOO\LQFRUUHFWO\WKDWKHZRXOGFDUHPRUHDERXW
    FDWHULQJWROLNHDFOLHQWRUFXVWRPHUWKDQPHDQG
    WKDW V,WKLQNZK\,KDUSHGRQLW
    $QGDJDLQLWZDVOLNHDGD\RIWKHOHVVRQ


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                                                                         3DJH
     QRWLFHGWKDWWDONLQJVORZHULVPDNLQJPHVDGGHU6R,
     OLNHGRQ WZDQWWREXW, PWU\LQJ
     4
           4    %\$WWRUQH\7UDPEOH\ :HDSSUHFLDWHLW
     6R,ZDQWWRWDNHWKHVHLQWZRVWHSV6R\RX
                6R,ZDQWWRWDNHWKHVHLQWZRVWHSV6R\RX
     WDONHGDERXW0U+DGQDJ\WKURZLQJDSKRQHDW\RX
     :KHUH
                :KHUH
     $8KKXK
           $   8KKXK
     4GLGWKDWKDSSHQ"
           4   GLGWKDWKDSSHQ"
     $7KDWKDSSHQHGLQKLVKRXVHLQ)ORULGDZKLOH
           $   7KDWKDSSHQHGLQKLVKRXVHLQ)ORULGDZKLOH
    ZHZHUHGXULQJWKHZHHNRIDQ$GYDQFHG3UDFWLFDO
    6RFLDO(QJLQHHULQJFRXUVHZKLOHZHZHUHSUHSDULQJIRU
    WKHPDVWHUOHYHO6(FRXUVHWKHQH[WZHHNRULQWKHQH[W
    FRXSOHZHHNV
    4$QGZDVWKDWLQ"
           4   $QGZDVWKDWLQ"
    $<HV<HDK,ZDQWWRVD\)HEUXDU\RI
           $   <HV<HDK,ZDQWWRVD\)HEUXDU\RI
    4$QGKHWKUHZWKHSKRQHDW\RXEHFDXVH\RX
           4   $QGKHWKUHZWKHSKRQHDW\RXEHFDXVH\RX
    FKDOOHQJHGKLVEHOLHIRIL3KRQHYHUVXV$QGURLGXVDJHE\
    PHQDQGZRPHQ"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $7KDWZDV
           $   7KDWZDV
    7+(:,71(666RUU\EXGG\
                7+(:,71(666RUU\EXGG\
    $7KDWZDVWKHODVWWKLQJKHKDGVDLGRXWORXG
           $   7KDWZDVWKHODVWWKLQJKHKDGVDLGRXWORXG
    ZDVWKDWZLWKDQH[SUHVVLRQRIIUXVWUDWLRQDQGWKHQKH
    WKUHZWKHSKRQH
    4
           4    %\$WWRUQH\7UDPEOH\ +DYH\RXHYHU


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     WKRXJKW
     $DFURVVWKHWDEOHDWPH
           $   DFURVVWKHWDEOHDWPH
     46RUU\
           4   6RUU\
     +DYH\RXHYHUKDGDQRWKHUERVVWKURZDSKRQH
                +DYH\RXHYHUKDGDQRWKHUERVVWKURZDSKRQH
     DW\RX"
     $,KDYHQHYHUKDGDQRWKHUERVVWKURZDQ\
           $   ,KDYHQHYHUKDGDQRWKHUERVVWKURZDQ\
     REMHFWDWPH
     4'R\RXWKLQNLW
           4   'R\RXWKLQNLW VDSSURSULDWHRU
     LQDSSURSULDWHWKDW\RXUERVVWKUHZDSKRQHDW\RX"
    $,IRXQGLWWREHLQDSSURSULDWH
           $   ,IRXQGLWWREHLQDSSURSULDWH
    4'LG\RXILQGLWLQWLPLGDWLQJWKDWKHWKUHZD
           4   'LG\RXILQGLWLQWLPLGDWLQJWKDWKHWKUHZD
    SKRQHDW\RX"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,ILQGLWLQWLPLGDWLQJWKDWDODUJHPDQWKUHZ
           $   ,ILQGLWLQWLPLGDWLQJWKDWDODUJHPDQWKUHZ
    DQREMHFWDWPHDFURVVDWDEOH\HVOLNHZLWKIRUFH
    $QGWKHIDFWWKDWLWZDVDSKRQHZLWKFRUQHUVGLGQ W
    IHHOJUHDW,WGHILQLWHO\IHOWLQWLPLGDWLQJ
    4 %\$WWRUQH\7UDPEOH\ 'LGWKHSKRQHKLW\RX"
    $,WKLQN,FDXJKWLWVR\HVDQGQR/LNHLW
    ZRXOGKDYHKLWP\WKURDW/LNHLWZDVFRPLQJ
    VRPHZKHUHOLNHKHUH,WZDVQ WOLNH/HWPHOREWKLV
    DW\RXUKDQGEXW,ZDVDEOHWRFDWFKLW,WZDVD
    VKRUWGLVWDQFH6RLWZDVQ WOLNHVXSHULWZDVD
    ORWRIYDULDELOLW\,SURWHFWHGP\IDFH
    4:DV0U+DGQDJ\DQJU\LQWKDWPRPHQWZKHQKH


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     RQERDUGLQJGRFXPHQWDWLRQOLNH+HUHDUHWKHUXOHV,
     VKRXOGKDYHNQRZQEHWWHU\RXNQRZLQDSURIHVVLRQDO
     VHQVHEXW,VHQWDQHPDLOZLWKDUHSRUWDWWDFKHGWRLW
     WR0LFKHOH,WKLQNWRTXDOLW\DVVXUH$QG,
     VKRXOGQ WKDYHSXWLWLQDQHPDLOEHFDXVHLWVKRXOGQ W
     EHLQHPDLOVHUYHUV
     $QG&KULVOLNHLWZDVWKHILUVWWLPH,
     FULHG+HNLQGRIULSSHGPHDQHZRQHDERXWKH VQHYHU
     JRLQJWRILQGQHZSURFHVVHV+H OOILQGQHZSHRSOH
    DQGZHQHHGWRQRWVKDUHFOLHQWLQIRUPDWLRQYLDHPDLO
    ,W VWUXH:HVKRXOGQ W,VKRXOGQ WKDYH
    GRQHWKDW7KHUHVSRQVHLVWKHILUVWWLPHWKDW,JRW
    \HOOHGDWDQGUHDOO\UHPHPEHUWKHOLNHVDGIHHOLQJV
    RIKRZPDNLQJVRPHRQHDQJU\SXEOLFO\FRPHRXW
    4+RZRIWHQGLG0U+DGQDJ\\HOODW\RX"
           4   +RZRIWHQGLG0U+DGQDJ\\HOODW\RX"
    $,GRQ
           $   ,GRQ WNQRZKRZRIWHQKH\HOOHGDWPH
    VSHFLILFDOO\EXWKH\HOOHGDORW/LNHKLVDYDWDULQ
    7HDPVFKDWZDVWKH+XONEHFDXVHLWZDVVXFKDMRNHWKDW
    KHFRXOGWXUQRQDGLPHDQGJHWWKDWDQJU\
    46RLWZDVNQRZQWKURXJKWKHFRPSDQ\WKDW
           4   6RLWZDVNQRZQWKURXJKWKHFRPSDQ\WKDW
    0U+DGQDJ\KDGDWHPSHU"
    $<HDK<HV$QG,
           $   <HDK<HV$QG, PVXUH,GRQ WNQRZRI
    DOOWKHGRFXPHQWVWKDWKDYHEHHQFROOHFWHGEXW,ZRXOG
    EHFRQILGHQWWKDWVRPHZKHUHLQWKHUH\RXFDQILQGD
    SLFWXUHRIKLV+XONLFRQOLNH


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     4:DVLWFRPPRQIRU0U+DGQDJ\WRFDOORWKHU
           4   :DVLWFRPPRQIRU0U+DGQDJ\WRFDOORWKHU
     SHRSOHVWXSLGDW6RFLDO(QJLQHHU"
     $<HDK,PHDQ\HDK+HZRXOGFDOOOLNH
           $   <HDK,PHDQ\HDK+HZRXOGFDOOOLNH
     EHOLWWOLQJQDPHVRIRWKHUVDQGVWXSLGZDVDFRPPRQ
     RQH/LNH,KHVDLGLWHQRXJKWKDWOLNH,FDQ
     KHDUKLVYRLFHVD\LQJOLNHIUHDNLQJVWXSLGLQP\
     KHDG/LNHLW VOLNHDSDWHQWHGSKUDVHDOPRVW,
     GRQ WNQRZWKDWKHNQRZVLWLVEXWKHVDLGLWHQRXJK
     WKDWLW VOLNHYHU\PXFKORGJHGLQP\EUDLQLQKLV
    FDGHQFH
    4'R\RXUHFDOODQ\RWKHULQVWDQFHVRUZRUGV
           4   'R\RXUHFDOODQ\RWKHULQVWDQFHVRUZRUGV
    WKDW0U+DGQDJ\ZRXOGXVHZKHQEHOLWWOLQJ\RXRURWKHU
    HPSOR\HHVDW6RFLDO(QJLQHHU"
    $+HXVHGFUDSDORW+H
           $   +HXVHGFUDSDORW+H GXVHGIUHDNLQJD
    FRXSOHOLNHKH GXVHGZRUGVIRUHPSKDVLV/LNHKH
    ZRXOGKLODULRXVO\FODLPKHGRHVQ WFXUVHEXWKH
    GHILQLWHO\FXUVHGDIHZWLPHV$QGWKHQLWGRHVQ W
    UHDOO\PDWWHULI\RX UHFXUVLQJLIWKHLQWHQWLRQRIWKH
    ZRUG\RXFKRRVHWRUHSODFHWKHFXUVHZRUGVWLOOH[LVWV
    6RIUHDNLQJZDVDUHDOO\ELJRQHDVD
                6RIUHDNLQJZDVDUHDOO\ELJRQHDVD
    PRGLILHUIRUWKLQJVOLNHVWXSLGGXPERUKHZRXOG
    VD\PRURQDORW7KDWZDVDIDYRULWH7KRVHDUH
    NLQGRIWKHRQHVWKDWOLNHVWLFNRXW
    +HGHILQLWHO\OLNHDFRXSOHRIGD\V
    EHIRUHKHDVNHGPHLI,ZDVVRIUHDNLQJVWXSLGKH


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     4$QGGLGLWPDNH\RXIHHOZHOFRPHRU
           4   $QGGLGLWPDNH\RXIHHOZHOFRPHRU
     XQZHOFRPH"
     $'HILQLWHO\XQZHOFRPHH[FHSWIRUWKHEULHI
           $   'HILQLWHO\XQZHOFRPHH[FHSWIRUWKHEULHI
     URVHFRORUHGJODVVHVDWWKHEHJLQQLQJZKHUHLWIHOW
     OLNH\RXZHUHLQRQDMRNHZKLFKLVDFWXDOO\PXFK
     ZRUVHDQG, PYHU\DVKDPHGRIWKDW
     4$QGZKHQ0U+DGQDJ\EHOLWWOHG\RXRURWKHU
           4   $QGZKHQ0U+DGQDJ\EHOLWWOHG\RXRURWKHU
     HPSOR\HHVDW6RFLDO(QJLQHHUGLGLWPDNH\RXIHHO
     UHVSHFWHGRUGLVUHVSHFWHG"
    $)RUVXUHGLVUHVSHFWHG
           $   )RUVXUHGLVUHVSHFWHG
    42ND\$QGHDUOLHULQ\RXUWHVWLPRQ\\RX
           4   2ND\$QGHDUOLHULQ\RXUWHVWLPRQ\\RX
    VDLGWKDW\RXVDZ0U+DGQDJ\\HOODWRWKHUHPSOR\HHV
    :KRGLGKH\HOODW"
                :KRGLGKH\HOODW"
    $)RUVXUH-HQQ3LFNXV6KHZDVWKHVHFUHWDU\
           $   )RUVXUH-HQQ3LFNXV6KHZDVWKHVHFUHWDU\
    WKH\HDU,ZHQWWR'HI&RQ)RUVXUH&ROLQ,PHDQ
    KH\HOOHGDW5\DQWKHWLPH5\DQORVWWKHFRPSXWHU
    ORVWSXWLWVRPHSODFHWKDWKHGLGQ WUHFDOO+H
    \HOOHGDW(ULQ2 5RXUNH6KHZDVHPSOR\HGWKHUHIRUD
    ELW+H\HOOHGDWKLVEURWKHU0LNH,NLQGRIIRUJRW
    DERXW0LNHZRUNLQJWKHUH
    +H\HOOHG,WKLQN,WKLQNHYHU\ERG\JRW
                +H\HOOHG,WKLQN,WKLQNHYHU\ERG\JRW
    \HOOHGDWDWVRPHSRLQW,FDQ WWKLQNRIDVLQJOH
    SHUVRQZKRGLGQ WHYHUJHW\HOOHGDW
    4$QGZKDWZHUHWKHLUUHDFWLRQVZKHQ0U
    $/DXULHGHILQLWHO\JRW\HOOHGDW6RUU\


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     6RWRQVRIUHDVRQVELJDQGVPDOOIURP
     OD\RXWVRISDJHVWRUXPRUVIURPDFWRUVWKDW\RXOHIW
     WKHFDUUXQQLQJWRKLVZLIHWU\LQJWRFOHDQWKH
     KRXVHVKHJRW\HOOHGDWWR5\DQPLVSODFLQJD
     FRPSXWHUWR+DGQDJ\ VDVVXPSWLRQWKDW5\DQZRXOGQHYHU
     GRWKDW/LNH\RXJRW\HOOHGDWIRUKLVDVVXPSWLRQV
     RI\RX
     4&DQ\RX
     $7RWU\LQJWRGHIHQG.KDOHG VQDPH/LNH,
    JRW\HOOHGDWIRUWKDWVR
    46RMXVWVSHDNLQJLQEURDGWHUPVZRXOG\RX
           4   6RMXVWVSHDNLQJLQEURDGWHUPVZRXOG\RX
    GHVFULEHWKHDWPRVSKHUHDW6RFLDO(QJLQHHUDVZDONLQJ
    RQHJJVKHOOVDURXQG0U+DGQDJ\"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,ZRXOGDEVROXWHO\VD\WKDWZDONLQJRQ
           $   ,ZRXOGDEVROXWHO\VD\WKDWZDONLQJRQ
    HJJVKHOOVFRXOGEHDQDFFXUDWHGHVFULSWLRQRIKRZZH
    RSHUDWHGDURXQG+DGQDJ\DVHPSOR\HHV
    4
           4    %\$WWRUQH\7UDPEOH\ $QGWKDWILWVLQWR
    WKLVSHUVRQDRIWKH+XONZKHUHDQ\OLWWOHWKLQJFRXOG
    SRWHQWLDOO\EORZXSLQWRDELJLQFLGHQW"
    $<HDK
           $   <HDK
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,ZRXOGDJUHHZLWKWKDWDQG,ZRXOGDJUHH
           $   ,ZRXOGDJUHHZLWKWKDWDQG,ZRXOGDJUHH
    WKDWKHNQHZLWEHFDXVHKHKDGKLVDYDWDUVHWDVWKDW
    /LNHLWZDVDLWZDVVRPHWKLQJKHRZQHG


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     4
           4    %\$WWRUQH\7UDPEOH\ $QGVRDQ\OLWWOH
     WKLQJFRXOGSRWHQWLDOO\VHWRII0U+DGQDJ\ VWHPSHU"
     $<HVDQ\OLWWOHWKLQJDQ\WKLQJ$Q\WKLQJ
           $   <HVDQ\OLWWOHWKLQJDQ\WKLQJ$Q\WKLQJ
     FRXOGVHWRIIKLVWHPSHU
     42ND\
           4   2ND\
     $'RRU'DVKLQJKLPWKHZURQJWKLQJFRXOGVHWRII
           $   'RRU'DVKLQJKLPWKHZURQJWKLQJFRXOGVHWRII
     KLVWHPSHUOLNH
     4$QGHDUOLHU\RXKDGVWDUWHGWDONLQJDERXW'HI
     &RQ
    'LG\RXDWWHQG'HI&RQZLWK0U+DGQDJ\DVDQ
    HPSOR\HHRI6RFLDO(QJLQHHU"
    $,Q\HV
    42ND\$QGKRZGLG0U+DGQDJ\WUHDWKLV
    HPSOR\HHVDW'HI&RQ"
    $6RPHERG\FULHGHYHU\GD\DW'HI&RQWKDW
    \HDU:HZHUHDOOVWUHVVHG1RRQHKDGDSSURYHGRII
    WLPH<RXZHUHLIKHZDVVWUHVVHGHYHU\RQHVKRXOG
    EHVWUHVVHG
    $WVRPHSRLQW,WKLQNWKHUHZDVOLNHD
    SHUVRQJURXSFKDWRIDOOWKHHPSOR\HHVDQG
    YROXQWHHUVDQGDFRXSOHSHRSOHVWDUWHGMRNLQJ$QG
    &KULVJRWPDGDQGOHIWWKHJURXSFKDWOLNHOHIWWKH
    FRRUGLQDWLRQFKDWRIHYHU\ERG\WU\LQJWRIXOILOOKLV
    KRSHVDQGGUHDPV/LNH&KULV+DGQDJ\KDVOHIWWKH
    FKDWSHULRG


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     WKLVSODFHRIOLNHRKZHOOZHVKRXOGDOOJLYHRXU
     HYHU\RXQFHRIH[LVWHQFHWRWKLVLQLWLDWLYHZKLFKLV
     QRWKHDOWK\DQGQRWZKHUH,VKRXOGKDYHEHHQ
     $QGVRZKHQKHZRXOGVD\OLNH2K, PPDG
     DWWKLVSHUVRQ,GRQ WNQRZZKHUHWKH\DUHLWZDV
     UHDOO\HDV\WROLNHEHFRPHSDUWRIWKH<HDK/LNH
     ,GRQ WNQRZZKHUHWKH\DUHHLWKHU/LNHRKDW
     OHDVW\RXNQRZLW VQRWPH, PQRWWKHRQHZKR V
     )LQJXS/LNHOHW V\HDK/LNHLW VWKDW
    SHUVRQ7KDWSHUVRQLVWKHSUREOHPFKLOG
    $Q\ZD\WKDWPLJKWEHPRUHP\UHIOHFWLRQEXW
    ,GRQ WNQRZWKDW,VKRZHGXSLQDZD\WKDW, PSURXG
    RILQUHWURVSHFWEHFDXVHLI\RXZHUHQ WWKHWDUJHWRI
    LUHLWZDVUHDOO\HDV\WROLVWHQWRKLVDQJHUDQGEH
    OLNH<HDKWRWDOO\MXVWLILHG%XWWKHQZKHQ\RX
    UHDGLW\RXUVHOIRULWZDVGLUHFWHGDW\RX\RXZHUH
    OLNH2KQR7KLVIHHOVEDG,WIHHOVELJ,W
    IHHOVELJJHUWKDQZKDWHYHUZHQWZURQJ,WIHHOVOLNH
    VRPHRQHHOVHFRXOGKDYHVWHSSHGLQWRKHOSVROYHWKLV
    4'R\RXUHFDOO0U+DGQDJ\\HOOLQJDW\RXDW
           4   'R\RXUHFDOO0U+DGQDJ\\HOOLQJDW\RXDW
    'HI&RQ"
    $,
           $   , PWU\LQJWR,GRUHFDOOJHWWLQJ\HOOHG
    DW, PWU\LQJWRUHPHPEHUZK\,JRW\HOOHGDW,
    UHPHPEHUZHZHUHLQOLNHKLVVXLWHZLWKDOORIWKH
    IRRG,WKLQNLWZDVOLNH,QGLDQQLJKWDQG,GRQ W


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     NQRZZK\,JRW\HOOHGDW
     -HQQGHILQLWHO\JRW\HOOHGDWLQWKHOLNH
                -HQQGHILQLWHO\JRW\HOOHGDWLQWKHOLNH
     URRPGXULQJSUHSWLPH6KHJRW\HOOHGDWDIWHUWKH
     NLGV HYHQW,GRQ WUHPHPEHUZKDWVKHDOOHJHGO\
     PHVVHGXSEXWWKDWZDVOLNHSXEOLFO\GRQH6KHJRW
     \HOOHGDWZKHQVKHZDVODWH
     2K(ULQ2
                2K(ULQ2 5RXUNHJRW\HOOHGDW,IRUJRW
     VKHZDVWKHUHWKDW\HDU6KHVKRZHGXSODWH,WKLQN
     $QGOLNHVXUHZHFDQDOODUJXHWKDWVKRZLQJXSODWH
    LVXQSURIHVVLRQDOEXWLW VDOVRXQSURIHVVLRQDOWR
    UHVSRQGWRWKDWE\\HOOLQJDWWKHSHUVRQLQIURQWRID
    ZKROHJURXS
    4$QGGLGLW
           4   $QGGLGLW
    $7KRVHDUHP\UHFROOHFWLRQV,W
           $   7KRVHDUHP\UHFROOHFWLRQV,W V,ZDV
    VOHHSGHSULYHG,WZDVDOOSUHWW\KD]\
    42ND\$QGGLGLWPDNH\RXIHHOFRPIRUWDEOH
           4   2ND\$QGGLGLWPDNH\RXIHHOFRPIRUWDEOH
    RUXQFRPIRUWDEOHZKHQ0U+DGQDJ\\HOOHGDW\RXDW'HI
    &RQ"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,WPDNHVPHXQFRPIRUWDEOHZKHQDQ\RQHJHWV
           $   ,WPDNHVPHXQFRPIRUWDEOHZKHQDQ\RQHJHWV
    \HOOHGDWLQDSURIHVVLRQDOVHWWLQJ,WKLQNWKHUHDUH
    EHWWHUZD\VWRFRPPXQLFDWH$QG\HVLWPDGHPH
    XQFRPIRUWDEOHVSHFLILFDOO\
    4
           4    %\$WWRUQH\7UDPEOH\ 'LGLWPDNH\RXIHHO
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     'HI&RQ"
     $,WPDGHPHIHHOXQZHOFRPH,WPDGHIRUDQ
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     XQZHOFRPLQJHQYLURQPHQW
     4$QGZHUH\RXDIUDLGZKHQ0U+DGQDJ\\HOOHG
           4   $QGZHUH\RXDIUDLGZKHQ0U+DGQDJ\\HOOHG
     DW\RXDW'HI&RQ"
     $<HVDVWHULVNP\UHVSRQVHZDVPRUHOLNH
           $   <HVDVWHULVNP\UHVSRQVHZDVPRUHOLNH
     \RXZHUH,ZDVPRUHDIUDLGWREHWKHRQHWRJHW
     \HOOHGDW\RXNQRZ/LNHRQFH\RXZHUHJHWWLQJ
     \HOOHGDW\RXZHUHDOPRVWUHVLJQHGWR\RXUIDWHEXW,
    ZDVYHU\DIUDLGWREHWKHRQHFKRVHQWRJHW\HOOHGDW
    42ND\$QG\RXPHQWLRQHGWKDW0U+DGQDJ\KDG
    \HOOHGDWRWKHUHPSOR\HHV"
    $8KKXK
    4'LGLWPDNH\RXIHHOFRPIRUWDEOHRU
           4   'LGLWPDNH\RXIHHOFRPIRUWDEOHRU
    XQFRPIRUWDEOHWKDW0U+DGQDJ\\HOOHGDWRWKHU
    HPSOR\HHVDW'HI&RQ"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,WPDGHPHIHHOXQFRPIRUWDEOH,WDOVRPDGH
           $   ,WPDGHPHIHHOXQFRPIRUWDEOH,WDOVRPDGH
    PHIHHOH[WUDXQFRPIRUWDEOHEHFDXVHKHZDVPXFKPHDQHU
    WRWKHHPSOR\HHVWKDQWRWKHYROXQWHHUV
    /LNHLIKHKDGDQGWRVRPHH[WHQWOLNH
                /LNHLIKHKDGDQGWRVRPHH[WHQWOLNH
    WKHZKROHIHDURIEHLQJWKHRQHWREHVHOHFWHGWRJHW
    \HOOHGDWZDVEHFDXVHRIWKH+XONLGHD/LNHLIKH
    ZDVVWUHVVHGKHZRXOGILQGVRPHRQHDVDQRXWOHWIRU
    KLVHPRWLRQV7KDW VZKDWLWVHHPHGOLNH


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     7KHYROXQWHHUVEHFDXVHKHGLGQ
                7KHYROXQWHHUVEHFDXVHKHGLGQ WSD\WKHP
     WKHUHIRUHWKH\,JXHVVOLNHGLGQ WRZHKLP
     DQ\WKLQJ7KH\ZRXOGQ WJHW\HOOHGDW,WZDVMXVW
     SHRSOHKHSDLG
     $QGEHDULQPLQGZHZHUHQ
                $QGEHDULQPLQGZHZHUHQ WWHFKQLFDOO\SDLG
     IRU'HI&RQEHFDXVHLWZDVWKURXJK6(9LOODJHZKLFKLV
     D F      DQGLWZDVRQDZHHNHQG6RZHZHUHQ W
     WHFKQLFDOO\HPSOR\HHVEXWOLNHRXUWUHDWPHQWZDV
     WKDWRISHRSOHWKDWOLNHZHUHKLVDVRSSRVHGWR
    SHRSOHZKRZHUHKHOSLQJKLPLIWKDWGHOLQHDWLRQPDNHV
    VHQVH
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           4    %\$WWRUQH\7UDPEOH\ ,WPDNHVVHQVH
    6RGLG\RXVHH0U+DGQDJ\\HOODWRWKHU
                6RGLG\RXVHH0U+DGQDJ\\HOODWRWKHU
    LQGLYLGXDOVVXFKDVDWWHQGHHVRUIRONVZRUNLQJDW'HI
    &RQ"
    $<HV,
           $   <HV, YHGHILQLWHO\VHHQKLP\HOOOLNHDW
    JRRQVZKRZHUHWKH'HI&RQOLNHVHFXULW\VTXDG
    JRIHUV/LNHWKH\ UHOLNHWKH'HI&RQKHOSHUV
    6WDII,JXHVVVWDIILVWKHZRUG, PORRNLQJIRU
    6RUU\
    %XWVR\HDK/LNHKLV\HOOLQJZDVQ
                %XWVR\HDK/LNHKLV\HOOLQJZDVQ W
    FRPSOHWHO\UHVHUYHGIRUHPSOR\HHVEXWZHZHUHDKLJKHU
    SHUFHQWDJHRILW
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                ,WVRUWRIPDNHVPHZRQGHUOLNHKRZGLGKH
    WUHDWKLVIDPLO\ZKHQZHDOVRZHUHQ WDURXQG\RXNQRZ


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     EHFDXVHOLNHWKH\ UHHYHQPRUHKLV,WVHHPHGOLNH
     WKHPRUHKLV\RXZHUHWKHELJJHUULVNWKHUHZDVRI
     EHLQJWDUJHWHG
     4'R\RXUHFDOOZK\0U+DGQDJ\\HOOHGDWWKH
           4   'R\RXUHFDOOZK\0U+DGQDJ\\HOOHGDWWKH
     'HI&RQVWDII"
     $+HGLGQ
           $   +HGLGQ WOLNH,UHPHPEHUVRPHJHQHUDO
     FRPSODLQWVDQGLWFRXOGKDYHEHHQDQ\RIWKHVH7KH
     URRPZDVQ WELJHQRXJK7KHSURMHFWRUZDVQ WLQWKH
     ULJKWSODFH7KHUHZHUHQ WHQRXJKFKDLUV7KHOD\RXW
    ZDVQ WULJKW/LNHWKHVHZHUHDOOWKLQJVWKDWZHUH
    IUXVWUDWLQJWRKLP,GRQ WUHPHPEHUZKRKH\HOOHGDW
    ZKRH[DFWO\IRU
    7KHNLGV
                7KHNLGV VHYHQWZDVQ WLQWKHULJKWSODFH
    /LNHLW VWRRIDUDZD\,W VMXVWOLNHDQ\QXPEHU
    RIWKLQJV
    4$QGGLGLWPDNH\RXIHHOFRPIRUWDEOHRU
           4   $QGGLGLWPDNH\RXIHHOFRPIRUWDEOHRU
    XQFRPIRUWDEOHZKHQ0U+DGQDJ\\HOOHGDWWKH'HI&RQ
    VWDII"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $)RUVXUHXQFRPIRUWDEOH/LNHHYHU\RQH
           $   )RUVXUHXQFRPIRUWDEOH/LNHHYHU\RQH V
    ZRUNLQJKDUG:HGRQ WQHHGWREHPHDQ
    4
           4    %\$WWRUQH\7UDPEOH\ $QGGLGLWPDNH\RX
    IHHOZHOFRPHRUXQZHOFRPHZKHQ0U+DGQDJ\\HOOHGDW
    WKH'HI&RQVWDII"
    $77251(<&215$'2EMHFW)RUP
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                                                                         3DJH
     $'HILQLWHO\XQFRPIRUWDEOH$JDLQOLNHLW
           $   'HILQLWHO\XQFRPIRUWDEOH$JDLQOLNHLW
     VKRXOGKDYHEHHQIRVWHULQJDZHOFRPHHQYLURQPHQWQRW
     MXVWIRVWHULQJDZHOFRPLQJHQYLURQPHQWZKHQSHRSOHZHUH
     ORRNLQJRUZKHQHQRXJKSHRSOHZHUHORRNLQJ
     4 %\$WWRUQH\7UDPEOH\ 2ND\$QG, GOLNHWR
     FLUFOHEDFNWRVRPHWKLQJZHGLVFXVVHGHDUOLHULQ\RXU
     WHVWLPRQ\
     <RXKDGVDLGWKDW0U+DGQDJ\KDGSXOOHGRXW
     DNQLIHDW'HI&RQFRUUHFW"
    $<HV
    4$QG
    $$VZLWFKEODGH
    4$QGWKLVZDVDUHDONQLIH",WZDVQRWDWR\
           4   $QGWKLVZDVDUHDONQLIH",WZDVQRWDWR\
    NQLIH"
    $2K\HDK,W
           $   2K\HDK,W VDUHDONQLIH,W VOLNH
    LOOHJDOLQVRPHVWDWHVDQGFRXQWULHVEHFDXVHLW V
    OLNHWKHRQH\RXSUHVVWKHEXWWRQDQGWKHNQLIH
    OLNHSRSVXS/LNHLI\RXOLNHSXVKHGLWDJDLQVW
    VRPHRQH VVNLQDQGSUHVVHGWKHEXWWRQLWZRXOGJRLQ
    WKHSHUVRQ VVNLQOLNHLQWRWKHLUERGLHV/LNH
    LW VOLNHDQLOOHJDONQLIHLQPDQ\VWDWHV,GRQ W
    UHPHPEHUZKLFKVWDWHVEXWLWLV
    4$QG
    $6R\HDKSHUFHQW
    4$QG0U+DGQDJ\ZRXOGSXOOWKLVRXWRIKLV


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                                                                         3DJH
     SRFNHWZKHQKHJRWDQJU\"
     $<HV/HWPHJREDFNDQGVD\DJDLQ,
     DFWXDOO\GLG,GRQ W,GRQ WNQRZWKDW
     +HZRXOGSXOOLWRXWRIKLVSRFNHWDQGXVHLW
     ZKHQKHZDVSUHDQJHUZKHQLWZDVDMRNH,FDQ W
     VD\,WKLQNKHKDGWKHZKHUHZLWKDOWKDWZKHQKHZDV
     UHDOO\UDJLQJ,GRQ WUHPHPEHUKLP,GRQ WUHPHPEHU
     LWEHLQJOLNHDQ, PJRLQJWRFDOOWKHSROLFH7KLV
     PDQLVDVVDXOWLQJPH/LNH,WKLQNKHNQHZZKHUHWR
    VWRSLWEHIRUHWKDW
    6RKLV+XONOLNHZUDWK,GRQ WUHPHPEHUEHLQJ
    SDLUHGZLWKWKHVKDQNLQJMRNH7KHVKDQNLQJMRNHZDV
    OLNHD+RZFRXOG\RXEHVRVWXSLG"/2/$QGWKHQ
    LI\RXDFWXDOO\GLGWKHWKLQJDJDLQWKHVKDQNLQJMRNH
    ZDVQ WWKHUH2ULI\RXGLGWKHWKLQJWKDWOLNH
    LQFRQYHQLHQFHGKLPKHZRXOGQ WGUDZWKHNQLIHRQ\RX
    EXWWKHQKHZRXOGEHOLNHYLVLEO\DQJU\
    42ND\
    $,GRQ WWKLQN,GRQ W,WKLQNKH V
    VPDUWHQRXJKDQGVRFLDOO\DZDUHHQRXJK/LNHWKH
    ZKROHFRPSDQ\LVDVRFLDOFRPSDQ\/LNHKH VVRFLDOO\
    DZDUHHQRXJKWKDWKH VQRWWU\LQJWRJHWDUUHVWHGRQ
    WKHUHJXODU
    4%XW0U+DGQDJ\ZRXOGSXOORXWDUHDONQLIH
           4   %XW0U+DGQDJ\ZRXOGSXOORXWDUHDONQLIH
    DW'HI&RQ"


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                                                                         3DJH
     $<HV
           $   <HV
     4$QGGLGLWPDNH\RXIHHOFRPIRUWDEOHRU
           4   $QGGLGLWPDNH\RXIHHOFRPIRUWDEOHRU
     XQFRPIRUWDEOHZKHQKHZRXOGSXOOKLVNQLIHRXWDW'HI
     &RQ"
     $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
     $8QFRPIRUWDEOHZKHQKHZRXOGSXOOKLVNQLIH
           $   8QFRPIRUWDEOHZKHQKHZRXOGSXOOKLVNQLIH
     RXWDQ\ZKHUHDQGGHILQLWHO\'HI&RQEHFDXVH\RX UHLQ
     SHUVRQ/LNHLW VWKHUH,W VSK\VLFDOO\QH[WWR
     \RX
    4
           4    %\$WWRUQH\7UDPEOH\ $QGGLGLWPDNH\RX
    IHHOLQWLPLGDWHGRUVFDUHGZKHQ0U+DGQDJ\ZRXOGSXOO
    RXWDNQLIHDW'HI&RQ"
    $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
    $<HDK<HDKIRUVXUH$QGDOVROLNHLW
           $   <HDK<HDKIRUVXUH$QGDOVROLNHLW
    ZRXOGPDQLIHVWLQ\RXUEUDLQEHLQJOLNHSDUGRQP\
    )UHQFK2KVKLW,FDQ WEHOLHYHKHMXVWGLG
    WKDW$QGWKHQ\RX UHOLNH'R,ODXJKQRZ",JXHVV
    ,ODXJKQRZ
    4 %\$WWRUQH\7UDPEOH\ $QGZRXOG0U+DGQDJ\
    JHVWXUHWRZDUGVVWDEELQJSHRSOHZKHQKHSXOOHGRXWWKH
    NQLIH"/LNHZKDWZRXOGKHGRZLWKWKHNQLIHZKHQKH
    SXOOHG
    $)RUVXUH+HZRXOGEHOLNH GHVFULSWLYH
    VRXQG OLNHWKDW
    4$QGGLGKHHYHUJHVWXUHZLWKWKHNQLIHWRZDUG


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                                                                         3DJH
     LQFUHDVLQJLQVHYHULW\
     42ND\$QGLWZDVFRPPRQIRU0U+DGQDJ\WR
           4   2ND\$QGLWZDVFRPPRQIRU0U+DGQDJ\WR
     SXOORXWKLVNQLIHDQGSUHWHQGWRVKDQNSHRSOHDW'HI
     &RQ"
     $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
     $,WZDVYHU\FRPPRQ\HDK
           $   ,WZDVYHU\FRPPRQ\HDK
     7+(:,71(662RSV6RUU\EXGG\6RUU\
                7+(:,71(662RSV6RUU\EXGG\6RUU\
     $<HV,WZDVYHU\FRPPRQIRUKLPWRSXOORXW
           $   <HV,WZDVYHU\FRPPRQIRUKLPWRSXOORXW
     WKHNQLIHDQGMRNHDERXWVKDQNLQJSHRSOH
    $77251(<75$0%/(<2ND\,WKLQNZHFRXOG
    WDNHDPLQXWHEUHDN0DUNXQOHVV\RXKDYHDQ\
    REMHFWLRQVWRWKDW
    $77251(<&215$'1RREMHFWLRQV
    $77251(<75$0%/(<2ND\
    7+(9,'(2*5$3+(5:H UHJRLQJRIIWKHUHFRUG
    DWDP
     5HFHVV
    7+(9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG
    DWDP
    4 %\$WWRUQH\7UDPEOH\ 0V0XUGRFNVKLIWLQJ
    JHDUVDOLWWOHELWOHW VGLVFXVVZK\\RXOHIW
    6RFLDO(QJLQHHU
    6RZK\GLG\RXTXLW\RXUMREDW
    6RFLDO(QJLQHHU"
    $,TXLWEHFDXVHLWZDVWKHZHHNRI0/6(DQG


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&DW0XUGRFN                                                    2FWREHU

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     /LNHLIKHZDQWVWROLNHKH VPDGHVRPDQ\KH V
     WULHGVRPDQ\WLPHVWROLNHGRP\FDUHHUKDUP,IKH
     KDGDFWXDOSURRI,WKLQNKHZRXOGKDYHORYHGQRWKLQJ
     PRUH/LNH,FRXOGEHZURQJEXWLWIHHOVOLNHKH
     ZRXOGKDYHOLNHUXQZLWKWKDWVNLSSLQJ
     4
           4    %\$WWRUQH\7UDPEOH\ $QGMXPSLQJEDFND
     OLWWOHELW\RXUHPSOR\PHQWDJUHHPHQWZLWK
     6RFLDO(QJLQHHUFRQWDLQHGDQRQFRPSHWHFODXVHULJKW"
     $,WGLG
           $   ,WGLG
    4:KDWZDVWKHGXUDWLRQRIWKDWQRQFRPSHWH
           4   :KDWZDVWKHGXUDWLRQRIWKDWQRQFRPSHWH
    FODXVH"
    $,EHOLHYHLWZDVPRQWKVIURPWHUPLQDWLRQ
           $   ,EHOLHYHLWZDVPRQWKVIURPWHUPLQDWLRQ
    LQDQDJUHHPHQWWKDWYHUEDWLPVWDWHG7KLVDJUHHPHQW
    H[SLUHVLQPRQWKVXQOHVVLWLVVLJQHGWRFRQWLQXH
    4$QGZKHQGLG\RXVWRSZRUNLQJDW
           4   $QGZKHQGLG\RXVWRSZRUNLQJDW
    6RFLDO(QJLQHHU"
    $0DUFKRI
           $   0DUFKRI
    4$QGZKHQGLG\RXVWDUWZRUNLQJIRU%DQNRI
           4   $QGZKHQGLG\RXVWDUWZRUNLQJIRU%DQNRI
    $PHULFD"
    $6HSWHPEHURI
           $   6HSWHPEHURI
    46RLWZDVRQH\HDUDIWHU\RXOHIW
           4   6RLWZDVRQH\HDUDIWHU\RXOHIW
    6RFLDO(QJLQHHU"
    $&RUUHFW
           $   &RUUHFW
    4$QG\HW0U+DGQDJ\VWLOOVHQWDFHDVHDQG
           4   $QG\HW0U+DGQDJ\VWLOOVHQWDFHDVHDQG
    GHVLVWOHWWHUWR%DQNRI$PHULFD"


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&DW0XUGRFN                                                    2FWREHU

                                                                       3DJH
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $&RUUHFW+HGLG
           $   &RUUHFW+HGLG
     $QGDOVRLWZRXOGQ
                $QGDOVRLWZRXOGQ WKDYHDSSOLHGWRWKH
     QRQFRPSHWHDQ\ZD\EHFDXVHLWZDVGRQ WWDNHFOLHQWV
     DQG,ZDVZRUNLQJIRUVRPHERG\ZKRZDVRQFHDFOLHQW
     7KDW VGLIIHUHQWEXWWKDW VPD\EHVSOLWWLQJKDLUV
     4
           4    %\$WWRUQH\7UDPEOH\ 6R\RXWKLQN%DQNRI
     $PHULFDZDVDFOLHQWDQGQRWDFRPSHWLWRURI
     6RFLDO(QJLQHHUDQGWKHUHIRUHWKHQRQFRPSHWHGLGQRW
    DSSO\"
    $$EVROXWHO\%HFDXVH,
           $   $EVROXWHO\%HFDXVH, PZRUNLQJRQDQ
    LQWHUQDOUHGWHDP,GRQ WVHUYHFOLHQWVRWKHUWKDQWKH
    EDQN VOLQHVRIEXVLQHVV/LNH,RQO\ZRUNLQWHUQDOO\
    WRWKHEDQNGRLQJDIXQFWLRQWKDW6RFLDO(QJLQHHUFRXOG
    QHYHUSHUIRUPIRUWKHEDQN6R\HDKHYHQLILWKDG
    EHHQZLWKLQWKHWLPHIUDPHRIDYDOLGFRQWUDFW,VWLOO
    ZRXOGQRWKDYHEHHQLQYLRODWLRQRIWKHDJUHHPHQW
    46RHYHQWKRXJKWKHRQH\HDUKDGHODSVHGDQG
           4   6RHYHQWKRXJKWKHRQH\HDUKDGHODSVHGDQG
    \RXZHUHZRUNLQJIRUDFOLHQWDQGQRWDFRPSHWLWRU
    0U+DGQDJ\VWLOOVHQW\RXDFHDVHDQGGHVLVWOHWWHU"
    $7HFKQLFDOO\KHVHQWWKHEDQNWKHFHDVHDQG
           $   7HFKQLFDOO\KHVHQWWKHEDQNWKHFHDVHDQG
    GHVLVWZKRWKHQKDGWRWHOOP\ERVVZKRWKHQKDGWR
    FDOOPHWREHOLNH,VWKLVIRUUHDO",WZDVD
    PHPRUDEOHFRQYHUVDWLRQ
    4'R\RXWKLQN0U+DGQDJ\ZDVWU\LQJWRJHW
           4   'R\RXWKLQN0U+DGQDJ\ZDVWU\LQJWRJHW


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                                                                       3DJH
     \RXILUHGIURP\RXUQHZMREDW%DQNRI$PHULFD"
     $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
     $,WKLQNKHKRSHGWKDWZRXOGKDSSHQ
           $   ,WKLQNKHKRSHGWKDWZRXOGKDSSHQ
     4
           4    %\$WWRUQH\7UDPEOH\ 'LG\RXILQGLW
     $,WVHHPHGVRIDUUHPRYHGIURPVRPHWKLQJ
           $   ,WVHHPHGVRIDUUHPRYHGIURPVRPHWKLQJ
     WKDW VDFWXDOO\SRVVLEOH/LNH,GRQ WNQRZEXW,
     WKLQNOLNH,KDYHWRLPDJLQHWKDW VZKDWKHZDVJRLQJ
     IRU
     4'LG\RXILQGLWLQWLPLGDWLQJWKDW0U+DGQDJ\
           4   'LG\RXILQGLWLQWLPLGDWLQJWKDW0U+DGQDJ\
    ZDVVHQGLQJ\RXPXOWLSOHFHDVHDQGGHVLVWOHWWHUV"
    $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
    $,WZDVIRUVXUHLQWLPLGDWLQJWKDWPRUHWKDQD
           $   ,WZDVIRUVXUHLQWLPLGDWLQJWKDWPRUHWKDQD
    \HDUDIWHU,TXLWKH VVWLOOIROORZLQJP\FDUHHU
    HQRXJKWRZDQWWRQHJDWLYHO\DIIHFWLW7KDW VVXSHU
    VFDU\
    ,W
                ,W VWKHPDLQUHDVRQWKDWOLNH,NQRZKH
    FDQUHVHDUFK+HFDQWDVNVRPHRQHHOVHWRUHVHDUFK
    OLNHZKHUH,DPEXWOLNHKHPDNHVPHVR
    XQFRPIRUWDEOH,GLGQ WZDQWWRWHOO'RXJZKHUH, P
    FXUUHQWO\ORFDWHG/LNHWKDW VWKHUHDOLW\RIWKLV
    :KHQWKLQJVKDSSHQOLNH,NQRZKH
                :KHQWKLQJVKDSSHQOLNH,NQRZKH V
    ZDWFKLQJPHIURPDIDUZKHWKHUWKDW VOLNHXSGDWLQJ
    P\/LQNHG,QRUVRPHERG\FRPPHQWLQJPHRQ7ZLWWHU
    /LNHHYHQWKRXJKKHEORFNHGPHZKLFKLVVRDVLQLQH
    EHFDXVHKHKDVDSXEOLFDFFRXQW/LNHKHZDVHYHQ


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                                                                       3DJH
     WKRXJKKHGRHVLWOLNH,NQRZ\RX UHFKHFNLQJXSRQ
     PHEHFDXVHKHWDNHVDFWLRQVOLNHWU\LQJWRVXHP\
     HPSOR\HURUUHIHUHQFLQJP\FDUHHULQDEORJSRVW$QG
     WKDW VIUHDNLQJFUHHS\
     4 %\$WWRUQH\7UDPEOH\ $QGVR0U+DGQDJ\
     PRQLWRULQJ\RXDIWHU\RXOHIW\RXUHPSOR\PHQWPDNHV\RX
     IHHOXQFRPIRUWDEOH"
     $77251(<&215$'2EMHFWLRQ)RUP
     $<HV$IRUPHUERVVDQHPSOR\HUPRQLWRULQJ
    DQGWDNLQJQHJDWLYHDFWLRQ7KDW VWKHUHDOWKLQJ
    /LNHSOHQW\RISHRSOHZDQWWRVWD\LQWRXFKZLWK
    OLNHSULRUHPSOR\HHV+HPDGHLWYHU\FOHDUWKDW V
    QRWWKHJRDOKHUH6RLW VQRW/HWPHVXSSRUW\RXDQG
    FKHHU\RXRQIURPWKHVLGHOLQHVDQGZDWFKZKDW
    KDSSHQV,W V/HWPHVFUXWLQL]H\RXUDFWLRQVWRVHH
    LI,FDQKDUDVV\RXPRUH
    4 %\$WWRUQH\7UDPEOH\ +DV0U+DGQDJ\GRQH
    WKLVWRRWKHUVWKDWKDYHOHIWKLVHPSOR\PHQWDW
    6RFLDO(QJLQHHU"
    $77251(<&215$'2EMHFWLRQ)RUP
    $,PHDQ,GRQ WKDYHOLNHRWKHUSHRSOH V
    UHFHLSWVFROORTXLDOO\EXW, YHKHDUG\HVIRUVXUH
    ,NQRZWKDWKHKDVQRSUREOHPVSHDNLQJLOORISHRSOH
    ,WKLQN\RXNQRZWKHUH VDOZD\VWKHFKDQFH
    WKDWSHRSOHZKRSDUWHGZD\VZLWKKLPHDUOLHUZKHQ


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                                                                       3DJH
     $77251(<75$0%/(<, GOLNHWRSXOOXS
     'HIHQGDQW V([KLELWZKLFKLV%DWHVODEHOHG
     6(B$QGWKLVLVWKHDUWLFOHWKDW0U+DGQDJ\
                 $QGWKLVLVWKHDUWLFOHWKDW0U+DGQDJ\
     SXEOLVKHGRQ/LQNHG,QFDOOHG%H:DWHU0\)ULHQGRQ
     6HSWHPEHU
      ([KLELW1R'HIHQVHPDUNHGIRU
     LGHQWLILFDWLRQ
                 LGHQWLILFDWLRQ
     4
           4    %\$WWRUQH\7UDPEOH\ 0V0XUGRFN, PRQO\
     JRLQJWRDVN\RXDIHZTXHVWLRQVDERXWWKLV6R,
    GRQ WWKLQN\RXQHHGWRUHYLHZWKHHQWLUHWKLQJ
    /HWPHDUH\RXIDPLOLDUZLWKWKLVDUWLFOH"
                /HWPHDUH\RXIDPLOLDUZLWKWKLVDUWLFOH"
    $,DPIDPLOLDU\HVWKLVDUWLFOH
           $   ,DPIDPLOLDU\HVWKLVDUWLFOH
    4/HWPHPRYHGRZQ6RKRZDERXW\RXUHYLHZ
           4   /HWPHPRYHGRZQ6RKRZDERXW\RXUHYLHZ
    WKLVSDJHDQGOHWPHNQRZZKHQ\RXDUHGRQHZLWKWKDW
    DQG, OODVN\RXDIHZTXHVWLRQV
    $2ND\
           $   2ND\
    42ND\0V0XUGRFNUHPLQGPHDJDLQ:KHQ
           4   2ND\0V0XUGRFNUHPLQGPHDJDLQ:KHQ
    GLG\RXVWDUWZRUNLQJDW%DQNRI$PHULFD"
    $6HSWHPEHU
           $   6HSWHPEHU
    42ND\$QGWKLVDUWLFOHZDVSXEOLVKHGRQ
           4   2ND\$QGWKLVDUWLFOHZDVSXEOLVKHGRQ
    6HSWHPEHUFRUUHFW"
    $,WVHHPVVR:HLUGWLPLQJULJKW"
           $   ,WVHHPVVR:HLUGWLPLQJULJKW"
    46RWKLVDUWLFOHZDVSRVWHGDURXQGWKHWLPH
           4   6RWKLVDUWLFOHZDVSRVWHGDURXQGWKHWLPH
    WKDW\RXVWDUWHGZRUNLQJDW%DQNRI$PHULFD"
    $&RUUHFW
           $   &RUUHFW


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&DW0XUGRFN                                                    2FWREHU

                                                                       3DJH
     42ND\$QGLWVD\VLQWKHIRXUWKSDUDJUDSK
           4   2ND\$QGLWVD\VLQWKHIRXUWKSDUDJUDSK
     GRZQ:HKDGWKLVHPSOR\HHGHSDUWIURP
     6RFLDO(QJLQHHUDQGLWZDVQRWDPLFDEOH7KLVSHUVRQ
     ZDVPDOLFLRXVDQGVWROHRXULQWHOOHFWXDOSURSHUW\
     EUHDFKHGWKHLUHPSOR\PHQWFRQWUDFWPXOWLSOHWLPHVDQG
     WKHQVODQGHUHGXV7KLVSHUVRQHYHQZHQWDVIDUDVWR
     WU\DQGKXUWWKHQRQSURILWWKH,QQRFHQW/LYHV
     )RXQGDWLRQ,VWDUWHGWRKHOSVDYHFKLOGUHQIURPWKH
     KRUURUVRIFKLOGDEXVH
    'R\RXEHOLHYHWKDW0U+DGQDJ\ZDVWDONLQJ
                'R\RXEHOLHYHWKDW0U+DGQDJ\ZDVWDONLQJ
    DERXW\RXZKHQKHPDGHWKLVFRPPHQW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $,EHOLHYHKHZDVWDONLQJDERXWPH$QG
           $   ,EHOLHYHKHZDVWDONLQJDERXWPH$QG
    HQRXJKSHRSOHWKRXJKWKHZDVWDONLQJDERXWPHWKDWLW
    ZDVVHQWWRPHOLNHWLPHV
    4
           4    %\$WWRUQH\7UDPEOH\ $QGGR\RXILQGWKLV
    VWDWHPHQWWREHGHIDPDWRU\"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $<HDK,DEVROXWHO\EHOLHYHWKDWWKLVLV
           $   <HDK,DEVROXWHO\EHOLHYHWKDWWKLVLV
    PDNLQJLWLVPDNLQJVRPHERG\LQWHQWLRQDOO\ORRNYHU\
    EDGDQGLW VQRWWUXH
    4
           4    %\$WWRUQH\7UDPEOH\ $QGWKHQ0U+DGQDJ\
    JRHVRQWRZULWHMXVWEHORZWKDW$QGXQIRUWXQDWHO\
    LW VFXWRIIULJKWKHUHEXW, OOUHDGLWDORXG
    ,ZDVVRDQJU\,ZDQWHGWRODVKRXW,
                ,ZDVVRDQJU\,ZDQWHGWRODVKRXW,


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&DW0XUGRFN                                                    2FWREHU

                                                                       3DJH
     ZDQWWRUXLQWKHLUFDUHHUDQGWRFDOOWKLVSHUVRQRXW
     SXEOLFO\$QGOHWPHVFUROOKHUH
     :DVWKLVWKHVWDWHPHQWWKDW\RXZHUH
                :DVWKLVWKHVWDWHPHQWWKDW\RXZHUH
     UHIHUULQJWRZKHUH\RXZHUHDIUDLGWKDWKHZRXOGUXLQ
     \RXUFDUHHU"
     $<HV7KLVLVWKHVWDWHPHQWWKDWVWXFNRXWLQ
           $   <HV7KLVLVWKHVWDWHPHQWWKDWVWXFNRXWLQ
     P\KHDG$QG,ZLOODFWXDOO\VD\WKDWZKDWDOVRVWXFN
     RXWLVWKHFKDQJHLQWHQVHWKDWKHZDVDQJU\
     (YHU\WKLQJLVLQSDVWWHQVHH[FHSWIRUWKH,ZDQWWR
    UXLQWKHLUFDUHHU
    4'LGWKLVVWDWHPHQWPDNH\RXIHHOLQWLPLGDWHG"
           4   'LGWKLVVWDWHPHQWPDNH\RXIHHOLQWLPLGDWHG"
    $$EVROXWHO\,WKRXJKW,ZDVOLNH&DQKH
           $   $EVROXWHO\,WKRXJKW,ZDVOLNH&DQKH
    FDXVHPHWRORVHP\MRE"0\MREZDVOLNHLW
    VWDUWHGDWOLNH./LNHWKDW VDKXJHVKLIW
    /LNH,ZRXOGKDYHORVWWKHUDLVH,JRWIURPOHDYLQJ
    *XLGH3RLQWDQGWKHVDODU\,ZDVPDNLQJEHIRUH,
    DFFHSWHGWKHEDQNMRE/LNHRIFRXUVHWKDW V
    LQWLPLGDWLQJ
    $77251(<&215$', PJRLQJWRREMHFWWRIRUP
    RQWKDW6RUU\,ZDVQ WDEOHWRJHWWKDWLQEHIRUH
    VKHVWDUWHGDQVZHULQJ
    7+(:,71(66$SRORJLHV,W VRQPH6RUU\
    4 %\$WWRUQH\7UDPEOH\ :HUH\RXFRQFHUQHGIRU
    \RXUUHSXWDWLRQDIWHUWKLVDUWLFOHZDVSXEOLVKHG"
    $77251(<&215$'2EMHFWLRQ)RUP


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&DW0XUGRFN                                                    2FWREHU

                                                                       3DJH
     $,ZDVFRQFHUQHGDIWHU,ZDVFRQFHUQHG
     EHIRUH,UHPDLQFRQFHUQHGWKDW+DGQDJ\WULHVKLV
     KDUGHVWWRGDPDJHP\UHSXWDWLRQDQG,FDQRQO\KRSH
     WKDW,KDYHKDQGOHGP\VHOIZLWKJUDFHDQGDSORPEWRWKH
     SRLQWWKDWQRERG\ZRXOGEHOLHYHKLP, PVXUHVRPH
     SHRSOHGRWKRXJK
     $77251(<75$0%/(<2ND\$QG,
                $77251(<75$0%/(<2ND\$QG, PJRLQJWR
     SXOOXSDQRWKHUH[KLELWZKLFK,ZLOOPDUNDV
     'HIHQGDQW V([KLELW$QGLWLV%DWHVODEHOHG
    6(B/HWPHVKDUHP\VFUHHQ7KLVLVDQHPDLO
    IURP0U+DGQDJ\WR/DXULH6HJDOOZKRLVDMRXUQDOLVW
    RQ0DUFKRU0D\
     ([KLELW1R'HIHQVHPDUNHGIRU
    LGHQWLILFDWLRQ
                 LGHQWLILFDWLRQ
    4
           4    %\$WWRUQH\7UDPEOH\ $QG0V0XUGRFN, P
    RQO\JRLQJWRDVN\RXDERXWWKLVWRSSRUWLRQ6RLI
    \RXFRXOGUHYLHZWKLVDQGOHWPHNQRZZKHQ\RX UHGRQH
    $$OOULJKW
           $   $OOULJKW
    42ND\
           4   2ND\
    $+ROGRQ-XVWWRFODULI\WKLVLVWRD
           $   +ROGRQ-XVWWRFODULI\WKLVLVWRD
    MRXUQDOLVW"
    4<HVLWLV
           4   <HVLWLV
    $77251(<&215$',
                $77251(<&215$', PJRLQJWRREMHFW)RUP
    4
           4    %\$WWRUQH\7UDPEOH\ $QGGR\RXILQGLW
    FRQFHUQLQJWKDW0U+DGQDJ\VHQWWKLVHPDLOWRD


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&DW0XUGRFN                                                    2FWREHU

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     MRXUQDOLVW"
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     $<HDK,WDOVRLVOLNHNLQGRIYLQGLFDWLQJ
           $   <HDK,WDOVRLVOLNHNLQGRIYLQGLFDWLQJ
     , PQRWJRLQJWROLHEHFDXVHLWLVYHU\FOHDUWKDW
     KHOLNHLW VQRORQJHUD2K,KDYHWKLVZHLUG
     VQHDN\VXVSLFLRQDQGHQRXJKSHRSOHKDYHVDLGWKDWKH V
     WDONLQJEDGO\DERXWPH/LNHKH VWDONLQJEDGO\
     DERXWPHWRWKHPHGLD
     4
           4    %\$WWRUQH\7UDPEOH\ $QGDERXWPLGGOHRI
    WKHSDUDJUDSKGRZQKHVD\V)XOOGLVFORVXUH6KH
    VFUHZHGXSDPDVVLYHSURMHFWDQGORVWP\FUDS,
    FKHZHGKHURXWEDG
    'R\RXWKLQNKH
                'R\RXWKLQNKH VUHIHUULQJWRWKH0/6(
    HYHQW"
    $,ZRXOGDVVXPHVR
           $   ,ZRXOGDVVXPHVR
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    4
           4    %\$WWRUQH\7UDPEOH\ $QG
    $<HDK,ZRXOGDVVXPHVRJLYHQWKDW
           $   <HDK,ZRXOGDVVXPHVRJLYHQWKDW VWKH
    RQO\WKLQJWKDWKH VHYHUFODLPHG,PHVVHGXSODUJHO\
    4
           4    %\$WWRUQH\7UDPEOH\ $QG
    $,PHDQDWWKHWLPH
           $   ,PHDQDWWKHWLPH
    46RUU\
           4   6RUU\
    ,V0U+DGQDJ\DFNQRZOHGJLQJWKDWKH\HOOHG
                ,V0U+DGQDJ\DFNQRZOHGJLQJWKDWKH\HOOHG
    DW\RXDWWKDWHYHQW"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP


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&DW0XUGRFN                                                    2FWREHU

                                                                       3DJH
     $,WDSSHDUVKHLVDFNQRZOHGJLQJWKDWKHFKHZHG
           $   ,WDSSHDUVKHLVDFNQRZOHGJLQJWKDWKHFKHZHG
     PHRXWEDGZKLFKZRXOG\HVVHHPOLNHKH V
     DFNQRZOHGJLQJKLVEHKDYLRU
     4
           4    %\$WWRUQH\7UDPEOH\ 2ND\$QGIXUWKHU
     GRZQLQWKHHPDLOKHVD\V%XWZLWKLQDPRQWK
     VWDUWHGDFRPSDQ\WKDWVROGRXUSURGXFWV:HVKXWKHU
     GRZQ6KHZHQWWRJHWDMREZLWKDFRPSHWLWRUZKLFK
     ZDVDEUHDFKRIKHUFRQWUDFW:HGLGQ WVWRSKHU,
     VKRXOGKDYH7KHQVKHZHQWRQWRZRUNIRUDFOLHQWRI
    RXUVVKHVHUYLFHG$OVRDEUHDFKEXW,GLGQ WVWRS
    KHU6KHWULHGWRGDPDJH,/)DQGFDOOHGRXWRXUDJHQWV
    DW'HI&RQ:DVDPDMRUSUREOHPDQGDOPRVWUXLQHG,/)
    6KHLVDWHUULEOHSHUVRQ
    +RZGRHVLWPDNH\RXIHHOWKDW0U+DGQDJ\LV
                +RZGRHVLWPDNH\RXIHHOWKDW0U+DGQDJ\LV
    VHQGLQJDQHPDLOWRDMRXUQDOLVWFDOOLQJ\RXDWHUULEOH
    SHUVRQ"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
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           $   1RWJUHDW/LNH, OOEHLQWKLVLQ
    WKHVSLULWRIKRQHVW\VLQFH, PXQGHUVZRUQRDWKLW V
    DOPRVWDUHOLHIWRVHHLWZULWWHQIRUUHDOOLNH
    EHFDXVHLWKDVEHHQDOLNHUHDOO\DZIXOFORXG
    /LNHDJDLQOHW
                /LNHDJDLQOHW VOLNHWRUHFDS,
    MRLQHG,ZDQWHGWRMRLQKLVFRPSDQ\DQGKLPEHFDXVH
    ,WUXO\EHOLHYHGWKHPRWWR/HDYHRWKHUVIHHOLQJEHWWHU
    IRUKDYLQJPHW\RX6RWROHDYHEHFDXVH,NQHZKH


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     ZDVQ WGRLQJWKDWDQGWKHQWRKDYHKLPFDOOPHD
     WHUULEOHSHUVRQLW VERWKJORULRXVO\LURQLFDQG\HDK
     UHDOO\LWGHILQLWHO\KXUWV$QG,UHDOO\GLVOLNH
     EHLQJOLHGDERXW6R\RXFDQWKLQN, PDWHUULEOH
     SHUVRQDOO\RXZDQWEXWWRWHOOWKHPHGLDOLHVDQG
     WKHQWRDFWOLNHKHGLGPHDIDYRUEXWQRWLVVXLQJPRUH
     OHJDODFWLRQZHOOLWPDNHVPHVDG
     7KHGDUNKXPRUSDUWRIPHLVOLNHWKDW
                7KHGDUNKXPRUSDUWRIPHLVOLNHWKDW VNLQG
     RIKLODULRXVEHFDXVHP\XQGHUVWDQGLQJLV'HI&RQLV
    OLNH+HKDUDVVHVSULRUHPSOR\HHVDQGKH VOLWHUDOO\
    WHOOLQJDMRXUQDOLVWKH VEXPPHGRXWWKDWKHGLGQ W
    KDUDVVPHPRUH6RRQWKHRQHKDQGLWKXUWVDQGRQ
    WKHRWKHULW VLW VMXVWQLFHNLQGRIQLFHWRNQRZ
    LW VQRWPHKDYLQJOLNHWKDWP\IHDUVDQGWKRXJKWV
    ZHUHQ WXQIRXQGHG/LNHLW VUHDO
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           4    %\$WWRUQH\7UDPEOH\ $QGEULQJLQJWKLVEDFN
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    0\)ULHQGZKHUHKHVD\VWKDW\RXNQRZWKLVHPSOR\HH
    WULHGWRGDPDJH,/)DQGVKHKDGVWROHQLQIRUPDWLRQDQG
    JRQHWRDFRPSHWLWRU
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                'RHVWKLVHPDLOVXSSRUW\RXUEHOLHIWKDWWKDW
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     VDLGLWRUGRQHLW$QGWKHQWKHGHVFULSWLRQPDWFKHV
     SHUIHFWO\ZLWKWKHSXEOLFVWDWHPHQW6R\HDK,WKLQN
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    LQGXVWU\"
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           $   ,IHHODIUDLGIRUP\FDUHHU,IHHODIUDLG
    IRUP\UHSXWDWLRQ,IHHOVDG,IHHOOHVVDIUDLGWKH
    PRUHKHTXDGUXSOHVGRZQRQKLVEHKDYLRUEXW,NQRZ
    WKDWVRPHSHRSOHDOZD\VEHOLHYHKLP6R\HDK,ZLOO
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     VD\LQJWKDW
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                -HVV/HYLQHZDVRSHQDERXWLWDQGVKHZDV
     QRWWKHUHEXWVKHKDGSUHSDUHGDOHWWHUWKDWVKHDVNHG
     PHWRUHDG6R,UHDGWKDWEHFDXVHLURQLFDOO\ZKLOH
     ZHKDGQHYHUEHHQLQWRXFKEHIRUHZHGLGJHWLQWRXFK
     DIWHURXUVKDUHGH[SHULHQFH,PHDQZHKDGEHHQLQ
     WRXFKDWWKHRQH'HUE\&RQEXWVKHDQG,GLGQ WNHHSXS
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 1                            C E R T I F I C A T E

 2       UNITED STATES         )
                               )
 3       DISTRICT COURT        )

 4
                   I, a Reporter and Washington Certified Court
 5       Reporter, hereby certify that the foregoing videotaped
         videoconference deposition upon oral examination of
 6       Cat Murdock was taken stenographically before me on
         October 24, 2024, and transcribed under my direction;
 7
                   That the witness was duly sworn by me
 8       pursuant to RCW 5.28.010 to testify truthfully; that
         the transcript of the deposition is a full, true and
 9       correct transcript to the best of my ability; that I am
         neither attorney for nor a relative or employee of any
10       of the parties to the action or any attorney or counsel
         employed by the parties hereto nor financially
11       interested in its outcome.

12                 I further certify that in accordance with
         Washington Court Rule 30(e) the witness is given the
13       opportunity to examine, read and sign the deposition
         within thirty days upon its completion and submission
14       unless waiver of signature was indicated in the record.

15                 IN WITNESS WHEREOF, I have hereunto set my
         hand this 28th day of October, 2024.
16

17

18                   Douglas Armstrong, RPR

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                     ____________________________________________
20                   Washington Certified Court Reporter No. 3444
                     License expires 11/26/2025
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        Exhibit 23
     Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 423 of 776

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     4*RRGPRUQLQJ0V/HYLQH:H YHPHWRIIWKH
     UHFRUGEXW, P0DWW0HUWHQVDQG, PDQDWWRUQH\IRU
     -HII0RVVDQG'HI&RQ&RPPXQLFDWLRQVLQWKHODZVXLW
     WKDW&KULV+DGQDJ\DQG6RFLDO(QJLQHHUKDYHILOHG
     DJDLQVW0U0RVVDQG'HI&RQ&RPPXQLFDWLRQV
    +DYH\RXHYHUEHHQGHSRVHGEHIRUH"
    $1R7KLVLVWKHILUVWWLPH
    42ND\6R\RXXQGHUVWDQGWKDWWKHRDWKWKDW
    0U$UPVWURQJKDVMXVWDGPLQLVWHUHGWR\RXLVWKHVDPH
    RDWKWKDWZRXOGEHDGPLQLVWHUHGWR\RXLI\RXZHUH
    VLWWLQJLQDFRXUWURRP"
    $<HV,XQGHUVWDQG
    4$QG\RXDUHVZRUQWRWHOOWKHWUXWKWRGD\WR
    WKHEHVWRI\RXUDELOLW\
    'R\RXXQGHUVWDQGWKDW"
    $,XQGHUVWDQG
    46ROHWPHMXVWJLYH\RXDIHZJURXQGUXOHV
    IRUWKLVGHSRVLWLRQEHFDXVH\RX YHQHYHUEHHQGHSRVHG
    EHIRUH
    0U$UPVWURQJLVDYHU\WDOHQWHGFRXUW
    UHSRUWHUEXWKHFDQRQO\ZULWHGRZQWKHZRUGVRIRQH


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     $<HV
     4'LG\RXDWWHQGDJHWWRJHWKHULQ
     0U+DGQDJ\ VKRWHOVXLWHDWWKH'HI&RQFRQIHUHQFHLQ
     "
     $,GLG\HV
     4$QGKRZGLGLWFRPHWRSDVVWKDW\RXDWWHQGHG
           4   $QGKRZGLGLWFRPHWRSDVVWKDW\RXDWWHQGHG
     DJHWWRJHWKHULQ0U+DGQDJ\ VKRWHOVXLWHDW'HI&RQ
     LQ"
     $<HDK6R,ZDVVSHDNLQJZLWK7RE\DQGKH
           $   <HDK6R,ZDVVSHDNLQJZLWK7RE\DQGKH
    VDLGWKDWWKHUHZDVVRPHWKLQJJRLQJRQ+HOHW&KULV
    NQRZWKDW,ZDV\RXQJDQGLQWHUHVWHGDQG,GLGQ WNQRZ
    PXFKDERXWVHFXULW\DQG&KULVLQYLWHGPHWRFRPHXS
    WKHUH
    4,FDOOHGLWDJHWWRJHWKHU7KDW VP\ZRUG
    :KDWZRUGZRXOG\RXXVHWRGHVFULEHWKLV
    JDWKHULQJVRWKDWZHFDQEHRQWKHVDPHSDJH"
    $,WZDVDKRWHOVXLWHJDWKHULQJ7KHUHZHUHD
    IHZSHRSOHWKHUHIURPWKHYLOODJHDQGWKH\ZHUHDOO
    MXVWGULQNLQJDQGVLWWLQJRQWKHFRXFKHVLQWKHKRWHO
    VXLWHWDONLQJ
    4:KDWGR\RXUHPHPEHUDERXWWKLVJDWKHULQJLQ
           4   :KDWGR\RXUHPHPEHUDERXWWKLVJDWKHULQJLQ
    0U+DGQDJ\ VKRWHOVXLWHDW'HI&RQLQ"
    $2QHWKLQJWKDW,UHPHPEHUSUREDEO\WKHPRVW
           $   2QHWKLQJWKDW,UHPHPEHUSUREDEO\WKHPRVW
    ZDVWKDWKHZDVSOD\LQJZLWKDNQLIHWKHZKROHWLPH
    ZKLFKZDVDELWDODUPLQJWRPHEXWHYHU\RQHZDV


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     ODXJKLQJDERXWLW6R,WKRXJKWWKDWPD\EHWKDWZDV
     QRUPDO
     7KHUHZHUHDORWRIMRNHVDERXWPDQLSXODWLQJ
                7KHUHZHUHDORWRIMRNHVDERXWPDQLSXODWLQJ
     SHRSOHDQGWULFNLQJSHRSOHZKLFK,ZDVQ WDZDUHLI
     WKDWZDVQRUPDORUQRW%XWWKRVHZHUHWKHWKLQJVWKDW
     VWXFNRXWWKHPRVWDERXWWKDWHYHQW
     4'R\RXUHFDOOLI0U+DGQDJ\ZDVLQWR[LFDWHG
           4   'R\RXUHFDOOLI0U+DGQDJ\ZDVLQWR[LFDWHG
     DWWKLVHYHQW"
     $<HVPRVWGHILQLWHO\
           $   <HVPRVWGHILQLWHO\
    4$QGZKDWPDNHV\RXVD\KHZDVPRVWGHILQLWHO\
           4   $QGZKDWPDNHV\RXVD\KHZDVPRVWGHILQLWHO\
    LQWR[LFDWHGDWWKLVHYHQW"
    $+HZDVVWXPEOLQJVOXUULQJKLVZRUGV<HDK
           $   +HZDVVWXPEOLQJVOXUULQJKLVZRUGV<HDK
    +HZDVWDONLQJDERXWZKLVNH\TXLWHDELWDQGWKDW
    VHHPHGWREHDSRSXODUWRSLFLQWKHYLOODJHZDV
    ZKLVNH\
    4$QGKHZDVSOD\LQJZLWKKLVNQLIH
           4   $QGKHZDVSOD\LQJZLWKKLVNQLIH
    $+HZDV
           $   +HZDV
    4DWWKLVSDUW\ZKLOHKHZDVLQWR[LFDWHG"
           4   DWWKLVSDUW\ZKLOHKHZDVLQWR[LFDWHG"
    $<HV
           $   <HV
    4'LGKHWKUHDWHQWRFXWRWKHUDWWHQGHHVDW
           4   'LGKHWKUHDWHQWRFXWRWKHUDWWHQGHHVDW
    WKLVJDWKHULQJ"
    $<HV+H
           $   <HV+H
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $77251(<0(57(166RUU\0DUN,GLGQ
                $77251(<0(57(166RUU\0DUN,GLGQ W
    KHDUWKHREMHFWLRQ


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     $77251(<&215$',REMHFWHGWRIRUP
                $77251(<&215$',REMHFWHGWRIRUP
     $77251(<0(57(167KDQN\RX
                $77251(<0(57(167KDQN\RX
     4
           4    %\$WWRUQH\0HUWHQV <RXFDQDQVZHU
     0V/HYLQH
     $<HV,WZDVMRNLQJO\EXW\HV+HZRXOG
           $   <HV,WZDVMRNLQJO\EXW\HV+HZRXOG
     PDNHMRNHVDERXWFXWWLQJSHRSOH\HDK
     4'LG\RXZLWQHVV0U+DGQDJ\VWDEKLVNQLIH
           4   'LG\RXZLWQHVV0U+DGQDJ\VWDEKLVNQLIH
     LQWRDKRWHOWDEOHDWWKLVJDWKHULQJ"
     $77251(<&215$',
                $77251(<&215$', PJRLQJWRREMHFW)RUP
    $,GRQ
           $   ,GRQ WUHFDOOLILWZDVDWWKLVSDUW\RUDW
    RWKHUSDUWLHVEXW,KDYHVHHQKLPGRWKDWDFRXSOHRI
    WLPHV
    4
           4    %\$WWRUQH\0HUWHQV 6R\RXGRQ WNQRZLILW
    ZDVDWWKLVSDUWLFXODUSDUW\DW'HI&RQLQEXW
    \RXKDYHVHHQ0U+DGQDJ\VWDEKLVNQLIHLQWRDWDEOH
    RQDFRXSOHRWKHURFFDVLRQV"
    $<HV$QGWKDW
           $   <HV$QGWKDW
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $$P,RND\WRFRQWLQXH"
           $   $P,RND\WRFRQWLQXH"
    4
           4    %\$WWRUQH\0HUWHQV <HV
    $2ND\<HV,DPQRWVXUHLILWZDVDW'HI
           $   2ND\<HV,DPQRWVXUHLILWZDVDW'HI
    &RQWKDWWKLVKDSSHQHGRUODWHURQLQWKH\HDULQ
    ZKHQ,ZHQWWR'HUE\&RQZLWKKLP
    4:HUHWKHUHDQ\RWKHURFFDVLRQVDWWKH'HI&RQ
           4   :HUHWKHUHDQ\RWKHURFFDVLRQVDWWKH'HI&RQ
    FRQIHUHQFHLQZKHUH\RXVDZ0U+DGQDJ\


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     EUDQGLVKLQJKLVNQLIH"
     $<HV+HKDGLWWKHPDMRULW\RIWKHWLPHLQ
           $   <HV+HKDGLWWKHPDMRULW\RIWKHWLPHLQ
     WKHYLOODJHZRXOGFRQVWDQWO\PDNHMRNHVDERXWFXWWLQJ
     SHRSOH7KDWVHHPHGWREHWKHUXQQLQJMRNH$URXQG
     WKH,EHOLHYHKHHYHQKDGLWRXWZKHQKHZDVGRLQJD
     SDQHO,UHFDOOWKDW
     4'R\RXKDYHDQDSSUR[LPDWLRQIRUWKHQXPEHU
           4   'R\RXKDYHDQDSSUR[LPDWLRQIRUWKHQXPEHU
     RIWLPHVLQWKH'HI&RQFRQIHUHQFHLQZKHQ\RXVDZ
     0U+DGQDJ\EUDQGLVKLQJKLVNQLIHDQGMRNLQJO\VD\LQJ
    KHZDVJRLQJWRFXWSHRSOH"
    $2YHUWKHWKUHHGD\VWKDW,DWWHQGHGWKH
           $   2YHUWKHWKUHHGD\VWKDW,DWWHQGHGWKH
    FRQIHUHQFHPD\EHWRWLPHV
    4:DVWKHUHDVHSDUDWH
    $77251(<0(57(166WULNHWKDW
    4 %\$WWRUQH\0HUWHQV 6HSDUDWHDQGDSDUWIURP
    WKHJDWKHULQJ\RXGHVFULEHGLQ0U+DGQDJ\ VVXLWHDW
    WKH'HI&RQYLOODJHH[FXVHPHWKH'HI&RQ
    FRQIHUHQFHLQZDVWKHUHDVHSDUDWHSDUW\DWWKH
    6(9LOODJH
    $<HV
    4LQ"
    $<HVWKHUHZDV
    4'LG\RXDWWHQGWKHVHSDUDWHSDUW\LQWKH
    6(9LOODJHLQ"
    $,GLG\HV


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                                                                          3DJH
     ,UHFDOODIWHULWFORVHGWKHUHZHUHVRPHSHRSOHWKDW
     ORRNHGXSVHWDIWHUWKH\ZHUH\HOOHGDWEXW,FRXOGQ W
     KHDUZKDWZDVEHLQJVDLGEHFDXVH,ZDVRQWKHRSSRVLWH
     VLGHRIWKHURRP,MXVWKHDUG\HOOLQJ
     4'LG\RXNQRZDQ\RIWKHLQGLYLGXDOVDWZKRP
     0U+DGQDJ\ZDV\HOOLQJ"
     $6RPHZKDWEHFDXVHZHZHUHZRUNLQJLQWKH
     YLOODJHWRJHWKHUEXW,ZRXOGQ WVD\WKDWZHZHUH
     DFTXDLQWHGRXWVLGHRIWKDWFRQWH[W
    4'LG\RXKHDU0U+DGQDJ\\HOOLQJDWWKHVH
    LQGLYLGXDOV"
    $<HV
           $   <HV
    4&RXOG\RXPDNHRXWWKHZRUGVRIZKDW
           4   &RXOG\RXPDNHRXWWKHZRUGVRIZKDW
    0U+DGQDJ\ZDVVD\LQJWRWKHVHLQGLYLGXDOV"
    $1R
           $   1R
    4,I\RXKDYHDUHFROOHFWLRQZKDWZDVWKH
           4   ,I\RXKDYHDUHFROOHFWLRQZKDWZDVWKH
    WHQRURIKRZ0U+DGQDJ\ZDV\HOOLQJDWWKHVH
    LQGLYLGXDOV"
    $$VLQFRXOG\RXUHSKUDVHWKDWTXHVWLRQ"
           $   $VLQFRXOG\RXUHSKUDVHWKDWTXHVWLRQ"
    4,WZDVDSRRUTXHVWLRQDQG,
           4   ,WZDVDSRRUTXHVWLRQDQG, OOWU\DJDLQ
    2QHFDQ\HOODWLQGLYLGXDOVLQDYDULHW\RI
                2QHFDQ\HOODWLQGLYLGXDOVLQDYDULHW\RI
    ZD\VLQDQDQJU\ZD\LQDKDSS\ZD\LQDMRNLQJ
    ZD\7KHZD\VDUHLQILQLWH
    +RZZRXOG\RXGHVFULEHLI\RXKDYHD
                +RZZRXOG\RXGHVFULEHLI\RXKDYHD
    UHFROOHFWLRQWKHZD\LQZKLFK\RXZLWQHVVHG


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     0U+DGQDJ\\HOOLQJDWLQGLYLGXDOVDWWKH6(9LOODJH
     HYHQWVZKHUH\RXZHUHYROXQWHHULQJIURPWR"
     $,ZRXOGVD\DQJU\RUIUXVWUDWHG$QJU\
           $   ,ZRXOGVD\DQJU\RUIUXVWUDWHG$QJU\
     4$QGZK\GR\RXVD\DQJU\\HOOLQJ"
           4   $QGZK\GR\RXVD\DQJU\\HOOLQJ"
     $7KHWRQHRIWKHYRLFHDQGWKHYROXPH,IHOW
           $   7KHWRQHRIWKHYRLFHDQGWKHYROXPH,IHOW
     VFDUHGDQG,GLGQ WHYHQKHDUWKHZRUGV
     46RHYHQWKRXJKWKH\HOOLQJZDVQRWGLUHFWHG
           4   6RHYHQWKRXJKWKH\HOOLQJZDVQRWGLUHFWHG
     DW\RXLWZDVVWLOOVXIILFLHQWWRPDNH\RXIHHO
     VFDUHG"
    $<HV
           $   <HV
    40V/HYLQH\RXZHUHHYHQWXDOO\KLUHGDW
    6RFLDO(QJLQHHULVWKDWFRUUHFW"
    $7KDW VFRUUHFW
    4$QGGR\RXUHFDOODSSUR[LPDWHO\ZKHQWKDW
           4   $QGGR\RXUHFDOODSSUR[LPDWHO\ZKHQWKDW
    ZDV"
    $7KDWZDVLQ'HFHPEHU'HFHPEHURU1RYHPEHURI
           $   7KDWZDVLQ'HFHPEHU'HFHPEHURU1RYHPEHURI
    
    4$QGGR\RXUHFDOOHDUOLHULQWKLVGHSRVLWLRQ
    0V/HYLQHZHWDONHGDERXW\RXUHPSOR\PHQWDQG
    HGXFDWLRQKLVWRU\XSXQWLODERXW"
    $<HV
    4&DQ\RXSOHDVHILOOLQWKHJDSVIURP
    ZKHUHZHOHIWRIIWR1RYHPEHUZKHQ\RXZHUH
    KLUHGDW6RFLDO(QJLQHHU"
    $<HV,ZHQWEDFNWRVFKRROIRUFRPSXWHU


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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 433 of 776

-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     4'R\RXUHFDOODSSUR[LPDWHO\ZKHQWKHILUVW
     FDOO\RX UHGHVFULELQJKDSSHQHG"
     $$PRQWKSULRU,RQO\ZRUNHGWKHUHIRUWKUHH
     PRQWKV
     4'LG\RXHYHUVHH0U+DGQDJ\EUDQGLVKLQJKLV
           4   'LG\RXHYHUVHH0U+DGQDJ\EUDQGLVKLQJKLV
     NQLIHRQYLGHRFDOOVGXULQJ\RXUHPSOR\PHQWDW
     6RFLDO(QJLQHHU"
     $<HV,GLG
           $   <HV,GLG
     4&DQ\RXHODERUDWHRQWKHLQVWDQFHVZKHQ\RX
           4   &DQ\RXHODERUDWHRQWKHLQVWDQFHVZKHQ\RX
    VDZ0U+DGQDJ\EUDQGLVKLQJKLVNQLIHRQYLGHRFDOOV
    GXULQJ\RXUHPSOR\PHQWDW6RFLDO(QJLQHHU"
    $6RWKHUHZHUHRQO\WKUHHFDOOVWKDWKH
           $   6RWKHUHZHUHRQO\WKUHHFDOOVWKDWKH
    WKDWLQFOXGHGPHRQ+LVVWDWHPHQWZDVWKDW&(2VGRQ W
    QHHGWRFRPPXQLFDWHZLWKDQ\ZD\KHZRXOGSOD\ZLWK
    LWRSHQDQGFORVHLWVKDNHLWDWWKHFDPHUDDQGWKHQ
    ODXJKZDYHLWDURXQG
    4'LG\RXHYHUZLWQHVV0U+DGQDJ\VWDEDWDEOH
           4   'LG\RXHYHUZLWQHVV0U+DGQDJ\VWDEDWDEOH
    ZLWKKLVNQLIHGXULQJDYLGHRFDOOGXULQJ\RXU
    HPSOR\PHQWZLWK6RFLDO(QJLQHHU"
    $<HV<HV,GLG
           $   <HV<HV,GLG
    4:KDWGR\RXUHFDOODERXWZLWQHVVLQJ
           4   :KDWGR\RXUHFDOODERXWZLWQHVVLQJ
    0U+DGQDJ\VWDEDWDEOHZLWKKLVNQLIHGXULQJ\RXU
    HPSOR\PHQWZLWK6RFLDO(QJLQHHU"
    $,UHFDOOWKLVEHLQJGXULQJWKHFDOOZKHUH,
           $   ,UHFDOOWKLVEHLQJGXULQJWKHFDOOZKHUH,
    ZDVDVNLQJIRUDWLWOHFKDQJHDQG,UHFDOOKLPEHLQJ


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ZZZVHDGHSFRP          )$;
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-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     YHU\DQJU\WKDW,ZDVWU\LQJWRWULFNKLPDQGEHLQJ
     UHDOO\KHZDVSOD\LQJZLWKWKHNQLIHWKHPDMRULW\RI
     WKHWLPHDQGDQJULO\VWDEEHGLWLQWRWKHGHVN
     4,VWKLVWKHVDPHFDOOWKDW\RXWHVWLILHG
     DERXWHDUOLHUZKHUH\RXUHFRXQWHG0U+DGQDJ\WKURZLQJ
     DSSUR[LPDWHO\
     $77251(<&215$'6RUU\*RDKHDG
     4 %\$WWRUQH\0HUWHQV ,VWKLVWKHVDPHFDOO
     WKDW\RXUHFDOOHDUOLHUVRUU\,ORVWP\WUDLQRI
    WKRXJKW/HWPHUHIRUPXODWHWKDW
    <RXWHVWLILHGHDUOLHU0V/HYLQHWKDW\RX
    KDGDFDOOZLWK0U+DGQDJ\ZKHUHKHWKUHZ
    DSSUR[LPDWHO\ILYHLWHPV
    $<HV
    4LQDQJHUGXULQJWKHFRXUVHRIWKDWFDOO
    'R\RXUHFDOOWKDW"
    $<HV,GR
    4$QG\RX YHMXVWWHVWLILHGDERXWDFDOOLQ
    ZKLFK\RXZLWQHVVHG0U+DGQDJ\VWDEELQJKLVNQLIHLQWR
    DWDEOH
    0\TXHVWLRQIRU\RXLVGLGWKHNQLIHVWDEELQJ
    LQWRWKHWDEOHKDSSHQLQWKHVDPHFDOOWKDW\RX
    WHVWLILHGDERXWZKHUH0U+DGQDJ\WKUHZILYHLWHPVLQ
    DQJHU"
    $<HV


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ZZZVHDGHSFRP          )$;
      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 435 of 776

-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     42ND\'LG0U+DGQDJ\HYHUPDNH\RXFU\DW
           4   2ND\'LG0U+DGQDJ\HYHUPDNH\RXFU\DW
     ZRUN"
     $<HVPXOWLSOHWLPHV
           $   <HVPXOWLSOHWLPHV
     4&DQ\RXSOHDVHWHOOPHZKDW\RXUHFDOODERXW
           4   &DQ\RXSOHDVHWHOOPHZKDW\RXUHFDOODERXW
     WKHLQVWDQFHVZKHUH0U+DGQDJ\PDGH\RXFU\DWZRUN"
     $'XULQJWKHFRQYHUVDWLRQWKDWZHZHUHMXVW
           $   'XULQJWKHFRQYHUVDWLRQWKDWZHZHUHMXVW
     UHIHUHQFLQJZKHUH,ZDVVD\LQJWKDW,ZDV
     XQGHUTXDOLILHGWRGRWKHWDVNVDVVLJQHGWRPH,ZDV
     FDOOHGZRUWKOHVV,ZDVWROGWKDW,ZDVDZDVWHRI
    PRQH\WKDW,ZDVEHLQJSDLGWRRPXFKWKDW,KDGWDNHQ
    DGYDQWDJHRIKLVNLQGQHVVDQGWKDW,DPDOLDUD
    WULFNHU$QGWKDWUHDOO\KXUWPHDQG,FULHG
    46RLVLW\RXUWHVWLPRQ\WKDW0U+DGQDJ\
           4   6RLVLW\RXUWHVWLPRQ\WKDW0U+DGQDJ\
    FDOOHG\RXZRUWKOHVV"
    6RUU\0V/HYLQH,VDZ\RXUOLSVPRYHEXW
                6RUU\0V/HYLQH,VDZ\RXUOLSVPRYHEXW
    ,GLGQ WKHDUWKHDQVZHU
    $<HV
           $   <HV
    47KDWZDVWKHZRUGWKDWKHXVHG"+HVDLG
           4   7KDWZDVWKHZRUGWKDWKHXVHG"+HVDLG
    <RXDUHZRUWKOHVV"
    $,GRQ
           $   ,GRQ WUHFDOOLIKHVDLG<RXDUH
    ZRUWKOHVVEXW,GRUHFDOOWKHZRUGZRUWKOHVVEHLQJ
    XVHG
    47KDW VRQHLQVWDQFH\RX YHGHVFULEHGDQG\RX
    WHVWLILHGHDUOLHUWKDWKHPDGH\RXFU\DWZRUNVHYHUDO
    WLPHV


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ZZZVHDGHSFRP          )$;
      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 436 of 776

-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     VHULRXVXQWLOODWHURQLQP\HPSOR\PHQWZKHQ,UHDOL]HG
     KHZDVQ WMRNLQJ
     4<RXWHVWLILHG0V/HYLQHWKDW\RXVDZ
           4   <RXWHVWLILHG0V/HYLQHWKDW\RXVDZ
     0U+DGQDJ\RUH[SHULHQFHG0U+DGQDJ\\HOOLQJDW\RX
     RQYLGHRFDOOV"
     $<HV
           $   <HV
     4<RXWHVWLILHGWKDWRQWZRRFFDVLRQV\RX
           4   <RXWHVWLILHGWKDWRQWZRRFFDVLRQV\RX
     ZLWQHVVHG0U+DGQDJ\WKURZLQJWKLQJVLQDQJHURQYLGHR
     FDOOV"
    $<HV
           $   <HV
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    4
           4    %\$WWRUQH\0HUWHQV <RXWHVWLILHGWKDWRQD
    YLGHRFDOO\RXZLWQHVVHG0U+DGQDJ\SXOORXWKLV
    NQLIHDQGVWDEKLVWDEOHDQJULO\GXULQJDYLGHRFDOO"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $+HKDGDOUHDG\KDGLWLQKLVKDQGSOD\LQJ
           $   +HKDGDOUHDG\KDGLWLQKLVKDQGSOD\LQJ
    ZLWKLWEXW\HV
    4
           4    %\$WWRUQH\0HUWHQV +RZGLGWKRVHDFWLRQV
    PDNH\RXIHHO"
    $6FDUHG6FDUHG,KDYHDKLVWRU\RIWUDXPD
           $   6FDUHG6FDUHG,KDYHDKLVWRU\RIWUDXPD
    ZKLFK&KULVNQHZDERXWDQG,ZDVVFDUHGDQGRIWHQWLPHV
    DQJU\EHFDXVH,GLGQ WXQGHUVWDQGZK\,ZDVQ WEHLQJ
    OLVWHQHGWRRUZK\,KDGEHHQVHWXSWRIDLOZLWKWKH
    H[WUHPHH[SHFWDWLRQV
    4'LG\RXIHHOLQWLPLGDWHG"
           4   'LG\RXIHHOLQWLPLGDWHG"


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ZZZVHDGHSFRP          )$;
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-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     $<HV
           $   <HV
     $77251(<&215$'2EMHFWLRQ)RUP
     4 %\$WWRUQH\0HUWHQV 0V/HYLQHZH YHEHHQ
     JRLQJIRUDERXWDQKRXU'R\RXZDQWWRWDNHDTXLFN
     EUHDN"
     $, PRND\, PMXVWJRLQJWRKDYHVRPHZDWHU
     42ND\
     7+(&28575(3257(5,ZRXOGDSSUHFLDWHD
     TXLFNRQH&RXQVHOLIWKDW VRND\
    $77251(<0(57(16$EVROXWHO\<HDK/HW V
    JRRIIWKHUHFRUG
    7+(9,'(2*5$3+(5*RLQJRIIWKHUHFRUGDW
    DP
     5HFHVV
    7+($5%,75$725%DFNRQWKHUHFRUGDW
    4 %\$WWRUQH\0HUWHQV :HOFRPHEDFN
    0V/HYLQH
    <RXXQGHUVWDQGWKDW\RX UHVWLOOXQGHURDWK"
    $,XQGHUVWDQG
        
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    
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                   6($77/('(326,7,215(3257(56//&
ZZZVHDGHSFRP          )$;
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-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     H[FXVHPHZURQJIXOWHUPLQDWLRQODZVXLWDJDLQVW
     0U+DGQDJ\"
     $1R,KDGQ WVSRNHQWR&DW0XUGRFNVLQFH,
     JXHVVWKHGLQQHUWKDWZHKDGWKDW,GRQ WUHPHPEHU
     KDYLQJ
     4$OOULJKW6RWKHWLPHOLQHKHUH0V/HYLQH
           4   $OOULJKW6RWKHWLPHOLQHKHUH0V/HYLQH
     LVZH OOFDOOLW'D\=HUR\RXSRVWWKHWZHHWDERXW
     PHQWDOKHDOWKLQWKHZRUNSODFH'D\2QH\RXJHWDQ
     HPDLOIURP0U+DGQDJ\DERXWWKDWWZHHWWKDW\RXIRXQG
    YHU\XSVHWWLQJ
      


           
           


    $QG'D\7KUHH0U+DGQDJ\ILUHV\RXIURP
                $QG'D\7KUHH0U+DGQDJ\ILUHV\RXIURP
    6RFLDO(QJLQHHU"
    $,WKLQNLWLWZDVHLWKHU'D\)RXURU)LYH
           $   ,WKLQNLWLWZDVHLWKHU'D\)RXURU)LYH
    42ND\6RDSSUR[LPDWHO\WKUHHWRIRXUGD\V
           4   2ND\6RDSSUR[LPDWHO\WKUHHWRIRXUGD\V
                                     0U+DGQDJ\ILUHG\RXIURP
    6RFLDO(QJLQHHU"
    $,EHOLHYHVR,GRQ
           $   ,EHOLHYHVR,GRQ WUHPHPEHUH[DFWO\
    4)DLUHQRXJK$QG, PMXVWDVNLQJIRU\RXU
    EHVWDSSUR[LPDWLRQ
    +RZGLGLWPDNH\RXIHHOWKDW0U+DGQDJ\KDG


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-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     JLYHLWEHFDXVH,KDGYLRODWHGP\FRQWUDFW
     46R,MXVWZDQWWRPDNHVXUH,XQGHUVWDQG\RXU
           4   6R,MXVWZDQWWRPDNHVXUH,XQGHUVWDQG\RXU
     WHVWLPRQ\<RXUWHVWLPRQ\LVWKDW0U+DGQDJ\WROG\RX
     \RXKDGYLRODWHG\RXUHPSOR\PHQWFRQWUDFWDQGGHOHWHG
     DQGVWROHFRPSDQ\GDWDDQGIRUWKRVHUHDVRQVKHZDV
     QRWJRLQJWRVHQG\RX\RXUILQDOSD\FKHFN"
     $<HV
           $   <HV
     $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
     4
           4    %\$WWRUQH\0HUWHQV +DG\RXDFWXDOO\
    GHOHWHGFRPSDQ\GDWD"
    $1R,KDGQRW,WZDVDOOXSLQD*LW
           $   1R,KDGQRW,WZDVDOOXSLQD*LW
    UHSRVLWRU\
    4$QGFDQ\RXSOHDVHH[SODLQWRWKHODGLHVDQG
           4   $QGFDQ\RXSOHDVHH[SODLQWRWKHODGLHVDQG
    JHQWOHPHQRIWKHMXU\ZKRDUHQRWTXLWHDVWHFKVDYY\
    DV\RXPLJKWEHZKDWD*LWUHSRVLWRU\LV"
    $77251(<&215$'2EMHFW)RUP
                $77251(<&215$'2EMHFW)RUP
    $$*LWUHSRVLWRU\LVDYHUVLRQFRQWUROIRU
           $   $*LWUHSRVLWRU\LVDYHUVLRQFRQWUROIRU
    VRIWZDUH6RHYHU\FKDQJHWKDW\RXPDNHLVGRFXPHQWHG
    DQG\RXFDQKDYHDWHVWHGVHQVHLQDSURGXFWLRQ
    LQVWDQFH<RXFDQKDYHWHVWVRIWKHSURGXFWRUWKH
    SURJUDPWKDWGRHVQ WJRLQWRWKHPDLQEUDQFK7KDW V
    ZKDWWKH\FDOOLW6RDQ\DQGHYHU\HGLWWKDWLVGRQH
    LVIXOO\GRFXPHQWHGDQGYLHZDEOHDQGFDQEHUROOHGEDFN
    WR
    ,PDGHD*LWUHSRVLWRU\IRUWKHPIURP*LWHD
                ,PDGHD*LWUHSRVLWRU\IRUWKHPIURP*LWHD


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ZZZVHDGHSFRP          )$;
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-HVVLFD/HYLQH                                                6HSWHPEHU

                                                                          3DJH
     IURPVFUDWFKDQGKDGHYHU\WKLQJLQWKHUHDQGKDG
     WUDLQHG5\DQKRZWRKRZWRXVHLW
     4'LG\RXWHOO0U+DGQDJ\WKDW\RXKDGEDFNHG
           4   'LG\RXWHOO0U+DGQDJ\WKDW\RXKDGEDFNHG
     XSDOOWKHGDWDIURP\RXUSHUVRQDOODSWRSWRWKH*LW
     UHSRVLWRU\WKDW\RXMXVWGHVFULEHG"
     $<HV
           $   <HV
     4$QGGLGWKDWPDNHDGLIIHUHQFHLQZKHWKHU
           4   $QGGLGWKDWPDNHDGLIIHUHQFHLQZKHWKHU
     0U+DGQDJ\ZDVZLOOLQJWRUHOHDVH\RXUILQDOSD\FKHFN
     WR\RX"
    $1R
           $   1R
    4+HGLGQRWVD\IRUH[DPSOH0\EDGKHUH
           4   +HGLGQRWVD\IRUH[DPSOH0\EDGKHUH V
    \RXUILQDOSD\FKHFN0V/HYLQH"
    $1R
           $   1R
    $77251(<&215$'2EMHFW)RUP
    $1RKHGLGQRW,KDGWRILOHDFRPSODLQW
           $   1RKHGLGQRW,KDGWRILOHDFRPSODLQW
    ZLWKWKH1RUWK&DUROLQD'HSDUWPHQWRI/DERU
    4 %\$WWRUQH\0HUWHQV :KDWFDQ\RX
    GHVFULEHLQPRUHGHWDLOWKHFRPSODLQW\RXKDGWRILOH
    ZLWKWKH1RUWK&DUROLQD'HSDUWPHQWRI/DERU"
    $,VHQWLQP\FRPSODLQW,ZDVDVVLJQHGDQ
    DJHQW,GRQ WNQRZLIWKDW VWKHFRUUHFWWHUP,ZDV
    DVVLJQHGDQLQGLYLGXDOWRKHOSWDNHFDUHRIP\FDVH
    DQGWKH\FRPPXQLFDWHGZLWK&KULVIURPWKHUHRQ$QGLW
    ZDVP\XQGHUVWDQGLQJWKURXJKWKHFRPPXQLFDWLRQVWKDW
    &KULVZDVYHU\YHU\GLIILFXOWZLWKWKDWLQGLYLGXDODQG


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                                                                          3DJH
     GHOHWLQJWKHPDVWKH\FDPHLQ)RXURUILYHHPDLOV
     EHIRUH,EORFNHGKLP
     4<RXZHUHGHOHWLQJWKHP"<RXWHVWLILHG\RX
     ZHUHGHOHWLQJWKHPDVWKH\FDPHLQ"
     $<HV,VKRXOGQ WKDYHEXW,ZDV
     4$QGZK\GR\RXZK\ZHUH\RXGHOHWLQJWKHP
     DVWKH\FDPHLQ"
     $7KH\ZHUHIULJKWHQLQJDQGGLVWXUELQJDQG
     PDNLQJPHYHU\XSVHWDQG,NHSWJRLQJEDFNWRWKHPDQG
    UHRSHQLQJWKHPDQGUHDGLQJWKHP$QGP\WKHUDSLVW
    VXJJHVWHGWKDW,QRWUXPLQDWHRQWKDWDQGMXVWJRDKHDG
    DQGGHOHWHWKHP
    4$QG0U+DGQDJ\ZDVVHQGLQJ\RXWKHVHHPDLOV
    DSSUR[LPDWHO\WZRZHHNVDIWHU
             "
    $<HV
    4'RHV0U+DGQDJ\KDYHDVRQ"
           4   'RHV0U+DGQDJ\KDYHDVRQ"
    $+HGRHV
           $   +HGRHV
    4:KDWLV0U+DGQDJ\
           4   :KDWLV0U+DGQDJ\ VVRQ VQDPH"
    $&ROLQ
           $   &ROLQ
    4,V&ROLQ
           4   ,V&ROLQ VODVWQDPHDOVR+DGQDJ\"
    $,WLV\HV
           $   ,WLV\HV
    42ND\$QGKRZGR\RXNQRZ&ROLQ+DGQDJ\"
           4   2ND\$QGKRZGR\RXNQRZ&ROLQ+DGQDJ\"
    $,PHW&ROLQWKHVDPHGD\WKDW,PHW&KULVDW
           $   ,PHW&ROLQWKHVDPHGD\WKDW,PHW&KULVDW
    'HI&RQLQ&ROLQDQG,EHFDPHIULHQGVDQGSOD\HG


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     YLGHRJDPHVWRJHWKHUIRU\HDUVDQG\HDUV:HDOVR
     ZRUNHGWRJHWKHUDW6RFLDO(QJLQHHUDQGLQWKHYLOODJHV
     ZKHQ,ZDVYROXQWHHULQJWKHUH
     4'LG&ROLQ+DGQDJ\HYHUFRQILGHLQ\RXDERXW
           4   'LG&ROLQ+DGQDJ\HYHUFRQILGHLQ\RXDERXW
     KLVUHODWLRQVKLSZLWKKLVIDWKHU&KULV+DGQDJ\"
     $<HV
           $   <HV
     4$QGZKDWGLG&ROLQ+DGQDJ\WHOO\RXLI\RX
           4   $QGZKDWGLG&ROLQ+DGQDJ\WHOO\RXLI\RX
     UHFDOODERXWKLVUHODWLRQVKLSZLWKKLVIDWKHU&KULV"
     $+HZDVRIWHQXSVHWDERXWGHJUDGLQJFRPPHQWV
           $   +HZDVRIWHQXSVHWDERXWGHJUDGLQJFRPPHQWV
    WKDWKLVIDWKHUPDGHDERXWKLVVHOIZRUWK&ROLQKDG
    VRPHPHQWDOKHDOWKLVVXHVWKDWKHZDVZRUNLQJWKURXJK
    WKDWKLVIDWKHUZDVYHU\KDUVKWRKLPDERXWDQGYHU\
    QHJDWLYHUHJDUGLQJKLVZRUWKDVDKXPDQ+HFDOOHGKLP
    DQLGLRWDQGLQFRPSHWHQW
    4'LG&ROLQHYHUGHVFULEH0U+DGQDJ\
           4   'LG&ROLQHYHUGHVFULEH0U+DGQDJ\ V
    WUHDWPHQWRIKLPDVDEXVLYH"
    $+HQHYHUXVHGWKDWZRUGEXWWKHUH
           $   +HQHYHUXVHGWKDWZRUGEXWWKHUH VUHDOO\
    QRRWKHUZRUGWRXVH
    4$QGDERXWKRZPDQ\WLPHVGLG\RXDQG&ROLQ
    WDONDERXW0U+DGQDJ\ VWKHGHJUDGLQJFRPPHQWVWKDW
    &ROLQVDLG0U+DGQDJ\KDGPDGHWRKLP"
    $77251(<&215$'2EMHFW)RUP
    $2YHUWKHFRXUVHRYHUWKHFRXUVHRIDERXW
    IRXU\HDUVPD\WLPHVLVKJLYHRUWDNH
    4 %\$WWRUQH\0HUWHQV :DV&ROLQKRZZDV


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                                                                          3DJH
     &ROLQ VGHPHDQRUGXULQJWKHVHFRQYHUVDWLRQV\RXKDG
     ZLWKKLPDERXWWKHFRPPHQWVWKDW0U+DGQDJ\KDGPDGH
     WR&ROLQ"
     $+HZRXOGEHHLWKHUXSVHWWKHUHZDVD
     FRXSOHRILQVWDQFHVZKHUHKHZDVLQWHDUVRUQHDUO\LQ
     WHDUV7KHUHZHUHWLPHVZKHUHKHVHHPHGIUXVWUDWHG
     VDG+HZRXOGEHGLVWDQWDWWLPHVDQGQRWZDQWWRWDON
     DQGMXVWVLWLQWKHFKDQQHOZLWKXVWKHYRLFHFKDQQHO
     ([FXVHPH$QG\HDK
    4'LG\RXHYHUVHH0U+DGQDJ\PDNLQJWKHVH
           4   'LG\RXHYHUVHH0U+DGQDJ\PDNLQJWKHVH
    NLQGVRIFRPPHQWVWRKLVVRQ&ROLQILUVWKDQG"
    $,GLG,GLGDW'HUE\&RQDQG'HI&RQ
           $   ,GLG,GLGDW'HUE\&RQDQG'HI&RQ
    4$QGFDQ\RXSOHDVHHODERUDWHRQZKDW\RX
           4   $QGFDQ\RXSOHDVHHODERUDWHRQZKDW\RX
    ZLWQHVVHG0U+DGQDJ\VD\LQJWRKLVVRQ&ROLQDW
    'HUE\&RQDQG'HI&RQ"
    $,ZLWQHVVHGKLPFDOOLQJKLPDUHWDUGDQ
           $   ,ZLWQHVVHGKLPFDOOLQJKLPDUHWDUGDQ
    LGLRWVWXSLGDQGRWKHUVLPLODUWKLQJV
    4$QGRQDSSUR[LPDWHO\KRZPDQ\RFFDVLRQVGLG
           4   $QGRQDSSUR[LPDWHO\KRZPDQ\RFFDVLRQVGLG
    \RXZLWQHVV0U+DGQDJ\FDOOLQJKLVVRQ&ROLQD
    UHWDUGLGLRWVWXSLGDQGRWKHUVLPLODUWKLQJV"
    $7KUHHRUIRXU
           $   7KUHHRUIRXU
    4'R\RXUHFDOODQ\RIWKH
           4   'R\RXUHFDOODQ\RIWKH
    $0D\EHPRUH
           $   0D\EHPRUH
    4,
           4   , PVRUU\,GLGQ WPHDQWRLQWHUUXSW\RX
    $6RUU\0D\EHPRUHWKDQWKDW,PD\EH
           $   6RUU\0D\EHPRUHWKDQWKDW,PD\EH


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                                                                          3DJH
     PRUHWKDQWKDW0D\EHFORVHUWRPD\EHFORVHUWR
     HLJKWQLQHRUWHQ3UREDEO\FORVHUWRHLJKWQLQH
     RUWHQ
     4$QGZKDWLIDQ\WKLQJGR\RXUHFDOODERXW
     WKHVSHFLILFVRIWKHLQVWDQFHVZKHUH\RXVDZ
     0U+DGQDJ\FDOOLQJKLVVRQ&ROLQDUHWDUGDQ
     LGLRWDQGRWKHUVLPLODUHSLWKHWV"
     $,UHFDOO&ROLQEHLQJUHDOO\XSVHWDQGNLQGRI
     UHDOO\VKXWWLQJGRZQRUKHZRXOGJRDQGVLWE\KLPVHOI
    RUOHDYHWKHURRP
    4+RZZRXOG\RXGHVFULEH0U+DGQDJ\ VGHPHDQRU
    ZKHQKHZDVPDNLQJWKHVHVRUWVRIFRPPHQWVWKDW\RX
    ZLWQHVVHGWRZDUGVKLVVRQ&ROLQ"
    $2IWHQWLPHVDQQR\HGLUULWDWHG
    4%XWQRWMRNLQJ"
    $,QHYHU
    $77251(<&215$'2EMHFW)RUP
    $,QHYHUWKRXJKWKHZDVMRNLQJ,WZDVDOZD\V
    YHU\DZNZDUG
    4 %\$WWRUQH\0HUWHQV 0V/HYLQHWKLVLV
    DQRWKHUFKDOOHQJLQJDUHDRITXHVWLRQLQJDQGVR,MXVW
    ZDQWWRIODJWKDWIRU\RXQRZDQGWKHQWHOO\RXDJDLQ
    WKDWLI\RXZDQWWRWDNHDEUHDNDWVRPHSRLQWGXULQJ
    WKHVHTXHVWLRQV\RXDEVROXWHO\FDQRND\"
    $2ND\


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                                                                          3DJH
     :KDWZRXOG\RXEHORRNLQJDWLQRUGHUWRPDNHWKDW
     GHWHUPLQDWLRQ"
     $, PDFWXDOO\QRWVXUHWKDW,HYHQKDYHWKH
     DELOLW\WRFKHFNEHFDXVHLWZDVWKURXJK6LJQDO,
     , PQRWVXUH,ZRXOGKDYHWRDVNVRPHRQHZKDWGD\LW
     ZDVH[DFWO\
     46RKRZZHUH\RXILUVWFRQWDFWHGE\'HI&RQ"
     $6R,DORQJZLWKVHYHUDORWKHUVFRQWDFWHG
     'HI&RQWROHWWKHPNQRZDERXWRXUFRPSODLQWVRIZKDW
    ZDVJRLQJRQ$QGZKHQWKHODZVXLWFDPHDERXWWKH
    ILUVWODZVXLWFDPHDERXW,UHFDOOWKHUHZDVDQ
    LQWHUPHGLDU\,JXHVVZKRJRWPHLQWRXFKZLWKRQHRI
    WKHJRRQVDW'HI&RQ$QG,VSRNHWRWKHPDERXWLW
    DORQJZLWK,GRQ WNQRZKLVDFWXDOUHDOQDPHEXW
    *ULIWHULVKLVKDFNHUQDPH,GRQ WNQRZZKDWKLV
    DFWXDOQDPHLV6RUU\
    42ND\6RLWVRXQGVOLNH\RXZHUH\RX
           4   2ND\6RLWVRXQGVOLNH\RXZHUH\RX
    ILUVWFRQWDFWHG'HI&RQLVWKDWULJKW"
    $,SURYLGHGP\VWDWHPHQWWRDJURXSRIRWKHU
           $   ,SURYLGHGP\VWDWHPHQWWRDJURXSRIRWKHU
    SHRSOHWKDWZHUHPDNLQJVWDWHPHQWVWRSUHVHQWWR'HI
    &RQDQGXQIRUWXQDWHO\,ZDVQRWDEOHWRYHUEDOO\
    JLYHLWP\VHOI,KDGZULWWHQLWGRZQLQD6LJQDO
    PHVVDJHDQGLWZDVUHDGE\RQHRIWKHRWKHUZRPHQRQ
    WKHFDOOEHFDXVH,ZDVRQDQDLUSODQH6R,VXSSRVH,
      WKHFDOOEHFDXVH,ZDVRQDQDLUSODQH
    FRXOGWU\DQGILQGWKDWIOLJKWWRVHHZKHQWKDW


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                                                                        3DJH
     $<HV
     4<RXDOVRVDLGWKDW\RXDWWHQGHGDJDWKHULQJ
           4   <RXDOVRVDLGWKDW\RXDWWHQGHGDJDWKHULQJ
     DWDVXLWH
     $8KKXK
           $   8KKXK
     4ZKHUHWKHUHZDVGULQNLQJLQYROYHGDQG
           4   ZKHUHWKHUHZDVGULQNLQJLQYROYHGDQG
     0U+DGQDJ\ZDVDJDLQSOD\LQJZLWKWKHNQLIH
     $8KKXK
           $   8KKXK
     4RQWKDWRFFDVLRQ"
           4   RQWKDWRFFDVLRQ"
     $<HV
           $   <HV
    4$QGWKDWDOVRPDGH\RXXQFRPIRUWDEOHLVWKDW
           4   $QGWKDWDOVRPDGH\RXXQFRPIRUWDEOHLVWKDW
    ULJKW"
    $<HV%XWP\IRFXVZDVJHWWLQJLQWRWKH
           $   <HV%XWP\IRFXVZDVJHWWLQJLQWRWKH
    LQGXVWU\
    4$QG\RXREYLRXVO\NQHZDOOWKLVLQIRUPDWLRQ
    OHDGLQJXSWR\RXUGHFLVLRQWRJRZRUNIRU
    6RFLDO(QJLQHHUDVZHOOULJKW"
    $<HV,EHOLHYHG&KULVWREHP\IULHQGDQG
    PHQWRU
    46RGHVSLWHVHHLQJDOORIWKHVHHYHQWVDQG
    KDYLQJDOORIWKHVHFRQFHUQV\RXVWLOOIHOWWKDW\RX
    ZDQWHGWRJRZRUNIRU&KULV+DGQDJ\"
    $<HDK,PHDQ,KDWHWRVD\LWEXW, YH
    VHHQZRUVHPXFKZRUVH
    46RGLG\RXHYHUUHSRUWZKDW\RXKDGVHHQZLWK
    WKHNQLIHZLWKWKHNQLIHLQFLGHQWVRUZLWK&KULV


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                   CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                                                                          202



 1                            C E R T I F I C A T E

 2       UNITED STATES         )
                               )
 3       DISTRICT COURT        )

 4
                   I, a Reporter and Washington Certified Court
 5       Reporter, hereby certify that the foregoing videotaped
         videoconference deposition upon oral examination of
 6       Jessica Levine was taken stenographically before me on
         September 19, 2024, and transcribed under my direction;
 7
                   That the witness was duly sworn by me
 8       pursuant to RCW 5.28.010 to testify truthfully; that
         the transcript of the deposition is a full, true and
 9       correct transcript to the best of my ability; that I am
         neither attorney for nor a relative or employee of any
10       of the parties to the action or any attorney or counsel
         employed by the parties hereto nor financially
11       interested in its outcome.

12                 I further certify that in accordance with
         Washington Court Rule 30(e) the witness is given the
13       opportunity to examine, read and sign the deposition
         within thirty days upon its completion and submission
14       unless waiver of signature was indicated in the record.

15                 IN WITNESS WHEREOF, I have hereunto set my
         hand this 27th day of September, 2024.
16

17

18                   Douglas Armstrong, RPR

19
                     ____________________________________________
20                   Washington Certified Court Reporter No. 3444
                     License expires 11/26/2024
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        Exhibit 25
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Potential titles:

    1.   Beyond the Implications: Lessons from the Front Lines of Insider Threat and Cancel Culture
    2.   The Unseen Assault: A Journey Through Insider Threats and the Maze of Cancel Culture
    3.   Shadow Battles: Surviving Insider Threats and the Ripple Effects of Cancel Culture
    4.   Cancelled but Not Conquered: Defying Insider Threats and the Specter of Cancel Culture
    5.   When Silence Speaks: Countering Insider Threats and the Unseen Forces of Cancel Culture
    6.   In the Eye of the Storm: Understanding Insider Threats and Surviving Cancel Culture
    7.   Cancelled but Not Conquered: Lessons from the Frontlines of Insider Threat and Cancel Culture
    8.   Cancelled but Not Conquered: Lessons from the Frontlines of Insider Threat and Cancel Power
    9.   Cancel Culture and something for the normal person
    10. "Canceled but Unbroken: Stories of Resilience in the Face of Cancel Culture"
    11. "Rising Above: Lessons in Resilience from the Cancel Culture Era"
    12. "Uncanceled: Navigating the Trials of Modern Cancel Culture"
    13. "Against the Tide: Surviving and Thriving in the Age of Cancel Culture"
    14. "Resilience Redefined: Overcoming Cancel Culture Challenges"
    15. Cancelled but Not Conquered: Navigating the Trials of Modern Cancel Culture



Preface

        Introduction to my background and expertise.
        Brief overview of the event that sparked the book's creation.
        The book's objectives and who it aims to help.

Chapter 1: The Unseen Insider Threat

        Introduction to insider threats: definitions and types.
        Personal story of betrayal by an employee with malicious intent.
        The psychological and emotional impact of betrayal.

Chapter 2: The Ripple Effect

        Detailed account of how the betrayal unfolded.
        Exploration of the wider financial/brand/revenue impact on the company and
         employees. (use percentage not #’s)

Chapter 3: The Anatomy of Cancel Culture

        Defining cancel culture and its relevance in today's society.
        Analyzing how cancel culture operates: mechanisms and motivations. (You can’t cancel
         without cancel power) (think of this being a whole chapter)
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           o   Power and its role in this (Jeff’s power) (the email asking for help when he
               rejected helping, using cancel power properly) Abuse of cancel power
       The intersection of insider threats (Maxie) and cancel culture. (Jeff/Def Con)

Chapter 4: The Aftermath

       Personal and professional consequences of being targeted by cancel culture.
        Professional solitary confinement and prison
       How 2 sentences cost me over 10 million $ and almost my life
       Emotional and psychological toll on the author and those close to them.
       Reflections on public perception and the struggle for redemption.

Chapter 5: Lessons Learned

       Key insights gained from the experience with insider threats.
       Understanding the importance of organizational culture and employee engagement.
       Strategies for preventing and detecting insider threats.

Chapter 6: Building Resilience

       Developing personal, professional and organizational resilience in the face of challenges.
       Techniques for managing stress and maintaining mental health.
       The role of support networks and seeking professional help.

Chapter 7: Navigating Cancel Culture

       Strategies for responding to cancel culture and managing its impact.
       The importance of risk assessment of those with cancel power over you,
        communication, transparency, and accountability.

Chapter 8: Legal and Ethical Considerations

       Overview of legal protections against defamation and false accusations.
       Ethical considerations in addressing insider threats and cancel culture.

Chapter 9: The Path Forward

       Turning adversity into opportunity: personal growth and professional development.
       Rebuilding reputation and career after being targeted by cancel culture.
       Future outlook on insider threats and cancel culture, with recommendations for
        individuals and organizations.

Chapter 10: Conclusion
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       Recap of the key messages and lessons from the book.
       Final thoughts on overcoming adversity and the importance of resilience.
       The courage to return.
       Call to action for readers to apply the lessons learned in their own lives and
        organizations. Outline to analyze those with cancel power in your life.

Reach out to academics about cancel culture




Preface

       Introduction to my background and expertise.
       Brief overview of the event that sparked the book's creation.
       The book's objectives and who it aims to help.

My name is Christopher Hadnagy, I would imagine most people reading this book have no clue
who I am. This is why I want to start off telling you a bit about my history. I do not want to go
into all the “gory” details my childhood, but I think some will help you understand this story
more so. My childhood was an interesting one. Both of my parents had been abused as
children, and sadly carried on the family legacy with their four children. My mom had a
particular need to have babies around, so we were a foster family that had over 127 kids in and
out of the house before I moved out at 18. To say the house was chaotic, would be an
understatement.

One time I had to share my room with a kid that liked to take his feces out of the toilet to write
on the wall. Another time, we had a baby addicted to crack in the house. Another was a child
who was the victim of childhood rape. It never was the same, and each time it was a new
trauma. Despite it all, my family of origin was violent and brutal too.

I remember the first time I had a realization that not every house gives out daily beatings or
yelling before bed, I was 12 and went to a friend’s house for a sleep over. His dad came in and
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pleasantly said, “Love you good night”…. When he left, I turned and said, “That’s it? He doesn’t
yell? No one gets hit?” He looked straight at me and said, “What’s wrong with you, weirdo?”

I didn’t sleep much that night, because up until then I thought it was a normal part of every
household, so I just laid there thinking about it.

I can probably write a whole book about my childhood, but suffice it to say, for this book you
just need to know that being raised in a volatile family meant I had to learn some interesting
survival skills, ones that would inevitably help me with what was coming in my life. The rest of
my teenage and young adult years left me trying to understand and navigate truly sick and
abused people.

Growing up I experimented with lots of alcohol and some drugs, but my passion was violence. I
loved fighting, I loved punching things and people. Oddly enough, I didn’t even mind losing a
fight. I would often find myself out at night looking for a fight, even for money, and didn’t
matter to me if I lost.

I remember one night in particular, I had drunk over 70 oz. of vodka, smoked a lot of weed, and
slit my wrists with a cut beer can, before jumping in a lake to wrestle an alligator. That resulted
in my best friend having to knock me unconscious with a 2x4 to save my life. I woke up the next
morning in my room, bloody, muddy, and disgusting. My mother walked in and said, “what the
hell happened to you?”

I quickly retorted, “I feel walking in the porch.”

She said, “Be careful and get cleaned up.”

This was my teenage years summed up.

Nineteen-year-old me met the woman who would become my wife, my best friend and the
woman who helped me change for the better…. Or maybe better yet, who allowed me the
freedom to change into the man she wanted. She had a son from a previous marriage, who I
fell in love with. I had to work hard to not duplicate my parent’s lessons on discipline. I was not
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always perfect at that, fortunately Colin and are close and we worked through any mistakes,
and he has turned into an amazing man.

When he was twelve, we had a surprise, my beautiful daughter Amaya was born. The day I
found out Areesa was pregnant was the best day of my life. I was so excited, and so ready to be
a dad again.

Right away I committed to being the dad I never had. I read to her belly every night, I played
games with Amaya when she would push her hand up I would push it back. The day was here,
she was going to be born. But as she came out, she choked herself to death on her umbilical
cord. My world was shattered, I couldn’t understand how this could happen. The nurses and
doctors worked on her for what seemed like an eternity. I went over to her tiny blue body, and
I leaned down and I said, “Baby, its daddy, you have to wake up so we can play our game and I
can read to you.” No lie, she opened her eyes and reached her tiny hand up to grab my finger.

That story still fills my eyes with tears. But having these two kids has changed my life. I became
someone who doesn’t love violence, I found peace in getting to know God, and having an
amazing life partner that happens to be my best friend that I can laugh with and stare at with
amazement and excitement even after 3 decades of marriage. So, let me back up to tell the
story more fully.

When I was in my late twenties early 30’s I found myself unemployed. I was depressed, sitting
at home, and I started to gain a lot of weight. I became pretty much lethargic.

I finally found a career in information security working for an amazing company that was on the
cutting edge of hacking, education and understanding threats. We got paid to hack into
companies, all legally, to show them their vulnerabilities and how to patch them. I fell in love
with this job.

It didn’t help my health. I found myself staying up all hours of the night, sometimes 2-3-4 am,
hacking into clients or writing exploits, researching. But I loved my job. As much as I loved it,
there was something always nagging me telling me that I wasn’t so good at the coding part. I
started to practice something called social engineering. It became famous with a very special
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hacker named Kevin Mitnick. He used it to steal phone plans and to infiltrate the FBI and evade
them for years. When he was finally caught, he was sent to prison. Upon his release, he
reformed and became a champion in the industry to teach people hacking. We eventually
became close friends. Sadly, only in his 50’s Kevin passed away recently, but he left behind him
a legacy that made my job possible.

In reading his books I wanted to practice these things legally, so we would ask clients if we can
include phishing emails, or phishing calls and even physically breaking into their buildings.
Every time we did, we succeeded. Then one day a client asked me, “Ok so you did it, how do I
fix it?”

Blank stare…. “I don’t know.”

He said something that changed my life, “If I went to my auto mechanic and asked, ‘what is this
sound?’ and he said ‘your brakes’ then I said ‘please fix it’ and he said ‘I don’t know how’, I
would never use that mechanic again.”

And he was 100% correct. That ignited a passion in me, I wanted to learn all I could. I started to
consume books on nonverbals, persuasion, influence, body language, neuroscience, decision
making, communications and any topic to do with human decision making. I would document
the things I read and speak to others who had more knowledge. In about ten months I had a
framework for what I felt made up social engineering.

In doing so, I realized that the world’s definition of social engineering, “….the manipulation of
individuals or groups into divulging confidential information, performing actions, or providing
access to restricted areas, typically through psychological manipulation rather than technical
means. It involves exploiting human psychology, trust, and social interactions to deceive
people.”, really didn’t fit my research, so I redefined it. It was now, “Any act that influences a
person to take an action that may or may not be in their best interest.” I felt that encompassed
the positive and negative aspects of this tool.

I bought a domain, www.social-engineer.org and I built a website to put this out there. I
thought to myself, “well, if one person can use this, let’s do it.”
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I also enjoyed the research I did so much I started a podcast, I was going to interview people in
different fields about an aspect of this framework and how they use it and how we can learn. I
had agents, magicians, psychologists, teachers, CEO’s and all sorts of people on the show.

A few months after the framework was released, I get a call from Kevin Mitnick’s publisher, and
she is asking me to write a book on the framework I put out. I told her I was a nobody and
didn’t think anyone would care. It took some convincing, but I wrote that book, “Social
Engineering: The Art of Human Hacking” and it was released in 2010. (I encourage you to NOT
read it….I’ll explain later)

That book took the infosec world by storm. I was being called by global large companies to
consult and work with them on social engineering. Companies that wanted me to help in
crafting and attacking hundreds of thousands of people at once. I quickly realized I needed to
develop methodologies and systems that had never been created before. The reason was, I
took this thing that was being used by malicious people and added ethics and morals to it, so
we can use it as an industry to test. I was serious about this and wanted people to be able to
understand and use this skill properly.

In this work is when I realized I promoted some things in that first book that were not
scientifically based, so that is why I say “don’t read it”. My fourth book is re-write of that one
with all the science in tact.

It was around this time (2009-2010) I had been attending a massive hacker conference called
DEF CON. One year they had a social engineering competition and thanks to the notoriety I had
gotten I was asked to be a guest judge. But I was appalled at what was happening. In this open
room people were making random calls to people and getting their private info and even credit
card numbers and it was all being broadcast over the speakers. I tried to get it to stop, and
when they wouldn’t I walked out. I went right up to the owner of the conference, Jeff Moss,
and told him, “What is happening in there is illegal and immoral, it can’t continue” He said,
“Well then come up with something better and you can do it next year.”

A little bit heated I said, “No problems I will.”
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BITING OFF MORE THAN I CAN CHEW

I went back to the office and started to think of ideas, and every idea I had seemed too
unrealistic. I reached out to the EFF (https://www.eff.org/) , and organization that gives legal
advice to people in my industry and ran my idea through them. Once I knew I was above board
in the legal department I began developing the world’s first Social Engineering Capture the Flag.
I presented to Jeff, and he granted me to run what I called “The Social Engineering Village” or
SEVillage.

My idea I developed was a series of “flags” (bits of information) that a contestant would have to
try and find first through OSINT and then through a series of 20-25 min phone calls. Those who
wrote the best report, got the most points, and followed all the rules – and there were a ton –
would win. They would sit in a soundproof booth, I would control all the calls so if someone
broke a rule we can cut them off. And then we would assign contestants companies they had
to use as their targets.

Year one, we were given a tiny room, maybe a couple hundred square feet. But the room was
packed for all three days. It was floor filled, walls filled, it was amazing to see how many people
were interested in this.

DEF CON has a very coveted prize called “the black badge” and it grants the winner of a
competition free access to come to the conference for the rest of their lives. It is kind of
legendary. It is never awarded to a first-time competition in year one, but that year due to our
success we were awarded it. We were the first competition in DEF CON history to be given a
black badge in year one.

That turned the SECTF and the SEV into a new staple. Each year the competition grew and grew,
eventually I helped start a kid’s competition, then a teen’s competition, then a few other
events that kicked off. We made international news, and we were bringing awareness to this
threat in a way that no one got harmed. As a matter of fact, my business that I started was
growing due to it. Many companies would send their security staff to our village to listen and
learn and if they were a target they would hand me a card and ask to talk. One of few things I
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loved about the SEVillage was I got to bring my wife and two kids, and they worked with me,
and some of closest friends from around the globe came and we got to hang out, talk, eat and
drink.

One more important fact before I tell you why this book must exist, is around 2017 I decided to
start a non-profit that would use the greatest minds from infosec to hunt, geolocate and find
people who traffic children and create child abuse material, The Innocent Lives Foundation. The
work we do there saves lives, and I am so proud to have that has part of my legacy.
(www.innocentlivesfoundation.org)

This is important, because I launched it at DEF CON and made my announcement there. I sat in
the hallway of DEF CON with grown men crying on my shoulder telling me how they were raped
as a child and didn’t have anyone to fight for them and they wanted to help. It was one of the
most moving movements of my life.

I am going to stop my story there, because this is where I want to take some time to tell you
why this book is so important, in case right now you are thinking, “So what?”

THE REASON THIS BOOK EXISTS

My company has employed dozens of people over the years. I know I am not the perfect boss,
sheez, I have said some things I certainly regret. I also am a very hard worker and demand the
same from my people. But even though I can be a giant jerk at times I treat my people well. I
pay good, have excellent benefits, am very lenient and I share everything with them. I mentor,
teach and give my soul to them. It is not uncommon for employees to gather at my house,
while I cook for them. This is important as I reveal the story to you that led us here.

I had an ex-employee that wanted to use her MacBook but we are a Windows shop. She offered
to sell us her Mac for $1, and then install our corp control software on it, allowing us to own the
machine. The understanding was, that we would own it, and if we fired her or she quit, we
would wipe the machine and give her the hardware back, but the data is ours. She accepted in
writing.
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So, she sold us her laptop for $1 so she can use it at work. She agreed in writing via email. After
agreeing in writing, we had her install our control software and informed her this was now a
corporate machine so to be cautious with what is on it.

During the peak of COVID she told us her father was dying and she needed some time off to
care for family matters. We gave over two months of paid leave. I was also in the middle of a
book deal with her to help her career. We were told the stress of the family illness has made
her depressed and she couldn’t work anymore. She quit her job, we told her to mail her laptop
back, we would take off our data and send it back to her. She said, “this week”.

This is the email I received with her resignation:




We wished her well with her family and told her to stay in touch. One, Two, three weeks went
by, and the excuses piled up as to why the laptop was not shipped and then finally, we were
told it was. But it never showed up, so we remotely locked the laptop.

That is when we realized shipping the laptop was a lie. The book I had worked on with her was
printed and I got my copy, in one chapter she used pictures from an active case from my
nonprofit of how we geolocated a predator that was grooming a 13-year-old girl.
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I went nuts, she could have killed this case. I texted, called, emailed, nothing, she was not
budging. I called the publisher and told him those pictures could be considered a federal crime
since the case was now in the hands of federal law enforcement.

I will give you more details throughout this book, but suffice it to say we found evidence that
she has been lying, trying to subvert business and even signing contracts that she was not
allowed to. She had tried to get Apple to unlock her laptop, which they couldn’t, and the drive
got wiped.

Also learning about her methods I pulled all my support from all the marketing, podcasts and
media we had planned for her book launch.

She was so angry she went and gathered many of my ex-employees that didn’t like me, and
took them to Jeff Moss, the owner of DEF CON, and told them that he had empowered me to
become a tyrant over women in infosec and I subjugate them and harass them when they want
to leave.

I know all this because Neil Wylie, a person who I thought was my friend and a very close
employee of Jeff at DEF CON, called me and told me that Maxie had brought this horde to DEF
CON and demanded my head.

This was August of 2021 when it all started. I explained everything I said above to Neil, who is
also in security, so I couldn’t understand why he wasn’t getting it. It seemed so odd to me. After
trying to meet and speak with Jeff about these allegations from August to December and being
told that he had already given my village to a couple folks who have hated me for years, I wrote
an email telling him I was leaving DEF CON and taking my SEVillage elsewhere. That was in Dec
2021.

In Feb of 2022, I get an email from Jeff stating I am being banned from DEF CON. That next day
he posts, “We received multiple CoC violation reports about a DEF CON Village leader, Chris
Hadnagy of the SE Village. After conversations with the reporting parties and Chris, we are
confident the severity of the transgressions merits a lifetime ban from DEF CON.” (This is
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actually not the first post, it was much more severe but he changed it so this is what is there
now)

These two sentences would cause a ripple effect in the industry and in my life that I was not
prepared for. Since the previous named banned people from DEF CON only were named for
sexual misconduct people assumed I had sexually assaulted someone in my company or at DEF
CON. As a matter of fact, on the DEF CON website they state, “In cases where we feel the
banned party poises a continual and imminent threat to the community, we will name them.”

The backlash from this community that once loved me was unbelievable. I was called things like
“serial sexual predator”, “the Harvey Weinstein of infosec”, “rapist”, “child abuser”, “thief”,
amongst other things I won’t list in this book. People who I thought were my closest friends ran
from me like I had leprosy.

That is why this book must exist. All the people, men, and women, who will be or have been
falsely accused, cancelled and destroyed. They may not have had the means to fight back, or
the will, so they gave in and either ended their own lives or slithered off into nothingness. This
book is for you.

Do you want to understand the profound and utter nature of cancel culture and insider threat?
This book is for you.

Do you want to understand how human vulnerability can lead to insider threat that can ruin a
life and a company? This book is for you.

Are you just curious to see how this all turned out? This book is for you.

What do I hope to accomplish and do with this book

My career has been centered around helping other people. No, I am not perfect, and I have
made a TON of mistakes, that is for sure. But my overarching theme of life, is helping others.
(despite my imperfection) The question that remains, someone who loves their God, loves their
family, loves their employees, loves their industry, creates jobs for people, creates a nonprofit
to save kids – and they can get cancelled to the point they are a pariah, literally hated by the
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same people who lined up to take pics and sign books with them…. What can you do about it?
How do you deal with it? How can you cope and manage?

I want to share with you the raw, unadulterated details of what I did wrong and right in coping.

I don’t know if this will help, but I want to believe there is one person out there going through
what I did and this guide can help you deal with insider threat and can help you deal with the
aftermath of being cancelled, and how to come back from it, if there is even a way.

That is what I hope to accomplish in the pages of this book. With that let’s dive right in.

Chapter 1: The Unseen Insider Threat

Insider Threat and What is It Really?

Insider thereat can be broken down into seven different categories in my opinion, Malicious,
Negligent, Infiltrators, Exploited, Colluding, Third-Party, and Departing. Each of these has a
different motive and reason for their reasons and it is important to understand. Some are
controllable and some are not. Let’s dive into each.



1.     Malicious Insiders: These are individuals who intentionally harm the organization
through theft, sabotage, espionage, or fraud. They might steal proprietary information,
intentionally leak sensitive data, or sabotage organizational systems. Their motivations can vary
from financial gain to personal grievances against the organization.

This type of threat doesn’t seem to care about the harm they cause or who they ruin in the
path, they are just out to get revenge or a real or perceived offense. This was Maxie.

2.     Negligent Insiders: These individuals inadvertently cause harm to the organization
through carelessness or lack of awareness. This can include falling prey to phishing attacks,
mismanaging data, using unsecured networks, or mishandling credentials. Though there's no
malintent, their actions can still lead to significant security breaches.
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There can be different reasons for this type of threat. Maybe the company is not doing enough
to educate, so the employees are a threat. Or maybe the company is not using a positive
reinforcement model, so employees are not motivated to report, due to fear. Or maybe the
employee is just lazy and doesn’t care. Any of these reasons are serious enough to make
negligent threats a real problem.

3.     Infiltrators: These are external actors who gain inside access through deceptive means,
such as identity theft or by obtaining employment with the sole purpose of conducting
espionage or sabotage. Unlike traditional insiders, infiltrators enter the organization with the
explicit intention of becoming an insider threat.

These types of threats are truly malicious, from the beginning they have a goal to destroy. Their
only motive is to get in to hurt and take, these types of insider threats can be hard to detect
depending on their skill and your company’s needs/size. We will talk a lot about this kind of
threat. This is also Maxie.

4.     Exploited Insiders: These insiders become threats because external attackers
compromise their credentials or systems. The compromised insider might not even be aware
that their access is being used maliciously. This category can overlap with negligent insiders,
especially if the compromise was due to careless security practices.

Sometimes it is poor security practices, sometimes it is low pay, sometimes it is both… either
way, these threats can be exploited by attackers to work with threat actors to compromise a
company.

5.     Colluding Insiders: This involves two or more individuals within the organization
conspiring to carry out an attack or leak information. This type can be especially difficult to
detect and prevent, as the colluders can work together to bypass security measures and checks.

Kind of like the above insiders, these are similar but even worse. They are willingly working with
the attackers to take your company down.
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6.       Third-party Insiders: These are individuals from third-party organizations (vendors,
contractors, partners) who have been granted access to the organization’s systems and data.
They can pose a threat due to the combination of having inside access and potentially less
oversight and loyalty to the organization.

Now-a-days, we are seeing endless supply chain breaches, so this is a very important topic.
Knowing if the vendors who have access to your network and breachable is very important.

7.       Departing Insiders: Employees who are leaving the organization but still have access to
its resources can become insider threats if they decide to misuse that access before they go,
either out of malice or in an attempt to take proprietary or sensitive information with them.

I read a report that there were 250,000 layoffs in infosec in 2023… that number is huge. Many
with very little solid reasoning. Every time this happens there a chance of creating a departing
insider threat.



Back to my story….

So here I am reading this resume from a person who seems fake. Her LinkedIn said not only was
she a social engineer, but had a degree in quantum computing, was a stunt driver, and also had
the elusive OSCP certification, and on top of that she looked like a super model. In my head I
said, “this is a catfish” (a popular attack where a beautiful looking woman is used to attract men
into a conversation and get them to expose information.

I replied to her request for mentorship with something like, “Maybe next time you try, make
your resume not so fake…”

Her reply took me by shock, “I am sorry, should I clarify something. If I offended you let me
know.”

Hrrrmmmmm that is not what I expected.

I continued to engage to the point where, still thinking she was fake, I said, “well I would
interview you if you were in Orlando but you are in LA.”
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She said, “I can be in Orlando Wednesday….”

“Hrm, this is interesting, ok let me see if this catfish will go through”, I thought. I told her I
would pick her up at the airport and we would interview at a local Starbucks then she could
meet my wife and kids and go to dinner.

Arriving at MCO airport, she was there, and she looked just like her picture. That is not what I
expected. We did the interview, and she was amazing. Not what I had expected. I took her to
meet my wife and daughter and they loved her. Not what I expected. All of it checked out.

None of it made sense in my head, and that was the problem. Logic said, “run away” but
everything she said checked out. I ignored the blaring alarm in my head.

One year into employment, when she told us that her father was dying. It was during the time
of COVID and traveling back to Scotland was going to be very hard. My wife, who is one of most
giving people on earth, made her a care package of things from Scotland (her home country)
and sent a card saying, “I know you can’t get home so we sent home to you.”

Part of that package was a beautiful cashmere shawl from the Scottish Highlands. When she
was at the height of attack, she posted a picture of her dog tearing that shawl to pieces with a
laughing emoji. It crushed my wife’s heart.

A piece I haven’t mentioned yet, as this is the first lesson for this book. When Maxie
approached me, she asked me to mentor her in starting a social engineering company. I
rejected that and said if she was good, I would hire her.

She got hired but, it seems her intent was to just use us to accomplish her goal. What threat
does this make her?

For sure she is a Malicious or Infiltrator insider threat. To recap

Malicious Insiders: These are individuals who intentionally harm the organization through
theft, sabotage, espionage, or fraud. They might steal proprietary information, intentionally
leak sensitive data, or sabotage organizational systems. Their motivations can vary from
financial gain to personal grievances against the organization.
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This type of threat doesn’t seem to care about the harm they cause or who they ruin in the
path, they are just out to get revenge or a real or perceived offense.

OR

Infiltrators: These are external actors who gain inside access through deceptive means, such as
identity theft or by obtaining employment with the sole purpose of conducting espionage or
sabotage. Unlike traditional insiders, infiltrators enter the organization with the explicit
intention of becoming an insider threat.

These types of threats are truly malicious, from the beginning they have a goal to destroy. Their
only motive is to get in to hurt and take, these types of insider threats can be hard to detect
depending on their skill and your company’s needs/size. We will talk a lot about this kind of
threat.

Maybe she fits both, either way, I fell for it. AND This is what I do for a living and I 100% fell for
it.

Maybe it was halo effect, maybe it was confirmation bias, maybe it was something else. But
either way I fell for it, and it cost me dearly.

SIDE BAR:

Halo Effect - The halo effect is a type of cognitive bias in which our overall impression of a
person influences how we feel and think about their character. Essentially, your overall
impression of a person ("He is nice!") impacts your evaluations of that person's specific traits
("He is also smart!").



Confirmation Bias - The tendency to favor information that conforms to your existing beliefs
and discounting evidence that is contradictory.




The Emotional Impact of Betrayal
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I remember the day I opened the book Maxie wrote and saw a picture from my nonprofits work
in there, I had this pain in the pit of my stomach. I couldn’t understand why anyone would do
this. We were saving a 13-year-old girl, why would anyone risk that for fame or a name?

My emotions were anger, disappointment, disbelief, and disgust.

I remember the day Jeff announced my cancellation and I saw people calling me a rapist and
sexual predator. A man I had worked with for close to 20 years and he knew me well.

My emotions were fear, sadness, anger, disgust and contempt.

I remember when I realized that Neil Wylie had become a threat to me and lied about or
misrepresented everything I told him.

My emotions were fear, anger, contempt, betrayal.

I remember when I saw the announcement that Stephanie and JC were taking over the village
and they claimed to find out in Dec but I knew that they knew in July/Augst. I was shocked by
the blatant lying from people who I thought were in the same community.

My emotions were anger, disgust, contempt, and complete disbelief.

When one of my best friends in the industry had a chance to support me, he knew me ( so I
thought) better than most, but instead of support he tweeted, “I pulled my talk because it was
the right thing to do … after discussing with other speakers at the event, the organizers should
have at a minimum announced the speaker well ahead of the conference and published clearly
on site for folks to make their own decision."

He was one of the organizers of that event, so it was all bullcrap. I ate dinner and worked out
with him the night before that speech. What a joke. He knew what I was asking.



My emotions where intense pain, betrayal, disgust, and a complete disbelief that this was real.
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I could literally go on for hundreds of pages of the people who physically or verbally spat in my
face and how I felt, but I think you get the point. This taught me who were real my friends and
who was here just because I was popular.

At that time, I didn’t understand how powerful betrayal was, and it became an area of research
for me.

The Psychology and Emotional Impact of Betrayal

The psychology of betrayal delves into the emotional and psychological ramifications of being
betrayed, which is a complex process that can significantly impact individuals' mental health
and interpersonal relationships. A betrayal occurs when there's a violation of the implicit or
explicit trust between individuals, leading to emotional distress for the betrayed party.


Research and theories on betrayal highlight its basis, where trust and cooperation are
fundamental to human relationships. Betrayal disrupts these bonds, leading to significant
emotional and sometimes physical consequences. According to a model presented at the
Heterodox Psychology Conference, the aftermath of betrayal involves a process that could lead
to forgiveness, depending on several factors including the betrayed individual's response to the
betrayal (outrage), the betrayer's response (guilt or lack thereof), and the eventual possibility of
forgiveness. This model underscores the rationale behind our responses to betrayal, suggesting
that moral emotions, such as outrage and guilt, have developed to manage the repercussions of
betrayal and maintain social cohesion​ (Psychology Today)​.


Betrayal can significantly impact any kind of relationship, be it friendships, family ties, or
romantic partnerships. The intensity of the betrayal often correlates with the depth of the
relationship, where deeper relationships can lead to more profound feelings of betrayal and
emotional stress. Trust is a cornerstone of all relationships, and its violation can lead to a wide
range of emotional responses, from disappointment and grief to severe trust issues and
avoidance of future emotional harm. People who have been betrayed might build emotional
walls to protect themselves from future pain, but this can also isolate them and prevent the
formation of new, meaningful relationships​ (Psychology Today)​.
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Betrayal trauma specifically refers to the psychological distress that arises from betrayal,
especially in contexts where the betrayed individual is dependent on the betrayer for emotional
support or safety. This can include infidelity in romantic relationships, abuse by caregivers, or
even institutional betrayals where organizations fail to protect or support their members. The
impact of betrayal trauma can be profound, leading to issues like hypervigilance, a lack of
foundational trust, and even generational trauma. Healing from betrayal trauma often involves
acknowledging the hurt, accessing therapeutic support like cognitive behavioral therapy (CBT)
or eye movement desensitization and reprocessing (EMDR), and, where appropriate, relational
healing or building new support systems​ (MindBodyGreen)​.


I think it is important as part of our discussion to understand this, or we can’t really grasp the
depth the emotions involved.



Personal Story of Betrayal

I want to go back to my employee, there are some important facts. When I started this
company, I quickly realized that women would be better at this field, and I am insanely in love
with my wife. I never wanted her to feel insecure, so I told her before we hired any woman, she
can meet her and if she didn’t like her, we would not hire her.

This process stays the same till this day. If I interview a woman who I may travel and be with
alone with, my wife meets her and approves before I offer her a job. I care less about my
company than I do my marriage, and this has kept my marriage strong, my wife has a veto vote
in hiring. Going 30+ years strong!

I think that is what makes this particular account so painful. When Maxie flew in that day, she
proved she was real, but I want to be honest, she is truly a beautiful woman. I felt really
uncomfortable. I asked her if I could take her back to meet my wife and go to dinner with my
family, she readily agreed.

The dinner was nice, we spoke, laughed, talked and set plans in motion for a future of world
domination. It all sounded perfect.
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I felt this sense of calm. Never did I suspect this was the first stage of the attack.

I quickly offered her a job. For our company, soon as someone is hired, we try to get them into
a training class so they can get certified. It was only a few weeks later in 2020 she was
scheduled to be in my class. I found it odd that all of a sudden, her ex-husband is in Orlando and
sitting with us at dinner. It was very odd, and felt like we were being manipulated, but I ignored
it. This is a classic action taken by someone who will later be a victim of insider threat. Ignoring
clear signs of danger to say, everything is ok. That is a story for another chapter….. but the
reality is there was clear signs, I ignored because of bias.

Chapter 2: The Ripple Effect

When I was a kid my brother and I tried to compete to skip rocks across ponds or rivers. For
some reason he always won. Maybe because he was stronger, five years older or just better
than me. Either way, he always beat me.

I remember when we moved from NY to PA, there was so many lakes in PA where we lived.
Everyone swam in them, even though they couldn’t see the bottom. I was scared, but the
crowd did it so I would.

I remember this one day, after a long bike ride, I was so overheated, I just wanted to cool down.
This lake looked like a sheet of glass. It was so calm, so serene. I sat on the dock and was
marveling at how beautiful it was. The water was like a mirror, I could see the reflection of the
early summer leaves on the trees. It seems almost surreal, magical.

As I was wandering into a mystical land, this rock went skipping by me on the pond… seemingly
forever. When the rock finally sunk in, there was this amazing ripple that spread throughout the
whole pond. It was a small flat rock, nothing major. Not a boulder, just a perfect rock for
skipping, but when it sunk the lake was not a mirror anymore. There was a ripple that looked
like a heart attack on a cardiogram. It was beautiful chaos.
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As beautiful as that image is, when that same “beautiful chaos” is your life, it is not so pretty
anymore. I think this is the time for you to hear the whole story in all its detail. Buckle up, this is
going to sound crazy…..

DETAILED ACCOUNT OF BETRAYAL

You have a clear picture of the scene, I get that email that seems like a cat phish. I meet Maxie
in a Starbucks, my family and I are all duped and think she is an amazing human being. And in
reality, she was at first, at least what she showed us. I had a blast working with her. She was
smart, witty, funny, adventurous, risk taking and everything I wanted to hand my mantle of SE
to when I was ready to retire. In my head I thought, “I found the one!”

Like some Neo type of Matrix prophecy, I thought we had found each other, and she would take
over my kingdom and rule it in the same way I had. I explained all my enemies, told her about
ex-employees in full honesty and what they did, I offered her proof of their misdeeds, so she
didn’t have to take my word. Then I began to mentor, teach and get her ready.

I quickly made her my co-trainer, and she was surprisingly good. She could wing it, talk for
hours and entertain and actually teach. I was impressed. I thought, “WE FOUND THE ONE!”

IGNORING THE SIGNS

At some point, as Natasha (if you haven’t caught on, my therapist) tells me, people will SHOW
you who they are regardless of what they tell you.

There is this bias called “confirmation bias” that can be defined as “The tendency to favor
information that conforms to your existing beliefs and discounting evidence that is
contradictory. “


This is the trap I set for myself. I liked her, she was good, she was funny, she was entertaining,
she was friendly, the team loved her (so I thought), my family loved her, and we can’t ignore
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the truth because that is what this book is about, she is beautiful… so all the signs pointed to
GO…. I ignored any signs that were glowing red due to this bias.


This really is a great lesson for any business owner. You may truly love and connect with the
employee but if there are red flags it is at least worth a second opinion.


As a side note, when this was all over, I found out the “team” did not love her, they found her
shifty and annoying. They thought she was selfish and hard to deal with, but they stayed quiet
cause she was their “boss”. A great lesson for me, I needed to empower my people more to
talk to me and not fear retribution.


Ok back to the story…… It is time for my conference in 2020. We hold it and I wanted her to give
speech to help set her up as the queen of SE. I worked with her, mentored her, and gave her a
main stage.


It was not good. But I ignored that. I said to her, “we will work in the nonverbals and help you
fix the problems, its ok.”


When in reality what was being screamed at me is that “SHE DOESN’T HAVE THE EXPERIENCE
SHE IS TELLING YOU BRO!!”


I ignored those signs. (BIAS)


A week after the conference the world announces COVID 19, March 2020. What a time on
earth. We had heard it was bad, but we had this contract to go and break into 9 buildings.


Everything was planned, we had 6 team members set. The week we are supposed to fly I get so
sick I cannot leave within 5 feet of a bathroom.
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Lying in bed, with what I would later find out was early stages COVID-19, my team goes to the
break in. My trusty second in command, Ryan is running the team. I so badly wanted to be
there, but later this was a blessing in disguise, as I was never really traveling with her at all.


The job goes amazing, everyone had success and a learning opportunity. But with it, there
were, again, signs, that she did not have the skills or experience she said she had. I ignored
them all for the bias.


The very next week is the Foundational Application of Social Engineering Class in Orlando,
where her ex-husband oddly shows up and is staying with her. Later on, it looks like I was being
made a mark, but it is hard to say.


It is after this all the things start to get really weird.


COVID-19 Social Engineering


The world changed in an instant. We couldn’t travel, we couldn’t go onsite, we couldn’t train
like we used to. We had to adapt and come up with new methods of engaging to keep the
business afloat.


None of this was scary, we adapted quickly, kept clients happy and seemed to move forward.


We found out that one of our ex-employees, Cat, who had tried to steal a brand of ours upon
quitting, then went to work for a competitor (breaking her employment contract that we never
fought), was now working for our largest banking client. I got scared, knowing she was vengeful
and resentful, and reached out to my POC to express my concern. I was not about to sue a
HUGE bank, so I just expressed my concern and left it.


Maxie knew all this, and this is pivotal knowledge for the rest of the story.
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That year, 2020, DEF CON went virtual due to COVID, and we ran our village virtually. We
couldn’t do all we did, but we ran an amazing kids event, 6-8 speeches and some Q&A. It was a
great year.


I had landed Maxie a book deal with my publisher, Wiley, to help make her the new queen of
social engineering. She had so much promise, and she had a great idea for a book on attacker
mindset.


It was quickly picked up and we started working on it.


Somewhere in 2021, Maxie told us her dad was deathly ill and she needed to go back to
Scottland to care for family matters. We are a very family first company so told her to go, even
though travel would be so hard due to government restrictions.


One month went by, and we saw her Twitter announcing she went to a training program in DC
not to Scottland. When we asked her, she had a reasonable excuse, that she cancelled that class
she paid for when she came to work for us, so she took it now to not cost the company
money… sounded perfect. So, I believed it.


Month two went by, and we wanted to meet but there was a car accident, mental health issues
etc.


Month three and we desperately needed an answer… the answer came with her resignation. To
be honest, the first time she resigned we talked her out of it. Told her we would keep her on
the insurance, help her and support her we just wanted her part of the team.


When she finally quit, it was about three weeks before book launch. But there was no way to
talk her out of it, Ryan was rightfully telling me to let her go. It was costing us too much.
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We did, we asked her to mail her laptop back and we would wipe company data and then send
her the machine. According to our email agreement upon termination she would own the
machine, not the data. We don’t use Mac, so she could have it, we just need to ensure the clean
removal of the data.


We were told it would be shipped that day.


Week one, two , three… and the laptop never showed up. When the book was released and saw
the pictures of the ILF case, I told Ryan, “LOCK IT NOW”. That is when it all went to hell.


THE ROAD TO HELL


Maxie went ballistic with what she considered her personal laptop to be locked. She demanded
the release of it, which I many times told her that I would release it once I knew the data was
cleared. We have government and large clients that I could not risk a breach of data.


There was no clear acceptable path, she wanted something I couldn’t give without opening a
massive lawsuit for my company. And I wanted something she was uncomfortable in giving. I
told her many times, I didn’t understand the request. I could see all her data in our backups that
she agreed to, so there was nothing to hide. I did not look through it, all I needed was to ensure
the client data was deleted, but she was unbending.


Eventually she tried to hire a lawyer to sue me, and there was no case from what I understand.
It went nowhere. It was at that moment she told an employee she was still communicating
with, “Chris is about to have a very bad day”


A VERY BAD DAY
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I could not understand how true those words were, and how serious that threat was. As I
shrugged it off, I never thought it could be this bad.


Maxie got many of my ex-employees I told her about in confidence, the people who hated me
at SEVillage DEF CON, and gathered them together and offered them fame and glory if they
helped take me down. How do I know this? Two people who had this offer came to me and told
me they refused to play along, Alethe Denis and Patrick Laverty. They both came and told me
what was happening, and they would not be party to it.


Shortly after, Neil Wylie called me to tell me, “Maxie is about to ruin your life, make it go
away.”


Here are a few pages of how that conversation went:
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At some point in the convo Neil says he wasn’t sure why he was even involved:
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At one point Neil clearly states:




When the announcement was made that ruined my life, I went back to Neil begging him for
help as the things I was being called were horrible. His reply
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I read this and wonder if I am reading a fantasy novel sometimes and not my life.


After my daughter and my family suffered, I sent one last message begging for help….
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Nothing but silence. Jeff Didn’t care. Neil didn’t care. Maxie didn’t care. No one cared – they got
what they wanted, my demise to lead to their success. Regardless of what it meant for my
family and my personal life.


THE IMPACT


It didn’t take long for this news to start affecting business. Companies that once flocked to us
are now scared if they are supporting a ‘rapist’ or ‘sexual predator’. Many who even said to my
face, “We do not think this is real, but the board doesn’t want the heat.” And then walked away
from us.


With in month, we lost 25% of our business, then within a year we lost 50% of our business. I
was totally baffled. We had the same product, the same team, the same quality, all we had was
a two-sentence notice from DEF CON and mob calling me horrible things – and that ruined my
reputation.


This happened in Feb of 2021, normally October, which is Cyber Security Awareness Month, is a
massive month for SECOM. I would give 20-40 speeches and make the company a lot of money
this month. This year I would get scheduled, the company would promote my name, and it
seems they would get contacted saying things like “you hired a rapist” or “did you see the DEF
CON news” and shortly after contract signing, I would have the contract cancelled.


It got to the point that eventually in meetings we would start off by saying, “if you are looking
to hire Chris here is what will happen”.. which would lead to the client running the other way.


With in that year, we lost 56% of our revenue. I was shocked. How could this little
announcement ruin my good name, my work, my effort, all the things I built? I spent my life
helping people and now I was a pariah, I didn’t understand how much worse it would get.
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THE SECOND STAGES OF HELL


I didn’t understand how much these people hated me. My life meant nothing to them, my
family meant nothing to them, my business and employees meant nothing to them.


The new SE Village run by IBM XForce Red Team Lead, Stephanie Carruthers had a game that
was “Chris Hadnagy’s Predator iPhone” to hack. They set up a device with that name and let
people try to hack it.


I was called, “The Harvey Weinstein of infosec” and a “serial sexual predator”…..


These things just amazed me. Stephanie doesn’t even have a career without my competition,
and her husband is the only person to ever be banned from SEVillage for breaking our moral
code.. and I am the pariah?


At one point someone called the Orlando FBI office and reported me for “bragging about the
ability to look at child porn as part of ILF”…. I was nearly investigated for the possession of child
pornography thanks to this mob. Fortunately, I was able to avoid that.


All of this seemed surreal, at the least. I felt like I was in a movie, watching the main characters
life being shattered to a million tiny pieces. This made me really want to understand cancel
culture.


THE ORIGIN OF CANCEL CULTURE


I started to read books and articles on cancel culture.


The idea of “cancelling” someone for transgressions against society is not new, this has been
around since humans developed communities. Churches may call is excommunication, or
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disfellowshipping. It is meant to save the majority from the effects of people who are bad
association or have moral problems.


Groups of people, whether women or people of color had no voice and often were mistreated
to get ahead in film, media or entertainment or just life in general. The power of the person to
determine their success, meant they could demand crazy things… maybe sexual things,
anything that represented power. And that is how this culture developed, when people wanted
to take their power back, they decided to request the cancellation of people who used that
power to make success happen. They would “out” them by making public their transgressions,
which in the days of social media, led to the jury of the internet determining someone’s future.


The origins of cancel culture can be traced back to various historical movements and
phenomena. One precursor is the concept of "calling out," which emerged during the Civil
Rights Movement here in the United States. Activists would publicly expose individuals or
institutions promoting racist or discriminatory beliefs or practices.


In the 2010s, cancel culture gained prominence with the widespread use of social media
platforms like Twitter, Instagram, and Facebook. These platforms provided a space for
individuals to voice their opinions and hold public figures accountable for their actions.


Cancel culture often involves public shaming, boycotting, and demanding accountability from
individuals or organizations. It operates on the principle that individuals or entities should face
consequences for their actions or statements that are considered offensive, harmful, or morally
objectionable.


While cancel culture has been credited with holding powerful figures accountable and bringing
attention to various social issues, it has also faced criticism for its potential to be excessive,
leading to the silencing of diverse perspectives or stifling of free speech. I have read arguments
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that it can create a toxic online environment driven by mob mentality and can result in
disproportionate consequences for individuals.


People like Harvey Weinstein deserved to be cancelled. He did abuse his power to get sexual
favors. Someone like that is disgusting and deserved the power this movement brought about.


I am 100% in support of this. Anyone who can use their power to demand sexual favors to
ensure success, should be cancelled. Anyone who can subjugate others just to get ahead
SHOULD be cancelled. Sadly, the majority of those using this power were middle aged white
men, as is often the case.


When the accusation that I was subjugating women, harassing them, hurting their careers for
my success came about, it sadly made all the sense on earth with the present conditions. The
hard part is, where were the double checks, the critical thinking, the verification of facts before
someone’s life gets cancelled? They existed in a twisted conversation, lies told by Neil and zero
verification of any facts. Their argument was that “because so many people said the same
thing, it must be true.”


Sadly, none of that existed. It was guilty because I said so, and innocence was impossible to
prove. Even trying was met with “sock puppet”, “woman hater”, “lover of rape” and many
other titles that are too horrific to mention here. If anyone not even related to me, asked a
critical question they were met with such hate, such abuse they often went silent to avoid the
mob’s wrath. When I realized that not even well-meaning people could defend me, and that
even true friends could not stand up to defend, is when I realized the true power of the mob
that Jeff created.


And it was at this moment I started to see the effect it had on my company.
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The Effect on Financial and Brand Revenue


Social-Engineer, LLC is not a mega-company. We are not backed by investors, and I boot
strapped everything I did. I worked hard to succeed and never took anything for granted. There
are many years, still present, that I am NOT the highest paid person in the company, even
though I am the CEO. I can live, I am happy, but I decided I wanted my people to feel valued so
if that means I make less, that is ok, as long as my family doesn’t suffer. To me, the success
barometer was not money, it was happiness.

One year we got approached to get bought by a huge group. They offered me MILLIONS of
personal dollars, that sounded amazing. But I asked two questions:

           1. Every year I take 3-4 weeks off with my family and travel in a foreign country and
               disconnect. Can I still do this if I say yes.
           2. My people are able to flex their schedules to fit their families needs, is that going
               to stay the same?

The answer that came back, “we will need to discuss this”… I walked away from millions of
dollars because the answer just plain ol’sucked. I am not sad. Freedom is worth more than
money. If I make 1 million dollars this year but I can’t spend it, who cares.

I walked away from that deal with no regrets.

The point to this is, we didn’t have an investor to fall back on, we were basically self-funded. So
when Jeff’s announcement started to affect our business, it hurt. It was the perfect attack. I was
the marketing too. I was the face. I was the voice. I was the sales pitch… and now, I was the
woman hating, abusive, pariah…. It sent Social-Engineer, LLC into a downward spiral that didn’t
make sense.

Companies would say to us, “I have worked with Chris, and I know he is safe, but we can’t deal
with the public backlash, our board says back away.”

Client after client ran the other way to self-preserve, to the tune of over 68% of lost business.
WOW. Even typing that out now doesn’t really make sense to me.
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I remember one incident where I was hired to give a speech, a very routine event for us,

I personally met with the team, we laughed, we bonded, it was perfect.

Everything was great, until they put on “Twitter/X” they hired me. The next day they contacted
us and said, “We are going a different direction, and we no longer need Chris.”

This happened so many times that eventually we decided if someone hired us for me we would
tell them, “hey this is gonna happen, if you can’t deal with it, don’t even hire chris.”

So many companies ran the other way out of fear, and I get it. What if I was a bad man? What if
I had hurt a woman? Do you want to be associated with this person?

I don’t.

They ran the other way, and it makes sense. I don’t judge them, I actually understand it. I might
have done the same. (I personally hope not, but I don’t know)

Understanding wasn’t paying the bills though. We were quickly losing revenue. By the end of
the first year of attack I lost 100% of my speaking business, 100% of my trainings were
cancelled, and as a whole the company lost 52% of its revenue. Things looked bleak for sure. I
started to panic and wonder how I could fix the sinking ship.

Team meetings turned to series of sad announcements creating waves of fear and anxiety for
all employees. By the middle of year two, we were still losing almost 100% of my speaking
business, my publishers told me they couldn’t sell another book from me till this was cleared, a
potential media show I was going to do with a mentor was paused, my conference had to be
cancelled, the business was down another 25%. On top of all this, Patrick, one of my good
friends and employees, his podcast and conference were cancelled all because of association
with me.

It became time to start laying people off. This was one of the hardest things I had to do, and I
didn’t want to even think about it. Month previous, I tried to save their jobs by not taking a
paycheck. But by month 11 of that, my savings was not looking too hot anymore. I had to make
the hard decision.
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We let two people good, it gave us a little reprieve, but sadly not enough. The controller was
telling me things like, “You will need to close in 60 days if you don’t find X funds”.

Both of my lines of credit were almost tapped out, when the final straw felt like it broke my
back. Patrick came to me and told me he had to quit. He couldn’t deal with the impending
closing date over his head. He is a single dad, and had to care for his family. I understood as
much as it hurt to see him go. It was only a couple weeks later that Ryan told me he was also
leaving. My heart literally broke. I sat in my office and cried. Ryan was and still is, one of my
closest friends. But more than that, we were the dynamic duo together. I would come up with
CRAZY ideas and he would make them come to life.

Who would be my implementor? Who would the one to balance me out? How would I run the
company without him? And the sad reality was that with both Patrick and Ryan leaving I had
the runway now to buy a couple months to fix the problem.

The brand was teetering, the company was held together by band-aids, but the remaining team
was still with me and we were communicating better than ever before. By the end of two and
half years, the company had lost over 60% of its revenue and my speaking career only saw a 2-
3% increase from the 0 it was at.

I often sat and pondered, “How could all of this happen because of one conference owner?
How much power does he have? Are the people who I viewed as some of the most critical
thinkers really such sheeple that they can’t even think for themselves and see this is a personal
vendetta and nothing to do with sexual assault?”

Yet at the same time, I could see how the narrative was so easy to follow, middle aged white
male, in a powerful position, with minor level celebrity status in his industry, with many
beautiful women working for him.

Chapter 3: The Anatomy of Cancel Culture

Let’s be honest, cancel culture needed to happen people like Harvey Weinstein was using his
power to rape women. Black people had and continue to be treated so poorly they have to
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have the “talk” with their sons on how to get pulled over and not get shot. Workplace questions
during interviews for women had such strong sexual or misogynistic overtones, it is cringe
worthy.

Cancel culture had to happen. But sadly it was also weaponized. And this is not the first time in
history, think about it. There was a time in society that if someone just accused another person
of being a witch, they would burn them alive, or drown them. Horrific forms of punishment just
because someone would make an accusation with no proof.

In today’s society in western culture, we don’t really use these forms of punishment anymore,
but cancel culture is just as harmful, when weaponized. Let’s take a moment to really look at
how this works and why it is such a devastating tool.

CANCEL POWER

For cancel culture to be successful as a weapon you need a few things in the equation.

A target with a plausible accusation + a community of people that will believe the accusation
and act on it + (most importantly) a person with cancel power = The Perfect Weaponization of
Cancel Culture

Let’s think about each of these parts of the equation.

A target with a plausible accusation: If they had said I ran around DEF CON punching people,
that would be easy to disprove. If Jeff clearly stated, “He sexually assaulted a DEF CON
attendee”, that would easy to disprove. But by making a vague statement that my errors were
“egregious”, actually so egregious it deserved a lifetime ban, then put my name on a list of
known and proven sex offenders (1 child molester and 3 sexual assaulters) it allowed the
accusation to be plausible. Additionally, I did have power, infosec celebrity status and access to
lots of beautiful people and people who looked to me for mentorship or a paycheck.
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A community of people who will believe and act on it: If the people with power and voice in the
community demanded real answers from Jeff, without naming names, just outlining what I
supposedly did, this could have all been over. Instead, the fans of DEF CON as well as those who
hated me were able to band together and unitedly present a death wall of attack that was so
effective, well you read above the results. The mob also controlled that narrative, as the few
who did ask the questions were quickly stalled or quieted.

A person with cancel power: The idea of cancel power is something I came up with in a
discussion with a good friend of mine, Dr. Lydia. I could go out into my living community and
spread rumors about a guy named Tom Johnson and some awful things I say he did. But 1) no
one knows who the heck Tom Johnson is and 2) my cancel power in this community doesn’t
exist. If anything, I would like a whiner, not a victim or protector.

Cancel power means the person who is doing the cancelling must have the power to do so in
the community they need to perform the cancelling. When looking at the threat actors here,
Maxie didn’t have cancel power. If she tried to broadcast her story, we could have easily
refuted and she would have been the one cancelled. Stephanie has zero cancel power, she and
her husband have been jealous haters for years. If they tried, they would have been labelled as
such. This is why for years these groups sat in their hotel rooms at conferences just talking bad
about me. They were powerless to actually take me down.

But Jeff, he has the community at his fingertips, so when the rest of them join him, they are all
give a transference of cancel power through him and through the DEF CON platform. In some
ways it’s like Twitter(X), using that platform to broadcast the accusations against me on an
account that has 1 user, who cares. No one will see it. But when DEF CON and the other folks
who all wanted to see me drown screamed it from the rooftop of Twitter, it spread the
accusations globally.

On this note, the cancel power that Jeff had was devastating, only after a few weeks of the
attacks, I had received violent threats, explicit phone calls, lost business and a damaged
nonprofit. I sent this email to him:
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I waited a few days and when I heard nothing in reply, I went back to Neil to beg him for help.
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The result of this text was the same, nothing. I was told Jeff had no interest in fixing or clarifying
his statement. I was left to the action of the mob and however they wanted to abuse me.

What I found amazingly ironic in all of this was Jeff’s own code of conduct that he claimed I
broke, states:




But what he was doing to me was exactly that, he launched a campaign of harassment against
me that most definitely made me feel “targeted”, “uncomfortable, unwelcome and afraid.”
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The intersection of insider threats and cancel culture

What I find particularly fascinating about my case is the way that an insider threat worked so
perfectly with the cancel power to create a literal perfect attack. I spend most of my days
either helping clients learn from human vulnerabilities to try and keep their companies safe.
This involves looking for and getting rid of insider threats. Or I am hunting some of the worst
predators on earth at my nonprofit, again many of them insider threats.

You would think a guy who spends that much time looking at, studying and defending against
insider threat should be less of an easy mark. For me I think this is one of the lessons, I spent so
much time blaming myself, and thinking I had failed my craft. But then my good friend and
mentor Joe Navarro said something to me, well he actually asked me, “Are you human Chris?”

The answer is obvious, “yes.”

“So stop beating yourself up, you are human and fell for a human attack. Its ok.”

Those words were like a millstone around my neck. It was heavy, it hurt, and at first it dragged
me down. I wanted to blame myself, but he was right. I was just human, I trusted someone who
I thought had good intentions. I trusted someone who I thought was honest. I trust someone
who gave me all the cues of being good.

Insider threat is a very interesting concept. In the sense that insider threat that is not created
due to environmental issues, but someone who is just malicious, like what happened to me.
This person just wants to destroy for the purpose of destroying. In all my work, insider threats
like this can be truly devastating, but when you blend it with someone with true cancel power,
you have a superhero level of strength to truly create destruction in the path.

In chapter one I outlined the different kinds of insider threat, but I want to focus on just one for
this section. The malicious insider.

To recap:
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Malicious Insiders: These are individuals who intentionally harm the organization through
theft, sabotage, espionage, or fraud. They might steal proprietary information, intentionally
leak sensitive data, or sabotage organizational systems. Their motivations can vary from
financial gain to personal grievances against the organization.

Fortunately for our company, I had Ryan. He instituted such strong policies that this kind of
threat was not fully empowered to completely destroy us. Once we locked the laptop, had the
data wiped, and recovered the backups to see what she was up to – we had a full picture of
what was going on. She hired a lawyer to try and sue us, but he walked away from the case. All
we knew is he said, “I no longer represent Ms. Reynolds” and that was it.

Left with a ton of anger, the desire to destroy and no power the logically step is to seek out
those who want and can destroy. What I found out through this process, is she reached out to
those who she knew were enemies. An ex-employee, Cat, who tried to steal our product, then
went to work for a client breaking her employee contract. Stephanie, a known and sworn
enemy, who hated me because we banned her husband from the SEVillage for being an
unapologetic unethical person. As well as others who had something to profit from my demise.

How do I know this to be true? Again, I have two people who told me they were contacted and
offered attractive things if they sided with them, they both called me and reported to me. I
guess two out of 9 isn’t bad (insert sarcasm).

Once armed with a mob who has motive, intent and power, they took their “pleas for help” to
Jeff. When I was first contacted in August 2021 about this, I never in a million years would have
imagined that this would turn into what it is right now. Afterall, I made Jeff a LOT of money.
Between Black Hat and DEF CON, I raked in a lot of money for him and his organizations. So
even if I wasn’t his favorite person, I figured we had that. Plus, I ran a village at DEF CON for
close to a decade and a half that, as he said, “Didn’t need any policing because of well we ran
it.” I figured this would fizzle out.
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I reached out to him via text and Twitter DM, the way we normally communicated. Starting in
August till about November of 2021 every opportunity I asked to jump on a call he was either
busy, in a flight, in Singapore so the time zones where terrible and he never had time to discuss.

At this point, I knew it was Maxie and the people she collected, and knew she was saying things
about how I was a terrible, subjugating white male that treated women bad, but I didn’t know
the exact accusations.

On January 12, 2022 myself and my two COO’s (SECOM and ILF) meant with a team of three
people from the organization that runs Black Hat to go over accusations they were given.
Finally, I would get answers, or so I thought.

We get into the meeting with them and here are the four accusations I was given:

           1. There is a written email somewhere that shows I discriminated against black
               people.
               FACTS: No one could produce this email, mainly because it doesn’t exist. I asked
               Steve from Black Hat, how does one prove a negative? How can I prove I am not
               racist? Is saying, “I have black friends” mean I am not racist? No, so if you cannot
               produce the email, then this is a rumor and something that should be ignored.


           2. I discriminated against a trans or nonbinary person at Black Hat and DEF CON.
               FACTS: Also untrue. In the rules to my competition, I had a sentence that said,
               “Must be male or female of the human race.” This is now going back 2014,
               someone Tweets at me and says, “What if I don’t identify as either.” Now full
               disclosure, I had no clue there are people who do not identify as male or female.
               I am a product of the 70’s and don’t really spend time as a happily married man
               listening to the news or present culture. I know, it’s a poor excuse, but it is the
               facts. My response was something like, “Drop your pants and tell me what you
               see” with a smiley face. Well that went over like a lead balloon. Jeff gets a hold
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       of me and explains to me what nonbinary is, tells me to fix it or I am getting
       dropped. IMMEDIATELY I went to Twitter and explain it was ignorance not
       malice. I directly mentioned the person I offended and invited them to come as
       my guest to DEF CON and I would apologize to them face to face as an Internet
       apology was not sufficient. We did that, and it was smoothed over.


    3. I discriminated against a blind person at Black Hat.
       FACTS: I had a visually impaired person who asked to come to my class in Bristol
       UK, not Black Hat, he asked if I would have the book produced in Braile, I got the
       cost and it was well over $1500, so I told him if he wanted to pay for it he could
       but I strongly suggested the class was not good as we focused a lot on
       nonverbals. But he was determined. He came to the class, and as expected he
       hated it. He told me he hated it, so I gave him a full refund. He then went and
       wrote a scathing review on the Internet about how horrible I was. We found out
       through some folks at HOPE, that this was his MO. He not only used his
       impairment to get free things but also was kicked out a conference for groping
       women saying he didn’t see what he was grabbing. There was no discrimination
       just a bad review.


       I also asked them to think back to the 17 years I had trained for Black Hat, in all
       17 years has any person of any color, any sexual preference, any identification,
       or disability ever filed a complaint against me, and the answer was no. We had
       one complaint in all the years and that was from someone who was NOT a
       student, who overheard one of homework assignments and took offense. Never
       related to discrimination or hatred.
    4. At a Black Hat class I joked that Maxie only got her job because she was
       beautiful.
       FACTS: During COVID Maxie and I taught the class together at Black Hat, and she
       made that joke about herself. The end of class, I told her that was inappropriate
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                and said the next day she had to fix it, which she did apologize to the class and
                correct herself.

After explaining all of this, I thought, there is no way Black Hat would kick me out. These
accusations are ridiculous, easy to disprove, completely illogical and easy to show how they
were fabricated or blown out of proportion.

I was angry, because I figured if this is what Jeff had he knew most of these stories, why was he
unwilling to meet?

I was so angry that on Jan 16, 2022 I wrote this email to him:




That image is hard to read so here is the email text:

“With your time zone difference, it seems like meeting is going to be very difficult. I was able to get a
meeting with Steve, Steve and Sarah from Black Hat, and I assume these ridiculous accusations are the
same.

So I can answer for each here and then if we need to talk we can try to get a time that works. The next
few weeks I have some training classes that will make 4 out of 5 days really hard for a few weeks.

Accusation 1: There is a written email where I discriminated against a black person, at Black Hat, not def
con. This is 100% false and ridiculous. You have known me for over 15 years and in all that time I have
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never ever been accused of racism. We have had people of every gender, ethnicity, race and religion at
SEV and at my BH classes. My BH classes are generally filled with more nonwhite folks than white folks.
When I asked if this supposed email was produced, of course it was not.

Accusation 2: I discriminated against a trans person at Black Hat and DEF CON. This is also not true. But
Jeff you are aware of the situation they are referencing and it was over 8 years ago. When the rules of
SECTF used to say “Must be male or female of the human race” and someone took offense to it. It was
quickly fixed. I apologized publicly for being calloused, and I invited the one person was offended
personally by me as my guest to DEF CON. We hugged it out and it has NEVER been brought up again, in
8 freaking years.

Accusation 3: I discriminated against a blind person at BLACK HAT. This is also false. We had a blind
person who was very angry at a class in the UK, I did not have my book translated to braile. He asked if I
would and I got the cost and it was thousands of dollars so I told him if he would like it he could pay for
it and I would allow it. He came to the class, sat through all 5 days, did all the homework, passed the
class and then wrote a scathing review how much he didn't get out of it since he was blind. We
refunded 100% of his money and he went on his way. This was over 6 years ago and has nothing to do
with BH or DC.

Accusation 4: At a BH class, not DC, I said that an employee only got the job she had due to her being
beautiful. This is an outright lie. Maxie is the one who made that joke, Ryan can attest to this because
we spoke to her after class and I said that the community was sensitive and asked to fix her statement,
which she did the next day.

Here is the bottom line. Maxie doesn’t work here because she stole from us, lied about her dad dying,
took 3 months paid leave and then stole content from SECOM and ILF. Upon doing so we locked her
work computer and made sure any contracts she tried to take from us were squashed. She then reached
out to Cat Murdock who quit 3 years ago and immediately tried to sell some of our services as her own,
then went to work for a competitor and then went to work for our client. We never sued either of
them.

They reached out to Stephanie Carruthers. Who won a black badge at my contest, then overnight
became a competitor and then became a hater because we had to remove JC (her husband) from the
competition. He called and broke our code of ethics and threated to fire someone acting as the boss.
We called her back, told her it was a prank, apologized and then removed him from stage. To get back
at us for the embarrassment he took a young man under his wing and trained him to do the same thing
the next year. When we found out we banned him and his entourage from SEV forever.

Stephanie then decided to write a competitive SE class which somehow got into BH and she tried to
duplicate our homework idea but had students committing fraud, we reported her to BH and unlike all
these people we did NOT do so anonymously.

Since then they have been a path to try and take me down. Maxie as ringleader is now having backing
from Cat and Stephanie, but I truly doubt there is 15 others. Maybe 4-5.

If you want 3rd party verification of this, this group has reached out to a number of people – Patrick
Laverty from Layer8 and asked him to side with them to take me down. Also Alethe Denis, and they
offered her a spot on a tv show in exchange for taking me out.
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So if you want to investigate code of conduct violations you should be strongly looking at that group.
Lying, fabricating stories and trying to create a coup for what?

We are not angry, we are disappointed. And we will make it easy on you. We are going to leave DEF CON
and take SEVillage to another conference this year. It truly saddens me that knowing me for 15 years+
you guys couldn’t see through this. Funny all these accusations are years old but they only come up 1
month after Maxie is fired?

For those years I ran a village that was ethical and moral. I had no porn, no cursing and you yourself
even said that we were one village that rarely needed goons. I helped start DEF CON KIDS, and had the
first kids event at def con, was the first and only contest to get a Black Badge in my first year, and helped
start over 12 careers – all with little to no support or help.

These accusations are ludicris. Again, I am not upset, just really sad it is going the way it is.

I hope you are well and healthy. I would truly avoid giving whatever name you will call this village to
stephanie, trust me Jeff. She is terrible, unethical and a liar. You, of course have to make the decisions in
the end but I hope as far back as we go you will trust me to help you pick a successor. “

This email received absolutely no response. At all. Till Jan 26, 2022 Jeff DM’ed me:




I replied, as you can imagine, quite angry:
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These DM’s were never replied to.

On Feb 9, 2022 I received an email from Jeff saying that I was not being invited back to DEF CON
and he then admitted in email, even though the accusations did not happen at DEF CON he is
using activities outside of the convention space in making his decisions…

“Chris,

As a Village organizer at DEF CON you and your village are accountable to our Code of Conduct, and we
expect organizers to act as an example of acceptable behavior in the community. Because of this, we
consider activities outside of the convention space when deciding who we want to associate with,
support, and promote.”
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Lets just pause for a moment and reflect on that. A conference is now saying they will review what
people do outside their 4-walls when deciding who is allowed? They are now the judge, jury and
executioner of peoples lives, businesses and relationships? Bold move.

On Feb 10, 2022 I received an email from Black Hat saying I was not only being removed from
the advisory board but also was not being invited back to train.

WHAT?

I was confused, but not nearly as shocked when the very next morning DEF CON posted the
statement, I showed you in earlier chapters.

“We received multiple CoC violation reports about a DEF CON Village leader, Chris Hadnagy of
the SE Village. After conversations with the reporting parties and Chris, we are confident the
severity of the transgressions merits a lifetime ban from DEF CON.”

This was the beginning of a very dark end for me and Social-Engineer, LLC and The Innocent
Lives Foundation.

Chapter 4: The Aftermath

My good friend Kevin Mitnick, when in prison spent eight and half months out of his five years
in prison in solitary confinement. When we would talk about that, I often would say, “I have no
clue how you did that for 8.5 months.” To me it seems like even a couple days would be torture,
but 8.5 months?

Never did I imagine I would experience something similar.

People I looked up and thought were my closest friends treated me like a pariah. People who I
helped form their careers abandoned me. I was getting harassing phone calls filled with violent
threats, and cursing, I was being called a rapist, a sexual predator, the “Harvey Weinstein of
Infosec”, a child molester, a thief, liar, abuser of women, as well as many other things.

The daily barrage was overwhelming. I quickly did two things.
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              1. I hired a Crisis PR consultant.
              2. I hired a Diversity, Ethics and Inclusivity consulting company to come and do a
                 thorough investigation of my company to see if they could see a problem with
                 me or the company I didn’t see.

The Crisis PR consultant was the worst of my ideas. He didn’t understand the InfoSec
community. Normally I would have done what I did in the past, apologized for anything I did
wrong and put the whole story out there. But his advice was to stay silent, say nothing, not to
fight back.

The DEI Consultant was a great hire. They went through both SECOM and ILF and came back
with a few conclusions, “Everyone loves their jobs and sometimes Chris can be really hard to
work for. Sometimes Chris doesn’t listen to complaints. He can be harsh when he is angry.”

It was great, it was true and fair. And uncovered no sexual harassment, no abuse of power,
nothing that would merit the hate I was getting. Yet employees were stressed and quitting, ILF
volunteers were leaving, board members were quitting,

As the month’s past, and as I saw clients quitting us, potential contracts that would literally run
the other way and any speech I had was cancelled I became something I didn’t know I could
ever become, afraid. I crawled into a depressive shell. I locked myself in professional solitary
confinement prison and fear was my prison guard. Every time my name was mentioned in a
post, names like “rapist”, “sexual predator” or others would be thrown out and I would get
cancelled from an event or speech. I was asked by the president of B-Sides to avoid all
conferences of theirs till my name was cleared. As I mentioned before, my publishers wouldn’t
take another book from me due to the attacks.

I felt myself slipping into a deep depression. There are some things I want to say here that are
very hard to admit. And will truly not be flattering for me, but I think in the end they will help
anyone dealing with this.
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I was part of a fitness club that was very tied into my industry, when this happened, I noticed I
became less important and less cared for in the group. This made me doubt my worth, I literally
thought to myself, “if my community and even my trainer think I suck maybe I do.”

I started to rely on alcohol as a solution. It felt like if I could just drink enough, I didn’t worry at
night. And it turned into a habit. I convinced myself that I could sleep better if I drank myself
into forgetfulness. I wasn’t getting drunk, I was just relying on it to deaden the feelings of
despair.

Eventually, I stopped caring about check ins with my trainer, but the crazy part is, he didn’t care
either. Where there would be constant calls or pings when I missed, it just didn’t matter
anymore. I would miss for a week or two and hear nothing from him, but he would be all over
me when it was time to pay. This fed the delusion that I was terrible and awful and not worth
the effort.

For the first time in two years my training slipped. I felt myself giving up. I literally thought to
myself that all the effort I had put in was wasted. It was around this time a picture my daughter
made for me, which was me 2 years prior and me then next to each other popped up. When I
saw that, I said, “I never want to be fat Chris again.”

I remember my trainer talking about a person he looked up to. I reached out to him, Helmi. I
also reached out to a woman I have been following on IG that was offering coaching. I said to
myself, “whomever answers first and gives me the best answers I will go with.” Sadly, that
woman never answered. And I tried like 5 times. But Helmi answered. I told him my struggles
and I was honest how I found him. He said to me, “I am on a different path than X, so you just
need to decide if you can trust me.”

I didn’t know. I was so hurt, I was so raw and emotional, I needed help. But I knew I didn’t want
to give up. I said to him, “Listen, I need a trainer who cares about me, who wants to invest in
me, as a person… I don’t know if that is you, but I hope it is.”
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Helmi Dneni has been the best move I have ever made in my fitness journey. This man is half
my age, with maybe three times the wisdom. He is just amazing. He has EQ out of this world, he
has a true understanding of human nature, and he really does want to help. I feel like I got lucky
meeting him.

I know I am jumping all over but in the 1.5 years I have worked with him so far I have:


       Been severely depressed.
       Abused alcohol.
       My wife got breast cancer
       I was sleeping 2 hours a night
       My diet went to hell
       I have ignored all the advice he gave me
       I have listened to all the advice he gave me
       I have grown and lost in the same month.


Yet every month Helmi just talks to me like a true man, empathizes, deals with my loses and my
wins and truly has my best intentions in his heart. With out him I don’t know if I would be alive.

Wayne would check on me sometimes daily to just make sure I was ok.

Nick was constantly making sure I was breathing and alive.

Between those three men and my therapist, Natasha, who I lovingly call Dr. Molotov, I am alive
and well. Natasha earned that nickname because in many sessions we would go the full hour
and at minute 58 she would say, “let me ask you this…..” then she would propose a thought or
question that was so profound it was as if she walked up, dropped a Molotov cocktail in my lap
and walked away.

She got the loving nickname, Dr. Molotov. But it fits.
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During the attacks I found myself not able to deal with the intense emotions of guilt, shame,
anger, anxiety. I felt so weak. But eventually I had a friend say to me, “Have you asked your
therapist about medication?”

Quickly I retorted, “I don’t need medication! I have had been a horrible childhood and never
needed medication, I don’t need it now!”

She was right, I needed it. I spoke to Natasha after a few more weeks of suffering and lack of
sleep and a couple really bad panic attacks. I was put on Prozac. With in 3 weeks, I couldn’t
believe the difference mentally, but it affected me sexually. I just could not climax. Which of
course made my wife feel like she was failing. This was giving me more anxiety, more panic. I
didn’t want to fail her; she IS the best thing in my life.

The doc then prescribed me Wellbutrin, which I guess together combat this. So here I am, a
person who never had to use medication to exist through years of abuse, now on two major
anti-depressants just to get through a day. I am going to be truly honest here, I felt like a
complete failure. Even though they were helping, I was not sure I was a “real man” because I
had to rely on these things to think, be happy and function physically/sexually.

Thankfully Natasha was there for me during this time, my wonderful wife was there for me, my
friend who recommended the meds, and Helmi was there for me.

Between Dr. Molotov and Helmi I felt hope, I could make it. Some months, I didn’t know how,
but I felt like, “Ok Chris just do what they say, and you will live.”

REFLECTION

When I sit back and look at the last few years of my life, I asked one question that just doesn’t
seem to have an answer…..
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How can two sentences from Jeff Moss cost me close to $10 million dollars as well as my
reputation and my mental health? How can his two shallow, meaningless sentences lead to
death threats, lead to loss business, loss reputation, loss of name and worth?

I don’t know if I have the answer beyond what I said in previous chapters, Jeff has Cancel
Power. He is popular enough that his opinion means something in the world, and if he says I am
awful, then well, “I must be awful…”

I remember at the very beginning of the attacks; I called a family meeting. Now understand, my
son was 30 and my daughter was 18, not little kids. I wanted to tell them what was going on
and give them a chance to ask me questions in case they had doubts. My son, who has rarely
showed strong emotion, started crying. To this day I can’t even type that sentence without
choking up. He was so angry, so upset he couldn’t deal with it.

My daughter, who sadly, is much like me, wanted revenge. She wanted to attack all these
people. She was asking, “but we ate dinner with this one, how could she say this?” and “She
was at our house and called you her fill in dad, how could she say this?” It was brutal. I tried so
hard to just answer their questions as I could and comfort them, but inside I have to admit, I
was filled with hate and rage. The man that could cause my family to feel this way, I wanted
him to suffer.

Somewhere deep inside me, I knew I had the ability. I was the world’s best social engineer.
That may sound arrogant, but I was, I understood this better than anyone, and I could locate
him, find him and make him suffer. I felt this righteous vindication to make it reality, when I had
my weekly session with Natasha. We made it weekly because I was not good mentally and she
wanted to make sure I was ok.

I told her I wanted him to suffer, I wanted him to feel the pain I felt. In normal Natasha fashion,
she just listened then she calmly asked me, “How does that fit the moral structure you have
built for who you are?”
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Screw you, doc. That is what I was thinking, SCREW YOU. I do not want you to talk reason into
me, can’t you just for once say, “yes go do this thing, your family deserves vengeance!”?

But no, her question followed by silence that was like a 200lb dumbbell on my chest, just sat
there. She looked at me, as if we were going to battle who would answer first. I knew I wouldn’t
win… so I might have eeked out the answer, “I know what you mean, but he deserves it, he is a
piece of crap.”

She said something like, “That may be true, but does lowering yourself to his standards fit the
person you want to be?”

She might as well be delivering Bruce Lee’s famous 1 inch punch to my sternum, my breath was
gone… she was right. NO, I DON’T WANT HER TO BE RIGHT. But she was. I built my career
around being honest. She knew this.

One day, one of our clients a large organization with 70,000 employees, who we were
conducting monthly phishing campaigns for, had an issue. The email sent was causing some real-
world problems. Upon investigation, it was my employee that made a mistake, and the issue
was our fault. I called an emergency meeting and asked, “what happened and what do we do?”

The answers that came back, which made sense, were very honest but also involved us
lessening the blame on us, and not being fully honest. As I listened to each person talk, I didn’t
feel comfortable with what I heard. But this client represented hundreds of thousands of dollars
a year.

When we were done, I said to the team, “Ok guys, thank you for all your input, but here is what
we will do. I will own the mistake to them and tell them what we did was wrong. I will offer
them a free month of service to make up for the month we messed up, and if we get fired it is
what it is, but at least we were honest and can say we never lied.”
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That client meeting, I was so nervous I could have vomited. But as the words came out, I felt
confident, assured, and ready. When I was done, there was a dead silence. I thought to myself,
“this is it, ok ‘Chris no matter what they say just take it’!”

I shut up and let the silence sit. Eventually the lead POC said, “I don’t think we have ever had a
vendor own up to a mistake like this, why would you do this?”

“Our motto here is to leave everyone better for having met us, and we messed up, so we will
own that and hope you will let us make it better.”

They are still a client today. We made the right choice, and Natasha was reminding me of that.
She was telling me that if I abandoned my moral structure now, I would change all the good
decisions I made in the past when it was really hard.

She was 1000000% correct. Still, it was hard to try and swallow the pain of my family watching
me being called all these things I was not. I don’t think we ever experienced this level of
injustice, and it was at this moment I started to feel intense guilt.

GUILT TO THE RESCUE

That may sound odd, but at this moment I started to feel like a faker and an imposter. As a
middle-aged white male who had an easy life, I was finally feeling injustice at a scale that I
never thought possible. The anger, the resentment, the total disbelief was something that
drove me to depression, over drinking, sleepless nights and turmoil… but all I could think is,
“how many black people, women, or others of color have felt this for decades or longer, why
am I special?”

That guilt plagued me and made me bury my feelings deep, convincing myself that maybe my
suffering would offer reparations to those disenfranchised in the past. The pain did not abate
the guilt, sadly, I almost wish it did, but it didn’t. But it did help me with empathy, I began to
understand the intense anger that eventually led to more realistic understanding for all my
black friends.
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I remember once in Pennsylvania, one of my closest friends came from Maryland to help me
with some plumbing. He was a very skilled, young, plumber, who happened to be black. We
needed some parts, so we went to a store. As we walked in, I felt some weird vibes, but didn’t
understand. We walked up to the counter and the man came and looked right at me and said,
“how can I help you?”

I replied, “Oh I am not the talent, he is the plumber…”

Without breaking a sweat the man said, “Have your BOY tell you what he needs, and you tell
me…”

MY BOY?? MY BOY??? My mind went into rage. I was ready to jump over the counter and
pound his face, I think Josh saw my anger and clenched fists, but he grabbed my arm and said,
“we need x, y and z just get those parts”… I said, “We won’t buy a damn thing from this dick!”

He said, “Chris, nothing is open, if we don’t then you don’t have heat, just get it, its ok.”

As I felt like Judas as I ordered those parts, vowing to never go back there again. (PS I never did)

When we walked out, I said, “How can you just accept that? Why don’t you fight?”

I realize now how terrible my line of questioning was, but he looked at me and said, “What will
it do? I fight, you don’t get your parts and I go to prison or maybe shot.”

That answer hit me like a Mike Tyson punch. I hated it. I wanted to hurt everyone. “This can’t be
the answer to society, can it?” I thought to myself.

Now, years later I am facing injustice and realizing what Josh had to deal with, and why he
chose the path he chose. Not so empowered, I took the same path as him. If you’re reading this,
Thank you Josh for teaching me that lesson, even if it is painful to admit due to my “whiteness”.
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Guilt seemed to be the order of the day, everything I did was ruled by guilt. It was not healthy,
and I knew it, but wouldn’t admit it. Natasha saw it and tried to help me, but I fought her. She
talked to me about something called, Adaptive Child Response (ACR).

ACR is the response you learn as a child to make you feel safe in a stress or trauma
circumstance, and it can become habit. Mine was “save/rescue”. This is a story for another
time, but it from a very traumatic episode in my teen years. The resultant was that I was now,
in the height of my worst time of life “mentoring, helping and teaching” the most amount of
people I have ever taken on in my whole career. While working about 12 hours a day for
SECOM, 4-6 for ILF, 1+ hour in the gym, and saying “yes” to everyone. I was leaving about 3-4
hours a night for sleep.

It seemed if someone reached out and asked for help, I said “yes” without even thinking. I
found myself spending 5, 10, 15 hours a week helping folks and mentoring people with career
choices or education choices.

It was a way I was trying to make myself feel useful, and worth something. Even though
Nastaha kept telling me it was not real, I had the hardest time seeing it, I needed this to help
me feel whole.

Then about year two and a half, my wife is diagnosed with breast cancer. I honestly sat in my
house and broke. How much more could we take? I had to be strong for her, for my kids, but
alone I just sat there and started to drink my pain away, maybe getting 3-4 hours of horrible
sleep a night. But my wife, how could I do this without her? Will she make it? Will she be ok?
She was scared, I was scared, we didn’t know what to do or how to manage it, neither of us
have ever been sick.

There was not a future with out Areesa in my mind. She was my world, my universe, my
everything. Thinking that this could be the end of our life together crushed my desire to live and
fight. But at the same time, I had to be strong for my kids and for her. So I buried the pain, I
buried the anxiety and told myself I didn’t matter.
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This was not healthy, of course, and lead to a path of some more serious gaps in self-care. In
addition, it was at this time we started to get documents from the opposing counsel that helped
me see the things they thought I was guilty of, and that was truly disturbing.

There was so many misrepresentations, so many lies, so many outright false statements, I was
appalled and shocked. But again it was their word against mine. I asked my lawyers desperately,
“How can they state this when it is a blatant lie?”

They calmly told me, “They can state anything so it is up to prove them wrong.”

My first glimpse into how biased and disgusting our justice system is. There is no punishment
for them stating completely bogus garbage, it is up to me to prove they said things that are
untrue. My lawyers were unwilling to play “dirty” so they did want to do the same thing that
Jeff and his lawyers would do. In the end, I appreciated that, but at the time, I will admit, I
wanted him to suffer like I was.

It was time I sat back and started to reflect, or I was going to get stuck in an endless loop of pain
and suffering.

REFLECTION

I won’t lie, I had so many people I trusted and loved, tell me I was awful there were many days I
started to think, “Maybe you are just a terrible person, Chris, and you are lying to yourself.”

I had people who helped me start SECOM, who helped my career, who changed my life, who
saved my physical health – all of them turned and treated me like a garbage – so I started to
think, “maybe you are not the man you think, and you deserve this to an extent.”

I have to admit, this was the hardest. I had some amazing friends I can mention – Wayne, Matt,
Nick, Layne, Domini – there are more but they were telling me to not listen to these haters. But
it was so hard to ignore what I felt.

The hardest thing for me was the feeling that I needed redemption.
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noun

noun: redemption; plural noun: redemptions

             1. the action of saving or being saved from sin, error, or evil.
             2. the action of regaining or gaining possession of something in exchange for payment, or
                 clearing a debt.

Ahhhh redemption… I wanted to be saved from this, I wanted to feel I was clearing any debt,
even though I knew I had no debt here. Why was I expecting to clear I debt I didn’t have?

Sigh – the human brain and guilt/shame was such an amazing thing.

It was about this time, a good friend of mine, Dr. Abbie Marono gave a TedX talk about shame
and guilt. Her talk, maybe had one of the most profound effects on me. I knew the story, but
this speech rocked my world.

https://youtu.be/ptvCTuct4GE?si=HQsCVUjJ4PXcrI_L

She sent me the speech to watch, as I watched it, I broke down in tears. I would never tell her
this, she will read this now and know, but her speech rocked my soul. I felt shame, guilt, and
such sadness. Her speech helped me reconnect with …. ME.

It helped me see that I am not the sum of my “accomplishments” but I am just a person that did
these things, some are good, some are not, but its ok. Dr. Abbie, at 25 years old, taught me
lessons I needed to hear as a 50-year-old man. (PS thank you Dr. Abbie)

I tried to hide my emotion, but her speech hit me to the core. We did not experience the same
trauma, but we experienced the same feelings. How is this possible? I don’t know but I will just
accept it.

I am the man that wrote a book about the psychology of phishing. I am the man that created
the social engineering framework. I am the man that made the first social engineering podcast
and newsletter. I wrote five books on this topic and now am a professor of social engineering at
an NSA school of excellence… how could I be the victim of this? No, it is not possible! (right?)
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Between her, my family, friends and Natasha, I said it was time to start healing. My wife and my
family needed me. This is when I decided I needed to start listing the lessons I have learned
from this experience so I can help others.

Chapter 5: Lessons Learned

One of the things I learned from my mentor, Dr. Paul Ekman, was that when you fail, use it to
learn. Even if that failure is not your fault, look at what you could learn from it. This reminded
me of a really good friend I had when I was younger, Tom McIntosh, he was a famous jazz
musician. One of the world’s best, and he was one of the humblest men I ever met. I asked him
once, “How did you become one of the world’s greatest?”

His answer is something that stuck with me forever, “Ever person I met I asked them for a
lesson, to teach me something they learned.”
I retorted, “But Tom what if they are worse that you, not as talented?”

He said quickly, “Then I learned what NOT to do, and I still thanked them.”

WOW, my tiny little mind was blown.

When Dr. Ekman said those words to me, it reminded me of Tom. Ok so how can I apply this all
right now in my life?

I want to break down these learning lessons into three categories. Lessons I learned from
having a true insider threat, lessons I learned from being cancelled, and finally why your culture
is so important (company, family, friends)

Lessons I learned from have a true insider threat

I feel like this experience has given me a unique opportunity to understand insider threats and
how they affect us mentally, physically and from a business perspective. I want to talk about
this and define it to help those dealing with it.
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When I first realized that someone I trusted, someone I cared for and someone I called a friend
was able to look me in the face and lie, steal and cheat I felt a lot of embarrassment and shame.
I did a lot of self-blaming and self-doubt.

I guess this where I can reflect on my first lesson, those feelings of shame and self-doubt held
me back from seeking the help I needed at that time. I needed support, I needed to tell people I
was weak, scared, hurt, and I didn’t. By blaming myself for not seeing her, not catching her, not
noticing the signs, I was in essence saying “Chris, you deserved what you got.”

No one deserves this, so that lesson hit hard with me and took longer than I want to admit, to
accept. It was NOT my fault. I did not deserve this. I did not blindly or stupidly “allow” myself to
become a victim.

At the same time, I did make a few dumb decisions. Soon as she quit, I should have locked the
laptop and enforced her sending it back. But I allowed what I thought was a friendship of trust,
to make a bad business decision. If she had leaked client data or stole information from clients,
I would be facing a breach lawsuit. The lesson here, even if they are your best friend, you have
to follow the process and procedures to keep yourself safe.

The legal system is there for a reason, and when I found out that she illegally used a picture
from The Innocent Lives Foundation and she was trying to divert clients away from us, and took
a paycheck under false pretenses, I should have sued her. If I had taken her to court, we would
have won, and any claims she made could have been squashed due that. The same with the
woman before Maxie, Cat, who tried to steal our product SERA and sell it as her own. We sent a
cease and desist letter, but she broke her employment contract by doing that and by going to
work for a competitor and then a client. I should have used the law to set these people straight,
a lawsuit would have given me the proof I needed to shut them down quickly.

And I think a really big lesson I learned, is when all of this was going down, I should have taken a
break from social media, blocked her, and stopped following her. By allowing her to still be in
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my mind, and renting space in my life, I gave her an avenue to continually hurt me, my wife and
my family.

We also had an employee that continued to communicate with her, even as these attacks were
going on, I should have fired him on the spot. Instead, I thought he could be convinced and
“saved”. The negativity he brought to the team was extreme.

These are just some of the lessons that I think are important from insider threat, which leads
me to the part where I was cancelled.

Lessons from being cancelled

I am going to make an assumption that if you are reading this you understand that what I am
talking about is someone is unjustly cancelled, like I was. If the person who was cancelled,
deserved it because he or she did assault, hurt, fraud, etc someone else, I have no advice for
except to own up to it and try to make reparations.

If you were unjustly cancelled, I think some of the lessons I learned can really help you.

To Speak or not to speak. With in the day of my cancelling I hired a crisis PR person. His advice
was to issue a legal statement that said, “I did nothing wrong, no further statement.” And then
sit back and shut up, say nothing. Herein lies my biggest lesson, do NOT stay silent. If you have
truly done nothing wrong, then force your accusers to prove the allegations, stand up for
yourself, put out all the details you have known. Do it respectfully, calmly and with
provocation. You don’t need to resort to name calling or immature acts, even if your attackers
are, really. State the facts, stay respectful and work to clear your name. I can’t express enough
how you have to stay calm and respectful, or it feeds the narrative.

Get rid of toxic people fast. Sadly, there were many with in my work and community circles,
that even having known me for years and having spent countless hours with me started to fall
into the narrative that I was a bad person. I had two problems, one, I thought I could keep those
people and convince them they know me and remember the person they know. I spent so
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much mental energy trying to fix something that was only broken because of them, it
exhausted me. Second, I was acting in fear mode. If I let people go, or exited volunteers from
my nonprofit, would they join the hate group? I convinced myself and let me COO’s convince
me that it was best to not part ways with those people.

Let me tell you, the lesson I can see now, that was the wrong move. As year one, turned to year
two, to year three and we slowly weeded out those people, the resultant was my company was
happy, my nonprofit was happy, and the culture returned. Instead of fighting every day in and
out, we were focused on what was important, our missions. If I could go back I would tell
myself, “Just part ways with them friendly, but fast.” Seeing the affect, it has on me and my
people mentally once we did part ways, convinced me, I should have done that much sooner.

Social Media. I spent countless hours not just reading the things being said about me, but re-
reading them over and over and over. It got to the point that it was in my dreams. Every time
someone I thought was a friend spewed hatred it was like another strike of the whip. There was
some things I had to do to collect the evidence we would need for the lawsuit, but I spent too
much time reading all of it. At one point someone actually told me to committ suicide and live
stream it so the community could watch it. The same people that would stand in line for hours
to get into my DEF CON village now wanted to watch me hang myself on live stream. Spending
so many hours every night, with a drink in hand, reading these comments was one of the worst
things I could have done to my mental health.

Draw your family/friend group closer. I fell into the trap of isolating myself and I almost had
myself convinced that NO ONE could support or love me anymore, I was truly a pariah. But the
facts are I had some amazing people in my corner. My amazing wife, Areesa and my kids, my
local group of friends we call “the family”, Layne, Joy, Dave and Allie, my ILF Core Team,
Michael, Tim, Ryan, Patrick, the team left here at SECOM, Devan, Lydia, Mark, Mary, Neil,
Kimberly, Kevin, Tim, Jess, Jessica, Chris, Ali, Stephanie, Kathie, Helmi, Erin, Pablo, Rachel,
Domini, Matt C, Robert, Jamison, Bjorn, Daniel, Dylan, Doug, Natasha, Natasja, Nick, Claire and
Wayne. This list is probably not all of the people. But here is how I qualified them on this list,
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they never let me stop remembering who I was, my morals, my ethics and that I was loved. I
want to single out two people to just tell you how important it was to draw closer to this group.
Nick, he has been my brother through thick and thin for many years. He never let me slip into
that old demon of self-hatred.

Wayne, I met Wayne at the very start of the DEF CON village. Wayne and I became friends
instantly and we stayed friends. Wayne came every year to hang out with me all the way from
Australia. Wayne and I stuck it out when he almost died from a medical problem, when many of
his friends left. And when I was going through this, he flew over to come to my house and he
never let me talk bad about myself. Wayne reminded me why I do what I do, so my lesson –
find your Wayne or your Nick and do not reject them, draw them closer.

Get a therapist. I do not view therapy as a sign of weakness. I have been seeing a therapist since
I was 15 (thanks Mom and Dad) and I won’t stop. You need a safe place to get your feelings out
and a person who cares for you mentally to give good coping mechanisms. Natasha was a
heaven-sent angel for me. Can I tell you what this amazing woman did? When I was in PA I met
her and I bonded with her as a therapist. She got me and more than that, we had amazing
conversations and she actually helped me through so much. When we decided to move, I
figured she could just continue remotely. When I went in to tell her we are selling the house
and moving she said, “I am not licensed in Florida, I won’t be able to be your therapist.”

No! No! This is not the answer I need to hear. I need Natasha in my life. She has helped me
through so much and do you know hard it is to find a therapist you can bond with that closely?
She saw my panic… she went on her own dime and got licensed in Florida so she can stay my
therapist! WHAT!!! And thank God she did, without her I would have not made it through this.

Watch that adaptive child response. I discussed what this was in the last chapter, but my ACR is
save/rescue/help. This makes a lot of sense when we uncovered this, my life I have taken on so
many mentees, I started ILF and make no money from it to just help, etc etc. When my
nonprofit was failing, my company was losing millions of dollars, my family was depressed, my
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career was dying in front of me, my 15-year-old dog who was our family best friend died and
my wife was diagnosed with breast cancer I found myself offering mentorship to everyone I
could. If I could help one more person, maybe I can convince myself I am not a disgusting. If I
can help one more person with their career maybe it will make me successful again.

Areesa getting cancer was the slap in my face I needed. All my focus went to her. It was the
year of our 30th marriage and as odd as this will sound, we reconnected in a way that I think we
drew closer than we had been in 30 years. We went for walks almost every day so we could
talk. We would sit outside with a drink and talked. Lay in bed and talked. We talked so much
about everything. I found myself sharing things with her, I never thought I could. The trauma
and damage of my childhood I held in, the work at ILF and things I know are happening, my true
feelings about everything. In turn she talked to me about her fears, feelings, everything in her
heart and mind. The connection between us grew.

I was shocked when friends would tell us when they got cancer it pushed the couple apart
leading to divorce. For Areesa and I, it made us an impenetrable force to be reckoned with. I
also helped me to see I need to focus on sleep and my health a little more.

Take care of your health. Thankfully one of the things I had established before the cancelation
was a great fitness routine. During all of this I rarely if ever missed a work out. If what you are
doing is boring or stagnant, then change. I needed to change to Helmi. This man is more than a
trainer, truly, he actually cares. Some days he calls to just see how I am, checks on Areesa, etc.
He brought back my motivation.

But when I say health, I mean more than this. Yes, your physical health is important. But sleep is
essential, and to be honest, I am still not great at that. Prioritizing down time to have a hobby,
to rest your mind, to read, to veg, whatever it is. It is important. The mental drain of living in a
cancelled state will not be understood by those who never experience it.

Don’t become calloused. Pre-cancellation I was the kind of person that if a woman said
anything I 100% believed without even thinking. When this happened, I sadly went the other
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direction for a bit. Everyone was now a suspect until they prove they were wronged. I found
there needs to be a balance. I learned this lesson thanks to Natasha…. One of her Molotov
moments. In a session I said, “When this is all over, I am never going back to infosec, screw
them, they are dead to me. That industry is a cesspool.”

Normal Natasha fashion, she listens, and when she takes this certain type of breath, I can tell
it’s the Molotov moment, “Let me ask you a question, before all this happened did you think
you held value in the infosec community?”

“yes, I do”

“Ok, do you think your experience and your knowledge helped new ones, young ones or others
get meaningful careers and opportunities and knowledge?” She asked.

“Yes, I do” now nervous as I can’t clearly see what direction the Molotov is coming from.

“Has DEF CON and Jeff changed that? Are you now not possessing that knowledge, or that
experience and no longer have value….?”, she asks this question and it trails off to let me
ponder.

At this point I cannot even look her in the eye, “I hate when you use solid logic on me, but of
course DEF CON cancelling me did not take away my value.”

Here is comes, the wick is lit, the bottle is in midair about to hit its target, “One thing I have
known about it in all the years we worked together is that you are brave, quitting would be the
opposite of brave. But the courageous thing to do would be to return and help those you can
even after this.” BULLSEYE, she hit me square with the full cocktail.

I quickly retort, “You might be right, but I am never going back to def con, that place is a
cesspool and Jeff will never make a cent off me again.”

“Oh hell no, that place is dead to you.” She said.
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And I will take that small victory. But the lesson is that it takes courage to not lose yourself,
your morals, your structure and your strength.

The Importance of Culture

I learned a few other good lessons going through this. A company is NOT a family, it can be a
gang, a tribe, a clique, but it is NOT a family. When we compare it to that, it makes it odd when
you have to let someone go, or they leave. I can’t fire my daughter, but I can let any employee
go.

Our culture here was one of openness, fun, laughter, we do a hard job but it had to be centered
on empathy. I worked hard to make sure the culture here was strong, but along the way it got
lost, and I didn’t correct it.

Empathy wasn’t present in everyone. A lot of the employees viewed me as so busy they didn’t
feel comfortable coming to me when there were problems. We laughed less and focused more
on getting things done.

I needed to hire a couple people and during the interview I could tell they were not really inline
with our culture. Meeting them, they were not like the people we had here already, but I
moved forward. It ended up taking valuable money and time away.

Additionally, it was important to focus on the family dynamic. Avoiding people who wanted to
live in the drama and be with people who truly cared about us.

I can’t stress enough when we finally got back to our core and realized the mistake we made
and started to correct it I saw the light come back to my fellow employees faces. I saw
relaxation and openness, the culture of empathy and communication was back. It felt like the
company I tried to build over a decade and half ago.

The lesson I want to share, under stress I thought I needed to ignore the basics and just focus
on mission, but doing that changed a core principle for us and hurt us as a company.
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I started scheduling weekly 30-minute meetings with every member of the OPS team, not to
discuss work, but to talk about their life. I started to make sure the team meetings were fun and
light. In interviews I brought more people to meet candidates to get feedback so we hired
people we all get along with. I went back to my roots.

Don’t let stress change who you are and the decisions you make. “There is wisdom in a
multitude of counselors.” Don’t be shy to ask for advice or feedback from those in your trusted
circle.

After reflecting on these lessons, a question that came up in my mind was, could I have avoided
this? Is there a way to build a resilience to these challenges?

Chapter 6: Building Resilience

Resilience is the ability to recover from or adjust easily to adversity or change. This includes
handling stress, uncertainty, and potential threats without being overwhelmed. In the context
of insider threats and cancel culture, resilience involves maintaining mental health, making
sound decisions under pressure, and upholding ethical standards despite external threats or
criticisms.

Whereas the last chapter I talked about lessons I learned in reflecting in events that already occurred
now I want to focus on things you and I can do to help build up our “immune” systems to help in case
you find yourself in this situation. I have broken this chapter down into six different subheadings, each is
similar to some of the lessons above, but let’s discuss how, like taking vitamins before you are sick,
makes it easier to fight off the sickness.


Self-Awareness and Emotional Intelligence


Understanding our own emotional and physical responses to stress before we are in the stressful
circumstance can make it so much easier to recognize negative patterns before they do damage. It can
help us and those we trust to recognize those signs early and help in managing them.
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For example, I know that when I am under extreme stress, I focus more on task and less on people.
What that means if I become more blunt, more direct, and less caring about feelings. Knowing this in
advance means that as stress rises I can use emotional intelligence to say, “Hey Chris, be extra careful to
what you say and especially HOW you say it.” I implemented this where I would send Ryan an email I
wanted to send to have him read it and say, “Bro, cut out these sentences and lessen the anger here.” It
saved me from a lot of headache.


It is also important to develop skills to manage emotions and prevent reactive decision-making. Some of
the things Natasha had me to:


        Recognize and feel the feelings, do not bury them, do not ignore them. Allow yourself to feel it,
         do not let it control you.
        Breathing tactics to help calm down during high stress moments.
        Negative thoughts should be challenged - literally as they pop up say to yourself, prove it. A lot
         of times those negative thoughts like, “I don’t do anything right” or “everyone hates me” or “I
         am a bad person” when challenged quickly can be dispelled.
        If you are physically active don’t stop, if you are not, start, even just walking, anything can help.
        Be assertive not aggressive. It is ok to stand your ground, to defend when you feel attacked but
         do it with assertive language not aggressive language.
        Manage my time better. Prioritize things that keep me alive longer and that must get done.
        Journaling. Both Natasha and Helmi keep telling me to do this, I am not a good example, but it is
         something that can help.
        Seek feedback. Ask those who will be honest for honest feedback about your emotional
         responses.


This is not an exhaustive list, but for sure these things helped me stay a live during this ordeal. If I had
the habit of doing this before, it might have been easier.


Building a Support Network


Be very cautious here, it is not uncommon to go on the Internet and seek a group there that is a
sounding board for you. Sadly those siloed types of groups do not really help but create an environment
where you just told the things you want to hear. That really doesn’t help anyone. Have you ever met a
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adult that as a child they were told everything they did was perfect, they could do no wrong, they never
lost or came in second?


I am sure you have and that person is really hard to work with, they can’t take constructive criticism or
counsel or advice.


A good support network should include colleagues, mentors, your therapist and other professionals who
guide you, who you trust and who have your best interests at heart. They love you enough to look at
you and say, “Hey Chris, don’t be a dumb ass.” (I am quoting Ryan here)


Mindfulness and Mental Practices


More than the deep breathing I spoke about above, this is more like a cognitive restricting.


You ever try to dig a hole at the beach? It can be an impossible task if you don’t plan properly. You dig
and dig and dig, and sand keeps falling in the hole, filling it in. If you don’t find a way to support and
replace the removed sand with structure, you won’t get far.


Learning to identify destructive thought patterns and then challenge those patterns. Once challenge
learn to replace them with more constructive ones. Just like digging that hole, if you don’t find a
replacement you will return to old habits.


My pattern is, “I am not good enough”, it has been one of the driving forces through my life. Being told
as a child that I was never good enough, I now believe it. I have learning to, when I start to feel that old
friend of “not good enough” come knocking, to not answer the door. But even take it step further, not
just to hide when he knocks but to challenge that feeling. “Am I really not good enough?” Then to ask
other questions like, “Did I make a mistake here?” Even if the answer is yes, “Is that mistake unfixable?
Does it mean I am worthless”


By challenging those thoughts and finding replacements I am working past this. Now, don’t get me
wrong, the replacement is not, “YAY Chris you are wonderful!” I hate toxic positivity. (more on that
soon). The replacement is, “Ok Chris you were overtired and stressed and when your kids did that thing
you yelled and said something stupid and mean.” It is not “I AM STUPID AND MEAN”, no “I said
SOMETHING that was stupid and mean.”
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Well what can we do now? Apologize. “Hey kids, this is not an excuse for my behavior, but I reacted like
a moron a few minutes ago. I let my stress react to you in a way that was mean and rude. I am very
sorry. If you want to talk about it, I will listen.”


Cognitive restructuring for the win!


Realistic Optimism


At some point during my trials when I slipped into depression and a serious bout of negativity, I
remember saying to Natasha, “I am not being negative, I am a realist.” It was me trying to convince
myself.


At the same time, someone told me, “You have to wish positive things into existence, if you manifest it,
it will happen.” UGH. This kind of toxic positivity doesn’t help anyone. What do you think I have been
doing, I have been sitting here for 3 years wishing, praying and manifesting and IT DIDN’T WORK????
The universe hates me? God hates me? I have failed at manifestation? No, if you could wish good things
in to your life no one would have problems.


No, the truth is that “time and unforeseen occurrence befall us all” and that fact is a universal truth.
Balance is important, is what this means. We can be positive by looking at the good things in your life.
Even in my darkest moments, I have a wife that truly loves me, I have two wonderful children that love
me, I have a friend group that will not leave my side, I have a nice home, I have food, etc. None of this is
to minimize the pain, it is to say “thank you” for the things I have.


I remember once Nick asked me, after I went on a 20-minute rant about how my business is most likely
shutting down, “So what is your plan B?”


A long pause, “There is no plan B, there is nothing.”


Nick asks, “So if you shut down SECOM you go live in a box, go on welfare, what do you do?”


Irritated, only because he is right, “No of course not Nick, I would have to go get a job.”


Nick, finally getting me to where he wanted me, “Yah, so have you considered putting a few feelers out
there to determine if the worst case happens you are not jobless for months?”
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That was realistic, I needed to plan and not rely on “no plan B”. Which is a perfect segway to the next
point.


Flexible Thinking


One of the few things I will compliment myself on is I am very quick on my feet, mentally. I can think of
pretexts, or things to say on the fly. I can adapt in most circumstances with no effort. But during the
years of the attacks, I found that ability seemed to have disappeared.


For my work as a social engineer one of the things I would do with team members is discuss the pretext
they want to use, then in a form of role-play say, “What do you say/do if X happens? Or Y? Or Z?”


This makes them think 4-5 moves ahead in the chess game.


Why did I stop doing that for life in the biggest moments of stress in my life? I encourage all to engage in
regular scenario planning while anticipating potential challenges and rehearse responses. When you
rehearse responses, you build “muscle” memory on how to react when or if it really happens.


These kinds of exercises can make your natural response not to react to the stress but to react with the
practice, mindful, flexible responses.


Purpose and Values


Understanding who you are as a person, what are your values, what is your purpose, what is your
foundation, way before you enter one of these stressful circumstances can truly be a life-saving practice.


Sadly, I didn’t do this, but Natasha did it for me, well more pointedly she helped me reflect on what
those things are for me.


I had to answer some questions:


        What are my professional goals?
        What are my personal goals?
        What are my values? (not in the stress moments but before)
        What ethical line will I not cross?
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        What are my ethics?
        What is my foundation?


This may sound like a lot, but let me show you how it works. This is a basic one for me.


        What are my professional goals?
         I want to be the best science based social engineer on earth. I want to help people get a
         meaningful career in this space. I want to enhance education in this space, motivation the next
         generation and inspire those who think they can’t do it. I want to keep my nonprofit afloat and
         help stop child predators.
        What are my personal goals?
         I want to never lose site of my family. I want to stay healthy. I want to be an amazing home chef.
         I want to learn all I can about flowers and bee keeping. I want to buy a house in Italy and have a
         small vineyard.
        What are my values? (not in the stress moments but before)
         I believe in empathy first. I love helping others. I trust too fast because I love people. I value my
         belief in God. I value truth above all else. I hate things based in lies (odd for my job right?)
        What ethical line will I not cross?
         I have not ever killed anyone, and as angry as I get I never want to do that. I never want to use
         my skills to hurt someone. I never want to use my skills to get what I want costing the person
         something serious and personal to them.
        What are my ethics?
         Love. Empathy. Kindness. Fairness. Try to be nonjudgmental. Open to discuss anything.
        What is my foundation?
         My foundation is God, family and friends first. Career and things come after that. I want to love
         my life regardless if I am rich, poor or in between. I want to be happy.


Having this clearly defined makes it easy to see what I will not to do to save myself out of the cancel
culture or insider threat attacks. If I start deviating from this, this is where your network comes in to pull
you back inline.
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Following these steps can really help you build a strong resilience. Of course, I truly hope you never have
to go through this. But this can work not just for being cancelled, this can work got any stressor meant
to take you out.


Chapter 7: Navigating Cancel Culture

I want to make this clear again, this section is not for people who truly deserved to be cancelled
because they did some horrible things to other people. Those people, my advice is to admit it,
own it, fix it and make retributions.

If you are, one of the few who had weaponized cancel power used against you, then this
chapter is for you. I have spent considerable time trying to dissect, during and after the attacks,
what I can learn from navigating cancel culture from an attack perspective. I have come up with
ten points I think can help anyone going through this. These are not meant to be an equation,
as in 1+2+3=6…. But look at each step as its own subject. Decide if you need it, how to apply it
and what to do to make it your own.

Understand the Dynamics of Cancel Culture

Sometimes culture is a hard thing to understand. I had a friend from Uganda. In Uganda when
two men are talking it is custom for the men to hold hands. This tells bystanders, “we are in a
conversation, please don’t interrupt.”

As a very strong Italian American male, when he reached across and grabbed my hand to hold
it, I reeled back. “Hey bro, whats up?”

“Oh, I am sorry, this just tells everyone we are in a conversation.”

Once I understood its meaning, we sat for a good hour holding hands and talking.

Understanding culture is very important in most circumstances.
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As hard as it will be, you need to stay current with the trends on social media regarding cancel
culture. During my “cancelling” it was common for the Internet mob to be empowered via
anonymity and also group think. This helped me understand that when I saw large groups
seemingly following a “leader” off a cliff, I understood why. They are sheeple, not able to think
for themselves. I don’t have empathy for their lack of thought, but it helped me understand
why it was happening.

When I saw powerful people with a “celebrity” status turn their back on me, or publicly say
things like this:




This is from a person who mentored, advised and helped me. Understanding the hive mind of
cancel culture helped me see why someone who I viewed as a critical thinker could actually fall
for the lies of the few he thinks he knew.
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I took the time to truly understand the dynamics of cancel culture:


       The person with cancel power will run the narrative
       If he has the mob behind him, he wins
       Those with the loudest voice often win the fight, not those who are right
       An accusation is guilty till proven innocent
       If you are able to prove innocence that will be on the back page, where your “guilt” was
        on the front page
       It will take 3-5 times longer than you think to fix it, accept it
       You will lose a lot of “friends” and supporters along the way, its ok, you didn’t need
        them

Understanding the dynamics as you enter this problem can truly help you see what is real and
what is just part of the “culture”.

Proactive Communication

I said this before but this is one of my areas of failure I will regret forever. Communication
needs to be transparent and consistent.

Transparent: you need to be open about your values, decisions and reasons you took the
actions you took. Be clear so you can preempt any misunderstandings.

Consistency: Ensure that your public statements don’t sound like a lawyer wrote them but that
they are consistent with your voice and you’re your personality. (this is an area I failed at)

By being proactive in the beginning, you may derail many of the attacks that come later. It
makes me think of when Ronald Regan was running for his second term as president of the
United States, the argument was “he is too old”, “He can’t run a country at his age”

Instead of attacking his attackers he was seen starting speeches like this,
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“I can remember the time when a hot story broke and they said, stop the chisels.”

Or

“President Washington began this tradition in 1790 after reminding the Nation that the destiny
of self-government and the ``preservation of the sacred fire of liberty'' is finally staked on the
experiment entrusted to the hands of the American people.'' For our friends in the press, who
place a high premium on accuracy, let me say: I did not actually hear George Washington say
that. But it is a matter of historic record. “

Being proactive under attack is a great way to stop the accusers in their tracks.

Build and Maintain a Positive Reputation

One of the things I learned, that I don’t know if I can honestly say I knew I learned till the end, is
that if you keep who you are through trial it can really help you.

One of the things that defined me through my career was mentorship. I benefited so much
from some very key mentors in my life. So, when I had my career going, I said I would mentor
younger folks like I got mentored to help them.

When I was being cancelled, amazingly, some folks reached out to me to ask for mentorship.
Thankfully to Natasha, I saw I still had value to offer.

It was hard to believe this, but I still had a few mentees during this time that prospered and
excelled, showing me I did have that value that Natasha spoke about.

One of the most important lessons I learned is to do constant analysis of the people who have
cancel power over you, and risk assess how badly they can hurt you and what you need to do
about it. And as a human we can never be 100% at this task, so this was a very scary time for
me and my family.
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Every new relationship, every new mentee, every new contact was a potential threat. Maybe
they were reaching out to trap me, or to get me to slip up, or to get info, or to be completely
honest. It was truly exhausting to try and analyze this constantly.

Here is where my lesson for this section comes in, I knew who I was and what my morals where.
I never wanted to lose that, so I had to keep who I was despite all the problems.

Thankfully to some of those closest to me, I was able to keep focused and realize that I still have
value and I can still help others, and the things that those in the community who hated me said
about me was not true.

I want to reiterate; it was not easy. Some of the people who hated me are people I revered,
looked up to and looked at as mentors. When those people told me I was disgusting or bad, it
was hard to not see myself that way. But it was at this very time that I had to sit back and ask
myself a few questions.

                   Q: Did I actually hurt anyone maliciously?

                   A: No, I did not. I protected my company from people who wanted to hurt
                   it. I protected my clients from people who where dishonest. I protected my
                   employees from being hurt. And I kept saving kids despite what people said
                   about me. So no, I never intentionally hurt anyone.

                   Q: Even if it was not intentional, did I do something to someone that I
                   should be punished for?

                   A: This is harder one. I was harsh with Cat, I truly was. I did joke with
                   another employee too much. I did get too direct with some people. I was
                   harsh in times of stress. So yeah, this was a harder answer, but when I sat
                   back and spoke to Natasha and others about this… could I be called a jerk,
                   yes. An abuser, no.
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                   Q: What could I do differently if this were to happen again?

                   A: First of all, happen again? YIKES. Please no. I can never deal with this
                   again. But it was a legitimate question as I had to really think about the way I
                   would deal with this. First, I would be much more open from the beginning.
                   Hiding behind a legal statement when I am truly innocent, that was stupid. If
                   I had some fear of something I did, then I get it, but I didn’t. Second, calling
                   out all those involved. I hid, I was afraid, I became an imposter. But if I had
                   called out Stephanie, JC, Anshul, Chris, Cat, Maxie, Neil, Jeff for all the things
                   they did and what i knew, I could have ended this sooner. Also, because I
                   have so much proof. I wasn’t just slinging mud like they were, I have people
                   willing to testify, I have emails, I have proof of the things they did to try and
                   destroy me. I should have used it.

These lessons were very hard for me to learn, and it took me a bit to really let them sink in.

The fight I had ahead of me was no small feat. I needed help, legally, but being in the financial
condition I was in, was going to make that hard.

Chapter 8: Legal and Ethical Considerations

When this first happened, and I felt this intense sense of injustice, I actually didn’t know what I
could even do about it. I spoke to my business lawyer and he suggested we may have a
defamation suit if there is no actually sexual assault that can be proven.

Since there was not, I was ok with pursuing this. But his next words knocked the wind out me,
“These suits can take years and cost 100’s of 1000’s of dollars.”

I stopped paying myself and I am living off a small savings account, I don’t make that kind of
money. Then Tim said, “There are some lawyers who will see the payout and take a case on
contingency.” Contingency means they waive all fees and take like 50% of the winnings.
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I didn’t care about the money, I needed my name back. I can make the money, but not with out
my name being cleared.

Tim helped me find a couple lawyers in the state I was incorporated in, Pennsylvania, and we
filed our first lawsuit.

This is a good lesson for anyone reading, you have things you can do to fight back. I will give one
warning, be prepared, nothing is fast, and nothing seems fair. People like Jeff who have endless
sources of money, can drag this out and file motion after motion after motion. Making this so
painful.

Think about this, Jeff was charging 440$ per person and there was 38,000 people there they
claimed. That is just shy of 17 million dollars a year. We did research into the two lawyers who
represented him, and we can estimate he was paying close to $1600 per hour for them
combined. The community was good to him for sure.

Even when those with cancel power try to use the legal system against you, don’t give up. I
found this amazing lawyer in Nevada, Kris Riklis, he read all the paperwork and he saw the
injustice. He devoted 2+ years to this case for $0. Not kidding, he had no expectation that he
would get anything. But he worked hard, supported me and was an amazing source of
encouragement. It took me a long time to find him, but I never gave up and I did.

Maybe that is one of the lessons, my persistence and refusal to lay down and take it is why I
was able to find the people to help that I did.

Don’t let the bullies convince you that are not worth the effort.

I want to preface this next section with the fact I am NOT a lawyer and I am NOT giving legal
advice, I am merely telling you some things I learned along the way, you should consult a legal
advisor for your case.

Legal Protections for Defamation
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The Defense of Truth: If you are 100% assured that what you are saying is true, this is the
strongest defense against defamation. The law really dislikes people who cling to false
statements. In my case, I knew what Jeff did was dirty, and I was clean, so that motivated me to
fight even when it was past my means.

Opinion: So yes, it is true that defamation law protects people from having their opinions
count as defamation, but you can’t just say whatever you want and claim “your rights to speak
your mind” and it is your opinion and get away with it. Jeff tried this, saying they are allowed to
decide who they can associate with and who they can have at the conference. That is 100%
true, but to put a person they don’t want there in a list of sexual predators is not with in their
freedom.

Statue of Limitations: realize that defamation cases have an expiration date, so only have a
certain number of months to file. This is different per jurisdiction but find out what yours is so
you don’t lose out due to a timing issue.

Some other steps: Document everything, I took screenshots, saved every text, every email,
nothing got erased. I knew I would need it. And consult with a lawyer to make sure you can use
these pieces of evidence properly. For me, this was crucial. Having all the evidence that Neil
was literally a joke when it came to talking to me, that Jeff did not reply once, that Marc Rogers
lied on Facebook, all of this is going to help me win the case.

All of this is the legal protections, which is less important to me than worrying about the ethical
considerations.

The Ethical Concerns in Addressing Cancel Culture and Insider Threat

I can break these concerns for Insider threat into five categories:

1. Privacy vs. Security

       Ethical Dilemma: Balancing the need to protect organizational assets and sensitive
        information with respecting employees' privacy rights.
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       Best Practices: Implement monitoring in a transparent and proportionate manner,
        informing employees about the types of monitoring in place and the reasons for it.

We did this, every employee, including Maxie who sold us her person laptop, was informed we
did daily backups, monitored the systems and can lock machines at will.

2. Fairness and Non-Discrimination

       Ethical Dilemma: Ensuring that measures to detect and mitigate insider threats do not
        unfairly target specific individuals or groups.
       Best Practices: Apply security protocols uniformly across the organization and avoid
        profiling based on personal characteristics unrelated to the risk.

Thankfully Ryan did this, even me as the CEO was not excluded. I can’t tell you how many times
an email would be stopped and I would say, “Ryan why can’t I send this file to myself?”

“umm because the rule stopped you from sending this file due to sensitive information.”

Thanks Ryan.

3. Due Process

       Ethical Dilemma: Ensuring that employees accused of being insider threats receive a fair
        investigation and the opportunity to respond to allegations.
       Best Practices: Establish clear procedures for investigations, maintain confidentiality,
        and provide avenues for employees to contest findings.

We always did this after the fact, so once it was “fact” they were, but this a great point. I had an
employee who was committing time theft, getting paid for 40 hours and giving me 10 (not
kidding). They were not an “insider threat” they were just lazy. So be careful how you label
folks.

4. Psychological Impact

       Ethical Dilemma: The potential negative impact on employee morale and trust within
        the organization due to perceived surveillance.
       Best Practices: Foster an open and supportive organizational culture where security
        measures are seen as protective rather than punitive.

This was a big lesson for me, I found out after my people did not feel comfortable
circumventing the hierarchy to tell me they felt in danger. That is on me, not them. Also the DEI
consultants we hired told me I needed to be way more open with the team, telling about our
finances, struggles and problems. This was a big lesson and helped me “fix” the company.
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At the end of the day, no one can handle insider threat and cancel culture perfectly. I believe
that, there is too much emotion involved to be perfect. But with some of tips and guidelines
you can navigate this better than I did in my attacks. I hope this helps.

It is not over yet, now you navigated it, but you have to move forward, past the cancellation
and continue. But how?

Chapter 9: The Path Forward

At one point during all of this a friend asked me, “What is the lesson you will take away from all
of this?”

At first, I have to admit, I was little offended. I am suffering, why would you ask that. But she
was right, there is a lesson in all of this and that lesson can me move forward past this
experience. I need to figure out how can turn this adversity into opportunity.

Here are a few lessons I pulled out from this, that I hope can help you.

Remove the chaff.

In ancient times when people who grind wheat, they would put all the grindings on this “sails”
and if they tossed them in the air, the wheat skins “chaff” were so light even the lightest wind
would carry them away. What was left was pure wheat they can make flour from.

I learned that, even the people I thought I needed, if they were “chaff” it is better to let the
winds of adversity carry them away and leave with those who actually do love me.

That was surprisingly a hard lesson. I so desperately wanted to hold on to these people, but
eventually when I realized their toxicity, it saved me.

Empathy

I think one of the main lessons for me was to empathize with people who felt a complete lack of
justice in their lives. Truly I don’t know how they dealt with it for so many years. Just three
years and I was going crazy.
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This experience taught me that groups who have gone through systematic repression are so
much stronger than we give them credit for.

Additionally, don’t let the suffering and injustice allow you to alter your natural kindness or
whatever you have built as your personality make up. Don’t lose that. For me it was empathy,
and I found myself losing that at some points, but thanks to the help I had, I was brought back
in line.

Communication

If I learned one thing in all of this, do not break your communication profile, it is super
important. Sure anger, sadness, depression can all change how you feel and communicate, but
what I am saying is the moral structure you have based your life on that drives your
communication, do not let that get altered by your attackers. If you do, you will look back with
regret. There will be enough to feel bad about, don’t let them change who you are.

Its not as big as it feels

When the attacks started to happen it was the center of my universe. It felt like everyone on
earth was going to see my problems. I was amazed when I called a friend and started the
conversation with, “Let me explain so you can understand what is happening.”

He, sounding very confused, “Do you want to back up, what are you talking about?”

He had not heard about it, it did not come up on his Twitter, it did not come up on his socials at
all. To me it was the center of the Universe, but most of the people and companies who ran the
other way only did so after the researched my company and name and saw the accusation and
drama.

It made me realize, way later, that although it felt like it was the largest mass I could see over or
around, to most of the world I was not important enough to even know what was going on. I
had friends who went to DEF CON the year I was cancelled and texted me saying, “Dude where
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are you, there is some really lame SE Village here that is not yours?” They did not even know I
was cancelled and not there.

Good lesson, I wish I learned earlier.

Don’t be afraid to block

When this all started on my personal accounts I started to block people who were nasty and
said horrible things. But I allowed a few folks talk me out of doing that on all my accounts,
especially ILF and my corp. That was a huge mistake, I regret not sticking to my decision and
enforcing what I wanted.

The attackers do not deserve rented time in your head, they do not deserve time to attack on
your feed. Blocking people quicker would have stopped a lot of my people from having to read
the comments, deal with the attack and deal with the anger, injustice and depression that came
with it.

Never EVER give them your platform

This is a huge lesson. Many of the attackers did not want to use their personal accounts to call
me a rapist, so they would start sock puppet or brand new accounts with no real identifier. On
Twitter I have around 40,000 followers, that new account has 1, 4, maybe 10. If I were to reply
to them, argue with them, mention them, I have now given this new account with no followers
MY PLATFORM of 40,000. Even if the account is large, answering or arguing gives the attacker
your platform and access to your followers. This is a big mistake, but one that is easy to make.
When people are lying, saying horrible things, our natural inclination is to want to defend,
correct, scream back. Doing so online gives the sheeple the attention they so desperately need
to feel justified.

Think about it, why would a person, any normal person, call someone a rapist, child molester,
thief, sexual predator, etc with not even one ounce of proof? And be willing to do it in front of
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millions of people? That is a bold move, motivated by the anonymity of the Internet and the
mob mentality of the cancel culture gang.

Don’t give them more power than they deserve.

These are some of the strongest lessons I have learned during this. The work doesn’t stop there,
because now, I have to apply those lessons so there can be personal and professional growth.

Personal Growth and Professional Development

This section really I need to cover both the personal and professional development steps I took
during this process, as it was such a learning experience, I am not sure I can fully explain it on
paper. I will try.

I feel like the more I think about this the more lessons I can come up with, but let me see if I can
boil these down to core lessons that can help you and me.

It is probably no surprise that many of these lessons came from Natasha, (aka Dr. Molotov) and
my times with her. She is a profound woman with deep wisdom that makes me think deeply.
Here are a few notes of my sessions with her during this time.

You have panic and anxiety

No I don’t, I might have said that a million times. I don’t have panic attacks, I don’t have anxiety
disorders. I see my friends and my kids go through this, that is not me. But she helped me see
that I did, just experiencing it differently.

The lesson for me was to be much more empathetic, and to also realize that suffering in the
same name can look so different per person. This first lesson was a big one for me.

Fear makes me micromanage
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Ok, I feel like I am posting nude photos here and asking you to judge me, but really I need to do
this. She told me on one session, that when I get afraid, I micromanage the things around me to
control them more. I HATED THIS.

But I hated it because it was true, damn her. But there is a profound lesson in this. If I know my
fear response, and I am aware of it, I can be more able to control another problem by
micromanaging someone who doesn’t need it.

Dang you Natasha… I didn’t want it to be simple, but it was. Self-awareness to the rescue. So it
was a hard pill to swallow but I needed it.

One year, when Amaya was little we went to Tennessee together, she came to a hacker
conference with me. My sister lives in TN and asked if Amaya can spend time with her, Amaya
wanted to, so she did. The night she went, I was out with the guys, eating, having a few drinks.

I got back to my hotel room and had to take some of my meds. I put this pill in my mouth and
when I tried to swallow it, it got stuck in my throat. I couldn’t move it, I had no water in the
room. I thought, this is where I die. I literally sat on the edge of the bed, grabbed my phone and
typed a message to my daughter telling her I loved her. (By the way, I have not told this story to
anyone, so now they will all know it.)

I felt it all going away, and I started to cough, my stomach forced something up, which
dislodged the pill, and I could breathe. It was an amazing feeling at the same time gross.

As graphic as this is, I felt the same when Natasha popped this on me.

My Adaptive Child Response of rescuing needs boundaries

Ok so in an effort to help me feel whole, to feel useful, to feel like the man I want to be, I put
100% of myself into helping others. But even at the cost of my own health. One of my deep
lessons was that, this trade off is not equal. To sacrifice my health and life to help others is not
really a good balance.
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This should not be a shock to me, for ILF I have always said to volunteers, “You cannot hurt
yourself or your family to save a child, that balance is not fair.”

But when it came to ME, I didn’t apply the same rules. I would sacrifice my health, my
happiness, my peace to make sure someone else was ok.

I am going to be honest, I still do. So it is a lesson I know, but I am working on it.

Disassociation disorder sucks

There was a time I thought to myself, that the fact I can’t remember all the abuse from my
childhood is a blessing. When I hear the memories of my siblings that seem fake to me, I feel
blessed I actually can’t remember many of them.

But this comes at a cost. There are years of my life that don’t exist. I do not remember my
youngest sister till I was 19, there is only 5 years different, so there are 14 years of her life she
doesn’t exist in my head.

Additionally, when my brain decided to say, “Chris, you don’t need to remember this.” It just
doesn’t, and I can’t stop it. And sometimes I think I need to remember that, but nope, I have no
say.

The lesson for me, with all the pain and all the suffering, remembering allows me to make
decisions and to figure a path forward. Just ignoring it, whether on purpose or by my brains
decision, doesn’t really help find a solution.

Needing help is NOT weakness

I am probably not alone in this, but I felt like asking for help was weakness. And being weak was
bad. So maybe it is weak, but being weak at times is ok. I learned this the hard way.

During the 2.5 year mark of the attacks, my business was failing, Ryan left… Patrick left. I saw no
hope. It looked like we were closing and I had no plan B.
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I didn’t think it could get any worse.

Until I sat in a doctors office and heard this words, “Mrs. Hadnagy you have breast cancer.”

I didn’t understand. I led a good life, I didn’t hurt people, like I was being accused. My wife is
maybe of the most amazing people on earth. She is so forgiving, so kind, so empathetic, I often
joke that she would say, “well you know Satan, he is quite persistent.”

And here we are at the height of our lives ending and she gets cancer?

We left that appointment and we went to the car and I just wanted to cry, but I looked at her
and said, “I am going to call X”

A friend who I knew who would support us. She said, “Really, you want to do that?”

“Yes, we can’t do this alone, we need help.”

It felt empowering to tell someone we needed help, not what I expected. I told Vince, then I
told Nick, then Wayne, then the “family” and before you knew it, I had people checking on her
and me daily. This lesson was huge, I needed help, and if I could humble myself and ask, I got
what I needed.

I might not know my limits

I remember vividly, my wife got cancer. I thought, “It can’t get worse.”

Patrick asks for a meeting and says, “I am a single dad, I can’t tell my daughter that she can’t go
to college cause this company closes, I found a new job and I have to go.”

It was kind, it was respectful, but it was also very realistic. I couldn’t be mad, I was just so sad
that I was not able to give him stability.

Two week later, Ryan comes to me, “I tried to change everything I could, but I need to change
the one thing in my control, my job. I am leaving.”
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My heart tore in two. I thought we would retire together on a beach as two 80 year old hackers
laughing about the youngin’s.

All of that was dashed to pieces. But I understood, Ryan sacrificed so much for SECOM during
the attacks. He gave his blood, sweat and so many tears – that is not just symbolic.

Here we are, Patrick, our team leader is gone. Then in one fell swoop my COO, sys admin and
main implementer is gone. I am not sure how I will exist.

We hired this amazing young man, Carter, who can fill in some of the gaps. I now have the job
as CEO, COO, team lead, client manager, sales assist, as well as my ILF duties. I relied on my
team, people I trusted and my experience and I did things I haven’t done in years.

Here is the thing – we made it, we did it. It worked. So the lesson, I guess in times like this, I can
do more than I thought.

Don’t Accept Less Than I Deserve.

I will admit, I felt so low about myself and so worthless, if anyone I thought had value would
show me attention I would take it. Almost like I had to work for their affection because I was so
gross and disgusting.

Natasha’s session where she asked me those thought-provoking questions,

“Did DEF CON take away your worthiness to the community?”

Really made me think deeply. Since the answer was a resounding “no”, then the logic center
asks, “If you have value Chris, should you let those around you treat you like second class?”

This was a really hard lesson for me, and really hard personal growth session. I have a few
people I viewed as really close to me, I thought they valued me, but in the end they would
routinely say things like, “I will call at X” and never do. Or “Lets meet and discuss on Y” and
never follow up. Or “I want to meet and talk about Z” but never hear from them again. One
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person I was even in the same city as her, texted her and told her that I was here and wanted to
meet… “Yes, we should do this.” Ok so I thought, this is my chance to show my worth, “I am
available at these times, let me know when you can meet.”

I never heard back, not even till this day. That tells me how valuable I am to that person. This
person, literally the day I told them about a person who stabbed me in the back and betrayed
me, they had that very person on their show the next day with the excuse, “It was convenient.”

I had to start realizing that some people will value their own needs WAY above me, that is ok,
for them, not for me. I do not need to keep helping those people. I supported this person for
years with her endeavors whenever she needed me, but when I needed her, absent.

Learning to not accept less than I deserve was a huge lesson for me.

These are a few of the personal lessons I learned, but there are some more focused on the
professional side of my life, that are equally as important.




Not All Advice is Good Advice

I have a lot of very well-meaning friends, and they actually really do care about me and want
what is best. But that doesn’t mean their advice is always good. And this is not to say they had
bad intentions, the reality is we give advice based on OUR experience, but each person’s
experience is so different.

I asked ChatGPT to define “advice”, here is what it said, “Advice is guidance or
recommendations offered to someone about what they should do in a particular situation. It
typically comes from someone with experience or knowledge on the subject and aims to help
the recipient make informed decisions or solve problems.”

Just as I was saying, we give advice based on our previous experiences, but not every
experience is equal, is it?
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I had a very dear friend who had to give up his business who kept encouraging me to think
about just shutting the door and walking away. The difference was his business closed because
he was NOT paid by a client. If I followed his advice I would have been sued by globally huge
companies for contract breach.

I had another friend that said, get the best lawyer and just use credit cards to pay for it, that is
what credit is for. But if I did that, I had no clue this would be a three year fight. I would have
had to go bankrupt.

None of this is saying my friends had bad intentions, but one of those lessons I really learned is
to take advice with a grain of salt. Listen, really listen, thank them for caring, then take time to
see if that advice works for your circumstance. If not, discard and move on.

My “advice” is to not reject any advice of those who truly care about you, but don’t be too
quick to implement any of it with out careful consideration. One thing I noticed about myself, in
the height of the attacks, I was not really able to exercise critical thinking at all.

That means every idea sounded like “sound advice” at first, and I found myself being mentally
pulled in 50 directions. All by well-meaning friends who loved me and wanted to help but
didn’t fully understand my exact situation.

This came to a full understanding for me when I was attending a brief class on how to help
people who are grieving after they lose someone in death. The person teaching it said
something profound, he asked, “Let’s say you are sitting with Beth and she just lost her mother,
and you lost your mother a few years ago, is it ok to say, ‘I lost my mother, I know what you are
going through’?”

My immediate answer in my head was, “yes of course.” But as he continued it set me straight.
“No, that would be the wrong answer. Everyone’s relationship with their parents is different,
everyone’s emotional make up is different, everyone’s tolerance is different. For that reason we
can never truly understand what someone is going through. Instead, it might be better to say
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something like, ‘A couple years ago I lost my mother. I was so ridden with grief and what I
found is no one really understood my feelings. So I will just sit here and listen or cry with you if
you want.’”

That was a great lesson, and it applies here. Just because you had a failing business, a bad
employee or two, or even got cancelled doesn’t mean you and I felt the same.

Do Not Lose Sight Of Who You Are

One of the things I struggled with, and probably I can openly admit, still do, is allowing this
situation to truly change who I am. Let me clarify, yes, I hope that this situation has changed me
into being a little more cautious, critical thinking, planning, professional, etc. But I don’t want
this to change the core tenants of what make up… Chris Hadnagy.

What I mean is that I have based most of my life on helping others, being kind, being filled with
empathy, education, giving even when I had little to give, not looking for credit. At the height of
these attacks I remember telling Natasha things like, “If I heard Maxie died I wouldn’t even be
sad.” Or “If I could have 5 minutes alone with Jeff in a room, I would show him how much I
suffered.” Or “I will never trust anyone again.” Or “Whats the point of helping other people if
they just crap on you in the end?”

Every time I said something like this, Natasha would say something like, “This doesn’t sound like
the man I have grown to know over the years we have worked together.” Or “Be careful to not
let this change who you are internally for the worse.”

The coup de grace was one conversation where I was saying I was never going to help anyone in
infosec ever again, they can all “go to hell”, and she thought silently for a minute then said,
“That is not very brave is it? And the man I know has always been brave.”

I was filled with anger. Rage even. “I AM NOT BRAVE? WHAT HAVE I BEEN THROUGH?”

Calmly she asked, “Where you helpful to infosec before Jeff cancelled you?”
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“yes”

“Did you help young ones before DEF CON tried to ruin you?”

“Yes”

“Do you feel you had the knowledge and the right to do so before all this?”

“yes”

“Did that now change since DEF CON said you are worthless?”

I hated that I had to answer, sheepishly I said, “no, of course not.”

“So bravery would be to return to your old path even after someone else told you that you are
not worth it, when you know you are.”

Quickly I said, “NO I AM NEVER GOING BACK TO DEF CON!”

Quickly she said, “F*** no, F**** them, but they don’t represent infosec do they?”

HAHHAHA, I hate it but she is right. I can’t let this change who I am. And neither can you, look
deep at your core and hold on to it tight, and find those who anchor you there.

YOUR TEAM

By “team”, I mean those you chose to surround yourself with during this time. There will be
ambulance chasers, fair weather friends, those who will only be interested in themselves, those
who only need you and don’t want to help you. Here is my strict advice, as hard as it is – get rid
of all those people RIGHT AWAY.

Now I am not saying to rudely kick them all out, but quickly and swiftly start silencing them in
your life. They don’t deserve your time. I remember when at the beginning of all this I was
getting texts and calls from a friend named Dave. He was so supportive, he was so amazing.
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Told me he knew me, he supported me, he knew I was innocent. He knew this was all bull crap.
He even went as far as to tell me “Screw DEF CON, I hate that place it is a crap hole.”

It was all the validation I needed, and he was a big name in the community so I felt really good.
But it was only a short time later I was watching his very popular fitness podcast and I saw a
neon “DEF CON” sign hanging behind him.

I felt like I had been punched in the gut, but here is the crazy part. When my SECOM team came
to me and told me how upset they were, I DEFENDED him. I was so convinced he was my friend
that I defended him when all signs said he was definitely not on my side.

This was one of the many lessons where I had to learn that I needed to put myself deep in the
center of people that really had my back and stop wasting time with those who were only out
for themselves. I wish I could tell you I learned this lesson fast and everything went great after
this, but sadly, “old chris” was always there and I made excuses for people who I really loved
and thought it was ok. “He didn’t mean it that way, he was just tired.” Or “She didn’t mean to
ignore you for 4 weeks, she was just busy.” Or “He didn’t want to ruin his reputation with
associating with you, he has a business.”

When I had a team of people screaming in my face they loved me and wanted to support me.

So this is the lesson, find that epicenter, find that group that loves you and wants to be in your
camp, find that group that isn’t just blind sheep but knows who you are and wants to support.
You don’t want “yes men” you want true friends.

I think of Ryan, when I mention this. Ryan would seriously give a limb for me. I believe that. The
man gave up a paycheck to save the team from getting laid off. Who does that for nothing?

But he would also look at me square in the eye and say, “Chris you are being a jerk and need to
stop.” We all need friends like that. I KNOW Ryan loved me, which is why when he said I was
being a jerk I could hear him and listen.
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Wayne is another. I would sometimes fall into a trap if saying, “Maybe they are right, maybe I
am a bad person.” Wayne would quickly say, “Mate, please don’t talk about my friend that way!
I DON’T WANT TO HEAR IT.”

Find your Ryan’s, find your Wayne’s and don’t let go. I mean it, latch on and make them your
foundation during this time. You need them to be supportive but also brutal honesty.

THE WHEAT

Just like I mentioned before, when you are done sifting out all the chaff, what you are left with
is a pure, usable, wheat that can be turned into so many useful things. When you sift out all
that chaff in your life, you get rid of all the people, the things and the thoughts that don’t help
you. You continue to build strong processes to fortify healthy prospects, in addition to more
healthy thoughts.

I will honestly admit this is not easy. Even now as I review some of the texts from “friends” I feel
a tinge of guilt. “Maybe Dave really meant what he said?”, “Maybe John just was confused?”,
“Maybe HD was lied to?”

But then I have to remind myself that a critical thinker would have asked questions, had a
conversation and based their decisions on years of experience not a few uncorroborated
stories. They are the chaff… not worth my time and will produce nothing good in my life, so let
the wind carry them away.

I am sure there are many more lessons I can glean out but I want say these are the main ones.
Which I think is a fitting way to lead to our final chapter.

Chapter 10: Conclusion: The End is Not The End

What I am saying here is that, the end of this book is not the end of the story, for me or for you.
There is so much more to accomplish, and I won’t let this stop me.
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Here is the reality that I had to learn the hard way, just because the trial ended doesn’t mean
the “pain” ends. When Areesa breast cancer her biopsy, her surgery and even her radiation
seemed to be next to painless. Minor pain but nothing major. When it was all over, her last day
of radiation is when the pain started. Now her body pushing out all that poison, her underarm
turned black, her breast was burning, red and in pain. It was all over, but it wasn’t over just yet.

Reflecting on that helped me see that this is the same in the situation we were in here, even
though years had passed I sat on a video call with a person 3 years after the cancellation and
was told, “We just won’t be doing business with you until you clear this up.” This is from a
massive bank, but they were being controlled by two sentences and an internet mob, with not
one ounce of verifiable information.

How Do You Want To Live?

Empathy is so important, I will admit a few times during this, I lost my vision of it. I wanted to
see these people hurt and suffering so bad. I even said, “I wouldn’t shed a tear if I saw a report
that ‘so and so’ died.”

That is not who I am at my core. Yes, what this group did to me was awful, but by wishing harm
or even death to them I was allowing their bad actions to influence my personality. I had to sit
back at one point and determine that even if so many people failed at showing me kindness and
empathy, that doesn’t mean I have to be like them.

Is it that easy? Heck no. I struggled (struggle) with this immensely. I would see people who
basically stole every idea I made famous announce their new village, and I would filled with
anger. I would see an interview with the thief who started all this, and I would see rage. I would
see another post from the person who I thought had my back and did help change my life, and I
would overcome with sadness.

Been then I went back to the statement from Dr. Abbie. “Feel the emotions, fake the actions.”
So I did. I went to the gym, I smiled, I joked with my employees, I mentored people, I cooked for
my family… I did everything except crawl in a ball and cry.
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Eventually it did get easier to return to who I am. It felt good to see that old Chris come back
and recognize he was much happier not dwelling on the hate of others.

There IS More Happiness In Giving Than Receiving

I do love getting gifts, who doesn’t. But this ancient biblical principle has a lot of wisdom packed
into it. But not just wisdom, it has science behind it also. Research has found that when we give
something away (a gift, time, knowledge) a series of great things happens to us.

           1. We get a dopamine release. We activate a reward system for doing the good
               thing. Which leads to endorphins being released too, reducing stress and giving
               us a sense of well-being.
           2. Increased activity in the prefrontal cortex, and since that is the area involved in
               decision making, we get to evaluate how our gift has affected others and it
               reinforces the positive feelings.
           3. A release of oxytocin, this can enhance trust, empathy and social connection.
           4. We activate the mesolimbic pathway, this is linked to feelings of joy and
               satisfaction.
           5. A reduction in stress and anxiety.

Wait what? I can reduce my stress and anxiety by giving things to people? And this is what kept
me helping young ones, giving speeches at schools and colleges, teaching the next generation
and mentoring those who really wanted it.

And every time I did, I felt self-worth coming back and feeling of peace. It was truly an amazing
experience.

Where Do You Want To Focus

When the attacks first started, I spent an inordinate amount of time reading the posts, looking
at the comments, pondering the things people where saying and replaying every mistake over
and over and over in my head. I was spiraling and it seemed there was nothing to stop me.
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When Areesa’s cancer diagnosis came in, all of a sudden nothing seemed to matter but her and
my family. I spent time reading about cancer, reading all the literature the doctors gave,
learning how to support her.

The resultant of this was that I changed my focus, and unknowingly, fixed a massive problem I
wasn’t clearly seeing. I stopped spiraling and began to regain control. Now I am not saying I
never got negative, after all I am clinically depressed thanks to all this, but I am able to know
when I am losing focus and remind myself to return to a better baseline.

The Courage To Return

This next one was a massive lesson for me, a real-life changer. Do you remember the story I
told you in chapter five?

I was so angry one session with my therapist, so mad, so fed up. One of my employees was
going to apply to speak at a B-Sides and she asked me if I could be there to support her. I can’t, I
was asked to avoid all B-Sides till this was cleared up.

I was in a session with Natasha and I said, “I hate this community, I am never going back to a
infosec conference they can all burn in hell, worthless lot of them!!!”

Natasha, slowly took a breath (the indicator that I am about to get a Molotov in the face), “That
doesn’t sound very courageous.”

Her explaining to me that true courage would be able to see that Jeff Moss didn’t change my
worth, the haters, the mob, didn’t take away my years of experience, knowledge and ability to
help others. The only person who can take that away is …. ME.

Will I truly punish all the folks I can help because Jeff Moss and a few people decided I was a
bad person for some unknown reason? Will you do the same? Will you give up your value
because someone else determined you have no value?
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This is the question I had to ponder. And after a lot of thought the answer was a clear – NO. I
will not let others dictate my value, that is purely up to me, not them.

I know I can help others; I know I still offer value. Now, please know, this was not easy. So many
days I looked in the mirror and literally said to the reflection, “you are worthless”… so this was a
work in progress, but I got there.

And to be honest I still need to fight this battle daily. Even now as I write this, I am wondering,
“Why would anyone want to hear this from me?”

I am going to tell you something kind of ridiculous. As I was writing this paragraph my email
notified me that someone had sent me a message. I was feeling a little lost in my words so I
sighed and said, “let me go read this email….”

Here is what I was greeted with,

“Mr. Hadnagy,

I am sure you are very busy, and I am so sorry for taking your time but I wanted to know if you
could give me even five minutes of your time this week to help me think through some really
bid decisions on my career? I read your book, and I am very interested in this field but I am not
sure what to do next. I am sorry if this is too forward, I hope you will reply.”

Literally, as I write this chapter someone confirms that I still have value. I answered,

“Kim (name changed),

I want you to know that your email came at a time when I was doubting my worth and hit me
with a virtual hug of reassurance. Thank you. I would be honored to chat with you this week
and see if any of my experiences can help you. Here are my available times…..”
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I want to ask you, who determines your value? It cannot be other people, other events, other
organizations? Your value can only be determined by you. This is a hard one, especially if you
are battling depression and low self-worth. I don’t say this lightly.

I understand, you may be battling right now. But like Natasha did for me, I want you to truly ask
yourself these questions…

“Has this situation changed the value I added to others in the past?”

“Has this situation changed the fact that I felt I added value to this industry in the past?”

“Has this situation changed the knowledge I have, making me less valuable to this industry?”

I am sure in the end, like me you will see that one person or even a mob of people, can’t change
the value you added.

Example in the real world

On March 27, 2022 an event happened that would change a person life for quite some time.
During the 94th Academy Awards Chris Rock was making fun of Will Smith’s wife, Jada Smith.
Will got up from his seat, walked on stage in a live performance and slapped him so hard we all
felt the reverb.

The Academy of Motion Picture Arts and Sciences barred Will Smith from attending the Oscars
for 10 years. This caused Will to resign from the Academy as a member. It started a number of
discussions arounf comedy and the way it may affect those targeted.

Now, get this, from that one incident, major studios had to make decisions.


       Bad Boys 4 was delayed and put on hold this passed over.
       Fast and Loose a Netflix project was put on hold till this passed.
       Emancipation, which was set for release, had to delay its promotion and it got poor
        reviews just die to this incident.
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        Pole to Pole – a National Geographic series was put on hold till this passed.
        This is just a few of the projects Will had that was put on hold due to this incident.


Now I want to use this one because I had the amazing privilege of meeting Will Smith many
years ago. We sat in the hallways of DEF CON discussing his son’s career, and bring our kid into
our fields. I found him genuine and fascinating. When I saw all this happening, maybe because I
had a personal attachment to him, I felt sorry for him. Someone made fun of his wife and he
defended her honor. If someone mocked Areesa, I think a slap would be the least of their
worries.

But why is this story so important? As of this date, June 2024, when searching what Will Smith
is involved in:


        Bad Boys 4
        Fast and Loose
        Emancipation
        Planes, Trains & Automobiles Remake
        I am Legend 2
        Brillance
        The Council


Ok so in 2022 he was “cancelled” but who determined his value? Not the media, not the world,
no Will said he still had a lot to offer and he is.

So channel your inner Will Smith, and determine that your value is not tied to what your work
community deems as truth, but what do you feel?

Reclaim Your Identity

You just spent the last few days/weeks/months/hours reading about my life and the horrors I
endured. But why? Did you do it for morbid curiosity? Are you going through something
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similar? Do know someone suffering similarly? Whatever the reason there is a lesson we can
learn together here. I let my identity get tied up in my career. Who I was in my job defined who
I was as a person.

I cannot tell you how toxic that was for me. I am not the sum of my work, my work is part of
who I am. But what makes me up as a person is my work, my being a father, a husband, a
friend, a spiritual counsellor, an employer, a mentor, an author, an educator, and so many more
titles. All of these make up who “Chris Hadnagy” truly is, not just one or two of these.

Trying to limit this to just a couple is where I made a mistake. But the success I had in my
business seemed to define me and who I was, or at least I let that happen, sadly. I found myself
overcompensating in all my other work to “prove my worth.” This led me to overworking, over
stressing, over… everything.

It is hard to not see ourselves as the sum of our accomplishments, so I won’t sit here and tell
you not to, as I did. I will just acknowledge that we all do this, and knowing this what can we do
then with the resultant emotions that come from viewing our accomplishments as “us”?

I wish I had a true, clear-cut answers, but I am going to give you my thoughts. I did see myself as
my company, as my career, as my books, as my fans, etc. When that dried up, I did see myself
as worth less than I was previously.

I wish I could give you the answer on how to avoid this, but I can’t. Even as I sit here today, I am
struggling to not see myself as the net worth of what I have produced. The thought of losing
that due to a group of people who hated me and one person with true cancel power still makes
me afraid.

Something my trainer, Helmi said to me keeps ringing in my ears. “Even after you win the
lawsuit these people will go on and live their lives as if nothing happens. People who wish death
on others and send out so much hate in the world, you cannot be annoyed at them for their
actions, you should feel sorry for them. Feel sorry that they chose to live their lives like that.”
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A powerful statement indeed. I had to realize that their hate of me, their negativity of me is not
a true reflection of who I am. Did I sexually assault someone? No. Did I harass Maxie or the
other accusers? No. What I did do is defend my company, defend the nonprofit, defend my
family, defend the truth. For that, I was punished. I can’t control what they do, only how I
handle it.

And I choose to reclaim who I was and stand up and not allow them to spend more time in my
head, ruining my life and telling me I am something I am not.

That sounds easy, I will be honest here, it is not. Some days I still sit here and think about all
those people I looked up to, all those people I would consider my examples who said things like,
“Just go die already” or “The unnamed speaker should have been mentioned” etc etc. I think
about those things and wonder if I am a bad person. So I won’t tell you right now there was a
moment where I woke up and heard the Rocky theme song and had an epiphany and never
thought negatively again.

I will battle this, probably for the rest of my life. BUT, I will not let it dictate what I do and how I
do it. I will own my future and I will work hard to stay the person I am. Helping, mentoring,
caring and filled with empathy.

A Call To Action
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Ideas:

CALL TO ACTION

What is it?

        Call to action for readers to apply the lessons learned in their own lives and
         organizations. Outline to analyze those with cancel power in your life.

        Future outlook on insider threats and cancel culture, with recommendations for
         individuals and organizations.
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        Exhibit 26
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From:                   Christopher Hadnagy[/O=EXCHANGELABS/OU=EXCHANGE
                        ADMINISTRATIVE GROUP
                        (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=55615E7A8341469FB8917CC35F
                        D13009-CHRIS]
Sent:                   Tue 5/10/2022 2:53:30 AM (UTC)
To:                     Laurie Segall              @gmail.com]
Cc:                     Laurie Segall[laurie@dotdotdotmedia.com]
Subject:                Details
Attachment:             DEFCON-TIMELINE.docx

 Laurie,
 I am so sorry for hijacking our time today with the crap of my life.
 Let me just say this: these details I am sharing with you, have never been shared outside the
 company. Please protect these. These can ruin my life if used wrong.
 Anyhow, there is a lot to give you for details and not sure of the best way to do it…
 I have included a DEF CON timeline
 But here is some other details
 Employee 1:
 Cat Murrdock
 Came in with zero experience. I trained her, helped her, excelled her. She went from no one to a
 trainer, podcaster, and leader in a year. With in 9 months she got a 20,000 raise and her statement to
 me was, “I thought it would be more.”
 That should have been my sign.
 Full disclosure. She screwed up a massive project and lost my crap. I chewed her out bad. Not due to
 her gender but her failure, but should have handled it better, She quit that night. Said she was gonna
 go back to education.
 But with in a month started a company that sold our products. We shut her down
 She went to get a job with a competitor, which was a breach of her contract, we didn’t stop her. I
 should have.
 Then she went on to work for a client of ours she serviced, also a breach, but I didn’t stop her.
 She tried to damage ILF and called out our agents at DEF CON. Was a major problem and almost
 ruined ILF.
 She is a terrible person.
 Employee 2
 Maxie Reynolds.
 So much data on her, she is a con artist. Her and her “ex” are known for scamming people and
 stealing money then disappearing. She is pretty terrible. Lied about her dad dying. Started a company
 while on “sick leave” with her ex to compete with us, used corp email to divert contracts and sign
 contracts she had no right to sigh. Actively tried to sabotage employees here, female employees at
 that, they will testify to it. She, and this is no joke, is a psychopath. Joe Navarro has help me diagnose
 her. It will be an amazing book. She reported me for being into Child Porn. She illegally used pics from
 an ILF case in her book that I helped her write. She left SECOM 3 days before launch and removed my
 name from the book completely.
 She is the one behind the attacks.
 Her, Cat and Stephanie Carruthers. Stephanie or “snow” are the ring leaders. Rachel Tobac is in on it.
 They tried to recruit Alethe Denis but she refused as well as many others.
 I am sure there are about 50000 questions – so ask                                              Cat Murdock
                                                                                                 10/24/2024

                                                                                          Defense 4
                                                                                           Douglas Armstrong, RPR
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570.234.3734
www.social-engineer.com
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Them Better Off for Having Met You HERE!
Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM
From: Laurie Segall <laurie@dotdotdotmedia.com>
Sent: Friday, April 29, 2022 6:48 AM
To: Christopher Hadnagy <chris@social-engineer.com>
Cc: Laurie Segall              @gmail.com>; Nick Covell <nick@dotdotdotmedia.com>
Subject: Re: Story Idea
Wow. This is horrible (and really interesting)..
First of all - yes! Want to come on podcast! And let’d find time to chat through below?? Next week?
Sent from my iPhone
        On Apr 28, 2022, at 11:59 PM, Christopher Hadnagy <chris@social-engineer.com>
        wrote:


      Hey there Laurie,
      Seems like your book took off! Congrats. I hope you are well.
      I have a few story ideas I am tossing to a couple places but you are always my first
      stop.
            1. Crypto is being used in child exploitation now more than ever. BTC and
            Monero are the biggest. WE have seen a HUGE increase in CSAM as well as
            (ugh) self made child abuse material. The pervs are getting the kids to take the
            images of themselves and then upload them. It is an epidemic. Going for big
            money.
            2. Disinformation campaigns. Russia is using these intensely. Over 70% of all the
            worlds ransomware is linked to Russia… holy crap. It is going to get worse.

      I have a few other ideas but just wanted to float these and see if we can make one
      work for one of your shows.
      Let me know. Also REALLY want to get you on the podcast for your book.
      Thoughts?
      Christopher Hadnagy
      Chief Human Hacker
      Social-Engineer, LLC.
      570.234.3734
      www.social-engineer.com
      Grab a copy of my new book Human Hacking: Win Friends, Influence People,
      and Leave Them Better Off for Having Met You HERE!
      Have you seen my TedX Talk on how we are being hacked daily?
      https://www.youtube.com/watch?v=9e6k PtEXdM
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      or the employee or agent responsible for delivering the message to the intended
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Nick Covell
Production Coordinator
Dot Dot Dot Media
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From:                      Offensive Security Order & Registration[orders@offensive-security.com]
Sent:                      Sun 2/13/2022 8:01:49 AM (UTC)
To:                        Christopher Hadnagy[chris@social-engineer.com]
Subject:                   Re: New submission from Contact Multi Logic Questions

##- Please type your reply above this line -##

This is an automated email from Offensive Security Support regarding your support ticket.
 -----------
 Hi Christopher,

 Since we have not heard from you regarding this issue, we will be closing it at this time. The full comment thread is
 below. If you reply the ticket will re-open and we will continue to assist.



 Order & Registration Services (Offensive Security)

 Feb 10, 2022, 7:57 UTC

 Hello Christopher,


 Thank you for your reply.


 We need 2 information from the student to avoid giving the wrong information.
 There are quite a number of students whose names are also the same as Maxie Reynolds
 and we can't just validate it based on the given name.


 Hope you understand. You may ask Ms Maxie Reynolds to get the OSID or even email she
 used in registering for our course.


 Keep us updated should you need further assistance.
 Sincerely,
 The Offensive Security Team




 Christopher Hadnagy

 Feb 10, 2022, 7:36 UTC

 All we were told was her name, we do not know her email or id – and we want to confirm
 if she has the cert as she claims she does.
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Not sure where to go from here. Sorry

Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com<http://www.social-engineer.com>

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Them Better Off for Having Met You HERE<https://humanhackingbook.com/>!

Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM

From: Offensive Security Order & Registration <orders@offensive-security.com>
Date: Wednesday, February 9, 2022 at 10:28 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: [Offensive Security] Re: New submission from Contact Multi Logic Questions
You don't often get email from orders@offensive-security.com. Learn why this is
important<http://aka.ms/LearnAboutSenderIdentification>




Order & Registration Services (Offensive Security)

Feb 10, 2022, 3:28 UTC

Hello Christopher,


Thank you for contacting us.


Quite sadly, Offensive Security is not able to confirm the validity of the information you
have provided.


We need to have the student's full name +OSID or Full name + email address, or Full
name + Cert ID.
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Please confirm if we can close this ticket or let us know if you require any additional
assistance.
Sincerely,
The Offensive Security Team




Christopher Hadnagy

Feb 9, 2022, 8:40 UTC

Hello, we do nt kow her ID but her name is Maxie Reynolds

Thank you,

Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com<http://www.social-engineer.com>

Are you interested in becoming the best version of YOU? Check out the Human Behavior
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Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
Them Better Off for Having Met You HERE<https://humanhackingbook.com/>!

Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM

From: Offensive Security Order & Registration <orders@offensive-security.com>
Date: Wednesday, February 9, 2022 at 1:44 AM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: [Offensive Security] Re: New submission from Contact Multi Logic Questions
You don't often get email from orders@offensive-security.com. Learn why this is
important<http://aka.ms/LearnAboutSenderIdentification>
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Order & Registration Services (Offensive Security)

Feb 9, 2022, 6:44 UTC

Hello Christopher,


Thank you for contacting us.


Absolutely! Please provide us with the student's first and last name.


Also, please provide us with an Offensive Security ID number for any individual whose
certification you would like to verify; an Offensive Security ID number can easily be
obtained simply by asking the candidate who claims to be an alumnus of Offensive
Security. The OSID number is unique to each student and is comprised of four to five
digits (i.e., OS-XXXX).


Once we have received this information from you, we will proceed to contact each student
in order to obtain his or her approval of the release of their certification status.


If the student authorizes the release of the information, we will then contact you in order
to verify their certification.


Should you have any other questions, feel free to contact us.
Sincerely,
The Offensive Security Team




Christopher Hadnagy

Feb 9, 2022, 5:10 UTC

Inquiry: Other
Name: Chris H
Email: Chris@social-engineer.com
OS-ID: Na
Tel: 5705108488
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Message: I want to verify if a student actually has the OSCP for employment verification.
Can you do that off of a first and last name? Thank you!

IP Address: 97.101.6.12
User-Agent: Mozilla/5.0 (Linux; Android 12; Pixel 6 Pro) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/98.0.4758.87 Mobile Safari/537.36
Referrer: https://www.offensive-security.com/contact-us/
UTC Date/Time: 2022-02-09 05:10:39


This email is a service from Offensive Security. Delivered by Zendesk
[YDW3ZZ-77L7]
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        Exhibit 38
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From:                   david@mgenyc.com[david@mgenyc.com]
Sent:                   Mon 5/2/2022 12:33:56 PM (UTC)
To:                     Christopher Hadnagy[chris@social-engineer.com]; Allie[allie@mgenyc.com]
Subject:                RE: HUBE : My Thoughts

 Morning!
 Personally, I’d suggest to make that statement about half-as-long and leave off “details”. Basically,
 invite DEFCON to arbitration and imply that you “know something that they don’t think you know”.
 Right now, you’re basically giving them “discovery” (I watch lawyer shows… haha).
 Unless those people from DEFCON gave you absolute specifics, which may be another matter.
 ALLIE and I are on shoots all this week, but let’s revisit this shortly.
 Your Humble Narrator.

 D

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 www.facebook.com/mygoodeye | https://www.facebook.com/mygoodeyenyc
 O: 212-791-2777
 C: 917-497-6279
 SKYPE : mygoodeye232

 Want to make an appointment? Click here -> Calendly.com/davidbrodsky
 From: Christopher Hadnagy <chris@social-engineer.com>
 Sent: Saturday, April 30, 2022 11:37 AM
 To: Dave Brodsky <david@mgenyc.com>; Allie <allie@mgenyc.com>
 Subject: RE: HUBE : My Thoughts
 Easy stuff first,
 If you think Ryan and Rosa are not warm enough we will work on that and if we have to reshoot we
 will either give them another shot or find better options. I am open. I will be nice, but this is about
 best product not their feelings.
 Abbie is not in Florida yet, another month we think it will all work out.
 Now for the DEF CON statement I am thinking of this:
 “In my previous statement I promised you all that I would be open as I found out more information
 and be willing to share what I can in regards to the announcement and ban made by Jeff Moss at DEF
 CON of me. Recently, two people who represent DEF CON and are higher up in the organization have
 given me information regarding the accusations that lead to the ban of me from the DEF CON
 conference.
 The facts are really disturbing and a very serious nature for DEF CON. They will also uncover how
 many that are involved in the new Social Engineering Community Village are a part of this attack. I
 have been thinking how I could live up to my promise to be open and forthcoming as there are still a
 few things I hold to:
        1. Any real victims should have the choice if they want to be named or spoken about.
        2. If the accusation involve any legal ramifications from either side, the way the information is
        relayed needs to be thought about to protect the ability for those legal proceedings to take
        place.
        3. And in this particular case it involves some actions that were taken to protect the identity of
        a 13 year old victim that ILF worked on which is now a federal case and we MUST not do
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      anything that will jeopardize her safety and identity.
      4. A real investigation is not done by a biased party but it done in a way that gives all sides the
      ability to have a say and speak their part if they so wish.

With that said, the accusatory nature of DEF CON’s statement has done untold damage to my name,
my company and my nonprofit. The work I have done over the last 20 years has come into question
and I must defend myself so all that work is not ruined.
For this reason here is my offer, I will not release the facts to any DEF CON investigator or any Social-
Engineer, LLC investigator as the bias in both cases is too strong. If DEF CON will agree, both they and
SECOM can choose a legal arbitrator that can review any evidence that DEF CON says they have as
well as all of the evidence I have. This will include:
      • logged and saved communications I have with the DEF CON representatives
      • all internal SECOM communications and logs that had to be handled to protect intellectual
      property, data theft or other legal business matters
      • all internal ILF communications and logs that had to be handled to protect the identity of the
      13 year old victim that was in danger – we will NOT release any details about her, her family or
      her case even to the arbitrator as it is no longer a case we can speak about publicly
      • witnesses that will testify under oath to matters that were told to them about this attack on
      me and the motives behind it
      • clear evidence of the time line of how all this came about and how deep this goes

I would have loved nothing more than to let this go and move on with life, sadly, as I mentioned
above the damage done to my family, myself, Social-Engineer, LLC, and The Innocent Lives
Foundation and all employees and volunteers for both has been more extensive that you can imagine
and for that reason it cannot be ignored responsibly.
I am making this public statement and sending the same message unaltered to both Jeff Moss, DEF
CON representatives as well as Black Hat representatives. I will give this message 7 days to be replied
to and then will update with another statement as to what happens next.
Let’s all hope that Jeff Moss will take this seriously as I have and lets work out a solution.
Thank you all for your patience as I work this out.”
Anyhow, I am sure it needs some tweaks but this is what I want to put out there.
More soon.
Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com
Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
Them Better Off for Having Met You HERE!
Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM
From: david@mgenyc.com <david@mgenyc.com>
Sent: Saturday, April 30, 2022 11:10 AM
To: Christopher Hadnagy <chris@social-engineer.com>; Allie <allie@mgenyc.com>
Subject: RE: HUBE : My Thoughts
DMAIL! HA. Love it. And I’m honored.
The below all sounds like a reasonable plan; although I’d proof-read that statement a bit.
OSINT : Not to bum you out, but now try just typing CHRIS HADNAGY into Duckduckgo. My guess is
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that a reasonable slice of your potential clientele lean towards these more “privacy centric”
platforms… nevertheless, we all agree that in the absence of striking it from the internet, the
headlines should read more like “Chris Hadnagy Wins Arbitration Against Def-Con in $50M
defamation settlement”.




TIM : Great minds! Like I said, if you are “right” and this issue was caused by a vindictive ex-employee
(which you can prove, it seems), then why take the punishment? Nobody but nobody would think less
of you for protecting the well-being of a 13-year-old rape victim… ah, but they will think less of the
person that attempted to exploit that 13-year-old for her own personal gain.
Drop the bomb right around Def-Con, but do not be fooled into thinking that’ll be the end of it. Dole
it all out in digestible nuggets of information rather than a DMAIL-level-info-drop. And, don’t show
you’re whole hand in the first salvo. Do to them what they did to you. Let them squirm this time. And
hopefully you impact their bottom line.
ARBITRATION : I like that.
You have a few months to determine whether to bother. If you can weather this downturn by, say,
JUNE, maybe you don’t have to bother. MAXI is poking the bear to get you to respond negatively to
the “poor, poor victimized woman” and I’d level a bet that she’s going to talk-shit to anyone that will
listen. I wonder, is she a good manipulator or just an attractive one? Both?
This is going to sound terrible, but you have the “Amber Heard” matter on your side. A very high
profile, attractive woman being shown to be the abuser… it certainly pokes holes in the “believe all
women” mantra. Now, if only we’d seen the Ghislane Maxwell trial, eh?
My opinions:
I’ll defer to TIM on the matter of timing, but (as mentioned), better to put the heat on them while
they’re ramping up to the convention. Give them something to worry about. Be very careful not to
appear unhinged; check your spelling and lay-off speculative preacher lines like this:
“If they will not, it will show you, the community they do not want this to be resolved – we do.”
Lines like that will backfire on you if DEFCON does agree to arbitration. If they take you up on it, then
you look the fool.
Do not imply that they are malicious or incompetent in your first salvo. You are level-headed,
righteously upset, and honestly confused. Let them hang themselves. Or let their silence speak
volumes.
Do not explain that their investigator is a clown. Just put it out there: 3 rd party arbitration so we can
be assured of an unbiased decision. Only “answer” with things like “their investigation appeared
biased” when asked. Do not write : “unskilled and unprofessional”; maybe more like “we don’t feel
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their investigation was comprehensive”.
Project a calm demeanor. I’m not the expert so I don’t know what it’s called, but I think you should
project the type of behavior that indicates a knowledge of being correct, a respectful self-awareness,
a slight indignation at having been wrongly accused, and (importantly) the idea that you know
something – big – that they don’t. Take a page from Joe Navarro’s demeanor. He’s the kind of guy
that you want to keep happy, and takes no shit.
If they remain silent, then go ahead drop some lines about “them not wanting to get to the bottom of
it”…
… but as with every chess-match, try to anticipate what they’re going to say to that, if anything. And if
you can live with (and defend against) what they might say.
If they do not agree, perhaps follow up with suing them (if you have cause). And then, perhaps, drop
the “I will not apologize for protecting a 13-year-old rape victim” thing.
And, by the way, have someone on your side attend the new SE “room” at DEFCON, if possible. If
they talk shit, you may have something actionable.
QUESTION : Aside from the obvious (clearing your name, vengeance), what is it that you want from all
this? If DEFCON agreed, would you return? Do you think the clients that bailed would return? Do you
think that if you left well enough alone, it’d eventually go away?
JOE/ABBIE/CHRIS SHOW: Is she in Florida? And yes, you should. Maybe wait to spend the money until
some dust settles on DEFCON? I have to think on that, but in the abstract, the idea of a “well-
produced” show (not necessarily Zoom windows) sounds like a winner. My initial thought would be to
do “fireside chat” episodes in-studio with the 3 of you interacting. Maybe one a month if the subject
matter isn’t “timely” we could record 12 in a sitting. Then “interstitials” done in the Zoom-window-
style/podcast (as a matter of practicality) based on more current events. Let’s discuss.
ISE/ABBIE : On it, as you saw in the other thread.
You, me and Allie: You and Patricia came off as warm and natural. Ryan and Rosa less so (all the love
in the world to them both). We should rehearse them far more than we did.
I have not watched these videos since we shot them, but my thinking might be to add some more
“natural” presenters. Off the top of my head, CURT is an actor and can probably deliver. SHELBY is
young and articulate and might jibe with the ISE market.
Long enough?
Your Humble Narrator.

D

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O: 212-791-2777
C: 917-497-6279
SKYPE : mygoodeye232

Want to make an appointment? Click here -> Calendly.com/davidbrodsky
From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, April 27, 2022 10:10 PM
To: Dave Brodsky <david@mgenyc.com>; Allie <allie@mgenyc.com>
Subject: RE: HUBE : My Thoughts
Hey broski….
(see what I did there)
Ok so this is gonna be a Dave level email… otherwise known as a DMAIL
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LOL
Short version – I cannot argue with anything you have said here. I really can’t. I have many
thoughts/feelings/meanderings
I have done numerous levels of OSINT on me, and yes you are right. If you search for Chris Hadnagy
and DEFCON you find it, but not if you just search for CHRIS HADNAGY
That is not an argument. Cause this week (not public)… that awful psycho bitch Maxie called Michelle
Ward to “check in”… she didn’t take the call
2 days later a sponsor pulled all their financial support for being linked with me. So now she has to
quit ILF.
UGH
The woman wants me dead – so for this reason alone I agree – we cannot continue with HUBE till we
can put this in the rearview mirror.
Side bar – I spoke to Tim about the idea of a defensive attack on def con and … LO AN BEHOLD he is
not opposed to it. Wow
So the idea for now – July
Post something like this (more eloquent)
Due to comments from 2 DEF CON representatives directly to me in posts we now have enough proof
to defend tese ridiculous allegations. We still DO NOT want to out any victims or cause any harm. For
that reason we are willinging opening a discussion with a legal arbator if DEF CON agrees. We refuse
to use a DEF CON investigator as they are biased, unskilled and unprofessional. Additionally, we will
not allow an SECOM investigator to be involved as they are biased. So we will pay for a 3rd party DEF
CON approved arbriation if they will respiond and agree. We want the truth to come out, we want to
expose what we have found, but we want to do it ethically, morally and with any potnetial victim in
mind.
Then we see what happens. My expectation is that they will do nothing and not respond. But maybe
the community will force them to. We will see.
Ok so now for the rest…
Wired PAUSED (not pulled) after the def con news. Like everyone, they are scared. Am I running
around raping people acting like I a good guy? Hell Jeff Damher was known to be one of the best
neighbors. So people are scared,. I get it.
In the meantime, we have lost 1 million in business as of now. OUCH. Can you believe that number? I
cannot. Honeslty as I sip my whiskey right now I cannot believe I typed that number. WOW
All because of a conference.
Now, I agree we need to spend some money to do a joe, abbie chris show, get some women there
and pump the piss out of it on youtube.
Long plan – I need to get you with Abbie. She needs to see if the video you have will work.
The ones that will great.
Then we need to redo some others.
During that shoot we need to get you to film Joe and I and a woman… and we promote that.
I am also working on some HuBe light promotions.
I get that 2023 may be a bad idea – I can’t committ to that just yet, but I get it.
Sigh
I am workign with a speaking consultant to get my personal brand out there… and I can use your help
for sure.
I am (for the first time) working on an SBA loan to cover marketing and some money to help growth.
What else?
What do you think?
Christopher Hadnagy
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Them Better Off for Having Met You HERE!
Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM
From: david@mgenyc.com <david@mgenyc.com>
Sent: Wednesday, April 27, 2022 9:46 AM
To: Christopher Hadnagy <chris@social-engineer.com>; Allie <allie@mgenyc.com>
Subject: HUBE : My Thoughts
Heya! I’ll speak for myself and let ALLIE chime in with her thoughts if they differ from mine…
… but since you asked: I don’t think you should focus on HUBE as a “whole” just yet. I agree with
RYAN and JASON, you’ve got a lot of plates spinning, let’s not add another – for now.
I’m unconvinced that you have enough juice to fill a conference right now. When searching “Chris
Hadnagy” on DuckDuckGo, the DEFCON stuff is still first page; starting at result number 6.
And your WIKIPEDIA page indicates that you were banned from DEF CON as well (you should strike
that). Someone is obviously f*cking with you, ‘cause they couldn’t bother to get your name right, yet
that doesn’t matter. “Perception = reality” as the saying goes. Right now, in some circles, right or
wrong, the “conversation” will be DEFCON.
This is bad. Someone unaware of this DEFCON issue can be easily made aware of it with zero effort
expended beyond scrolling a mouse wheel. That, in turn, could dissuade the potential attendee and
you’d never know it.
Until you come-out-on-top of this DEFCON crap; or you put it so squarely in the rear-view that it
doesn’t show until page 3. DEFCON simply can’t be a large part of the conversation. If you come out
the “hero”, then attendees will be far easier to secure. Not that the entire purpose of defending
yourself against DEFCON should be HUBE, but it wouldn’t hurt.
Moving on…
… we should focus on rebuilding (and, as you mentioned, redirecting) SECOM. Rebuild the reputation
and redevelop business relationships in both the InfoSec and “corporate” spaces. THIS is where you
should spend your money.
As part of that “rebuild”, obviously ISE can play a big part. ISE stands to bring you an entirely different
audience of people hungry for knowledge. They’d be a perfect audience for HUBE24. Who knows?
Maybe you have ISECON24? Spend money on an ISE awareness campaign.
I’d also suggest building you – as a brand - publicly. We’ve discussed BEHAVIOR PANEL several times –
and I know you’d prefer to have more science – but due to their public presence they are now able to
(presumably) have a little “convention” of their own, as well as completely eschewing DEFCON. It
sounds a whole lot like what HHC was, but just featuring the four of them (https://behavior-
panel.mykajabi.com/las-vegas-event). By my count, their costs are significantly lower than what you
were aiming for with HUBE; they are openly selling all of their merchandise; and I’d bet each of them
will walk away with (at least) $25K for the weekend… all while developing their brand and solidifying
clientele. Not bad.
(I’m quite curious to go, just to see how it goes for them. I’d say that at least CHASE and MARK would
recognize Allie and I, so it really couldn’t be covert; and I’m not so curious as to want to spend $5K…
still…)
What happened with the JOE NAVARRO/ANNE-MARTJE thing? That would be a great way to develop
awareness of you, SECOM, ISE and HUBE. Or, a great way to develop your “alternative Behavior
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Panel”.
Along the way, I suggest HUBE “pop-ups”. Specifics I don’t know, but in the abstract :
      • HUBE at small conventions – both in the “hacker” space and otherwise;
      • HUBE “section” as part of each and every one of your talks (ie: “okay class, let’s talk about
      Human Behavior” and we use the HUBE logo on those slides, and the slides of anyone
      presenting on SECOM’s behalf (Shelby?));
      • HUBE-centric podcast episodes;
      • HUBE speaking engagements (ie: promote “human behavior specific” talks and
      presentations).

In other words, let’s look at developing HUBE in a more subtle and organic way. Once the DEFCON
crap has faded away (or, in the alternative, you go scorched earth as we discussed and become a
hero) and you’re working with a new group of clients, that’s the point I think you can offer HUBE (at a
corporate discount) to your clients, as well as approach a broader audience.
From a financial perspective, I never could figure out the profit on it based on the offering price and
the max attendees. Given that I think you spent far more than you think you did on HUBE22 - and
you’ve mentioned the loss of SECOM business - I’d also suggest rebuilding your coffers before
entering what could become a costly endeavor. You heard PING, there is a ton of money that needs
to be spent on awareness alone; unless you already have sufficient awareness of your brand to draw
attendees, that is.
I know HUBE is something of a passion-project for you, but I think it unwise to decimate your passion
for it by attempting to force the issue right now. Yes, yes, we can charge forward with righteous fury
and perhaps do well, yet I think that’s something to think about next month...
I think we look at your “status” monthly; each time evaluating whether HUBE is something that
should become a conference, is affordable, and can be viable from pragmatic standpoints.
And there you have it, my opinion!
Let’s discuss as you like.
Your Humble Narrator.

D

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        Exhibit 39
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From:                   Laurie Segall[laurie@dotdotdotmedia.com]
Sent:                   Wed 5/11/2022 4:41:34 PM (UTC)
To:                     Christopher Hadnagy[chris@social-engineer.com]
Subject:                Re: Details

Hey there,
No need to apologize. That's really tough.. and definitely sounds like a tough ordeal :( I'm going
to review and loop back!

L

On Mon, May 9, 2022 at 10:53 PM Christopher Hadnagy <chris@social-engineer.com> wrote:


    Laurie,



    I am so sorry for hijacking our time today with the crap of my life.



    Let me just say this: these details I am sharing with you, have never been shared outside the
    company. Please protect these. These can ruin my life if used wrong.



    Anyhow, there is a lot to give you for details and not sure of the best way to do it…



    I have included a DEF CON timeline

    But here is some other details



    Employee 1:

    Cat Murrdock

    Came in with zero experience. I trained her, helped her, excelled her. She went from no one
    to a trainer, podcaster, and leader in a year. With in 9 months she got a 20,000 raise and her
    statement to me was, “I thought it would be more.”

    That should have been my sign.
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Full disclosure. She screwed up a massive project and lost my crap. I chewed her out bad.
Not due to her gender but her failure, but should have handled it better, She quit that night.
Said she was gonna go back to education.

But with in a month started a company that sold our products. We shut her down

She went to get a job with a competitor, which was a breach of her contract, we didn’t stop
her. I should have.

Then she went on to work for a client of ours she serviced, also a breach, but I didn’t stop
her.

She tried to damage ILF and called out our agents at DEF CON. Was a major problem and
almost ruined ILF.

She is a terrible person.



Employee 2

Maxie Reynolds.

So much data on her, she is a con artist. Her and her “ex” are known for scamming people
and stealing money then disappearing. She is pretty terrible. Lied about her dad dying.
Started a company while on “sick leave” with her ex to compete with us, used corp email to
divert contracts and sign contracts she had no right to sigh. Actively tried to sabotage
employees here, female employees at that, they will testify to it. She, and this is no joke, is a
psychopath. Joe Navarro has help me diagnose her. It will be an amazing book. She reported
me for being into Child Porn. She illegally used pics from an ILF case in her book that I
helped her write. She left SECOM 3 days before launch and removed my name from the
book completely.



She is the one behind the attacks.

Her, Cat and Stephanie Carruthers. Stephanie or “snow” are the ring leaders. Rachel Tobac is
in on it. They tried to recruit Alethe Denis but she refused as well as many others.



I am sure there are about 50000 questions – so ask

But take a look and let me know
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Christopher Hadnagy

Chief Human Hacker

Social-Engineer, LLC.

570.234.3734

www.social-engineer.com



Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
Them Better Off for Having Met You HERE!



Have you seen my TedX Talk on how we are being hacked
daily? https://www.youtube.com/watch?v=9e6k PtEXdM



From: Laurie Segall            @gmail.com>
Sent: Monday, May 2, 2022 10:55 AM
To: Christopher Hadnagy <chris@social-engineer.com>
Cc: Nick Covell <nick@dotdotdotmedia.com>; Laurie Segall
<laurie@dotdotdotmedia.com>
Subject: Re: Story Idea



Also, wow... Chris ... these stories are horrible. Excited to chat. I am very interested in the
web3 angle, crypto angle for some of the way things are being weaponized.



On Mon, May 2, 2022 at 10:36 AM Christopher Hadnagy <chris@social-engineer.com>
wrote:

Please do – send it over ASAP so I don’t double book

Thanks
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From: Nick Covell <nick@dotdotdotmedia.com>
Sent: Monday, May 2, 2022 10:33 AM
To: Christopher Hadnagy <chris@social-engineer.com>
Cc: Laurie Segall <laurie@dotdotdotmedia.com>; Laurie Segall
             @gmail.com
Subject: Re: Story Idea



Hi Christopher,



Nice to meet you! Laurie is available to chat Mon, May 9th at 1p EST, so we can lock that
in. I'll send over a calendar invite!



Best,

Nick




On Sat, Apr 30, 2022 at 11:09 AM Christopher Hadnagy <chris@social-engineer.com>
wrote:

It is horrible but also a story that needs to be talked about.



Here are a few considerations for a story or two



Right there is a massive increase in self-produced child abuse images. Groomers getting
kids to take the images then send them in. They then exploit kids to hand off their crypto to
not spread the images.



So the kids either have to buy crypto or give up crypto they own.
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Also – we found a guy who was selling accounts of girls he owned that anyone can now
sexploit. It is disturbing – but crypto. Oof.



Lots to discuss. Also I want to get you on the podcast.

Next week I am teaching all week so can we do the week after?



9th 1pm EST

10th 3:30pm EST

12th 4pm EST



Any of those work for our convo?




Christopher Hadnagy

Chief Human Hacker

Social-Engineer, LLC.

570.234.3734

www.social-engineer.com



Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
Them Better Off for Having Met You HERE!



Have you seen my TedX Talk on how we are being hacked
daily? https://www.youtube.com/watch?v=9e6k_PtEXdM



From: Laurie Segall laurie@dotdotdotmedia.com
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Sent: Friday, April 29, 2022 6:48 AM
To: Christopher Hadnagy chris@social-engineer.com
Cc: Laurie Segall               @gmail.com>; Nick Covell <nick@dotdotdotmedia.com>
Subject: Re: Story Idea



Wow. This is horrible (and really interesting)..

First of all - yes! Want to come on podcast! And let’d find time to chat through below??
Next week?



Sent from my iPhone



      On Apr 28, 2022, at 11:59 PM, Christopher Hadnagy <chris@social-
      engineer.com> wrote:




      Hey there Laurie,



      Seems like your book took off! Congrats. I hope you are well.



      I have a few story ideas I am tossing to a couple places but you are always my
      first stop.



            1. Crypto is being used in child exploitation now more than ever. BTC
            and Monero are the biggest. WE have seen a HUGE increase in CSAM
            as well as (ugh) self made child abuse material. The pervs are getting the
            kids to take the images of themselves and then upload them. It is an
            epidemic. Going for big money.
            2. Disinformation campaigns. Russia is using these intensely. Over 70%
            of all the worlds ransomware is linked to Russia… holy crap. It is going
            to get worse.
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    I have a few other ideas but just wanted to float these and see if we can make
    one work for one of your shows.



    Let me know. Also REALLY want to get you on the podcast for your book.



    Thoughts?




    Christopher Hadnagy

    Chief Human Hacker

    Social-Engineer, LLC.

    570.234.3734

    www.social-engineer.com



    Grab a copy of my new book Human Hacking: Win Friends, Influence People,
    and Leave Them Better Off for Having Met You HERE!



    Have you seen my TedX Talk on how we are being hacked
    daily? https://www.youtube.com/watch?v=9e6k PtEXdM



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  --

  Nick Covell

  Production Coordinator

  Dot Dot Dot Media

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Laurie Segall
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Founder & Executive Producer
Dot Dot Dot Media
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        Exhibit 40
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ϭϱ     4:KLOH\RXZHUHHPSOR\HGDW,/)GLG0U+DGQDJ\
            4   :KLOH\RXZHUHHPSOR\HGDW,/)GLG0U+DGQDJ\

ϭϲ     PDNHFRPPHQWVDERXWZRPHQ VDSSHDUDQFHV"

ϭϳ     $<HV
            $   <HV

ϭϴ     4:KDWNLQGRIFRPPHQWVZRXOGKHPDNH"
            4   :KDWNLQGRIFRPPHQWVZRXOGKHPDNH"

ϭϵ     $7KHUHZHUHDFRXSOHWKDWGHILQLWHO\VWLFNRXWLQ
            $   7KHUHZHUHDFRXSOHWKDWGHILQLWHO\VWLFNRXWLQ

ϮϬ     P\PLQG2QHRIWKHPZDVRQDEXVLQHVVWULSWKDWZHZHUH

Ϯϭ     WUDYHOLQJWRJHWKHUDQGKHVDLGWKDW0D[LHZDVVRKRWZKHQ

ϮϮ     VKHFULHGDQGWKDW VZK\KHZDVWDNHQDGYDQWDJHRIRU

Ϯϯ     VRFLDOHQJLQHHUHGLQKLVSHUVSHFWLYH7KHUHZDVDQRWKHU

Ϯϰ     WLPHWKDWPDGHPHXQFRPIRUWDEOHZKHQZHZHUHWDONLQJDERXW

Ϯϱ     GRLQJDSRWHQWLDOVWLQJRSHUDWLRQDQGZHKDGWDONHGDERXW


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϬ
 ϭ     XVLQJDQRWKHUJLUORQWKHWHDPDQGKHVDLGOLNH+HU

 Ϯ     ERREVDUHZD\WRRELJ+H VPDGHFRPPHQWVWRDQRWKHU

 ϯ     YHU\JRRGIULHQGDQGWHDPPHPEHURIPLQHVD\LQJ,GRQ W

 ϰ     NQRZZK\VKH VVRQHUYRXV6KH VVRSUHWW\WKLQJVOLNH

 ϱ     WKDW

 ϲ     42ND\$QGZKHQ0U+DGQDJ\PDGHWKHFRPPHQW
            4 2ND\$QGZKHQ0U+DGQDJ\PDGHWKHFRPPHQW

 ϳ     DERXW0V5H\QROGVEHLQJVRKRWZKHQVKHFULHGKRZGLG

 ϴ     WKDWPDNH\RXIHHO"

 ϵ     $,QFUHGLEO\XQFRPIRUWDEOH
            $ ,QFUHGLEO\XQFRPIRUWDEOH

ϭϬ     4$QGGR\RXWKLQNLWZDVDSSURSULDWHRU
            4 $QGGR\RXWKLQNLWZDVDSSURSULDWHRU

ϭϭ     LQDSSURSULDWHIRU0U+DGQDJ\WRPDNHWKLVFRPPHQWDERXW

ϭϮ     0V5H\QROGV DSSHDUDQFH"

ϭϯ     $,W
            $ ,W V

ϭϰ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϱ     7+('(321(17,GRDQG,WKLQNLW
                      7+('(321(17,GRDQG,WKLQNLW VYHU\

ϭϲ     LQDSSURSULDWHWRVD\DQ\ERG\PDNLQJWKDWFRPPHQWDERXW

ϭϳ     DQ\ERG\HVSHFLDOO\ZKHQWKH\ UHFU\LQJRUDERXWWKHP

ϭϴ     FU\LQJ

ϭϵ     4
            4 %\0V7UDPEOH\ $QGKRZRIWHQGLG0U+DGQDJ\

ϮϬ     PDNHFRPPHQWVDERXWZRPHQ VDSSHDUDQFHV"

Ϯϭ     $,GRQ
            $ ,GRQ WUHDOO\KDYHDQXPEHU,WZDVIDLUO\

ϮϮ     RIWHQWKRXJKHVSHFLDOO\ZKHQSHRSOHZRXOGEHLQSHUVRQ

Ϯϯ     DQGGULQNLQJWRJHWKHU

Ϯϰ     4$QGZKLOH\RXZHUHHPSOR\HGDW,/)GLG
            4 $QGZKLOH\RXZHUHHPSOR\HGDW,/)GLG

Ϯϱ     0U+DGQDJ\PDNHFRPPHQWVDERXW\RXUDSSHDUDQFH"


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϭ
 ϭ     $<HV\HDK
            $   <HV\HDK

 Ϯ     4:KDWW\SHVRIFRPPHQWVZRXOGKHPDNH"
            4   :KDWW\SHVRIFRPPHQWVZRXOGKHPDNH"

 ϯ     $/LNHEHLQJSUHWW\RU,WKLQN,HYHQ,PD\
            $   /LNHEHLQJSUHWW\RU,WKLQN,HYHQ,PD\

 ϰ     VWLOOKDYHWKHFDUGWDONLQJDERXWOLNHJURZLQJXSLV

 ϱ     OLNHZDWFKLQJPHJURZXSLVOLNHGULQNLQJDILQHZLQH

 ϲ     +HZRXOGFRQVWDQWO\PDNHMRNHVDERXW,ZDVDORW

 ϳ     VNLQQLHUEDFNWKHQVRWKHUHZDVDORWRIMRNHVDERXWPH

 ϴ     EHLQJYHU\OLJKWZHLJKWDQGVPDOOHYHQZKHQ,ZRXOGVD\

 ϵ     WKDW, PQRWFRPIRUWDEOHZLWKWKRVHMRNHV
              PQRWFRPIRUWDEOHZLWKWKRVHMRNHV                

ϭϬ
ϭϭ     4$QGGR\RXWKLQNLWZDVDSSURSULDWHRU
            4   $QGGR\RXWKLQNLWZDVDSSURSULDWHRU

ϭϮ     LQDSSURSULDWHWKDW\RXUERVVZDVPDNLQJFRPPHQWVDERXW

ϭϯ     \RXUDSSHDUDQFH"

ϭϰ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϱ     7+('(321(17,QDSSURSULDWH
                      7+('(321(17,QDSSURSULDWH

ϭϲ      'HIHQGDQWV([KLELW1RLQWURGXFHG

ϭϳ     4
            4 %\0V7UDPEOH\ 2ND\$QG, PJRLQJWRSXOOXS

ϭϴ     P\ILUVWH[KLELWVR, GOLNHWRLQWURGXFH'HIHQGDQWV

ϭϵ     ([KLELWZKLFKLV%DWHVODEHOHG0$;,(B

ϮϬ     05&215$'6RUU\/DXUHQ'LG\RXVD\
                      05&215$'6RUU\/DXUHQ'LG\RXVD\

Ϯϭ     'HIHQGDQWV ([KLELW"

ϮϮ     0675$0%/(<6RUU\'HIHQGDQWV
                      0675$0%/(<6RUU\'HIHQGDQWV

Ϯϯ     ([KLELW

Ϯϰ     05&215$'2ND\
                      05&215$'2ND\

Ϯϱ     0675$0%/(<7KDQNVIRUFDWFKLQJWKDW
                      0675$0%/(<7KDQNVIRUFDWFKLQJWKDW


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϮ
 ϭ     4
            4 %\0V7UDPEOH\ 6R0V*DPEOHWKLVLVDWH[W

 Ϯ     PHVVDJHFRQYHUVDWLRQEHWZHHQ\RXDQG0UV5H\QROGVZKLFK

 ϯ     VKHSURGXFHGLQWKLVOLWLJDWLRQ'R\RXKDYHDQ\UHDVRQ

 ϰ     WREHOLHYHWKLVLVQRWDWUXHDQGDFFXUDWHFRS\RI\RXU

 ϱ     WH[WFRQYHUVDWLRQ"

 ϲ     $1RWKDW
            $   1RWKDW VLW

 ϳ     42ND\$QG0V*DPEOHFDQ\RXSOHDVHUHDGWKH
            4   2ND\$QG0V*DPEOHFDQ\RXSOHDVHUHDGWKH

 ϴ     ILUVWSDUDJUDSKRI\RXUWH[WPHVVDJHVHQWDWSPDW

 ϵ     WKHWRSRIWKHVFUHHQ"

ϭϬ     $,JDLQHGZHLJKWEHFDXVH,ZDVXQVWUHVVHGHQRXJK
            $   ,JDLQHGZHLJKWEHFDXVH,ZDVXQVWUHVVHGHQRXJK

ϭϭ     WRPDQDJHIRRGEHWWHUDQGKHFRPPHQWHGDERXWKRZ,ILOOHG

ϭϮ     RXWDQGILQDOO\ORRNHGP\DJH

ϭϯ     4$QGZKHQ\RXVD\KHLQWKLVWH[WPHVVDJHDUH
            4   $QGZKHQ\RXVD\KHLQWKLVWH[WPHVVDJHDUH

ϭϰ     \RXUHIHUULQJWR0U+DGQDJ\"

ϭϱ     $<HDK
            $   <HDK

ϭϲ     4$QG0U+DGQDJ\PDGHWKLVFRPPHQWWR\RXDERXW
            4   $QG0U+DGQDJ\PDGHWKLVFRPPHQWWR\RXDERXW

ϭϳ     \RXUDSSHDUDQFH"

ϭϴ     $<HV
            $   <HV

ϭϵ     4:KHQGLGKHPDNHWKLVFRPPHQW"
            4   :KHQGLGKHPDNHWKLVFRPPHQW"

ϮϬ     $,WKLQNZKHQZHWUDYHOHGWR%DOWLPRUHWRJHWKHU
            $   ,WKLQNZKHQZHWUDYHOHGWR%DOWLPRUHWRJHWKHU

Ϯϭ     ZKLFKZDVWKH2FWREHUEHIRUHWKHEDQ

ϮϮ     42ND\
            4   2ND\

Ϯϯ     $,EHOLHYH,GRQ
            $   ,EHOLHYH,GRQ WSHUFHQWUHPHPEHUEXW,

Ϯϰ     EHOLHYHLW VZKHQZHZHUHLQ%DOWLPRUH

Ϯϱ     4'LG0U+DGQDJ\
            4   'LG0U+DGQDJ\ VFRPPHQWDERXW\RXUDSSHDUDQFH


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϯ
 ϭ     PDNH\RXIHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"

 Ϯ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϯ     7+('(321(178QFRPIRUWDEOH
                      7+('(321(178QFRPIRUWDEOH

 ϰ     4
            4 %\0V7UDPEOH\ 'R\RXWKLQN0U+DGQDJ\ V

 ϱ     FRPPHQWDERXW\RXUDSSHDUDQFHZDVDSSURSULDWHRU

 ϲ     LQDSSURSULDWHJLYHQKHZDV\RXUERVVDQGVXSHULRUDWWKH

 ϳ     WLPH"

 ϴ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϵ     7+('(321(17,QDSSURSULDWHDQG,ZRXOG
                      7+('(321(17,QDSSURSULDWHDQG,ZRXOG

ϭϬ     EHXQFRPIRUWDEOHLIDQ\RQHZHUHWRPDNHWKDWFRPPHQWWR

ϭϭ     PH

ϭϮ     4 %\0V7UDPEOH\ 2ND\$QG, PJRLQJWRVWRS

ϭϯ     VKDULQJP\VFUHHQ

ϭϰ     0V*DPEOHGLG0U+DGQDJ\PDNHFRPPHQWVDERXW

ϭϱ     $VLDQZRPHQ"

ϭϲ     $,GRQ WSHUFHQWUHPHPEHUEXW,EHOLHYHVR

ϭϳ     ,GRQ WSHUFHQWUHPHPEHU

ϭϴ     46RVKLIWLQJJHDUVDOLWWOHELWOHW VGLVFXVV

ϭϵ     \RXULQWHUDFWLRQVZLWK0U+DGQDJ\RQEXVLQHVVWULSV'LG

ϮϬ     \RXDWWHQGEXVLQHVVWULSVZLWK0U+DGQDJ\DVDQHPSOR\HH

Ϯϭ     DW,/)"

ϮϮ     $<HV

Ϯϯ     4'R\RXUHFDOOKRZPDQ\WLPHV\RXZHQWRQ

Ϯϰ     EXVLQHVVWULSVZLWKKLP"

Ϯϱ     $,NQRZWKHUHZDVWKHWZRWLPHVZKHUHLWZDVMXVW


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϱ
 ϭ     RIWHQEXV\RULWZDVDOVREXV\EXWZHZRXOGKDYHGLQQHUV

 Ϯ     DIWHUZDUGV$QGWKDWZDVDJDLQILOOHGZLWKFRSLRXV

 ϯ     DPRXQWVRIDOFRKRODQGSHRSOHPDNLQJQRWWKHPRVW

 ϰ     SURIHVVLRQDOMRNHV

 ϱ     $QGWKHQWKHELJJHVWRQHWKDWZDVYHU\
                 $QGWKHQWKHELJJHVWRQHWKDWZDVYHU\

 ϲ     XQFRPIRUWDEOHZLWKPHZDVRXUWULSWR%DOWLPRUHWRJHWKHU

 ϳ     ZKHUHKHGLGPDNHWKRVHFRPPHQWVDERXWP\ERG\RUKRZ

 ϴ     OLNHKRZKHGRHVQ WXQGHUVWDQGKRZOLNHWKHDEXVHUV

 ϵ     WKDWZHORRNLQWRRUOLNHSRUQRJUDSK\OLNHKRZSHRSOH

ϭϬ     ZDQWWRIROGZRPHQLQWRSUHW]HOSRVLWLRQVOLNHDQGKRZ

ϭϭ     KHGRHVQ WKDYHVH[ZLWKKLVZLIHOLNHWKDW$QG\HDK

ϭϮ     WKHUH V\HDK,WGUDVLWVWDUWHGWRJUDGXDOO\MXVW

ϭϯ     EHFRPHPRUHDQGPRUHLQDSSURSULDWHWKHFORVHULWVHHPHGZH

ϭϰ     JRW

ϭϱ     42ND\$QG,
            4   2ND\$QG, PJRLQJWRSXOOXSWKHH[KLELWWKDW

ϭϲ     , YHSUHYLRXVO\VKDUHG6RDJDLQWKLVLV'HIHQGDQWV

ϭϳ     ([KLELWZKLFKLV%DWHVODEHOHG0$;,(B

ϭϴ     $QGFDQ\RXSOHDVHUHDGWKHVHFRQGSDUDJUDSKRI
                 $QGFDQ\RXSOHDVHUHDGWKHVHFRQGSDUDJUDSKRI

ϭϵ     \RXUWH[WPHVVDJHDWSP"

ϮϬ     $2UGLVFRYHULQJKHZDVDERREJX\RUKRZKH
            $   2UGLVFRYHULQJKHZDVDERREJX\RUKRZKH

Ϯϭ     GRHVQ WXQGHUVWDQGKRZPHQOLNHWRIROGZRPHQLQWR

ϮϮ     SUHW]HOV+HWROGPHDOONLQGVRIVKLWDERXW$UHHVDDQG

Ϯϯ     KHUERG\

Ϯϰ     42ND\6RRQWKLVEXVLQHVVWULS0U+DGQDJ\
            4   2ND\6RRQWKLVEXVLQHVVWULS0U+DGQDJ\

Ϯϱ     WROG\RXWKDWKHZDVDERREJX\"


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϲ
 ϭ     $<HV
            $   <HV

 Ϯ     4$QGZKRLV$UHHVD"
            4   $QGZKRLV$UHHVD"

 ϯ     $$UHHVD
            $   $UHHVD VKLVZLIH

 ϰ     46R0U+DGQDJ\GLVFXVVHGKLVVH[XDOUHODWLRQVKLS
            4   6R0U+DGQDJ\GLVFXVVHGKLVVH[XDOUHODWLRQVKLS

 ϱ     ZLWKKLVZLIHZLWK\RX"

 ϲ     $<HV
            $   <HV

 ϳ     4$QGGR\RXEHOLHYH0U+DGQDJ\
            4   $QGGR\RXEHOLHYH0U+DGQDJ\ VFRPPHQWVDERXW

 ϴ     EHLQJDERREJX\DQGKLVZLIHZHUHDSSURSULDWHRU

 ϵ     LQDSSURSULDWH"

ϭϬ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϭ     7+('(321(17,QDSSURSULDWH
                      7+('(321(17,QDSSURSULDWH

ϭϮ     4
            4 %\0V7UDPEOH\ 'R\RXWKLQN0U+DGQDJ\ V

ϭϯ     FRPPHQWVDERXWEHLQJDERREJX\DQGKLVZLIHZHUH

ϭϰ     DSSURSULDWHRULQDSSURSULDWHIRUDQHPSOR\HUWRVSHDNWR

ϭϱ     KLVHPSOR\HHDERXW"

ϭϲ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϳ     7+('(321(17<HV
                      7+('(321(17<HV

ϭϴ     4
            4 %\0V7UDPEOH\ $QGGLG0U+DGQDJ\ VFRPPHQWV

ϭϵ     PDNH\RXIHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"

ϮϬ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

Ϯϭ     7+('(321(178QFRPIRUWDEOH
                      7+('(321(178QFRPIRUWDEOH

ϮϮ     4
            4 %\0V7UDPEOH\ 2ND\0V*DPEOHGXULQJWKLV

Ϯϯ     EXVLQHVVWULSGLG0U+DGQDJ\NLVV\RXUIRUHKHDGRXWVLGH

Ϯϰ     \RXUKRWHOURRP"

Ϯϱ     $<HV
            $   <HV


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϮϳ
 ϭ     4$QG0U+DGQDJ\ZDV\RXUHPSOR\HUDWWKHWLPH"
            4   $QG0U+DGQDJ\ZDV\RXUHPSOR\HUDWWKHWLPH"

 Ϯ     $<HV
            $   <HV

 ϯ     4'R\RXWKLQNLW
            4   'R\RXWKLQNLW VDSSURSULDWHRULQDSSURSULDWH

 ϰ     IRUDQHPSOR\HUWRNLVVKLVHPSOR\HH VIRUHKHDG"

 ϱ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϲ     7+('(321(17,QDSSURSULDWH
                      7+('(321(17,QDSSURSULDWH

 ϳ     4
            4 %\0V7UDPEOH\ 2ND\$QGGLG0U+DGQDJ\

 ϴ     NLVVLQJ\RXUIRUHKHDGPDNH\RXIHHOFRPIRUWDEOHRU

 ϵ     XQFRPIRUWDEOH"

ϭϬ     05&215$',
                      05&215$', PJRLQJWRREMHFWWRIRUP

ϭϭ     7+('(321(178QFRPIRUWDEOH
                      7+('(321(178QFRPIRUWDEOH

ϭϮ     4 %\0V7UDPEOH\ 2ND\0V*DPEOHOHW V

ϭϯ     GLVFXVVVRPHRIWKHZRUNWKDW\RXGLGDW,/)'RHV,/)

ϭϰ     DVVLVWODZHQIRUFHPHQWLQVH[VWLQJRSHUDWLRQV"

ϭϱ     $&DQ\RXFODULI\RQVH[VWLQJRSHUDWLRQV"/LNH

ϭϲ     VH[WLQJ

ϭϳ     40D\EH,

ϭϴ     $6RUU\6H[VWLQJRUVH[WLQJOLNHSKRQH

ϭϵ     VH[WLQJ"

ϮϬ     47KDQNVIRUFODULI\LQJ6R, PWDONLQJDERXW

Ϯϭ     VWLQJRSHUDWLRQVWKDWDUHUXQE\ODZHQIRUFHPHQWWRFDWFK

ϮϮ     SUHGDWRUV$QGLIWKHUHLVRWKHUWHUPLQRORJ\WKDW VXVHG

Ϯϯ     SOHDVHOHWPHNQRZ

Ϯϰ     $:HZHUHQRWSHUPLWWHGWRFRQGXFWVWLQJ

Ϯϱ     RSHUDWLRQV:HZHUHDFWLYHO\WROGQRWWRE\ODZ


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϯϭ
 ϭ     $QGQRZ, GOLNHWRLQWURGXFH'HIHQGDQWV

 Ϯ     ([KLELWZKLFKLV%DWHVODEHOHG6(B7KLV

 ϯ     GRFXPHQWZDVSURGXFHGE\0U+DGQDJ\LQWKLVOLWLJDWLRQ

 ϰ     0V*DPEOHLVWKLVWKHVKDUHGGRFWKDW\RXZHUH
                 0V*DPEOHLVWKLVWKHVKDUHGGRFWKDW\RXZHUH

 ϱ     UHIHUULQJWRLQWKHSULRUH[KLELWLQ\RXUFRQYHUVDWLRQ

 ϲ     ZLWK0V5H\QROGV"

 ϳ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϴ     7+('(321(17<HV,EHOLHYHWKDWLV:H
                      7+('(321(17<HV,EHOLHYHWKDWLV:H

 ϵ     ZRXOGDFWXDOO\EHLQWKHGRFXPHQWDWWKHVDPHWLPHWDONLQJ

ϭϬ     WRHDFKRWKHUWKRXJKDQGWKHQGHOHWHLWDIWHUZDUGV

ϭϭ     4
            4 %\0V7UDPEOH\ 6RLWZDVDOLYLQJGRFXPHQW

ϭϮ     WKDWJRWHGLWHG

ϭϯ     $<HV
            $   <HV

ϭϰ     4IUHTXHQWO\"
            4   IUHTXHQWO\"

ϭϱ     $<HV:HZRXOGEHLQWKHGRFXPHQWDWWKHVDPH
            $   <HV:HZRXOGEHLQWKHGRFXPHQWDWWKHVDPH

ϭϲ     WLPHEHFDXVHKHKDGPDGHDFRPPHQW,EHOLHYHLWVWDUWHG

ϭϳ     LQ*RRJOH+DQJRXWVDQGKHZRXOGDFWHPEDUUDVVHGOLNH

ϭϴ     -HH],GRQ WHYHQDVNP\ZLIHWKHVHTXHVWLRQV$QGZH

ϭϵ     HQGHGXSPRYLQJWRWKHGRFXPHQWVRZHFRXOGW\SHRXWWKH

ϮϬ     TXHVWLRQVDQG,FRXOGDQVZHUWKHPDQGWKHQZHFRXOGGHOHWH

Ϯϭ     WKHPDQGEXLOGDOLVWRIDSRWHQWLDORSHUDWLRQ

ϮϮ     4$QG0U+DGQDJ\ZDV\RXUHPSOR\HUDWWKLVWLPH
            4   $QG0U+DGQDJ\ZDV\RXUHPSOR\HUDWWKLVWLPH

Ϯϯ     FRUUHFW"

Ϯϰ     $<HV
            $   <HV

Ϯϱ     4$QG0U+DGQDJ\ZDVDVNLQJ\RXTXHVWLRQVDERXW
            4   $QG0U+DGQDJ\ZDVDVNLQJ\RXTXHVWLRQVDERXW


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϯϮ
 ϭ     \RXUEUDVL]HXQGHUZHDUSXELFKDLUDQGVKDYLQJ"

 Ϯ     $&RUUHFW
            $   &RUUHFW

 ϯ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϰ     4
            4 %\0V7UDPEOH\ 'LG0U+DGQDJ\ VTXHVWLRQV

 ϱ     PDNH\RXIHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"

 ϲ     05&215$',
                      05&215$', PJRLQJWRREMHFWWRIRUP

 ϳ     7+('(321(177KH\PDGHPHXQFRPIRUWDEOH
                      7+('(321(177KH\PDGHPHXQFRPIRUWDEOH

 ϴ     EXWDWWKHWLPH,ZDVYHU\H[FLWHGWREHDEOHWRNLQGRI

 ϵ     JHWLQWRDOORIWKLV,KDGDOZD\VZDQWHGWRGRFKLOG

ϭϬ     H[SORLWDWLRQLQYHVWLJDWLRQVDQGWKLVZDVOLNHDJLDQW

ϭϭ     VKLQ\REMHFW$QGLWZDVOLNHRND\LIWKLVLVZKDWODZ

ϭϮ     HQIRUFHPHQWZDQWVDQGQHHGVWKHQ, PRND\ZLWKDQVZHULQJ

ϭϯ     WKHPUHJDUGOHVVRIXQFRPIRUWDELOLW\ZKLFKLVPRVWRI

ϭϰ     WKLVMRELVXQFRPIRUWDELOLW\$QGRQFH,GLVFXVVHGODWHU

ϭϱ     ZLWKODZHQIRUFHPHQWDQGJUHZPRUHLQP\FDUHHU,

ϭϲ     UHDOL]HGQRQHRIWKRVHTXHVWLRQVZRXOGEHDVNHG

ϭϳ     4
            4 %\0V7UDPEOH\ $QG0U+DGQDJ\WROG\RXWKDW

ϭϴ     \RXKDGWRDQVZHUWKHVHTXHVWLRQVIRUWKHVWLQJRSHUDWLRQ"

ϭϵ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϮϬ     7+('(321(17+HGLGQRWVD\WKDW,KDG
                      7+('(321(17+HGLGQRWVD\WKDW,KDG

Ϯϭ     WR+HVDLGVRPHWKLQJDORQJWKHOLQHVRIEDVLFDOO\LI

ϮϮ     ZHKHGLGQ WGLUHFWPHWREXWKHGLGVD\7KHVHDUH

Ϯϯ     WKHTXHVWLRQVWKDWQHHGWREHDQVZHUHGDQGKHVDLGWKDW

Ϯϰ     LWFDPHGLUHFWO\IURPDODZHQIRUFHPHQWDJHQWZKRGRHV

Ϯϱ     VWLQJRSHUDWLRQV


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϯϯ
 ϭ     4
            4 %\0V7UDPEOH\ $QGGLG\RXODWHUOHDUQWKDW

 Ϯ     WKHVHTXHVWLRQVDUHQRWSDUWRIVWDQGDUGSURFHGXUHIRU

 ϯ     VWLQJRSHUDWLRQVZLWKODZHQIRUFHPHQW"

 ϰ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϱ     7+('(321(17&RUUHFW\HV
                      7+('(321(17&RUUHFW\HV

 ϲ     4 %\0V7UDPEOH\ 2ND\'R\RXIHHOOLNH

 ϳ     0U+DGQDJ\WRRNDGYDQWDJHRI\RXEHFDXVH\RXZHUHQHZWR

 ϴ     ,/)DQGQHZWRWKLVW\SHRIZRUN"

 ϵ     05&215$'2EMHFWWRIRUP

ϭϬ     7+('(321(17<HV,GR$QG,IHHOOLNH

ϭϭ     KHDOVRNQHZDORWDERXWKLVWRU\DQGKRZFRPSOLDQW,DP

ϭϮ     DQGKRZ,VWUXJJOHZLWKDIDZQLQJUHVSRQVHDVDWUDXPD

ϭϯ     UHVSRQVH

ϭϰ     4 %\0V7UDPEOH\ $QGGLGWKHVWLQJRSHUDWLRQ

ϭϱ     HYHUKDSSHQ"

ϭϲ     $1RSH$QG,DVNHGKLPZK\DQGKHVDLG

ϭϳ     %HFDXVH\RXKDYHWDWWRRVEXW,KDGDOZD\VKDGWKRVH

ϭϴ     WDWWRRV+HKDVDOZD\VNQRZQWKDW,KDGWKRVH

ϭϵ     4'LG\RXOHDUQIURPRWKHU,/)HPSOR\HHVWKDW

ϮϬ     0U+DGQDJ\KDGJLYHQDGLIIHUHQWUHDVRQIRUZK\WKHVWLQJ

Ϯϭ     RSHUDWLRQZDVQRWJRLQJIRUZDUG"

ϮϮ     05&215$'2EMHFWWRIRUP

Ϯϯ     7+('(321(17,FDQ WUHFDOOGLUHFWO\LI

Ϯϰ     0D[DQG,KDGWDONHGDERXWLWOLNHORQJDIWHUHYHU\WKLQJ

Ϯϱ     KDGKDSSHQHGDQG,ZDVQ WZLWK,/)DQ\PRUHEXWQR,


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϰϬ
 ϭ     DIWHUSDUWLHVRULI\RXZHUHLQSHUVRQZLWKKLP

 Ϯ     %XWDVLGHIURPWKDW,DWFRQIHUHQFHVDWWKH

 ϯ     DIWHUSDUW\,VWLOOGLGQ WUHDOO\LQWHUDFWZLWKKLPDV

 ϰ     PXFK,ZDVPRUHIRFXVHGRQLQWHUDFWLQJZLWKWKHWHDP

 ϱ     DQGKHZDVEXV\PRUHVRZLWKOLNHWKHRWKHUH[HFXWLYHV

 ϲ     HVVHQWLDOO\RIWKHFRPSDQ\UHJDUGOHVVLILW VDVPDOO

 ϳ     FRPSDQ\$QGWKH\ZHUHFRPELQHGSDUWLHVZLWK,/)DQG

 ϴ     6(&20

 ϵ     42ND\$QG\RXPHQWLRQHG\RX0U+DGQDJ\
            4   2ND\$QG\RXPHQWLRQHG\RX0U+DGQDJ\

ϭϬ     ZRXOGSXOORXWDNQLIH'LG0U+DGQDJ\SXOORXWDNQLIH

ϭϭ     DW'()&21"

ϭϮ     $3UREDEO\PRUHWKDQRQFH\HDK
            $   3UREDEO\PRUHWKDQRQFH\HDK

ϭϯ     4$QGGLGKHSXOORXWDNQLIHGXULQJ\RXU
            4   $QGGLGKHSXOORXWDNQLIHGXULQJ\RXU

ϭϰ     HPSOR\PHQWDW,/)

ϭϱ     $<HV
            $   <HV

ϭϲ     4QRWDWFRQIHUHQFHV"
            4   QRWDWFRQIHUHQFHV"

ϭϳ     $<HVPXOWLSOHWLPHV,WZDVNLQGRISDUWRIKLV
            $   <HVPXOWLSOHWLPHV,WZDVNLQGRISDUWRIKLV

ϭϴ     SHUVRQDOLW\

ϭϵ     4$QGZKHQZRXOGKHSXOORXWWKHNQLIH"
            4   $QGZKHQZRXOGKHSXOORXWWKHNQLIH"

ϮϬ     $,GRQ
            $   ,GRQ WNQRZLIWKHUHZHUHVSHFLILFOLNHFXHV

Ϯϭ     ,WZDVQ WOLNHLI\RXOLNHXSVHWKLPDQGKHZRXOGWKUHDWHQ

ϮϮ     \RXZLWKLW,W VDORWWLPHVLI\RXPDGHOLNHDTXLFN

Ϯϯ     MRNHRUFDOOHGKLPRXWRQVRPHWKLQJLQDMRNLQJPDQQHU

Ϯϰ     RULW VRIWHQWLPHVIROORZHGE\VRPHERG\PDNLQJDMRNH

Ϯϱ     DQGKLPEHLQJOLNH+H\, PJRLQJWRVKDQN\RXDQG


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϰϭ
 ϭ     WKDWKDSSHQHGIDLUO\RIWHQ

 Ϯ     4$QGWKLVZDVDUHDONQLIH",WZDVQRWDWR\
            4   $QGWKLVZDVDUHDONQLIH",WZDVQRWDWR\

 ϯ     NQLIH"

 ϰ     $1RLWZDVDNQLIH,FDQ
            $   1RLWZDVDNQLIH,FDQ WUHPHPEHULILWZDV

 ϱ     MXVWRQHRUWZREXW\HDKKHDOZD\VFDUULHVLWRQKLP

 ϲ     4$QGGLG\RXILQGLWDSSURSULDWHRULQDSSURSULDWH
            4   $QGGLG\RXILQGLWDSSURSULDWHRULQDSSURSULDWH

 ϳ     WKDW\RXUHPSOR\HUZRXOGUHJXODUO\SXOORXWDNQLIH"

 ϴ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

 ϵ     7+('(321(17$GPLWWHGO\DWWKHWLPH,
                      7+('(321(17$GPLWWHGO\DWWKHWLPH,

ϭϬ     WKRXJKWLWZDVNLQGRIIXQQ\/LNH\HDKWKHUHZDV

ϭϭ     OLNH,FDQ WEHOLHYHWKDWWKLVLVKDSSHQLQJEXWWKHQWKH

ϭϮ     RWKHUSDUWRIPHZDVDUJXLQJEHFDXVHZHZHUHQRWDQRUPDO

ϭϯ     HQYLURQPHQW:HGRQ WKDYHDQ+5:HGRDORWRIWKLQJV

ϭϰ     WKDWQRFRPSDQ\ZRXOGGRHVSHFLDOO\LIWKH\GLGKDYHDQ

ϭϱ     +5VXFKDVUHVHDUFKLQJ&6$0RUORRNLQJDWSRWHQWLDOO\

ϭϲ     SRUQRJUDSKLFPDWHULDO6RDWWKHWLPHWRPH,MXVWNLQG

ϭϳ     RIEUXVKHGLWRII$QGWKHQWKHPRUH, YHZRUNHGZLWK

ϭϴ     RWKHUFRPSDQLHVDQGWKHPRUH, YHOHDUQHGOLNHWKLVLV

ϭϵ     ZKDWDUHDOZRUNSODFHVKRXOGORRNOLNHWKHQ,EHFDPH

ϮϬ     XQFRPIRUWDEOHZLWKLW

Ϯϭ     4 %\0V7UDPEOH\ 2ND\6RLV0U+DGQDJ\WKH

ϮϮ     RQO\ERVV\RX YHHYHUKDGZKHUH\RX YHVHHQWKHPSXOORXW

Ϯϯ     DNQLIHDWDZRUNHYHQW"

Ϯϰ     $<HV<HDK

Ϯϱ     4$QGGLG0U+DGQDJ\SXOOLQJRXWDNQLIHPDNH\RX


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϰϮ
 ϭ     IHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"

 Ϯ     05&215$'2EMHFWWRIRUP

 ϯ     7+('(321(17,VQHLWKHUDQDSSURSULDWH

 ϰ     DQVZHU",WMXVWNLQGRI

 ϱ     4 %\0V7UDPEOH\ <HDK,W VZKDWHYHU\RX UH

 ϲ      8QUHSRUWDEOHVLPXOWDQHRXVFURVVWDON

 ϳ     4 %\0V7UDPEOH\ <HDK:KDWHYHU\RXUWUXWKIXO

 ϴ     DFFRXQWLVLVWRWDOO\ILQH

 ϵ     $QGKRZRIWHQZRXOG\RXVD\0U+DGQDJ\SXOOHG

ϭϬ     RXWDNQLIHDWFRQIHUHQFHV"

ϭϭ     $0XOWLSOHWLPHVWKURXJKRXWWKHGD\HDV\,

ϭϮ     GHILQLWHO\GRQ WKDYHDQXPEHUEXWLWZDVDFRPPRQ

ϭϯ     RFFXUUHQFH/LNH,VDLGLW VNLQGRISDUWRIKLV

ϭϰ     SHUVRQDOLW\

ϭϱ     42ND\$QG\RXPHQWLRQHGWKDW\RXDWWHQGHG
            4   2ND\$QG\RXPHQWLRQHGWKDW\RXDWWHQGHG

ϭϲ     WUDLQLQJVWKDWZHUHUXQE\0U+DGQDJ\'R\RXUHFDOO

ϭϳ     ZKDWWKHPDWHULDOVIRUWKRVHWUDLQLQJVZHUHOLNH"

ϭϴ     $,GR,DFWXDOO\HYHQVWLOOKDYHWKHERRNOHW
            $   ,GR,DFWXDOO\HYHQVWLOOKDYHWKHERRNOHW

ϭϵ     4$QGGLG0U+DGQDJ\
            4   $QGGLG0U+DGQDJ\ VWUDLQLQJPDWHULDOVDVN

ϮϬ     ZRPHQWRDVNPHQZKRWKH\GLGQRWNQRZDERXWZKHWKHUWKH\

Ϯϭ     ZHUHFLUFXPFLVHG"

ϮϮ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

Ϯϯ     7+('(321(17<HV7KDWZDVWKDWZDVD
                      7+('(321(17<HV7KDWZDVWKDWZDVD

Ϯϰ     YHU\XQFRPIRUWDEOHWDVNDQGWKHQWKHPHQZRXOGKDYHWR

Ϯϱ     WU\WRHOLFLWOLNHEUDVL]HDQGZKDWNLQGRIELUWK


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϰϯ
 ϭ     FRQWUROWKDWWKH\XVHG:KHUHDVDVDZRPDQ,ZRXOGKDYH

 Ϯ     WRVHHLIWKH\ UHFLUFXPFLVHGLIWKH\XVHFRQGRPVRUQRW

 ϯ     ,FDQ WUHPHPEHUDOORIWKHTXHVWLRQVEXWWKRVHZHUH

 ϰ     GHILQLWHO\WKHWZRELJTXHVWLRQV7KDWZDVWKHODVWGD\

 ϱ     ,EHOLHYHRIWKHFODVVDQGWKDWZDVOLNHWKHODVW

 ϲ     DVVLJQPHQWDQGLWZDVYHU\XQFRPIRUWDEOH

 ϳ     4
            4 %\0V7UDPEOH\ $QGGLG\RXILQG0U+DGQDJ\ V

 ϴ     WUDLQLQJPDWHULDOVWREHDSSURSULDWHRULQDSSURSULDWH"

 ϵ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϬ     7+('(321(17,IRXQGWKHP,IRXQGWKH
                      7+('(321(17,IRXQGWKHP,IRXQGWKH

ϭϭ     EHJLQQLQJRIWKHPDSSURSULDWH,IRXQGWKHODVWVWDJHV

ϭϮ     LQDSSURSULDWHEHFDXVH,EHOLHYHWKDWWKHUHDUHDORWRI

ϭϯ     RWKHUZD\VWRHOLFLWXQFRPIRUWDEOHPDWHULDOWKDWGRHVQRW

ϭϰ     KDYHWREHUHODWHGWRVRPHERG\ VERG\RUVH[OLIH

ϭϱ     4
            4 %\0V7UDPEOH\ $QGGLGWKHWUDLQLQJPDWHULDOV

ϭϲ     WKDWUHTXLUHGPHQDQGZRPHQWRHOLFLWWKLVW\SHRI

ϭϳ     LQIRUPDWLRQPDNH\RXIHHOFRPIRUWDEOHRUXQFRPIRUWDEOH"

ϭϴ     $+LJKO\XQFRPIRUWDEOH
            $   +LJKO\XQFRPIRUWDEOH

ϭϵ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϮϬ     4
            4 %\0V7UDPEOH\ $QGGLG0U+DGQDJ\ VWUDLQLQJ

Ϯϭ     PDWHULDOVWKDWUHTXLUHGPHQDQGZRPHQWRDVNWKHVH

ϮϮ     VHQVLWLYHTXHVWLRQVPDNH\RXIHHOVDIHRUXQVDIH"

Ϯϯ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

Ϯϰ     7+('(321(178QVDIH<RXZHUHSDLUHG
                      7+('(321(178QVDIH<RXZHUHSDLUHG

Ϯϱ     ZLWKVRPHERG\W\SLFDOO\<RXFRXOGSDLUZLWKVRPHERG\


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϰϰ
 ϭ     <RXGLGQ WKDYHWR\RXZHUHSDUWRIDQDFWXDOWHDPEXW

 Ϯ     DOORI\RXKDGWRJHW\RXURZQLQGLYLGXDOIODJV*HWWLQJ

 ϯ     WKRVHIODJVDORQHHVSHFLDOO\DVDVPDOOJLUODQG\RX UH

 ϰ     GRLQJ\RXUDVVLJQPHQWVDWQLJKWLVGHILQLWHO\DOLWWOH

 ϱ     LQWLPLGDWLQJ7KDQNIXOO\VRPHERG\GLGHQGXSSDUWQHULQJ

 ϲ     ZLWKPHEXWERWKRIXVZHUHVWLOOXQFRPIRUWDEOHDVNLQJ

 ϳ     WKRVHTXHVWLRQV

 ϴ     4 %\0V7UDPEOH\ 2ND\

 ϵ     $,WIHOWYHU\LQYDVLYHDQGXQVDIH,GRQ WNQRZ

ϭϬ     ZKDW,GRQ WNQRZZKDWFRXOGSRWHQWLDOO\KDSSHQLI\RX

ϭϭ     DVNWKHZURQJSHUVRQWKHVHW\SHVRITXHVWLRQV

ϭϮ     45LJKW

ϭϯ     6RWKDWPDGH\RXIHHOXQVDIHWRDVNPHQZKR\RX

ϭϰ     GLGQRWNQRZWKHVHVHQVLWLYHTXHVWLRQV"

ϭϱ     $&RUUHFW

ϭϲ     42ND\6RVKLIWLQJJHDUVDOLWWOHELWOHW V

ϭϳ     WDONDERXW0U+DGQDJ\ VEHKDYLRUDIWHUWKH'()&21EDQ

ϭϴ     ZDVDQQRXQFHG6RDIWHU'()&21DQQRXQFHGLWVEDQRI

ϭϵ     0U+DGQDJ\GLGKHKROGDPHHWLQJDW,/)"

ϮϬ     $<HV+HDFWXDOO\KHOGRQHEHIRUHDVZHOODQG

Ϯϭ     DGYLVHGXVWKDWWKLVLVDSRWHQWLDOWKDWLVJRLQJWR

ϮϮ     KDSSHQDQGVDLGWKDWZHVKRXOGQRWSXWDQ\WKLQJLQZULWLQJ

Ϯϯ     DQGZHVKRXOGQRWJRDQGWDONWRDQ\ERG\DERXWWKLQJV

Ϯϰ     46REHIRUHWKHEDQZDVDQQRXQFHG0U+DGQDJ\ZDV

Ϯϱ     DZDUHWKDWKHZDVEHLQJLQYHVWLJDWHGE\'()&21"


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϱϴ
 ϭ     RUEHVWSUDFWLFHVGHILQLWHO\FDQEHDUDQJHRIWKLQJV

 Ϯ     HVSHFLDOO\EHFDXVHZHDUHDQRQSURILWHQYLURQPHQW

 ϯ     +RZHYHUUHJDUGOHVVRILI\RX UHDQRQSURILWRUQRW

 ϰ     WKDWDQGWKHIDFWWKDWZHZHUHDFWLYHO\WROGQRWWRGR

 ϱ     WKDWE\ODZHQIRUFHPHQWWKDWGRHVQRWDOLJQZLWKZKDW,

 ϲ     LPDJLQHLVEHVWSUDFWLFHV

 ϳ     $QGWKHQZHGLGKDYHSUDFWLFHVZLWKLQ,/)

 ϴ     DQGVSHFLILFDOO\DQ\ERG\ZKRFRQGXFWHGUHVHDUFKDQGKH

 ϵ     GLGQRWDOLJQZLWKEHVWSUDFWLFHVIRUWKDWVXFKDVXVLQJ

ϭϬ     WKHYLUWXDOPDFKLQHWKDWFRQWDLQHGWKHEOXUWRRODQG

ϭϭ     SURSHUSUHFDXWLRQVLQSODFH+HDFWLYHO\GLGQRWXVH

ϭϮ     WKDW%XWZKHQLWFRPHVWRDFWXDOPDWHULDO,GRQRWNQRZ

ϭϯ     GLUHFWO\RQWKDWEHFDXVHWKHUHLVDGLIIHUHQFHEHWZHHQ

ϭϰ     WKHOLQNVDQGWKHPDWHULDOLWVHOI

ϭϱ     4 %\0V7UDPEOH\ 2ND\6RWREHFOHDUODZ

ϭϲ     HQIRUFHPHQWH[SOLFLWO\VWDWHG'RQRWWDNHWKHVHOLQNV

ϭϳ     DQGGRQRWXVHD86%GULYHWRWDNHWKHP"

ϭϴ     $<HV

ϭϵ     05&215$'2EMHFWWRIRUP

ϮϬ     4
            4 %\0V7UDPEOH\ 2ND\0V*DPEOHVKLIWLQJ

Ϯϭ     JHDUVDOLWWOHELWOHW VWDONDERXWKRZ0U+DGQDJ\

ϮϮ     WUHDWHG\RXDIWHU\RXOHIW,/)

Ϯϯ     :KDWKDSSHQHGDIWHU\RXOHIW\RXUHPSOR\PHQWDW
                 :KDWKDSSHQHGDIWHU\RXOHIW\RXUHPSOR\PHQWDW

Ϯϰ     ,/)"

Ϯϱ     $7KHILUVWWKLQJWKDWKDSSHQHGZDVKHKDG
            $   7KHILUVWWKLQJWKDWKDSSHQHGZDVKHKDG


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϱϵ
 ϭ     FDOOHG,ZDVVXSSRVHGWRJLYHDWDONDWWKH1DWLRQDO

 Ϯ     &KLOG3URWHFWLRQ7DVN)RUFH&RQIHUHQFHDQGWKH\FRQWDFWHG

 ϯ     WKHRUJDQL]HUVWRFDQFHOP\WDONDQGVDLGWKDW,ZLOOQRW

 ϰ     EHFRPLQJDQGWRQRWWDONWRPHEDVLFDOO\/XFNLO\WKRVH

 ϱ     RUJDQL]HUVGLGUHDFKRXWWRPHSULYDWHO\DQG,GLGHQGXS

 ϲ     JRLQJ%XWDVLGHIURPWKDW,GLGQ WUHDOO\KHDUIURP

 ϳ     KLP

 ϴ     ,GRQ
                 ,GRQ WNQRZLI,GLGJHWVRPHZHLUGORJLQ

 ϵ     DWWHPSWVRQP\*RRJOHDFFRXQWV,GRQ WNQRZLIWKDWZDV

ϭϬ     KLPRUQRW,WZDVMXVWGLUHFWO\DIWHU,KDGJRWWHQRU

ϭϭ     JRWWHQXQHPSOR\HG,JXHVVE\WKHP$QGWKH\DOLJQHG

ϭϮ     ZLWKVRPHDWWHPSWVWKDW0D[LHKDGVHHQEXWWKLVFRXOGRI

ϭϯ     FRXUVHEHFRLQFLGHQWDODVZHOOEXWZHKDYHQ WVSRNHQ

ϭϰ     VLQFH

ϭϱ     4$QGVR0U+DGQDJ\FRQWDFWHGFRQIHUHQFH
            4   $QGVR0U+DGQDJ\FRQWDFWHGFRQIHUHQFH

ϭϲ     RUJDQL]HUVWRWU\DQGJHW\RXUWDONFDQFHOHG"

ϭϳ     $<HV
            $   <HV

ϭϴ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϵ      'HIHQGDQWV([KLELW1RLQWURGXFHG

ϮϬ     4
            4 %\0V7UDPEOH\ 2ND\, PJRLQJWRSXOOXS

Ϯϭ     DQRWKHUH[KLELW7KLVZLOOEH'HIHQGDQWV ([KLELWDQG

ϮϮ     LWLV%DWHVODEHOHG6(B$QG, PJRLQJWRVFUROOWR

Ϯϯ     WKHERWWRPRIWKLVHPDLOH[FKDQJHZKLFKWKLVLVDQHPDLO

Ϯϰ     EHWZHHQ0U+DGQDJ\DQG0V&\QWKLD+HWKHULQJWRQLQ

Ϯϱ     6HSWHPEHU


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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϲϬ
 ϭ     0V*DPEOH,
                 0V*DPEOH, PJRLQJWRJLYH\RXDVHFRQGWR

 Ϯ     ORRNWKLVRYHUVLQFH,EHOLHYH\RXKDYHQ WVHHQWKLV

 ϯ     EHIRUH$QGP\DSRORJLHV,PLVVSRNH7KLVLVDQHPDLO

 ϰ     H[FKDQJHLQ$XJXVW

 ϱ     $+PP6R
            $   +PP6R

 ϲ     40V*DPEOHGR\RXJRE\VXGRIHGRQOLQH"
            4   0V*DPEOHGR\RXJRE\VXGRIHGRQOLQH"

 ϳ     $7KHVXGRIHGEXW\HV,GR$QG%HQMDPLQ6SHQFH
            $   7KHVXGRIHGEXW\HV,GR$QG%HQMDPLQ6SHQFH

 ϴ     LVSUHYLRXVO\RQHRIRXUYROXQWHHUVDQGVRPHERG\ZKRDOVR

 ϵ     DFWLYHO\FDOOHG&KULVRXWGXULQJWKLVVLWXDWLRQDQGZDV

ϭϬ     KHQFHUHPRYHG

ϭϭ     42ND\$QGZHUH\RXDZDUHWKDW0U+DGQDJ\ZDV
            4   2ND\$QGZHUH\RXDZDUHWKDW0U+DGQDJ\ZDV

ϭϮ     WHOOLQJFRQIHUHQFHRUJDQL]HUVLQ$XJXVWQRWWRKDYH

ϭϯ     \RXVSHDNDWWKHLUFRQIHUHQFHV"

ϭϰ     $,ZDVQRW
            $   ,ZDVQRW

ϭϱ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

ϭϲ     7+('(321(17,ZDVQRWDZDUHRIWKDWDW
                      7+('(321(17,ZDVQRWDZDUHRIWKDWDW

ϭϳ     DOOQR%XWOXFNLO\WKDWGLGQRWZRUNEHFDXVH,DP

ϭϴ     SUHWW\JRRGIULHQGVZLWK&\QWKLD+HWKHULQJWRQDQGKDYH

ϭϵ     JRQHWRKHUFRQIHUHQFHVVLQFHWKHQVR

ϮϬ     4
            4 %\0V7UDPEOH\ $QGLVWKLVDGLIIHUHQW

Ϯϭ     LQVWDQFHWKDQWKHLQVWDQFH\RXZHUHWDONLQJDERXWHDUOLHU

ϮϮ     ZKHUH0U+DGQDJ\FDOOHGFRQIHUHQFHRUJDQL]HUVWRWU\DQG

Ϯϯ     JHW\RXUWDONFDQFHOHG"

Ϯϰ     $,WLV\HV7KHFRQIHUHQFHWKDW,
            $   ,WLV\HV7KHFRQIHUHQFHWKDW, PWDONLQJ

Ϯϱ     DERXWLQFOXGHGVRPHERG\QDPHG.HYLQ0HWFDOIDQG


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Case 2:23-cv-01932-BAT        Document 84   Filed 02/26/25   Page 647 of 776


     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

                                                                     WĂŐĞϲϭ
 ϭ     *ULIILQ*O\QQDQGWKH\DUHSDUWRIWKH1DWLRQDO&KLOG

 Ϯ     3URWHFWLRQ7DVN)RUFH&RQIHUHQFH

 ϯ     42ND\
            4   2ND\

 ϰ     $1&37)IRUVKRUW
            $   1&37)IRUVKRUW

 ϱ     46R0U+DGQDJ\FDOOHGFRQIHUHQFHRUJVWULNH
            4   6R0U+DGQDJ\FDOOHGFRQIHUHQFHRUJVWULNH

 ϲ     WKDW

 ϳ     6R0U+DGQDJ\FRQWDFWHGDWOHDVWWZRFRQIHUHQFH
                 6R0U+DGQDJ\FRQWDFWHGDWOHDVWWZRFRQIHUHQFH

 ϴ     RUJDQL]HUVWRWU\DQGJHW\RX\RXUWDONFDQFHOHG"

 ϵ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

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                      7+('(321(17,GLG,GLGQRWKDYHD

ϭϭ     WDONSODQQHGDW26026,6&RQ,WKLQN,ZDVZDQWLQJWRDQG

ϭϮ     P\WHDPZDVDFWLYHO\WKDW VULJKW0\WHDPZDV

ϭϯ     QRPLQDWLQJPHIRU26,175LVLQJ6WDURIWKH<HDUDQG,KDG

ϭϰ     DVNHG&KULVDQG6KDQHP\RWKHUERVVWRDOVRQRPLQDWHPH

ϭϱ     EHFDXVH,ZDQWHGWRVSHDNWKHUHHYHQWXDOO\DQGUHFHLYHWKH

ϭϲ     DZDUGZKLFKWKDWZDVULJKWDURXQGWKLVWLPH

ϭϳ     4
            4 %\0V7UDPEOH\ 2ND\6RDIWHU\RXOHIW,/)

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ϭϵ     &\QWKLD+HWKHULQJWRQWRWU\WRVWRS\RXIURPDWWHQGLQJD

ϮϬ     FRQIHUHQFH"

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            $   $XJXVWVW"

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     +DGQDJ\HWDOY0RVVHWDO                         6DPDQWKD*DPEOH

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 ϭ     WUDVK"

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                      7+('(321(17,ZDVQRWDZDUHRIWKDW

 ϰ     4
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 ϱ     IHHOFRPIRUWDEOHRUXQFRPIRUWDEOHWKDW0U+DGQDJ\ZDV

 ϲ     UHDFKLQJRXWWRLQGLYLGXDOVZLWKLQWKHLQGXVWU\WRVWRS

 ϳ     \RXIURPVSHDNLQJDWFRQIHUHQFHV"

 ϴ     05&215$'2EMHFWWRIRUP
                      05&215$'2EMHFWWRIRUP

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                      7+('(321(17,DPKLJKO\XQFRPIRUWDEOH

ϭϬ     EXWLWGRHVQRWVXUSULVHPHEHFDXVHWKDWKDVEHHQKLV

ϭϭ     SDWWHUQRIEHKDYLRUIURPZKDW, YHVHHQ

ϭϮ     4
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ϭϯ     UHVSRQGLQJZLWKDTXHVWLRQPDUN$QGWKHQ&KULV V

ϭϰ     UHVSRQVH7KRVHUHSODFHPHQWVDUHILOWK

ϭϱ     'R\RXNQRZZKDW0U+DGQDJ\ZDVUHIHUULQJWR
                 'R\RXNQRZZKDW0U+DGQDJ\ZDVUHIHUULQJWR

ϭϲ     KHUH"

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            $ +HZDVVXSSRVHGWRVSHDNDW26026,6DQG,

ϭϴ     EHOLHYHKLVWDONJRWFDQFHOHGDQGVRSHRSOHRQOLQHZHUH

ϭϵ     VD\LQJWKDWPHRURWKHUVRPHERG\VXJJHVWHGPH,

ϮϬ     EHOLHYH%HQMDPLQ6SHQFHLVDFWXDOO\ZKRUHFRPPHQGHGPHRQ

Ϯϭ     RQHRI26026,6&RQ VSURPRWLRQWKUHDGVIRUOLNHDFDOOIRU

ϮϮ     VSHDNHUV,GRQ WUHFDOOH[DFWO\EXWWKDWLVKRZ,

Ϯϯ     UHPHPEHUWKDWKDSSHQLQJDQGSHRSOHUHFRPPHQGHGWKDW,

Ϯϰ     UHSODFHKLPRUWKDW,GRDFDOOIRUSDSHUVZLWK

Ϯϱ     26026,6&RQ


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 Ϯ     GLGIRU\RXZKHQ\RXZHUHZRUNLQJIRU,/)

 ϯ     $2QHRIWKHELJJHUKHGLGDORWRIQLFHWKLQJV

 ϰ     ZKHQ,ZDVZRUNLQJDW,/)ZKHWKHULWZDVRIFRXUVHOLNH

 ϱ     SURIHVVLRQDOSURPRWLRQVDFWLYHO\LQYLWLQJPHWRFRPH

 ϲ     VSHDNZLWKKLPOLNHDVDVXEVSHDNHUZLWKKLPJHWWLQJPH

 ϳ     LQWRFRQIHUHQFHVWKDW,ZDVLQWHUHVWHGLQ$QGWKHQ

 ϴ     SHUVRQDOO\ZKHQP\VLJQLILFDQWRWKHU VPRWKHUGLHGKH

 ϵ     WKDWZDVRQHRIWKHUHDVRQV,FRXOGQ WEHDVSHDNHUDW'()

ϭϬ     &21ZKLFKLVRQHRIWKHYLUWXDORQHV,WKLQNLWZDVWKH

ϭϭ     ODVWRQHWKDWKHUDQWKHYLUWXDO6(9LOODJHLQ+H

ϭϮ     DFWXDOO\ERXJKWSODQHWLFNHWVDQGZDQWHGWRKHOSDQ\

ϭϯ     OLNHDQ\ILQDQFLDOPHDQVZKHQP\VLJQLILFDQWRWKHU VPRP

ϭϰ     GLHGZKRZDVOLNHDVHFRQGPRPWRPH6RLWZDVDORWRI

ϭϱ     WKLQJVOLNHWKDW$QGWKHQMXVWSUDLVHKHUHDQGWKHUH

ϭϲ     DERXWKRZZHOO, PJURZLQJXSDQGGRLQJZLWKLQWKHVSDFH

ϭϳ     DQGKRZPXFKSRWHQWLDO,KDYH

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            4   $QG,WKLQN\RXVDLGWKDW\RXZHUH\HDUVROG

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            $   ,ZDVHLWKHURUIUHVKO\

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Case 2:23-cv-01932-BAT        Document 84   Filed 02/26/25   Page 650 of 776


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 ϴ     7KDWWKHIRUHJRLQJYLGHRWDSHGGHSRVLWLRQXSRQRUDO
       H[DPLQDWLRQRI6DPDQWKD*DPEOHZDVWDNHQVWHQRJUDSKLFDOO\E\
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       WUXWKIXOO\DQGWKDWWKHWUDQVFULSWRIWKHGHSRVLWLRQLV
ϭϭ     IXOOWUXHDQGFRUUHFWWRWKHEHVWRIP\DELOLW\

ϭϮ     7KDW,DPQRWDUHODWLYHHPSOR\HHRUFRXQVHORI
       DQ\SDUW\WRWKLVDFWLRQRUUHODWLYHRUHPSOR\HHRIVXFK
ϭϯ     FRXQVHODQGWKDW,DPQRWILQDQFLDOO\LQWHUHVWHGLQWKH
       VDLGDFWLRQRUWKHRXWFRPHWKHUHRI
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        Exhibit 41
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 652 of 776 01.15.2025
                                                                            Gamble

                                                                             D-1
                                                                      Buell Realtime Reporting
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        Exhibit 42
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 Bra size: 30C (though sometimes wear 32B since 30 is so hard to find)
Shirt size: XXS
Pant size: 0/00
Underwear size: S/XS
Shoe Size (if applicable): 7.5 (Same as I had at 13)
Weight (if applicable): 98lbs
Height (if applicable): 5’2”
pubic hair age: 11/12
Consider Shaving: Young as 13

THINGS I’D LIKE (to make) A LIST OF:
       *potential questions a predator may ask (Have I ever kissed a boy? Tried drugs or
alcohol?)
       *potential responses (ex: excuses why I can’t video chat or something)
       *If possible, to view dialogue or visit with someone who has done this
       *Things to absolutely NOT say
       *Making list of supplies for this project- since this not only is operation but also a
       demonstration to LE, I am willing to purchase things if ILF cannot (Wigs are kinda pricey)
       Q: Do predators pick up on conversation patterns? (spelling, keywords kids use or
       certain way a kid from that area would talk?)
       Q: Will I need to chat with them at night, avoid “texting” during school hours, do phone
       calls?

POTENTIAL PRETEXTS:
     Name- Emma Lynn Miller
     Age: TBD
     State: CA
     City: San Leandro
     SCHOOL: John Muir Middle school
             https://www.sanleandro.k12.ca.us/muir
                      IF WE EVER WANT SCHOOL SHIRT: Click Here For School Merch
     PERSONALITY:
             *Favorite band: Panic! At The Disco,
             *TV show: Doesn’t really watch TV- really into youtube (Logan Paul & YT Stars
             that do “nothing”)
             *Things I Do For Fun: Watch TikTok videos, likes to play online games but mostly
             just to use the chat to talk with people, go to Manor Park
             *Has a couple friends, but not a ton (isolated, has alot of time alone)

       Mom: *Name: Renee
             *Occupation: Works at UPS in warehouse,
             *Qualities: Alcoholic, Multiple boyfriends

       Father: *Name:
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              *Occupation: Worked on cars, but i s in prison since Emma was 5
                            Sann Quentin, I think for drugs but idk my mom doesn’t like to talk
                            about him much. She says I cant see him but when he gets out
                            i’ma go see him anyway
              *Qualities: Emma doesn’t really know much about him since he left so young




Chris Pretext:
Name: Ashley Walker
Age: 12 Oct 3, 2006, gonna be 13 soon
Location: Sarasota Florida
Hobbies/Likes:
       *TV show: Doesn’t really watch TV- really into youtube (Logan Paul & YT Stars
               that do “nothing”).
               Spends a lot of time on IG
               *Things I Do For Fun: Watch TikTok videos.
               I have only few friends in school, cause the boys make fun of me

Dad:
              I don’t really know him. He comes around once in a while but i don’t like him
              much. Name Michael.

Mom:
              Works as a teller at a bank. She is often out at 7am and not home till after 6pm
              and has to work two Saturdays. She goes out one Saturday night with her GF’s
              clubbing.

              She has had multiple boyfriends. I never liked any of them. One was super
              creepy and used to ask me to sit on his lap all the time.

I go to Booker Middle School, 7th grade
https://www2.sarasotacountyschools.net/schools/bookermiddle/




PICS NEEDED:
Clothed in a bathroom mirror
Clothed in a full length mirror
Clothed Selfie on couch or bed
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All of those locations with you moved, as proof
Pic of body parts, shoulder, foot (non tatoo), leg…
Selfie that has you not fully covered BUT nothing sexual (tee shirt etc)

IDEAS FOR ROOM/BACKGROUND/CHARACTER
Panic! At The Disco poster
Justin Bieber Poster
Pikachu Stuffed Animal
Pokemon Stuffed Animal
Wig (Need to get sized in store)
Would like to get oversized school Tshirt (like a PE shirt)
Fake Braces (Can also make them)


QUESTIOOONS:

Will a predator ask me about if I have had sex before? How do I properly answer without
baiting?
If they ever start to back out and say they shouldn’t be doing it, is it bait by saying “You don’t
want to talk to me anymore???”
If they ask to meet me, do I just make some generic excuse or act too nervous for it? (is it
baiting to say things like “One day lol” or something?)
Will they ask for a picture of any bra or underwear? (Not on me)
Should we make TikTok vids?
What platforms will we primarily use (especially now that Kik is gone/closing?)
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        Exhibit 43
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           On Jul 19, 2013, at 12:54 PM, "Chris \"loganWHD\"
           Hadnagy" <logan@social-engineer.org> wrote:


                Because you are white and I hate white
                people

                --
                Chris "l0gan"
                http://twitter.com/humanhacker/
                http://www.social-engineer.org

                On Jul 19, 2013, at 3:51 PM, David
                Kennedy <david.kennedy@trustedsec.com>
                wrote:


                      Why am I being singled out?
                      Racist.

                      From: loganWHD Chris
                      Hadnagy <logan@social-
                      engineer.org>
                      Date: Friday, July 19, 2013 3:51
                      PM
                      To: Ping Look
                                  @gmail.com>,
                      "Jordan Harbinger
                      (888.413.7177)"
                      <jordan@theartofcharm.com>,
                      David Kennedy
                      <David.Kennedy@TrustedSec.c
                      om>, Nick Hitchcock
                      <nick8ch@social-
                      engineer.org>, Jim Manley
                                     @gmail.com>,
                      Michele Fincher
                      <michele@social-
                      engineer.com>, Amanda White
                      <amanda@social-
                      engineer.com>
                      Subject: Show...

                      Hey guys / gals and Dave….

                      The show idea went away.
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                      Sorry, but we got a really nice
                     invite from our last podcast
                     guest to be his guests at a show,
                     but the times he had open just
                     didn't fit as it was mid-day.

                     Sorry. We can still plan
                     something but I will gracefully
                     bow out and if someone else
                     wants to plan fine, if not… i am
                     cool with that too.

                     Thanks

                     --
                     Chris "l0gan"
                     http://twitter.com/humanhacker/
                     http://www.social-engineer.org
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        Exhibit 44
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      Case 2:23-cv-01932-BAT          Document 84      Filed 02/26/25      Page 665 of 776




From:                  Christopher Hadnagy[/O=EXCHANGELABS/OU=EXCHANGE
                       ADMINISTRATIVE GROUP
                       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=55615E7A8341469FB8917CC35F
                       D13009-CHRIS]
Sent:                  Tue 5/7/2019 8:19:27 PM (UTC)
To:                    Shayna Welton[shayna@social-engineer.com]; Allie Hansen[allie@social-
                       engineer.com]

aren't you an adorable little asian teapot
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        Exhibit 45
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 667 of 776
      Case 2:23-cv-01932-BAT            Document 84           Filed 02/26/25   Page 668 of 776




From:                    Christopher Hadnagy[/O=EXCHANGELABS/OU=EXCHANGE
                         ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=55615E7A8341469FB8917CC35F
                         D13009-CHRIS]
Sent:                    Wed 2/17/2016 2:53:03 AM (UTC)
To:                      JW Manley                @gmail.com]
Subject:                 Re: DEF CON meeting

HAHAHA true dat

yes the teenage one, that is tiny and small and really cute


Christopher Hadnagy
Chief Human Hacker
Social-Engineer, Inc.
570.234.3734 ext 200
www.social-engineer.com

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immediately notify the sender by return e-mail and delete the original
transmission and its attachments without reading or saving in any
manner. Thank you.
On 16 Feb 2016, at 21:49, JW Manley wrote:

> Okay. Like that’s a real clue. How many adorable little Asian girls
> have I ever met around you?
>
> The Kids CTF winner?
>
>
>> On Feb 16, 2016, at 8:47 PM, Christopher J. Hadnagy
>> <chris@social-engineer.com> wrote:
>>
>> The adorable little asian girl
>>
>>
>> Christopher Hadnagy
>> Chief Human Hacker
>> Social-Engineer, Inc.
>> 570.234.3734 ext 200
>> www.social-engineer.com
>>
>> All information transmitted hereby is intended only for the use of
>> the addressee(s) named above and may contain confidential and
     Case 2:23-cv-01932-BAT           Document 84        Filed 02/26/25    Page 669 of 776



>> privileged information. Any unauthorized review, use, disclosure or
>> distribution of confidential and privileged information is
>> prohibited. If the reader of this message is not the intended
>> recipient(s) or the employee or agent responsible for delivering the
>> message to the intended recipient, you are hereby notified that you
>> must not read this transmission and that disclosure, copying,
>> printing, distribution or use of any of the information contained in
>> or attached to this transmission is STRICTLY PROHIBITED. If you have
>> received this transmission in error, please immediately notify the
>> sender by return e-mail and delete the original transmission and its
>> attachments without reading or saving in any manner. Thank you.
>> On 16 Feb 2016, at 21:44, Jim Manley wrote:
>>
>>> Have I met Ashley?
>>>
>>> Sent from my iPhone so who knows what Siri typed
>>>
>>>> On Feb 16, 2016, at 20:31, Christopher J. Hadnagy
>>>> <chris@social-engineer.com> wrote:
>>>>
>>>> dear lord
>>>> i would drink that
>>>> with a muzzle
>>>> but alas… its not here
>>>>
>>>>
>>>> Christopher Hadnagy
>>>> Chief Human Hacker
>>>> Social-Engineer, Inc.
>>>> 570.234.3734 ext 200
>>>> www.social-engineer.com
>>>>
>>>> All information transmitted hereby is intended only for the use of
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>>>> have received this transmission in error, please immediately notify
>>>> the sender by return e-mail and delete the original transmission
>>>> and its attachments without reading or saving in any manner. Thank
>>>> you.
>>>>> On 16 Feb 2016, at 21:26, Jim Manley wrote:
>>>>>
>>>>> What a guy. I take back all those things I said about you.
>>>>>
>>>>> Have a drink on me.
>>>>>
>>>>>
>>>>>
>>>>> Sent from my iPhone so who knows what Siri typed
>>>>>
     Case 2:23-cv-01932-BAT          Document 84        Filed 02/26/25     Page 670 of 776



>>>>>> On Feb 16, 2016, at 20:13, Christopher J. Hadnagy
>>>>>> <chris@social-engineer.com> wrote:
>>>>>>
>>>>>> I will set up a phone bridge to make it easy on you all
>>>>>>
>>>>>>
>>>>>> Christopher Hadnagy
>>>>>> Chief Human Hacker
>>>>>> Social-Engineer, Inc.
>>>>>> 570.234.3734 ext 200
>>>>>> www.social-engineer.com
>>>>>>
>>>>>> All information transmitted hereby is intended only for the use
>>>>>> of the addressee(s) named above and may contain confidential and
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>>>>>> recipient(s) or the employee or agent responsible for delivering
>>>>>> the message to the intended recipient, you are hereby notified
>>>>>> that you must not read this transmission and that disclosure,
>>>>>> copying, printing, distribution or use of any of the information
>>>>>> contained in or attached to this transmission is STRICTLY
>>>>>> PROHIBITED. If you have received this transmission in error,
>>>>>> please immediately notify the sender by return e-mail and delete
>>>>>> the original transmission and its attachments without reading or
>>>>>> saving in any manner. Thank you.
>>>>>>> On 16 Feb 2016, at 21:11, Jim Manley wrote:
>>>>>>>
>>>>>>> Are you going to set up a phone bridge or Skype or what? Need to
>>>>>>> know so I can be at home or if I can be in the office.
>>>>>>>
>>>>>>> Sent from my iPhone so who knows what Siri typed
>>>>>>>
>>>>>>>> On Feb 16, 2016, at 18:54, Christopher J. Hadnagy
>>>>>>>> <chris@social-engineer.com> wrote:
>>>>>>>>
>>>>>>>> Ok so the core group us here
>>>>>>>>
>>>>>>>> Can you do Thursday Feb 25th at 4pm to 5pm EST?
>>>>>>>>
>>>>>>>>
>>>>>>>> Christopher Hadnagy
>>>>>>>> Chief Human Hacker
>>>>>>>> Social-Engineer, Inc.
>>>>>>>> 570.234.3734 ext 200
>>>>>>>> www.social-engineer.com
>>>>>>>>
>>>>>>>> All information transmitted hereby is intended only for the use
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>>>>>>>> and privileged information. Any unauthorized review, use,
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    Case 2:23-cv-01932-BAT          Document 84        Filed 02/26/25      Page 671 of 776



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>>>>>>>> transmission is STRICTLY PROHIBITED. If you have received this
>>>>>>>> transmission in error, please immediately notify the sender by
>>>>>>>> return e-mail and delete the original transmission and its
>>>>>>>> attachments without reading or saving in any manner. Thank you.
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 672 of 776




        Exhibit 46
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 673 of 776
       Case 2:23-cv-01932-BAT                              Document 84                  Filed 02/26/25                 Page 674 of 776




From:                               Michelle "Mikka" Bosch[mikka@social-engineer.com]
Sent:                               Fri 4/4/2014 7:39:31 PM (UTC)
To:                                 Christopher Hadnagy[chris@social-engineer.com]
Cc:                                 Michele Fincher[michele@social-engineer.com]; Amanda
                                    Marchuck[amanda@social-engineer.com]; Tamara Kaufman[tamara@social-
                                    engineer.com]
Subject:                            Re: Cool Chick - Not Work Related

This girl is so cool - would love to hang with her for a evening, ha!
awesome.


Michelle “Mikka" Bosch
Chief Business Stimulator
Social-Engineer, Inc.
214.725.6062
www.social-engineer.com
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reader of this message is not the intended recipient(s) or the employee or agent responsible for delivering the message to the intended recipient,
you are hereby notified that you must not read this transmission and that disclosure, copying, printing, distribution or use of any of the
information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please
immediately notify the sender by return e-mail and delete the original transmission and its attachments without reading or saving in any manner.
Thank you.


On Apr 4, 2014, at 2:05 PM, Chris Hadnagy <chris@social-engineer.com> wrote:

Dang don't see too many women using beat boxing at all
pretty cool

helps that she is a hot asian
;)


Christopher Hadnagy
Chief Human Hacker
Social-Engineer, Inc.
570.510.8488
www.social-engineer.com

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privileged information. Any unauthorized review, use, disclosure or distribution of confidential and privileged information is prohibited. If the reader of
this message is not the intended recipient(s) or the employee or agent responsible for delivering the message to the intended recipient, you are hereby
notified that you must not read this transmission and that disclosure, copying, printing, distribution or use of any of the information contained in or
attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please immediately notify the sender by return e-
mail and delete the original transmission and its attachments without reading or saving in any manner. Thank you.




On Apr 4, 2014, at 5:07 AM, Michele Fincher <michele@social-engineer.com> wrote:
Case 2:23-cv-01932-BAT        Document 84       Filed 02/26/25      Page 675 of 776




 http://www.esquire.com/blogs/culture/one-woman-band-heart-shaped-box-cover

 --
 Michele Fincher
 Chief Influencing Agent
 Social-Engineer, Inc
 425.777.0448
 www.social-engineer.com

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 named above and may contain confidential and privileged information. Any
 unauthorized review, use, disclosure or distribution of confidential and privileged
 information is prohibited. If the reader of this message is not the intended
 recipient(s) or the employee or agent responsible for delivering the message to the
 intended recipient, you are hereby notified that you must not read this
 transmission and that disclosure, copying, printing, distribution or use of any of
 the information contained in or attached to this transmission is STRICTLY
 PROHIBITED. If you have received this transmission in error, please
 immediately notify the sender by return e-mail and delete the original
 transmission and its attachments without reading or saving in any manner. Thank
 you.
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 676 of 776




        Exhibit 47
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 677 of 776
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        Exhibit 48
     Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 679 of 776

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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 680 of 776

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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 681 of 776

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     YLGHRUHFRUGHGGHSRVLWLRQRI$OHWKH'HQLVLQWKHPDWWHU
     RI&KULVWRSKHU-+DGQDJ\YV-HII0RVVHWDO
     1XPEHUFY%$7LQWKH8QLWHG6WDWHV'LVWULFW
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    DQG,DPWKHOHJDOYLGHRJUDSKHU7KHFRXUWUHSRUWHULV
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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 682 of 776

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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 684 of 776

$OHWKH'HQLV                                                  6HSWHPEHU

                                                                          3DJH
     6KHLVMXVWDFRPSOHWHMRNH
     :KRLV5DFKHOLQWKLVPHVVDJHLI\RXNQRZ"
                :KRLV5DFKHOLQWKLVPHVVDJHLI\RXNQRZ"
     $,EHOLHYH0U+DGQDJ\LVUHIHUULQJWR
           $   ,EHOLHYH0U+DGQDJ\LVUHIHUULQJWR
     5DFKHO7REDF
     4$QGZKRLV5DFKHO7REDF"
           4   $QGZKRLV5DFKHO7REDF"
     $5DFKHO7REDFLVDZRPDQZKRFRPSHWHGLQWKH
           $   5DFKHO7REDFLVDZRPDQZKRFRPSHWHGLQWKH
     6RFLDO(QJLQHHULQJ&DSWXUHWKH)ODJFRPSHWLWLRQDQG
     DFKLHYHGDVHFRQGSODFHILQLVKLQRUVRUU\
     DQG
    40U+DGQDJ\FDOOV0V7REDFKHUHDFRPSOHWH
    MRNH'LGKHHYHUH[SRXQGRQWKHEDVLVIRUKLVEHOLHI
    WKDW0V7REDFZDVDFRPSOHWHMRNH"
    $<HV,EHOLHYHZHGLVFXVVLWDOVRLQWKLV
    WKUHDG(VVHQWLDOO\&KULV+DGQDJ\DQG,VKDUHWKH
    FRPPRQEHOLHIWKDW5DFKHOXVHGKHUVHFRQGSODFHZLQVWR
    FUHDWHKHUFRPSDQ\6RFLDO3URRI6HFXULW\DQGODXQFKD
    FDUHHUDVDSURIHVVHGVHOISURIHVVHGKDFNHUDQG
    WKDWVKHVKDUHVVRPHZLOGO\LQDFFXUDWHLQIRUPDWLRQ
    DERXWVRFLDOHQJLQHHULQJDQGKXPDQEHKDYLRU
    $QGLQWKLVYLGHRWKDWZH UHGLVFXVVLQJVKH
    ,EHOLHYHSHUSHWUDWHGDKDFNRIVRPHNLQGDJDLQVWD
    PHGLDSHUVRQDOLW\$QGVKH VDFKLHYHGDPRGLFXPRI
    IDPHLQWKHLQIRUPDWLRQVHFXULW\VSDFHOHYHUDJLQJKHU
    H[SHULHQFHLQWKHFRQWHVWVDQGXVLQJWKDWDVDEDVLV
    IRUKHUHVWDEOLVKLQJRIKHUSRVLWLRQLQJKHUVHOIDVDQ


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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 685 of 776

$OHWKH'HQLV                                                  6HSWHPEHU

                                                                          3DJH
     H[SHUW
     4$QGOHW VJRWRWKHQH[WGRFXPHQWZKLFKLV
     'HIHQVH([KLELW%DWHVHQGLQJLQIURP\RXU
     SURGXFWLRQ0V'HQLV
      ([KLELW1R'HIHQVHPDUNHGIRU
     LGHQWLILFDWLRQ
     47KLVLVDFRQWLQXDWLRQRIWKH'HIHQVH
           4   7KLVLVDFRQWLQXDWLRQRIWKH'HIHQVH
     ([KLELWZHZHUHMXVWORRNLQJDW0DUFK
     0U+DGQDJ\ZULWHVDWSP1RWEHLQJDGLFN
    EXW,PHDQVKH VQRWHYHQDVKRWDV0D[LH
    'R\RXVHHWKDWWKHUH"
                'R\RXVHHWKDWWKHUH"
    $77251(<&215$'2EMHFWLRQ)RUP
                $77251(<&215$'2EMHFWLRQ)RUP
    $,GRVHHWKDW
           $   ,GRVHHWKDW
    4
           4    %\$WWRUQH\0HUWHQV $QGVKHKHUHLV
    UHIHUULQJWRZKR"
    $,EHOLHYHKH
           $   ,EHOLHYHKH VUHIHUULQJWR5DFKHO7REDF
    4$QGZK\LV0V7REDF
           4   $QGZK\LV0V7REDF VKRWQHVVRUODFN
    WKHUHRIUHOHYDQWKHUH"
    $7REHIUDQN,DPQRWVXUH
           $   7REHIUDQN,DPQRWVXUH
    4$QGGR\RXVHHDWWKHERWWRPRIWKLV
    H[KLELW'HIHQVH([KLELW0U+DGQDJ\ZULWHV$QG
    OLWHUDOO\0D[LHLVVRKRWLW VGXPE"
    $,GRVHHWKDW\HV
    4'R\RXWKLQNDIHPDOHHPSOR\HHVKRXOGEHDEOH
    WRJRZRUNIRUDPDOHHPSOR\HUZLWKRXWZRUU\LQJWKDW


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$OHWKH'HQLV                                                  6HSWHPEHU

                                                                        3DJH
      ([KLELW1R'HIHQVHPDUNHGIRU
     LGHQWLILFDWLRQ
     4
           4    %\$WWRUQH\0HUWHQV ,W VDFRQWLQXDWLRQ
     0V'HQLVRIWKHVDPHFRQYHUVDWLRQZH YHEHHQORRNLQJ
     DWGDWHG0DUFK,ZDQWWRGLUHFW\RXU
     DWWHQWLRQWR0U+DGQDJ\ VPHVVDJHVDWSP
     5DFKHOLVMXVWQRWDQG6WHSKDQLHLVMXVWQRW
     :KDWGLG\RXXQGHUVWDQG0U+DGQDJ\WRPHDQ
                :KDWGLG\RXXQGHUVWDQG0U+DGQDJ\WRPHDQ
     ZLWKWKHVHWZRPHVVDJHV"
    $,EHOLHYHWKDW&KULV+DGQDJ\ZDVVD\LQJWKDW
           $   ,EHOLHYHWKDW&KULV+DGQDJ\ZDVVD\LQJWKDW
    5DFKHOLVQRWDWWUDFWLYHDQGWKDW6WHSKDQLHDQG,
    EHOLHYHKH VUHIHUULQJWR6WHSKDQLH&DUUXWKHUVDOVR
    NQRZQDV6QRZLVDOVRQRWDWWUDFWLYH
    46R0V'HQLV\RX YHWHVWLILHGWKDW
    0U+DGQDJ\LQWKHVHWH[WPHVVDJHVRSLQHGRQWKH
    DWWUDFWLYHQHVVRUODFNWKHUHRIRI\RX0V5H\QROGV
    0V7REDF0V0D[ZHOODQG0V&DUUXWKHUV
    $UHWKHUHDQ\RWKHUZRPHQZKR V
    DWWUDFWLYHQHVV0U+DGQDJ\KDVRSLQHGRQWR\RX"
    $77251(<&215$'2EMHFWLRQ)RUP
    $1RWRXWVLGHRIWKHWH[WPHVVDJHWKUHDGDQG
    QRWWKDW, PDZDUHRIRUUHFDOO
    4 %\$WWRUQH\0HUWHQV +DYH\RXHYHUKHDUG
    0U+DGQDJ\WDONDERXWLIKHILQGV$VLDQZRPHQ
    SDUWLFXODUO\DWWUDFWLYH"


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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 687 of 776

$OHWKH'HQLV                                                  6HSWHPEHU

                                                                        3DJH
     $<HV
     4$QGZKHQKHZULWHV2QHRIWKHZRUVW
     SHUVRQSHUVRQVLQWKHFRPPXQLW\\RX
     XQGHUVWRRGKLPWREHUHIHUULQJWR1LNLWD.URQHQEHUJ"
     $<HV7KDW VFRUUHFW
     4'LG\RXHYHUKDYHDFRQYHUVDWLRQZLWK
     0U+DGQDJ\DERXWWKHEDVLVIRUKLVEHOLHIWKDW
     1LNLWD.URQHQEHUJLVUDZHYLODQGRQHRIWKHZRUVW
     SHRSOHLQWKHFRPPXQLW\"
    $1R:HQHYHUGLVFXVVHGKHURXWVLGHRIWKLV
    WKUHDGRIPHVVDJHV
    4/HW VJRWRWKHQH[WGRFXPHQW7KLVLV
    'HIHQVH([KLELW'HQLVSURGXFWLRQHQGLQJLQ
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    0U+DGQDJ\
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    4<RXUPHVVDJHDWSPLVWDONLQJDERXWD
           4   <RXUPHVVDJHDWSPLVWDONLQJDERXWD
    KDFNWKDWRQH5DFKHOLVFRQGXFWLQJ
    $UH\RXUHIHUULQJKHUHWR5DFKHO7REDF"
                $UH\RXUHIHUULQJKHUHWR5DFKHO7REDF"
    $<HV,DPUHIHUULQJWR5DFKHO7REDF,QWKH
           $   <HV,DPUHIHUULQJWR5DFKHO7REDF,QWKH
    OLQNHGYLGHR5DFKHO7REDFDSSHDUVLQWKHYLGHR
    4$QG\RXGHVFULEH0V7REDFDWSPDV
           4   $QG\RXGHVFULEH0V7REDFDWSPDV
    DSLHFHRIVKLW$QG0U+DGQDJ\
    $<HV,GR
           $   <HV,GR


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$OHWKH'HQLV                                                  6HSWHPEHU

                                                                        3DJH
     40U+DGQDJ\UHVSRQGV6RPXFK,W
           4   0U+DGQDJ\UHVSRQGV6RPXFK,W V
     DPD]LQJ
     'LG\RXXQGHUVWDQG0U+DGQDJ\WREHDJUHHLQJ
                'LG\RXXQGHUVWDQG0U+DGQDJ\WREHDJUHHLQJ
     ZLWK\RXUDVVHUWLRQWKDW0V7REDFLVDSLHFHRIVKLW"
     $<HV,XQGHUVWRRGWKDWUHPDUNWREHLQ
           $   <HV,XQGHUVWRRGWKDWUHPDUNWREHLQ
     DJUHHPHQWZLWKP\DVVHUWLRQWKDWDQGP\EHOLHIWKDW
     5DFKHO7REDFLVDSLHFHRIVKLW
     4$QGWKHQ'HIHQVH([KLELWLV'HQLVHQGLQJ
           4   $QGWKHQ'HIHQVH([KLELWLV'HQLVHQGLQJ
     LQ%DWHV,W VDFRQWLQXDWLRQ0V'HQLVRIWKH
    FRQYHUVDWLRQZHZHUHMXVWORRNLQJDW<RXFDQVHH
    0U+DGQDJ\ VUHVSRQVH6RPXFK,W VDPD]LQJ
    DWWKHWRSRIWKLVWKUHDGZKLFKZDVDWWKHERWWRPRI
    WKHODVWRQH
    7+(&28575(3257(5$QG&RXQVHOMXVWIRU
                7+(&28575(3257(5$QG&RXQVHOMXVWIRU
    WKHUHFRUGWKLVZLOOEH
    $77251(<0(57(167KDQN\RX'DUQLW,
                $77251(<0(57(167KDQN\RX'DUQLW,
    ZDVGRLQJVRZHOO7KLVLV7KDQN\RX'RXJ
     ([KLELW1R'HIHQVHPDUNHGIRU
    LGHQWLILFDWLRQ
                 LGHQWLILFDWLRQ
    4
           4    %\$WWRUQH\0HUWHQV $QG0U+DGQDJ\VWDWHV
    6KHLVDZIXODWSPWZLFH
    :KRGR\RXXQGHUVWDQG0U+DGQDJ\WREH
                :KRGR\RXXQGHUVWDQG0U+DGQDJ\WREH
    UHIHUULQJWRZKHQKHZULWHV6KHLVDZIXOWZLFHLQ
    WKHVHWH[WV"
    $+HLVVD\LQJVKHLVDZIXOLQUHIHUHQFHWRP\
           $   +HLVVD\LQJVKHLVDZIXOLQUHIHUHQFHWRP\


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      Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25    Page 689 of 776

$OHWKH'HQLV                                                  6HSWHPEHU

                                                                        3DJH
     VWDWHPHQWLQWKHDERYHPHVVDJHVD\LQJ6KHLVDZIXO
     LQUHIHUHQFHWR5DFKHO7REDF
     4$UHWKHUHDQ\RWKHUGLVSDUDJLQJFRPPHQWV\RX
     UHFDOO0U+DGQDJ\PDNLQJDERXW0V7REDF"
     $1RQHWKDW, PDZDUHRIRXWVLGHWKLVPHVVDJLQJ
     WKUHDGEHWZHHQWKHWZRRIXVZKHUH,KDYHVDLGVKHLV
     DZIXODQGKHKDVDJUHHG
     4$QGWKHQVHWWLQJDVLGHWKLV6LJQDOPHVVDJH
     WKUHDGEHWZHHQ\RXDQG0U+DGQDJ\WKDW\RXKDYH
    SURGXFHGWRXVLQWRWRGR\RXUHFDOO0U+DGQDJ\
    PDNLQJGLVSDUDJLQJFRPPHQWVDERXWDQ\RIWKH
    LQGLYLGXDOVZKR\RXNQHZDSSURDFKHG'HI&RQZLWKWKHLU
    FRQFHUQVDERXW0U+DGQDJ\"
    $,ZRXOGOLNHWRVWDWHWKDWWKHRQO\SHUVRQ
    WKDW,NQRZKDVDSSURDFKHG'HI&RQLV0D[LH5H\QROGV
    %XWDOORIWKHLQGLYLGXDOVWKDWZHKDYHGLVFXVVHG,
    GRQ WUHFDOODQ\WLPHZKHUH&KULV+DGQDJ\KDVPDGH
    GLVSDUDJLQJFRPPHQWVDERXWWKHPZLWKPHSUHVHQWRUWKDW
    ,KDYHKHDUGRXWVLGHRIWKLVWKUHDG
    42ND\7KLVLV'HIHQVH([KLELW'HQLV
    %DWHVHQGLQJLQPHVVDJHVGDWHG0D\
     ([KLELW1R'HIHQVHPDUNHGIRU
    LGHQWLILFDWLRQ
    4$QG0U+DGQDJ\ZULWHV,KDYHDOUHDG\
    KDWFKHGDQHYLOSODQ,WLVVRJRRGEXWLWFDQQRWEH


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     Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 690 of 776
                                                                          202



 1                            C E R T I F I C A T E

 2       UNITED STATES        )
                              )
 3       DISTRICT COURT       )

 4

 5                   I, a Reporter and Washington Certified Court

 6       Reporter, hereby certify that the foregoing videotaped

 7       videoconference deposition upon oral examination of

 8       Alethe Denis was taken stenographically before me on

 9       September 24, 2024, and transcribed under my direction;

10                   That the witness was duly sworn by me

11       pursuant to RCW 5.28.010 to testify truthfully; that

12       the transcript of the deposition is a full, true and

13       correct transcript to the best of my ability; that I am

14       neither attorney for nor a relative or employee of any

15       of the parties to the action or any attorney or counsel

16       employed by the parties hereto nor financially

17       interested in its outcome.

18                   IN WITNESS WHEREOF, I have hereunto set my

19       hand this 28th day of September, 2024.

20

21                   Douglas Armstrong, RPR

22
                     ____________________________________________
23                   Washington Certified Court Reporter No. 3444
                     License expires 11/26/2024
24

25


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        Exhibit 49
Case 2:23-cv-01932-BAT   Document 84   Filed 02/26/25   Page 692 of 776




                                                                       Alethe Denis
                                                                        9/24/2024

                                                                    Defense 19
                                                                     Douglas Armstrong, RPR
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        Exhibit 50
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      Case 2:23-cv-01932-BAT                      Document 84              Filed 02/26/25             Page 695 of 776




From:                         Cynthia Hetherington[ch@hetheringtongroup.com]
Sent:                         Thur 9/1/2022 1:32:02 AM (UTC)
To:                           Christopher Hadnagy[chris@social-engineer.com]
Subject:                      Re: Speakers

Only 75k? You could have reached for more. Considering the loss of business. This is so fresh
though. It’s going to take a while to play out.

 Regards,
 Cynthia

 Cynthia Hetherington MLS, MSM, CFE, CII
 President




 Office 973.706.7525 | E ch@hetheringtongroup.com | W www.hetheringtongroup.com
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 copies thereof.




 From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, August 31, 2022 9:02:43 PM
To: Cynthia Hetherington <ch@hetheringtongroup.com>
Subject: RE: Speakers

 I would love to see what they found

 The lawsuit made national news, ended on Forbes

 My statement I am allowed to say

 My company and I consistently deny and continue to deny any and all allegations of misconduct.
 Actually, I have commenced a civil lawsuit in the US District Court for the Eastern District of
 Pennsylvania. To address these false accusations, defamatory statements and innuendos I have filed a
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lawsuit against both DEF CON Communications and Jeff Moss, it is Case # 2-22-cv-03060-WB. All
further questions should be directed towards our legal counsel.



Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com

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Them Better Off for Having Met You HERE!

Have you seen my TedX Talk on how we are being hacked
daily? https://www.youtube.com/watch?v=9e6k_PtEXdM

From: Cynthia Hetherington <ch@hetheringtongroup.com>
Sent: Wednesday, August 31, 2022 8:31 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: Re: Speakers

It’s ok. If I let twitter enter my life I’d be lost. Though I have OSINT super fans who tracked down the
trolls and have been sending me bios. Lol. It's a a good exercise for them.

I’m sorry for you. Did you file in federal court? Maybe post the case number? Your official statement
would be heard.


Regards,

Cynthia

Cynthia Hetherington
President

T:973.706.7525|F:973.706.7526|E:ch@hetheringtongroup.com|W:HetheringtonGroup
.com
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Sent from my iPhone

From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, August 31, 2022 8:28:33 PM
To: Cynthia Hetherington <ch@hetheringtongroup.com>
Subject: Re: Speakers
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Lol. Good.
Again I'm so sorry this is at your feet.

Christopher Hadnagy
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From: Cynthia Hetherington <ch@hetheringtongroup.com>
Sent: Wednesday, August 31, 2022 8:25:13 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: Re: Speakers

Look at that! Lol. We sold out today! I had to pull tables out of the room for stadium seating to add
chairs.

Regards,

Cynthia

Cynthia Hetherington
President

T:973.706.7525|F:973.706.7526|E:ch@hetheringtongroup.com|W:HetheringtonGroup
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Sent from my iPhone

From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, August 31, 2022 8:21:08 PM
To: Cynthia Hetherington <ch@hetheringtongroup.com>
Subject: Re: Speakers



Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
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daily? https://www.youtube.com/watch?v=9e6k_PtEXdM

From: Cynthia Hetherington <ch@hetheringtongroup.com>
Sent: Wednesday, August 31, 2022 8:18:05 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: Re: Speakers

Was that recent? I stopped looking.
Speakers aren’t selected from their nifty twitter handles. Lol

Regards,

Cynthia

Cynthia Hetherington
President

T:973.706.7525|F:973.706.7526|E:ch@hetheringtongroup.com|W:HetheringtonGroup
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Sent from my iPhone

From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, August 31, 2022 8:06:43 PM
To: Cynthia Hetherington <ch@hetheringtongroup.com>
Subject: Re: Speakers

The Twitter thread attacking you they suggested replacements for me
Those replacements are filth. I don't say that lightly

Christopher Hadnagy
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Have you seen my TedX Talk on how we are being hacked
daily? https://www.youtube.com/watch?v=9e6k_PtEXdM

From: Cynthia Hetherington <ch@hetheringtongroup.com>
Sent: Wednesday, August 31, 2022 7:58:42 PM
To: Christopher Hadnagy <chris@social-engineer.com>
Subject: Re: Speakers

?

Regards,

Cynthia

Cynthia Hetherington
President

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.com
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Sent from my iPhone

From: Christopher Hadnagy <chris@social-engineer.com>
Sent: Wednesday, August 31, 2022 7:33:03 PM
To: Cynthia Hetherington <ch@hetheringtongroup.com>
Subject: Speakers

Please dont take Sam (sudofed) or bejamin Spence or deviant. They are trash

Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com

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        Exhibit 51
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                                                                       Alethe Denis
                                                                        9/24/2024

                                                                    Defense 18
                                                                     Douglas Armstrong, RPR
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        Exhibit 52
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                                                                       Alethe Denis
                                                                        9/24/2024

                                                                    Defense 23
                                                                     Douglas Armstrong, RPR
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        Exhibit 53
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                                                                       Alethe Denis
                                                                        9/24/2024

                                                                    Defense 24
                                                                     Douglas Armstrong, RPR
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        Exhibit 54
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        Exhibit 55
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From:                    Christopher Hadnagy[/O=EXCHANGELABS/OU=EXCHANGE
                         ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=55615E7A8341469FB8917CC35F
                         D13009-CHRIS]
Sent:                    Wed 8/22/2018 9:06:12 PM (UTC)
To:                      Christopher Hadnagy[chris@social-engineer.com]
Subject:                 A quick favor

 Hello students,

 There are only a few of you in this email and I wanted to ask your opinion of something and then see
 if I can get your help.

 Someone, not a student, that overheard our homework assignments in the lunch room filed a code of
 conduct complaint at Black Hat against our company. I am presently fighting a small battle trying to
 help them understand that asking for bra size, circumcision, etc is not sexual as long as you don’t
 make it that way. I wanted to ask two or three things if I can….

 If you are willing to be contacted, can you send me a brief email with your feelings on the homework,
 especially the final night, list your name, title, email and if you felt at any time you or your targets felt
 harassed or sexually uncomfortable?

 If you cannot use your name or do not want to be contacted that is perfectly fine – it really is. If you
 have feedback for me about this at all – I am all ears.

 Thank you so much for your help.

 Christopher Hadnagy
 Chief Human Hacker
 Social-Engineer, LLC.
 570.234.3734 ext 200
 www.social-engineer.com
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        Exhibit 56
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From:                     Christopher Hadnagy[/o=ExchangeLabs/ou=Exchange Administrative Group
                          (FYDIBOHF23SPDLT)/cn=Recipients/cn=55615e7a8341469fb8917cc35fd13009-
                          chris]
Sent:                     Tue 12/28/2021 8:30:48 PM (UTC)
To:                       David C.[drcaviness@protonmail.com]
Subject:                  Re: RE: SE Class Questions

 First of all – WOW. Thank you so much. This is amazing validation. And when someone goes on to
 achieve all these things it makes me so happy. This is awesome.

 I removed the underwear homework, too many snowflakes got upset and called me out for being
 sexually abusive. Go figure. The very nature of the homework is to avoid thinking like that. Sigh. Like
 you said, sometimes the infosec community is made up of babies and primo donnas.

 So who is the old boss? I don’t remember.

 Congrats on what you are doing, I can’t wait to see the trailer.

 Also, I might have helped you on your journey, but you took the steps, you made it happen….
 Congrats bro.


 Christopher Hadnagy
 Chief Human Hacker
 Social-Engineer, LLC.
 570.234.3734
 www.social-engineer.com

 Are you interested in becoming the best version of YOU? Check out the Human Behavior Conference
 to learn how you can understand the fullness, totality and exquisite nature of human behavior.
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 Them Better Off for Having Met You HERE!

 Have you seen my TedX Talk on how we are being hacked daily?
 https://www.youtube.com/watch?v=9e6k_PtEXdM


 From: David C. <drcaviness@protonmail.com>
 Date: Tuesday, December 28, 2021 at 9:30 AM
 To: Christopher Hadnagy <chris@social-engineer.com>
 Subject: Re: RE: SE Class Questions

      You don't often get email from drcaviness@protonmail.com. Learn why this is important


 Last thing, I promise.
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I am an auteur now. I make movies. First one is scheduled to wrap before New Year’s Day.

Couldn’t be happier.

Should you ever have need of videography, I would happily offer you my services at a steep discount.
My business is Night Land Productions LTD.

Here at NLPLTD, we believe Christopher Hadnagy is an influencer, an iconoclast, and Friend to the
denizens of the darklands.

That’s worth…I dunno…50 percent off or something.

Once I cut a trailer for the project I’m doing now, I can demonstrate whether I am worth hiring for
such an enterprise.

Just letting you know - for you I would strike a unique bargain, because you are part of the reason I
am here now,

Sent from ProtonMail Mobile


On Tue, Dec 28, 2021 at 7:01 AM, David C. <drcaviness@protonmail.com> wrote:
      Just wanted to add it also occurred in a place that represents the death of my
      cybersecurity “career” boondoggle.

      Love hacking/phreaking/cracking, always will, but a career amongst such people is not
      for me. Good riddance.

      I went further though. Sailed to a new island, ordered the ships to be burned.

      You helped me Escape From The Prison Planet! Neil Fallon would be proud.

      Watch out for my former boss. He literally has refused to speak a single word to me for
      one-two? years straight. He’s very childish, you see. No idea how this affected his
      illustrious career.

      I doubt he got the “pat on the back” he is accustomed to for that sad fucking spectacle.

      Me? None the wiser, 0 shits given. I’m living free!

      Sent from ProtonMail Mobile


      On Tue, Dec 28, 2021 at 6:44 AM, David C. <drcaviness@protonmail.com> wrote:
            Chris,

             Hope you’re doing well.
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      Do you still do the “ask about undergarments” SE class assignment?

      I wanted to reach out and thank you for that. It was literally one of the
      worst things I’ve ever done, won’t ever live it down. I don’t say shit like
      that to strangers, it makes me want to vomit.

      As it happens…my participation in this ended up being my ticket out of the
      beige-coated slave galley I was trapped in.

      Now I am fully in charge, in control of my own life. Your assignment made
      it possible. Almost easy. Almost.

      Thanks brother,

      David Caviness

      Sent from ProtonMail Mobile


      On Thu, Jul 4, 2019 at 6:05 AM, David C. <drcaviness@protonmail.com>
      wrote:
             Chris,

             So sorry man...I thought I had replied to your questions, turns
             out the e-mail never sent. I figured you were too busy to
             respond but finally remembered this morning how long it's
             been.

             Anyway, if you're still interested, I'll briefly answer all of
             these...

             CJH>> My nephew is on the spectrum. When I found out he
             was struggling I spoke to Dr. E and asked what if anything I
             can do. He told me that people with Autism and Asperger’s
             benefit greatly from learning to read nonverbals. I spent a lot
             of time with Owen (my nephew) teaching him. The crazy part
             is that you CAN do it and it will help you it will just take more
             pain and effort. Forcing yourself out of your comfort zone
             into this field…. I will introduce you to Ryan ONLY if you want.
             But before you say yes, watch his speech and tell me if it
             resonates:
             https://www.youtube.com/watch?v=CHv3HwVMRg8

             His speech indeed resonates. My struggles all seem to boil
             down to communication, forming bonds, maintaining
             relationships, etc. Some of it is trust, most of it is a long
             history of social ineptitude that culminated in a coping or
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           defensive strategy of avoidance. I have my family, I love them
           dearly, for the most part that's enough...I need very little
           from anyone else, period. But I don't enjoy this dynamic
           because I do actually like people in spite of my solitary and
           misanthropic ways.

           I would definitely like to speak to him, just a brief convo or
           something.

           CJH>> Nothing extra special maybe just make sure you spend
           time each week/month in the Ekman stuff and practice it.
           You will see how much it helps you. Personal question – are
           your kids on the spectrum? How old are your kids?

           I think I answered this before maybe, they're 8 and 11, girl
           and boy respectively. I think my daughter might be on the
           spectrum or at least neurodiverse. My son is relatively
           normal compared to how I was at his age. They both have
           lots of friends. I always had my older brother and maybe one
           or two other kids I hung out with.

           I think what they inherited from me was balanced by positive
           qualities from their mother.

           CJH>> Personally story – one day we wake up and my wife’s
           face is falling off her skull. I rush her to the hospital thinking
           she had a stroke…. Cat scans, tests etc…. they cant find
           anything. I call my acupuncturist. She says "ask about Bells
           Palsy"… doc says "yep that is it" I took her for Acupuncture
           and Shiatsu massage for 2 weeks every day… I mean 14 days
           straight. Cured her 100% no joke. Just my story and it is
           because he caught it the day of…. Anyhow… onward.

           How crazy...most people have never heard of it or think I'm
           talking about cerebral palsy. I am aware of the healing power
           of acupuncture. My stepdad had colon cancer, then surgery,
           got hepatitis from that, and suffered an array of health
           problems from being in Desert Storm. He swore by
           acupuncture and I know how sick he got at times.

           I have this weird thing where I really admire asymmetry,
           minor flaws, imperfections, etc. So I have no motivation to do
           anything about it. But I would if it was impacting how others
           might perceive me or receive my communications.

           CJH>>So I use what I got. I know it is not the same as you but
           we can work with this…. Maybe not in this email but lets plan
           to work on this. Ok?
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           Yeah, absolutely. Really I'd just like the opportunity to work
           with you or your business on anything. I really enjoyed that
           training and it's clear that you're the kind of person that can
           motivate and inform at the same time. It's hard to find those
           two qualities working in harmony.

           I'll list out my personal info here if you ever want to reach
           out. I know you're busy, so don't worry about replying in a
           timely manner...

           David Caviness
                            (it's on permanent DnD so I have to add you
           as a contact)
           drcaviness@protonmail.com
           No Facebook (yay)
           @dyingculture on Twitter

           Hope everything is going great for you and I also hope your
           family is in good health and spirits.

           Thanks.


           Sent with ProtonMail Secure Email.

           ------- Original Message -------
           On Sunday, March 31, 2019 6:43 AM, David C.
           <drcaviness@protonmail.com> wrote:

                  Man...you just continue to impress. How are
                  you so good at this!?

                  Thanks for these responses, so much more than
                  I expected. Short answer to all of it is
                  yes/agree (except my kids haven’t been tested).
                  I was actually 90% nonverbal when I started
                  school, they put me in special ed because of it.
                  Wouldn’t even tell them my real name. Had to
                  prove myself before they threw me into the
                  general population.

                  My kids seem to be crushing this whole school
                  thing at every level, including socially, so I don’t
                  push testing. My daughter is definitely
                  neurodiverse but it’s dyslexia or some other
                  input processing issue. We do get her help for
                  that. My son is 11 and my girl is 8.
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                Anyway, I want to answer all of your questions
                right now but a couple require thought and I
                have to take the OSCE tomorrow too.

                I will get back to you and I’d like to keep
                working with you and your people as much as I
                can. Professional SE sounds so much fun but
                stuff like this can help me to just live without
                chaos and constant anxiety.

                Thanks.

                Sent from ProtonMail Mobile


                On Thu, Mar 28, 2019 at 10:09 PM, Christopher
                Hadnagy <chris@social-engineer.com> wrote:

                      Dave I am going to answer you
                      inline but I want to say upfront
                      if you were you going for "one
                      of the most validating and
                      uplifting emails of the year"
                      award you might have won.
                      THANK YOU!!



                      To trust me with this level of
                      confidence and to compliment
                      me with this level of kindness is
                      more than I deserve.



                      Please see INLINE next to
                      CJH>>




                      Christopher Hadnagy

                      Chief Human Hacker

                      Social-Engineer, LLC.
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                     570.234.3734 ext 200

                     www.social-engineer.com




                     From: David C.
                     <drcaviness@protonmail.com>
                     Sent: Thursday, March 28, 2019
                     10:27 PM
                     To: Christopher Hadnagy
                     <chris@social-engineer.com>
                     Subject: SE Class Questions



                     Chris,



                     This is David from your current
                     SE class...hope you’re having a
                     good night.



                     Just wanted to say I’m really
                     digging the class and even
                     though I’m exhausted it’s been
                     a lot of fun. I am in awe of your
                     ability to engage a room of
                     people the way you do. It’s
                     super impressive. I totally get
                     why you’re in the SE business.
                     Kevin Mitnick used to be my
                     main SE hero, not because of
                     what he did (although that's a
                     whole discussion) but because
                     of his ingenuity. His FBI donuts
                     story is one of the greatest
                     things I've ever read.
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                     CJH>> Like I said in the class,
                     Mitnick is a friend and I am not
                     as harsh on him as the
                     community cause I think he got
                     a sucky end of the stick. Plus I
                     do think Kevin is a really good
                     person, he is not a jerk. He just
                     has to be guarded like most
                     celebrities. I truly am humbled
                     you put me on his level. Thank
                     you.



                     Also, as a kid I lived on
                     hacking/phreaking/cracking
                     BBSes. And this was right when
                     the Free Kevin movement was
                     gaining major steam. So I'm not
                     one of those people who sees
                     him as a god or something, it
                     was just a big part of my
                     formative teenage years. I do
                     strongly believe he is a decent
                     person and always was. He
                     deserved some level of
                     punishment, as he himself
                     admits and understood back
                     then. But he knew the feds
                     wanted more than that, they
                     wanted retaliation. They got it.



                     CJH>> I agree. He deserved jail
                     time, but solitary is not for
                     people like Kevin. He was not a
                     danger to other humans. I am
                     like you, I saw him as this
                     amazing person, not worship
                     but I certainly looked up to
                     him… or maybe his skill
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                     Sorry for that tangent. All that
                     just to point out you've risen to
                     Mitnick's level in my mind. But
                     you turned it into a profession
                     and a valuable service instead
                     of becoming a fugitive.



                     CJH>> Thank you – this is truly
                     validating. This is EXACTLY
                     what I wanted. I wanted to do
                     what he did but not get arrested
                     and make it a business.



                     I wanted to ask a couple of
                     questions too, because I think
                     your opinion on these things
                     could possibly help guide me. I
                     don't really want to talk about
                     these things at the office in
                     earshot of anyone, that's why
                     I'm emailing you.



                     It's not super sensitive, I just
                     don't talk about these things at
                     the office. They're heavily
                     related to what we're doing
                     here.



                     CJH>> I completely
                     understand.



                     I have Asperger's. They don't
                     call it that anymore, it's Autism
                     Spectrum Disorder now. But I
                     am a stereotypical aspie, I don't
                     really care for this new-fangled
                     terminology.
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                     Since you work in infosec and
                     have such a close relationship
                     with Dr. Ekman and his work, I
                     would bet you don't need me to
                     explain what ASD is or how it
                     relates to social engineering.



                     CJH>> My nephew is on the
                     spectrum. When I found out he
                     was struggling I spoke to Dr. E
                     and asked what if anything I
                     can do. He told me that people
                     with Autism and Asperger’s
                     benefit greatly from learning to
                     read nonverbals. I spent a lot of
                     time with Owen (my nephew)
                     teaching him. The crazy part is
                     that you CAN do it and it will
                     help you it will just take more
                     pain and effort. Forcing
                     yourself out of your comfort
                     zone into this field…. I will
                     introduce you to Ryan ONLY if
                     you want. But before you say
                     yes, watch his speech and tell
                     me if it resonates:
                     https://www.youtube.com/watc
                     h?v=CHv3HwVMRg8




                     So...I learned how to mask and
                     fake it at an early age. Because
                     I had to. But I don't really
                     interpret body language the
                     same way you or the others in
                     the class do. My brain just
                     doesn't process it the same way.
                     I talk about body language
                     about once a week with a
                     therapist. Today's lesson was
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                     really weird, it was like being in
                     my doctor's office.



                     CJH>> I actually understand
                     this. Only because my nephew
                     and I have a group of parents
                     who follow me with autistic
                     kids that use my second book to
                     teach their kids.



                     Do you have any advice on
                     this? Like, should I be doing
                     extra work or maybe some
                     training not geared toward
                     neurotypicals?



                     CJH>> Nothing extra special
                     maybe just make sure you
                     spend time each week/month in
                     the Ekman stuff and practice it.
                     You will see how much it helps
                     you. Personal question – are
                     your kids on the spectrum?
                     How old are your kids?




                     Question two, this one is just
                     out of curiosity...



                     When I lived in Johannesburg I
                     came down with Bell's Palsy.
                     Long story short exactly one
                     half of my face was completely
                     paralyzed for about three/four
                     months. I couldn't even blink, I
                     had to use eyedrops to keep my
                     eye from drying out on me.
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                     Bell's Palsy is like this extreme
                     response to a prior infection.
                     The doctors in Africa were
                     completely confused, i had to
                     do two CAT scans and was
                     interrogated about head injuries
                     several times. Eventually one
                     doctor figured it out.



                     CJH>> Personally story – one
                     day we wake up and my wife’s
                     face is falling off her skull. I
                     rush her to the hospital thinking
                     she had a stroke…. Cat scans,
                     tests etc…. they cant find
                     anything. I call my
                     acupuncturist. She says "ask
                     about Bells Palsy"… doc says
                     "yep that is it" I took her for
                     Acupuncture and Shiatsu
                     massage for 2 weeks every
                     day… I mean 14 days straight.
                     Cured her 100% no joke. Just
                     my story and it is because he
                     caught it the day of….
                     Anyhow… onward.



                     Although I did regain muscle
                     control, it was never 100% and
                     never will be. So how does that
                     affect interpretation of my
                     facial gestures? I have a strong
                     side and a weak side. I very
                     often make gestures with only
                     the strong side and I can
                     promise you it's not
                     contempt...but do people see it
                     that way? I'm kind of freaked
                     out about it.



                     CJH>> so it is possible that you
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                     will be misinterpreted due to
                     this. YES. Don’t freak out.
                     This is nature. 13 years ago I
                     had malignant melanoma. I had
                     my face filleted open. There is a
                     scar on the right side of my face
                     you can see tomorrow. It
                     makes me scientifically
                     impossible to be attractive.
                     Science says symmetry is
                     attractive and I can no longer be
                     symmetrical …. So I use what I
                     got. I know it is not the same as
                     you but we can work with
                     this…. Maybe not in this email
                     but lets plan to work on this.
                     Ok?




                     Sorry for the novel. I only avoid
                     talking about being an aspie at
                     work because I never told any
                     of them because at 99% of
                     companies they don't really give
                     a fuck. Which is weird because
                     it used to be a pretty common
                     thing in IT. And still is I would
                     assume. But no one seems to
                     get it. Or they think we're like
                     Dustin Hoffman in Rain Man.
                     Or Sheldon from Big Bang
                     Theory. They don't understand
                     and it's either infuriating or
                     really depressing to hear what
                     they think about it.



                     CJH>> Never apologize for
                     sharing your soul with me. I
                     consider this a true honor to
                     have you trust me after only 4
                     days with this depth. This must
                     have been very hard for you to
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                     share with me and I am
                     honored. Truly honored and
                     touched.



                     I told one employer, once. Not
                     doing that again. It's not a
                     disability and I don't need any
                     special assistance so I don't feel
                     obligated to disclose it.



                     I would like to know what you
                     think about it though. And the
                     Bell's Palsy thing. If you have
                     the time, I know you're really
                     busy and probably can't wait to
                     get back home to your family.



                     CJH>> I would love to work
                     with you on this…. Imagine if
                     we find something that works?
                     We can change so many
                     lives……



                     Thanks, have a good night.



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From:                    Tracey McLaughlin[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE
                         GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=9C8398068CD446249212E0653A
                         DF2149-TRACEY]
Sent:                    Wed 3/9/2022 5:54:01 PM (UTC)
To:                      Christopher Hadnagy[chris@social-engineer.com]
Cc:                      Ryan MacDougall[ryan@social-engineer.com]
Subject:                 RE: SECOM Culture

 A few things off the bat.
 1. You sent this on International Women’s Day lol.
 2. You’re assuming that, because Patricia said she talked to women, women are the only
 ones that feel that way.
 3. The likelihood that women who feel they’ve been mistreated or abused telling the person
 they hold responsible how they feel? Practically nil.

 That being said, I’ve tried to be fairly upfront about how I’ve felt on occasion. Your Hulk avi is
 100% accurate – you are a great guy who would give someone the shirt off your back and a
 complete raging jerk in the same body. When the bad side comes out, it absolutely qualifies
 as abusive in the business world. As an employee, spending every day wondering which
 version of you will show up is the definition of a toxic environment.

 A few suggestions:

        • Have the consultant talk to all of your staff, not just the women. Even then, they may
        not feel safe talking freely so bear that in mind.
        • Also have the consultant talk to some former employees like Patricia, Susan, and
        Elsa if they’re willing.
        • Hire an HR person! They’ll be more up-to-date on laws regarding employees and can
        likely save you from potential lawsuits and things like the Maxie situation.
        • I know it’s hard for you, but try not to be so involved in the minutiae of the company.
        It frustrates you and makes your staff feel undervalued since they have little autonomy.
        • You’re not helping your case by calling Patricia out by name. No one will be honest
        with you if they’re afraid you’re going to tell everyone not only what they said but who
        said it.


 This may seem harsh, but you can’t improve things if no one tells you the truth of what’s going
 on.

 Tracey McLaughlin
 Department Assistant
 Social-Engineer, LLC.
 570.234.3734 ext 201
 www.social-engineer.com

 From: Christopher Hadnagy <chris@social-engineer.com>
 Sent: Tuesday, March 8, 2022 5:30 PM
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To: Rosa Rowles <rosa@social-engineer.com>; Shelby Dacko <shelby@social-engineer.com>; Amanda
Marchuck <amanda@social-engineer.com>; Tracey McLaughlin <tracey@social-engineer.com>;
Lauren Robinson <lauren@social-engineer.com>; Sammi Pena <sammi@social-engineer.com>
Cc: Ryan MacDougall <ryan@social-engineer.com>
Subject: SECOM Culture

Good evening ladies,

I need to ask a question. In her exit Patricia told Ryan that she had a few conversations with some of
the women here and they used the phrase “toxic environment”. As you know, we are trying our
hardest to find and solve any problems in our company now as we are trying to get ready to grow. As
we start to work with the consultant and make things better I wanted to ask – if any of you truly feel
that, or said that can you please reach out to Ryan and I? We would love to talk, to hear from you
why you feel that way, hear what we can do to improve, and find any solutions.

There is no way for us to improve if we don’t ask. Please do not worry that we are angry, we aren’t.
We want to make this a fun, amazing place to work. If you can please reply to this email, but just to
Ryan and I. We want to be open and listen.

Thank you all!


Christopher Hadnagy
Chief Human Hacker
Social-Engineer, LLC.
570.234.3734
www.social-engineer.com

Grab a copy of my new book Human Hacking: Win Friends, Influence People, and Leave
Them Better Off for Having Met You HERE!

Have you seen my TedX Talk on how we are being hacked daily?
https://www.youtube.com/watch?v=9e6k_PtEXdM
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        Exhibit 5
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From:                             Kazuyuki Nishi[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE
                                  GROUP
                                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=52BB8789E90D4CB99328F911B
                                  27CA31F-KAZ]
Sent:                             Thur 12/10/2015 7:01:25 PM (UTC)
To:                               Christopher Hadnagy[chris@social-engineer.com]
Subject:                          Re: Chat room comments

Chris,
Though we joke about it at times, all the asian comments that come through aren’t the best. It
would be a “human resources” issue in other companies. Not just that though, we have to
remember we have a mix of people, which looks to keep growing. We have to get out of the
“we’re all friends” mindset.
Just so you know, Michele had a side bar with me. She told me, that sometimes she feels like
name-calling back at people… And you wouldn’t want that, she laughed.

I feel that some of the joking around is inappropriate in the work place. We don’t have to be
boring, but we need to be professional.

Thanks man.


 Regards,


Kazuyuki Nishi
 Chief Operations Officer
 SOCiAL-ENGiNEER, LLC
570-234-3734
www.social-engineer.com


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On Dec 10, 2015, at 1:56 PM, Christopher J. Hadnagy <chris@social-engineer.com> wrote:

 Yes you do have that permission

 What comments are you referring to
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 Christopher Hadnagy
 Chief Human Hacker
 Social-Engineer, Inc.
 570.234.3734 ext 200
 www.social-engineer.com

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manner. Thank you.
  On 10 Dec 2015, at 11:49, Kazuyuki Nishi wrote:



         Hey Chris,

         I’m just checking to see if it is within my authority to bring some comments within the chatroom more
         in line for a business environment.

         I don’t mind occasional jokes, and you know I have a good sense of humor, but some employees
         emotions can be hurt or at the very least uncomfortable by some comments.

         I wanted to speak to everyone one-on-one about this, but I needed to run it past you to make sure I
         wasn’t stepping over my bounds in your company.

         Please, let me know.


         Regards,


         Kazuyuki Nishi
         Chief Operations Officer
         SOCiAL-ENGiNEER, LLC
         570-234-3734
         www.social-engineer.com <http://www.social-engineer.com/>


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